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                    EXHIBIT A
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                                                                                                                                                                                             Exhibit A

                                                                                                                                                                                             Service List

                                             Name                                                                                                                                  Address                                                                                                                                                 Email                            Method of Service
1 - 1 Recruitment Ltd.                                           The Long Barn                                       Pitt, Winchester, S022 5Qx                                              United Kingdom                                                                                                                                                             First -Class Mail
1105 Media, Inc                                                  Attn: Customer Svc                                  9201 Oakdale Ave, Ste 101                                               Chatsworth, CA 91311                                                                                  www.1105media.com                                                    EmailFirst-Class Mail
1319 Ventures                                                    2313 Ryan Avenue                                    Ft Worth, TX 76110                                                                                                                                                                                                                                 First -Class Mail
1-800-Got-Junk Commercial Services (Usa) Llc                     887 Great Northern Way                              Vancouver, BC V5T 4T5                                                   Canada                                                                                                                                                                     First -Class Mail
1ST MOULD GmbH                                                   Braudenstraße 1                                     01796 Pirna                                                             Germany                                                                                                                                                                    First -Class Mail
1ST MOULD GmbH                                                   Ernst-Thalmann-Str 39                               01809 Heidenau                                                          Germany                                                                                                                                                                    First -Class Mail
1Worldsync Inc                                                   Department 781341                                   P.O. Box 78000                                                          Detroit, MI 48278-0001                                                                                                                                                     First -Class Mail
1Worldsync Inc                                                   1009 Lenox Dr, Ste 202                              Lawrenceville, NJ 08648-2321                                                                                                                                                                                                                       First -Class Mail
1Worldsync, Inc.                                                 1Worldsync                                          1009 Lenox Drive, Suite 202                                             Lawrenceville, NJ 08648                                                                                                                                                    First -Class Mail
2nd Spark Consulting                                             31 E Butler Ave, 1st Fl                             Ambler, PA 19002-4510                                                                                                                                                                                                                              First -Class Mail
2nd Spark Consulting LLC                                         Attn: Julie kenney                                  31 E Butler Ave, 1st Fl                                                 Ambler, PA 19002                                                                                      jkenney@2ndspark.com                                                 EmailFirst-Class Mail
2nd Spark Consulting LLC                                         Attn: Julie kenney                                  31 E Butler Ave, 1st Fl                                                 Ambler, PA 19002                                                                                                                                                           First -Class Mail
2Nd Spark Consulting, Llc                                        14 E. Butler Avenue                                 Suite 202                                                               Ambler, PA 19002                                                                                                                                                           First -Class Mail
3D Exhibits Inc                                                  2800 Lively Blvd                                    Elk Grove Village, IL 60007-6733                                                                                                                                                                                                                   First -Class Mail
3D Formtech Oy                                                   Ahjokatu 14                                         40320 Jyväskylä                                                         Finland                                                                                                                                                                    First -Class Mail
3-D Polymers                                                     13026 S. Normandie Ave.                             Gardena, CA 90249                                                                                                                                                                                                                                  First -Class Mail
3D Systems                                                       Waldeckerstrabe 13                                  Morfelden-Walldorf, 64546                                               Germany                                                                                                                                                                    First -Class Mail
3D Systems Gmbh                                                  Waldeckerstrabe 13                                  D-64546 Moerfelden-Walldorf                                             Germany                                                                                                                                                                    First -Class Mail
3D Systems Inc                                                   333 Three D Systems Cir                             Rock Hill, SC 29730-7811                                                                                                                                                                                                                           First -Class Mail
3-Dmed                                                           c/o 3-D Technical Services                          255 Industrial Dr                                                       Franklin, OH 45005-4429                                                                                                                                                    First -Class Mail
3Krf                                                             3516 Hargale Rd.                                    Oceanside, NY 11572                                                                                                                                                                                                                                First -Class Mail
3M Company And 3M Innovative Properties Company                  3M Center                                           P.O. Box 33427                                                          St Paul, MN 55133-3427                                                                                                                                                     First -Class Mail
3M Purification Inc                                              P.O. Box 844897                                     Dallas, TX 75284-4120                                                                                                                                                                                                                              First -Class Mail
3M Purification Inc                                              3130 Lexington Ave S                                Eagan, MN 55121-2239                                                                                                                                                                                                                               First -Class Mail
3Md Relocation Services LLC                                      1915 Janice Ave                                     Melrose Park, IL 60160-1008                                                                                                                                                                                                                        First -Class Mail
4J Medical Inc                                                   3073 Heavenly Ridge St                              Thousand Oaks, CA 91362-1178                                                                                                                                                                                                                       First -Class Mail
4-Med Supplies LLC                                               Attn: Sean Graham                                   6446-55 E Trailridge Cr                                                 Mesa, AZ 85206                                                                                        sean.graham@inetalliance.net                                         EmailFirst-Class Mail
6610-6840 W Kellogg Drive Ks LLC                                 c/o Pan American Realty LLC                         9515 Plaza Cir                                                          El Paso, TX 79927-2005                                                                                                                                                     First -Class Mail
7270356 Canada Inc                                               c/o Lulu Software                                   7075 Place Robert-Joncas, Ste 142                                       St-Laurent, QC H4M 2Z2            Canada                                                                                                                                   First -Class Mail
A & B Deburring Co                                               525 Carr St                                         Cincinnati, OH 45203-1815                                                                                                                                                                                                                          First -Class Mail
A B Tools Inc                                                    1051 Aviation Blvd                                  Lincoln, CA 95648-9312                                                                                                                                                                                                                             First -Class Mail
A D Supply Co                                                    P.O. Box 690475                                     Tulsa, OK 74169-0475                                                                                                                                                                                                                               First -Class Mail
A D Supply Co                                                    c/o A D Supply LLC                                  12539 E Skelly Dr                                                       Tulsa, OK 74128-2412                                                                                                                                                       First -Class Mail
A F Romero & Co Inc                                              1749 Stergios Rd                                    Calexico, CA 92231-9657                                                                                                                                                                                                                            First -Class Mail
A Medical Corp                                                   Attn: Samina Makani                                 477 N El Camino Real, Ste C304                                          Encinitas, CA 92024-1354                                                                                                                                                   First -Class Mail
A Papaetis Services Ltd                                          75 Athalassis Ave                                   Nicosia, 2012                                                           Cyprus                                                                                                                                                                     First -Class Mail
A Plus International                                             5138 Eucalyptus Ave.                                Chino, CA 91765                                                                                                                                                                                                                                    First -Class Mail
A Plus International Inc                                         Attn: Jiao Ronghai, Solomon Chen                    Attn: Eileen Webber                                                     Yuanhe Town, Xiangcheng Region    Suzhou City, Jiangsu Province 215133      China                                                                                          First -Class Mail
A Plus International Inc.                                        5138 Eucalyptus Ave                                 Chino, CA 91710                                                                                                                                                                                                                                    First -Class Mail
A Plus Int'l (Suzhou Avon Int'l Textile Co)                      Attn: Jiao Ronghai, Solomon Chen                    Attn: Eileen Webber                                                     Yuanhe Town, Xiangcheng Region    Suzhou City, Jiangsu Province 215133      China                     ekoh@aplusgroup.net; solomon@aplusgroup.net; eileen@aplusgroup.net   First -Class Mail
A Uno Tec S.R.L.                                                 Via Alberto Montorsi, 45                            41037 Mirandola (Modena) Italy                                          Italy                                                                                                                                                                      First -Class Mail
A&D Medical Technologies Sarl                                    C/O Froriep Sa                                      Rue Charles-Bonnet 4                                                    1206 Geneve                       Switzerland                                                                                                                              First -Class Mail
A&D Medical Technologies Sarl                                    2Fl,38/61 Tulebaeva Str Almaty                      Republic Of Kazakhstan                                                                                                                                                                                                                             First -Class Mail
A&D Medical Technologies Sarl                                    C/O Froriep Sa                                      Rue Charles-Bonnet 4                                                    Switzerland                                                                                                                                                                First -Class Mail
A&D Medical Technologies Sarl                                    2Fl,38/61 Tulebaeva Str                             Kazakhstan                                                                                                                                                                                                                                         First -Class Mail
A&G Limited                                                      Kadaka Tee 46A                                      12915 Tallinn                                                           Estonia                                                                                                                                                                    First -Class Mail
A&G Ltd                                                          Kadaka Tee 46A                                      Tallinn, 12915                                                          Estonia                                                                                                                                                                    First -Class Mail
A&G Ltd.                                                         Kadaka Tee 46A                                      12915 Talhinn                                                           Estonia                                                                                                                                                                    First -Class Mail
A. Papaetis Services Ltd.                                        A. Papaetis Services Ltd.                           75 Athalassa Avenue                                                     Chapo Tower Messanine Office 2    Nicosia 2012                              Cyprus                                                                                         First -Class Mail
A. Papaetis Services Ltd.                                        75 Athalassa Ave Chapo Tower                        Cyprus                                                                                                                                                                                                                                             First -Class Mail
A.E.P. Medica Srl                                                Traversa Drosi, 7                                   88060 Satriano Cz                                                       Italy                                                                                                                                                                      First -Class Mail
A.F. Romero & Company, Inc.                                      1749 Stergios Road                                  Calexico, CA 92231                                                                                                                                                                                                                                 First -Class Mail
A.G.A. Biomedica Srl                                             A.G.A. Biomedica Srl                                Via Vittorio Veneto 90                                                  Viale Degli Aceri 13              Cava De' Tirreni, Campania 84013 Italy    Italy                                                                                          First -Class Mail
A.M.S. Antaeus Oy (Dual Distributor With Aktimed Plus 8200561)   Kaurakatu 17                                        05880 Hyvinkaa                                                          Finland                                                                                                                                                                    First -Class Mail
A.S.E.M. Srl                                                     A.S.E.M. Srl                                        Viale Bracelli 9/5                                                      Genova 16142 Italy                Italy                                                                                                                                    First -Class Mail
A2P Engineering & Manufacturing Inc                              Dba A2P Manufacturing Inc                           16392 Gothard St, Ste C                                                 Huntington Beach, CA 92647-3646                                                                                                                                            First -Class Mail
A2P Manufacturing Inc                                            Attn: Rod Spradlin                                  16392 Gothard St, Ste C                                                 Huntington Beach, CA 92647                                                                            rspradlin@a2pmfg.com                                                 EmailFirst-Class Mail
Aaa Cooper Transportation                                        1751 Kinsey Rd                                      Dothan, AL 36303                                                                                                                                                                                                                                   First -Class Mail
Aaa Glass & Mirror of Tulsa                                      348 E 2nd St                                        Sand Springs, OK 74063-7942                                                                                                                                                                                                                        First -Class Mail
Aae Automation Inc                                               c/o Apex Automation & Electrical Inc                44 NE 44th St                                                           Oklahoma City, OK 73105-2003                                                                                                                                               First -Class Mail
Aaron A Cardenas                                                 Address Redacted                                                                                                                                                                                                                                                                                       First -Class Mail
Aaron Edlund                                                     Address Redacted                                                                                                                                                                                                                                                                                       First -Class Mail
AB Medical Group Eesti Ou                                        Reti Tee 12                                         Peetri Alevik, 75312                                                    Estonia                                                                                                                                                                    First -Class Mail
Ab Medical Group Estonia Ltd                                     Ab Medical Group Estonia Ltd.                       Reti Tee 12                                                             Peetri, 75312 Harju Maakond       Estonia                                                                                                                                  First -Class Mail
Ab Medical Group Estonia Ltd                                     75312 Peetri Alevik Reti Tee 12                     Estonia                                                                                                                                                                                                                                            First -Class Mail
Abdel-Hafeez Wajeeh Suleiman                                     Address Redacted                                                                                                                                                                                                                                                                                       First -Class Mail
Abdon Barreras Ontiveros                                         Carretera San Luis Km 15.5 Sn Valle                 Mexicali, BC 21395                                                      Mexico                                                                                                                                                                     First -Class Mail
Abdullah Zaimoglu                                                Attn: Abdullah Zaimoglu                             Am Rainbach 10                                                          Baar, 6340                        Switzerland                                                                                                                              First -Class Mail
Abdulrehman Algosaibi G.T.C.                                     Abdulrehman Algosaibi G.T.C.                        Algosaibi Building, King Abdulaziz Avenue                               P.O. Box 215                      Riyadh 11411                              Kingdom of Saudi Arabia                                                                        First -Class Mail
Aberdeen Technologies Inc                                        272 Commonwealth Dr                                 Carol Stream, IL 60188-2449                                                                                                                                                                                                                        First -Class Mail
Abf Freight System Inc                                           875 Energy Way                                      Chula Vista, CA 91911-6110                                                                                                                                                                                                                         First -Class Mail
Abhijit Barman                                                   Address Redacted                                                                                                                                                                                                                                                                                       First -Class Mail
Abhinav Gundlapalli                                              Address Redacted                                                                                                                                                                                                                                                                                       First -Class Mail
Abington Health Sytsem                                           130 South 9Th Street                                Philadelphia, PA 19107                                                                                                                                                                                                                             First -Class Mail
Abington Memorial Hospital                                       1200 Old York Rd                                    Abington, PA 19001-3720                                                                                                                                                                                                                            First -Class Mail
Abington Pulm & Critical Care                                    1235 Old York Rd Ste 121                            Abington, PA 19001                                                                                                                                                                                                                                 First -Class Mail
Able Industrial Products                                         2006 S Baker Ave                                    Ontario, CA 91761-7709                                                                                                                                                                                                                             First -Class Mail
Able Rack Division                                               c/o Associated Rack Corp                            6800 N Broadway                                                         St Louis, MO 63147-2703                                                                                                                                                    First -Class Mail
ABM Industry Group LLC                                           P.O. Box 74008829                                   Chicago, IL 60674-8829                                                                                                                                                                                                                             First -Class Mail
ABM Industry Groups LLC                                          P.O. Box 745799                                     Los Angeles, CA 90074-5994                                                                                                                                                                                                                         First -Class Mail
Abm Industry Groups, Llc                                         165 Technology Drive, # 100                         Irvine, CA 92618                                                                                                                                                                                                                                   First -Class Mail
Abm Technical Solutions                                          14201 Franklin Ave                                  Tustin, CA 92780                                                                                                                                                                                                                                   First -Class Mail
Above All Catering                                               218 S Magnolia Ave                                  Anaheim, CA 92804                                                                                                                                                                                                                                  First -Class Mail
Absolute Process Instruments, Inc                                Attn: Tom Grimes                                    1220 American Way                                                       Libertyville, IL 60048                                                                                tgrimes@api-cecomp.net                                               EmailFirst-Class Mail
Abu-Hamada Eyad, MD                                              Address Redacted                                                                                                                                                                                                                                                                                       First -Class Mail
Ac Aircontrols Gmbh                                              Industriering Ost 66                                47906 Kempen                                                            Germany                                                                                                                                                                    First -Class Mail
AC Tech Solutions                                                Attn: William Dong                                  24229 Barker Dr                                                         Diamond Bar, CA 91765                                                                                 WDONG@ACTechSoloutions.com                                           EmailFirst-Class Mail
Academic Medical Center                                          c/o of Amsterdam                                    Meibergdreef 9                                                          Amsterdam, 1100 DD                Netherlands                                                                                                                              First -Class Mail
Academic Medical Center of Amsterda                              Meibergdreef 9                                      Amsterdam, 1100 DD                                                      Netherlands                                                                                                                                                                First -Class Mail
Acal Precision Products                                          20200 Cornillie Dr.                                 Roseville, MI 48066                                                                                                                                                                                                                                First -Class Mail
Accelerant                                                       26000 Towne Centre Drive #220                       Foothill Ranch, CA 92610                                                                                                                                                                                                                           First -Class Mail
Accelerant Software Inc                                          aka Accelerant                                      26000 Towne Centre Dr, Ste 220                                          Foothill Ranch, CA 92610-3444                                                                                                                                              First -Class Mail
Accelerated Leadership Group LLC                                 5555 Glenridge Connector, Ste 200                   Atlanta, GA 30342-4740                                                                                                                                                                                                                             First -Class Mail
Accent Plastics Inc                                              1925 Elise Cir                                      Corona, CA 92879-1882                                                                                                                                                                                                                              First -Class Mail
Accent Plastics, Inc.                                            1925 Elise Circle                                   Corona, CA 92879                                                                                                                                                                                                                                   First -Class Mail
Accenture Llp                                                    161 N. Clark Street                                 Chicago, IL 60601                                                                                                                                                                                                                                  First -Class Mail
Accord Carton Co                                                 6155 W 115th St                                     Alsip, IL 60803-5153                                                                                                                                                                                                                               First -Class Mail
Accordance Search Group                                          c/o Accordance LLC                                  7410 SW Oleson Rd, Ste 101                                              Portland, OR 97223-7475                                                                                                                                                    First -Class Mail
Accounting Principals Inc                                        10151 Deerwood Park Blvd, Ste 200-400               Jacksonville, FL 32256-0557                                                                                                                                                                                                                        First -Class Mail
Accounts Receivable                                                                                                                                                                                                                                                                                AR@bakerfieldsolutions.com                                           Email
Accumed Corp.                                                    155 Boyce Drive                                     Mocksville, NC 27028                                                                                                                                                                                                                               First -Class Mail
Accumen Inc                                                      Attn: Eric Jurinic                                  2111 Highland Ave, Ste 145                                              Phoenix, AZ 85016                                                                                     ejurinic@accumen.com                                                 EmailFirst-Class Mail
Accumen Inc                                                      2111 Highland Ave, Ste 145                          Phoenix, AZ 85016-4732                                                                                                                                                                                                                             First -Class Mail
Accurate Dial & Name Plate                                       Attn: Sara                                          1840 Enterprise Way                                                     Monrovia, CA 91016                                                                                    sara@bloss.com                                                       EmailFirst-Class Mail
Accurate Fire Equipment                                          10528 E 12th St                                     Tulsa, OK 74128-4049                                                                                                                                                                                                                               First -Class Mail
Accurate Instrument Service Co                                   4228 W 130th St                                     Cleveland, OH 44135-4870                                                                                                                                                                                                                           First -Class Mail
Accurate Measurement Systems                                     c/o Edta LLC                                        2360 N Lindbergh Blvd                                                   St Louis, MO 63114-1608                                                                                                                                                    First -Class Mail
Accurate Screw Machine Corp                                      Attn: Salvatore Principato                          10 Audrey Pl                                                            Fairfield, NJ 07004                                                                                   sprincipato@accuratescrew.com                                        EmailFirst-Class Mail
Accuright Wire Edm Corp                                          2601 Oak St                                         Santa Ana, CA 92707-3720                                                                                                                                                                                                                           First -Class Mail
Accutec Services Inc                                             320 NW Capital Dr                                   Lees Summit, MO 64086-4723                                                                                                                                                                                                                         First -Class Mail
Accutite Fasteners Inc                                           Attn: Cherise Ray                                   2449 Gundy Ave                                                          Signal Hill, CA 90755                                                                                 Cherise@accutite.com                                                 EmailFirst-Class Mail
Ace American Insurance Co                                        436 Walnut St                                       Philadelphia, PA 19106-3703                                                                                                                                                                                                                        First -Class Mail
Ace Classic Medical Components Shan Co Ltd                       888 N Round-The-City Rd                             Fengxian, 020 201401                                                    China                                                                                                                                                                      First -Class Mail
Ace Group                                                        1930 S Parco Ave                                    Ontario, CA 91761-8312                                                                                                                                                                                                                             First -Class Mail
Ace Mold (Shanghai) Company Limited                              No.888 North Round- The City Road                   Nanqiao, Shanghai Comprehensive Industrial Development Zone             Fengxian, Shanghai                China                                                                                                                                    First -Class Mail
Ace Mold Co Ltd                                                  Shop B 2/F Sun Kwai Hing Plz                        Kwai Chung Nt, 290                                                      China                                                                                                                                                                      First -Class Mail
Ace Mold Co Ltd                                                  Rm 510 5/F Vanta Industrial Ctr                     Kwai Chung Nt, 290                                                      China                                                                                                                                                                      First -Class Mail
Ace Plastics Co Ltd                                              Vanta Industrial Centre, Unit 510                   Kwal Chung, NT                                                          Hong Kong                                                                                                                                                                  First -Class Mail
Ace Plastics Company Ltd.                                        21 Tai Lin Pai Road                                 Suite 510                                                               Kwai Chung                        New Territories                           Hong Kong                                                                                      First -Class Mail
Ace Plastics Technologies Ltd.                                   Unit 510, 5/F, Vanta Industrial Centre 21-33        Tai Lin Pai Road                                                        Kwai Chung                        New Territories                           Hong Kong                                                                                      First -Class Mail
Ace Plastics Technologies Ltdl                                   Unit 510, 5/F,                                      Vanta Industrial Centre 21-33 Tai Lin Pai Road                          Kwai Chung, New Territories       China                                                                                                                                    First -Class Mail
Acentech Inc                                                     33 Moulton St                                       Cambridge, MA 02138-1118                                                                                                                                                                                                                           First -Class Mail
Acertys Healthcare Nv                                            Oeyvaersbosch 12                                    B-2630 Aartselaar                                                       Belgium                           Belgium                                                                                                                                  First -Class Mail
Acertys Healthcare Nv                                            Acertys Healthcare Nv                               Oeyvaersbosch 12                                                        Aartselaar, Belgium, B-2630       Belgium                                                                                                                                  First -Class Mail
Acertys Healthcare Nv                                            Oeyvaersbosch 12                                    Aartsellar, 2630                                                        Belgium                                                                                                                                                                    First -Class Mail
Acevedo-Crespo, Juan C, MD                                       Address Redacted                                                                                                                                                                                                                                                                                       First -Class Mail
ACL Inc                                                          P.O. Box 88472                                      Chicago, IL 60680-1472                                                                                                                                                                                                                             First -Class Mail
Acl Inc                                                          840 W 49th Pl                                       Chicago, IL 60609-5151                                                                                                                                                                                                                             First -Class Mail
Acme Distribution Centers                                        c/o Acme Delivery Service Inc                       P.O. Box 17729                                                          Denver, CO 80217-0729                                                                                                                                                      First -Class Mail
ACS Auxiliaries Group                                            Dept 4509                                           Carol Stream, IL 60122-4509                                                                                                                                                                                                                        First -Class Mail
Acs Auxiliaries Group Inc                                        2900 S 160th St                                     New Berlin, WI 53151-3606                                                                                                                                                                                                                          First -Class Mail
Act One Pictures                                                 Attn: Robert A Borer                                2945 Harding St, Ste 111                                                Carlsbad, CA 92008-1818                                                                                                                                                    First -Class Mail
Acti-Med Ag                                                      Philipp Reis Strabe 2                               Freiensteinau, 36399                                                    Germany                                                                                                                                                                    First -Class Mail
Activar Industrial Products Group, Inc. Dba Springs, Inc.        522 19Th Street Sw                                  Forest Lake, MN 55025                                                                                                                                                                                                                              First -Class Mail
Active Alarm Co Inc                                              561 Capital Dr                                      Lake Zurich, IL 60047-6711                                                                                                                                                                                                                         First -Class Mail
Active Alarm Company, Inc.                                       Active Alarm Company, Inc.                          561 Capital Drive                                                       Lake Zurich, IL 60047                                                                                                                                                      First -Class Mail
Aculon, Inc.                                                     11839 Sorrento Valley Rd.                           Suite 901                                                               San Diego, CA 92121                                                                                                                                                        First -Class Mail
Acutronic                                                        Rosengartenstrasse 25                               8608 Bubikon                                                            Switzerland                       Switzerland                                                                                                                              First -Class Mail
Acutronic Medical Systems Ag                                     Feldeggstrasse 4                                    8008 Zürich                                                             Switzerland                                                                                                                                                                First -Class Mail
Acutronic Medical Systems Ag (Hirzel)                            Feldeggstrasse 4, 8008 Zürich, Switzerland          Switzerland                                                                                                                                                                                                                                        First -Class Mail
Ad Pack Industrial Supplies Sa De Dv                             Calzada Cuauhtemoc 50-J Colonia Aviacion Mexicali   Baja, CA 21230                                                                                                                                                                                                                                     First -Class Mail
Ad Tek Engineering Svc                                           P.O. Box 325                                        Tustin, CA 92781-0325                                                                                                                                                                                                                              First -Class Mail
Ad Tek Engineering Svc                                           17842 Irvine Blvd, Ste 236                          Tustin, CA 92780-3244                                                                                                                                                                                                                              First -Class Mail
Adair County Memorial Hospital                                   609 Se Kent St                                      Greenfield, IA 50849                                                                                                                                                                                                                               First -Class Mail
Adam Biagi                                                       Address Redacted                                                                                                                                                                                                                                                                                       First -Class Mail
Adams Machinery Co                                               6450 N Hamlin Ave                                   Lincolnwood, IL 60712-4042                                                                                                                                                                                                                         First -Class Mail
Adan Alfaro                                                      Address Redacted                                                                                                                                                                                                                                                                                       First -Class Mail
Add Express Inc                                                  8529 Avenida Costa Sur                              San Diego, CA 92154-6281                                                                                                                                                                                                                           First -Class Mail
Addison Whitney LLC                                              11525 N Community House Rd, Ste 400                 Charlotte, NC 28277-4193                                                                                                                                                                                                                           First -Class Mail
Additive Manufacturing LLC                                       Attn: William Towery                                27762 Antonio Pkwy, Ste L-1-512                                         Ladera Ranch, CA 92694                                                                                wtowery@lasersintering.com                                           EmailFirst-Class Mail
Adecco                                                           175 Broad Hollo Rd                                  Melville, NY 11747                                                                                                                                                                                                                                 First -Class Mail
Adecco Employment Services                                       Dept LA 21403                                       Pasadena, CA 91185-1403                                                                                                                                                                                                                            First -Class Mail
Adecco Employment Services                                       Dept CH 14091                                       Palatine, IL 60055-4091                                                                                                                                                                                                                            First -Class Mail
Adecco Employment Services                                       11440 W Bernardo Ct, Ste 180                        San Diego, CA 92127                                                                                                                                                                                                                                First -Class Mail
Adecco Usa Inc                                                   175 Broadhollow Rd                                  Melville, NY 11747-4902                                                                                                                                                                                                                            First -Class Mail
Adeptsource LLC                                                  205 Cowal Dr S                                      Spicewood, TX 78669-2108                                                                                                                                                                                                                           First -Class Mail
Adhesive Applications, Inc                                       Attn: Judette Savino                                41 O'Neil St                                                            Easthampton, MA 01027                                                                                 jsavino@adhesiveapps.com                                             EmailFirst-Class Mail
Aditya Dalvi                                                     Address Redacted                                                                                                                                                                                                                                                                                       First -Class Mail
Adk Goup, Inc.                                                   11 Beacon Street, Suite 1200                        Boston, MA 02108                                                                                                                                                                                                                                   First -Class Mail
Adk Group LLC                                                    11 Beacon St, Ste 1200                              Boston, MA 02108-3016                                                                                                                                                                                                                              First -Class Mail
Adnan Majid                                                      Address Redacted                                                                                                                                                                                                                                                                                       First -Class Mail
Adobe Inc                                                        345 Park Ave                                        San Jose, CA 95110                                                                                                                                                                                                                                 First -Class Mail
Adobe Systems Inc                                                345 Park Ave                                        San Jose, CA 95110-2704                                                                                                                                                                                                                            First -Class Mail
Adp Workforcenow                                                 One Adp Boulevard                                   Roseland, NJ 07068                                                                                                                                                                                                                                 First -Class Mail
ADRN                                                             22 Rue De Moulin Fidel                              Paris, 92350                                                            France                                                                                                                                                                     First -Class Mail
Adt Security Svcs                                                P.O. Box 371956                                     Pittsburgh, PA 15250                                                                                                                                                                                                                               First -Class Mail
Advamed Medical Innovation Co, Ltd                               No531(F, Marlar Myaing Yeik Thar St                 Yangon 11041                                                            Myanmar                                                                                                                                                                    First -Class Mail
Advamed Medical Innovation Co, Ltd                               No 72, 5th Fl, Phone Gvi Rd                         Lanmadaw Township                                                       Yangoon                           Myanmar                                                                                                                                  First -Class Mail
Advamed Medical Innovation Co., Ltd.                             Advamed Medical Innovation Co., Ltd.                No 72, 5Th Floor, Phone Gvi Road                                        Lanmadaw Township, Yangoon        Myanmar                                                                                                                                  First -Class Mail
Advamed Medical Innovation Co., Ltd.                             No 72, 5Th Floor, Phone Gvi Road                    Lanmadaw Township,                                                      Myanmar                                                                                                                                                                    First -Class Mail
Advance Boiler Repair & Service I                                36168 W Highway 51                                  Mannford, OK 74044-3286                                                                                                                                                                                                                            First -Class Mail
Advanced Automated Systems Inc                                   23691 Via Del Rio                                   Yorba Linda, CA 92887-2715                                                                                                                                                                                                                         First -Class Mail
Advanced Critical Devices Inc                                    7005 S Edgerton Rd                                  Brecksville, OH 44141-4203                                                                                                                                                                                                                         First -Class Mail
Advanced Inhalation Therapies (Ait) Ltd.                         2 Derech Meir Weisgal                               Rehovot, 7632605                                                        Israel                                                                                                                                                                     First -Class Mail
Advanced Inhalation Therapies (Ait), Ltd                         500 Mamaroneck Avenue                               Harrison, NY 10528                                                                                                                                                                                                                                 First -Class Mail
Advanced International Business Group                            Advanced International Business Group               Po Box 133                                                              Postal Code: 118 Muscat           Oman                                                                                                                                     First -Class Mail
Advanced International Business Group                            Po Box 133                                          Oman                                                                                                                                                                                                                                               First -Class Mail
Advanced International Business Group                            1822 Muscat                                         OM, 118                                                                 Oman                                                                                                                                                                       First -Class Mail
Advanced International Business Group                            P.O. Box 133                                        Postal Code: 118 Muscat                                                 Oman                                                                                                                                                                       First -Class Mail
Advanced Lifeline Services                                       9400 Williamsburg Plaza                             Louisville, KY 40222                                                                                                                                                                                                                               First -Class Mail
Advanced Lifetime Respiratory Services                           9400 Williamsburg Plaza                             Suite 200                                                               Louisville, KY 40222                                                                                                                                                       First -Class Mail
Advanced Measurement Machines Inc                                Attn: Patricia Riojas                               8900 Eton Ave, Ste F                                                    Canoga Park, CA 91304                                                                                 Customercare@amminc.com                                              EmailFirst-Class Mail
Advanced Mechatronics Solutions Inc                              10030 Via De La Amistad, Ste A                      San Diego, CA 92154-7299                                                                                                                                                                                                                           First -Class Mail
Advanced Mechatronics Solutions Inc                              9051 Siempre Viva Rd, Ste J                         San Diego, CA 92154-7634                                                                                                                                                                                                                           First -Class Mail
Advanced Medical Solutions Limited                               Aztec Business Park 14262, Unit 7                   Off Baba Dogo Rd 2                                                      Opp Pepsi Cola Co, 00800          Nairobi                                                                                                                                  First -Class Mail
Advanced Medical Solutions Limited                               33 Road One                                         Winsford Industrial Estate                                              Winsford, Cheshire                CW7 3RT                                   United Kingdom                                                                                 First -Class Mail
Advanced Medical Technologies & Service Ltd.                     Advanced Medical Technologies & Service Ltd.        83 Beliashivli Str.                                                     Tbilisi 0159                      Georgia                                                                                                                                  First -Class Mail
Advanced Medical Techology Associates                            aka Advamed                                         701 Pennsylvania Ave NW, Ste 800                                        Washington, DC 20004-2654                                                                                                                                                  First -Class Mail
Advanced Motion Controls                                         Attn: Donna McCarthy                                3805 Calle Tecate                                                       Camarillo, CA 93012                                                                                   dmccarthy@a-m-c.com                                                  EmailFirst-Class Mail
Advanced Motion Controls                                         Attn: Donna Mccarthy                                3805 Calle Tecate                                                       Camarillo, CA 93012                                                                                                                                                        First -Class Mail
Advanced Motion Controls                                         3805 Calle Tecate                                   Camarillo, CA 93012                                                                                                                                                                                                                                First -Class Mail
Advanced Packaging Technology Labor                              200 Larkin Dr, Ste H                                Wheeling, IL 60090-6498                                                                                                                                                                                                                            First -Class Mail
Advanced Printing                                                2990 Airway Ave, Ste A                              Costa Mesa, CA 92688                                                                                                                                                          advprint@pacbell.net                                                 EmailFirst-Class Mail
Advanced Printing                                                Attn: Rick Jackson                                  2990 Airway Ave, Ste A                                                  Costa Mesa, CA 92626                                                                                  advprint@pacbell.net                                                 EmailFirst-Class Mail
Advanced Printing                                                649 S. B Street                                     Tustin, CA 92780                                                                                                                                                                                                                                   First -Class Mail
Advanced Printing                                                Attn: Martin Jackson                                649 S B St                                                              Tustin, CA 92780-4317                                                                                                                                                      First -Class Mail
Advanced Printing                                                649 S B St                                          Tustin, CA 92780-4317                                                                                                                                                                                                                              First -Class Mail
Advanced Radiology Services PC                                   3264 N Evergreen Dr NE                              Grand Rapids, MI 49525-9746                                                                                                                                                                                                                        First -Class Mail
Advanced Solutions Network                                       dba Plastics Svcs Network                           Attn: Matt Heidecker                                                    5368 Kuhl Rd                      Erie, PA 16510                                                      Matthew.heidecker@psnlabs.com                                        EmailFirst-Class Mail
Advanced Solutions Network Llc Dba Plastics Services Network     5368 Kuhl Road                                      Erie, PA 16510                                                                                                                                                                                                                                     First -Class Mail
Advanced Surgicare                                               2222 Lafayette St                                   Santa Clara, CA 95050-2904                                                                                                                                                                                                                         First -Class Mail
Advanced Technology Company Kscp                                 Atc Tower, Salmiya Salem Al Mubarak St              Block 4, Street 1 Opposite Layla Tower                                  P.O. Box 44558                    Hawalli 32060                             Kuwait                                                                                         First -Class Mail
Advanced Technology Company Kscp                                 Bldg 2 P.O.Box44558                                 Kuwait                                                                                                                                                                                                                                             First -Class Mail
Advanced Technology Company KSCP                                 ATC Tower, Salem Al Mubarak St                      Block 4, St 1, opposite Laila Tower                                     PO Box 44558                      Hawally, 32060                            Kuwait                                                                                         First -Class Mail
Advanced Technology Company KSCP                                 ATC Tower, Salmiya Salem Al Mubarak St              Block 4, St 1 opposite Layla Tower                                      P.O. Box 44558                    Hawally, 32060                            Kuwait                                                                                         First -Class Mail
Advanced Test Equipment Rentals                                  10401 Roselle St                                    San Diego, CA 92121                                                                                                                                                                                                                                First -Class Mail
Advantage Business Media LLC                                     100 Enterprise Dr, Ste 600                          Rockaway, NJ 07866-2129                                                                                                                                                                                                                            First -Class Mail
Advantage Engineering Inc                                        2461 Reliable Pkwy                                  Chicago, IL 60686-0024                                                                                                                                                                                                                             First -Class Mail
Advantage Engineering Inc                                        525 E Stop 18 Rd                                    Greenwood, IN 46143                                                                                                                                                                                                                                First -Class Mail
Advantage Moving & Storage Inc                                   2641 Corporate Pkwy                                 Algonquin, IL 60102-2560                                                                                                                                                                                                                           First -Class Mail
Advantax Group LLC                                               200 W River Dr                                      St Charles, IL 60174                                                                                                                                                                                                                               First -Class Mail
Advantech Corporation                                            13 Whatney                                          Irvine, CA 92618                                                                                                                                                                                                                                   First -Class Mail
Advent Health                                                    1110 N Kentucky Ave                                 Winter Park, FL 32789                                                                                                                                                                                                                              First -Class Mail
Advent Health                                                    900 Hope Way                                        Altamonte Springs, FL 32714                                                                                                                                                                                                                        First -Class Mail
Advent Systems Inc                                               435 W Fullerton Ave                                 Elmhurst, IL 60126-1404                                                                                                                                                                                                                            First -Class Mail
AdventHealth Central Texas                                       2201 S Clear Creek Rd                               Killeen, TX 76549                                                                                                                                                                                                                                  First -Class Mail
Advention Business Partners Inc                                  28 W 44th St, Ste 111                               New York, NY 10036-7402                                                                                                                                                                                                                            First -Class Mail
Adventist Health System                                          900 Hope Way                                        Altamonte Springs, FL 32714-1502                                                                                                                                                                                                                   First -Class Mail
Adventist Health System Sunbelt Healthcare (Dba Adventhealth)    900 Hope Way                                        Altamonte Springs, FL 32714                                                                                                                                                                                                                        First -Class Mail
Adventist Health System West                                     900 Hope Way                                        Altamonte Springs, FL 32714-1502                                                                                                                                                                                                                   First -Class Mail
Adventist White Oak Medical Center                               Adventist White Oak Medical Center                  11890 Healing Way                                                       Silver Spring, MD 20904                                                                                                                                                    First -Class Mail
Advocate Aurora Health Inc                                       3075 Highland Pkwy, 6th Fl                          Downers Grove, IL 60515-5563                                                                                                                                                                                                                       First -Class Mail
Advocate Aurora Health, Inc                                      Attn: Chief Privacy Officer                         750 W. Virginia Street                                                  Milwaukee, WI 50204                                                                                                                                                        First -Class Mail
AE Medical JSC                                                   Liepu Str 83                                        Klaipeda, LT-92195                                                      Lithuania                                                                                                                                                                  First -Class Mail
Aec Inc                                                          1100 E Woodfield Rd, Ste 550                        Schaumburg, IL 60173-5135                                                                                                                                                                                                                          First -Class Mail
Aero Med Ltd                                                     1265 S River Rd, Ste 500                            Cranbury, NJ 08512-3607                                                                                                                                                                                                                            First -Class Mail
Aero Rubber Co Inc                                               8100 185th St                                       Tinley Park, IL 60487-9201                                                                                                                                                                                                                         First -Class Mail
Aerogen Limited                                                  Galway Business Park                                Dangan, Galway                                                          H91 He94                          Ireland                                   Ireland                                                                                        First -Class Mail
Aerogen LTD                                                      Attn: Bernice                                       Galaway Business Park, Dangan                                           Galway                            Ireland                                                             bfaherty@aerogen.com                                                 First -Class Mail
Aerogen Ltd                                                      Galway Business Park Dangan Galway, Ireland         Ireland                                                                                                                                                                                                                                            First -Class Mail
Aero-Med, Ltd                                                    Aero-Med, Ltd                                       99 Commerce Street                                                      Glastonbury, CT 06033                                                                                                                                                      First -Class Mail
Aerostar Global Logistics Inc                                    9500 N Royal Ln, Ste 170                            Irving, TX 75063-2426                                                                                                                                                                                                                              First -Class Mail
                                                                    Case 24-11217-BLS                                                                                        Doc 463                                  Filed 08/24/24                                                       Page 4 of 51

Aerotek                                                       6465 Sycamore Canyon Blvd                                Riverside, CA 92507                                                                                                                                                                                                                                    First -Class Mail
Aerotek Inc                                                   7301 Parkway Dr S                                        Hanover, MD 21076                                                                                                                                                                                Mperalta@aerotek.com                                  EmailFirst-Class Mail
Aerotek Inc                                                   410 N Michigan Ave                                       Chicago, IL 60611                                                                                                                                                                                                                                      First -Class Mail
Aerotek Inc                                                   3689 Collection Ctr Dr                                   Chicago, IL 60693-0036                                                                                                                                                                                                                                 First -Class Mail
Aerotek, Inc.                                                 7301 Parkway Drive                                       Hanover, MD 21076                                                                                                                                                                                                                                      First -Class Mail
Aes Molds Inc                                                 1950 W. Corporate Way                                    Pmb 23336                                                          Anaheim, CA 92801                                                                                                                                                                   First -Class Mail
AFC Industries (Patton)                                       Attn: Shawn Kellett                                      8410 Pillsbury Ave S                                               Bloomington, MN 55420                                                                                                         shawn.kellett@afcind.com                              EmailFirst-Class Mail
AFCO Credit Corp                                              1133 Ave of The Americacs                                New York, NY 10036-6710                                                                                                                                                                                                                                First -Class Mail
Afco Credit Corporation                                       14 Wall Street, Suite 8A                                 New York, NY 10005                                                                                                                                                                                                                                     First -Class Mail
Affiliated Radiologist Sc                                     1725 W Harrison St, Ste 437                              Chicago, IL 60612-3893                                                                                                                                                                                                                                 First -Class Mail
Affinity Hospital LLC                                         c/o Grandview Medical Center                             3690 Grandview Pkwy                                                Birmingham, AL 35243-3326                                                                                                                                                           First -Class Mail
AFL Enterprise Services Inc                                   2807 Gray Fox Rd                                         Monroe, NC 28110-6405                                                                                                                                                                                                                                  First -Class Mail
Aflac                                                         c/o American Family Life Assurance Comp                  1932 Wynnton Rd                                                    Columbus, GA 31999-0001                                                                                                                                                             First -Class Mail
Afram Property Cleaning Service                               31A Rossiter St                                          Smithfield, NSW 2164                                               Australia                                                                                                                                                                           First -Class Mail
Afric Medical                                                 Zone 3 Rue Des Carrossiers Treichville                   Abidjan                                                            Cote D'Ivoire                                                                                                                                                                       First -Class Mail
Afric Medical                                                 Zone 3, Rue Des Carrossiers Treichville                  Cote d'Ivoire                                                                                                                                                                                                                                          First -Class Mail
Ag Industries                                                 1031 Executive Parkway Drive                             St Louis, MO 63141                                                                                                                                                                                                                                     First -Class Mail
Ag Industries Llc                                             1031 Executibe Parkway Drive                             St Louis, MO 63141                                                                                                                                                                                                                                     First -Class Mail
Ag Net Lease Acquisition Corp.                                245 Park Ave, 26Th Floor                                 New York, NY 10167                                                                                                                                                                                                                                     First -Class Mail
Aga Biomedica Srl                                             Via Vittorio Veneto                                      Cava Detirreni, 84013                                              Italy                                                                                                                                                                               First -Class Mail
Agani Ltd                                                     Agani Ltd                                                Shelgjete E Perroit P.N.                                           Kosovo                                                                                                                                                                              First -Class Mail
Agani Ltd                                                     Shelgjete E Perroit P.N.                                 Kosovo                                                                                                                                                                                                                                                 First -Class Mail
Agani Ltd Shpk                                                Magj Phishtine - Ferizaj Km 5                            Gracanice, 10500                                                   Kosovo                                                                                                                                                                              First -Class Mail
Agatha Inc                                                    1 Boston Pl, Ste 2600                                    Boston, MA 02108-4420                                                                                                                                                                                                                                  First -Class Mail
Aggogle Inc                                                   2241 Sarasota Ctr Blvd                                   Sarasota, FL 34240-7811                                                                                                                                                                                                                                First -Class Mail
Aggogle Inc                                                   2245 Industrial Blvd                                     Sarasota, FL 34234                                                                                                                                                                                                                                     First -Class Mail
Agilent Technologies                                          4187 Collection Center Dr                                Chicago, IL 60693-0041                                                                                                                                                                                                                                 First -Class Mail
Agilent Technologies Inc                                      5301 Stevens Creek Blvd                                  Santa Clara, CA 95051-7201                                                                                                                                                                                                                             First -Class Mail
Agiliti Health                                                Attn: Daniel Schwarz                                     7700 France Ave, Ste 275                                           Edina, MN 55435                                                                                                               daniel.schwarz@agilitihealth.com                      EmailFirst-Class Mail
Agiliti Health Inc                                            6625 W 78th St                                           Minneapolis, MN 55439-2649                                                                                                                                                                                                                             First -Class Mail
Agiliti Health Inc                                            P.O. Box 851315                                          Minneapolis, MN 55485-1315                                                                                                                                                                                                                             First -Class Mail
Agiliti Health, Inc.                                          6625 West 78Th St                                        Minneapolis, MN 55439                                                                                                                                                                                                                                  First -Class Mail
Agiliti Health, Inc.                                          6625 West 78Th St.                                       Suite 300                                                          Minneapolis, MN 55439                                                                                                                                                               First -Class Mail
Agility                                                       21906 Arnold Center Rd                                   Long Beach, CA 90810-1646                                                                                                                                                                                                                              First -Class Mail
Agnesian Healthcare                                           430 E Division St                                        Fond Du Lac, WI 54935-4560                                                                                                                                                                                                                             First -Class Mail
Aguilar Murguia Asesores En Servici                           c/o Integrales De Salud Sa De Cv                         Rancho San Lorenzo No 89 Int 403                                   Ciudad De Mexico, DF 04920                                 Mexico                                                                                                                   First -Class Mail
Ahm Qutubuddin                                                Address Redacted                                                                                                                                                                                                                                                                                                First -Class Mail
Ahmed Enterprise                                              Ahmed Enterprise                                         House-44/A, Roda-03, Block-B                                       Mirpur- 12, Pallabi                                        Bangladesh                                                                                                               First -Class Mail
Ahs Hospital Corp.                                            Ahs Hospital Corp.                                       475 South Street                                                   Morristown, NJ 07962-1905                                                                                                                                                           First -Class Mail
AIG                                                           1271 6th Ave, Ste 41                                     New York, NY 10020                                                                                                                                                                                                                                     First -Class Mail
Aileron Solutions LLC                                         625 W Ridge Pike, Ste D-101                              Conshohocken, PA 19428-3215                                                                                                                                                                                                                            First -Class Mail
Aim Education Srl                                             Via Roma 101, 00184 Rome, Italy                          Italy                                                                                                                                                                                                                                                  First -Class Mail
Aimed Group Inc                                               1843 Oakland Ave                                         Wantagh, NY 11793-3632                                                                                                                                                                                                                                 First -Class Mail
Aimen Ben Ayad                                                Address Redacted                                                                                                                                                                                                                                                                                                First -Class Mail
AINO-M                                                        Polyomed Oy Ltd, Polyomed CJSC                           Office 31, Bldg 2, 25, Petrovka St                                 107031, Moscow                                             Russia                                                                                                                   First -Class Mail
AINO-M                                                        Polyomed Oy Ltd, Polyomed CJSC                           Yauzskaya st 5, 1st Fl of 108                                      Prem VI, K16                                               109028 Moscow                          Russia                                                                            First -Class Mail
Aino-M (See Polyomed Oy Ltd., Polyomed Cjsc)                  Aino-M                                                   Yauzskaya Str. 5, 1St Floor, Of. 108,                              Prem. Vi, K16                                              109028 Moscow                          Russia                                                                            First -Class Mail
Air Cleaning Systems                                          Attn: Betsy Reing                                        1966 W Holt Ave                                                    Pomona, CA 91768                                                                                                              bloofbourrows@acs-cal.com                             EmailFirst-Class Mail
Air Cleaning Technologies Inc                                 1300 W Detroit St                                        Broken Arrow, OK 74012-3625                                                                                                                                                                                                                            First -Class Mail
Air Cleaning Technology                                       411 Rowland Ave                                          Santa Ana, CA 92707                                                                                                                                                                                                                                    First -Class Mail
Air Compressor Supply                                         3916 S I 35 Service Rd                                   Oklahoma City, OK 73129-6903                                                                                                                                                                                                                           First -Class Mail
Air Liquide Healthcare America Corp                           P.O. Box 200269                                          Houston, TX 77216-0269                                                                                                                                                                                                                                 First -Class Mail
Air Liquide Healthcare America Corp                           12800 W Little York                                      Houston, TX 77041                                                                                                                                                                                                                                      First -Class Mail
AIR Medical Physician Association                             Attn: Patricia Peterson                                  951 E Montana Vista Ln                                             Salt Lake City, UT 84124                                                                                                      Ppeter1111@aol.com                                    EmailFirst-Class Mail
Air Methods Corporation                                       5500 South Quebec Street                                 Greenwood Village, CO 80111                                                                                                                                                                                                                            First -Class Mail
Air Methods Corporation                                       5500 South Quebec Street, Suite 300                      Greenwood Village, CO 80111                                                                                                                                                                                                                            First -Class Mail
Air Squared Manufacturing Inc                                 Attn: Kirk Shaffer                                       3001 Industrial Ln, Ste 3                                          Broomfield, CO 80020                                                                                                          kirk@airsquared.com                                   EmailFirst-Class Mail
Air Water Inc.                                                Air Water Inc.                                           Attn: Takeshi Matsumoto                                            18-19 Toranomon, 3-Chome,                                  Minato-Ku, Tokyo 105-0001              Japan                                                                             First -Class Mail
Air Water Inc.                                                Air Water Inc.                                           18-19, Toranomon 3-Chome                                           Minato-Ku, Tokyo 105-0001                                  Japan                                                                                                                    First -Class Mail
Air Water Link                                                18-19, Toranomon 3-Chome Minato-Ku                       Tokyo 105-0001, Japan                                              Japan                                                                                                                                                                               First -Class Mail
Air Water Medical Inc.                                        5-1 Minami Dai 1 Chome Medical Device Center,350-1165    Japan                                                                                                                                                                                                                                                  First -Class Mail
Airbone Express Corp                                          411 Camino Del Rio So, Ste 103                           San Diego, CA 92108                                                                                                                                                                                                                                    First -Class Mail
Airclean Systems                                              c/o Applied Medical Technologies Inc                     2179 E Lyon Station Rd                                             Creedmoor, NC 27522-9108                                                                                                                                                            First -Class Mail
Airgas Mid South Inc                                          P.O. Box 676015                                          Dallas, TX 75267                                                                                                                                                                                                                                       First -Class Mail
Airgas Therapeutics LLC                                       Attn: Bonnie Martin, Cheryl Toppeta                      6141 Easton Rd, Bldg 3                                             Plumsteadville, PA 18949                                                                                                      bonnie.martin@airgas.com; Cheryl.toppeta@airgas.com   EmailFirst-Class Mail
Airgas USA LLC                                                c/o Airgas Inc                                           2015 Vaughn Rd NW, Ste 400                                         Kennesaw, GA 30144-7802                                                                                                                                                             First -Class Mail
Airgas USA LLC                                                P.O. Box 102289                                          Pasadena, CA 91189-2289                                                                                                                                                                                                                                First -Class Mail
Airgas Usa, Llc                                               259 N. Radnor Chester Rd                                 #100                                                               Radnor, PA 19087                                                                                                                                                                    First -Class Mail
Airgas West                                                   Attn: Stephan Jones                                      72059 Woburn Ct, Ste 1                                             Thousand Palms, CA 34786                                                                                                      stephen.jones1@airgas.com                             EmailFirst-Class Mail
Airgoal Intl USA                                              c/o Winair Logistics Inc                                 23059 International Airport Ctr                                    Springfield Gardens, NY 11413-4114                                                                                                                                                  First -Class Mail
Airwaves Global Logistics                                     16051 Rockaway Blvd, Ste 207                             Jamaica, NY 11434-5129                                                                                                                                                                                                                                 First -Class Mail
Airways Freight Corp.                                         3849 W. Wedington Dr.                                    Fayetteville, AR 72704                                                                                                                                                                                                                                 First -Class Mail
Aisin World Corp. Of America                                  15300 Centennial Dr.                                     Northville, MI 48186                                                                                                                                                                                                                                   First -Class Mail
AIT Worldwide Logistics                                       5960 Pacific Mesa Ct, Ste 302                            San Diego, CA 92121-4318                                                                                                                                                                                                                               First -Class Mail
Ait Worldwide Logistics Inc                                   fka Oracle 540                                           P.O. Box 66730                                                     Chicago, IL 60666-0730                                                                                                                                                              First -Class Mail
Aivar Lejins Inc                                              900 S Magnolia Ave, Ste A                                Monrovia, CA 91016-1138                                                                                                                                                                                                                                First -Class Mail
Aivar Lejins Inc                                              15558 Arrow Hyw, Unit E                                  Irwindale, CA 91706-6614                                                                                                                                                                                                                               First -Class Mail
Aivar Lejins Inc.                                             1400 Coleman Ave                                         Santa Clara, CA 95050                                                                                                                                                                                                                                  First -Class Mail
AIVAR LEJINS, INC                                             Attn: Earl Buner                                         900 S Magnolia Ave                                                 Monrovia, CA 91016                                                                                                                                                                  First -Class Mail
Ajay Gopal                                                    Address Redacted                                                                                                                                                                                                                                                                                                First -Class Mail
Akbar Masood                                                  Address Redacted                                                                                                                                                                                                                                                                                                First -Class Mail
Akeso & Co Ltd                                                11 Cursitor St, 1st Fl                                   London, EC4A 1LL                                                   United Kingdom                                                                                                                                                                      First -Class Mail
Akeso & Company Limited                                       16 Cursitor Street                                       Ec4A 1Ll                                                           London                                                     United Kingdom                                                                                                           First -Class Mail
Akihiro Konno                                                                                                                                                                                                                                                                                                           konnoa.qlf@imimed.co.jp                               Email
Akm Anschluss Kunststoffund                                   c/o Montagetechnik GMBH                                  Rudolf Diesel Strasse 24                                           Blaufelden, 74572                                          Germany                                                                                                                  First -Class Mail
Akm Anschluss, Kunststoff Und Montagetechnik Gmbh             Rudolf-Diesel-Str. 24-26                                 Blaufelden 74572                                                   Germany                                                                                                                                                                             First -Class Mail
AKM Anschluss-Kunststoff-und                                  Montagetechnik GmbH                                      Attn: Verena Mut                                                   Rudolf-Diesel-Strasse 24                                   Blaufelden, 74572                      Germany                                                                           First -Class Mail
AKM Anschluss-Kunststoff-und Montagetechnik GmbH              Attn: Verena Mut                                         Rudolf-Diesel-Strasse 24                                           Blaufelden, 74572                                          Germany                                                            verena.mut@akm-kuststofftechnik.de                    First -Class Mail
AKRA Plastic Product Inc                                      Attn: Alex Semecako                                      1504 E Cedar St                                                    Ontario, CA 91761                                                                                                             alex@akraplastics.com                                 EmailFirst-Class Mail
Aktimed Plus LLC                                              43, Prospekt Lunacharskogo                               194291 St Petersburg                                               Russia                                                                                                                                                                              First -Class Mail
Aktimed Plus LLC                                              Prospekt Rayvevskogo, 14 Bldg 2                          194964 St Petersburg                                               Russia                                                                                                                                                                              First -Class Mail
Aktimed Plus Llc (Dual Distributor With Antaeus Oy 1104550)   Aktimed Plus Llc                                         Prospekt Rayvevskogo, 14 Bld. 2                                    Saint-Petersburg 194964                                    Russia                                                                                                                   First -Class Mail
Alaark Tooling & Automation Inc                               4336 Gateway Dr                                          Sheboygan, WI 53081-7300                                                                                                                                                                                                                               First -Class Mail
Alabama - Revenue Discovery Systems                           Autauga, Birmingham, Chilton, Clanton, Dale, Dothan      Florence, Hamilton, Henry, Jackson, Lauderdale, Pike, Scottsboro   Sales Tax Division                                         P.O. Box 830725                        Birmingham, Al 35283-0725                                                         First -Class Mail
Alabama - Montgomery                                          City Of Montgomery License & Revenue Division            c/o Dept RBT 3                                                     P.O. Box 830525                                            Birmingham, AL 35283-0525                                                                                                First -Class Mail
Alabama - Revenue Discovery                                   Sales Tax Division                                       P.O. Box 830725                                                    Birmingham, AL 35283-0725                                                                                                                                                           First -Class Mail
Alabama - STACS                                               City of Sheffield Colbert County Franklin County         Sales Tax Division                                                 P.O. Box 3989                                              Muscle Shoals, AL 35662                                                                                                  First -Class Mail
Alabama - STACS                                               Sales Tax Division                                       P.O. Box 3989, Muscle                                              Shoals, AL 35662                                                                                                                                                                    First -Class Mail
Alabama Dept of Revenue                                       P.O. Box 327790                                          Montgomery, AL 36132-7790                                                                                                                                                                                                                              First -Class Mail
Alabama Dept of Revenue                                       Business Privilege Tax Section                           P.O. Box 327431                                                    Montgomery, AL 36132-7431                                                                                                                                                           First -Class Mail
Alabama Insurance Guaranty Associat                           600 University Park Pl, Ste 260                          Birmingham, AL 35209-6733                                                                                                                                                                                                                              First -Class Mail
Alabama State Board of Pharmacy                               111 Village St                                           Birmingham, AL 35242                                                                                                                                                                                                                                   First -Class Mail
Aladdin Medical Kft                                           Paragvari Utca 15                                        Szombathely, 9700                                                  Hungary                                                                                                                                                                             First -Class Mail
Aladdin Medical Kft.                                          Aladdin Medical Kft.                                     Paragvari U. 15                                                    9700, Szombathely                                          Hungary                                                                                                                  First -Class Mail
Aladdin Travel Services Inc                                   301 N Main St, Ste 2602                                  Winston Salem, NC 27101-3885                                                                                                                                                                                                                           First -Class Mail
Alain Tremblay                                                Address Redacted                                                                                                                                                                                                                                                                                                First -Class Mail
Alamo Gage Co                                                 c/o Alamo Gage Inc                                       P.O. Box 1975                                                      Boerne, TX 78006                                                                                                                                                                    First -Class Mail
Alamo Gage Co                                                 c/o Alamo Gage Inc                                       17 Kelton Ave                                                      Boerne, TX 78006-5659                                                                                                                                                               First -Class Mail
Alamo Gage Company                                            1201 N Alamo St                                          San Antonio, TX 78215                                                                                                                                                                                                                                  First -Class Mail
Alan Q Tran                                                   Address Redacted                                                                                                                                                                                                                                                                                                First -Class Mail
Alaris Truck                                                  8750 Production Ave                                      San Diego, CA 92121                                                                                                                                                                                                                                    First -Class Mail
Alaska Board of Pharmacy                                      550 W 7th Ave, Ste 1500                                  Anchorage, AK 99501-3567                                                                                                                                                                                                                               First -Class Mail
Alaska Dept of Revenue                                        550 W 7th Ave, Ste 500                                   Anchorage, AK 99501-3555                                                                                                                                                                                                                               First -Class Mail
Alaska Dept of Revenue                                        Tax Division                                             550 W 7th Ave, Ste 500                                             Anchorage, AK 99501-3555                                                                                                                                                            First -Class Mail
Alba Luis                                                     Address Redacted                                                                                                                                                                                                                                                                                                First -Class Mail
AlbaCore Capital                                              55 St James's St                                         London, SW1A 1LA                                                   United Kingdom                                                                                                                                                                      First -Class Mail
Albany Medical Center Hospital                                43 New Scotland Ave                                      Albany, NY 12208                                                                                                                                                                                                                                       First -Class Mail
Albany Medical Center Hospital                                43 New Scotland Ave                                      Mc2                                                                Albany, NY 12208                                                                                                                                                                    First -Class Mail
Albany Medical Center Hospital                                43 New Scotland Ave                                      Albany, NY 12208-3412                                                                                                                                                                                                                                  First -Class Mail
Albert Arno Inc                                               5000 Claxton Ave                                         St Louis, MO 63120-2338                                                                                                                                                                                                                                First -Class Mail
Albert Einstein Hospital                                      1600 Tenbroeck Ave                                       Bronx, NY 10461-2008                                                                                                                                                                                                                                   First -Class Mail
Alberta Health Services                                       c/o Information And Privacy Office                       10101 Southport Road S.W.                                          Calgary, AB T2W 3N2                                        Canada                                                                                                                   First -Class Mail
Alberta Health Services                                       8540-112 St                                              Edmonton, AB T6G 2X8                                               Canada                                                                                                                                                                              First -Class Mail
Alberto Carlos Feliciano Alvarado                             Address Redacted                                                                                                                                                                                                                                                                                                First -Class Mail
Alberto Soqui                                                 Address Redacted                                                                                                                                                                                                                                                                                                First -Class Mail
Alcentra Ltd                                                  Cannon Pl                                                78 Cannon St                                                       London, EC4N 6HL                                           United Kingdom                                                                                                           First -Class Mail
Alcentra NY LLC                                               200 Park Ave                                             New York, NY 10166                                                                                                                                                                                                                                     First -Class Mail
Alden Michael Ruiz                                            Address Redacted                                                                                                                                                                                                                                                                                                First -Class Mail
Aldo Parodi, MD                                               Address Redacted                                                                                                                                                                                                                                                                                                First -Class Mail
Aledo Consulting Inc                                          8395 Keystone Xing, Ste 206                              Indianapolis, IN 46240-2490                                                                                                                                                                                                                            First -Class Mail
Aleph One Limited                                             The Old Courthouse                                       123 High Street                                                    Bottisham, Cambridge Cb15 9Ba                              United Kingdom                                                                                                           First -Class Mail
Al-Essa Medical & Scientific Equipment Co WLL                 P.O. Box 3562                                            118 Sector C, St 38, Shuwaikh Ind Area                             13036 Safat                                                Kuwait                                                                                                                   First -Class Mail
Al-Essa Medical & Scientific Equipment Co WLL                 Al-Essa Medical & Scientific Equipment Co WLL            P.O. Box 3562                                                      118 Sector C, St 38, Shuwaikh Ind Area                     13036 Al Safat                         Kuwait                                                                            First -Class Mail
Al-Essa Medical & Scientific Equipment Co. Wll                Al-Essa Medical & Scientific Equipment Co. Wll           Po Box 3562                                                        118 Sector C, Street 38, Shuwaikh Ind. Area                13036 Al Safat                         Kuwait                                                                            First -Class Mail
Alex A Ocampo                                                 Address Redacted                                                                                                                                                                                                                                                                                                First -Class Mail
Alex Rabinsky                                                 Address Redacted                                                                                                                                                                                                                                                                                                First -Class Mail
Alexander Group, Inc.                                         8155 E Indian Bend Road                                  Suite 111                                                          Scottsdale, AZ 85250                                                                                                                                                                First -Class Mail
Aleysian LLC                                                  Attn: Dustin Ward                                        630 Stonegate Ter                                                  Glencoe, IL 60022                                                                                                             dward@aleysian.com                                    EmailFirst-Class Mail
Aleysian Llc                                                  630 Stonegate Terrace                                    Glencoe, IL 60022                                                                                                                                                                                                                                      First -Class Mail
Aleysian LLC                                                  630 Stonegate Ter                                        Glencoe, IL 60022-1466                                                                                                                                                                                                                                 First -Class Mail
Alfabica Healthcare S.A. De C.V.                              Alfabica Healthcare S.A. De C.V.                         2798 Int. 5B                                                       Colonia Circunvalacion Vallarta                            Guadalajara Jalisco, C.P. 44680        Mexico                                                                            First -Class Mail
Alfabica Healthcare SA de CV                                  Calle México No 2798-5-B                                 Colonia Circunvalación Vallarta                                    Guadalajara, Jalisco, CP 44680                             Mexico                                                                                                                   First -Class Mail
Al-Faisaliah Medical Systems                                  Al-Faisaliah Medical Systems                             P.O. Box 62961 Riyadh                                              11595 East Ring Road, Exit 8, Business Gate, Building 10   Qurtubah District                      Kingdom of Saudi Arabia                                                           First -Class Mail
Alfatek Inc                                                   1605 Pacific Rim Ct, Ste F                               San Diego, CA 92154-7527                                                                                                                                                                                                                               First -Class Mail
Alfred Manufacturing Co                                       4398 Elati St                                            Denver, CO 80216-2637                                                                                                                                                                                                                                  First -Class Mail
Alhindiba Scientific Bureau                                   Building 23, Street 21                                   Bab Almoathem                                                      Baghdad                                                    Iraq                                                                                                                     First -Class Mail
Alhindiba Scientific Bureau                                   Bab Almoathem, Dis. 120, St.21 Building 23               Iraq                                                                                                                                                                                                                                                   First -Class Mail
AlHindiba Scientific Bureau                                   Bldg 23                                                  Bab Al Moathem                                                     Baghdad                                                    Iraq                                                                                                                     First -Class Mail
AlHindiba Scientific Bureau                                   Bldg 23, St 21                                           Bab AlMoathem                                                      Baghdad                                                    Iraq                                                                                                                     First -Class Mail
Ali Imran Musani                                              Address Redacted                                                                                                                                                                                                                                                                                                First -Class Mail
Ali Lung Center                                               706 Wilkins St, Ste C                                    Smithfield, NC 27577                                                                                                                                                                                                                                   First -Class Mail
Alice Spangler                                                Address Redacted                                                                                                                                                                                                                                                                                                First -Class Mail
Alice Vega                                                    Address Redacted                                                                                                                                                                                                                                                                                                First -Class Mail
Align Alternatives Inc                                        751 E Southlake Blvd, Ste 130                            Southlake, TX 76092-6352                                                                                                                                                                                                                               First -Class Mail
Align Technology Inc.                                         2820 Orchard Parkway                                     San Jose, CA 95134                                                                                                                                                                                                                                     First -Class Mail
AlixPartners                                                  909 3rd Ave                                              New York, NY 10022                                                                                                                                                                                                                                     First -Class Mail
All Copy Products Inc                                         c/o Copygraphix                                          740 E Ajo Way                                                      Tucson, AZ 85713-5010                                                                                                                                                               First -Class Mail
All Flex Flexible Circuits Llc                                1705 Cannon Lane                                         Northfield, MN 55057                                                                                                                                                                                                                                   First -Class Mail
All Flex Solutions Inc                                        Attn: Amanda Schaner-Martinez                            1705 Cannon Ln                                                     Northfield, MN 55057                                                                                                          aschaner@allflexinc.com                               EmailFirst-Class Mail
All Inclusive Medical LLC                                     Attn: Wanda Kathleen Perrett                             640 Chickasaw Ave                                                  Jackson, MS 39206-5807                                                                                                                                                              First -Class Mail
All Products Mfg & Supply Inc                                 618 Anderson Dr                                          Romeoville, IL 60446-1288                                                                                                                                                                                                                              First -Class Mail
All Seals Inc                                                 Attn: Laurie Norris                                      20762 Linear Ln                                                    Lake Forest, CA 92630                                                                                                                                                               First -Class Mail
All Seals, Inc                                                Attn: Laurie Norris                                      20762 Linear Ln                                                    Lake Forest, CA 92630                                                                                                         lnorris@herculesoem.com                               EmailFirst-Class Mail
All Sensors                                                   16035 Vineyard Blvd.                                     Morgan Hill, CA 95037                                                                                                                                                                                                                                  First -Class Mail
All Sensors Corp                                              16035 Vineyard Blvd                                      Morgan Hill, CA 95037                                                                                                                                                                                                                                  First -Class Mail
All Sensors Corporation                                       16035 Vineyard Blvd.                                     Morgan Hill, CA 95037                                                                                                                                                                                                                                  First -Class Mail
All Spec Industries                                           Attn: Ingrid                                             5228 US Hwy 421N                                                   Wilmington, NC 28401                                                                                                          ingridn@all-spec.com                                  EmailFirst-Class Mail
Allan Consulting Llc                                          4147 Kenwood Avenue                                      Gurnee, IL 60031                                                                                                                                                                                                                                       First -Class Mail
Allan Consulting LLC                                          Attn: David A Pratt                                      4147 Kenwood Ave                                                   Gurnee, IL 60031-2720                                                                                                                                                               First -Class Mail
Allan Santovenia                                              Address Redacted                                                                                                                                                                                                                                                                                                First -Class Mail
Allegheny Health Network                                      Corporate Contracting Division                           Four Allegheny Center, 9Th Floor                                   East Commons Professional Building                         Pittsburgh, PA 15212                                                                                                     First -Class Mail
Allegiance Of Greenville Llc                                  300 S Washington Ave                                     Greenville, MS 38701                                                                                                                                                                                                                                   First -Class Mail
Allegiant Construction LLC                                    c/o Christopher L Guffey                                 15505 Crystal Valley Way                                           Louisville, KY 40299-6903                                                                                                                                                           First -Class Mail
Allegiant Construction Llc                                    15505 Crystal Valley Way                                 Louisville, KY 40299                                                                                                                                                                                                                                   First -Class Mail
Allegis Global Solutions, Inc                                 c/o Allegis Global Holdings Inc                          7312 Parkway Dr                                                    Hanover, MD 21076-1158                                                                                                                                                              First -Class Mail
Allegis Group Holdings Inc                                    c/o Easi LLC                                             7301 Parkway Dr S                                                  Hanover, MD 21076-1108                                                                                                                                                              First -Class Mail
Allegis Group Holdings Inc                                    c/o Aston Carter Inc                                     7301 Parkway Dr                                                    Hanover, MD 21076-1159                                                                                                                                                              First -Class Mail
Allegra Print & Imaging                                       618 2nd Ave S, Ste B50                                   Minneapolis, MN 55402                                                                                                                                                                                                                                  First -Class Mail
Allen & Overy LLP                                             1221 Ave of The Americas                                 New York, NY 10020-1005                                                                                                                                                                                                                                First -Class Mail
Allen Jason Rogers                                            Address Redacted                                                                                                                                                                                                                                          Email Address Redacted                                EmailFirst-Class Mail
Allergic Disease Associates                                   2059 Briggs Rd                                           Mt Laurel, NJ 08054                                                                                                                                                                                                                                    First -Class Mail
Allergy & Asthma Center Of Central Texas                      Allergy & Asthma Center Of Central Texas                                                                                                                                                                                                                                                                        First -Class Mail
Allergy & Immunology Assoc                                    2000 N Huron River Dr Ste 200                            Ypsilanti, MI 48197                                                                                                                                                                                                                                    First -Class Mail
Alliance Health Ponca City                                    1900 N 14Th St                                           Ponca City, OK 74601                                                                                                                                                                                                                                   First -Class Mail
Alliance Partners LLC                                         14206 Northbrook Dr                                      San Antonio, TX 78232-5020                                                                                                                                                                                                                             First -Class Mail
Alliance Tech Inc                                             8900 Shoal Creek Blvd, Ste 400                           Austin, TX 78757-6853                                                                                                                                                                                                                                  First -Class Mail
Alliance Tech Medical, Inc.                                   Alliance Tech Medical, Inc.                              Po Box 6024                                                        Granbury, TX 76049                                                                                                                                                                  First -Class Mail
Alliance Tech, Inc                                            Attn: Sharl Plueger                                      8900 Shoal Creek Blvd, Ste 400                                     Austin, TX 78757                                                                                                                                                                    First -Class Mail
Alliance Tool & Carbide Corp                                  91 E Wilcox St                                           Maywood, IL 60153-2345                                                                                                                                                                                                                                 First -Class Mail
Allianz Global Risk                                           33 W. Monroe                                             Chicago, IL 60603                                                                                                                                                                                                                                      First -Class Mail
Allied Electronics                                            3914 Murphy Canyon Rd, Ste A124                          San Diego, CA 92123                                                                                                                                                                                                                                    First -Class Mail
Allied Electronics Inc                                        P.O. Box 2325                                            Fort Worth, TX 76113                                                                                                                                                                                                                                   First -Class Mail
Allied Electronics Inc                                        3914 Murphy Canyon Rd, Ste A124                          San Diego, CA 92123                                                                                                                                                                                                                                    First -Class Mail
Allied Electronics, Inc.                                      7151 Jack Newell Blvd.                                   S Ft Worth, TX 76118                                                                                                                                                                                                                                   First -Class Mail
Allied Group LLC                                              c/o The Allied Group                                     25 Amflex Dr                                                       Cranston, RI 02921-2028                                                                                                                                                             First -Class Mail
Allied Group, Inc.                                            25 Amflex Drive                                          Cranston, RI 02921                                                                                                                                                                                                                                     First -Class Mail
Allied Healthcare Products                                    1720 Sublette Ave                                        St Louis, MO 63110                                                                                                                                                                                                                                     First -Class Mail
Allied Irish Bank                                             c/o Sovereign House                                      361 King St                                                        Hammersmith, W6 9NA                                        United Kingdom                                                                                                           First -Class Mail
Allied Media LLC                                              P.O. Box 26206                                           Overland Park, KS 66225-6206                                                                                                                                                                                                                           First -Class Mail
Allied Media LLC                                              7101 College Blvd, Ste 400                               Overland Park, KS 66210-2081                                                                                                                                                                                                                           First -Class Mail
Allied Modular Building Systems Inc                           642 W Nicolas Ave                                        Orange, CA 92868-1316                                                                                                                                                                                                                                  First -Class Mail
Allied Physicians                                             c/o Surgery Center LLC                                   53990 Carmichael Dr, Ste 100                                       S Bend, IN 46635-1585                                                                                                                                                               First -Class Mail
Allied Reliability Inc                                        Attn: Frank Fulgham                                      1230 Madera Rd, Ste 5-154                                          Simi Valley, CA 93065                                                                                                         pro.line@sbcglobal.net                                EmailFirst-Class Mail
Allied Universal Security Services                            c/o Universal Protection Service LP                      P.O. Box 828854                                                    Philadelphia, PA 19182-8854                                                                                                                                                         First -Class Mail
Allied World Assurance Co (US) Inc                            199 Water St, 24th Fl                                    New York, NY 10038                                                                                                                                                                                                                                     First -Class Mail
Alligate Cargo Logistics                                      Attn: Kapoor Avnish                                      A-69 Ground Fl Shankar Garden                                      New Delhi, 110018                                          India                                                              contact@alligategroup.com                             First -Class Mail
Allina Health System                                          1400 Jefferson Rd                                        Northfield, MN 55057                                                                                                                                                                                                                                   First -Class Mail
Allison Comer                                                 Address Redacted                                                                                                                                                                                                                                                                                                First -Class Mail
Allison Medical Inc                                           P.O. Box 5463                                            Denver, CO 80217-5463                                                                                                                                                                                                                                  First -Class Mail
Allison Medical Inc                                           8091 Shaffer Pkwy                                        Littleton, CO 80127-3716                                                                                                                                                                                                                               First -Class Mail
Allolink Medical LLC                                          3415 Independence Dr, Ste 100                            Birmingham, AL 35209-8315                                                                                                                                                                                                                              First -Class Mail
Allplast GmbH                                                 Attn: Ruth Immler                                        Neurider Str 8                                                     Gauting, 82131                                             Germany                                                            verttrieb@allplast.de                                 First -Class Mail
Allplast Gmbh                                                 Neurieder Str. 8                                         82131 Gauting                                                      Germany                                                                                                                                                                             First -Class Mail
Allstaff-Digital Staffing                                     Digital Staffing                                         1110 West Lake Cook Rd., Suite 140                                 Buffalo Grove, IL 60089                                                                                                                                                             First -Class Mail
Alltech Supply Inc                                            Attn: Jay W Spadafora                                    10216 Werch Dr, Ste 113                                            Woodridge, IL 60517-5101                                                                                                                                                            First -Class Mail
All-Type Vacuum & Janitorial                                  P.O. Box 8488                                            St Louis, MO 63132-0488                                                                                                                                                                                                                                First -Class Mail
Alpelr Hastane Malzemeleri Paz Ins. Dis. Tic. Ltd. Sti        Alpler Hastane Malzemeleri Paz Ins. Dis. Tic. Ltd. Sti   Bahcekapi Mah 2500 Cad Number 15/9-10., Sasmaz/Etimesgut           Ankara                                                     Turkey                                                                                                                   First -Class Mail
Alpesh R Patel                                                Address Redacted                                                                                                                                                                                                                                                                                                First -Class Mail
Alpha Design & Print                                          2923 Saturn St, Ste D                                    Brea, CA 92821                                                                                                                                                                                                                                         First -Class Mail
Alpha Medtech Limited                                         Alpha Medtech Limited                                    Rm14, 5/F, Block A                                                 Hi-Tech Industrial Center                                  5-21, Pak Tin Par Street, Tsuen Wan    Hong Kong                                                                         First -Class Mail
Alpha Medtech Limited                                         Rm14, 5/F, Block A Hi-Tech Industrial Center 5-21        Pak Tin Par Street                                                 Hong Kong                                                                                                                                                                           First -Class Mail
Alpha MedTech Limited                                         Hi-tech Industrial Centre                                5-21 Pak Tin Par St                                                Chai Wan Kok                                               Hong Kong                                                                                                                First -Class Mail
Alpha MedTech Limited                                         Hi-Tech Industrial Center                                Rm 14, 5/F, Block A                                                5-21, Pak Tin Par St                                       Tsuen Wan                              Hong Kong                                                                         First -Class Mail
Alpha Source                                                  6619 W Calumet Rd                                        Milwaukee, WI 53223                                                                                                                                                                                                                                    First -Class Mail
Alpha Source Inc                                              P.O. Box 8811                                            Carol Stream, IL 60197-8811                                                                                                                                                                                                                            First -Class Mail
Alpha Source Inc                                              6619 W Calumet Rd                                        Milwaukee, WI 53223-4186                                                                                                                                                                                                                               First -Class Mail
Alpha Wire                                                    P.O. Box 7247-7269                                       Philadelphia, PA 19170-7269                                                                                                                                                                                                                            First -Class Mail
Alpha Wire                                                    1048 E Burgrove St                                       Carson, CA 90746-3514                                                                                                                                                                                                                                  First -Class Mail
Alpler Hastane Malzemeleri                                    c/o Pazarlama Insaat Dis                                 Bahcekapi Mah 2500 Cadde                                           Ankara, 06797                                              Turkey                                                                                                                   First -Class Mail
ALS Group USA Corp                                            Attn: Shelley Brady                                      3337 Michelson Dr, Ste Cn750                                       Irvine, CA 92612                                                                                                              Shelly.brady@alsglobal.com                            EmailFirst-Class Mail
ALS Group USA Corp                                            3337 Michelson Dr, Ste CN750                             Irvine, CA 92612-1699                                                                                                                                                                                                                                  First -Class Mail
Alt Technology                                                1335 W. 1650 N                                           Springville, UT 84663                                                                                                                                                                                                                                  First -Class Mail
Altaviz Llc                                                   13766 Alton Pkwy                                         Suite 143                                                          Irvine, CA 92618                                                                                                                                                                    First -Class Mail
Altaviz Llc                                                   13766 Alton Parkway                                      Suite 143                                                          Irvine, CA 92618                                                                                                                                                                    First -Class Mail
Altaviz LLC                                                   2 Park Plz, Ste 450                                      Irvine, CA 92614-2573                                                                                                                                                                                                                                  First -Class Mail
Althoff Industries Inc                                        8001 S Il Route 31                                       Crystal Lake, IL 60014-8188                                                                                                                                                                                                                            First -Class Mail
Altium Inc                                                    Attn: Dawna Williams                                     4275 Executive Sq                                                  La Jolla, CA 92037                                                                                                            dawna.williams@altium.com                             EmailFirst-Class Mail
                                                                      Case 24-11217-BLS                                                                     Doc 463                        Filed 08/24/24                                     Page 5 of 51

Altran Us Corp                                                  10 North Avenue                                      Burlington, MA 02421                                                                                                                                                                                            First -Class Mail
Altru Hospital                                                  1200 S Columbia Rd                                   Grand Forks, ND 58201-4036                                                                                                                                                                                      First -Class Mail
Alumina Ceramic Components                                      4532 Route 982                                       Latrobe, PA 15650                                                                                                                                                                                               First -Class Mail
Alumina Ceramic Components, Inc                                 Attn: Tim Lininger                                   4532 Route 982                              Latrobe, PA 15650                                                                                    tlininger@alumina-ceramic.com                                  EmailFirst-Class Mail
Alvarez & Marsal                                                Alvarez & Marsal North America, Llc                  540 West Madison Street, Suite 1800         Chicago, IL 60661                                                                                                                                                   First -Class Mail
Alvarez & Marsal                                                Alvarez & Marsal Europe Llp                          Park House 16-18 Finsbury Circus            London, Ec2M 7Eb                         United Kingdom                                                                                                             First -Class Mail
Alvarez & Marsal Deutschland GMBH                               Thierschplatz 6                                      Munchen, 80538                              Germany                                                                                                                                                             First -Class Mail
Alvarez & Marsal Europe Holding Ltd                             c/o Alvarez & Marsal Deutschland GMBH                16-18 Finsbury Circus                       London, EC2M 7EB                         United Kingdom                                                                                                             First -Class Mail
Alvarez & Marsal Europe Llp                                     Park House                                           16-18 Finsbury Circus                       London, Ec2M 7Eb                         United Kingdom                                                                                                             First -Class Mail
Alvarez & Marsal Healthcare                                     c/o Industry Group LLC                               600 Madison Ave, 8th Fl                     Manhattan, NY 10022-1615                                                                                                                                            First -Class Mail
Alvaro Martinez                                                 Address Redacted                                                                                                                                                                                                                                                     First -Class Mail
A-M Systems                                                     131 Business Park Loop                               Sequim, WA 98382                                                                                                                                                                                                First -Class Mail
Ama Plastics                                                    1100 E. Citrus St.                                   Riverside, CA 92507                                                                                                                                                                                             First -Class Mail
Ama Plastics                                                    1100 Citrus St                                       Riverside, CA 92507-1731                                                                                                                                                                                        First -Class Mail
Amada Miyachi America                                           1820 S Myrtle Ave                                    Monrovia, CA 91016-4833                                                                                                                                                                                         First -Class Mail
Amador County Tax Collector                                     810 Court St                                         Jackson, CA 95642-2132                                                                                                                                                                                          First -Class Mail
Amanda Christman                                                Address Redacted                                                                                                                                                                                                                                                     First -Class Mail
Amanda Michael                                                  Address Redacted                                                                                                                                                                                                                                                     First -Class Mail
Amanda Richter                                                  Address Redacted                                                                                                                                                                                                                                                     First -Class Mail
Amanda Sharp                                                    Address Redacted                                                                                                                                                                                                                                                     First -Class Mail
Amanet                                                          American Manufacturing Network                       Attn: Sandip Desai                          7001 Eton Ave                            Canoga Park, CA 91303                                       sandip@amanet.com                                              EmailFirst-Class Mail
Amazon Web Services Inc                                         c/o K&L Gates LLP                                    Attn: Brian Peterson                        925 4th Ave, Ste 2900                    Seattle, WA 98104                                           brian.peterson@klgates.com                                     EmailFirst-Class Mail
Amazon Web Services Inc                                         410 Terry Ave N                                      Seattle, WA 98109-5210                                                                                                                                                                                          First -Class Mail
Amazon Web Services, Inc.                                       410 Terry Avenue North                               Seattle, WA 98109-5210                                                                                                                                                                                          First -Class Mail
Amazon Web Services, Inc.                                       410 Terry Ave North                                  Seattle, WA 98109                                                                                                                                                                                               First -Class Mail
Amazon Web Svcs                                                 c/o K&L Gates LLP                                    Attn: Brian Peterson                        925 4th Ave, Ste 2900                    Seattle, WA 98104                                           brian.peterson@klgates.com                                     EmailFirst-Class Mail
Amazon.Com                                                      Attn: Kevin McKeever                                 410 Terry Ave N                             Seattle, WA 98109                                                                                                                                                   First -Class Mail
Amazon.com LLC                                                  410 Terry Ave N                                      Seattle, WA 98109                                                                                                                                                                                               First -Class Mail
Amazon.Com, Inc.                                                Courier: 410 Terry Ave. N., Seattle, Wa 98109-5210   P.O. Box 81226                              Seattle, WA 98108-1226                                                                                                                                              First -Class Mail
Ambercell Solutions Jsc                                         Artojo Str. 3                                        Lithuania                                                                                                                                                                                                       First -Class Mail
Ambercell Solutions, Jsc                                        Fka Ae Medical                                       Liepy Str. 83                               Klaipeda, Lt-02195                       Lithuania                                                                                                                  First -Class Mail
Ambrit Engineering                                              2640 Halladay St                                     Santa Ana, CA 92705-5649                                                                                                                                                                                        First -Class Mail
Ambrit Engineering                                              2640 Halladay                                        St Santa Ana, CA 92705                                                                                                                                                                                          First -Class Mail
Ambrit Engineering Corp                                         Attn: Les Middleton                                  2640 S Halladay St                          Santa Ana, CA 92705                                                                                  Lmiddleton@ambritengineering.com                               EmailFirst-Class Mail
Ambrit Engineering Corp                                         2640 Halladay St                                     Santa Ana, CA 92705-5649                                                                                                                                                                                        First -Class Mail
Ambu Inc                                                        Attn: Sanjay Parikh                                  6740 Baymeadow Dr                           Glen Burnie, MD 21060                                                                                sap@ambu.com                                                   EmailFirst-Class Mail
Ambu Inc                                                        Attn: Sanjay Parikh                                  6740 Baymeadow Dr                           Glen Burnie, MD 21060                                                                                                                                               First -Class Mail
Ambulatory Surgical Facility Of                                 c/o South Florida Lllp                               501 N Flamingo Rd                           Pembroke Pines, FL 33028-1016                                                                                                                                       First -Class Mail
Amc Medical Research B.V.                                       Meibergdreef 9                                       1105 Az Amsterdam                           The Netherlands                          Netherlands                                                                                                                First -Class Mail
AMC Medical Research Bv                                         Meibergdreef 9                                       Amsterdam, 1105 AZ                          Netherlands                                                                                                                                                         First -Class Mail
AMCOR Flexibles                                                 24931 Network Pl                                     Chicago, IL 60673-1249                                                                                                                                                                                          First -Class Mail
Amcor Flexibles America Llc                                     1 N Field Ct                                         Lake Forest, IL 60045                                                                                                                                                                                           First -Class Mail
AMCOR Flexibles Healthcare                                      22553 Network Pl                                     Chicago, IL 60673-1225                                                                                                                                                                                          First -Class Mail
Amcor Flexibles Healthcare                                      1919 S Butterfield Rd                                Mundelein, IL 60060-9735                                                                                                                                                                                        First -Class Mail
Amcor Flexibles Inc                                             24931 Network Pl                                     Chicago, IL 60673                                                                                                                                                                                               First -Class Mail
AMCOR Flexibles, Inc                                            Attn: Rito Delgadillo, Henry Dang                    5416 Union Pacific Ave                      Commerce, CA 90022                                                                                   rito.delgadillo@amcor.com; henry.dang@amcor.com                EmailFirst-Class Mail
Amcor Healthcare Packaging Inc                                  24815 Network Pl                                     Chicago, IL 60673-1248                                                                                                                                                                                          First -Class Mail
Amcor Healthcare Packaging Inc                                  3500 N Main St                                       Oshkosh, WI 54901-1233                                                                                                                                                                                          First -Class Mail
Amcor Plc                                                       2150 E. Lake Cook Road                               Buffalo Grove, IL 60089                                                                                                                                                                                         First -Class Mail
Amelia C Jose                                                   Address Redacted                                                                                                                                                                                                                                                     First -Class Mail
Ameren Ue                                                       P.O. Box 66301                                       St Louis, MO 63166-6301                                                                                                                                                                                         First -Class Mail
American Academy of                                             Hospice & Palliative Medicine Aahpm                  4700 W Lake Ave                             Glenview, IL 60025-1468                                                                                                                                             First -Class Mail
American Academy of Hospice & Palliative Medicine               aka AAHPM                                            P.O. Box 3781                               Hinsdale, IL 60522-3781                                                                                                                                             First -Class Mail
American Academy of Orthopaedic Sur                             9400 W Higgins Rd                                    Rosemont, IL 60018-4974                                                                                                                                                                                         First -Class Mail
American Airlines, Inc.                                         4255 Amon Carter Blvd.                               Ft Worth, TX 76155                                                                                                                                                                                              First -Class Mail
American Assoc Bronchology &                                    Interventional Pulmonology                           9500 Euclid Ave                             Cleveland, OH 44195-0001                                                                                                                                            First -Class Mail
American Assoc Bronchology And                                  c/o Interventional Pulmonology                       1400 Pressler St, Unit 1462                 Houston, TX 77030-3722                                                                                                                                              First -Class Mail
American Assoc For Respiratory Care                             9425 N Macarthur Blvd, Ste 100                       Irving, TX 75063-4725                                                                                                                                                                                           First -Class Mail
American Assoc of Respiratory Care                              aka AARC                                             9425 N Macarthur Blvd, Ste 100              Irving, TX 75063                                                                                                                                                    First -Class Mail
American Association For Respirator                             Hospice & Palliative Medicine Aahpm                  4700 W Lake Ave                             Glenview, IL 60025-1468                                                                                                                                             First -Class Mail
American Association For Respirator Care                        aka AARC                                             P.O. Box 650097                             Dallas, TX 75265-0097                                                                                                                                               First -Class Mail
American Association of Critical Care Nurses                    101 Columbia                                         Aliso Viejo, CA 92656-1455                                                                                                                                                                                      First -Class Mail
American Bindery Service & Supply Inc                           150 W Providencia Ave                                Burbank, CA 91502-2121                                                                                                                                                                                          First -Class Mail
American Bright Works                                           c/o Pkp LLC                                          7280 Commerce Cir E                         Minneapolis, MN 55432-3103                                                                                                                                          First -Class Mail
American Calibration Inc                                        4410 Il Route 176, Ste 11                            Crystal Lake, IL 60014-3710                                                                                                                                                                                     First -Class Mail
American College of Cardiology                                  11208 Waples Mill Rd                                 Fairfax, VA 22030-6077                                                                                                                                                                                          First -Class Mail
American College of Chest Physician                             c/o Chest                                            2595 Patriot Blvd                           Glenview, IL 60026-8022                                                                                                                                             First -Class Mail
American College of Chest Physicians                            2595 Patriot Blvd                                    Glenview, IL 60026-8022                                                                                                                                                                                         First -Class Mail
American College Of Sports Medicine                             401 W Michigan St                                    Indianapolis, IN 46202                                                                                                                                                                                          First -Class Mail
American Crating                                                Attn: Mark Beck                                      1813 American St                            Anaheim, CA 92801                                                                                    Mark@americancratingsocal.com; info@americancratingsocal.com   EmailFirst-Class Mail
American Crating                                                Attn: Mark Beck                                      1813 American St                            Anaheim, CA 92801                                                                                                                                                   First -Class Mail
American Crating LLC                                            1813 N American St                                   Anaheim, CA 92801-1003                                                                                                                                                                                          First -Class Mail
American Eagle Lines                                            1145 Empire Central Pl                               Dallas, TX 75247                                                                                                                                                                                                First -Class Mail
American Force Private Security Inc.                            1585 S. D St.                                        #208                                                                                                                                                                                                            First -Class Mail
American Industrial Plastics, Llc Dba Aip Precision Machining   724 Fentress Boulevard                               Daytona Beach, FL 32114                                                                                                                                                                                         First -Class Mail
American Kuhne                                                  P.O. Box 842080                                      Boston, MA 02284-2080                                                                                                                                                                                           First -Class Mail
American Lamprecht Transport Inc                                9841 Airport Blvd, Ste 1516                          Los Angeles, CA 90045-5400                                                                                                                                                                                      First -Class Mail
American Lung Association                                       P.O. Box 07056                                       Reno, NV 89510                                                                                                                                                                                                  First -Class Mail
American Maintenance Group                                      32 Field Rd                                          Clifton, NJ 07013-3313                                                                                                                                                                                          First -Class Mail
American Medical Concepts Inc                                   1710 Willow Creek Cir, Ste 1                         Eugene, OR 97402-9192                                                                                                                                                                                           First -Class Mail
American Medical Depot                                          4380 Nw 135Th Street                                 Opa Locka, FL 33054                                                                                                                                                                                             First -Class Mail
American National Commercial Real                               c/o Estate Service LLC                               3250 Bonita Beach Rd, Ste 205203            Bonita Springs, FL 34134-4190                                                                                                                                       First -Class Mail
American Office Professionals                                   P.O. Box 3161                                        Rancho Cucamonga, CA 91729                                                                                                                                                                                      First -Class Mail
American Pediatric Surgical Association                         1061 E Main St, Suite 300                            E Dundee, IL 60118                                                                                                                                                                                              First -Class Mail
American Precision Industries, Inc. (Portescap)                 110 Westtown Road                                    W Chester, PA 19382                                                                                                                                                                                             First -Class Mail
American Reprographics Co, LLC (ARC)                            dba Riot Imaging                                     Attn: Allain Williams                       345 Clinton St                           Costa Mesa, CA 92626                                        alaine.williams@e-arc.com                                      EmailFirst-Class Mail
American Roofing                                                Attn: Sandy Bledsoe                                  1234 E Lincoln Ave                          Anaheim, CA 92805                                                                                                                                                   First -Class Mail
American Roofing & Metal Co Inc                                 4610 Roofing Rd                                      Louisville, KY 40218-4529                                                                                                                                                                                       First -Class Mail
American Scale Co                                               fka Pac West                                         Attn: Dave Eccles                           21326 E Arrow Hwy                        Covina, CA 91724                                            dave@pacwestscale.com                                          EmailFirst-Class Mail
American Sleep & Breathing Academy                              1745 W Deer Valley Rd, Ste 11                        Phoenix, AZ 85027                                                                                                                                                                                               First -Class Mail
American Society of Anesthesiologis Inc                         11208 Waples Mill Rd, Ste 112                        Fairfax, VA 22030-6077                                                                                                                                                                                          First -Class Mail
American Society Of Anesthesiologists - Asa                     11208 Waples Mill Rd, Ste 112                        Fairfax, VA 22030-6077                                                                                                                                                                                          First -Class Mail
American Society of Interventional                              c/o Pain Physicians Inc                              81 Lakeview Dr                              Paducah, KY 42001-5619                                                                                                                                              First -Class Mail
American Society of Spine Radiology                             800 Enterprise Dr                                    Oak Brook, IL 60523-1929                                                                                                                                                                                        First -Class Mail
American Society of Spine Radiology                             7075 Veterans Blvd                                   Burr Ridge, IL 60527-5614                                                                                                                                                                                       First -Class Mail
American Thoracic Society                                       25 Broadway,18Th Fl                                  New York, NY 10004-1012                                                                                                                                                                                         First -Class Mail
American Thoracic Society Inc                                   P.O. Box 9016                                        New York, NY 10087-2016                                                                                                                                                                                         First -Class Mail
American Thoracic Society Inc                                   25 Broadway,18th Fl                                  New York, NY 10004-1012                                                                                                                                                                                         First -Class Mail
American Transfer & Storage Co                                  P.O. Box 690506                                      Tulsa, OK 74169-0506                                                                                                                                                                                            First -Class Mail
American West Analytical                                        c/o Laboratories, Inc                                3440 S 700 W                                Salt Lake City, UT 84119-4118                                                                                                                                       First -Class Mail
American West Analytical Laboratories, Inc.                     400 W 2200 S, Suite 100                              Salt Lake City, UT 84115                                                                                                                                                                                        First -Class Mail
American West Analytical Labs                                   3440 South 700 West                                  Salt Lake City, UT 84119                                                                                                                                                                                        First -Class Mail
Americhem, Inc.                                                 2000 Americhem Way                                   Cuyahoga Falls, OH 44221                                                                                                                                                                                        First -Class Mail
Americorp Financial LLC                                         P.O. Box 633553                                      Cincinnati, OH 45263-3553                                                                                                                                                                                       First -Class Mail
Amerit Consulting                                               4000 Executive Pkwy, Bishop Ranch 8                  San Ramon, CA 94583                                                                                                                                                                                             First -Class Mail
Ames Goldsmith Corp                                             21 Rogers St                                         Glens Falls, NY 12801-3821                                                                                                                                                                                      First -Class Mail
Ametek Arizona Instrument LLC                                   c/o Ametek Brookfield                                3375 N Delaware St                          Chandler, AZ 85225-1134                                                                                                                                             First -Class Mail
Ametek Technical                                                Attn: Brent Fiorito                                  100 E Erie St                               Kent, OH 44240                                                                                       brent.fiorito@ametek.com                                       EmailFirst-Class Mail
Ametek Technical & Industrial Products                          343 Godshall Drive                                   Harleysville, PA 19438                                                                                                                                                                                          First -Class Mail
Amg Medical LLC                                                 Attn: Adam M Glasgow                                 8970 Equus Cir                              Boynton Beach, FL 33472-4312                                                                                                                                        First -Class Mail
AMI US Holdings Inc                                             3095 Satellite Blvd                                  Bldg 800, Ste 425                           Duluth, GA 30096                                                                                                                                                    First -Class Mail
Ami Us Holdings, Inc.                                           3095 Satellite Boulevard                             Building 800, Suite 425                     Duluth, GA 30096                                                                                                                                                    First -Class Mail
Amico Accessories                                               85 Fulton Way                                        Richmond Hill, ON L4B 2N4                   Canada                                                                                                                                                              First -Class Mail
Amico Pateint Care Corporation                                  122 E Beaver Creek Rd                                Richmond Hill, ON L4B 1G6                   Canada                                                                                                                                                              First -Class Mail
Ampac                                                           c/o Ampac Flexibles LLC                              825 Turnberry Ct                            Hanover Park, IL 60133-5477                                                                                                                                         First -Class Mail
Amphenol Advanced Sensors                                       Attn: Dan McNeil                                     967 Windfall Rd                             St Marys, PA 15857                                                                                   dmcneil@allsensors.com                                         EmailFirst-Class Mail
Amphenol Thermometrics Inc                                      28690 Network Pl                                     Chicago, IL 60673-1286                                                                                                                                                                                          First -Class Mail
Amphenol Thermometrics, Inc.                                    1860 Sandy Plains Rd.                                Suite 204-203                               Marietta, GA 30066                                                                                                                                                  First -Class Mail
Amphenol Thermometrics, Inc.                                    Amphenol Thermometrics, Inc.                         967 Windfall Road                           St Mary's, PA 15857-3333                                                                                                                                            First -Class Mail
Amphia Hospital (Breda, Netherlands)                            Molengracht 21                                       4818 Ck Breda                               The Netherlands                          Netherlands                                                                                                                First -Class Mail
AMS Antaeus OY                                                  Kaurakatu 17                                         FI-05880 Hyvinkaa                           Finland                                                                                                                                                             First -Class Mail
AMS Antaeus OY                                                  Kaurakatu 17                                         05880 Hyvinkaa                              Finland                                                                                                                                                             First -Class Mail
AMS Paving Inc                                                  Attn: Larry May                                      11060 Rose Ave                              Fontana, CA 92337                                                                                                                                                   First -Class Mail
AMSAM                                                           c/o Interline Brands                                 P.O. Box 415133                             Boston, MA 02241-5133                                                                                                                                               First -Class Mail
Amsam                                                           c/o Interline Brands                                 801 W Bay St                                Jacksonville, FL 32204-1605                                                                                                                                         First -Class Mail
Amsino                                                          No. 555 Gaochao Road                                 Jiading District                            Shanghai                                                                     201803 China                                                                           First -Class Mail
Amsino Advancinghealthcare                                      330 Corporate Woods Pkwy                             Vernon Hills, IL 60061                                                                                                                                                                                          First -Class Mail
Amsino International Inc.                                       7F Tianxiang Plaza, 1068 Maotai Road                 Changning District, Shanghai, 200336        China                                                                                                                                                               First -Class Mail
Amsino Int'l Inc                                                708 Corporate Center Dr                              Pomona, CA 91768-2650                                                                                                                                                                                           First -Class Mail
AMT Systems Europe Ltd                                          Elscot House, Arcadia Ave                            London N3 2JU                               United Kingdom                                                                                                                                                      First -Class Mail
Amt Systems Europe Ltd.                                         Elscot House, Arcadia Avenue                         London, N3 2Ju                              United Kingdom                                                                                                                                                      First -Class Mail
Amw Consulting                                                  1040 Merced Ave                                      Santa Rosa, CA 95407-6514                                                                                                                                                                                       First -Class Mail
Amw Consulting                                                  Attn: Adam Mansfield Williams                        1040 Merced Ave                             Santa Rosa, CA 95407-6514                                                                                                                                           First -Class Mail
Amy Marino-Stallings                                            Address Redacted                                                                                                                                                                                                                                                     First -Class Mail
An Phuc Trading & Technology Co, Ltd                            15, Hoang Dieu St, Ward 10                           PhuNhuan District                           Ho Chi Minh City                         Vietnam                                                                                                                    First -Class Mail
An Phuc Trading And Technology Co., Ltd.                        15 Hoang Dieu Str., Ward 10, Phu Njuan Dist.         Ho Chi Minh City                            Vietnam                                                                                                                                                             First -Class Mail
An Webber Inc                                                   P.O. Box 95                                          Chebanse, IL 60922-0095                                                                                                                                                                                         First -Class Mail
Ana Lilia Bos                                                   Address Redacted                                                                                                                                                                                                                                                     First -Class Mail
Anaconda-Deer Lodge County                                      800 Main St                                          Anaconda, MT 59711-2950                                                                                                                                                                                         First -Class Mail
Anagal LLC                                                      9230 Olive St                                        Temple City, CA 91780-3125                                                                                                                                                                                      First -Class Mail
Anaheim Extrusion Co, Inc                                       Attn: Richard                                        1330 N Extrusion                            Anaheim, CA 92806                                                                                    richarde@anaheimextrude.comdaves@anaheimextrude.com            EmailFirst-Class Mail
Analog Devices, Inc.                                            One Technology Way                                   Norwood, MA 02062                                                                                                                                                                                               First -Class Mail
Analytical Industries                                           2855 Metropolitan Place                              Pomona, CA 91767                                                                                                                                                                                                First -Class Mail
Analytical Industries Inc                                       Attn: Fernado Murillo                                2855 Metropolitan Pl                        Pomona, CA 91767                                                                                                                                                    First -Class Mail
Analytical Industries Inc.                                      2855 Metropolitan Place                              Pomona, CA 91767                                                                                                                                                                                                First -Class Mail
Analytical Industries, Inc                                      Attn: Fernado Murillo                                2855 Metropolitan Pl                        Pomona, CA 91767                                                                                     murillof@aii1.com                                              EmailFirst-Class Mail
Analytical Instruments Sa                                       9 Tzavela St.                                        Athens, 15231                               Greece                                                                                                                                                              First -Class Mail
Analytical Instruments Sa                                       9 Tzavela St                                         Chalandri, 152 31                           Greece                                                                                                                                                              First -Class Mail
Analytics LLC                                                   150 N Michigan Ave, Ste 1580                         Chicago, IL 60601-7624                                                                                                                                                                                          First -Class Mail
Analytics8, Llc                                                 150 N. Michigan Ave, Ste 1580                        Chicago, IL 60601                                                                                                                                                                                               First -Class Mail
Anandic Medical Systems Ag                                      Stadtweg 24                                          Feuerthalen 8245                            Switzerland                                                                                                                                                         First -Class Mail
Anandic Medical Systems AG                                      Kirchbergstrasse 105                                 3400 Burgdorf BE                            Switzerland                                                                                                                                                         First -Class Mail
Anaqua Service, Inc.                                            31 St. James Avenue                                  11Th Floor                                  Boston, MA 02116                                                                                                                                                    First -Class Mail
Anaqua Services Inc                                             31 St James Ave, Ste 1100                            Boston, MA 02116-4112                                                                                                                                                                                           First -Class Mail
Anchor Express Inc                                              630 Supreme Dr                                       Bensenville, IL 60106-1158                                                                                                                                                                                      First -Class Mail
Ancla Int'l USA                                                 10925 NW 27th St, Ste 201                            Doral, FL 33172-5009                                                                                                                                                                                            First -Class Mail
Andalusia Regional Hospital                                     849 S Three Notch St                                 Andalusia, AL 36420-5399                                                                                                                                                                                        First -Class Mail
Andek Staffing Services Inc                                     Dept 34401                                           P.O. Box 39000                              San Francisco, CA 94139                                                                                                                                             First -Class Mail
Andek Staffing Services Inc                                     1740 W Katella Ave, Ste E                            Orange, CA 92867-3434                                                                                                                                                                                           First -Class Mail
Andercraft De Mexico Nmh Marketing Llc 2017-11-29 Cda           Cerrada Via De La Produccion #84                     Parque Industrial                           Mexicali Iii Mexicali B.C. C.P. 21397    Mexico                                                                                                                     First -Class Mail
Andersen Products Inc                                           3202 Caroline Dr                                     Haw River, NC 27258-9564                                                                                                                                                                                        First -Class Mail
Andersen Tax Llc                                                71 S. Wacker Drive                                   Suite 2600                                  Chicago, IL 60606                                                                                                                                                   First -Class Mail
Andreas Schibler                                                Address Redacted                                                                                                                                                                                                                                                     First -Class Mail
Andres Lepe Iii                                                 Address Redacted                                                                                                                                                                                                                                                     First -Class Mail
Andres Ortega                                                   Address Redacted                                                                                                                                                                                                                                                     First -Class Mail
Andrew Larson                                                   Address Redacted                                                                                                                                                                                                                                                     First -Class Mail
Andrew Tipmore                                                  Address Redacted                                                                                                                                                                                                                                                     First -Class Mail
Andrew Vu Hoang                                                 Address Redacted                                                                                                                                                                                                                                                     First -Class Mail
Andrew Vu Hoang                                                 Address Redacted                                                                                                                                                                                                                                                     First -Class Mail
Andria M Panagopoulos                                           Address Redacted                                                                                                                                                                                                                                                     First -Class Mail
Anesthesia Associates, Inc                                      Attn: Lock Williams                                  460 Enterprise St                           San Marcos, CA 92078                                                                                 Lock@AincA.com                                                 EmailFirst-Class Mail
Aneth Zuleima Lara Brambila                                     Address Redacted                                                                                                                                                                                                                                                     First -Class Mail
Anexxa Medical Technologies Inc                                 13-5115 Harvester Rd                                 Burlington, ON L7L 0A3                      Canada                                                                                                                                                              First -Class Mail
Angela Courtney                                                 Address Redacted                                                                                                                                                                                                                                                     First -Class Mail
Angela Reininga                                                 Address Redacted                                                                                                                                                                                                                                                     First -Class Mail
Angelique Floerke                                               Address Redacted                                                                                                                                                                                                                                                     First -Class Mail
Anifco Healthcare                                               East Nayatola Road                                   Dhaka, 1217                                 Bangladesh                                                                                                                                                          First -Class Mail
Anifco Healthcare                                               House 05 Road, No 12                                 Dhaka 1230                                  Bangladesh                                                                                                                                                          First -Class Mail
Anifco Healthcare                                               E Nayatola Rd                                        Dhaka 1217                                  Bangladesh                                                                                                                                                          First -Class Mail
Anika Patel                                                     Address Redacted                                                                                                                                                                                                                                                     First -Class Mail
Ankit Prakash Shah                                              Address Redacted                                                                                                                                                                                                                                                     First -Class Mail
ANKO Electronics Inc                                            Attn: Jeffrey J Blasko                               4091 E La Palma Ave, Ste N                  Anaheim, CA 92807                                                                                    jjb@ankoelectronics.com                                        EmailFirst-Class Mail
Anko Electronics Inc                                            4091 E La Palma Ave, Ste N                           Anaheim, CA 92807-1703                                                                                                                                                                                          First -Class Mail
Anko Electronics Inc.                                           4091 E. La Palma Ave.                                Suite N                                     Anaheim, CA 92807                                                                                                                                                   First -Class Mail
Ankura Consulting Group LLC                                     1220 19th St NW, Ste 700                             Washington, DC 20036-2445                                                                                                                                                                                       First -Class Mail
Anmed Health                                                    800 N Fant St                                        Anderson, SC 29621                                                                                                                                                                                              First -Class Mail
Ann Marie Rich                                                  Address Redacted                                                                                                                                                                                                                                                     First -Class Mail
Anne Dameron                                                    Address Redacted                                                                                                                                                                                                                                                     First -Class Mail
Anne Leslie Mattson                                             Address Redacted                                                                                                                                                                                                                                                     First -Class Mail
Anne T Powers                                                   Address Redacted                                                                                                                                                                                                                                                     First -Class Mail
Anona G Goebel                                                  Address Redacted                                                                                                                                                                                                                                                     First -Class Mail
Anrod Screen Cylinder                                           Attn: Charmain Bauerschmidt                          6160 Garfield Ave                           Cass City, MI 48726                                                                                  Charman.bauerschmidt@anrodscreen.com                           EmailFirst-Class Mail
Anser Clinica Medica-Ar Clinica                                 Rua Presidente Coutinho, 579                         Sala 201A - Centro Florianopolis            Sc Cep: 88.015-231                       Brazil                                                                                                                     First -Class Mail
Ansys Inc                                                       2600 Ansys Dr                                        Canonsburg, PA 15317-0404                                                                                                                                                                                       First -Class Mail
Antelope Valley Hospital                                        1600 W Ave J                                         Lancaster, CA 93534                                                                                                                                                                                             First -Class Mail
Anthony C Lozano                                                c/o Pharmasolutions Consulting LLC                   10610 NE 9th Pl, Unit 600                   Bellevue, WA 98004-8611                                                                                                                                             First -Class Mail
Anthony H Tuong                                                 Address Redacted                                                                                                                                                                                                                                                     First -Class Mail
Anthony Minter                                                  Address Redacted                                                                                                                                                                                                                                                     First -Class Mail
Anthony Spera                                                   Address Redacted                                                                                                                                                                                      Email Address Redacted                                         EmailFirst-Class Mail
Anthony Tornio                                                  Address Redacted                                                                                                                                                                                                                                                     First -Class Mail
Anthony Virgili                                                 Address Redacted                                                                                                                                                                                                                                                     First -Class Mail
Anthro Co                                                       Attn: Doug Campbell                                  10450 SW Manhasset Dr                       Tualatin, OR 97062                                                                                   doug.campbell@anthro.com                                       EmailFirst-Class Mail
Anthrotech                                                      503 Xenia Ave                                        Yellow Spgs, OH 45387-1877                                                                                                                                                                                      First -Class Mail
Antimicrobial Regulatory Consulting                             Attn: Peter E Coderre                                11940 Morningstar Pl                        Lovettsville, VA 20180-1924                                                                                                                                         First -Class Mail
Antonio R Diaz                                                  Address Redacted                                                                                                                                                                                                                                                     First -Class Mail
Antonio, Fanny (The Surgical Company)                           The Surgical Company                                 26 Rue De La Montee                         68720 Flaxlanden                         France                                                                                                                     First -Class Mail
Antrimon Group AG                                               Gotthardstrasse 3                                    5630 Muri                                   Switzerland                                                                                                                                                         First -Class Mail
Antrimon Group AG                                               Gotthardstrase 3                                     CH-5630 Muri, AG                            Switzerland                                                                                                                                                         First -Class Mail
Anurak Sangkhae                                                 Address Redacted                                                                                                                                                                                                                                                     First -Class Mail
Ao Serviceinstrument                                            Ao Serviceinstrument                                 Suschevsky Val,                             H. 5/28 Ru - 127018 Moscow               Russia                                                                                                                     First -Class Mail
Ao Serviceinstrument                                            Suschevsky Val, H. 5/28 Ru                           Russia                                                                                                                                                                                                          First -Class Mail
AO Serviceinstrument                                            Palpa 2601 Ciudad de                                 Buenos Aires, C1426DOG                      Argentina                                                                                                                                                           First -Class Mail
AO Serviceinstrument                                            Suschevsky Val                                       h 5/28 RU - 127018 Moscow                   Russia                                                                                                                                                              First -Class Mail
AOC Freight Corp                                                421 N Oak St                                         Inglewood, CA 90302-3314                                                                                                                                                                                        First -Class Mail
AOK Tooling Express Inc                                         Attn: Lucy Wang                                      Long-Tien Village, Keng Tzu Town            Longgang Dist, Shenzhen City             Guangdong Province 518122                  China            Lucywang@toolingexpress.com                                    First -Class Mail
Aok Tooling Limited                                             Flat 2009, 20/F                                      Kowloon Plaza No. 485                       Castle Peak Road, Cheung Sha Wan         Kowloon, Hong Kong                         Hong Kong                                                                       First -Class Mail
Aok Tooling Limited                                             Long-Tian 3 Long-Tian Village                        Keng Tzu Town                               Logang District                          Shenzhen City, Guangdong Province          China                                                                           First -Class Mail
AON Consulting Inc                                              P.O. Box 100137                                      Pasadena, CA 91189-0137                                                                                                                                                                                         First -Class Mail
Aon Consulting, Inc.                                            200 East Randolph Street                             9Th Floor                                   Chicago, IL 60601                                                                                                                                                   First -Class Mail
Aon Hewitt                                                      Address Redacted                                                                                                                                                                                                                                                     First -Class Mail
Aon Risk Svcs Central Inc                                       Attn: Jeannette Davis                                75 Remittance Dr, Ste 1926                  Chicago, IL 60675-1925                                                                               jeannette.davis@aon.com                                        EmailFirst-Class Mail
Aon Uk Limited                                                  The Aon Centre                                       The Leadenhall Building                     122 Leadenhall Street                    London, Ec3V 4An                           United Kingdom                                                                  First -Class Mail
Aorn Inc Assoc of Perioperative Rns                             c/o Assoc of Operating Room Nurses Inc               2170 S Parker Rd, Ste 400                   Denver, CO 80231-5734                                                                                                                                               First -Class Mail
Ap Benefit Advisors                                             200 International Cir, Ste 4500                      Cockeysville, MD 21030                                                                                                                                                                                          First -Class Mail
Apax Partners LLP                                               601 Lexington Ave, 53rd Fl                           New York, NY 10022                                                                                                                                                                                              First -Class Mail
Apax Viii Gp Co Ltd                                             Royal Bank Pl, 3rd Fl                                St Peter Port, GY1 2 HJ                     Guernsey                                                                                                                                                            First -Class Mail
Apex Audio Inc.                                                 16371 Gothard St.                                    Suite D                                     Huntington Beach, CA 92647                                                                                                                                          First -Class Mail
Apex Companies, Llc                                             15850 Crabbs Branch Way                              Suite 200                                   Rockville, MD 20855                                                                                                                                                 First -Class Mail
Apex Executive Recruiting Inc                                   930 Tahoe Blvd 802-318                               Incline Village, NV 89451                                                                                                                                                                                       First -Class Mail
Apex Fire Systems, Inc                                          Attn: Tim Harris                                     17891 Sky Park Cir, Unit E                  Irvine, CA 92614                                                                                     tim@apexfiresys.com                                            EmailFirst-Class Mail
Apice Healthcare Equipamentos Medicos Hospitalares Ltda         fka Film Service Equip                               Rua Pitangui, 98 - Sao Cristovao            Belo Horizonte - MG, 31110-492           Brazil                                                                                                                     First -Class Mail
Apice Healthcare Equipamentos Medicos Hospitalares Ltda         fka Film Service Equip                               Av Vilarinho, No 2,350, Minas Caixa         Belo Horizonte, Minas Gerais 31615-250   Brazil                                                                                                                     First -Class Mail
Aplicacion Integral De Comunicaciones Sa De Cv                  Av Ejercito Nacional 3 Col                           BC 22414                                    Mexico                                                                                                                                                              First -Class Mail
Aplicare Inc                                                    550 Research Pkwy                                    Meriden, CT 06450-7172                                                                                                                                                                                          First -Class Mail
Apnea Sciences Corp                                             27121 Aliso Creek Rd Build 140                       Aliso Viejo, CA 92656-5308                                                                                                                                                                                      First -Class Mail
Apnea Sciences Corporation                                      27121 Aliso Creek Rd, #140                           Aliso Viejo, CA 92656                                                                                                                                                                                           First -Class Mail
Apollo First Aid Inc                                            5680 Oakbrook Pkwy, Ste 160                          Norcross, GA 30093-1840                                                                                                                                                                                         First -Class Mail
                                                                                Case 24-11217-BLS                                                                                            Doc 463                        Filed 08/24/24                                            Page 6 of 51

Appalachian Reg Healthcare                                                 100 Medical Center Dr Receiving                               Hazard, KY 41701                                                                                                                                                                                            First -Class Mail
Appalachian Reg Healthcare                                                 260 Hospital Dr                                               S Williamson, KY 41503-4072                                                                                                                                                                                 First -Class Mail
Appextremes LLC                                                            c/o Conga                                                     13699 Via Varra                                          Broomfield, CO 80020-9791                                                                                                                          First -Class Mail
Appextremes, Llc                                                           Dba Conga                                                     13699 Via Varra                                          Broomfield, CO 80020                                                                                                                               First -Class Mail
Apple Express                                                              5-5055 Satellite Dr                                           Mississauga, ON L4W 5K7                                  Canada                                                                                                                                             First -Class Mail
Apple Ridge Services Corp                                                  c/o Apple Ridge Funding LLC                                   40 Apple Ridge Rd                                        Danbury, CT 06810-7301                                                                                                                             First -Class Mail
Apple Rubber Products                                                      Attn: Dave Barbaro                                            310 Erie St                                              Lancaster, NY 14032                                                                                         daveb@applerubber.com                  EmailFirst-Class Mail
Applied Logic Inc                                                          11475 Olde Cabin Rd, Ste 100                                  St Louis, MO 63141-7129                                                                                                                                                                                     First -Class Mail
Applied Science, Inc.                                                      983 Golden Gate Terrace                                       Grass Valley, cA 95945                                                                                                                                                                                      First -Class Mail
Applied Technical Services Inc                                             1049 Triad Ct                                                 Marietta, GA 30062-2259                                                                                                                                                                                     First -Class Mail
Apptio Inc                                                                 Attn: Nadia Podgaiskaya                                       11100 NE 8th St                                          Bellevue, WA 98004                                                                                          nadia@targetprocess.com                EmailFirst-Class Mail
Apptio, Inc.                                                               11100 Ne 8Th St.                                              Bellevue, WA 98004                                                                                                                                                                                          First -Class Mail
Apqpro Consulting                                                          303 Via Pamplona                                              San Clemente, CA 92672                                                                                                                                                                                      First -Class Mail
APQPro Consulting LLC                                                      303 Via Pamplona                                              San Clemente, CA 92672                                                                                                                                                                                      First -Class Mail
APRO Co Ltd                                                                15F-2, No 2, Jian 8th Rd                                      Zonghe Dist                                              New Taipei City, 23511                          Taiwan                                                                                             First -Class Mail
Apro Co. Ltd.                                                              15F-2, No. 2, Jian 8Th Rd.                                    Zonghe Dist.                                             New Taipei City 235                             Taiwan                               Taiwan                                                        First -Class Mail
Aptara Inc                                                                 2901 Telestar Ct, Ste 522                                     Falls Church, VA 22042-1260                                                                                                                                                                                 First -Class Mail
Aptara, Inc.                                                               2901 Telestar Court                                           Suite 522                                                Falls Church, VA 22042                                                                                                                             First -Class Mail
Aptean Inc                                                                 4325 Alexander Dr, Ste 100                                    Alpharetta, GA 30022-3740                                                                                                                                                                                   First -Class Mail
AQ Group                                                                   c/o Aq Plast Ab                                               Regattagatan 16                                          Vasteras Vastmanland, 72348                     Sweden                                                                                             First -Class Mail
Aq Plast Ab                                                                Regattagatan 16                                               723 48 Vasteras                                          Sweden                                          Sweden                                                                                             First -Class Mail
Aqua Pleasures Pools & Spas                                                Attn: Evert W Rossiter Jr                                     221 N Cleveland Ave                                      Cushing, OK 74023-3231                                                                                                                             First -Class Mail
Aquatic Bioassay & Consulting Lab                                          29 N Olive St                                                 Ventura, CA 93001-2552                                                                                                                                                                                      First -Class Mail
Aquatic Bioassay & Consulting Laboratories Inc                             29 N Olive St                                                 Ventura, CA 93001-2552                                                                                                                                                                                      First -Class Mail
Aquatic Bioassay & Consulting Laboratories, Inc.                           29 North Olive                                                Ventura, CA 93001                                                                                                                                                                                           First -Class Mail
Aqueduct Technologies Inc                                                  400 5th Ave, Ste 420                                          Waltham, MA 02451-8728                                                                                                                                                                                      First -Class Mail
Aquilant                                                                   Units B1-B2 Bond Close Kingsland Business Park                United Kingdom                                                                                                                                                                                              First -Class Mail
Aquilant Critical Care                                                     Aquilant House                                                Unit B1-B2 Bond Close                                    Kingsland Business Park                         Basingstoke, Hampshire, Rg24 8 Pz    United Kingdom                                                First -Class Mail
Aquilant Healthcare Service                                                B1-B2 Bond Close                                              Basingstoke, HA RG24 8PZ                                 United Kingdom                                                                                                                                     First -Class Mail
Aquilant Limited                                                           Fka United Drug Medical Limited                               B1-B2 Bond Close                                         Basingstoke, Rg24 8Pz                           United Kingdom                                                                                     First -Class Mail
Aquilant Limited                                                           B1-B2 Bond Close                                              Basingstoke, Hampshire, Rg24 8Pz                         Uk                                              United Kingdom                                                                                     First -Class Mail
Aramark Refreshment Services                                               P.O. Box 734677                                               Dallas, TX 75373-4677                                                                                                                                                                                       First -Class Mail
Aramark Refreshment Services LLC                                           c/o Aramark Corp                                              17044 Montanero Ave, Unit 4                              Carson, CA 90746-1338                                                                                                                              First -Class Mail
Aramark Refreshment Services, Llc                                          Aramark Tower                                                 1101 Market Street                                       Philadelphia, PA 19107                                                                                                                             First -Class Mail
Aramark Refreshment Svcs                                                   Attn: Joanna Banh                                             17044 Montanero Ave, Unit 4                              Carson City, CA 90746                                                                                       arlaofficecoffee@aramark.com           EmailFirst-Class Mail
Aramark Uniform Services                                                   10822 Midwest Industrial Blvd                                 St Louis, MO 63132-1611                                                                                                                                                                                     First -Class Mail
Aramark Uniform Svc                                                        Attn: Joshua Ciccanti                                         72-050 Corporate Way                                     Thousand Palms, CA 92276                                                                                                                           First -Class Mail
Aramex Int'l Ltd                                                           8735 Bellanca Ave, Ste A                                      Los Angeles, CA 90045-4433                                                                                                                                                                                  First -Class Mail
Arathi Sethumadhaven                                                       Address Redacted                                                                                                                                                                                                                                                          First -Class Mail
Arayeh Zisti Pishrafteh                                                    No. 24, 1St Floor - 16Th St.                                  Ghanbarzadeh St., Behesti Ave.                           Tehran                                          Iran                                                                                               First -Class Mail
Arbor Medical Corporation                                                  Arbor Medical Corporation                                     Meistaru Street 7                                        Valdlauci Lv-1076                               Latvia                                                                                             First -Class Mail
Arbor Medical Corporation                                                  Meistaru Street 7                                             Latvia                                                                                                                                                                                                      First -Class Mail
Arbor Medical Corporation Lt                                               Arbor Medical Corporation Lt                                  Baltu Pr. 145                                            Lt-47125 Kaunas, Lithuania                      Lithuania                                                                                          First -Class Mail
Arburg Inc                                                                 644 West St                                                   Rocky Hill, CT 06067-3414                                                                                                                                                                                   First -Class Mail
Arcbest Ii, Inc. (Abf)                                                     8401 Mcclure Drive                                            Ft Smith, AR 72916                                                                                                                                                                                          First -Class Mail
Arch Medical Solutions Corp.                                               2600 S. Telegraph Rd.                                         Suite 180                                                Bloomfield Hills, MI 48302                                                                                                                         First -Class Mail
Archon Systems Inc                                                         207-260 Carlaw Ave                                            Toronto, ON M4M 3L1                                      Canada                                                                                                                                             First -Class Mail
Archway Anodize                                                            2120 Miami St                                                 St Louis, MO 63118-4017                                                                                                                                                                                     First -Class Mail
Arckcloud LLC                                                              4320 NE 54th Ave                                              Portland, OR 97218-2114                                                                                                                                                                                     First -Class Mail
Ardent Health                                                              1 Burton Hills Blvd, Ste 250                                  Nashville, TN 37215-6195                                                                                                                                                                                    First -Class Mail
Area LLC                                                                   6525 City W Pkwy                                              Eden Prairie, MN 55344-3248                                                                                                                                                                                 First -Class Mail
Area Temps Inc                                                             P.O. Box 632380                                               Cincinnati, OH 45263-2380                                                                                                                                                                                   First -Class Mail
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ArentFox Schiff LLP                                                        Attn: Brett Goodman                                                                                                                                                                                                                brett.goodman@afslaw.com               Email
ArentFox Schiff LLP                                                        Attn: Jeffrey Gleit/ Brett Goodman                            1301 Ave of the Americas, 42nd Fl                        New York, NY 10019                                                                                          jeffrey.gleit@afslaw.com               EmailFirst-Class Mail
Arentfox Schiff LLP                                                        Attn: Matthew R Bentley                                       233 S Wacker Dr, Ste 7100                                Chicago, IL 60606                                                                                           matthew.bentley@afslaw.com             EmailFirst-Class Mail
Ares Management LLC                                                        2000 Ave of the Stars                                         Los Angeles, CA 90067                                                                                                                                                                                       First -Class Mail
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Arizona Attorney General’s Office – CSS                                    P.O. Box 6123, MD 7611                                        Phoenix, AZ 85005-6123                                                                                                                                                                                      First -Class Mail
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Arnold & Porter Kaye Scholer LLP                                           aka Arnold & Porter                                           601 Massachusetts Ave NW                                 Washington, DC 20001-5369                                                                                                                          First -Class Mail
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Artiminds Robotics Gmbh                                                    Albert-Nestler-Str. 11                                        76131 Karlsruhe                                          Germany                                                                                                                                            First -Class Mail
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Artiq NV                                                                   Attn: Marko Topalovic                                         Boskouter 15                                             Leuven, 3010                                    Belgium                                                     marko.topalovic@artiq.eu               First -Class Mail
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Arturo Morales                                                             Address Redacted                                                                                                                                                                                                                                                          First -Class Mail
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Ascension Health Resource And Supply Management Group, Llc Caref-0016875   254 Westport Center Drive                                     St Louis, MO 63146                                                                                                                                                                                          First -Class Mail
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Asterix United (B) Sdn Bhd                                                 Unit 11, Block A, 1St Floor Serusop Complex,                  Spg. 82, Jalan Muara Bb2313 Bandar Seri Begawan,         Negara, Brunei Darussalam                       Brunei Darussalam                                                                                  First -Class Mail
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AT&T Global Network Services                                               c/o Nederland Bv                                              Wilhemina Van Pruisenweg 104                             The Hague, 2595 AN                              Netherlands                                                                                        First -Class Mail
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Atcalent, Inc                                                              7301 Parkway Dr S                                             Hanover, MD 21076                                                                                                                                                                                           First -Class Mail
Atesmedica.Com S.R.L.                                                      Trincee 9 37142 Verona                                        Italy                                                                                                                                                                                                       First -Class Mail
Atesmedica.Com S.R.L.                                                      Abate Pietro Caliari 2 37142 Verona                           Italy                                                                                                                                                                                                       First -Class Mail
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Athletes To Careers Inc                                                    604 Del Dios                                                  San Clemente, CA 92672-7519                                                                                                                                                                                 First -Class Mail
Athletes To Careers Incorporated                                           604 Del Dios                                                  San Clemente, CA 92672                                                                                                                                                                                      First -Class Mail
Atlanta Aorn Chapter 1101                                                  2697 Autumn Lake Ln                                           Decatur, GA 30034-3586                                                                                                                                                                                      First -Class Mail
Atlantic Health System                                                     475 South St                                                  Morristown, NJ 07960                                                                                                                                                                                        First -Class Mail
Atlantic Medical Specialties                                               c/o Mid West, Inc                                             317 Cambridge Dr                                         Mars, PA 16046-3137                                                                                                                                First -Class Mail
Atlantic Pulmonary Services                                                296 Sturdivant Rd.                                            Denton, NC 27239                                                                                                                                                                                            First -Class Mail
Atlantic Pulmonary Svcs                                                    Attn: Eric Helms                                              296 Sturdivant Rd                                        Debton, NC 27239                                                                                            apu;monaryservices@gmail.com           EmailFirst-Class Mail
Atlantic Pulmonary Svcs                                                    Attn: Eric Helms                                              296 Sturdivant Rd                                        Debton, NC 27239                                                                                                                                   First -Class Mail
Atlanticare Health System                                                  2500 English Creek Ave, Bldg 500                              Egg Harbor Township, NJ 08234-5549                                                                                                                                                                          First -Class Mail
Atlanticare Regional Med Ctr                                               1925 Pacific Ave Atlantic City Division                       Atlantic City, NJ 08401                                                                                                                                                                                     First -Class Mail
Atlantis Industries Corporation                                            21490 Baltimore Avenue                                        Georgetown, DE 19947                                                                                                                                                                                        First -Class Mail
Atlas Copco Compressors LLC                                                Airquipo, Inc                                                 Attn: Erika Baez                                         P.O. Box 361918                                 San Juan, PR 00936                                          erika@airequipo.com                    EmailFirst-Class Mail
Atlas Copco Compressors LLC                                                Dept CH 19511                                                 Palatine, IL 60055-0001                                                                                                                                                                                     First -Class Mail
Atlas Copco Compressors LLC                                                1800 Overview Dr                                              Rock Hill, SC 29730-7463                                                                                                                                                                                    First -Class Mail
Atlas Copco Compressors LLC                                                c/o Atlas Copco Usa Holdings Inc                              2501 Landmeier Rd, Ste B                                 Elk Grove Village, IL 60007-2622                                                                                                                   First -Class Mail
Atlas Medical Llc                                                          Atlas Medical Llc                                             103 - First Floor, Al Masood Towers                      Hamdan Street                                   Abu Dhabi                            United Arab Emirates                                          First -Class Mail
Atlas Strategies LLC                                                       Attn: Matthew Pool                                            2714 SE 48th Ave                                         Portland, OR 97206                                                                                          mwpool11@gmail.com                     EmailFirst-Class Mail
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Atlas-Invision Medical LLC                               2123 Priest Bridge Dr, Ste 12                            Crofton, MD 21114-2427                                                                                                                                                       First -Class Mail
Atm Service Srl                                          Ia Dante Alighieri, 25, 80010 Villaricca (Na), 80010     Italy                                                   Italy                                                                                                                First -Class Mail
Atomatic Mechanical Services Inc                         3733 N Ventura Dr                                        Arlington Heights, IL 60004-7952                                                                                                                                             First -Class Mail
Atos Syntel Inc.                                         525 E. Big Beaver                                        Suite 300                                               Troy, MI 48083                                                                                                       First -Class Mail
Atradius Credit Insurance, Inc.                          300 Spectrum Center Dr., Suite #980                      Irvine, CA 92618                                                                                                                                                             First -Class Mail
Atradius Credit Management Services Bv                   David Ricardostraat 1                                    Amsterdam, 1006 JS                                      Netherlands                                                                                                          First -Class Mail
Atrasorb Industria De Hospitalares                       c/o LTDA                                                 Av Piracicaba 351 Vila Nova Sao                         Sao Roque, SP 18131-230           Brazil                                                                             First -Class Mail
Atrasorb Industria De Produtos Hospitalares Ltda         Avenida Piracicaba 351                                   Sao Roque - Sao Paulo                                   Brazil                                                                                                               First -Class Mail
Atrium Health Supply Chain Alliance                      Fka Carolinas Healthcare System                          P.O. Box 35126                                          Charlotte, NC 28235                                                                                                  First -Class Mail
Atrium Medical Center                                    1 Medical Center Dr                                      Middletown, OH 45005-2584                                                                                                                                                    First -Class Mail
Ats Sortimat Usa LLC                                     5655 Meadowbrook Industrial Ct                           Rolling Meadows, IL 60008-3833                                                                                                                                               First -Class Mail
Attivo Networks Inc                                      47697 Westinghouse Dr, Ste 201                           Fremont, CA 94539-7401                                                                                                                                                       First -Class Mail
Attorney General of Ohio                                 4725 Grayton Rd                                          Cleveland, OH 44135-2307                                                                                                                                                     First -Class Mail
Auburn Memorial Hospital                                 17 Lansing St, Ste 1                                     Auburn, NY 13021                                                                                                                                                             First -Class Mail
Audacity Inc                                             2550 Gateway Rd                                          Carlsbad, CA 92009                                                                                                                                                           First -Class Mail
Audio Visual Innovations Inc                             P.O. Box 62251                                           Baltimore, MD 21264-2251                                                                                                                                                     First -Class Mail
Audio Visual Innovations Inc                             6301 Benjamin Rd, Ste 101                                Tampa, FL 33634-5115                                                                                                                                                         First -Class Mail
Audio Visual Productions Inc                             7550 W 100th Pl                                          Bridgeview, IL 60455-2407                                                                                                                                                    First -Class Mail
Audiowell International                                  12060 County Line Rd.                                    Suite J-265                                             Madison, AL 35756                                                                                                    First -Class Mail
Audrey Hornisher                                                                                                                                                                                                                                                ahornisher@clarkhill.com       Email
Augusta Hitech Soft Solutions LLC                        5465 Legacy Dr, Ste 650                                  Plano, TX 75024-4171                                                                                                                          sales.info@augustahitech.com   EmailFirst-Class Mail
Augusta Hitech Soft Solutions Llc                        5465 Legacy Drive                                        Suite 650                                               Plano, TX 75024                                                                                                      First -Class Mail
Augusta Hitech Soft Solutions LLC                        5465 Legacy Dr, Ste 650                                  Plano, TX 75024-4171                                                                                                                                                         First -Class Mail
Augusta Hitech Soft Solutions, Llc                       5465 Legacy Dr.                                          Plano, TX 75024-4171                                                                                                                                                         First -Class Mail
Augusta Medical Center                                   1120 15th St                                             Augusta, GA 0912-5563                                                                                                                                                        First -Class Mail
Augusta State Medical Prison                             3001 Gordon Hwy                                          Grovetown, GA 30813-3808                                                                                                                                                     First -Class Mail
Aurora Plastics, LLC CDA                                 9280 Jefferson St                                        Streetsboro, OH 44241                                                                                                                                                        First -Class Mail
Aus St Louis Mc Lockbox                                  26792 Network Pl                                         Chicago, IL 60673-1267                                                                                                                                                       First -Class Mail
Ausgar Technologies Inc                                  10721 Treena St                                          San Diego, CA 92131-1016                                                                                                                                                     First -Class Mail
Austria Legal, LLC                                       Attn: Matthew P Austria                                  1007 N Orange St, 4th Fl                                Wilmington, DE 19801                                                                  maustria@austriallc.com        EmailFirst-Class Mail
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Autodesk                                                 111 Mcinnis Pkwy                                         San Rafael, CA 94903-2773                                                                                                                                                    First -Class Mail
Autodesk Inc                                             P.O. Box 2188                                            Carol Stream, IL 60132-2188                                                                                                                                                  First -Class Mail
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Automated Industrial Sys Inc                             4238 W 12th St                                           Erie, PA 16505-3001                                                                                                                                                          First -Class Mail
Automated Packaging Syst                                 P.O. Box 643916                                          Cincinnati, OH 45264-0309                                                                                                                                                    First -Class Mail
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Automated Packaging Systems Inc                          P.O. Box 643916                                          Cincinnati, OH 45264-0309                                                                                                                                                    First -Class Mail
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Automated Packaging Systems, Inc                         Attn: Scott Brigante                                     10175 Philipp Pkwy                                      Streetsbore, OH 44241                                                                 scott.brigante@sealedair.com   EmailFirst-Class Mail
Automatic Data Processing Inc                            P.O. Box 842875                                          Boston, MA 02284-2875                                                                                                                                                        First -Class Mail
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Avail Medical Products Inc                               P.O. Box 841730                                          Dallas, TX 75284                                                                                                                                                             First -Class Mail
Avalyn Pharma Inc.                                       701 Pike Street                                          Suite 1500                                              Seattle, WA 98101                                                                                                    First -Class Mail
Avani Mulchandani                                        Address Redacted                                                                                                                                                                                                                      First -Class Mail
Avanos                                                   fka Halyard                                              Attn: Jamie Handler                                     5405 Windward Pkwy                Alpharetta, GA 30004                                Jamie.Handler@avanos.com       EmailFirst-Class Mail
Avantti Medi Clear Mbp Sapi De Cv                        Camino Vecinal No. 2461 Parque Industrial Finsa Alamar   Co Murua Oriente                                        Cp 22465                          Tijuana Baja California, Mexico    Mexico                                          First -Class Mail
Avera Cancer Institute                                   1000 E 23rd St, Ste 340                                  Sioux Falls, SD 57105-2134                                                                                                                                                   First -Class Mail
Avera Health                                             3900 W. Avera Drive                                      Sioux Falls, SD 57108                                                                                                                                                        First -Class Mail
Avera Health                                             1325 S Cliff Ave                                         Sioux Falls, SD 57105-1007                                                                                                                                                   First -Class Mail
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Avera Marshall Reg Medical Center                        300 S Bruce St                                           Marshall, MN 56258                                                                                                                                                           First -Class Mail
Avera McKennan Hospital                                  1325 S Cliff Ave                                         Sioux Falls, SD 57105                                                                                                                                                        First -Class Mail
Avera Queen of Peace Health Services                     525 Foster St                                            Mitchell, SD 57301                                                                                                                                                           First -Class Mail
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Averitt Express                                          1415 Neal St                                             Cookeville, TN 38501-4328                                                                                                                                                    First -Class Mail
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Averitt Express, Inc.                                    1415 Neal St.                                            Cookeville, TN 38502                                                                                                                                                         First -Class Mail
Avery Dennison Netherlands Investme                      Tieblokkeniaan 1 2300 Turnhout                           Belgium                                                 Netherlands                                                                                                          First -Class Mail
Avid Int'l Molding solutions                             Attn: Erin Cronen                                        19178 Industrial Blvd                                   Elk River, MN 55330                                                                   erin.cronen@eoplastics.com     EmailFirst-Class Mail
Aviemore Chineham Park Limited No 1 & No 2               95 Cromwell Rd                                           London, SW7 4DL                                         United Kingdom                                                                                                       First -Class Mail
Aviemore Chineham Park Limited No 1 & No 2               BrookSt des Roches LLP                                   25A Western Ave, Milton Park                            Abingdon, Oxfordshire, OX14 4SH   United Kingdom                                                                     First -Class Mail
Aviemore Chineham Park No 1 Ltd                          95 Cromwell Rd                                           London , SW7 4DL                                        United Kingdom                                                                                                       First -Class Mail
Aviemore Chineham Park No 1 Ltd &                        Chineham Park No2 Ltd                                    On Behalf of Aviemore Chienham Park United Trust        15 Appold St                      London, EC2A 2HB                   United Kingdom                                  First -Class Mail
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Avient Corp                                              c/o Avient Colorants USA LLC                             85 Industrial Dr                                        Holden, MA 01520-1848                                                                                                First -Class Mail
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Avient Corp                                              11400 Newport Dr, Ste A                                  Rancho Cucamonga, CA 91730-5511                                                                                                                                              First -Class Mail
Avient Corp                                              7601 N Glen Harbor Blvd                                  Glendale, AZ 85307-1806                                                                                                                                                      First -Class Mail
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Avient Corporation                                       33587 Walker Rd                                          Avon Lake, OH 44012                                                                                                                                                          First -Class Mail
Avinity Limited                                          Unit 1 Farmborough Close                                 Aylesbury Hp20 1Dq                                      United Kingdom                                                                                                       First -Class Mail
Avinity Ltd                                              Av House                                                 Aylesbury, BU HP20 1DQ                                  United Kingdom                                                                                                       First -Class Mail
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Avnet Inc                                                Attn: Dylan Sternberg                                    60 S Mckemy Ave                                         Chandler, AZ 85226                                                                    Dylan.Sternberg@avnet.com      EmailFirst-Class Mail
Avnet Inc                                                Attn: Dylan Sternberg                                    60 S Mckemy Ave                                         Chandler, AZ 85226                                                                                                   First -Class Mail
Avnet Inc.                                               2211 South 47Th Street                                   Phoenix, AZ 85034                                                                                                                                                            First -Class Mail
Avonix Imaging                                           6705 Wedgwood Ct N                                       Maple Grove, MN 55311-3580                                                                                                                                                   First -Class Mail
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Axel Plastics Research Laboratories                      58-20 Broadway                                           Woodside, NY 11377                                                                                                                                                           First -Class Mail
Axetris AG                                               a Leister Technologies LLC Co                            Attn: Bob Mandarino                                     1275 Hamilton Pkwy                Itasca, IL 60143                                    robert.mandarino@axetris.com   EmailFirst-Class Mail
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Ayda LLC                                                 133 Joanne Way                                           Elmhurst, IL 60126-2478                                                                                                                                                      First -Class Mail
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Aztec Technology Corp                                    Attn: Mark Van Dyke                                      2550 S Santa Fe Ave                                     Vista, CA 92084                                                                       sales@azteccontainer.com       EmailFirst-Class Mail
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B2B Company                                              730 E. University Drive                                  Phoenix, AZ 85034                                                                                                                                                            First -Class Mail
B2B Company                                              730 E University Dr                                      Phoenix, AZ 85034                                                                                                                                                            First -Class Mail
Bacarella Transportation Services Inc                    Dba Btx Global Logistics                                 12 Commerce Dr.                                         Shelton, CT 06484                                                                                                    First -Class Mail
Bachleitner & Huegel                                     aka B & H                                                Boschstrasse 20                                         Dunnigen, 78655                   Germany                                                                            First -Class Mail
Bachleitner Technology Gmbh                              Bachleitner Technology                                   Boschstrasse 20                                         78655 Dunningen                   Germany                                                                            First -Class Mail
Back Bay Medical LLC                                     822 Georgia Ave, Ste 506                                 Chattanooga, TN 37402-2212                                                                                                                                                   First -Class Mail
Badger Magnetics                                         Attn: Ed West                                            501 Apollo Rive                                         Lino Lakes, MN 55014                                                                  ed@badgermagnetics.com         EmailFirst-Class Mail
Bairesdev Llc                                            1999 S. Bascom Ave                                       Suite 700                                               Campbell, CA 95008                                                                                                   First -Class Mail
Baitella AG                                              Attn: Juan Rubiano                                       Thurgauerstrasse 70                                     Zurich, CH-8050                   Switzerland                                         thomas.buehrer@baitella.com    First -Class Mail
Baitella Ag                                              Attn: Juan Rubiano                                       Thurgauerstrasse 70                                     Zurich, CH-8050                   Switzerland                                                                        First -Class Mail
Baitella Ag                                              Attn: Juan Rubiano                                       Thurgauerstrasse 70                                     Zurich, CH-8050                   Switzerland                                                                        First -Class Mail
Baker & Hostetler LLP                                    P.O. Box 70189                                           Cleveland, OH 44190-0189                                                                                                                                                     First -Class Mail
Baker & McKenzie Amsterdam NV                            Claude Debussylaan 54                                    Amsterdam, 1082 MD                                      Netherlands                                                                                                          First -Class Mail
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Baker Hostetler                                          11601 Wilshire Blvd, Ste 1400                            Los Angeles, CA 90025-0509                                                                                                                                                   First -Class Mail
Baker Hostetler                                          11601 Wilshire Blvd, Ste 1400                            Los Angeles, CA 90025-0509                                                                                                                                                   First -Class Mail
Baker McKenzie LLP                                       300 E Randolph St, Ste 5000                              Chicago, IL 60601-5015                                                                                                                                                       First -Class Mail
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Baker Tilly Us, Llp                                      205 N. Michigan Ave                                      28Th Floor                                              Chicago, IL 60601-5927                                                                                               First -Class Mail
Baker Tilly Virchow Krause LLP                           205 N Michigan Ave                                       Chicago, IL 60601-5942                                                                                                                                                       First -Class Mail
Baker Tilly Virchow Krause, LLP                          205 N Michigan Ave                                       Chicago, IL 60601                                                                                                                                                            First -Class Mail
Bal Seal Engineering Inc                                 Attn: Charlene Brown                                     19650 Pauling                                           Foothill Ranch, CA 92610                                                              Cbrown@balseal.com             EmailFirst-Class Mail
Bal Seal Engineering, Llc                                19650 Pauling                                            Foothill Ranch, CA 92610                                                                                                                                                     First -Class Mail
Balbo Medical System Srl                                 Via Monviso 77                                           Modena, 41122                                           Italy                                                                                                                First -Class Mail
Balda C Brewer                                           Address Redacted                                                                                                                                                                                                                      First -Class Mail
Balda C Brewer                                           Address Redacted                                                                                                                                                                                                                      First -Class Mail
Baldur Systems Corp                                      33235 Transit Ave                                        Union City, CA 94587                                                                                                                                                         First -Class Mail
Baldwin County                                           P.O. Box 189                                             Robertsdale, AL 36567                                                                                                                                                        First -Class Mail
Baldwin County                                           Sales & Use Tax Dept                                     P.O. Box 189                                            Robertsdale, AL 36567                                                                                                First -Class Mail
Balingit Sergio, MD                                      Address Redacted                                                                                                                                                                                                                      First -Class Mail
Ballad Health                                            303 Med Tech Pkwy, Ste 300                               Johnson City, TN 37604-2392                                                                                                                                                  First -Class Mail
Ballad Health                                            Ballad Health                                            400 North State Of Franklin Road                        Johnson City, TN 37604                                                                                               First -Class Mail
Balti Intermed Ou                                        Balti Intermed Ou                                        Tartu Mnt. 84D                                          Tallinn, 10112                    Estonia                                                                            First -Class Mail
Balti Intermed Ou                                        Tartu Mnt 84D                                            Tallinn, 10112                                          Estonia                                                                                                              First -Class Mail
Baltimore Washington Medical Center                      301 Hospital Dr.                                         Glen Burnie, MD 21061                                                                                                                                                        First -Class Mail
Bambora Inc.                                             200-1803 Douglas St                                      Victoria, BC V8T 5CD                                    Canada                                                                                                               First -Class Mail
Bananatag Systems Inc                                    460 Doyle Ave, Ste 505                                   Kelowna, BC V1Y 0C2                                     Canada                                                                                                               First -Class Mail
Bananatag Systems Inc                                    505-460 Doyle Ave                                        Kelowna, BC V1Y 0C2                                     Canada                                                                                                               First -Class Mail
Bank of America                                          5279 Collections Center Dr                               Chicago, IL 60693-0052                                                                                                                                                       First -Class Mail
Bank of America                                          100 N Tryon St                                           Charlotte, NC 28255                                                                                                                                                          First -Class Mail
Bank of America                                          135 S LaSalle St                                         Chicago, IL 60603-4157                                                                                                                                                       First -Class Mail
Bank of America NA                                       Attn: Legal Dept                                         100 N Tryon St                                          Charlotte, NC 28255                                                                   legal@bankofamerica.com        EmailFirst-Class Mail
Bank of America, NA                                      as Administrative Agent & Collateral Agent               IL4-135-09-61                                           135 S LaSalle St                  Chicago, IL 60603-4157                              felicia.brinson@bofa.com       EmailFirst-Class Mail
Bank of America, NA                                      as Collateral Agent                                      100 N Tryon St                                          Charlotte, NC 28255                                                                                                  First -Class Mail
Bank of America, NA                                      as Administrative Agent & Collateral Agent               IL4-135-09-61                                           135 S LaSalle St                  Chicago, IL 60603-4157                                                             First -Class Mail
Bankdirect Capital Finance, Llc                          150 N Field Dr                                           Lake Forest, IL 60045                                                                                                                                                        First -Class Mail
Banner Health                                            1441 North 12Th Street                                   Phoenix, AZ 85006                                                                                                                                                            First -Class Mail
Banner Health                                            2901 N Central Ave, Ste 160                              Phoenix, AZ 85012-2702                                                                                                                                                       First -Class Mail
Bao, Inc.                                                300 Apollo Drive                                         2Nd Floor                                               Chelmsford, MA 01824                                                                                                 First -Class Mail
Bao-Tram Pham                                            Address Redacted                                                                                                                                                                                                                      First -Class Mail
Baptist Health                                           124 S Memorial Dr                                        Prattville, AL 36067-3619                                                                                                                                                    First -Class Mail
Baptist Health                                           400 Taylor Rd Respiratory Therapy                        Montgomery, AL 36117                                                                                                                                                         First -Class Mail
Baptist Health                                           2105 E South Blvd Receiving                              Montgomery, AL 36116                                                                                                                                                         First -Class Mail
Baptist Health Medical Center                            Baptist Health Medical Center                            9601 Baptist Health Dr.                                 Little Rock, AR 72205                                                                                                First -Class Mail
Baptist Health Paducah                                   2501 Kentucky Ave                                        Paducah, KY 42003                                                                                                                                                            First -Class Mail
Baptist Health South Florida                             8900 North Kendall Drive                                 Miami, FL 33176                                                                                                                                                              First -Class Mail
Baptist Health South Florida Inc                         6855 S Red Rd, Ste 600                                   Miami, FL 33143-3518                                                                                                                                                         First -Class Mail
Baptist Health System                                    410 N May St                                             Chicago, IL 60642                                                                                                                                                            First -Class Mail
Baptist Health System Dist Ctr                           3011 W. Loop 1604 N                                      San Antonio, TX 78251                                                                                                                                                        First -Class Mail
Baptist Healthcare System Inc                            2701 Eastpoint Pkwy                                      Louisville, KY 40223-4166                                                                                                                                                    First -Class Mail
Baptist Healthcare System, Inc.                          2701 Eastpoint Parkway                                   Louisville, KY 40223                                                                                                                                                         First -Class Mail
Baptist Mem Hosp Union County                            200 State Highway 30 W                                   New Albany, MS 38652                                                                                                                                                         First -Class Mail
Baptist Memorial Hospital                                2520 5Th St N Golden Triangle                            Columbus, MS 39705                                                                                                                                                           First -Class Mail
Baptist Memorial Hospital Healthcare                     220 Hwy 12 W                                             Kosciusko, MS 39090                                                                                                                                                          First -Class Mail
Bär & Karrer Ag                                          Brandschenkestrasse 90                                   Zurich, ZH 8027                                         China                                                                                                                First -Class Mail
Bar Ray Products Inc                                     95 Monarch St                                            Littlestown, PA 17340-1644                                                                                                                                                   First -Class Mail
Baranowska, Elzibieta Md (Poland - Pavog Study)          Czerniakowska 205 5, Warsaw, 00-436, Poland              Poland                                                                                                                                                                       First -Class Mail
Barbara Frances Sheppard                                 Address Redacted                                                                                                                                                                                                                      First -Class Mail
Barbera Herzog Taft                                      Address Redacted                                                                                                                                                                                                                      First -Class Mail
Barclay Brand Ferdon                                     c/o Brclay Brand Corp                                    2401 S Clinton Ave                                      S Plainfield, NJ 07080-1426                                                                                          First -Class Mail
Barclays UK                                              1 Churchill Pl                                           London, E14 5HP                                         United Kingdom                                                                                                       First -Class Mail
Barlow Respiratory Hospital                              2000 Stadium Way                                         Los Angeles, CA 90026-2696                                                                                                                                                   First -Class Mail
Baron Blakeslee Sfc Inc                                  200 Armstrong Ave                                        Williamstown, WV 26187-1310                                                                                                                                                  First -Class Mail
Barry Leis                                               Address Redacted                                                                                                                                                                                                                      First -Class Mail
Barry Peoples                                            Address Redacted                                                                                                                                                                                                                      First -Class Mail
Barry Sales Engineering Inc                              1755 Larkin Williams Rd                                  Fenton, MO 63026-2032                                                                                                                                                        First -Class Mail
Bartas Precision Granite                                 3357 Ormond Rd                                           Cleveland, OH 44118-3417                                                                                                                                                     First -Class Mail
Basf Corporation                                         100 Park Avenue                                          Florham Park, NJ 07932                                                                                                                                                       First -Class Mail
Basil M Yurcisin Ii                                      Address Redacted                                                                                                                                                                                                                      First -Class Mail
Bassem Georgy Md                                         Address Redacted                                                                                                                                                                                                                      First -Class Mail
Bates County Memorial Hospital                           615 W Nursery St                                         Butler, MO 64730-1840                                                                                                                                                        First -Class Mail
Battelle                                                 505 King Ave                                             Columbus, OH 43201                                                                                                                                                           First -Class Mail
BAX Global                                               Dept CH 10391                                            Palatine, IL 60055-0391                                                                                                                                                      First -Class Mail
Bax Global, Inc                                          16808 Armstrong Ave                                      Irvine, CA 92606                                                                                                                                                             First -Class Mail
Baxter Healthcare                                        1900 Highway 201 N                                       Mtn Home, AR 72653-2433                                                                                                                                                      First -Class Mail
Baxter Healthcare Corporation                            One Baxter Parkway                                       Deerfield, IL 60015-4633                                                                                                                                                     First -Class Mail
Baxter Regional Medical Center                           628 Hospital Dr. Suite 3A                                Mtn Home, AR 72653                                                                                                                                                           First -Class Mail
Bay Co                                                   Attn: Brian Forgach                                      867 Canterbury Rd                                       Westlake, OH 41445                                                                    bforgach@baycorp.com           EmailFirst-Class Mail
Bay Corp                                                 Attn: Brian Forgach                                      867 Canterbury Rd                                       Westlake, OH 41445                                                                                                   First -Class Mail
Bay Corp                                                 867 Canterbury Rd                                        Westlake, OH 44145-1479                                                                                                                                                      First -Class Mail
Bay Corporation                                          867 Canterbury Road                                      Westlake, OH 44145                                                                                                                                                           First -Class Mail
Bayard, P.A.                                             Attn: Ericka Johnson/Steven Adler                        600 N King St, Ste 400                                  Wilmington, DE 19801                                                                  ejohnson@bayardlaw.com         EmailFirst-Class Mail
Bayard, P.A.                                             Attn: Steven Adler                                                                                                                                                                                     sadler@bayardlaw.com           Email
Baycare Health Systems                                   16255 Bay Vista Dr                                       Clearwater, FL 33760-3127                                                                                                                                                    First -Class Mail
Baycare Integrated Service Center, Llc                   Baycare Integrated Service Center, Llc                   7802 E. Telecom Parkway                                 Temple Terrace, FL 33637                                                                                             First -Class Mail
Baycare Purchasing Partners LLC                          P.O. Box 406936                                          Atlanta, GA 30384-6936                                                                                                                                                       First -Class Mail
Baycare Purchasing Partners LLC;                         c/o Bank of America                                      Lockbox 406936                                          6000 Feldwood Rd                  College Park, GA 30349                                                             First -Class Mail
Baycare Purchasing Partners, Llc Bpp00416A               7802 E. Telecom Parkway                                  Temple Terrace, FL 33637                                                                                                                                                     First -Class Mail
Baycare Purchasing Partners, Llc Bpp00416B               7802 E. Telecom Parkway Temple                           Terrace, FL 33637                                                                                                                                                            First -Class Mail
Bayforce Technology Solutions, Inc.                      5100 W. Kennedy Blvd.                                    Suite 425                                               Tampa, FL 33609                                                                                                      First -Class Mail
Baylor College Of Medicine                               One Baylor Plaza, Ms: Bcm155                             Houston, TX 77030-3411                                                                                                                                                       First -Class Mail
Baylor College of Medicine                               Ms Bcm620                                                1 Baylor Plz                                            Houston, TX 77030-3411                                                                                               First -Class Mail
Baylor Scott & White Health                              301 N Washington Ave                                     Dallas, TX 75246                                                                                                                                                             First -Class Mail
Baylor Scott & White Health                              2401 South 31St Street                                   Temple, TX 76508                                                                                                                                                             First -Class Mail
Baylor St. Luke's Medical Center                         6720 Bertner                                             Houston, TX 77030                                                                                                                                                            First -Class Mail
Bayshore Medical Center                                  4000 Spencer Hwy Receiving                               Pasadena, TX 77504                                                                                                                                                           First -Class Mail
Bayview Physician Services                               2075 Glenn Mitchell Dr, Ste 300                          Virginia Beach, VA 23456                                                                                                                                                     First -Class Mail
Bbi - Beau Bureaux Interiors Inc                         3197A Redhill Ave                                        Costa Mesa, CA 92626-3450                                                                                                                                                    First -Class Mail
BC Group Int'l                                           Attn: Mike Clotfelter                                    3081 Elm Point Industrial Dr                            St Charles, MO 63301                                                                  mclotfelter@bcgroupintl.com    EmailFirst-Class Mail
Bc Group Int'l Inc                                       3081 Elm Point Industrial Dr                             St Charles, MO 63301-4333                                                                                                                                                    First -Class Mail
Bc Macdonald & Co                                        1265 Research Blvd                                       St Louis, MO 63132-1713                                                                                                                                                      First -Class Mail
BC ODO                                                                                                                                                                                                                                                          brionodonnell@sbcglobal.net    Email
Bca Executives Recruiters                                c/o Brystol Cove Associates                              3525 Del Mar Heights Rd, Ste 660                        San Diego, CA 92130-2199                                                                                             First -Class Mail
Bcd Travel Usa Llc                                       Six Concourse Parkway Ne                                 Suite 2400                                              Atlanta, GA 30328                                                                                                    First -Class Mail
Bcd Travel Usa LLC                                       6 Concourse Pkwy NE, Ste 2400                            Atlanta, GA 30328                                                                                                                                                            First -Class Mail
Bcp Systems                                              1560 S. Sinclair Street                                  Anaheim, CA 92806                                                                                                                                                            First -Class Mail
BCP Systems Inc                                          Attn: Dianna Torres                                      1560 S Sinclair                                         Anaheim, CA 92806                                                                     dianna.torres@bcpsystems.com   EmailFirst-Class Mail
Bcp Systems Inc                                          Attn: Dianna Torres                                      1560 S Sinclair                                         Anaheim, CA 92806                                                                                                    First -Class Mail
Bcp Systems Inc.                                         1560 S. Sinclair Street                                  Anaheim, CA 92806                                                                                                                                                            First -Class Mail
Bdc Laboratories                                         4060 Youngfield Street                                   Wheat Ridge, CO 80033                                                                                                                                                        First -Class Mail
Bdo Llp (Uk)                                             55 Baker Street                                          London W1U 7Eu (Bdo)                                    United Kingdom                                                                                                       First -Class Mail
BDO USA LLP                                              5300 Patterson Ave SE, Ste 100                           Grand Rapids, MI 49512-9626                                                                                                                   wberson@bdo.com                EmailFirst-Class Mail
Bdo USA LLP                                              5300 Patterson Ave Se, Ste 100                           Grand Rapids, MI 49512-9626                                                                                                                                                  First -Class Mail
Bdo Usa Llp                                              330 N. Wabash                                            Suite 3200                                              Chicago, IL 60611                                                                                                    First -Class Mail
Bdo Usa, Llp                                             1100 Peachtree Street                                    Atlanta, GA 30309                                                                                                                                                            First -Class Mail
Beacon Purchasing Llc                                    Suite #127                                               San Juan Capistrano, CA 92675                                                                                                                                                First -Class Mail
Beacon Purchasing Llc                                    29222 Rancho Viejo Rd.                                   Suite #127                                              San Juan Capistrano, CA 92675                                                                                        First -Class Mail
Beacon Purchasing LLC                                    29222 Rancho Viejo Rd, Ste 127                           San Juan Capistrano, CA 92675-1049                                                                                                                                           First -Class Mail
Bead Electronics                                         11 Cascade Boulevard                                     Milford, CT 06460                                                                                                                                                            First -Class Mail
Bead Electronics                                         11 Cascade Blvd                                          Milford, CT 06460                                                                                                                                                            First -Class Mail
Beamar Industrial Supply Inc                             2150 N Coria St                                          Brownsville, TX 78520-8719                                                                                                                                                   First -Class Mail
Bear Construction Co                                     1501 Rohlwing                                            Rolling Meadows, IL 60008                                                                                                                                                    First -Class Mail
                                                                        Case 24-11217-BLS                                                                                          Doc 463                                                     Filed 08/24/24                                                              Page 8 of 51

Bear Valley Community Health Center                               41870 Garstin Dr                                          Big Bear Lake, CA 92315-2088                                                                                                                                                                                                                           First -Class Mail
Beardowadams Inc                                                  3034 Horseshoe Ln                                         Charlotte, NC 28208-6435                                                                                                                                                                                                                               First -Class Mail
Beatriz Sanchez                                                   Address Redacted                                                                                                                                                                                                                                                                                                 First -Class Mail
Beaumont Health System                                            Attn: Pharmacy Administration                             3601 W 13 Mile Rd                                                                       Royal Oak, MI 48073-6712                                                                                                                                       First -Class Mail
Beaumont Health System                                            755 W Big Beaver Rd, Ste 222                              Troy, MI 48084-4928                                                                                                                                                                                                                                    First -Class Mail
Beazley Group                                                     45 Rockefeller Plz, 16th Fl                               New York, NY 10111                                                                                                                                                                                                                                     First -Class Mail
Beazley Usa Services, Inc.                                        30 Batterson Park Road                                    Farmington, CT 06032                                                                                                                                                                                                                                   First -Class Mail
Bec Gesellschaft Fur Produktmanagement Mbh                        Zechenstr. 55                                             47443 Moers                                                                             Germany                                                                                                                                                        First -Class Mail
Becker's Fabrication Inc                                          Attn: Ernie Riddle-Duarte                                 22465 E La Palma Ave                                                                    Yorba Linda, CA 92887                                                                                              eriddle@comstarindustries.com               EmailFirst-Class Mail
Beckman Coulter Inc                                               Dept CH 10164                                             Palatine, IL 60055-0001                                                                                                                                                                                                                                First -Class Mail
Beckman Coulter Inc                                               481 California St                                         Grants Pass, OR 97526-8882                                                                                                                                                                                                                             First -Class Mail
Beck-Masstechnik GmbH                                             Fischeräcker 5                                            74223 Flein                                                                             Germany                                                                                                                                                        First -Class Mail
Beckway Group                                                     450 Lexington Avenue                                      4Th Floor                                                                               New York, NY 10017                                                                                                                                             First -Class Mail
Beckway LLC                                                       450 Lexington Ave, 4th Fl                                 New York, NY 10017-3912                                                                                                                                                                                                                                First -Class Mail
Becton Dickinson                                                  P.O. Box 70942                                            Chicago, IL 60673-0942                                                                                                                                                                                                                                 First -Class Mail
Becton Dickinson & Co                                             1 Becton Dr                                               Franklin Lakes, NJ 07417-1880                                                                                                                                                                                                                          First -Class Mail
Becton Dickinson And Company                                      1 Becton Drive                                            Franklin Lakes, NJ 07417                                                                                                                                                                                                                               First -Class Mail
Becton, Dickinson Company                                         Becton, Dickinson And Company                             1 Becton Drive                                                                          Mc070                                                          Franklin Lakes, NJ 07417                                                                        First -Class Mail
BECWAR Sales/ Precision Circuit West                              Attn: Clarence Becwar                                     24881 Alicia Pkwy, Unit E496                                                            Laguna Hills, CA 92653                                                                                             becwareng@aol.com                           EmailFirst-Class Mail
Behrooz Shabahang Md                                              Address Redacted                                                                                                                                                                                                                                                                                                 First -Class Mail
BEI Kimco Magnetics                                               Attn: Petra Murren, Dwight Broeman                        1499 Poinsettia Ave, Ste 160                                                            Vista, CA 92081                                                                                                    pmurren@sensata.com; dbroeman@sensata.com   EmailFirst-Class Mail
Bei Kimco Magnetics                                               1499 Poinsettia Ave                                       Ste. 160                                                                                Vista, CA 92081                                                                                                                                                First -Class Mail
Bei North America, Llc                                            1499 Pointsetta Ave.                                      Suite 160                                                                               Vista, CA 92081                                                                                                                                                First -Class Mail
Beijing Baoyi Chenxu Medical Equipment Co., Ltd.                  Beijing Baoyi Chenxu Medical Equipment Co., Ltd.          Room 1113, Floor 10, Building 3, No. Yi18 Yuan Shijingshan Road, Shijingshan District   Beijing                                                        China                                                                                           First -Class Mail
Beijing Baoyue Technology Co., Ltd.                               Beijing Baoyue Technology Co., Ltd.                       3102, 31St Floor, Building 7                                                            No. 26, Cheng Tong Street                                      Shijingshan District, Beijing            China                                                  First -Class Mail
Beijing Jumbor Science And Technology Development Ltd.            Beijing Jumbor Science And Technology Development Ltd.    No. 44, Chongwenmenwai Street, Room 1105, 1106, 11Th Floor                              Dongcheng District, Beijing                                    China                                                                                           First -Class Mail
Beijing Pioneer Century                                           Beijing Pioneer Century                                   Room A302, Jinxin Bldg, No. 16                                                          Lianhuachi West Road                                           Hai Dian District, Beijing               China                                                  First -Class Mail
Beijing Pioneer Century Medical Instrument Co., Ltd. (2018 Ida)   Beijing Pioneer Century Medical Instrument Co., Ltd.      Room A320, Jinxin Bldg, No.16                                                           Lianhuachi West Road                                           Haidian District, Bejing                 China                                                  First -Class Mail
Beijing Tairuiyingtong Trading Co., Ltd. (2018 Ida)               Beijing Tairuiyingtong Trading Co.                        Room 303, Jinshangyu Building                                                           No. 111 Fucheng Road, Haidian District                         Beijing                                  China                                                  First -Class Mail
Beijing Tianhe Kaiyuan Technology & Trade Co., Ltd.               Beijing Tianhe Science & Trade Co., Ltd.                  Room 8433, Floor 4, Building 2                                                          No. 22, No. 22, No. 104 National Road                          Daxing District, Beijing                 China                                                  First -Class Mail
Beijing Zhongyi Jiaoyang Medical Equipment Co., Ltd.              Beijing Zhongyi Jiaoyang Medical Equipment Co., Ltd.      Room 646, 6F, 1Th Building                                                              No. 1 South Jinsong Road, Chaoyang District Of Beijing         China                                                                                           First -Class Mail
Belco Packaging Systems Inc                                       910 S Mountain Ave                                        Monrovia, CA 91016                                                                                                                                                                                                                                     First -Class Mail
Bell Pipe & Supply                                                Attn: Gary Stevens                                        215 E Ball Rd                                                                           Anaheim, CA 92805                                                                                                  gstevens@bellpipe.com                       EmailFirst-Class Mail
Bell Pipe & Supply Co                                             Attn: Gary Stevens                                        215 E Ball Rd                                                                           Anaheim, CA 92805                                                                                                                                              First -Class Mail
Bell Pipe & Supply Company                                        215 E. Ball Road                                          Anaheim, CA 92805                                                                                                                                                                                                                                      First -Class Mail
Bellin Memorial Hospital                                          744 S. Webster Avenue                                     Po Box 23400                                                                            Green Bay, WI 54305                                                                                                                                            First -Class Mail
Bell-Mark Sales Co Inc                                            331 Changebridge Rd                                       P.O. Box 2007                                                                           Pine Brook, NJ 07058-2007                                                                                                                                      First -Class Mail
Belteki, Gusztav Md                                               Box 402 Robinson Way                                      Cambridge Cv2 0Qq                                                                       United Kingdom                                                                                                                                                 First -Class Mail
Beltman Group Inc                                                 c/o Beltman Relocation Group                              2480 Long Lake Rd                                                                       Roseville, MN 55113-2534                                                                                                                                       First -Class Mail
Beltrees Consulting Services, Inc.                                11048 Clipper Ct.                                         Windermere, FL 34786                                                                                                                                                                                                                                   First -Class Mail
Bemasce Tecnica                                                   Edimburgo 14                                              Las Rozas De Madrid                                                                                                                              28232 Spain                                                                                           First -Class Mail
Bemasce Tecnica Sl                                                C Edimburg O 14                                           Las Rozas, 28 28232                                                                     Spain                                                                                                                                                          First -Class Mail
Bemis Co Inc                                                      24815 Network Pl                                          Chicago, IL 60673-1248                                                                                                                                                                                                                                 First -Class Mail
Bemis Healthcare Packaging, Inc.                                  3500 N. Main Street                                       Oshkosh, WI 54901                                                                                                                                                                                                                                      First -Class Mail
Bemis Manufacturing Co                                            300 Mill St                                               Sheboygan Falls, WI 53085-1807                                                                                                                                                                                                                         First -Class Mail
Benchmark Electronics (Thailand) Public Company Limited           94 Moo I. Hitech Industrial Estate, Banlane, Bang Pa-In   Ayudhaya, Thailand 13160                                                                Thailand                                                                                                                                                       First -Class Mail
Benchmark Electronics, Inc                                        86 S Rockford Dr                                          Tempe, AZ 85288                                                                                                                                                                                                                                        First -Class Mail
Benchmark Electronics, Inc                                        56 S Rockford Dr                                          Tempe, AZ 85288                                                                                                                                                                                                                                        First -Class Mail
Benchmark Electronics, Inc.                                       56 South Rockford Dr.                                     Tempe, AZ 85288                                                                                                                                                                                                                                        First -Class Mail
Benchmark-Thailand                                                94 Moo 1                                                  Hi Tech Ind. Estate                                                                     Balance Bang Pa-In Ayudhaya                                    13160 Thailand                           Thailand                                               First -Class Mail
Benefis Health System                                             1101 26Th St S                                            Great Falls, MT 59405                                                                                                                                                                                                                                  First -Class Mail
Benefit Street Partners LLC                                       9 W 57th St, Ste 4920                                     New York, NY 10019                                                                                                                                                                                                                                     First -Class Mail
Benes A Lat, A.S.                                                 Tovarni 463                                               Cz-28914 Poricany                                                                       Czechia                                                                                                                                                        First -Class Mail
Benewah Community Hospital                                        229 S 7th St                                              St Maries, ID 83861                                                                                                                                                                                                                                    First -Class Mail
Benigno Dumpit                                                    Address Redacted                                                                                                                                                                                                                                                                                                 First -Class Mail
Benjamin Galbreath                                                Address Redacted                                                                                                                                                                                                                                                                                                 First -Class Mail
Benjamin Robles                                                   Address Redacted                                                                                                                                                                                                                                                                                                 First -Class Mail
Benjamin Wei Md                                                   Address Redacted                                                                                                                                                                                                                                                                                                 First -Class Mail
Bepex Ltd                                                         3 Shoham Kadima                                           Sharon Area, 6092000                                                                    Israel                                                                                                                                                         First -Class Mail
Bepex Ltd                                                         Shoham St, West Ind Area                                  Kadima POB9081                                                                          Even Yejuda 505000                                             Israel                                                                                          First -Class Mail
Bepex Ltd.                                                        Bepex Ltd.                                                Shoham St., West Ind. Area                                                              Kadima Pob9081,                                                Even Yejuda 505000                       Israel                                                 First -Class Mail
Bepex Ltd.                                                        Shoham Street                                             Israel                                                                                                                                                                                                                                                 First -Class Mail
BE-POWER GmbH                                                     Attn: Thomas Winker                                       Ruhberg 8                                                                               Fernwald, 35463                                                Germany                                             twinker@be-power.de                         First -Class Mail
Be-Power Gmbh                                                     Ruhberg 8, D-35463 Fernwald                               Germany                                                                                                                                                                                                                                                First -Class Mail
Berger Medizintechnik                                             Businesspoek 619                                          Gleisdorf, 8200                                                                         Austria                                                                                                                                                        First -Class Mail
Berger Medizintechnik Gmbh                                        Berger Medizintechnik Gmbh                                Businesspark 6/9                                                                        8200, Gleisdorf                                                Austria                                                                                         First -Class Mail
Berger Transfer & Storage Inc                                     2950 Long Lake Rd                                         St Paul, MN 55113-1050                                                                                                                                                                                                                                 First -Class Mail
Berkley Professional Liability                                    757 3Rd Avenue                                            New York, NY 10017                                                                                                                                                                                                                                     First -Class Mail
Berkshire Associates                                              8924 Mcgaw Ct.                                            Columbia, MD 21045                                                                                                                                                                                                                                     First -Class Mail
Berkshire Associates Inc                                          8924 Mcgaw Ct                                             Columbia, MD 21045-4712                                                                                                                                                                                                                                First -Class Mail
Berkshire Hathaway Specialty Insurance Co                         100 Federal St, 7th Fl                                    Boston, MA 02110                                                                                                                                                                                                                                       First -Class Mail
Berkshire Medical Center                                          725 North St                                              Pittsfield, MA 01201                                                                                                                                                                                                                                   First -Class Mail
Bermo Engineering Metal Solutions                                 4501 Ball Rd. Ne                                          Circle Pines, MN 55014                                                                                                                                                                                                                                 First -Class Mail
Bernard J Park Md                                                 Address Redacted                                                                                                                                                                                                                                                                                                 First -Class Mail
Berner Ross Medical Ltd.                                          Berner Ross Medical (Brm) Ltd.                            Petrovsky Per. 1/30 Bldg1                                                               Moscow 107031                                                  Russia                                                                                          First -Class Mail
Berner Ross Medical Ltd.                                          Brm Ltd.                                                  Petrovskiy Per. 1/30-1                                                                  Moscow 107031                                                  Russian Federation                       Russia                                                 First -Class Mail
Bernoulli Enterprise, Inc.                                        200 Cascade Boulevard                                     Milford, CT 06460                                                                                                                                                                                                                                      First -Class Mail
Bernstein Rein Advertising Inc                                    4600 Madison Ave                                          Kansas City, MO 64112-1283                                                                                                                                                                                                                             First -Class Mail
Bernstein, Graham                                                 Sharp Memorial Hospital                                   3003 Health Center Drive                                                                San Diego, CA 92123                                                                                                                                            First -Class Mail
Beroe Holdings Inc                                                2054 Kildaire Farm Rd, PMB 430                            Cary, NC 27518-6614                                                                                                                                                                                                                                    First -Class Mail
Beroe Holdings Inc.                                               2054 Kildaire Farm Road                                   Pmb # 430                                                                               Cary, NC 27518                                                                                                                                                 First -Class Mail
Bertha Alicia Moreno Aguilar                                      Address Redacted                                                                                                                                                                                                                                                                                                 First -Class Mail
Best Source Electronics                                           Attn: Brad Storch                                         3065 101st Ave NE                                                                       Blaine, MN 55449                                                                                                   bstorch@bsec.net                            EmailFirst-Class Mail
Best Source Electronics Corp                                      Attn: Brad Storch                                         3065 101st Ave NE                                                                       Blaine, MN 55449                                                                                                                                               First -Class Mail
Best Source Electronics Corp                                      3065 101st Ave NE                                         Blaine, MN 55449-5718                                                                                                                                                                                                                                  First -Class Mail
Best Source Electronics Corporation                               3065 101st Ave NE                                         Blaine, MN 55449                                                                                                                                                                                           farhan.munshi@bsec.net                      EmailFirst-Class Mail
Best Source Electronics Corporation                               3065 101St Avenue Ne                                      Blaine, MN 55449                                                                                                                                                                                                                                       First -Class Mail
Besttech Solutions Inc                                            c/o Microaccounting Solutions Neo                         P.O. Box 80645                                                                          Canton, OH 44708-0645                                                                                                                                          First -Class Mail
Bestype Business Services                                         P.O. Box 260                                              Pendleton, IN 46064-0260                                                                                                                                                                                                                               First -Class Mail
Bestype Business Services                                         P.O. Box 491                                              Indianapolis, IN 46206-0491                                                                                                                                                                                                                            First -Class Mail
Beswick Engineering Co, Inc                                       Attn: Austin                                              284 Ocean Rd                                                                            Greenland, NH 03840                                                                                                austin-ganly@beswick.com                    EmailFirst-Class Mail
Betafin S.P.A.                                                    Betafin S.P.A.                                            Via Ionio, 43                                                                           Matera, Basilicata 75100                                       Italy                                                                                           First -Class Mail
Betafin Spaa                                                      Via Jonilo 43                                             Matera, MT 75100                                                                        Italy                                                                                                                                                          First -Class Mail
Beth Israel Deaconess Dept of                                     Med Foundation Inc                                        330 Brookline Ave                                                                       Boston, MA 02215-5400                                                                                                                                          First -Class Mail
Beth Israel Deaconess Medical Center                              Beth Israel Deaconess Medical Center                      330 Brookline Ave.                                                                      Boston, MA 02215                                                                                                                                               First -Class Mail
Beth Israel Lahey Health, Inc.                                    41 Mall Rd                                                Po Box 541                                                                              Burlington, MA 01805                                                                                                                                           First -Class Mail
Betti & Associates Business Consulting, Llc                       16600 Lake Circle Unit B                                  Brookfield, WI 53005                                                                                                                                                                                                                                   First -Class Mail
BeWell Korea                                                      18650 MacArthur Blvd, Ste 350                             Irvine, CA 92612                                                                                                                                                                                                                                       First -Class Mail
Bewell Korea                                                      #101, 1F, 8, Motgolbeonyeong-Ro 71 Beon-Gil               Nam-Gu, Busan                                                                                                                                    48429 S Korea                                                                                         First -Class Mail
Bewell Korea                                                      #1001-337, 10F, 298, Suyeong-Ro                           Nam-Gu, Busan, 48429                                                                    S Korea                                                                                                                                                        First -Class Mail
BG Trucking                                                       1754 Carr Rd, Ste 213                                     Calexico, CA 92231-9509                                                                                                                                                                                                                                First -Class Mail
Bg Trucking Inc                                                   1754 Carr Rd, Ste 209                                     Calexico, CA 92231-9509                                                                                                                                                                                                                                First -Class Mail
Bg Trucking, Inc.                                                 1754 Carr Rd Ste 209                                      Calexico, CA 92231                                                                                                                                                                                                                                     First -Class Mail
Bharathy Thaiyalan                                                Address Redacted                                                                                                                                                                                                                                                                                                 First -Class Mail
Bhargav S Chandra Kumar                                           Address Redacted                                                                                                                                                                                                                                                                                                 First -Class Mail
Bi Search International Aka Bsi                                   17550 Gillette Avenue                                     Irvine, CA 92614                                                                                                                                                                                                                                       First -Class Mail
Bi State Compressor                                               1571 Fenpark Dr                                           Fenton, MO 63026-2915                                                                                                                                                                                                                                  First -Class Mail
BI Worldwide                                                      P.O. Box 1450                                             Minneapolis, MN 55485-1450                                                                                                                                                                                                                             First -Class Mail
Bi Worldwide                                                      c/o Schoeneckers Inc                                      7630 Bush Lake Rd                                                                       Minneapolis, MN 55439-2805                                                                                                                                     First -Class Mail
Bialma Systems Srl                                                Bialma Systems Srl                                        Via F. Grossi Gondi, 45                                                                 Roma, Latium 00162                                             Italy                                                                                           First -Class Mail
Bibb Medical Center                                               208 Pierson Ave. Accounts Payable                         Centreville, AL 35042                                                                                                                                                                                                                                  First -Class Mail
Bibb Tool & Cutter Inc                                            69 Lentz Rd                                               Macon, GA 31220-5645                                                                                                                                                                                                                                   First -Class Mail
Bielli & Klauder, LLC                                             Attn: David Klauder                                       1204 N King St                                                                          Wilmington, DE 19801                                                                                               dklauder@bk-legal.com                       EmailFirst-Class Mail
Bielomatic                                                        55397 Lyon Industrial Drive                               New Hudson, MI 48165                                                                                                                                                                                                                                   First -Class Mail
Big Sandy Health Care Incl                                        145 Weddington Branch                                     Pikeville, KY 41501                                                                                                                                                                                                                                    First -Class Mail
Bilan Ortiz                                                       Address Redacted                                                                                                                                                                                                                                                                                                 First -Class Mail
Billings Clinic                                                   P.O. Box 37000                                            Billings, MT 59107                                                                                                                                                                                                                                     First -Class Mail
Billings Clinic                                                   2800 10th Ave N                                           Billings, MT 59101-0703                                                                                                                                                                                                                                First -Class Mail
Bills, Edwin                                                      Address Redacted                                                                                                                                                                                                                                                                                                 First -Class Mail
Bills, Edwin                                                      Address Redacted                                                                                                                                                                                                                                                                                                 First -Class Mail
Billy Dix                                                         Address Redacted                                                                                                                                                                                                                                                                                                 First -Class Mail
Billy Dix                                                         Address Redacted                                                                                                                                                                                                                                                                                                 First -Class Mail
Billy Garza                                                       Address Redacted                                                                                                                                                                                                                                                                                                 First -Class Mail
Bimal Srl                                                         Bimal Srl                                                 Via Xxv Aprile, 16                                                                      26027 Rivolta D'Adda (Cr)                                      Italy                                                                                           First -Class Mail
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Binas Medikal Sistemler San. Ve Tic. Ltd. Sti.                    Kayabasi Mah. Ulubatli Hasan Cad.                         171. Sok Basaksehir Ticaret Ve Egitim Portali 2H D Blok No:24                           Ibn Haldun Üniversitesi Binasi                                 B1 Kat Basaksehir / Istanbul, 34494,     Turkey                                                 First -Class Mail
Binder USA                                                        3903 Calle Tecate                                         Camarillo, CA 93012-5001                                                                                                                                                                                                                               First -Class Mail
Binder Usa, Lp                                                    3930 Calle Tecate                                         Camarillo, CA 93012                                                                                                                                                                                                                                    First -Class Mail
Bio Protech Inc.                                                  151-3, Dongwhagongdan-Ro, Munmark-Eup,                    Wonju-Si, Gangwon-Do                                                                    S Korea                                                                                                                                                        First -Class Mail
Bio Protech Inc.                                                  Donghwa Medical Instrument Complex                        1654-7 Donghwa-Ri Munmak-Eup, Wonju City                                                Gangwon-Do,                                                    South Korea                                                                                     First -Class Mail
Biodal Ic Ve Dis Ticaret A.S                                      Maltepe Mah. Eski Cirpici Yolu Sok.                       No:2 Kat:4 D:32 Merter Is Merkezi                                                       Zeytinburnu, Istanbul, Istanbul                                Turkey                                                                                          First -Class Mail
Biodal Ic Ve Dis Ticaret Anonim Sirketi                           Maltepe Mah. Eski Çirpici Yolu Sok                        No:2 Kat:4 D:31 Merter Is Merkezi, Zeytinburnu, Istanbul 34010                          Turkey                                                                                                                                                         First -Class Mail
Biodal Ic ve Dis Ticaret AS                                       K: 5, D: 33, 2 General Ali                                Riza Gur Cirpici Sokak,                                                                 Zeytinburnu, Istanbul, 34021                                   Turkey                                                                                          First -Class Mail
Biodal Ic ve Dis Ticaret AS                                       Maltepe Mah Eski Cirpici Yolu Sok                         No:2 Kat:4 D:32 Merter Is Merkezi                                                       Zeytinburnu, Istanbul, 34025                                   Turkey                                                                                          First -Class Mail
Bioelectronica Blanco Blancosa S.A.                               Centro Comcercial Urdesa Bloque                           C Detalles Y La 3Era, Local #12                                                         Ecuador                                                                                                                                                        First -Class Mail
Bioelectronica Blanco S.A.                                        Bioelectronica Blanco S.A.                                Centro Comcercial Urdesa Bloque "C                                                      Detalles Y La 3Era, Local #12                                  Guayaquil                                Ecuador                                                First -Class Mail
Bioelektron S.R.L.                                                Bioelektron S.R.L.                                        Via Chiesa Zerman 2/C                                                                   31021 Mogliano Veneto (Tv)                                     Italy                                                                                           First -Class Mail
Bioelektron Srl                                                   Via Chiesa Zerman 2C                                      Mogliano Veneto, 31021                                                                  Italy                                                                                                                                                          First -Class Mail
BioLuminate Consulting                                            Attn: Nicole Almy                                         1003 S Grove Ave                                                                        Oak Park, IL 60304                                                                                                 Nicole@bio-luminate.com                     EmailFirst-Class Mail
Biomed Services                                                   400 W. Blackwell St                                       Dover, NJ 07801                                                                                                                                                                                                                                        First -Class Mail
Biomedical Innovations, Inc                                       410 N Bennett St                                          Southern Pines, NC 28387-4815                                                                                                                                                                                                                          First -Class Mail
Biomedical Innovations, Inc                                       400 Exchange St                                           Buffalo, NY 14204                                                                                                                                                                                                                                      First -Class Mail
Biomedical Innovations, Inc.                                      400 Exchange Street                                       Buffalo, NY 14204                                                                                                                                                                                                                                      First -Class Mail
Bio-Medical Services, Inc.                                        3140 Gold Camp Dr, Ste 90                                 Rancho Cordova, CA 95670-6054                                                                                                                                                                                                                          First -Class Mail
Biomerieux Inc                                                    P.O. Box 500308                                           St Louis, MO 63150-0308                                                                                                                                                                                                                                First -Class Mail
Biomerieux Inc                                                    100 Rodolphe St                                           Durham, NC 27712-9402                                                                                                                                                                                                                                  First -Class Mail
Biomesnil Sas                                                     13Bis, Rue Camille Saint-Saens                            76290 Montivilliers                                                                     France                                                                                                                                                         First -Class Mail
Biomet Inc                                                        100 Interpace Pkwy                                        Parsippany, NJ 07054                                                                                                                                                                                                                                   First -Class Mail
Biomet Inc                                                        P.O. Box 587                                              56 E Bell Dr                                                                            Warsaw, IN 46582-6989                                                                                                                                          First -Class Mail
Biometric Albania Sh.P.K                                          Biometric Albania Sh.P.K.                                 Vllazen Huta Str, Pal. Vila Park, 1/6/23                                                Tirana 1000                                                    Albania                                                                                         First -Class Mail
Biometric Albania Sh.P.K                                          Vllazen Huta Str, Pal. Vila Park, 1/6/23                  Albania                                                                                                                                                                                                                                                First -Class Mail
Biometric Albania Shpk                                            Tiranë, Njësia bashkiake nr 2                             Rruga Vllazen Huta                                                                      Pallati Vila Park                                              Shkalla 1, kati 6, ap 25                 Albania                                                First -Class Mail
Biometric Albania Shpk                                            Vllazen Huta Str,                                         Pal Vila Park, 1/6/23                                                                   Tirana 1000                                                    Albania                                                                                         First -Class Mail
Bionen S.A.S                                                      Via Policarpo Petrocchi                                   42/1                                                                                    50127 Florence                                                 Italy                                    Italy                                                  First -Class Mail
Bioseal Inc.                                                      Bioseal Inc.                                              167 West Orangethorpe Avenue                                                            Placentia, CA 92870                                                                                                                                            First -Class Mail
Biosigna GMBH                                                     1209 Orange St                                            Wilmington, 19801                                                                       Germany                                                                                                                                                        First -Class Mail
Biosystems Inc                                                    667 Technology Cir                                        Windsor, CO 80550                                                                                                                                                                                                                                      First -Class Mail
Biosystems Inc                                                    4F No 42 Song Chiang Rd                                   Taipei, 10455                                                                           Taiwan                                                                                                                                                         First -Class Mail
Biosystems Inc.                                                   Biosystems Inc.                                           4F No 42 Song Chiang Road                                                               Taipei, 10455                                                  Taiwan                                                                                          First -Class Mail
Biotech Pakistan (Pvt) Ltd                                        Suite 302, 3rd Fl                                         Tahir Plaza, KCHS                                                                       Karachi, Pakistan – 75350                                      Pakistan                                                                                        First -Class Mail
Biotech Pakistan (Pvt) Ltd                                        Suite 303, 3rd Fl                                         Tahir Plaza, KCHS                                                                       PK 75350 Karachi                                               Pakistan                                                                                        First -Class Mail
Biotech Pakistan (Pvt.) Ltd.                                      Biotech Pakistan (Pvt.) Ltd.                              Suite #303, 3Rd Floor, Tahir Plaza, K.C.H.S.                                            Pk 75350 Karachi                                               Pakistan                                                                                        First -Class Mail
Biotech Pakistan (Pvt.) Ltd.                                      Suite #303, 3Rd Floor, Tahir Plaza, K.C.H.S.              Pakistan                                                                                                                                                                                                                                               First -Class Mail
Bio-Tek Instruments                                               100 Tigan St                                              Winooski, VT 05404-1356                                                                                                                                                                                                                                First -Class Mail
Bioteknca, Inc.                                                   2100 Ponce De Leon Blvd                                   Suite 1070                                                                              Coral Gables, FL 33134                                                                                                                                         First -Class Mail
Bioteknica Engineering And Regulatory Services                    2100 Ponce De Leon Blvd.                                  Suite 1070                                                                              Coral Gables, FL 33134                                                                                                                                         First -Class Mail
Bioteknica Inc                                                    250 Bird Rd, Ste 216                                      Coral Gables, FL 33146-1424                                                                                                                                                                                                                            First -Class Mail
Bioteque Corporation                                              5F-6, No. 23, Sec. 1                                      Chang-An East Road                                                                      Taipei 10441                                                   Taiwan                                   Taiwan                                                 First -Class Mail
Biotranics Ltd                                                    7 Megalou                                                 Nicosia, 2233                                                                           Cyprus                                                                                                                                                         First -Class Mail
Biotronics Equipments Pvt Ltd                                     Bangashree Tower, 301/401, Daji Ramchandra Rd             opp Pawar Industrial Estate, near Makhmali talao                                        Charai, Thane West, Thane                                      Maharashtra 400602                       India                                                  First -Class Mail
Biotronics Equipments Pvt Ltd                                     01, Bangashree Tower                                      Daji Ramchandra Road                                                                    Opp Pawar Industrial Estate                                    Thane, W                                 India                                                  First -Class Mail
Biotronics Equipments Pvt Ltd.                                    Biotronics Equipments Pvt Ltd.                            01, Bangashree Tower                                                                    Daji Ramchandra Road                                           Opp. Pawar Industrial Estate, Thane W    India                                                  First -Class Mail
Biotronics Equipments Pvt Ltd.                                    01, Bangashree Tower Daji Ramchandra Road Opp             Pawar Industrial                                                                        India                                                                                                                                                          First -Class Mail
Biotronics, Ltd                                                   Megalou Alexandrou 7                                      Latsia 2234                                                                             Cyprus                                                                                                                                                         First -Class Mail
Biotronics, Ltd                                                   7 Megalou Alexandrou Ave                                  2233 Latsai                                                                             Nicosia, 2233                                                  Cyprus                                                                                          First -Class Mail
Biotronics, Ltd.                                                  Biotronics, Ltd.                                          7 Megalou Alexandrou Ave.                                                               2233 Latsai                                                    Nicosia, 2233                            Cyprus                                                 First -Class Mail
Biovo Technologies Ltd.                                           23 Hamelacha St.                                          Po Box 11419                                                                            4809173 Rosh Haayin                                            Israel                                   Israel                                                 First -Class Mail
Birmingham Pulmonary Group                                        2660 10Th Ave S #528                                      Birmingham, AL 32205                                                                                                                                                                                                                                   First -Class Mail
Bis Henderson                                                     Bis Henderson                                             Grange Park Court                                                                       Northampton, Nn4 5Ea                                           United Kingdom                                                                                  First -Class Mail
BISCO Industries                                                  Attn: Tricia Quisenberry                                  1500 N Lakeview Ave                                                                     Anaheim, CA 92807                                                                                                  tquisenberry@biscoind.com                   EmailFirst-Class Mail
Bisco Industries                                                  Attn: Tricia Quisenberry                                  1500 N Lakeview Ave                                                                     Anaheim, CA 92807                                                                                                                                              First -Class Mail
Bi-Search International                                           15131 Woodlawn Ave                                        Tustin, CA 92780                                                                                                                                                                                                                                       First -Class Mail
Bizlink Elocab Gmbh                                               Obere Lerch 34                                            911 Georgensmund                                                                        Germany                                                                                                                                                        First -Class Mail
BizLink Elocab GmbH                                               Obere Lerch 34                                            91166 Georgensgmünd                                                                     Germany                                                                                                                                                        First -Class Mail
Bj & Co                                                           P.O. Box 1486                                             Mannford, OK 74044-1486                                                                                                                                                                                                                                First -Class Mail
Bjc Health System Dba Bjc Healthcare                              8300 Eager Road, Suite 500                                Mail Stop 92-92-277                                                                     St Louis, MO 63144                                                                                                                                             First -Class Mail
Bjc Health Systems Dba Bjc Healthcare                             1404 Cross St                                             Shiloh, IL 62269                                                                                                                                                                                                                                       First -Class Mail
Bjorksten Bit 7                                                   c/o Bit 7 Inc                                             5407 Fen Oak Dr                                                                         Madison, WI 53718-3902                                                                                                                                         First -Class Mail
BKL Electronic Kreimendahl GmbH                                   Märkenstück 14                                            58509 Lüdenscheid                                                                       Germany                                                                                                                                                        First -Class Mail
BKL Electronic Kreimendahl GmbH                                   Markenstuck 12-14                                         58509 Ludenscheid                                                                       Germany                                                                                                                                                        First -Class Mail
Black Diamond Networks                                            11811 N Tatum Blvd, Ste 3060                              Phoenix, AZ 85028                                                                                                                                                                                                                                      First -Class Mail
Black Diamond Networks Inc                                        P.O. Box 960387                                           Boston, MA 02196-0387                                                                                                                                                                                                                                  First -Class Mail
Black Diamond Networks Inc                                        23 Main St                                                Andover, MA 01810-3730                                                                                                                                                                                                                                 First -Class Mail
Black Diamond Networks, Inc.                                      23 Main Street                                            Andover, MA 01810                                                                                                                                                                                                                                      First -Class Mail
Black Duck Software Inc                                           800 District Ave, Ste 221                                 Burlington, MA 01803-5057                                                                                                                                                                                                                              First -Class Mail
Black Duck Software Inc                                           265 Winter St, Ste 3                                      Waltham, MA 02451-8718                                                                                                                                                                                                                                 First -Class Mail
Black Mountain Machine                                            2988 U.S. Hwy 70                                          Black Mtn, NC 28711                                                                                                                                                                                                                                    First -Class Mail
Black River Memorial Hospital                                     711 W. Adams St.                                          Black River Falls, WI 54615                                                                                                                                                                                                                            First -Class Mail
Black Rock Global LLC                                             50 Hudson Yards                                           New York, NY 10001                                                                                                                                                                                                                                     First -Class Mail
Blackhawk Industrial De Mexico                                    c/o S De Rl De Cv                                         Calle Rio Elota 1099                                                                    Mexicali, 21250                                                Mexico                                                                                          First -Class Mail
Blackline Systems Inc                                             23100 Victory Blvd, 12th Fl                               Woodland Hills, CA 91367-0000                                                                                                                                                                                                                          First -Class Mail
Blackline Systems, Inc.                                           21300 Victory Blvd.,                                      12Th Floor                                                                              Woodland Hills, CA 91367                                                                                                                                       First -Class Mail
BlackRock Financial Management Inc                                40 E 52nd St                                              New York, NY 10022                                                                                                                                                                                                                                     First -Class Mail
BlackRock Investment Management                                   12 Throgmorton Ave                                        London, EC2N 2DL                                                                        United Kingdom                                                                                                                                                 First -Class Mail
Blanca Dircio                                                     Address Redacted                                                                                                                                                                                                                                                                                                 First -Class Mail
Blank Rome LLP                                                    Attn: Jordan Williams                                                                                                                                                                                                                                                jordan.williams@blankrome.com               Email
Blank Rome LLP                                                    Attn: Lawrence R. Thomas III                                                                                                                                                                                                                                         lorenzo.thomas@blankrome.com                Email
Blank Rome LLP                                                    Attn: Stanley Tarr/Lawrence R. Thomas III                 Attn: Jordan Williams                                                                   1201 N Market St, Ste 800                                      Wilmington, DE 19801                                stanley.tarr@blankrome.com                  EmailFirst-Class Mail
BLB Eletronica Ltda                                               R Domingos Marreiros                                      738 - Umarizal                                                                          Belém - PA, 66055-210                                          Brazil                                                                                          First -Class Mail
BLB Eletronica Ltda                                               Rua Domingos Marreiros                                    Bairro Umarizal                                                                         Belem, Para 66055-210                                          Brazil                                                                                          First -Class Mail
Blend                                                             8195 Mercury Ct, Ste 140                                  San Diego, CA 92111-1231                                                                                                                                                                                                                               First -Class Mail
Blend                                                             fka Ips Printers                                          8195 Mercury Ct, Ste 140                                                                San Diego, CA 92111-1231                                                                                                                                       First -Class Mail
Blend                                                             Attn: Judy Hamer                                          8195 Mercury Ct, Ste 140                                                                San Diego, CA 92111                                                                                                                                            First -Class Mail
Blessing Corporate Services, Inc                                  Dba Blessing Health System                                Attn: Compliance Officer                                                                1005 Broadway                                                  Quincy, IL 62301-7005                                                                           First -Class Mail
Blessing Hospital                                                 530 N 10Th St                                             Quincy, IL 62301-2607                                                                                                                                                                                                                                  First -Class Mail
Blonde Creative Llc                                               2500 Mccullough                                           San Antonio, TX 78212                                                                                                                                                                                                                                  First -Class Mail
Blonde Creative LLC                                               2500 McCullough Ave                                       San Antonio, TX 78212-3508                                                                                                                                                                                                                             First -Class Mail
Blood Centers of America Inc                                      P.O. Box 845732                                           Boston, MA 02284-5732                                                                                                                                                                                                                                  First -Class Mail
Blood Centers of America Inc                                      1300 Division Rd, Ste 102                                 W Warwick, RI 02893-7558                                                                                                                                                                                                                               First -Class Mail
Blount Memorial Hospital                                          907 E Lamar Alexander Pkwy                                Maryville, TN 37804                                                                                                                                                                                                                                    First -Class Mail
Blower-Dempsay Corp                                               c/o Pak West Paper & Packaging                            4042 Garry St                                                                           Santa Ana, CA 92704                                                                                                                                            First -Class Mail
Blower-Dempsay Corp                                               c/o Pak West Paper & Packaging                            4042 W Garry Ave                                                                        Santa Ana, CA 92704-5140                                                                                                                                       First -Class Mail
Blue Ridge Pulmonary Medicine                                     110 Dunhill Pl Nw 37311                                   Cleveland, TN 37311                                                                                                                                                                                                                                    First -Class Mail
Blue Wave Ultrasonics Inc                                         P.O. Box 4347                                             Davenport, IA 52808-4347                                                                                                                                                                                                                               First -Class Mail
Blue Wave Ultrasonics Inc                                         960 S Rolff St                                            Davenport, IA 52802-2843                                                                                                                                                                                                                               First -Class Mail
Bluebeam Software Inc                                             55 S Lake Ave, Ste 900                                    Pasadena, CA 91101-2627                                                                                                                                                                                                                                First -Class Mail
Blueberry Technologies Llc                                        Dba Bilberry                                              111 S. Jackson Street                                                                   Seattle, WA 98104                                                                                                                                              First -Class Mail
Bluegrass Medical                                                 Attn: Michael T Bennett                                   13000 Equity Pl, Ste 100                                                                Louisville, KY 40223-3976                                                                                                                                      First -Class Mail
Bm-Egypt For Medical And Scientific Equipment                     23 Iran                                                   Egypt                                                                                                                                                                                                                                                  First -Class Mail
Bmo Capital Markets Corp.                                         3 Times Sq                                                New York, NY 10036                                                                                                                                                                                                                                     First -Class Mail
Bmo Harris Bank Na                                                790 N. Water Street                                       Milwaukee, WI 53202                                                                                                                                                                                                                                    First -Class Mail
Bmw Precision Machining                                           2379 Industry St.                                         Oceanside, CA 92054                                                                                                                                                                                                                                    First -Class Mail
Bmw Precision Machining Inc                                       Attn: Alejandra Roque                                     2379 Industry St                                                                        Oceanside, CA 92054                                                                                                                                            First -Class Mail
BMW Precision Machining, Inc                                      Attn: Alejandra Roque                                     2379 Industry St                                                                        Oceanside, CA 92054                                                                                                bmw@bmwprecision.com                        EmailFirst-Class Mail
Bnb Paribas                                                       787 7Th Ave                                               New York, NY 10019                                                                                                                                                                                                                                     First -Class Mail
BNP Paribas                                                       787 7th Ave                                               New York, NY 10019                                                                                                                                                                                                                                     First -Class Mail
Boca Raton Regional Hospital                                      Boca Raton Regional Hospital                              800 Meadows Road                                                                        Boca Raton, FL 33486                                                                                                                                           First -Class Mail
                                                         Case 24-11217-BLS                                                                            Doc 463                          Filed 08/24/24                      Page 9 of 51

Boice Willis Clinic                                901 N Winstead Ave                                         Rocky Mt, NC 27804-8467                                                                                                                                          First -Class Mail
Bolero Plastics                                    11850 Burke St                                             Santa Fe Springs, CA 90670-2536                                                                                                                                  First -Class Mail
Bolin Marketing Inc                                2523 Wayzata Blvd, Ste 300                                 Minneapolis, MN 55405-2190                                                                                                                                       First -Class Mail
Bomgar Corp                                        578 Highland Colony Pkwy                                   Ridgeland, MS 39157-8779                                                                                                                                         First -Class Mail
Bon Secours Health System                          1 St. Francis Drive                                        Greenville, SC 29601                                                                                                                                             First -Class Mail
Bonifacio Consulting Services LLC                  Attn: Mark Bonifacio                                       5 Countryside Rd                             Natick, MA 01760-5809                                                                                               First -Class Mail
Bonifacio Consulting Services, Llc                 745 Atlantic Ave.                                          Boston, MA 02111                                                                                                                                                 First -Class Mail
Bonitasprint Gmbh                                  Max-Von-Laue-Str. 31                                       97080 Wurzburg                               Germany                                                                                                             First -Class Mail
Bonner General Hospital                            520 N 3Rd Ave                                              Sandpoint, ID 83864                                                                                                                                              First -Class Mail
Bootstrap Software Partners, Llc                   Dba Politemail Software                                    300 Constitution Ave                         Suite 200                         Portsmouth, NH 03801                                                              First -Class Mail
Boreasa Technologies Co., Ltd.                     1382 Enchanted Way                                         Oceanside, CA 92056                                                                                                                                              First -Class Mail
Boris Mraovic Md                                   Address Redacted                                                                                                                                                                                                            First -Class Mail
Borough of Totowa Tax Dept                         Municipal Building                                         Totowa, NJ 07512                                                                                                                                                 First -Class Mail
Borough of Totowa Water Dept                       Municipal Building                                         Totowa, NJ 07512                                                                                                                                                 First -Class Mail
Bosch Packaging Services                           36809 Treasury Services                                    Chicago, IL 60694-0001                                                                                                                                           First -Class Mail
Bosch Packaging Services Inc                       2440 Sumner Blvd                                           Raleigh, NC 27616-3275                                                                                                                                           First -Class Mail
Bosch Packaging Technology Inc                     36815 Treasury Ctr                                         Chicago, IL 60694-6800                                                                                                                                           First -Class Mail
Bosch Packaging Technology Inc                     869 S Knowles Ave                                          New Richmond, WI 54017-1745                                                                                                                                      First -Class Mail
Bossard, Inc.                                      909 Pinnacle Peak Road                                     Phoenix, AZ 85027                                                                                                                                                First -Class Mail
Boston Children's Health Physicians                300 Longwood Ave                                           Boston, MA 02115                                                                                                                                                 First -Class Mail
Boston Mutual Life Ins Co                          120 Royall St                                              Canton, MA 02021-1028                                                                                                                                            First -Class Mail
Boston Mutual Life Insurance Co                    P.O. Box 55153                                             Boston, MA 02205-5153                                                                                                                                            First -Class Mail
Boston Scientific Corporation                      300 Boston Scientific Way                                  Marlborough, MA 01752                                                                                                                                            First -Class Mail
Boston Strategic Partners Inc                      4 Wellington St                                            Boston, MA 02118-3006                                                                                                                                            First -Class Mail
Botsford Hospital                                  28100 Grand River Ave Ste 210                              Farmington Hills, MI 48336                                                                                                                                       First -Class Mail
Bottomline Technologies                            Attn: Gregg Cronin                                         325 Corporate Dr                             Portsmouth, NH 03801                                                              gcronin@bottomline.com            EmailFirst-Class Mail
Bottomline Technologies Inc.                       325 Corporate Dr.                                          Portsmouth, NH 03801                                                                                                                                             First -Class Mail
Bottomline Technologies, Inc.                      325 Corporate Drive                                        Portsmouth, NH 03801-6808                                                                                                                                        First -Class Mail
Bouix, Philippe                                    The Surgical Company                                       26 Rue De La Montee                          68720 Flaxlanden                  France                                                                            First -Class Mail
Boundless Network                                  200 E 6th St, Ste 300                                      Austin, TX 78701                                                                                                                                                 First -Class Mail
Boundless Network                                  2110 Hankcock St, Ste 201                                  San Diego, CA 92110                                                                                                                                              First -Class Mail
Bounty Jobs                                        Attn: Claire Oermeyer                                      230 W 41St St, 14th Fl                       New York, NY 10036                                                                cobermeyer@bountyjobs.com         EmailFirst-Class Mail
Bouzid Tayeb                                       Address Redacted                                                                                                                                                                                                            First -Class Mail
Box, Inc.                                          900 Jefferson Ave                                          Redwood, CA 94063                                                                                                                                                First -Class Mail
Boxout                                             6333 Hudson Crossing Parkway Attention: Vp Of Sourcing     Hudson, OH 44236                                                                                                                                                 First -Class Mail
Boyd Co                                            Attn: Adriana Mora                                         600 S Mcclure Rd                             Modesto, CA 95357                                                                 Celia.Zanutto@boydcorp.com        EmailFirst-Class Mail
Boyd Corp                                          Attn: Adriana Mora                                         600 S Mcclure Rd                             Modesto, CA 95357                                                                                                   First -Class Mail
Bozeman Health Deaconess Hospital                  915 Highland Blvd                                          Bozeman, MT 59715-6902                                                                                                                                           First -Class Mail
BPP Professional Education Ltd                     c/o BPP House 142                                          144 Uxbridge Rd                              London, W12 8AA                   United Kingdom                                                                    First -Class Mail
Bracamonte Environmental Svcs                      Attn: Rick Bracamonte                                      72815 Homestead Rd                           Palm Desert, CA 92260                                                             Braca6@aol.com                    EmailFirst-Class Mail
Bradford Systems Corp                              430 Country Club Dr                                        Bensenville, IL 60106-1507                                                                                                                                       First -Class Mail
Bradley Arant Boult Cummings LLP                   1819 5th Ave N                                             Birmingham, AL 35203-2120                                                                                                                                        First -Class Mail
Brady Worldwide                                    Attn: Kevin Emmerich                                       6555 W Good Hope Rd                          Milwaukee, WI 53223                                                               kevin_emmerich@bradycorp.com      EmailFirst-Class Mail
Braemar Manufacturing LLC                          1000 Cedar Hollow Rd, Ste 102                              Malvern, PA 19355-2300                                                                                                                                           First -Class Mail
Brandie Dudley                                     Address Redacted                                                                                                                                                                                                            First -Class Mail
Brandlin & Associates                              12100 Wilshire Blvd.                                       Suite 1120                                   Los Angeles, CA 90025                                                                                               First -Class Mail
Brandon Alexander Causey                           Address Redacted                                                                                                                                                                                                            First -Class Mail
Brandon Joseph Castilaw                            Address Redacted                                                                                                                                                                                                            First -Class Mail
Branson Ultrasonics Corp                           P.O. Box 73174                                             Chicago, IL 60673                                                                                                                                                First -Class Mail
Branson Ultrasonics Corp                           120 Park Ridge Rd                                          Brookfield, CT 06804-3980                                                                                                                                        First -Class Mail
Branson Ultrasonics Corp                           465 Borrego Ct                                             San Dimas, CA 91773                                                                                                                                              First -Class Mail
Branson Ultrasonics Corporation                    41 Eagle Road                                              Danbury, CT 06810                                                                                                                                                First -Class Mail
Brces Medical, Inc.                                Brces Medical, Inc.                                        954 Avenida Ponce De Leon                    Office Suite 707                  San Juan, PR 00907                                                                First -Class Mail
Brces Medical, Inc.                                Brices Medical, Inc. 954 Avenida Ponce De Leon Suite 707   San Juan, PR 00907                                                                                                                                               First -Class Mail
Breas                                              Attn: Michael T Nelson Md, 1745 Bridgewater Rd             Minneapolis, MN 55422-4230                                                                                                                                       First -Class Mail
Breas Medical                                      1738 Clarkson Rd                                           Chesterfield, MO 63017                                                                                                                                           First -Class Mail
Breast Med Inc                                     Attn: Michael T Nelson Md                                  1745 Bridgewater Rd                          Minneapolis, MN 55422-4230                                                                                          First -Class Mail
Breathe Us Holdco, Inc                             26125 N Riverwoods Blvd                                    Mettawa, IL 60045                                                                                                                                                First -Class Mail
Breathing Centers Of Acadiana                      404 S Eola Rd                                              Broussard, PA 70518                                                                                                                                              First -Class Mail
Breathomix B.V.                                    Bargelaan 200                                              2333 Cw Leiden                               The Netherlands                   Netherlands                                                                       First -Class Mail
Brenda Quinonez                                    Address Redacted                                                                                                                                                                                                            First -Class Mail
Brendan Larsen                                     Address Redacted                                                                                                                                                                                                            First -Class Mail
Brenk Brothers                                     Attn: Nate Bunce                                           7490 Central Ave                             Fridley, MN 55432                                                                 Nate@brenkbrothers.com            EmailFirst-Class Mail
Brenk Brothers Inc                                 7490 Central Ave NE                                        Fridley, MN 55432-3577                                                                                                                                           First -Class Mail
Brenk Brothers Inc.                                7490 Central Ave                                           Ne Fridley, MN 55432                                                                                                                                             First -Class Mail
Brenner Fiedler & Associates Inc                   4059 Flat Rock Dr                                          Riverside, CA 92505-5859                                                                                                                                         First -Class Mail
Brenner-Fiedler & Assoc                            4059 Flat Rock Dr                                          Riverside, CA 92505-5859                                                                                                                                         First -Class Mail
Brenntag Pacific S De Rl De Cv                     2498 Roll Dr, Ste 910                                      San Diego, CA 92154-7279                                                                                                                                         First -Class Mail
Brenntag Pacific S De Rl De Cv                     fka Brenntag West 1002608                                  Calle 5 Sur Cd Industrial Otay 9048          Tijuana, BC 22500                 Mexico                                                                            First -Class Mail
Bret W Wise                                        Address Redacted                                                                                                                                                                                                            First -Class Mail
Brett Wollen                                       Address Redacted                                                                                                                                                                                                            First -Class Mail
Breuninger And Englert Gbr                         Obere Grüben 11, 97877 Wertheim-Bettingen                  Germany                                                                                                                                                          First -Class Mail
Brian Borger                                       Address Redacted                                                                                                                                                                                                            First -Class Mail
Brian Christopher Hobson                           Address Redacted                                                                                                                                                                                                            First -Class Mail
Brian Clark                                        Address Redacted                                                                                                                                                                                                            First -Class Mail
Brian Hanson                                       Address Redacted                                                                                                                                                                                                            First -Class Mail
Brian L Cross Md Inc                               P.O. Box 3010                                              Tustin, CA 92781-3010                                                                                                                                            First -Class Mail
Brian Lloyd Graham                                 Address Redacted                                                                                                                                                                                                            First -Class Mail
Brian P Harvey                                     Address Redacted                                                                                                                                                                                                            First -Class Mail
Brian W Pierro                                     Address Redacted                                                                                                                                                                                                            First -Class Mail
Brian Walsh                                        Address Redacted                                                                                                                                                                                                            First -Class Mail
Brian Weaver Consulting LLC                        1355 S Phoenix Dr                                          Des Plaines, IL 60018-1124                                                                                                                                       First -Class Mail
Brianne Lucchesi                                   Address Redacted                                                                                                                                                                                                            First -Class Mail
Bridie Fanning Consulting LLC                      S 82 W 15900 Bass Bay Ln                                   Muskego, WI 53150-9794                                                                                                                                           First -Class Mail
Bright Horizons Capital Corp                       c/o Bright Horizons Family Solutions                       200 Talcott Ave                              Watertown, MA 02472-5705                                                                                            First -Class Mail
Bright Horizons Family Solutions Llc               200 Talcott Avenue South                                   Watertown, MA 02472                                                                                                                                              First -Class Mail
Bright Machines, Inc.                              585 Howard St.                                             San Francisco, CA 94105                                                                                                                                          First -Class Mail
Bright Outdoor Services                            5604 S 145th West Ave                                      Sand Springs, OK 74063-2501                                                                                                                                      First -Class Mail
Brightidea Inc                                     25 Pacific Ave                                             San Francisco, CA 94111-2009                                                                                                                                     First -Class Mail
Brightidea, Inc.                                   25 Pacific Ave                                             San Francisco, CA 94111                                                                                                                                          First -Class Mail
Brion Odonnell                                     Address Redacted                                                                                                                                                                                                            First -Class Mail
Britt Elianna Logan Digiulio                       Address Redacted                                                                                                                                                                                                            First -Class Mail
Britt Logan DiGiulio                                                                                                                                                                                                                         britt.digiulio@vyaire.com         Email
Brittney Wood                                      Address Redacted                                                                                                                                                                                                            First -Class Mail
Broadcastmed Inc                                   195 Farmington Ave                                         Farmington, CT 06032-1700                                                                                                                                        First -Class Mail
Bronson Battle Creek Hospital                      Attn: Carmen Foliahn                                       300 North Ave                                Battle Creek, MI 49017-3307                                                                                         First -Class Mail
Bronson Healthcare Group                           Bronson Healthcare Group                                   601 John St.                                 Box 38-Purchasing                 Kalamazoo, MI 49007                                                               First -Class Mail
Bronson Methodist Hospital                         601 John St                                                Kalamazoo, MI 49007                                                                                                                                              First -Class Mail
Brooks Instrument LLC                              c/o Aip-Bi Holdings Inc                                    P.O. Box 13570                               Newark, NJ 07188-3570                                                                                               First -Class Mail
Brooks Instrument LLC                              c/o Aip-Bi Holdings Inc                                    407 W Vine St                                Hatfield, PA 19440-3052                                                                                             First -Class Mail
Brown Davis & Associates, Inc                      843 Sunstone Street                                        Westlake Village, CA 91362                                                                                                                                       First -Class Mail
Bruel & Kjaer Northamerica                         2815-A Colonnades Ct                                       Norcross, GA 30071                                                                                                                                               First -Class Mail
Brulin & Co Inc                                    P.O. Box 7048                                              Indianapolis, IN 46207-7048                                                                                                                                      First -Class Mail
Brulin & Co Inc                                    2920 Dr Andrew J Brown Ave                                 Indianapolis, IN 46205-4066                                                                                                                                      First -Class Mail
Bruno Eugster Ag                                   Address Redacted                                                                                                                                                                                                            First -Class Mail
Bryan Gonzalez Vargas Y Gonzalez Ba                Address Redacted                                                                                                                                                                                                            First -Class Mail
Bryan Gonzalez Vargas Y Gonzalez Ba                Address Redacted                                                                                                                                                                                                            First -Class Mail
Bryan Joseph Lewis                                 Address Redacted                                                                                                                                                                                                            First -Class Mail
Bryan M Blume                                      Address Redacted                                                                                                                                                                                                            First -Class Mail
Bryan Medical Center                               1600 S 48th St                                             Lincoln, NE 68506-1299                                                                                                                                           First -Class Mail
Bryan Nuttall                                      Address Redacted                                                                                                                                                                                                            First -Class Mail
Bryant Rubber Corp                                 Attn: Brian Chapman                                        11120 Lomita Blvd                            Harbor City, CA 90710                                                             brianchapman@bryantrubber.com     EmailFirst-Class Mail
Bryant Rubber Corp                                 1580 W. Carson Street                                      Long Beach, CA 90810                                                                                                                                             First -Class Mail
Bryant Rubber Corp                                 1112 Lomita Blvd                                           Harbor City, CA 90710-2205                                                                                                                                       First -Class Mail
Bryant Rubber Corp                                 1112 Lomita Blvd                                           Harbor City, CA 90710                                                                                                                                            First -Class Mail
Bryant Rubber Corp                                 Andador Vecinal No 12821                                   Tijuana, BC 22250                            Mexico                                                                                                              First -Class Mail
Bsi Assurance Uk Ltd                               389 Chiswick High Rd                                       London, W4 4AL                               United Kingdom                                                                                                      First -Class Mail
BSI Group America Inc                              Dept CH 19307                                              Palatine, IL 60055-9307                                                                                                                                          First -Class Mail
Bsi Group America Inc                              12950 Worldgate Dr, Ste 800                                Herndon, VA 20170-6007                                                                                                                                           First -Class Mail
BSI Group America, Inc                             Attn: Shawne Patterson                                     12950 Worldgate Dr, Ste 800                  Herndon, VA 20170                                                                 billing.msamericas@bsigroup.com   EmailFirst-Class Mail
Bsi Group Mexico S De Rl De Cv                     Av Paseo De La Reforma No 505                              Mexico Distrito Federal C P, DF 06500        Mexico                                                                                                              First -Class Mail
BSI Group The Netherlands Bv                       Say Building John M Keynesplein 9                          Amsterdam, 1066 EP                           Netherlands                                                                                                         First -Class Mail
Bsi Legal Services                                 Bsi Legal Services                                         389 Chiswick High Road                       London, W4 4Al                    United Kingdom                                                                    First -Class Mail
Btx Global Logistics                               20435 S Western Ave                                        Torrance, CA 90501-1506                                                                                                                                          First -Class Mail
Buchanan General Hospital                          1535 Slate Creek Rd                                        Grundy, VA 24614                                                                                                                                                 First -Class Mail
Buehler                                            c/o A Division of Illinois Tool Works I                    41 Waukegan Rd                               Lake Bluff, IL 60044-1691                                                                                           First -Class Mail
Buffalo Hospital Supply                            Buffalo Hospital Supply                                    4309 Genesee St.                             Buffalo, NY 14225                                                                                                   First -Class Mail
Buffalo Hospital Supply                            4309 Genesee St                                            Buffalo, NY 14225                                                                                                                                                First -Class Mail
Bureau of Revenue & Taxation                       P.O. Box 248                                               Gretna, LA 70054                                                                                                                                                 First -Class Mail
Burek Design                                       21829 E Davies Cir                                         Centennial, CO 80016-2047                                                                                                                                        First -Class Mail
Burford Capital Llc                                350 Madison Avenue                                         New York, NY 10017                                                                                                                                               First -Class Mail
Burke Inc                                          1360 Solutions Ctr                                         Chicago, IL 60677-1003                                                                                                                                           First -Class Mail
Burke Inc                                          500 W 7th St                                               Cincinnati, OH 45203                                                                                                                                             First -Class Mail
Burkert Contromatic Corp                           11425 Mt. Holly-Huntersville Road                          Huntersville, NC 28078                                                                                                                                           First -Class Mail
Business Impact Group LLC                          2411 Galpin Crt, Ste 120                                   Chanhassen, MN 55317                                                                                                                                             First -Class Mail
Business Ink Co                                    P.O. Box 671439                                            Dallas, TX 75267-1439                                                                                                                                            First -Class Mail
Business Ink, Co.                                  10214 N. Ih-35                                             Austin, TX 78753                                                                                                                                                 First -Class Mail
Buske Lines Inc                                    7 Gateway Commerce Ctr Dr                                  Edwardsville, IL 62025                                                                                                                                           First -Class Mail
Busse Hospital Disposables                         75 Arkay Drive                                             Hauppauge, NY 11788                                                                                                                                              First -Class Mail
Butler County Treasurer                            451 5th St                                                 David City, NE 68632                                                                                                                                             First -Class Mail
BWM Global Inc                                     Attn: Ed Trabulsy                                          3740 Hawthorne Ct                            Waukegan, IL 60087                                                                etrabulsy@BWMglobal.com           EmailFirst-Class Mail
Byron H Christie Md Pllc                           1519 Camden Way                                            Nichols Hills, OK 73116-5529                                                                                                                                     First -Class Mail
Byron Zelin                                        Address Redacted                                                                                                                                                                                                            First -Class Mail
C & H Distributors Inc                             Attn: Barb Stehling                                        770 S 70th St                                Milwaukee, WI 53214                                                               bjstehling@chdist.com             EmailFirst-Class Mail
C & L Development Corp                             12930 Saratoga Ave, Ste B                                  Saratoga, CA 95070                                                                                                                                               First -Class Mail
C H Robinson Worldwide Inc                         14701 Charlson Rd, Ste 1400                                Eden Prairie, MN 55347-5088                                                                                                                                      First -Class Mail
C Jerome Goudelock                                 Address Redacted                                                                                                                                                                                                            First -Class Mail
C Medical Holdco Llc                               9200 Xylon Ave N                                           Brooklyn Park, MN 55445                                                                                                                                          First -Class Mail
C T Corp System                                    P.O. Box 4349                                              Carol Stream, IL 60197-4349                                                                                                                                      First -Class Mail
C&C Tile & Carpet Co Inc                           1319 S Harvard Ave                                         Tulsa, OK 74112-5817                                                                                                                                             First -Class Mail
C&R Mechanical Co                                  12825 Pennridge Dr                                         Bridgeton, MO 63044-1238                                                                                                                                         First -Class Mail
C.G. Laboratories, Inc.                            1410 Southtown Drive                                       Granbury, TX 76048                                                                                                                                               First -Class Mail
C.H. Robinson Worldwide, Inc.                      14701 Charlson Road                                        Eden Prairie, MN 55347                                                                                                                                           First -Class Mail
C.H. Robinson Worldwide, Inc.                      14701 Charlson Road                                        Eden Prairie, MN 55247                                                                                                                                           First -Class Mail
C.M.M. Di Mauro Manardi & E C. Srl                 C.M.M. Di Mauro Manardi & E C. Srl                         Via Cardeto 51                               Ancona 60121                      Italy                                                                             First -Class Mail
C.R. England, Inc.                                 4701 W. 2100 S.                                            Salt Lake City, UT 84120                                                                                                                                         First -Class Mail
C29 Media LLC                                      Attn: Chase Emmons                                         700 E Birch St, Ste 301                      Brea, CA 92822                                                                    Chase@c29.media                   EmailFirst-Class Mail
C3Prime                                            c/o Ohmtek Ltd                                             501 S Reino Rd, Ste I                        Newbury Park, CA 91320-4270                                                                                         First -Class Mail
CA Dept of Public Health                           Radiologic Health Branch                                   P.O. Box 997414                              Sacramento, CA 95899                                                                                                First -Class Mail
CA Seydel Sohen Gmbh                               Attn: Lars Seifert                                         Robert-Koch-Str 1                            Klingenthal, Saxony               Germany                                                                           First -Class Mail
CA Seydel Sohne GmbH                               Attn: Lars Seifert                                         Robert-Koch-Str 1                            Klingenthal, Saxony               Germany                                         lars.seifert@seydel1847.com       First -Class Mail
Cabell Huntington Hospital                         1340 Hal Greer Boulevard                                   Huntington, WV 25701                                                                                                                                             First -Class Mail
Cacheaux Cavazos & Newton                          Convent Plaza                                              333 Convent Street                           San Antonio, TX 78205-1348                                                                                          First -Class Mail
Cacheaux Cavazos Newton LLP                        333 Convent St                                             San Antonio, TX 78205-1348                                                                                                                                       First -Class Mail
Cactus Technologies                                3112 Windsor Road                                          Ste A356                                     Austin, TX 78703                                                                                                    First -Class Mail
Cactus Technologies                                3112 Windsor Rd                                            Austin, TX 78703                                                                                                                                                 First -Class Mail
Cactus Technologies                                3112 Windsor Rd, Ste A356                                  Austin, TX 78703                                                                                                                                                 First -Class Mail
CAD/CAM Consulting Svcs Inc                        Attn: Dennis Neil                                          2940 E La Cresta Ave                         Anaheim, CA 92806                                                                 dennisn@cad-cam.com               EmailFirst-Class Mail
Caddo Medical Technologies, Llc                    4500 Mercantile Plaza Dr                                   Ft Worth, TX 76137                                                                                                                                               First -Class Mail
Caddo Shreveport                                   Sales & Use Tax Commission                                 P.O. Box 104                                 Shreveport, LA 71161                                                                                                First -Class Mail
Cadence Inc                                        3860 Paysphere Cir                                         Chicago, IL 60674-0001                                                                                                                                           First -Class Mail
Cadence Inc                                        512 S Columbia Ave                                         Sturgeon Bay, WI 54235-3800                                                                                                                                      First -Class Mail
Cadence Science                                    P.O. Box 826661                                            Philadelphia, PA 19182-6661                                                                                                                                      First -Class Mail
Cadence Science                                    2080 Plainfield Pike                                       Cranston, RI 02921-2012                                                                                                                                          First -Class Mail
Cadmael Sabino Mendez                              Address Redacted                                                                                                                                                                                                            First -Class Mail
Cahill Consultants                                 500 Portion Road                                           Suite 14                                     Lake Ronkonkoma, NY 11779                                                                                           First -Class Mail
Caid Industries Inc                                2275 E Ganley Rd                                           Tucson, AZ 85706-4550                                                                                                                                            First -Class Mail
Caine & Weiner Co Inc                              5805 Sepulveda Blvd, 4th Fl                                Sherman Oaks, CA 91411-2532                                                                                                                                      First -Class Mail
Caire Diagnostics                                  Attn: Ryan Leard                                           7020 Koll Center Pkwy, Ste 110               Pleasanton, CA 94566                                                              ryan.Leard@caireinc.com           EmailFirst-Class Mail
Caire Diagnostics                                  Attn: Ryan Leard                                           7020 Koll Center Pkwy, Ste 110               Pleasanton, CA 94566                                                                                                First -Class Mail
Caire Diagnostics Inc                              Fka Spirosure, Inc                                         7020 Koll Center Pkwy                        Suite 110                         Pleasanton, CA 94566                                                              First -Class Mail
Caire Diagnostics Inc                              Fka Spirosure                                              7020 Koll Center Pkwy                        Suite 110                         Pleasanton, CA 94566                                                              First -Class Mail
Cal Coast Commercial Flooring                      18001 Sky Park Cir, Ste 5J                                 Irvine, CA 92614                                                                                                                                                 First -Class Mail
Cal Plate                                          17110 Jersey Ave                                           Artesia, CA 90701                                                                                                                                                First -Class Mail
Calcasieu Parish                                   Sales & Use Tax Dept                                       P.O. Drawer 20250                            Lake Charles, LA 70602-2050                                                                                         First -Class Mail
Calence LLC Dba                                    c/o Insight Networking                                     P.O. Box 731068                              Dallas, TX 75373                                                                                                    First -Class Mail
California Analytical Instruments                  1312 West Grove Avenue                                     Orange, CA 92865                                                                                                                                                 First -Class Mail
California Dept of Public Health                   P.O. Box 997435                                            Sacramento, CA 95899-7435                                                                                                                                        First -Class Mail
California Dept of Public Health                   Ms 7602, P.O. Box 997435                                   Sacramento, CA 95899                                                                                                                                             First -Class Mail
California Dept of Public Health                   c/o Food and Drug Branch                                   1500 Capitol Ave, MS 7602                    Sacramento, CA 95814                                                                                                First -Class Mail
California Dept of Tax and Fee Admistration        P.O. Box 942879                                            Sacramento, CA 94279                                                                                                                                             First -Class Mail
California East Bay Oncology                       Nursing Society                                            131 Waldo Ave                                Piedmont, CA 94611-3942                                                                                             First -Class Mail
California Hospital Med Center                     1401 S Grand Ave                                           Los Angeles, CA 90015                                                                                                                                            First -Class Mail
California Paper Bag                               1829 Dana St                                               Glendale, CA 91201-2026                                                                                                                                          First -Class Mail
California Paper Bag                               c/o Packaging Plus, Inc                                    15000 S Dochester Ave                        Dolton, IL 60419                                                                                                    First -Class Mail
California Sealing Device                          19426 Londelius St                                         Northridge, CA 91324-3511                                                                                                                                        First -Class Mail
California Space Management                        11956 Bernardo Plaza Dr, Ste 524                           San Diego, CA 92128-2538                                                                                                                                         First -Class Mail
California State Board of Pharmacy                 1625 N Market Blvd                                         Sacremento, CA 95834                                                                                                                                             First -Class Mail
California State Board of Pharmacy                 2720 Gateway Oaks Dr, Ste 100                              Sacramento, CA 95833                                                                                                                                             First -Class Mail
California Vibratory Feeders Inc                   1725 Orangethorpe Park                                     Anaheim, CA 92801-1139                                                                                                                                           First -Class Mail
Calligo (UK) Limited                               Siskin Dr, Ste 3md                                         Coventry, W Midlands CV3 4FJ                 United Kingdom                                                                    accounts-uk@calligo.io            EmailFirst-Class Mail
Calligo (UK) Limited                               Siskin Dr, Ste 3md                                         Coventry, W Midlands CV3 4FJ                 United Kingdom                                                                                                      First -Class Mail
Calligo UK Ltd                                     The Councourse, Ste 1                                      London, SE1 7LY                              United Kingdom                                                                                                      First -Class Mail
Calligo Uk Ltd.                                    2 Eastbourne Terrace                                       London, England W2 6Lg                       United Kingdom                                                                                                      First -Class Mail
Calligo US Inc                                     800 N State St, Ste 402                                    Dover, DE 19901-3925                                                                                                                                             First -Class Mail
Calpine Energy Solutions LLC                       P.O. Box 100967                                            Pasadena, CA 91189-0967                                                                                                                                          First -Class Mail
Calpine Energy Solutions LLC                       401 W A St, Ste 500                                        San Diego, CA 92101-7991                                                                                                                                         First -Class Mail
Calvary Design Team, Inc                           Dba Calvary Robotic                                        855 Publishers Pkwy                          Webster, NY 14580                                                                                                   First -Class Mail
Calvert Memorial Hospital                          100 Hospital Rd Receiving                                  Prince Frederick, MD 20678                                                                                                                                       First -Class Mail
Calvin Lazar                                       Address Redacted                                                                                                                                                                                                            First -Class Mail
Cambridge Public Health Commission                 Dba Cambridge Health Alliance                              1493 Cambridge St                            Cambridge, MA 02139                                                                                                 First -Class Mail
Camcon Medical Ltd                                 Lakin Rose Limited                                         Pioneer House                                Vision Park                       Hinston, Cambridge Cb24 9Nl    United Kingdom                                     First -Class Mail
Camcon Robotics Ltd                                Director Generals House                                    15 Rockstone Pl                              Southampton So152Ep               United Kingdom                                                                    First -Class Mail
Cameron Memorial Cmnty Hosp                        416 E Maumee St                                            Angola, IN 46703                                                                                                                                                 First -Class Mail
Campbell County Fiscal Court                       P.O. Box 72958                                             Newport, KY 41072-0958                                                                                                                                           First -Class Mail
Campbell Engineering                               P.O. Box 3161                                              Desert Hot Springs, CA 92240                                                                                                                                     First -Class Mail
Canada Revenue Agency                              P.O. Box 3800                                              Station A                                    Sudbury, ON P3A 5C2               Canada                                                                            First -Class Mail
Candace Price                                      Address Redacted                                                                                                                                                                                                            First -Class Mail
Candela Co                                         Attn: Beth Golden                                          251 Locke Dr                                 Marlborough, MA 01752                                                             bgolden@candelamedical.com        EmailFirst-Class Mail
Candela Corp                                       c/o Candela Medical                                        251 Locke Dr                                 Marlborough, MA 01752-7220                                                                                          First -Class Mail
Candela Corporation                                251 Locke Drive                                            Marlborough, MA 01752                                                                                                                                            First -Class Mail
Candinal Health Canada Inc                         1000 Tesma Way                                             Vaughan, ON L4K 5R8                          Canada                                                                                                              First -Class Mail
Cangnan Huihuang Hot-Stamping Materials Co. Ltd.   98# Jingyi Road No. 3                                      Jinxiang Industrial Zone                     Jinxiang Cangnan                  Wenzhou Zhejlang               China                                              First -Class Mail
Cannon Gasket Inc                                  7784 Edison Ave                                            Fontana, CA 92336-3635                                                                                                                                           First -Class Mail
Cannon Gasket Inc.                                 7784 Edison Ave                                            San Bernardino, CA 92336-3635                                                                                                                                    First -Class Mail
Canon Business Solutions                           300 Commerce Square Blvd                                   Burlington, NJ 08016                                                                                                           www.csa.canon.com                 EmailFirst-Class Mail
Canopy Hilton Atlanta Midtown                      1414 W. Peachtree Street Nw                                Atlanta, GA 30309                                                                                                                                                First -Class Mail
Cape Fear Valley Medical Ctr                       1638 Owen Dr Receiving                                     Fayetteville, NC 28304                                                                                                                                           First -Class Mail
Cape Regional Medical Center                       Cape Regional Medical Center                               2 Stone Harbor Blvd.                         Cape May Court House, NJ 08210                                                                                      First -Class Mail
Capital Care Medical Group                         2125 River Rd Ste 203                                      Niskayuna, NY 12309                                                                                                                                              First -Class Mail
Capital City Surgery Center LLC                    23 Sunnybrook Rd, Ste 100                                  Raleigh, NC 27610-1874                                                                                                                                           First -Class Mail
Capital Health System, Inc.                        750 Brunswick Ave                                          Trenton, NJ 08638                                                                                                                                                First -Class Mail
Capital Publishing Inc                             P.O. Box 3138                                              Spring Hill, FL 34611-3138                                                                                                                                       First -Class Mail
Capital Publishing Inc                             5201 W Kennedy Blvd                                        Tampa, FL 33609-1845                                                                                                                                             First -Class Mail
Caplugs West                                       3012 Momentum Pl                                           Chicago, IL 60689-5330                                                                                                                                           First -Class Mail
Capstan California                                 16100 South Figueroa Street                                Carson, CA 90248                                                                                                                                                 First -Class Mail
Capsule Technologies Sas                           76-78 Avenue De France                                     75013 Paris                                  France                                                                                                              First -Class Mail
                                                                       Case 24-11217-BLS                                                                                      Doc 463                    Filed 08/24/24                                              Page 10 of 51

Capsuletech Inc                                                      300 Brickstone Sq, Ste 203                                   Andover, MA 01810-1454                                                                                                                                                                    First -Class Mail
Carborundum Grinding Wheel Co                                        1011 E Front St                                              Logan, OH 43138-9791                                                                                                                                                                      First -Class Mail
Carclo Technical Plastics                                            Attn: Carlos Quevedo                                         1141 W Grant Rd                                   Tucson, AZ 85705                                                                                     Carlos.Quevedo@carclo-usa.com      EmailFirst-Class Mail
Carclo Technical Plastics Taic                                       Attn: Carlos Quevedo                                         1141 W Grant Rd                                   Tucson, AZ 85705                                                                                                                        First -Class Mail
Carclo Technical Plastics Taicang China Co, Ltd                      Attn: Rob Stutzman                                           8 Xixin Rd, Chegxiarg Town                        Taicang, Jiading Dist 201804                        China                                            Rob.Stutzman@carclo-usa.com        First -Class Mail
Carclo Technical Plastics, China                                     #8 Xixin Road                                                Chegxiarg Town                                    Taicang, Jiading District 201804                    China                                                                               First -Class Mail
Cardinal Data Systems Inc                                            P.O. Box 686                                                 Lake Forest, IL 60045-0686                                                                                                                                                                First -Class Mail
Cardinal Health                                                      c/o Medical Products & Services                              P.O. Box 730112                                   Dallas, TX 75373-0112                                                                                                                   First -Class Mail
Cardinal Health                                                      5104 Chin Page Rd                                            Durham, NC 27703                                                                                                                                                                          First -Class Mail
Cardinal Health - Packaging Technol Center                           3651 Birchwood Dr                                            Waukegan, IL 60085-8337                                                                                                                                                                   First -Class Mail
Cardinal Health 110 Inc                                              c/o Bank of America Lockbox                                  15898 Collection Center Dr                        Chicago, IL 60693-0158                                                                                                                  First -Class Mail
Cardinal Health 200 LLC                                              Attn: Corporate Real Estate                                  7000 Cardinal Pl                                  Dublin, OH 43017-1091                                                                                                                   First -Class Mail
Cardinal Health 200 LLC                                              c/o Allegiance Corp                                          7200 Cardinal Pl W                                Dublin, OH 43017-1094                                                                                                                   First -Class Mail
Cardinal Health 200, Llc                                             7000 Cardinal Place                                          Dublin, OH 43017                                                                                                                                                                          First -Class Mail
Cardinal Health 200, Llc                                             Cardinal Health 200, Llc                                     7200 Cardinal Place                               Dublin, OH 43017                                                                                                                        First -Class Mail
Cardinal Health 200, Llc                                             7200 Cardinal Pl                                             Dublin, OH 43017                                                                                                                                                                          First -Class Mail
Cardinal Health 302, LLC                                             Las Piedras Sur Industrial Park                              Montonas & Tejas Wards                            Las Piedras, PR 00771                                                                                                                   First -Class Mail
Cardinal Health Canada Inc                                           1000 Tesma Way                                               Vaughan, ON L4K 5R8                               Canada                                                                                                                                  First -Class Mail
Cardinal Health Canada, Inc.                                         100 Tesma Way                                                Vaughan, ON L4K 0J9                               Canada                                                                                                                                  First -Class Mail
Cardinal Health El Paso                                              Convertors/Custom Sterile                                    1 Butterfield Trail Blvd                          El Paso, TX 79906-4901                                                                                                                  First -Class Mail
Cardinal Health Mansfield                                            c/o Cardinal Health 200, LLC                                 P.O. Box 70539                                    Chicago, IL 60673-0539                                                                                                                  First -Class Mail
Cardinal Health Mansfield                                            c/o Cardinal Health 200, LLC                                 7000 Cardinal Pl                                  Dublin, OH 43017-1091                                                                                                                   First -Class Mail
Cardinal Health Medical Products                                     P.O. Box 1386                                                Anasco, PR 00610                                                                                                                                                                          First -Class Mail
Cardinal Health P.R. 220, Llc                                        Centro Internacional De Distribucion Edificio #10            Carr 165 Km 2.4                                   Guaynabo, PR 00965                                                                                                                      First -Class Mail
Cardinal Health P.R.120 Inc                                          Rd 165 Km 2.4 Bldg 03 Local A Centro Internacional De Dist   Guaynabo, PR 00965                                                                                                                                                                        First -Class Mail
Cardinal Health Pharmaceutical Distribution                          4 Cardinal Health Ct                                         Greensboro, NC 27407-2647                                                                                                                                                                 First -Class Mail
Cardinal Health Regulatory Sciences                                  c/o Cardinal Health 127 Inc                                  7400 W 110th St, Ste 300                          Overland Park, KS 66210-2364                                                                                                            First -Class Mail
Cardinal Paint & Powder Inc                                          Attn: Dave Gudgell                                           1329 Potrero Ave                                  S El Monte, CA 91733                                                                                 daveg@cardinalpaint.com            EmailFirst-Class Mail
Cardinal Purchaser LLC                                               c/o Namsa Sas                                                115 Chemin De L Islon                             Chasse Sur Rhone, 38670                             France                                                                              First -Class Mail
Cardinal Purchaser LLC                                               c/o Namsa GMBH                                               Industrie Ctr Obernburg                           Obernburg Am Main, 63784                            Germany                                                                             First -Class Mail
Cardinal Vending Inc                                                 1716 Rudder Industrial Park Dr                               Fenton, MO 63026-2019                                                                                                                                                                     First -Class Mail
Cardiopulmonary Assoc Med Grp                                        60 Garden Ct Ste 220                                         Monterey, CA 93940                                                                                                                                                                        First -Class Mail
Cardiopulmonary Assoc Medical Group                                  921 Fran-lin Pkwy                                            Munster, IN 46321                                                                                                                                                                         First -Class Mail
Care Express Products                                                Care Express Products                                        317 Cary Point Drive                              Cary, IL 60013                                                                                                                          First -Class Mail
Career Movement, Llc                                                 703 N. Douglas Street                                        El Segundo, CA 90245                                                                                                                                                                      First -Class Mail
Carefusion - Mexicali                                                Cerrada vía la producción 85, Pimsa III                      Mexicali, Baja California 21397                   Mexico                                                                                                                                  First -Class Mail
Caremount Medical PC                                                 90 South Bedford Rd                                          Mt Kisco, NY 1049-1397                                                                                                                                                                    First -Class Mail
Cares                                                                5000 S 5th Ave, Bldg 1 C347                                  Hines, IL 60141-3030                                                                                                                                                                      First -Class Mail
Cargo Management Group                                               6124 NW 74th Ave                                             Miami, FL 33166-3710                                                                                                                                                                      First -Class Mail
Cargo Partner Network Inc                                            1 Cross Island Plz, Ste 203                                  Rosedale, NY 11422-3455                                                                                                                                                                   First -Class Mail
Caribex Worldwide                                                    4248 Piedmont Pkwy                                           Greensboro, NC 27410-8111                                                                                                                                                                 First -Class Mail
Caribex Worldwide                                                    Hwy 110 Km 16 Caribex Bldg                                   Aguadilla, 00605                                  Puerto Rico                                                                                                                             First -Class Mail
Caribex Worldwide SA                                                 P.O. Box 250460                                              Aguadilla, PR 00604-0460                                                                                                                                                                  First -Class Mail
Caribex Worldwide SA                                                 Ciudad Nueva                                                 Santo Domingo, 32 10208                           Dominican Republic                                                                                                                      First -Class Mail
Carilion Health Care System                                          c/o Carilion Services Inc                                    P.O. Box 75001                                    Baltimore, MD 21275-5001                                                                                                                First -Class Mail
Carilion Services, Inc.                                              213 S. Jefferson Street                                      Suite 830                                         Roanoke, VA 24022                                                                                                                       First -Class Mail
Carl Mottram                                                         Address Redacted                                                                                                                                                                                                                                       First -Class Mail
Carl Reiner Gmbh                                                     Mariannengasse 17                                            Wien, 1090                                        Austria                                                                                                                                 First -Class Mail
Carl Reiner Gmbh                                                     Mariannengasse 17                                            Wien, 1090                                        Austria                                                                                                                                 First -Class Mail
Carl Reiner GMBH                                                     Mariannengasse 17                                            Vienna, W 1090                                    Austria                                                                                                                                 First -Class Mail
Carl Zeiss Industrial Metrology LLC                                  6250 Sycamore Ln N                                           Maple Grove, MN 55369-6309                                                                                                                                                                First -Class Mail
Carl Zeiss Industrial Metrology, Llc                                 6250 Sycamore Lane North                                     Maple Grove, MN 55369                                                                                                                                                                     First -Class Mail
Carl Zeiss Industrial Quality Solutions                              Attn: Bob Oberleitner                                        2650 Sycamore Ln                                  Maple Lane, MN 55369                                                                                 bob.oberleitner@zeiss.com          EmailFirst-Class Mail
Carlee Clark                                                         Address Redacted                                                                                                                                                                                                                                       First -Class Mail
Carleton Technologies Inc                                            P.O. Box 3309                                                Boston, MA 02241-3309                                                                                                                                                                     First -Class Mail
Carleton Technologies Inc                                            10 Cobham Dr                                                 Orchard Park, NY 14127-4121                                                                                                                                                               First -Class Mail
Carlisle Asia Pacific Ltd Cit                                        Hopewell Centre                                              Wanchai                                           Hong Kong                                                                                                                               First -Class Mail
Carlisle Interconnect Technologies                                   100 Tensolite Drive                                          St Augustine, FL 32092                                                                                                                                                                    First -Class Mail
Carlisle Medical Technologies (Dongguan) Co, Ltd.                    No. 2 Qiaolong Road                                          Xinhu Industrial Park                             Dengwu Village                                      Qiaotou Town Dongguan City    China                                                 First -Class Mail
Carlos Gutierrez                                                     Address Redacted                                                                                                                                                                                                                                       First -Class Mail
Carol Brown                                                          Address Redacted                                                                                                                                                                                                                                       First -Class Mail
Carol Gorski                                                         Address Redacted                                                                                                                                                                                                                                       First -Class Mail
Carolina Color Corp of Ohio                                          100 Colomet Dr                                               Delaware, OH 43015-3846                                                                                                                                                                   First -Class Mail
Carolina East Medical Center                                         Carolina East Medical Center                                 2000 Neuse Blvd.                                  New Bern, NC 28560-3449                                                                                                                 First -Class Mail
Carolinaeast Medical Center                                          2000 Neuse Blvd                                              New Bern, NC 28560-3449                                                                                                                                                                   First -Class Mail
Caroline Jabastin                                                    Address Redacted                                                                                                                                                                                                                                       First -Class Mail
Carotrans Int'l Inc                                                  7300 NW 19th St, Ste 311                                     Miami, FL 33126-1222                                                                                                                                                                      First -Class Mail
Carp Nevine Md                                                       2623 S Seacrest Blvd Ste 20                                  Boynton Beach, FL 33435                                                                                                                                                                   First -Class Mail
Carrier Commerical Service - Denver                                  c/o Carrier Corp                                             9750 E Easter Ave, Ste 100                        Centennial, CO 80112-4439                                                                                                               First -Class Mail
Carrier Corp                                                         P.O. Box 93844                                               Chicago, IL 60673-3844                                                                                                                                                                    First -Class Mail
Carrier Corp                                                         3050 Enterprise St                                           Brea, CA 92821-6214                                                                                                                                                                       First -Class Mail
Carrier Corp                                                         655 W Grand Ave                                              Elmhurst, IL 60126-1060                                                                                                                                                                   First -Class Mail
Carteret General Hospital                                            3500 Arendell St Receiving                                   Morehead City, NC 28557                                                                                                                                                                   First -Class Mail
Cartus Corporation                                                   40 Apple Ridge Road                                          Danbury, CT 06810                                                                                                                                                                         First -Class Mail
Cary Medical Center                                                  163 Van Buren Rd Ste 1                                       Caribou, ME 04736                                                                                                                                                                         First -Class Mail
CAS Testing Technical Services (Guangzhou) Co, Ltd                   Tianhe District Xing Branch Rd                               No 368                                            Guangzhou, Guangdong                                China                                                                               First -Class Mail
CAS Testing Technical Services (Guangzhou) Co, Ltd                   DA of Laboratory Bldg                                        368 Xingke Rd                                     Tianhe district                                     Guangzhou City                China                                                 First -Class Mail
Cas Testing Technical Services (Guangzhou) Co., Ltd.                 Da Of Laboratory Building, #368 Xingke Road                  Tianhe District, Guangzhou City                   China                                                                                                                                   First -Class Mail
Casandra-Jolene Alvarez Soson                                        Address Redacted                                                                                                                                                                                                                                       First -Class Mail
Cascade Laser Corp                                                   101 N Elliott Rd                                             Newberg, OR 97132-2173                                                                                                                                                                    First -Class Mail
Cascade Systems Technology                                           6630 Ne Bennett Street                                       Hilsboro, OR 97124                                                                                                                                                                        First -Class Mail
Cascade Thermal Solutions Inc                                        1890 Cordell Ct E, Ste 102                                   El Cajon, CA 92020-0913                                                                                                                                                                   First -Class Mail
Casco                                                                Attn: Sabrina Vioetta                                        2 Portland Fish Pier, Ste 310                     Portland, ME 04101                                                                                   svioletette@cascodev.com           EmailFirst-Class Mail
Casco Development                                                    2 Portland Fish Pier                                         Portland, ME 04101                                                                                                                                                                        First -Class Mail
Case Club/FPR                                                        Attn: Justin Plehn                                           4765 E Bryson St                                  Anaheim, CA 92807                                                                                    Jplehn@caseclub.com                EmailFirst-Class Mail
Case Western Reserve University, Dept Of Macromolecular Sci & Eng.   Macro Dept., Khs Bldg                                        Room 512                                          Cleveland, OH 44106                                                                                                                     First -Class Mail
Casellas Alcover & Burgos                                            Popular Center                                               Suite 1400                                        208 Ponce De Leon Avenue                            San, PR 00918                                                                       First -Class Mail
Casellas Alcover & Burgos Psc                                        P.O. Box 364934                                              San Juan, 00936-4924                              Puerto Rico                                                                                                                             First -Class Mail
Cases by Source                                                      Attn: Neil Berenholz                                         40 Whitney Rd                                     Mahwah, NJ 07430                                                                                     nberenhholz@casesbysource.com      EmailFirst-Class Mail
Cases By Source Inc                                                  40 Whitney Rd                                                Mahwah, NJ 07430-3130                                                                                                                                                                     First -Class Mail
Cases By Source, Inc.                                                40 Whitney Road                                              Mahwah, NJ 07430                                                                                                                                                                          First -Class Mail
Cass County Memorial Hospital                                        1501 E 10Th St                                               Atlantic, IA 50022-1936                                                                                                                                                                   First -Class Mail
Cass Information Systems Inc                                         13001 Hollenberg Dr                                          Bridgeton, MO 63044-2410                                                                                                                                                                  First -Class Mail
Cass Information Systems, Inc.                                       13001 Hollenberg Dr                                          Bridgeton, MO 63044                                                                                                                                                                       First -Class Mail
Cass Information Systems, Inc.                                       12412 Powerscourt Dr. #5500                                  St Louis, MO 63131                                                                                                                                                                        First -Class Mail
Cass Medical Center                                                  2800 E. Rock Haven Road                                      Harrisonville, MO 64701                                                                                                                                                                   First -Class Mail
Castle Rock Electric LLC                                             6442 Metro Ct, Ste H                                         Bedford, OH 44146-4777                                                                                                                                                                    First -Class Mail
Catawba Valley Medical Center                                        810 Fairgrove Church Rd SE                                   Hickory, NC 28602                                                                                                                                                                         First -Class Mail
Catering By Michaels                                                 6203 Park Ave                                                Morton Grove, IL 60053-2636                                                                                                                                                               First -Class Mail
Catharine T Tocko                                                    Address Redacted                                                                                                                                                                                                                                       First -Class Mail
Catherine Forsman                                                    Address Redacted                                                                                                                                                                                                                                       First -Class Mail
Catherine Hilger                                                     Address Redacted                                                                                                                                                                                                                                       First -Class Mail
Catherine R Clendennen                                               Address Redacted                                                                                                                                                                                                                                       First -Class Mail
Catherine Riedel                                                     Address Redacted                                                                                                                                                                                                                                       First -Class Mail
Catherine Tocko                                                      Address Redacted                                                                                                                                                                                                    Email Address Redacted             EmailFirst-Class Mail
Catheter Research Inc                                                6102 Victory Way                                             Indianapolis, IN 46278-2934                                                                                                                                                               First -Class Mail
Cathleen Faye Hayton                                                 Address Redacted                                                                                                                                                                                                                                       First -Class Mail
Catholic Health Initiatives                                          198 Inverness Dr W                                           Englewood, CO 80112                                                                                                                                                                       First -Class Mail
Catholic Healthcare West                                             3400 Data Dr                                                 Rancho Cordova, CA 95670-7956                                                                                                                                                             First -Class Mail
Cathtip                                                              4012 South River Rd                                          Suite 4B                                          St George, UT 84790                                                                                                                     First -Class Mail
Cath-Tip Inc                                                         c/o St George Medical Co                                     4012 S River Rd, Ste 2E                           St George, UT 84790-3801                                                                                                                First -Class Mail
Cathy Mccall                                                         Address Redacted                                                                                                                                                                                                                                       First -Class Mail
Cathy Rowe                                                           Address Redacted                                                                                                                                                                                                                                       First -Class Mail
Cavalier Logistics                                                   2205 E Carson St, Ste B1                                     Carson, CA 90810-1250                                                                                                                                                                     First -Class Mail
Cbiz & Mayer Hoffman Mccann P.C.                                     3625 Cumberland Blvd Se, Suite 1100                          Atlanta, GA 30339                                                                                                                                                                         First -Class Mail
Cbiz Gibraltar Real Estate Services LLC                              225 W Wacker Dr, Ste 250                                     Chicago, IL 60606                                                                                                                                                                         First -Class Mail
Cbre, Inc.                                                           200 Park Avenue                                              New York, NY 10166                                                                                                                                                                        First -Class Mail
CCH Inc                                                              c/o Wolters Kluwer Tax & Accounting                          2700 Lake Cook Rd                                 Riverwoods, IL 60015-3867                                                                                                               First -Class Mail
Ccp Credit Acquisition Holdings, L.L.C.                              375 Park Avenue, 11Th Floor                                  New York, NY 10152-0002                                                                                                                                                                   First -Class Mail
Ccp Industries                                                       26301 Curtiss Wright Pkwy                                    Cleveland, OH 44143-4413                                                                                                                                                                  First -Class Mail
CD-Adapco                                                            fka AC-Adapco                                                Attn: Jason Geurts                                60 Broadhollow Rd                                   Melville, NY 11747                               jason.geurts@cd-adapco.com         EmailFirst-Class Mail
Cd-Adapco                                                            60 Broadhollow Road                                          Melville, NY 11747                                                                                                                                                                        First -Class Mail
CDS Office Products                                                  Attn: Aristotle McDaniel                                     31-410 Reserve Dr                                 Thousand Palms, CA 92276                                                                             amcdaniel@cdsop.com                EmailFirst-Class Mail
CDTFA                                                                CA Dept of Tax & Fee Administration                          P.O. Box 942879                                   Sacramento, CA 94279                                                                                                                    First -Class Mail
Cdw Computer Centers                                                 Attn: Nick Ferrin                                            200 N Milwaukee Ave                               Vernon Hills, IL 60061                                                                                                                  First -Class Mail
CDW Direct                                                           Attn: Nick Ferrin                                            200 N Milwaukee Ave                               Vernon Hills, IL 60061                                                                               nicfer@cdw.com                     EmailFirst-Class Mail
CDW Direct LLC                                                       P.O. Box 75723                                               Chicago, IL 60675-5723                                                                                                                                                                    First -Class Mail
CDW Direct, LLC                                                      Attn: Vida Krug                                              200 N Milwaukee Ave                               Vernon Hills, IL 60061                                                                               vida.krug@cdw.com                  EmailFirst-Class Mail
Cdw LLC                                                              Attn: Nick Ferrin                                            200 N Milwaukee Ave                               Vernon Hills, IL 60061                                                                                                                  First -Class Mail
Ced Solutions, LLC                                                   Attn: Bonnie Jordon                                          P.O. Box 680190                                   Marietta, GA 30068                                                                                   info@cedsolutions.com              EmailFirst-Class Mail
Cedap Mexico S A De C V                                              Nglaterra 5600 Guadalajara Technolo                          Zapopan, JAL 45010                                Mexico                                                                                                                                  First -Class Mail
Cedap Mexico S A De C V                                              Inglaterra 5600 Guadalajara Technol                          Zapopan, Jal 45010                                Mexico                                                                                                                                  First -Class Mail
Cedap Mexico Sa De Cv                                                Av. Inglaterra, No. 5600 Guadalajara Technology Park         C.P. 45010, Guadalajara, Jalisco, Mexico          Mexico                                                                                                                                  First -Class Mail
Cedar Park Regional Med Ctr                                          1401 Medical Pkwy                                            Cedar Park, TX 78613                                                                                                                                                                      First -Class Mail
Ceegeez Associates                                                   Ceegeez Associates                                           16 Borella Cross Road                             Colombo 08                                          Sri Lanka                                                                           First -Class Mail
Celadon Trucking                                                     9503 E. 33Rd St.                                             Indianapolis, IN 46235                                                                                                                                                                    First -Class Mail
Celanese Eva Performance                                             16883 Collection Center Dr                                   Chicago, IL 60693-0168                                                                                                                                                                    First -Class Mail
Celanese Eva Performance                                             4405-101 Ave                                                 P.O. Box 428                                      Edmonton, AB T5J 2K1                                Canada                                                                              First -Class Mail
Celestica                                                            11 Continental Boulevard                                     Bldg 300                                          Suite 103                                           Merrimack, NH 03054                                                                 First -Class Mail
Celissia Andrews                                                     Address Redacted                                                                                                                                                                                                                                       First -Class Mail
Cem Ltd                                                              700 Blue Point Rd                                            Holtsville, NY 11742-1832                                                                                                                                                                 First -Class Mail
Center For Perinatal Medicine                                        Tri Distributor With Euromount 8169921                       Swiss Medical 8169922                             Bld. 4, Tovarischeskiy Pereulok                     Moscow 109004                 Russia                                                First -Class Mail
Center Of Perinatal Medicine Llc                                     Bld. 4, Tovarischeskiy Per.                                  Russia                                                                                                                                                                                    First -Class Mail
Centerpoint Medical Center                                           19600 East 39Th St S                                         Independence, MO 64057                                                                                                                                                                    First -Class Mail
Centers For Disease Control And Prevention                           Div. Of Strategic Nat. Stockpile                             1600 Clifton Rd                                   Atlanta, GA 30329                                                                                                                       First -Class Mail
Central Circle Co                                                    28 Khalid Ibn Al Waleed St                                   Al Kuwayt                                         Kuwait                                                                                                                                  First -Class Mail
Central Circle Co                                                    P.O. Box 1015                                                Salmieh 22011, 69th Fl                            Al-Hamra Business Tower                             Al-Shunhada St                Al-Sharq, Kuwait                                      First -Class Mail
Central Circle Co.                                                   P.O. Box 1015                                                Salmieh 22011, Floor No. 69                       Al-Hamra Business Tower, Al-Shunhada St, Al-Sharq   Kuwait                                                                              First -Class Mail
Central Circle Co.                                                   Central Circle Co. W.L.L,                                    Floor No. #69, Al Hamra Business Tower            Al-Shuhada Street, Al-Sharq                         Kuwait                                                                              First -Class Mail
Central Colorado Horizon LLC                                         Attn: Justin Thibert                                         300 E Highland Mall Blvd, Ste 435                 Austin, TX 78752                                                                                     Justin.thibert@nhclc.com           EmailFirst-Class Mail
Central Florida Pulmonary Group                                      1115 E Ridgewood St                                          Orlando, FL 32803                                                                                                                                                                         First -Class Mail
Central Plastics Inc                                                 811 W 1st St                                                 P.O. Box 903                                      Mcpherson, KS 67460-3266                                                                                                                First -Class Mail
Central Technology Center                                            3 Court Cir                                                  Drumright, OK 74030-9613                                                                                                                                                                  First -Class Mail
Central Transport                                                    1849 W Valley Blvd                                           Colton, CA 92324                                                                                                                                                                          First -Class Mail
Central Transport                                                    2850 Kramer Dr                                               Gibsonia, PA 15044-9670                                                                                                                                                                   First -Class Mail
Central Tx Oncology Nursing Society                                  2813 Kinney Oaks Ct                                          Austin, TX 78704-4979                                                                                                                                                                     First -Class Mail
Central Valley Medical LLC                                           Attn: Ryan Green                                             P.O. Box 971                                      Turlock, CA 95381-0971                                                                                                                  First -Class Mail
Central-Medori (Intl) Pte Ltd                                        Attn: Yeo Liang Choon                                        Jtc Medtech Hub                                   2 Tukang Innovation Grove, Ste 06-02                Singapore, 618305             Singapore                                             First -Class Mail
Central-Midori (Int'l) Pte Ltd                                       Attn: Yeo Liang Choon                                        2 Tukang Innovation Grove, Ste 06-02              Jtc Medtech Hub                                     Singapore, 618305             Singapore          Lc.yeo@central-midori.com.sg       First -Class Mail
Centramed Medizintechnik                                             c/o Handelges Mbh & Co Kg                                    August Horch Str 24-26                            Koblenz, 56070                                      Germany                                                                             First -Class Mail
Centramed Medizintechnik Handels Mmbh & Co. Kg                       August-Horch-Str. 24-26                                      56070, Koblenz                                    Germany                                                                                                                                 First -Class Mail
Centre Of Perinatal Medicine Ltd.                                    Centre Of Perinatal Medicine Ltd.                            Bld. 4, Tovarischeskiy Per.                       Moscow 109004, Russia                               Russia                                                                              First -Class Mail
Centrify                                                             3300 Tannery Way                                             Santa Clara, CA 95054                                                                                                                                                                     First -Class Mail
Centrum Medyczne Ujastek Spolka Z Ograniczona Odpowiedzialnoscia     Centrum Medyczne Ujastek Sp. Z.O.O.                          Ujastek 3                                         31-752 Cracow, Poland                               Poland                                                                              First -Class Mail
Centrum Medyczne Ujastek, SpZ OO                                     c/o Szpital Polozniczo Ginekologiczny                        Ujastek 3                                         Krakow, 31-752                                      Poland                                                                              First -Class Mail
Centura Health                                                       9100 E. Mineral Circle                                       Centennial, CO 80112                                                                                                                                                                      First -Class Mail
Centurion Service                                                    3325 Mount Prospect Road                                     Frankil Park, IL 60131                                                                                                                                                                    First -Class Mail
Centurion Service Acquisition Inc                                    c/o Centurion Service Group LLC                              3325 Mount Prospect Rd                            Franklin Park, IL 60131-1337                                                                                                            First -Class Mail
Centurion Service Group Llc                                          3325 Mount Prospect Road                                     Franklin Park, LA 60131                                                                                                                                                                   First -Class Mail
Century Spring                                                       5959 Triumph Street                                          Commerce, CA 90040                                                                                                                                                                        First -Class Mail
Century Springs Corp                                                 Attn: Dan Murillo                                            222 E 16th St                                     Los Angeles, CA 90015                                                                                dan@centuryspring.com              EmailFirst-Class Mail
Centurylink Communications, Llc                                      1025 Eldorado Blvd.                                          Broomfield, CO 80021                                                                                                                                                                      First -Class Mail
Cepa Operations Inc                                                  1140 E Locust St                                             Ontario, CA 91761-4537                                                                                                                                                                    First -Class Mail
Cepa Operations Inc.                                                 Cepa Operations Inc.                                         1140 E. Locust St.                                Ontario, CA 91761-4537                                                                                                                  First -Class Mail
Cepedas Parts & Equipment Co Inc                                     1834 Fallow Run                                              San Antonio, TX 78248-2000                                                                                                                                                                First -Class Mail
Cequel Data Centers LP                                               c/o Tierpoint LLC                                            12444 Powerscourt Dr, Ste 450                     St Louis, MO 63131-3632                                                                                                                 First -Class Mail
Cerco 1 Inc                                                          453 W McConkey St                                            Shreve, OH 44676-9769                                                                                                                                                                     First -Class Mail
Cerco Diamonite Plant                                                453 W Mcconkey St                                            Shreve, OH 44676-9769                                                                                                                                                                     First -Class Mail
Ceridian Benefits Services Inc                                       P.O. Box 10989                                               Newark, NJ 07193-0989                                                                                                                                                                     First -Class Mail
Ceridian Benefits Services Inc                                       3311 E Old Shakopee Rd                                       Minneapolis, MN 55425-1361                                                                                                                                                                First -Class Mail
Ceridian Hcm, Inc.                                                   3311 E. Old Shakopee Rd.                                     Minneapolis, MN 55425                                                                                                                                                                     First -Class Mail
Certa Kft.                                                           H-3980 Satoraljaujhely                                       Berecki Utca 18-28                                Hungary                                             Hungary                                                                             First -Class Mail
Certified Medical Sales                                              Attn: Jake Granger                                           41587 Grand View Dr                               Murrieta, CA 92562                                                                                   jake.granger@ca.rr.com             EmailFirst-Class Mail
Cesar Yovani Cisneros                                                Address Redacted                                                                                                                                                                                                                                       First -Class Mail
Ceva                                                                 1717 Busse Road                                              Elk Grove Village, IL 60007                                                                                                                                                               First -Class Mail
Ceva Freight (Australia) Pty Ltd                                     1 Doriemus Dr                                                Truganina, VIC 3029                               Australia                                                                                                                               First -Class Mail
Ceva Freight Holland Bv                                              Folkstoneweg 182                                             Luchthaven, 1118 LN                               Netherlands                                                                                                                             First -Class Mail
Ceva Freight LLC                                                     c/o EGL Inc                                                  2727 London Groveport Rd                          Groveport, OH 43125-9304                                                                                                                First -Class Mail
Ceva Freight, Llc                                                    15350 Vickery Drive                                          Houston, TX 77032                                                                                                                                                                         First -Class Mail
Ceva International Inc                                               Attn: Legal Dept                                             15350 Vickery Dr                                  Houston, TX 77032-2530                                                                                                                  First -Class Mail
Ceva Int'l Inc                                                       15350 Vickery Dr                                             Houston, TX 77032-2530                                                                                                                                 Nola.kupu@cevalogistics.com        EmailFirst-Class Mail
Ceva Int'l Inc                                                       19600 S Western Ave                                          Torrance, CA 90501-1117                                                                                                                                                                   First -Class Mail
Ceva Logistics                                                       Attn: Nola Kupa                                              15350 Vickery Dr                                  Houston, TX 77032                                                                                    Nola.Kupu@cevalogistics.com        EmailFirst-Class Mail
Ceva Logistics                                                       18120 Bishop Ave                                             Carson, CA 90746-4032                                                                                                                                                                     First -Class Mail
Ceva Logistics                                                       7411 Goen Pl, Ste C                                          San Diego, CA 92120-1272                                                                                                                                                                  First -Class Mail
Ceva Logistics                                                       Attn: Legal Dept                                             18120 Bishop Ave                                  Carson, CA 90746-4032                                                                                                                   First -Class Mail
Ceva Logistics U.S., Inc.                                            10751 Deerwood Park Blvd                                     Jacksonville, FL 32256                                                                                                                                                                    First -Class Mail
Cfc Int'l                                                            500 State St                                                 Chicago Heights, IL 60411-1206                                                                                                                                                            First -Class Mail
CFC Int'l Corp                                                       P.O. Box 74831                                               Chicago, IL 60694-4831                                                                                                                                                                    First -Class Mail
CFI                                                                  c/o Contract Freighters Inc                                  4701 E 32nd St                                    Joplin, MO 64804-3482                                                                                                                   First -Class Mail
CFM-San Diego Inc                                                    Attn: Jerry Samaniego                                        2784 Gateway Rd, Ste 103                          Carlsbad, CA 92009                                                                                   jerrysamaniego@cmfsd.com           EmailFirst-Class Mail
Cg Laboratories Inc                                                  1410 Southtown Dr                                            Granbury, TX 76048-2663                                                                                                                                                                   First -Class Mail
CGS Advisors LLC                                                     Attn: Gregg Garrett                                          850 Shady Hollow Cir                              Bloomfield Township, MI 48304                                                                        Greggory.garrett@cgsadvisors.com   EmailFirst-Class Mail
CGS Advisors LLC                                                     850 Shady Hollow Cir                                         Bloomfield Hills, MI 48304-3766                                                                                                                                                           First -Class Mail
CGS Technologies                                                     Attn: Bruce Kludt                                            23630 N 35th St                                   Glendale, AZ 85310                                                                                   bkludt@syintegrators.com           EmailFirst-Class Mail
Chad Todd                                                            Address Redacted                                                                                                                                                                                                                                       First -Class Mail
Chakravarthy Reddy Md                                                Address Redacted                                                                                                                                                                                                                                       First -Class Mail
Challenger Performance Optimization                                  1777 N Kent St, Ste 500                                      Arlington, VA 22209-2133                                                                                                                                                                  First -Class Mail
Chamois Metrology Ltd                                                The Centre Northfield Rd, Unit 8                             Holywell Business Park, CV47 0FP                  United Kingdom                                                                                                                          First -Class Mail
Champion Scale Ltd                                                   3849 S Broadway                                              St Louis, MO 63118-4607                                                                                                                                                                   First -Class Mail
Chandler Industries                                                  260 Plymouth Ave. N.                                         Minneapolis, MN 55411                                                                                                                                                                     First -Class Mail
Chandler Management Group                                            Chandler Management Group                                    1481 Coral Way                                    San Marcos, CA 92078                                                                                                                    First -Class Mail
Chandler Management Group, Inc                                       1481 Coral Way                                               San Marcos, CA 92078-7988                                                                                                                                                                 First -Class Mail
Chang Moua                                                           Address Redacted                                                                                                                                                                                                                                       First -Class Mail
Changchun Haiting Shijia Medical Equipment Co., Ltd. (2018 Ida)      Room 811, Building 1, Linhe Street No. 157                   Economic Development Zone, Changchun City         Jilin Province                                      China                                                                               First -Class Mail
Changchun Ruihua Trading Co., Ltd                                    Room 505, Zhongtian Building, No. 2066 Puyang Street,        Lvyuan District, Changchun,                       Jilin Province, 2066 505                            China                                                                               First -Class Mail
Channel Prime Alliance                                               P.O. Box 8500-6566                                           Philadelphia, PA 19178-0001                                                                                                                                                               First -Class Mail
Channel Prime Alliance                                               1803 Hull Ave                                                Des Moines, IA 50313-4738                                                                                                                                                                 First -Class Mail
Charles C Theriot & Co LLC                                           P.O. Box 169                                                 Houma, LA 70361                                                                                                                                                                           First -Class Mail
Charles Davis                                                                                                                                                                                                                                                                            cdavis@cs-ib.com                   Email
Charles Francis                                                      Address Redacted                                                                                                                                                                                                                                       First -Class Mail
Charles Randolph Heinselman                                          Address Redacted                                                                                                                                                                                                                                       First -Class Mail
Charles Raymond Austin                                               Address Redacted                                                                                                                                                                                                                                       First -Class Mail
Charles William Foulk                                                Address Redacted                                                                                                                                                                                                                                       First -Class Mail
Charles Y Kim                                                        Address Redacted                                                                                                                                                                                                                                       First -Class Mail
Charleston Area Medical Center                                       3000 Maccorkle Ave Se Materials Handling Center              Charleston, WV 25304                                                                                                                                                                      First -Class Mail
Charlies Trailers Sales & Service Inc                                12996 E Reading Pl                                           Tulsa, OK 74116-1715                                                                                                                                                                      First -Class Mail
Charter Nex Films                                                    P.O. Box 809220                                              Chicago, IL 60680-9220                                                                                                                                                                    First -Class Mail
Charter Nex Films                                                    1264 E High St                                               Milton, WI 53563-8682                                                                                                                                                                     First -Class Mail
Chasland Industrial Supplies                                         312 Whitehall Rd                                             Anderson, SC 29625-2256                                                                                                                                                                   First -Class Mail
Chasland Industrial Supplies                                         101 Metro Dr                                                 Anderson, SC 29625-1408                                                                                                                                                                   First -Class Mail
Chattanooga Hamilton County                                          c/o Hospital Authority                                       975 E 3rd St                                      Chattanooga, TN 37403-2163                                                                                                              First -Class Mail
CHCA Bayshore LP                                                     4000 Spencer Hwy                                             Pasadena, TX 77504                                                                                                                                                                        First -Class Mail
Checkmarx Inc                                                        5250 Old Orchard Rd                                          Skokie, IL 60077-4460                                                                                                                                                                     First -Class Mail
Cheifetz, Ira (Md)                                                   4502 Medical Dr                                              San Antonio, TX 78229                                                                                                                                                                     First -Class Mail
Chem Aqua                                                            Attn: Naomi Smith                                            1840 Waterville Rd                                Macon, GA 31206                                                                                      naomi.smith@nch.com                EmailFirst-Class Mail
Chemetall                                                            c/o Chemetall Us Inc                                         13177 S Huron River Dr                            Romulus, MI 48174-3631                                                                                                                  First -Class Mail
                                                               Case 24-11217-BLS                                                                                      Doc 463                     Filed 08/24/24                                           Page 11 of 51

Chemetall Us Inc                                             22040 Network Pl                                         Chicago, IL 60673-1220                                                                                                                                                               First -Class Mail
Chemical Data LP                                             1111 N Loop W, Ste 1140                                  Houston, TX 77008-4721                                                                                                                                                               First -Class Mail
Cheminent Oy                                                 Laaksonpohjantie 16                                      Hamari, 06650                                         Finland                                                                                                                        First -Class Mail
Chemoglo LLC                                                 96 Mtn Laurel                                            Chapel Hill, NC 27517-9390                                                                                                                                                           First -Class Mail
Chemres                                                      103 Carriage Center                                      Suite 100                                             Princeton, NJ 08540                                                                                                            First -Class Mail
Chemtrec                                                     2900 Fairview Oark Dr                                    Falls Church, VA 22042-4513                                                                                                                                                          First -Class Mail
Chem-Trend LP                                                22002 Network Pl                                         Chicago, IL 60673-1220                                                                                                                                                               First -Class Mail
Chem-Trend LP                                                1445 Mcpherson Park Dr                                   Howell, MI 48843-3947                                                                                                                                                                First -Class Mail
Chemtronics Biomedical Engineering                           c/o PTY Ltd                                              45 Gilby Rd, Bldg 99                                  Mount Waverley, VIC 3149                      Australia                                                                        First -Class Mail
Chengdu Baolong Trading Co., Ltd                             No. 5, 4F Yongfeng Building, No. 52 Yongfeng Road        High And New Technology District Of Chengdu           Sichuan Province                              China                                                                            First -Class Mail
Chengdu Qizheng Commercial Trading Co., Ltd.                 6-4 Room 4, 6F Yingujiye Building                        No. 39, Ximianqiao Street                             Wuhou District, Chengdu Of Sichuan Province   China                                                                            First -Class Mail
Cherokee County Tax Collector                                75 Peachtree St                                          Murphy, NC 28906-2948                                                                                                                                                                First -Class Mail
Cheryl Ann Hoerr                                             Address Redacted                                                                                                                                                                                                                              First -Class Mail
Cheryl Holmes                                                Address Redacted                                                                                                                                                                                                                              First -Class Mail
Chesapeake Regional Med Ctr                                  111 Medical Parkway Floor 2                              Chesapeake, VA 23320                                                                                                                                                                 First -Class Mail
Chesapeake Regional Medical Center                           736 Battlefield Blvd North                               Chesapeake, VA 23320                                                                                                                                                                 First -Class Mail
Chest-American Collage of Chest Physicians                   Attn: Anna Fernandez                                     2995 Patriot Blvd                                     Glenviw, IL 60026                                                                                afernandez@chesstnet.org      EmailFirst-Class Mail
Chicago Institute of                                         Minimally Invasive Surgery LLC                           4905 Old Orchard Ctr, Ste 409                         Skokie, IL 60077-4738                                                                                                          First -Class Mail
Chicago North Shore Limousine Group                          355 W Dundee Rd, Ste 214                                 Buffalo Grove, IL 60089-3500                                                                                                                                                         First -Class Mail
Chicago Office Technology Group Inc                          aka Cotg - A Xerox Co                                    3 Territorial Ct                                      Bolingbrook, IL 60440-4659                                                                                                     First -Class Mail
Chicago Office Technology Group, Inc.                        2 Pierce Place                                           Itasca, IL 60143                                                                                                                                                                     First -Class Mail
Chicago Suburban Express                                     P.O. Box 388568                                          Chicago, IL 60638                                                                                                                                                                    First -Class Mail
Chicago Suburban Express                                     5504 W 47th St                                           Chicago, IL 60638-1809                                                                                                                                                               First -Class Mail
Chicago Title & Trust Co                                     10 S Lasalle, Ste 3100                                   Chicago, IL 60603-1028                                                                                                                                                               First -Class Mail
Chicot Memorial Medical Center                               2729 S Highway 65 & 82 S                                 Lake Village, AR 71653                                                                                                                                                               First -Class Mail
Childrens Center Rehabilitation Hospital                     6800 Nw 39Th Express Way                                 Bethany, OK 73008                                                                                                                                                                    First -Class Mail
Childrens Healthcare of Atlanta Inc                          3375 Northeast Expy NE                                   Atlanta, GA 30341-4007                                                                                                                                                               First -Class Mail
Children's Healthcare Of Atlanta, Inc.                       Children's Healthcare Of Atlanta, Inc.                   1600 Tullie Circle                                    Atlanta, GA 30329                                                                                                              First -Class Mail
Children's Hospital Medical Center                           3333 Burnet Avenue                                       Cincinnati, OH 45229                                                                                                                                                                 First -Class Mail
Childrens Hospital of Alabama                                1600 7th Ave S                                           Birmingham, AL 35233                                                                                                                                                                 First -Class Mail
Childrens Hospital of Los Angeles                            Attn: Director of Financial Svcs                         4650 Sunset Blvd, Mail Stop 97                        Los Angeles, CA 90027                                                                                                          First -Class Mail
Childrens Hospital Of Michigan                               Receiving Dock Childrens Hospital Of Michigan            3901 Beaubien St                                      Detroit, MI 48201                                                                                                              First -Class Mail
Childrens Hospital Of Orange County                          455 S. Main Street                                       Orange, CA 92868                                                                                                                                                                     First -Class Mail
Childrens Hospital of Philadelphia                           3400 Civic Center Blvd                                   Philadelphia, PA 19104-5127                                                                                                                                                          First -Class Mail
Childrens Hospital Wisconsin                                 6740 W Washington St                                     Milwaukee, WI 53214-5600                                                                                                                                                             First -Class Mail
Childrens Medical Center                                     1935 Medical District Dr                                 Dallas, TX 75235-7701                                                                                                                                                                First -Class Mail
Childrens Mercy Hosp & Clinics                               2401 Gillham Rd Receiving                                Kansas City, MO 64108                                                                                                                                                                First -Class Mail
China Med Device                                             800 Turnpike St.                                         Suite 300                                             N Andover, MA 01845                                                                                                            First -Class Mail
China National Instruments                                   China National Instruments Import & Export Group Corp.   Xi Zhi Men Wai Street No. 6, Zhong Yi Da Sha,         Beijing                                       China                                                                            First -Class Mail
China National Instruments                                   Bldg B, General Times Center                             No1 Xiying St                                         Fengtai District                              Beijing, 100071                   China                                          First -Class Mail
China National Instruments                                   Import & Export Group Corp                               Xi Zhi Men Wai St No 6                                Zhong YI Da Sha, Beijing                      China                                                                            First -Class Mail
China Pacific Life Insurance Co., Ltd.                       Floor 55, 56 Building T2,Shenye Shangcheng,Futian        Shenzhen                                              China                                                                                                                          First -Class Mail
Chinamed Products (China) Ltd.                               Unit C 10/F, World Tech Centre, 95 How Ming Street       Kwun Tong, Kowloon                                    Hong Kong                                                                                                                      First -Class Mail
Chinamed Products Inc                                        23272 Palawan Cir                                        Dana Point, CA 92629-3627                                                                                                                                                            First -Class Mail
Chineham Park                                                c/o Brookstreet des Roches LLP                           25A Western Ave                                       Milton Park                                   Abingdon, Oxfordshire OX14 4SH    United Kingdom                                 First -Class Mail
Chipman Relocation & Logistics                               c/o Chipman Corp                                         2208 Harmony Grove Rd                                 Escondido, CA 92029-2054                                                                                                       First -Class Mail
Chiromed Medizintechnik GMBH                                 Amlingstadter                                            Hirschaid, 96114                                      Germany                                                                                                                        First -Class Mail
Chiromed Medizin-Technik Gmbh                                Chiromed Medizin-Technik Gmbh                            Amlingstadter Strasse 31                              96114, Hirschaid                              Germany                                                                          First -Class Mail
Chiron America, Inc                                          Attn: Laura Gass                                         10950 Withers Cove Park Dr                            Charlotte, NC 28277                                                                              lgass@chironamerica.com       EmailFirst-Class Mail
Chitwood Group                                               Attn: Walter R Chitwood Jr                               146 E Longmeadow Rd                                   Greenville, NC 27858-3716                                                                                                      First -Class Mail
Chojnacka, Karolina Md (Poland - Pavog Study Poznan)         Poland - Pavog Study Poznan                              Pilczycka 144-148                                     Wroclaw, Lower Silesia, 54144                 Poland                                                                           First -Class Mail
Chojnacka, Karolina Md (Poland - Prico Study Poznan)         Poland - Pavog Study Poznan                              Pilczycka 144-148                                     Wroclaw, Lower Silesia, 54144                 Poland                                                                           First -Class Mail
Chongqing Chongli Technology Co, Ltd                         No 29, No 2                                              Zhicai Village, Qiezixi St                            Dadukou District                              Chongqing                         China                                          First -Class Mail
Chongqing Chongli Technology Co, Ltd                         No 4-7, Bldg 1                                           No 104 Cuibai Road                                    Dadukou District                              Chongqing                         China                                          First -Class Mail
Chongqing Huankang Medical Instrument Co., Ltd. (2018 Ida)   Chongqing Huankang Medical Instrument Co., Ltd.          Room 34-5, Building 6                                 No. 1 Aoti Road, Jiulongpo District           Chongqing                         China                                          First -Class Mail
Chris Pyatt                                                  Address Redacted                                                                                                                                                                                                                              First -Class Mail
Chris R Dorsett                                              Address Redacted                                                                                                                                                                                                                              First -Class Mail
Christian Carrasco                                           Address Redacted                                                                                                                                                                                                                              First -Class Mail
Christian Rama                                               Address Redacted                                                                                                                                                                                                                              First -Class Mail
Christian Rama                                               Address Redacted                                                                                                                                                                                                                              First -Class Mail
Christie Clinic                                              101 W University Ave                                     Champaign, IL 61820-3981                                                                                                                                                             First -Class Mail
Christina Daniels                                            Address Redacted                                                                                                                                                                                                                              First -Class Mail
Christina Ferroli                                            Address Redacted                                                                                                                                                                                                                              First -Class Mail
Christina Jenkins                                            Address Redacted                                                                                                                                                                                                                              First -Class Mail
Christina Joseph                                             Address Redacted                                                                                                                                                                                                                              First -Class Mail
Christina Riccio                                             Address Redacted                                                                                                                                                                                                                              First -Class Mail
Christina Riccio Md                                          Address Redacted                                                                                                                                                                                                                              First -Class Mail
Christina Yang                                               Address Redacted                                                                                                                                                                                                                              First -Class Mail
Christine A Wilsey                                           Address Redacted                                                                                                                                                                                                                              First -Class Mail
Christine Conroy                                             Address Redacted                                                                                                                                                                                                                              First -Class Mail
Christine D Woolsey                                          Address Redacted                                                                                                                                                                                                                              First -Class Mail
Christine Oropez MD                                          Address Redacted                                                                                                                                                                                                                              First -Class Mail
Christopher Anthony Painter                                  Address Redacted                                                                                                                                                                                                                              First -Class Mail
Christopher Beben                                            Address Redacted                                                                                                                                                                                                                              First -Class Mail
Christopher C Colton                                         Address Redacted                                                                                                                                                                                                                              First -Class Mail
Christopher Hidinger                                         Address Redacted                                                                                                                                                                                                                              First -Class Mail
Christopher J Margolin                                       Address Redacted                                                                                                                                                                                                                              First -Class Mail
Christopher J Staebell                                       Address Redacted                                                                                                                                                                                                                              First -Class Mail
Christopher Jackson                                          Address Redacted                                                                                                                                                                                                                              First -Class Mail
Christopher Konrad Consulting                                3426 Adams Ave                                           San Diego, CA 92116                                                                                                                                    christopher@konradking.com    EmailFirst-Class Mail
Christopher M Conner                                         Address Redacted                                                                                                                                                                                                                              First -Class Mail
Christopher Surike                                           Address Redacted                                                                                                                                                                                                                              First -Class Mail
Christopher Tainter                                          Address Redacted                                                                                                                                                                                                                              First -Class Mail
Christopher W Holscher                                       Address Redacted                                                                                                                                                                                                                              First -Class Mail
Christus Health                                              Christus Health                                          919 Hidden Ridge                                      Irving, TX 75038                                                                                                               First -Class Mail
Christus Health                                              100 NE Loop 410, Ste 800                                 San Antonio, TX 78216-4749                                                                                                                                                           First -Class Mail
Chroma Color Corp                                            1134 Nc Hwy 49 S                                         Asheboro, NC 27205-9584                                                                                                                                                              First -Class Mail
Chroma Color Corporation                                     1134 Nc Highway 49                                       S Asheboro, NC 27205                                                                                                                                                                 First -Class Mail
Chubb                                                        1133 Ave of the Americas                                 New York, NY 10036                                                                                                                                                                   First -Class Mail
Chubb Insurance Malaysia Berhad                              Chubb Insurance Malaysia Berhad                          38 Jalan Sultan Ismail                                50250 Kuala Lumpur                            Malaysia                          Malaysia                                       First -Class Mail
Chudebska, Katarzyna (Poland Prico Study - Warsaw)           Bartycka 20 95, Warsaw, 00-716, Poland                   Poland                                                                                                                                                                               First -Class Mail
Chunil Shipping Co Ltd                                       653-30 Hannam-2 Dong                                     Yongsan-Ku Seoul                                      South Korea                                                                                                                    First -Class Mail
Ciel Medical, Inc.                                           340 19Th St                                              Bakersfield, CA 93301                                                                                                                                                                First -Class Mail
Ciera Kaufman                                                Address Redacted                                                                                                                                                                                                                              First -Class Mail
Cigna                                                        900 Cottage Grove Rd                                     Bloomfield, CT 06002-2920                                                                                                                                                            First -Class Mail
Cigna Behavioral Health                                      11095 Viking Dr                                          Eden Prairie, MN 55344                                                                                                                                                               First -Class Mail
Ci-Group                                                     c/o Corporate Incentives Inc                             10 Salem Park                                         Whitehouse, NJ 08888-9000                                                                                                      First -Class Mail
Cim Med Gmbh                                                 Cim Med Gmbh                                             Margot-Kalinke-Str. 9                                 80993 München                                 Germany                                                                          First -Class Mail
Cim Med Inc                                                  2024 Independence Commerce Dr                            Matthews, NC 28105-4221                                                                                                                                                              First -Class Mail
Cim Med, Inc.                                                2024 Independence Commerce Dr.                           Suite E                                               Matthews, NC 28105                                                                                                             First -Class Mail
Cimarron Telephone Co LLC                                    c/o Cim-Tel Cable LLC                                    P.O. Box 248879                                       Oklahoma City, OK 73124-8879                                                                                                   First -Class Mail
Cimarron Telephone Co LLC                                    P.O. Box 160                                             Mannford, OK 74044-0160                                                                                                                                                              First -Class Mail
Cimed Sa De Cv                                               Cimed Sa De Cv                                           Circuito Escultores No. 124                           53100 Naucalpan                               Mexico                                                                           First -Class Mail
Cimino Box & Pallet Co                                       8500 Clinton Rd                                          Brooklyn, OH 44144-1000                                                                                                                                                              First -Class Mail
Cim-Tel Cable Inc                                            P.O. Box 266                                             Mannford, OK 74044-0266                                                                                                                                                              First -Class Mail
Cincinnati Children's Hospital                               3333 Burnet Ave                                          Cincinnati, OH 45229-3026                                                                                                                                                            First -Class Mail
Cincinnati Children's Hospital Medical Center                3333 Burnet Avenue                                       Cincinnati, OH 45229                                                                                                                                                                 First -Class Mail
Cincinnati Sub Zero Products Inc                             3530 Solutions Ctr                                       Chicago, IL 60677-3005                                                                                                                                                               First -Class Mail
Cincinnati Sub Zero Products Inc                             12011 Mosteller Rd                                       Cincinnati, OH 45241-1528                                                                                                                                                            First -Class Mail
Cincinnati Test Systems                                      10100 Progress Way                                       Harrison, OH 45030                                                                                                                                                                   First -Class Mail
Cincinnati Test Systems Inc                                  10100 Progress Way                                       Harrison, OH 45030-1295                                                                                                                                                              First -Class Mail
Cincinnati Tristate Chapter                                  Oncology Nursing Society                                 P.O. Box 42791                                        Cincinnati, OH 45242-0791                                                                                                      First -Class Mail
Cincymed Dba                                                 4846 La Paz Ct.                                          Carlsbad, CA 92010                                                                                                                                                                   First -Class Mail
Cintas - Statpads Llc                                        15558 Arrow Hwy, Unit E                                  Irwindale, CA 91706-6614                                                                                                                                                             First -Class Mail
Cintas Co No 2                                               Attn: David Trifeletti                                   P.O. Box 631025                                       Cincinnati, OH 45263-1025                                                                        trifettid@cintas.com          EmailFirst-Class Mail
Cintas Co No 3-640                                           Attn: Kyle Hanna                                         P.O. Box 29059                                        Phoenix, AZ 85038-9059                                                                           khanna@cintas.com             EmailFirst-Class Mail
Cintas Corp                                                  Cintas 22                                                1025 National Pkwy                                    Schaumburg, IL 60173-4520                                                                                                      First -Class Mail
Cintas Corp 3                                                c/o Cintas Corp Loc 640                                  P.O. Box 29059                                        Phoenix, AZ 85038-9059                                                                                                         First -Class Mail
Circulo Llantero Sa De Cv                                    Avenida Ulises Irigoyen S/N                              Mexicali, BC 21010                                    Mexico                                                                                                                         First -Class Mail
Cirrusone LLC                                                P.O. Box 801030                                          Acworth, GA 30101-1030                                                                                                                                                               First -Class Mail
Cirtec Medical                                               fka Qure                                                 Attn: Debbie O'conner                                 1810 Renaissance Blvd                         Sturvetant, WI 53177                               doconnor@qmd.net              EmailFirst-Class Mail
Cirtec Medical (Formally Qure)                               fka Qure                                                 Attn: Debbie O'conner                                 1810 Renaissance Blvd                         Sturvetant, WI 53177                                                             First -Class Mail
Cirtec Medical Corp                                          Attn: E Casey Beckett                                    9200 Xylon Ave N                                      Brooklyn Park, MN 55445                                                                          casey.beckett@cirtecmed.com   EmailFirst-Class Mail
Cisco Webex LLC                                              16720 Collections Ctr Dr                                 Chicago, IL 60693-0167                                                                                                                                                               First -Class Mail
Cisco Webex Llc                                              170 West Tasman Drive                                    San Jose, CA 95134                                                                                                                                                                   First -Class Mail
Cisco-Eagle Inc                                              10015 E 51st St                                          Tulsa, OK 74146-5730                                                                                                                                                                 First -Class Mail
Cisneros Communications Ltd                                  2328 E Lincoln Hwy 143                                   New Lenox, IL 60451-9533                                                                                                                                                             First -Class Mail
Cisneros Communications, Ltd.                                Cisneros Communications, Ltd.                            2328 E. Lincoln Highway #143                          New Lenox, IL 60451                                                                                                            First -Class Mail
Citibank                                                     P.O. Box 183173                                          Columbus, OH 43218-3173                                                                                                                                                              First -Class Mail
Citibank Na                                                  P.O. Box 6125                                            Sioux Falls, SD 57117-6125                                                                                                                                                           First -Class Mail
Citibank, NA                                                 P.O. Box 6125                                            Sioux Falls, SD 57117                                                                                                                                                                First -Class Mail
Citizens Bank National Association                           1 Citizens Plz                                           Providence, RI 02903-1344                                                                                                                                                            First -Class Mail
Citizens Bank, N.A.                                          71 S. Wacker Drive                                       Chicago, IL 60606                                                                                                                                                                    First -Class Mail
Citrus Pulmonary Consultants & Sleep                         5616 W Norvell Bryant Hwy                                Crystal River, FL 34429                                                                                                                                                              First -Class Mail
City & County of Broomfield                                  1 Descombes Dr                                           Broomfield, CO 80020-2495                                                                                                                                                            First -Class Mail
City & County of Denver                                      Treasury Division/Tax Amnesty                            201 W Colfax Ave Dept 1001                            Denver, CO 80202-5332                                                                                                          First -Class Mail
City of Akron                                                1 Cascade Plz, 11th Fl                                   Akron, OH 44308-1100                                                                                                                                                                 First -Class Mail
City of Alabaster                                            Dept CS 1                                                P.O. Box 830525                                       Birmingham, AL 35283                                                                                                           First -Class Mail
City of Arvada                                               Tax & Audit Division                                     8101 Ralston Rd                                       Arvada, CO 80002                                                                                                               First -Class Mail
City of Athens                                               P.O. Box 1089                                            Athens, AL 35611                                                                                                                                                                     First -Class Mail
City of Aurora                                               Revenue Division                                         P.O. Box 913200                                       Denver, CO 80291                                                                                                               First -Class Mail
City of Baton Rouge                                          Parish of E Baton Rouge                                  Dept of Finance, Revenue Division                     P.O. Box 2590                                 Baton Rouge, LA 70821-2590                                                       First -Class Mail
City of Baton Rouge Parish of East Baton Rouge               Dept Of Finance-Revenue Division                         P.O. Box 2590                                         Baton Rouge, LA 70821-2590                                                                                                     First -Class Mail
City of Battle Creek                                         City Treasurer                                           P.O. Box 239                                          Battle Creek, MI 49016-0239                                                                                                    First -Class Mail
City of Bloomfield Hills                                     Treasurer                                                45 E Long Lake Rd                                     Bloomfield Hills, MI 48304-2322                                                                                                First -Class Mail
City of Boaz                                                 P.O. Box 537                                             Boaz, AL 35957-0537                                                                                                                                                                  First -Class Mail
City of Boulder                                              Sales Tax Division                                       P.O. Box 791                                          Boulder, CO 80306-0791                                                                                                         First -Class Mail
City of Bremerton                                            Tax & License Division                                   345 6th St, Ste 100                                   Bremerton, WA 98337                                                                                                            First -Class Mail
City of Bremerton                                            Tax & License Div                                        345 6th St, Ste 100                                   Bremerton, WA 98337                                                                                                            First -Class Mail
City of Bristol                                              497 Cumberland St                                        Bristol, VA 24201-4394                                                                                                                                                               First -Class Mail
City of Brockton                                             P.O. Box 1000                                            Brockton, MA 02303-1000                                                                                                                                                              First -Class Mail
City of Centre                                               401 E Main St                                            Centre, AL 35960                                                                                                                                                                     First -Class Mail
City of Chelsea                                              305 S Main St, Ste 100                                   Chelsea, MI 48118-1556                                                                                                                                                               First -Class Mail
City of Cincinnati                                           805 Central Ave, Ste 600                                 Cincinnati, OH 45202-5756                                                                                                                                                            First -Class Mail
City of Colorado Springs                                     30 S Nevada Ave, Ste 203                                 Colorado Springs, CO 80903                                                                                                                                                           First -Class Mail
City of Colquitt                                             154 West St                                              Colquitt, GA 39837-3417                                                                                                                                                              First -Class Mail
City of Craig                                                300 W 4th St                                             Craig, CO 81625                                                                                                                                                                      First -Class Mail
City of Cullman                                              P.O. Box 278                                             Cullman, AL 35056                                                                                                                                                                    First -Class Mail
City of Daphne                                               P.O. Drawer 1047                                         Daphne, AL 36526-1047                                                                                                                                                                First -Class Mail
City of Dearborn                                             Tax Administration Services                              P.O. Box 30516 Dept 3102                              Lansing, MI 48909-8016                                                                                                         First -Class Mail
City of Dowagiac                                             P.O. Box 430                                             Dowagiac, MI 49047-0430                                                                                                                                                              First -Class Mail
City of Durango                                              949 E 2nd Ave                                            Durango, CO 81301-5109                                                                                                                                                               First -Class Mail
City of Durango                                              949 E Second Ave                                         Durango, CO 81301-5109                                                                                                                                                               First -Class Mail
City of Englewood                                            1000 Englewood Pkwy                                      Englewood, CO 80110-2373                                                                                                                                                             First -Class Mail
City of Englewood                                            Finance Dept                                             Tax & Licensing Division                              1000 Englewood Pkwy                           Englewood, CO 80110-2373                                                         First -Class Mail
City of Everett                                              P.O. Box 94430                                           Seattle, WA 98124-6730                                                                                                                                                               First -Class Mail
City of Everett                                              2930 Wetmore Ave                                         Everett, WA 98201                                                                                                                                                                    First -Class Mail
City of Everett Lockbox                                      P.O. Box 94430                                           Seattle, WA 98124-6730                                                                                                                                                               First -Class Mail
City of Fife                                                 5411 23rd St E                                           Fife, WA 98424-2061                                                                                                                                                                  First -Class Mail
City of Fitchburg                                            Treasurer                                                P.O. Box 312                                          Medford, MA 02155-0004                                                                                                         First -Class Mail
City of Florence                                             P.O. Box 98                                              Florence, AL 35631-0098                                                                                                                                                              First -Class Mail
City of Florence                                             P.O. Box 98                                              Florence, AL 35631                                                                                                                                                                   First -Class Mail
City of Foley                                                Revenue Dept                                             407 E Laurel Ave                                      P.O. Box 1750                                 Foley, AL 36536                                                                  First -Class Mail
City of Fort Collins                                         Sales Tax Dept                                           P.O. Box 440                                          Ft Collins, CO 80522-0439                                                                                                      First -Class Mail
City of Garden Grove                                         P.O. Box 3070                                            Garden Grove, CA 92842-3070                                                                                                                                                          First -Class Mail
City of Glendale                                             P.O. Box 800                                             Glendale, AZ 85311                                                                                                                                                                   First -Class Mail
City of Golden                                               P.O. Box 5885                                            Denver, CO 80217-5885                                                                                                                                                                First -Class Mail
City of Golden                                               911 10th St                                              Golden, CO 80401                                                                                                                                                                     First -Class Mail
City of Grand Junction                                       P.O. Box 2088                                            Grand Junction, CO 81502                                                                                                                                                             First -Class Mail
City of Greeley                                              P.O. Box 1648                                            Greeley, CO 80632                                                                                                                                                                    First -Class Mail
City of Greenwood Village                                    P.O. Box 910841                                          Denver, CO 80274                                                                                                                                                                     First -Class Mail
City of Gunnison                                             Finance Dept                                             P.O. Box 239                                          Gunnison, CO 81230                                                                                                             First -Class Mail
City of Huntsville                                           P.O. Box 308                                             Huntsville, AL 35804                                                                                                                                                                 First -Class Mail
City of Huntsville                                           Dept 2108                                                P.O. Box 11407                                        Birmingham, AL 35246-2108                                                                                                      First -Class Mail
City of Huntsville Al                                        Clerk Treasurer Dept                                     P.O. Box 308                                          Huntsville, AL 35804-0308                                                                                                      First -Class Mail
City Of Huntsville Hospital Systems                          101 Silvey Road                                          Huntsville, AL 35801                                                                                                                                                                 First -Class Mail
City of Iron Mountain                                        501 S Stephenson Ave                                     Iron Mountain, MI 49801-3424                                                                                                                                                         First -Class Mail
City of Lakewood                                             Revenue Division                                         P.O. Box 17479                                        Denver, CO 80217                                                                                                               First -Class Mail
City of Lamar                                                102 E Parmenter St                                       Lamar, CO 81052                                                                                                                                                                      First -Class Mail
City of Lamar                                                102 E Parmenter                                          Lamar, CO 81052                                                                                                                                                                      First -Class Mail
City of Littleton                                            P.O. Box 1305                                            Englewood, CO 80150-1305                                                                                                                                                             First -Class Mail
City of Lone Tree                                            P.O. Box 17987                                           Denver, CO 80217-0987                                                                                                                                                                First -Class Mail
City of Longmont                                             350 Kimbark St                                           Longmont, CO 80501                                                                                                                                                                   First -Class Mail
City of Longview                                             Finance Dept                                             P.O. Box 128                                          Longview, WA 98632                                                                                                             First -Class Mail
City of Luverne                                              P.O. Box 249                                             Luverne, AL 36049-0249                                                                                                                                                               First -Class Mail
City of Maitland                                             1776 Independance Ln                                     Maitland, FL 32751-5639                                                                                                                                                              First -Class Mail
City of Maplewood                                            7601 Manchester Rd                                       Maplewood, MO 63143-2811                                                                                                                                                             First -Class Mail
City of Massillon                                            P.O. Box 910                                             Massillon, OH 44648-0910                                                                                                                                                             First -Class Mail
City of Medical Lake                                         P.O. Box 369                                             Medical Lake, WA 99022-0369                                                                                                                                                          First -Class Mail
City of Middleton                                            Treasurer                                                7426 Hubbard Ave                                      Middleton, WI 53562-3118                                                                                                       First -Class Mail
City of Mobile                                               P.O. Box 2745                                            Mobile, AL 36652                                                                                                                                                                     First -Class Mail
City of Mobile                                               Dept 1519                                                P.O. Box 11407                                        Birmingham, AL 35246-2108                                                                                                      First -Class Mail
City of Monroe/Ouachita Parish                               Taxation & Revenue Division                              P.O. Box 123                                          Monroe, LA 71210-0123                                                                                                          First -Class Mail
City of Montgomery                                           P.O. Box 830469                                          Birmingham, AL 35283                                                                                                                                                                 First -Class Mail
City of Montgomery                                           License & Revenue Division                               c/o Dept Rbt 3                                        P.O. Box 830525                               Birmingham, AL 35283-0525                                                        First -Class Mail
City of New Bedford                                          P.O. Box 967                                             New Bedford, MA 02741-0967                                                                                                                                                           First -Class Mail
City of New Orleans                                          Bureau Of Revenue - Sales Tax                            1300 Perdido St 1W15                                  New Orleans, LA 70112                                                                                                          First -Class Mail
City of Nome                                                 102 Division St                                          Nome, AK 99762-0281                                                                                                                                                                  First -Class Mail
City of Novi                                                 Tax Processing                                           P.O. Box 674258                                       Detroit, MI 48267-4258                                                                                                         First -Class Mail
City of Ontario                                              303 E B St                                               Ontario, CA 91764-4105                                                                                                                                                               First -Class Mail
City of Parker                                               Sales Tax Administration                                 P.O. Box 5602                                         Denver, CO 80217-5602                                                                                                          First -Class Mail
City of Peoria                                               8401 W Monroe St                                         Peoria, AZ 85345                                                                                                                                                                     First -Class Mail
City of Perry                                                1211 Washington St                                       Perry, GA 31069-2555                                                                                                                                                                 First -Class Mail
City of Philadelphia                                         Dept of Revenue                                          P.O. Box 1393                                         Philadelphia, PA 19105-1393                                                                                                    First -Class Mail
City of Pittsfield                                           P.O. Box 981063                                          Boston, MA 02298-1063                                                                                                                                                                First -Class Mail
City of Plainwell                                            141 N Main St                                            Plainwell, MI 49080-1350                                                                                                                                                             First -Class Mail
City of Prescott                                             201 S Cortez                                             Prescott, AZ 86303                                                                                                                                                                   First -Class Mail
City of Pueblo                                               P.O. Box 1427                                            Pueblo, CO 81002                                                                                                                                                                     First -Class Mail
City of Rainbow City                                         3700 Rainbow Dr                                          Rainbow City, AL 35906-6324                                                                                                                                                          First -Class Mail
City of Rochester Hills                                      16748 Collection Center Dr                               Chicago, IL 60693-0167                                                                                                                                                               First -Class Mail
City of Salinas                                              P.O. Box 1996                                            Salinas, CA 93902                                                                                                                                                                    First -Class Mail
City of Seattle                                              Licensing & Tax Administration                           P.O. Box 34907                                        Seattle, WA 98124-1907                                                                                                         First -Class Mail
City of Seattle                                              P.O. Box 34904                                           Seattle, WA 98124                                                                                                                                                                    First -Class Mail
City of Shelton                                              525 W Cota St                                            Shelton, WA 98584-2239                                                                                                                                                               First -Class Mail
City of Steamboat Springs                                    P.O. Box 772869                                          Steamboat Springs, CO 80477-2869                                                                                                                                                     First -Class Mail
City of Tawas City                                           Treasurer                                                P.O. Box 568                                          Tawas City, MI 48764-0568                                                                                                      First -Class Mail
City of Thornton                                             P.O. Box 910222                                          Denver, CO 80291-0222                                                                                                                                                                First -Class Mail
City of Trenton Treasurer                                    2800 3rd St                                              Trenton, MI 48183-2918                                                                                                                                                               First -Class Mail
City of Tucson                                               P.O. Box 27320                                           Tucson, AZ 85726                                                                                                                                                                     First -Class Mail
City of West Branch                                          Treasurer                                                121 N Fourth St                                       W Branch, MI 48661-1217                                                                                                        First -Class Mail
City of West Covina                                          8839 N Cedar Ave, Ste 212                                Fresno, CA 93720                                                                                                                                                                     First -Class Mail
City of Westfield                                            Treasurer                                                P.O. Box 9249                                         Chelsea, MA 02150-9249                                                                                                         First -Class Mail
City of Weston                                               102 W 2nd St                                             Weston, WV 26452-1601                                                                                                                                                                First -Class Mail
City of Wetumpka                                             P.O. Box 1180                                            Wetumpka, AL 36092-0020                                                                                                                                                              First -Class Mail
City of Wheeling                                             1500 Chapline St, Ste 115                                Wheeling, WV 26003-3553                                                                                                                                                              First -Class Mail
City of Wichita Kansas                                       c/o Public Works & Utilities                             P.O. Box 2922                                         Wichita, KS 67201-2922                                                                                                         First -Class Mail
City of Woodland Park                                        P.O. Box 9045                                            Woodland Park, CO 80866-9045                                                                                                                                                         First -Class Mail
                                                             Case 24-11217-BLS                                                                                        Doc 463                     Filed 08/24/24                           Page 12 of 51

City of Worcester                                          P.O. Box 15602                                          Worcester, MA 01615-0602                                                                                                                                                                First -Class Mail
City of Yakima                                             129 N 2nd St, 2nd Fl                                    Yakima, WA 98901                                                                                                                                                                        First -Class Mail
Ciwit B.V.                                                 George Westinghousestraat 2,                            1097 Ba Amsterdam,                                       The Netherlands                   Netherlands                                                                                  First -Class Mail
Ciwit B.V. Dba Castor                                      George Wastinghousestraat 2                             1097 Ba                                                  Amsterdam                         Netherlands                   Netherlands                                                    First -Class Mail
Ciwit Bv                                                   George Westinghousestraat 2                             Amsterdam, 1097 BA                                       Netherlands                                                                                                                    First -Class Mail
Ck Bergen Associates LLC                                   30A Vreeland Rd, Ste 220                                Florham Park, NJ 07932-1924                                                                                                                                                             First -Class Mail
CK Medical Inc                                             c/o Robert P Conrad                                     2920 Lakeside Dr                                         Cumming, GA 30041-8772                                                                                                         First -Class Mail
Ck Systems Inc                                             Dba Ashcom Technologies Inc                             3917 Research Park Dr, Ste B4                            Ann Arbor, MI 48108-2354                                                                                                       First -Class Mail
CL Electronics                                             Furtbachstrasse 4                                       Buchs, ZH 8107                                           China                                                                                                                          First -Class Mail
Cl Electronics Gmbh                                        Cl Electronics Gmbh                                     Furtbachstrasse 4                                        8107 Buchs                        Switzerland                   Switzerland                                                    First -Class Mail
Claes Medical Service Sarl                                 Claes Medical Service Sarl                              Rue Des Acacias & Boulevard Yacoub El Manour, Maarif     Casablanca, 20100                 Morocco                                                                                      First -Class Mail
Claes Medical Service Sarl                                 Rue Des Acacias Et Angle,                               Bd Yacoub El Mansour Maarif                              Morocco                                                                                                                        First -Class Mail
Claes Medical Service SARL                                 F8R8+MGJ, Unnamed Road                                  Bouskoura                                                Morocco                                                                                                                        First -Class Mail
Claes Medical Service SARL                                 Claes Medical Service SARL                              Rue des Acacias &                                        Blvd Yacoub El Manour, Maarif     Casablanca, 20100             Morocco                                                        First -Class Mail
Claflin Company                                            465 Warwick Industrial Dr                               Warwick, RI 02887-7830                                                                                                                                                                  First -Class Mail
Claflin Compnay                                            465 Warwick Industrial Dr                               Warwick, RI 02887-7830                                                                                                                                                                  First -Class Mail
Claflin Equip Sales & Service                              1206 Jefferson Blvd                                     Warwick, RI 02886                                                                                                                                                                       First -Class Mail
Clairborne Medical Center                                  1850 Old Knoxville Rd                                   Tazewell, TN 37879                                                                                                                                                                      First -Class Mail
Clarence N Rodrigues                                       Address Redacted                                                                                                                                                                                                                                First -Class Mail
Clarescent LLC                                             412 W Union St, Ste 300                                 W Chester, PA 19382-3331                                                                                                                                                                First -Class Mail
Clariant Masterbatches                                     c/o Masterbatches Division                              Dept 2212                                                Carol Stream, IL 60132-0001                                                                                                    First -Class Mail
Clariant Masterbatches                                     4425 E Elwood St                                        Phoenix, AZ 85040-1996                                                                                                                                                                  First -Class Mail
Clarient Diagnostic Services Inc                           P.O. Box 748196                                         Los Angeles, CA 90074-8196                                                                                                                                                              First -Class Mail
Clarient Diagnostic Services Inc                           31 Columbia                                             Aliso Viejo, CA 92656-1460                                                                                                                                                              First -Class Mail
Clarivate                                                  Attn: Kyle Hilow                                        789 E Eisenhower Pkwy                                    Ann Arbor, MI 48108                                                           BankruptcyNotices@clarivate.com                  EmailFirst-Class Mail
Clarivate                                                  c/o Millennium Research Group Inc, TH1282               Attn: Kyle Hilow                                         P.O. Box 4290, Postal Station A   Toronto, ON M5W 0E1           Canada        BankruptcyNotices@clarivate.com                  EmailFirst-Class Mail
Clarivate Analytics (Us) Llc                               3133 W. Frye Rd                                         Suite 100                                                Chandler, AZ 85226                                                                                                             First -Class Mail
Clarizen Inc.                                              2755 Campus Drive                                       Ste. 300                                                 San Mateo, CA 94403                                                                                                            First -Class Mail
Clarke, Colum (Matheson Gas)                               8800 Utica Ave.                                         Rancho Cucamonga, CA 91730                                                                                                                                                              First -Class Mail
Classic Coil Co                                            Attn: Jeffrey Folkins                                   205 Century Dr                                           Bristol, CT 06010                                                             jfolkins@classic-coil.com                        EmailFirst-Class Mail
Classic Conferences Inc                                    1 University Plz, Ste 310                               Hackensack, NJ 07601-6205                                                                                                                                                               First -Class Mail
Classic Conferences, Inc.                                  1 University Plaza                                      Suite 310                                                Hackensack, NJ 07601                                                                                                           First -Class Mail
Classic Design Awards Inc                                  6128 Lincoln Ave                                        Morton Grove, IL 60053                                                                                                                                                                  First -Class Mail
Claudio Ricardo Frison                                     Address Redacted                                                                                                                                                                                                                                First -Class Mail
Clayton Controls                                           Attn: Chris Brown                                       2865 Pullman St                                          Santa Ana, CA 92705                                                           cbrown@claycon.com; luis.navarrete@emerson.com   EmailFirst-Class Mail
Clayton Controls                                           2865 Pullman St                                         Santa Ana, CA 92705                                                                                                                                                                     First -Class Mail
Clayton Controls Incorporated                              2865 Pullman St.                                        Santa Ana, CA 92705                                                                                                                                                                     First -Class Mail
Clc Lodging                                                8111 East 32Nd St North                                 Ste 300                                                  Wichita, KS 67226-2614                                                                                                         First -Class Mail
Clean Harbors                                              Attn: Javier Mendoza                                    42 Longwater                                             Norwell, MA 02061                                                                                                              First -Class Mail
Clean Harbors Environmental Services, Inc.                 18408 S. Laurel Park Rd.                                Compton, CA 90220                                                                                                                                                                       First -Class Mail
Clean Harbors Environmental Svcs                           P.O. Box 3442                                           Boston, MA 02241-3442                                                                                                                                                                   First -Class Mail
Clean Harbors Environmental Svcs                           42 Longwater Dr                                         Norwell, MA 02061-1612                                                                                                                                                                  First -Class Mail
Clean Medical Comercio De Equipamentos Hospitalar          Clean Medical Comercio De Equipamentos Hospitalar       Rua Adelino Da Fontoura, 543 - Jardim Jabaquara          Sao Paulo/ Sp                     Brazil                                                                                       First -Class Mail
Clean Room Depot Inc                                       1730 Church St                                          Holbrook, NY 11741-5918                                                                                                                                                                 First -Class Mail
Clean Rooms West                                           1392 Industrial Dr                                      Tustin, CA 92780                                                                                                                                                                        First -Class Mail
Cleaning Technology Industries                             2720 E Miraloma Ave                                     Anaheim, CA 92806                                                                                                                                                                       First -Class Mail
Cleaning Technology Industries Inc                         2720 E Miraloma Ave                                     Anaheim, CA 92806                                                                                                                                                                       First -Class Mail
Cleardata Networks, Inc.                                   835 W. 6Th Street                                       12Th Floor                                               Austin, TX 78703                                                                                                               First -Class Mail
Clearedge Partners, Inc.                                   254 Second Ave.                                         Suite 140                                                Needham, MA 02494                                                                                                              First -Class Mail
Clearfreight                                               880 Apollo St, Ste 101                                  El Segundo, CA 90245-4752                                                                                                                                                               First -Class Mail
ClearPath Medical                                          1544 W Yale Ave                                         Orange, CA 92867                                                                                                                                                                        First -Class Mail
Cleaver-Brooks Inc                                         502 Crossen Ave                                         Elk Grove Village, IL 60007-2006                                                                                                                                                        First -Class Mail
Clement Ren, Md                                            Address Redacted                                                                                                                                                                                                                                First -Class Mail
Cleo Communications Us, Llc                                4949 Harrison Ave                                       Suite 200                                                Rockford, IL 61108                                                                                                             First -Class Mail
Cleo Communications Us, Llc                                4949 Harrison Avenue                                    Suite 200                                                Rockford, IL 61108                                                                                                             First -Class Mail
Cleo Communications US, LLC                                4949 Harrison Ave, Ste 200                              Rockford, IL 61108-7947                                                                                                                                                                 First -Class Mail
Cleveland Clinic                                           12300 Mccracken Rd Receiving Dock                       Garfield Heights, OH 44125                                                                                                                                                              First -Class Mail
Cleveland Clinic                                           Cleveland Clinic Foundation                             9500 Euclid Ave                                          Cleveland, OH 44195-0001                                                                                                       First -Class Mail
Clini - Lab Srl                                            Via Ii Strada 14 Zi                                     Conselve, 35026                                          Italy                                                                                                                          First -Class Mail
Clinica Pro Vida                                           Avenida Marcolino Martins Cabral                        2075 Villa Moema                                         Tubarao - Msc                     Brazil                                                                                       First -Class Mail
Clinical Iq LLC                                            235 Main St, Ste 292                                    Madison, NJ 07940-2288                                                                                                                                                                  First -Class Mail
Clinipower Finland Oy                                      Tuulikinsilta 1 D 70                                    02100 Espoo                                              Finland                                                                                                                        First -Class Mail
Clinipower Finland Oy                                      Kirjokansi 1 C 65                                       02100 Espoo                                              Finland                                                                                                                        First -Class Mail
Clinton A Brawner                                          Address Redacted                                                                                                                                                                                                                                First -Class Mail
Clinton Instrument Co                                      295 E Main St                                           Clinton, CT 06413-2232                                                                                                                                                                  First -Class Mail
Clinton Memorial Hospital                                  610 W Main St                                           Wilmington, OH 45177                                                                                                                                                                    First -Class Mail
Closed Loop Technologies                                   Attn: Kim M Zelkowski                                   3203 Waldon Ridge Dr                                     Orion, MI 48359-1339                                                                                                           First -Class Mail
Cloudpay Uk Inc.                                           Uk Kingsgate House Newbury Road                         Andover Hampshire                                        Sp10 4Du                          United Kingdom                                                                               First -Class Mail
CM Hospitalar Sa                                           Avenida Luiz Maggioni 2 727                             Ribeirao Preto, SP 14072-055                             Brazil                                                                                                                         First -Class Mail
CME Conference Management Unit 1381                        c/o The U of TX MD Anderson Cancer Ctr                  1155 Pressler St, Unit 1381                              Houston, TX 77030-3721                                                                                                         First -Class Mail
CME Div                                                    Aerospace Control Products, Inc                         Attn: Richard Kennedy                                    1314 W 76th St                    Daveport, IA 52806                          rich@cmeflow.com                                 EmailFirst-Class Mail
CMM Di Mauro Manardi E C Srl                               Via Cardeto N 51                                        Ancona, 60121                                            Italy                                                                                                                          First -Class Mail
Cmm Supplies & Services                                    Cmm Supplies & Services                                 Vanlllan Center, Fouad Chehab Avenue                     Sin El Fil, Beirut                Lebanon                                                                                      First -Class Mail
Cm-Tech Inc                                                1 Innovation Way, Ste 100                               Newark, DE 19711-5462                                                                                                                                                                   First -Class Mail
Cna Company                                                Cna Company                                             12088 Forestgate Dr.                                     Dallas, TX 75243                                                                                                               First -Class Mail
CNF UK 235 - US Branch                                     22745 Savi Ranch Pkwy                                   Wilmington, CA 90744                                                                                                                                                                    First -Class Mail
Coalfire Systems Inc                                       11000 Westmoor Cir, Ste 450                             Westminster, CO 80021-2753                                                                                                                                                              First -Class Mail
Coalfire Systems, Inc.                                     11000 Westmoor Circle                                   Suite 450                                                Westminster, CO 80021                                                                                                          First -Class Mail
Coalfire Systems, Inc.                                     11000 Westmoor Cir                                      Suite 450                                                Westminster, CO 80021                                                                                                          First -Class Mail
Coast Community College Dist                               1370 Adams Ave                                          Costa Mesa, CA 92626                                                                                                                                                                    First -Class Mail
Coast Equipment & Services Co                              P.O. Box 397                                            16356 Sussex Hwy                                         Bridgeville, DE 19933-3056                                                                                                     First -Class Mail
Coast Equipment & Services Co                              c/o Coast LLC                                           245 Main St, Ste 100                                     Chester, NJ 07930-2569                                                                                                         First -Class Mail
Coast Pneumatics                                           Attn: Steven Froland                                    8055 E Crystal Dr                                        Anaheim, CA 92807                                                             hoellis@coastpneumatics.com                      EmailFirst-Class Mail
Coastal Carolina Healthcare                                1020 Medical Park Ave                                   New Bern, NC 28562                                                                                                                                                                      First -Class Mail
Coastal Pulmonary Associates                               320 Santa Fe Dr Ste 107-C                               Encinitas, CA 92024                                                                                                                                                                     First -Class Mail
Coastal Pulmonary Medicine                                 1090 Medical Center Dr                                  Wilmington, NC 28401-7353                                                                                                                                                               First -Class Mail
Coertadium Sl                                              Vista Alegre, 1 Portal H 2 C                            Pozuelo De Alarcon, 28223                                Spain                                                                                                                          First -Class Mail
Coffee County                                              P.O. Box 311606                                         Enterprise, AL 36331-1606                                                                                                                                                               First -Class Mail
Cogency Global Inc                                         10E 40th St                                             New York, NY 10016-0201                                                                                                                                                                 First -Class Mail
Cognex Corp                                                P.O. Box 27623                                          New York, NY 10087-7623                                                                                                                                                                 First -Class Mail
Cognex Corp                                                1 Vision Dr                                             Natick, MA 01760-2083                                                                                                                                                                   First -Class Mail
Cognitive Consulting LLC                                   87 Easton Rd                                            Westport, CT 06880-1622                                                                                                                                                                 First -Class Mail
Cognitive Consulting, Llc                                  19 Day Street                                           Norwalk, CT 06854                                                                                                                                                                       First -Class Mail
Cognizant Technology Solutions U.S. Corporation            211 Quality Circle                                      College Station, TX 77845                                                                                                                                                               First -Class Mail
Cognizant Technology Solutions US C                        500 Frank W Burr Blvd                                   Teaneck, NJ 07666-6804                                                                                                                 inquiry@cognizant.com                            EmailFirst-Class Mail
Cognizant Technology Solutions US C                        500 Frank W Burr Blvd                                   Teaneck, NJ 07666-6804                                                                                                                                                                  First -Class Mail
Cognizant Worldwide Limited                                211 Quality Circle                                      College Station, TX 77845                                                                                                                                                               First -Class Mail
Cognizant Worldwide Limited                                1 Kingdom Street                                        Paddington Central                                       London W2 6Bd                     United Kingdom                                                                               First -Class Mail
Cognizant Worldwide Ltd                                    Attn: Jessica Watts                                     300 Frank W Burr Blvd                                    Ste 36, 6th Fl                    Teaneck, NJ 07666                           jessica.watts@cognizant.com                      EmailFirst-Class Mail
Cognizant Worldwide Ltd                                    Attn: Nikhil Meshram                                    1 Kingdom St                                             London, W2 6Bd                    United Kingdom                              nikhil.meshram@cognizant.com                     First -Class Mail
Cognizant Worldwide Ltd                                    Paddington Central                                      London, W2 6BD                                           United Kingdom                                                                                                                 First -Class Mail
Cognizant Worldwide Ltd                                    Attn: Nikhil Meshram                                    1 Kingdom St                                             London, W2 6Bd                    United Kingdom                                                                               First -Class Mail
Cohagan Engineering Inc                                    5307 East Ave, Ste 16                                   W Palm Beach, FL 33407-2357                                                                                                                                                             First -Class Mail
Coilcraft Inc                                              1102 Silver Lake Rd                                     Cary, IL 60013                                                                                                                                                                          First -Class Mail
Colbert Flexographic Packaging                             28355 N Bradley Rd                                      Lake Forest, IL 60045-1173                                                                                                                                                              First -Class Mail
Cole Parmer Instrument Co                                  13927 Collection Center Dr                              Chicago, IL 60693                                                                                                                                                                       First -Class Mail
Cole Schotz                                                1325 Ave of the Americas                                New York, NY 10019                                                                                                                                                                      First -Class Mail
Cole-Parmer Instrument Co                                  Attn: Michael Fleet                                     625 E Bunker Ct                                          Vernon Hills, IL 60061                                                        michael.fleet@coleparmer.com                     EmailFirst-Class Mail
Cole-Parmer Instrument Co                                  13927 Collections Center Dr                             Chicago, IL 60693                                                                                                                                                                       First -Class Mail
Cole-Parmer Instrument Co LLC                              625 Bunker Ct                                           Vernon Hills, IL 60061-1830                                                                                                                                                             First -Class Mail
Colfax County Treasurer                                    411 E 11th St                                           Schuyler, NE 68661-1940                                                                                                                                                                 First -Class Mail
Colin Gillespie                                            Address Redacted                                                                                                                                                                                                                                First -Class Mail
Colliers International                                     4350 La Jolla Village Drive                             Suite 500                                                San Diego, CA 92122                                                                                                            First -Class Mail
Colliers Loemlin, S.A. De C.V.                             Av. Paseo De La Reforma No. 505, Piso 44, Suite A       Col. Cuauhtemoc, Alcaldia Cuauhtemoc                     C.P. 06500                        Ciudad De                     Mexico                                                         First -Class Mail
Colonial Freight Systems                                   P.O. Box 22168                                          Knoxville, TN 37933                                                                                                                                                                     First -Class Mail
Color Master Inc                                           810 S Broadway St                                       Butler, IN 46721-9514                                                                                                                                                                   First -Class Mail
Color Master, Inc.                                         P.O. Box 338                                            Butler, IN 46721                                                                                                                                                                        First -Class Mail
Color Science                                              1230 E Glenwood Pl                                      Santa Ana, CA 92707-3000                                                                                                                                                                First -Class Mail
Color Science                                              1245 E Glenwood Pl                                      Santa Ana, CA 92707-3000                                                                                                                                                                First -Class Mail
Colorado                                                   1881 Pierce St                                          Lakewood, CO 80214                                                                                                                                                                      First -Class Mail
Colorado Dept of Revenue                                   Denver, CO 80261-0005                                                                                                                                                                                                                           First -Class Mail
Colorado Dept of Revenue                                   Taxpayer Service Division                               Denver, CO 80261-0008                                                                                                                                                                   First -Class Mail
Colorado Dept of Revenue                                   Denver, CO 80261-0004                                                                                                                                                                                                                           First -Class Mail
Colorado Scientific & Medical Instruments Corp             225 Continental View Dr                                 Boulder, CO 80303-4516                                                                                                                                                                  First -Class Mail
Colorcon, Inc                                              420 Moyer Blvd                                          W Point, PA 19486                                                                                                                                                                       First -Class Mail
Colorcon, Inc                                              275 Ruth Rd                                             Harleysville, PA 19438                                                                                                                                                                  First -Class Mail
Colorcon, Inc.                                             275 Ruth Road                                           Harleysville, PA 19438                                                                                                                                                                  First -Class Mail
Colorite Polymers                                          2870 Paysphere Cir                                      Chicago, IL 60674-0028                                                                                                                                                                  First -Class Mail
Colorite Polymers                                          Plastics Specialties & Technologies                     101 Railroad Ave                                         Ridgefield, NJ 07657-2312                                                                                                      First -Class Mail
Colorprint Tech-Films Gmbh                                 Rudolf-Diesel-Strabe 4                                  Germany                                                                                                                                                                                 First -Class Mail
Columbia County Tax Commissioner                           P.O. Box 3030                                           Evans, GA 30809-0077                                                                                                                                                                    First -Class Mail
Columbia County Tax Commissioner                           630 Ronald Reagan Dr, Bldg C                            Evans, GA 30809-7603                                                                                                                                                                    First -Class Mail
Columbia Logistics Inc                                     4325 Beam Rd, Ste 101                                   Charlotte, NC 28217-9423                                                                                                                                                                First -Class Mail
Columbia Memorial Hospital                                 71 Prospect Ave                                         Hudson, NY 12534                                                                                                                                                                        First -Class Mail
Columbus Chptr of Oncology Nursing                         1811 Bennigan Dr                                        Hilliard, OH 43026-8257                                                                                                                                                                 First -Class Mail
Columbus Community Hospital                                4600 38Th Street                                        Columbus, NE 68601                                                                                                                                                                      First -Class Mail
Columbus Regional Hospital                                 2400 17th St                                            Columbus, IN 47201-5351                                                                                                                                                                 First -Class Mail
Comanche County Medical Center                             10201 Tx-16                                             Comanche, TX 76442                                                                                                                                                                      First -Class Mail
Comar Holding Company, Llc                                 220 Laurel Road                                         Suite 201                                                Voorhees, NJ 08043                                                                                                             First -Class Mail
Comcast Cable Communication                                P.O. Box 3001                                           Southeastern, PA 19398-3001                                                                                                                                                             First -Class Mail
Comcast Cable Communication                                P.O. Box 1577                                           Newark, NJ 07101-1577                                                                                                                                                                   First -Class Mail
Comcast Cable Communication                                P.O. Box 71211                                          Charlotte, NC 28272-1211                                                                                                                                                                First -Class Mail
Comcast Cable Communication                                1 Comcast Ctr, 32nd Fl                                  Philadelphia, PA 19103-2855                                                                                                                                                             First -Class Mail
Comco Inc                                                  2151 N Lincoln St                                       Burbank, CA 91504-3344                                                                                                                                                                  First -Class Mail
Comed                                                      P.O. Box 6111                                           Carol Stream, IL 60197-6111                                                                                                                                                             First -Class Mail
Co-Med GMBH & Co Kg                                        Hochstrabe 1                                            Heusweiler, 66265                                        Germany                                                                                                                        First -Class Mail
Comercial de Especialidades Médicas                        SA de CV (CEMSA)                                        Jorge Villaseñor No 770                                  Guadalajara                       Jalisco, 45659                Mexico                                                         First -Class Mail
Comercial de Especialidades Médicas                        SA de CV (CEMSA)                                        Jorge Villaseñor 770                                     Col Jardines Alcalde              Guadalajara, Jalisco 44298    Mexico                                                         First -Class Mail
Comercial De Especialidades Médicas, S.A De C.V. (Cemsa)   Comercial De Especialidades Médicas, S.A De C.V.        Jorge Villaseñor 770 Col Jardines Alcalde Guadalajara    Guadalajara, Jalisco 44298        Mexico                                                                                       First -Class Mail
Comercial De Especialidades Médicas, S.A De C.V. (Cemsa)   Jorge Villaseñor 770 Col Jardines Alcalde Guadalajara   Mexico                                                                                                                                                                                  First -Class Mail
Comercializadora Grown Sa De Cv                            Salina Cruz 1300-5 Col Esperanza                        Mexicali, BC 21140                                       Mexico                                                                                                                         First -Class Mail
Command Energy & Lighting                                  19544 Misty Lake Dr                                     Strongsville, OH 44136-7449                                                                                                                                                             First -Class Mail
Commerce City                                              Tax Division                                            7887 E 60th Ave                                          Commerce City, CO 80022                                                                                                        First -Class Mail
Commonspirit Health (Csh)                                  198 Inverness Drive West                                Englewood, CO 80112                                                                                                                                                                     First -Class Mail
Commonwealth Edison Co - ComEd                             2 Lincoln Ave, 9th Fl                                   Oakbrook Terrace, IL 60181                                                                                                                                                              First -Class Mail
Commonwealth of Massachusetts                              c/o Bureau of Health Professions Licens                 239 Causeway St                                          Boston, MA 02114-2130                                                                                                          First -Class Mail
Communique Conferencing Inc                                1558 Brookshire Ct, Ste 100                             Reston, VA 20190-4201                                                                                                                                                                   First -Class Mail
Community Care Physicians                                  711 Troy Schenectady Rd                                 Latham, NY 12110                                                                                                                                                                        First -Class Mail
Community Health Network                                   7150 Clearvista Dr 1 Chn 94100 Shipping/Receiving       Indianapolis, IN 46256                                                                                                                                                                  First -Class Mail
Community Health Network                                   3500 S Lafountain St                                    Kokomo, IN 46902                                                                                                                                                                        First -Class Mail
Community Health Network                                   1402 E County Line Rd 1 Chs 94100 Shipping Receiving    Indianapolis, IN 46227                                                                                                                                                                  First -Class Mail
Community Health Network                                   1500 N Ritter Ave                                       Indianapolis, IN 46219-3027                                                                                                                                                             First -Class Mail
Community Hosp Monterey Pnsla                              23625 Holman Hwy                                        Monterey, CA 93940                                                                                                                                                                      First -Class Mail
Community Hospital                                         26136 US Hwy 59                                         Fairfax, MO 64446                                                                                                                                                                       First -Class Mail
Community Memorial Healthcare                              708 N 18Th St Receiving                                 Marysville, KS 66508                                                                                                                                                                    First -Class Mail
Community Memorial Hospital                                147 N Brent St                                          Ventura, CA 93003-2809                                                                                                                                                                  First -Class Mail
Compamedic Instrument Private Limited                      Compamedic Instrument Private Limited                   A-42-X, Naraina Industiral Area, Phase-1                 New Delhi - 110028                India                                                                                        First -Class Mail
Compañia De Servicios Internacionales Limitada             Ave. 20 De Octrubre Esq. Campos, Zona Sopocachi         Edif. Torre Azul Piso 18                                 Bolivia                                                                                                                        First -Class Mail
Company Biomir Llc                                         Company Biomir Llc                                      Lopuhinsky Pereulok, 1, Building 6                       119034, Moscow                    Russia                                                                                       First -Class Mail
Company Biomir LLC                                         46 Molodezhnaya St                                      Odintsovo                                                Odintsovo district                Moscow                        Russia                                                         First -Class Mail
Company Biomir LLC                                         Company Biomir LLC                                      Lopuhinsky pereulok, 1, Bldg 6                           119034, Moscow                    Russia                                                                                       First -Class Mail
Compass Controls Manufacturing                             Attn: Brett Laferty                                     14641 W 95th St                                          Lenexa, KS 66215                                                              blafferty@compasscontrols.com                    EmailFirst-Class Mail
Compass Group                                              P.O. Box 91337                                          Chicago, IL 60693-1337                                                                                                                                                                  First -Class Mail
Compass Group Usa, Inc.                                    171 Covington Drive                                     Bloomingdale, IL 60108                                                                                                                                                                  First -Class Mail
Compass Health Brands Corp.                                Compass Health Brands Corp.                             6753 Engle Road                                          Middleburg Heights, OH 44130                                                                                                   First -Class Mail
Compatible Electronics                                     Attn: Mike Christensen                                  114 Olinda Dr                                            Brea, CA 92823                                                                mike@celectronics.com                            EmailFirst-Class Mail
Compatible Electronics Inc.                                114 Olinda Drive                                        Brea, CA 92823                                                                                                                                                                          First -Class Mail
Compliancequest Inc                                        10006 Cross Creek Blvd                                  PMB 71                                                   Tampa, FL 33647-2595                                                                                                           First -Class Mail
Compliancequest, Inc.                                      10006 Cross Creek Blvd.                                 Suite 71                                                 Tampa, FL 33647                                                                                                                First -Class Mail
Component Sourcing Solutions                               Attn: Sam Greco                                         3525 Old Conejo Rd, Ste 118                              Newberry Part, CA 91320                                                       sam@compsourcing.com                             EmailFirst-Class Mail
Component Sourcing Solutions Inc.                          3525 Old Conejo Rd. #118                                Newbury, CA 91320                                                                                                                                                                       First -Class Mail
Compresores Maqpower Sa De Cv                              Calzada De Las Americas No 13 Col S                     Mexicali, BC 21210                                       Mexico                                                                                                                         First -Class Mail
Comptag Truehand Ag                                        Comptag Truehand Ag                                     Furstenlandstrasse 185                                   Ch-9014 St. Gallen                Switzerland                   Switzerland                                                    First -Class Mail
Comptroller of Maryland                                    Revenue Administration Division                         110 Carroll St                                           Annapolis, MD 21411-0001                                                                                                       First -Class Mail
Compuestos Mexichem Sa De Cv                               Calle 20 No. 28-90, Bogotá                              Colombia                                                                                                                                                                                First -Class Mail
Compumedics Limited                                        Acn 006 854 897                                         30-40 Flockhart Street Abbotsford                        Vic 3067                          Australia                                                                                    First -Class Mail
Computer Aid Inc.                                          1390 Ridgeview Drive                                    Allentown, PA 18104                                                                                                                                                                     First -Class Mail
Computer Aided Technology Inc                              165 N Arlington Heights Rd, Ste 101                     Buffalo Grove, IL 60089-1783                                                                                                                                                            First -Class Mail
Computer Protection Technology                             Attn: Joanie Gibbs                                      1537 Simpson Way                                         Escondido, CA 92029                                                                                                            First -Class Mail
Computer Protection Technology Inc                         1215 Pacific Oaks Pl, Ste 106                           Escondido, CA 92029-2910                                                                                                                                                                First -Class Mail
Computer Sciences Corp                                     c/o Wells Fargo Bank Na                                 P.O. Box 8500                                            Philadelphia, PA 19178-8500                                                                                                    First -Class Mail
Computer Sciences Corp                                     1775 Tysons Blvd, 9th Fl                                Mc Lean, VA 22102-4222                                                                                                                                                                  First -Class Mail
Comstar Industries                                         4000 W. Segerstrom Avenue                               Santa Ana, CA 92704                                                                                                                                                                     First -Class Mail
Conair Ipeg Inc                                            200 W Kensinger Dr                                      Cranberry Twp, PA 16066-3428                                                                                                                                                            First -Class Mail
Conair/Ipeg Inc                                            P.O. Box 644537                                         Pittsburgh, PA 15264-4537                                                                                                                                                               First -Class Mail
Concept Dynamics Ltd                                       P.O. Box 796                                            Crystal Lake, IL 60039-0796                                                                                                                                                             First -Class Mail
Concept Dynamics Ltd                                       5435 Bull Valley Road                                   Suite 306                                                Mchenry, IL 60050                                                                                                              First -Class Mail
Concept Dynamics Ltd                                       5435 Bull Valley Rd, Ste 306                            Mchenry, IL 60050-7435                                                                                                                                                                  First -Class Mail
Concepts                                                   c/o Tooling Concepts Corp                               10722 Arrow Route 518                                    Rancho Cucamonga, CA 91730                                                                                                     First -Class Mail
Concord Hospital                                           250 Pleasant St                                         Concord, NH 03301                                                                                                                                                                       First -Class Mail
Concordance Healthcare Solutions, Llc                      Concordance Healthcare Solutions, Llc                   85 Shaffer Park Drive                                    Tiffin, OH 44883                                                                                                               First -Class Mail
Concordance Healthcare Solutions, Llc                      85 Shaffer Park Dr                                      Tiffin, OH 44883                                                                                                                                                                        First -Class Mail
Concur Technologies Inc                                    601 108th Ave NE, Ste 1000                              Bellevue, WA 98004-4750                                                                                                                                                                 First -Class Mail
Concur Technologies, Inc                                   601 108th Ave NE, Ste 1000                              Bellevue WA 98011                                                                                                                      SAP_Bankruptcy_Matters@sap.com                   EmailFirst-Class Mail
Concur Technologies, Inc.                                  601 108Th Avenue Ne                                     Suite 1000                                               Bellevue, WA 98004                                                                                                             First -Class Mail
Conendo Surgical                                           Deen Pura                                               Capital Road                                             Stalkot 51310                     Pakistan                      Pakistan                                                       First -Class Mail
Conendo Surgical                                           Deen Pura, Capital Rd                                   Sialkot, 51310                                           Pakistan                                                                                                                       First -Class Mail
Congatec Ag                                                Auwiesenstrabe 5                                        Deggendorf, 94469                                        Germany                                                                                                                        First -Class Mail
Congatec Gmbh                                              Auwiesenstrasse 5                                       94469 Deggendorf                                         Germany                                                                                                                        First -Class Mail
Conmed Corp                                                P.O. Box 6814                                           New York, NY 10249-6814                                                                                                                                                                 First -Class Mail
Conmed Corporation                                         525 French Road                                         Utica, NY 13502                                                                                                                                                                         First -Class Mail
Connect Medizintechnik Gmbh                                Connect Medizintechnik Gmbh                             Gspanngasse 4                                            Mistelbach 2130                   Austria                                                                                      First -Class Mail
Connect Medizintechnik Gmbh                                Gspanngasse 4                                           Austria                                                                                                                                                                                 First -Class Mail
Connect Medizintechnik Gmbh                                VBM Medizintechnik GmbH                                 Einsteinstrasse 1                                        72172 Sulz a N                    Germany                                                                                      First -Class Mail
Connect Medizintechnik Gmbh                                Gspanngasse 4                                           Mistelbach 2130                                          Austria                                                                                                                        First -Class Mail
Connect Search LLC                                         222 S Riverside Plz, Ste 350                            Chicago, IL 60606-5809                                                                                                                                                                  First -Class Mail
Connect Search, Llc                                        222 S. Riverside Plaza                                  Chicago, IL 60606                                                                                                                                                                       First -Class Mail
Connect The Dots Management Consulting LLC                 5930 Wilcox Pl, Ste J                                   Dublin, OH 43016-6804                                                                                                                                                                   First -Class Mail
Connect The Dots Management Consulting Llc                 5930 Wilcox Place                                       Suite J                                                  Dublin, OH 43016                                                                                                               First -Class Mail
Connecticut Dept of Consumer Protection                    450 Columbus Blvd, Ste 901                              Hartford CT 06103                                                                                                                                                                       First -Class Mail
Connecticut Dept of Revenue Services                       450 Columbus Blvd, Ste 1                                Hartford, CT 06103                                                                                                                                                                      First -Class Mail
Connecticut Hypodermics Inc                                519 Main St                                             Wallingford, CT 06492-1723                                                                                                                                                              First -Class Mail
Connexio Health LLC                                        29 Industrial Park Dr                                   Binghamton, NY 13904-3201                                                                                                              kkellam@mmcglobal.com                            EmailFirst-Class Mail
Connexio Health LLC                                        29 Industrial Park Dr                                   Binghamton, NY 13904-3201                                                                                                                                                               First -Class Mail
Connexio Health, Llc                                       29 Industrial Park Dr.                                  Binghamton, NY 13904                                                                                                                                                                    First -Class Mail
Connexion                                                  Lab Development                                         1700 Leider Ln, Ste 100                                  Buffalo Grove, IL 60089-6622                                                                                                   First -Class Mail
Conrad Kacsik Instrument Systems                           30925 Aurora Rd                                         Solon, OH 44139-2772                                                                                                                                                                    First -Class Mail
Consilio Inc                                               1828 L St Nw Ste 1070                                   Washington, DC 20036                                                                                                                                                                    First -Class Mail
Consolidated Plastics Co Inc                               Attn: Angie Cribley                                     4700 Prosper Dr                                          Stow, OH 44224                                                                info@consolidatedplastics.com                    EmailFirst-Class Mail
Constant Contact Inc                                       1601 Trapelo Rd, Ste 329                                Waltham, MA 02451-7357                                                                                                                                                                  First -Class Mail
Constellation                                              Constellation                                           1221 Lamar St., Suite 750                                Houston, TX 77010                                                                                                              First -Class Mail
Constellation Energy Power Choice I                        10 S Dearborn St, 51st Fl                               Chicago, IL 60603-2300                                                                                                                                                                  First -Class Mail
Consuelo Roberge                                           Address Redacted                                                                                                                                                                                                                                First -Class Mail
Consultants In Sleep & Pulm                                29255 W 10 Mile Rd Ste B                                Farmington Hills, MI 48336                                                                                                                                                              First -Class Mail
Consultek LLC                                              Attn: Vishu H Shah                                      13933 Ramona Ave, Ste J                                  Chino, CA 91710-8405                                                                                                           First -Class Mail
Contactmonkey                                              200 Adelaide St W, Ste 300                              Toronto, ON M5H 1W7                                      Canada                                                                                                                         First -Class Mail
Contactmonkey Inc                                          200 Adelaide St W, Ste 300                              Toronto, ON M5H 1W7                                      Canada                                                                                                                         First -Class Mail
                                                        Case 24-11217-BLS                                                                                     Doc 463                       Filed 08/24/24                                                                Page 13 of 51

Contech Plastics                                      3200 E Birch St                                       Brea, CA 92821-6287                                                                                                                                                                                                           First -Class Mail
Continental Freight Forwarding Inc                    5900 NW 97th Ave, Unit 6                              Doral, FL 33178-1642                                                                                                                                                                                                          First -Class Mail
Continental Message                                   41 S Grant Ave                                        Columbus, OH 43215-3979                                                                                                                                                                                                       First -Class Mail
Contour Products Inc                                  4740 A Dwight Evans Rd                                Charlotte, NC 28217-0976                                                                                                                                                                                                      First -Class Mail
Contra Costa Regional Med Ctr                         2311 Loveridge Rd                                     Pittsburg, CA 94565                                                                                                                                                                                                           First -Class Mail
Control Air                                           8 Columbia Drive                                      Amherst, NH 03031                                                                                                                                                                                                             First -Class Mail
Control Air Conditioning                              Attn: John Howe                                       5200 E Palm Ave                                          Anaheim, CA 92807                                                                                                   jhowe@controlac.com                              EmailFirst-Class Mail
Control Air Conditioning Corporatio                   5200 E La Palma Ave                                   Anaheim, CA 92807-2019                                                                                                                                                                                                        First -Class Mail
Control Air LLC                                       Attn: Jon Daley                                       8 Columbia Dr                                            Amherst, NH 03031                                                                                                   JDaley@controlair.com                            EmailFirst-Class Mail
Control Micro Systems                                 4420-A Metric Dr.                                     Winter Park, FL 32792                                                                                                                                                                                                         First -Class Mail
Controlled Motion Solutions                           Attn: Scott Alexander                                 911 N Poinsetta St                                       Santa Ana, CA 92701                                                                                                 Asimpson@comoso.com                              EmailFirst-Class Mail
Controlled Motion Solutions                           911 N. Poinsetta Street                               Santa Ana, CA 92701                                                                                                                                                                                                           First -Class Mail
Convergent Engineering                                107 Sw 140Th Terrace #1                               Newberry, FL 32669                                                                                                                                                                                                            First -Class Mail
Conversion Devices Inc                                Attn: Sulma Pantoja, Terry Ibach                      2A, Tailink Bldg                                         Jinqiao Industrial Park                           Dongguan City, 523651                               China         sulma@cdipower.com; terry@cdipower.com           First -Class Mail
Conversion Devices, Inc.                              15481 Electronic Lane                                 Huntington Beach, CA 92649                                                                                                                                                                                                    First -Class Mail
Converters Inc                                        P.O. Box 910                                          Huntingdon Valley, PA 19006-0910                                                                                                                                                                                              First -Class Mail
Converters Inc.                                       1617 Republic Road                                    Huntingdon Valley, PA 19006                                                                                                                                                                                                   First -Class Mail
Convoy Logistics                                      Po Box 1214                                           Cressett, AR 71635                                                                                                                                                                                                            First -Class Mail
Con-Way Corporate                                     6301 Beach Blvd, Ste 300                              Buena Park, CA 90621                                                                                                                                                                                                          First -Class Mail
Con-Way Freight Inc                                   P.O. Box 5160                                         Portland, OR 97208-5160                                                                                                                                                                                                       First -Class Mail
Cook Childrens Health Care System                     801 7th Ave                                           Ft Worth, TX 76104-2733                                                                                                                                                                                                       First -Class Mail
Cook Count Health                                     1901 W Harrison St                                    Chicago, IL 60612-3714                                                                                                                                                                                                        First -Class Mail
Cook County Health & Hospital Syste                   1901 W Harrison St                                    Chicago, IL 60612-3714                                                                                                                                                                                                        First -Class Mail
Cook County Health And Hospitals System               1901 W Harrison St                                    Chicago, IL 60612-3714                                                                                                                                                                                                        First -Class Mail
Cook County Medical Examiners Office                  Attn: Dr Stephanie Powers                             2121 W Harrison St                                       Chicago, IL 60612-3705                                                                                                                                               First -Class Mail
Cookeville Regional Med Center                        1 Medical Center Blvd                                 Cookeville, TN 38501                                                                                                                                                                                                          First -Class Mail
Cool Springs Interventional Pllc                      3310 Aspen Grove Dr, Ste 203                          Franklin, TN 37067-2852                                                                                                                                                                                                       First -Class Mail
Cooling Source Inc                                    3111 Independence Dr                                  Livermore, CA 94551-7595                                                                                                                                                                                                      First -Class Mail
Cooling Source, Inc.                                  3111 Independence Drive                               Livermore, CA 94551                                                                                                                                                                                                           First -Class Mail
Cooper Interconnect                                   aka Eaton, Crouse Hinds                               Attn: Sandra Adams                                       750 W Ventura Blvd                                Camarillo, CA 93010                                               SandraJAdams@eaton.com                           EmailFirst-Class Mail
Cooper University Hospital                            The Cooper Health System                              1 Federal St, Ste N300, 2nd Fl                           Camden, NJ 08103-1150                                                                                                                                                First -Class Mail
Cooperatie Medisch Specialistisch                     c/o Bedrijf-Amphia Ua                                 Molengracht 21                                           Breda, 4818 CK                                    Netherlands                                                                                                        First -Class Mail
Cooperative Services of Florida                       2727 Winkler Ave                                      Fort Myers, FL 33901-9358                                                                                                                                                                                                     First -Class Mail
Cooperstown Medical Center                            107 12th St S                                         Cooperstown, ND 58425                                                                                                                                                                                                         First -Class Mail
Coordinated Health Hospital Of Allentown, Llc         1503 N. Cedar Crest Blvd.                             Allentown, PA 18104                                                                                                                                                                                                           First -Class Mail
Coordinated Health Orthopedic Hospital, Llc           2310 Highland Ave.                                    Bethlehem, PA 18020                                                                                                                                                                                                           First -Class Mail
Copacino + Fujikado LLC                               1425 4th Ave, Ste 700                                 Seattle, WA 98101-2265                                                                                                                                                                                                        First -Class Mail
Copley Hospital Inc                                   528 Washington Hwy                                    Morrisville, VT 05661-8973                                                                                                                                                                                                    First -Class Mail
Copper & Brass Sales                                  Attn: Auggie Acuna Jr                                 13338 Orden Dr                                           Santa Fe Springs, CA 90670                                                                                          auggie.acuna@thyssenkrupp.com                    EmailFirst-Class Mail
Copper & Brass Sales                                  Attn: Auggie Acuna Jr                                 13338 Orden Dr                                           Santa Fe Springs, CA 90670                                                                                                                                           First -Class Mail
Copper & Brass Sales                                  22355 West 11 Mile Road                               Southfield, MI 48033                                                                                                                                                                                                          First -Class Mail
Coquille Valley Hospital                              940 E 5Th St                                          Coquille, OR 97423-1699                                                                                                                                                                                                       First -Class Mail
Cora Kothmann                                         Address Redacted                                                                                                                                                                                                                                                                    First -Class Mail
Corewell Health                                       100 Michigan St.Ne                                    Grand Rapids, MI 49503                                                                                                                                                                                                        First -Class Mail
Corey A Eckhoff                                       Address Redacted                                                                                                                                                                                                                                                                    First -Class Mail
Corey J Robbins                                       Address Redacted                                                                                                                                                                                                                                                                    First -Class Mail
Corey Lee Medeiros                                    Address Redacted                                                                                                                                                                                                                                                                    First -Class Mail
Corey Messing                                         Address Redacted                                                                                                                                                                                                                                                                    First -Class Mail
Cori Corcoran                                         Address Redacted                                                                                                                                                                                                                                                                    First -Class Mail
Corl Technologies Llc                                 5256 Peachtree Rd.                                    Suite 190                                                Atlanta, GA 30341                                                                                                                                                    First -Class Mail
CORL Technologies LLC                                 5256 Peachtree Rd, Ste 190                            Atlanta, GA 30341                                                                                                                                                                                                             First -Class Mail
Corma Inc                                             10 Mccleary Ct                                        Concord, ON L4K 2Z3                                      Canada                                                                                                                                                               First -Class Mail
Cor-O-Van Moving & Storage                            P.O. Box 840778                                       Los Angeles, CA 90084-0778                                                                                                                                                                                                    First -Class Mail
Cor-O-Van Moving & Storage                            12302 Kerran St                                       Poway, CA 92064-6884                                                                                                                                                                                                          First -Class Mail
Corovan Moving & Storage Co                           Attn: Kim Dougherty                                   12302 Kerran St                                          Poway, CA 92064                                                                                                                                                      First -Class Mail
Corp Service Co                                       251 Little Falls Dr                                   Wilmington, DE 19808-1674                                                                                                                                                                                                     First -Class Mail
Corporate Image                                       1801 Thompson Ave                                     Des Moines, IA 50316                                                                                                                                                                                                          First -Class Mail
Corporate Image                                       P.O. Box 1413                                         Des Moines, IA 50306                                                                                                                                                                                                          First -Class Mail
Corporation Service Co                                251 Little Falls Dr                                   Wilmington, DE 19808-1674                                                                                                                                                                                                     First -Class Mail
Corporation Service Company                           2711 Centerville Road                                 Wilmington, DE 19808                                                                                                                                                                                                          First -Class Mail
Corptax Inc                                           2100 E Lake Cook Rd, Ste 800                          Buffalo Grove, IL 60089-1999                                                                                                                                                                                                  First -Class Mail
Corptax, Inc.                                         2100 E. Lake Cook Rd., Suite 800                      Buffalo Grove, IL 60089                                                                                                                                                                                                       First -Class Mail
Corrugados De Baja Cfa                                P.O. Box 894655                                       Los Angeles, CA 90189-4655                                                                                                                                                                                                    First -Class Mail
Corrugados De Baja Cfa                                Cerrada Centinela 1799                                Mexicali, BC 21600                                       Mexico                                                                                                                                                               First -Class Mail
Cort Business Services                                P.O. Box 733                                          Rogersville, TN 37857-0733                                                                                                                                                                                                    First -Class Mail
Cort Furniture Rental                                 c/o Cort Business Services Corp                       P.O. Box 17401                                           Baltimore, MD 21297-1401                                                                                                                                             First -Class Mail
Cortney Donaldson                                     Address Redacted                                                                                                                                                                                                                                                                    First -Class Mail
Cortrol Process Systems Inc                           P.O. Box 9666                                         Tulsa, OK 74157-0666                                                                                                                                                                                                          First -Class Mail
Cory Larson                                           Address Redacted                                                                                                                                                                                                                                                                    First -Class Mail
Cosin Ltda                                            Ave 20 De Octubre                                     Esquina Campos Torre Azul                                La Paz                                            Bolivia                                                                                                            First -Class Mail
Cosin Ltda                                            Ave 20 de Octrubre                                    Esq Campos Zona Sopocachi                                Edif Torre Azul Piso                              18 La Paz                                           Bolivia                                                        First -Class Mail
Cosin Ltda.                                           Cosin Ltda.                                           Ave. 20 De Octrubre Esq. Campos                          Zona Sopocachi, Edif. Torre Azul Piso 18 La Paz   Bolivia                                                                                                            First -Class Mail
Cosmo Medical, Inc                                    Unit 2310 High St, Corner 11th Ave                    S Corporate Plaza Tower 2, 26th St                       Bonifacio Global City 1634                        Taguig City, Metro Manila                           Philippines                                                    First -Class Mail
Cosmo Medical, Inc                                    Cosmo Medical, Inc                                    Unit 2310, High St, S Corporate Plaza Tower 2,           26th St, Corner 11th Ave                          Bonifacio Global City, Taguig City, Metro Manila    Philippines                                                    First -Class Mail
Cosmo Medical, Inc.                                   Cosmo Medical, Inc.                                   Unit 2310 High Street South Corporate Plaza Tower 2,     26Th Street, Corner 11Th Avenue                   Bonifacio Global City, Taguig City, Metro Manila    Philippines                                                    First -Class Mail
Cosmo Medical, Inc.                                   Unit 2310 High Street South Corporate Plaza Tower 2   26Th Street, Corner 11Th Avenue, Bonifacio Global City   Taguig City, 1635 Metro Manila                    Philippines                                                                                                        First -Class Mail
Coss Medical Inc                                      1422 Taylor Corners Cir                               Blacklick, OH 43004-9769                                                                                                                                                                                                      First -Class Mail
Coto Technology Inc.                                  66 Whitecap Drive                                     N Kingstown, RI 02852                                                                                                                                                                                                         First -Class Mail
Cottage Health System                                 400 W Pueblo Street                                   Santa Barbara, CA 93105                                                                                                                                                                                                       First -Class Mail
Countryside Fire Dept                                 600 N Deerpath Dr                                     Vernon Hills, IL 60061-1804                                                                                                                                                                                                   First -Class Mail
County of Clay                                        c/o Clay County Hospital                              P.O. Box 280                                             Flora, IL 62839-0280                                                                                                                                                 First -Class Mail
County of James City                                  Treasurer                                             P.O. Box 8701                                            Williamsburg, VA 23187-8701                                                                                                                                          First -Class Mail
County of Montgomery                                  755 Roanoke St, Ste 1B                                Christiansburg, VA 24073-3169                                                                                                                                                                                                 First -Class Mail
County of Northampton                                 P.O. Box 17399                                        Baltimore, MD 21297-1399                                                                                                                                                                                                      First -Class Mail
County of Orange                                      P.O. Box 4005                                         Santa Ana, CA 92702                                                                                                                                                                                                           First -Class Mail
County of Orange                                      c/o Environmental Health Division                     P.O. Box 25400                                           Santa Ana, CA 92799                                                                                                                                                  First -Class Mail
County of Riverside                                   Attn: Steve Van Stockum                               P.O. Box 7909                                            Riverside, CA 92513                                                                                                                                                  First -Class Mail
County Of Riverside Riverside University Health Sys   26520 Cactus Ave Materials Mgmt                       Moreno Valley, CA 92555                                                                                                                                                                                                       First -Class Mail
County Of Riverside Riverside University Health Sys   26520 Cactus Ave Riverside Univ Health System         Moreno Valley, CA 92555                                                                                                                                                                                                       First -Class Mail
County Of Riverside Riverside University Health Sys   26520 Cactus Ave Receiving                            Moreno Valley, CA 92555                                                                                                                                                                                                       First -Class Mail
Courtney Jordan                                       Address Redacted                                                                                                                                                                                                                                                                    First -Class Mail
Courtney, Sherry Md                                   1 Children's Way                                      Little Rock, AR 72202                                                                                                                                                                                                         First -Class Mail
Courtyne Allyson Walker                               Address Redacted                                                                                                                                                                                                                                                                    First -Class Mail
Covance Laboratories Inc                              3301 Kinsman Blvd                                     Madison, WI 53704-2523                                                                                                                                                                                                        First -Class Mail
Cove Matthew Md (Singapore - Volunteer)               5 Lower Kent Ridge Rd                                 Singapore                                                                                                                                                                                                                     First -Class Mail
Covenant Health                                       9352 Park West Blvd Receiving                         Knoxville, TN 37923                                                                                                                                                                                                           First -Class Mail
Covenant Health System                                3514 21St Street                                      Lubbock, TX 79410                                                                                                                                                                                                             First -Class Mail
Covenant Healthcare                                   700 Cooper Ave                                        Saginaw, MI 48602                                                                                                                                                                                                             First -Class Mail
Covenant Healthcare                                   1447 N Harrison St                                    Saginaw, MI 48602                                                                                                                                                                                                             First -Class Mail
Covestro Llc                                          1 Covestro Circle                                     Pittsburgh, PA 15205                                                                                                                                                                                                          First -Class Mail
Covestro LLC                                          8 Fairview Way                                        S Deerfield, MA 01373-9674                                                                                                                                                                                                    First -Class Mail
Covidien LP                                           a Medtronic - Oridion Co                              6135 Gunbarrel Ave                                       Boulder, CO 80301                                                                                                                                                    First -Class Mail
Covidien LP                                           a Medtronic - Oridion Co                              1st Fl, Covidien Plaza No 99                             Tian Zhou Rd, ChaoHeJing-Tech Park                Shanghai 200233                                     China                                                          First -Class Mail
Covidien Lp (A Medtronic - Oridion Company)           6135 Gunbarrel Avenue                                 Boulder, CO 80301                                                                                                                                                                                                             First -Class Mail
Covington & Burling LLP                               850 10th St NW                                        Washington, DC 20001-4956                                                                                                                                                                                                     First -Class Mail
Covington & Burling Llp                               The New York Times Building                           620 Eighth Avenue                                        New York, NY 10018-1405                                                                                                                                              First -Class Mail
Cox Manufacturing Company                             5500 N. Loop 1604                                     San Antonio, TX 78247                                                                                                                                                                                                         First -Class Mail
Coyote Logistics LLC                                  P.O. Box 742636                                       Atlanta, GA 30374-2636                                                                                                                                                                                                        First -Class Mail
Coyote Logistics LLC                                  2545 W Diversey Ave                                   Chicago, IL 60647-7173                                                                                                                                                                                                        First -Class Mail
Coyote Logistics, Llc                                 2545 W. Diversey Ave.                                 Chicago, IL 60647                                                                                                                                                                                                             First -Class Mail
Cozzoli Machine Co                                    50 Schoolhouse Rd                                     Somerset, NJ 08873-1289                                                                                                                                                                                                       First -Class Mail
Cpg China                                             Room 1802, Raffles City 268 Xizang Zhong Road         Shanghai, 200001 Prc                                     China                                                                                                                                                                First -Class Mail
CPM Ltd Inc, a Manpower Co                            1855 1st Ave, Ste 300                                 San Diego, CA 92101                                                                                                                                                                                                           First -Class Mail
CPR Calibration Inc                                   Attn: Chris Reilly                                    2931 Druid Ln                                            Los Alamitos, CA 90720                                                                                              Chris@cprcalibration.com                         EmailFirst-Class Mail
Craig Staller                                         Address Redacted                                                                                                                                                                                                                                                                    First -Class Mail
Craig Staller                                         Address Redacted                                                                                                                                                                                                                                                                    First -Class Mail
Crane Worldwide Logistics Llc                         1500 Rankin Rd.                                       Houston, TX 77073                                                                                                                                                                                                             First -Class Mail
Cranium Faustum S.R.O.                                F/K/A Cheiron A.S                                     Republikanska 1102/45, Lobzy                             312 00 Pilsen                                     Czech Republic                                                                                                     First -Class Mail
Cranium Faustum S.R.O.                                Republikanska 1102/45, Lobzy                          Czech Republic                                                                                                                                                                                                                First -Class Mail
Cranium Faustum Sro                                   Republikanska 1102/45                                 Plzen, 31200                                             Czech Republic                                                                                                                                                       First -Class Mail
Crawford & Co                                         13370 Kirkham Way                                     Poway, CA 92064                                                                                                                                                                                                               First -Class Mail
Crawford County Memorial Hosp                         100 Medical Pkwy                                      Denison, IA 51442                                                                                                                                                                                                             First -Class Mail
Crawford County Memorial Hospital                     1000 N Allen St                                       Robinson, IL 62454                                                                                                                                                                                                            First -Class Mail
CRB Security Solutions                                15154 Goldenwest Cir                                  Westminister, CA 92683                                                                                                                                                       ric@crbsecurity.com                              EmailFirst-Class Mail
Creanova S.R.L.                                       Via Napoleona, 9 - 22100 Como                         Italy                                                    Italy                                                                                                                                                                First -Class Mail
Creation Technologies Inc.                            One Becon St.                                         23Rd Floor                                               Boston, MA 02108                                                                                                                                                     First -Class Mail
Creative Affairs Inc                                  Attn: Amanda McPhall                                  920 3rd St                                               Coronado, CA 92118                                                                                                  amandamcphail@gmail.com                          EmailFirst-Class Mail
Creative Finaicial Staffing LLC                       1 International Pl, 16th Fl                           Boston, MA 02110-2602                                                                                                                                                                                                         First -Class Mail
Creative Medical Research                             9 Pegasus                                             Orion Court                                              Great Blakenham                                   Suffolk, Ip6 0Lw                                    Blakenham                                                      First -Class Mail
Credit Suisse Ag, London Branch                       One Cabot Sq                                          United Kingdom                                                                                                                                                                                                                First -Class Mail
Creo Center Oy                                        Elannontie 3                                          01510 Vantaa                                             Finland                                                                                                                                                              First -Class Mail
Creo Center Oy                                        Vaisalantie 4                                         02130 Espoo                                              Finland                                                                                                                                                              First -Class Mail
Crescent City Surgical Center                         3017 Galleria Drive                                   Metairie, LA 70001                                                                                                                                                                                                            First -Class Mail
Crescent Design                                       6370 Nancy Ridge Dr, Ste 105                          San Diego, CA 92121-3212                                                                                                                                                                                                      First -Class Mail
Crescent Design Inc                                   6370 Nancy Ridge Dr, Ste 105                          San Diego, CA 92121-3212                                                                                                                                                                                                      First -Class Mail
Crest Ultrasonics Corp                                10 Grumman Ave                                        Trenton, NJ 08628-1315                                                                                                                                                                                                        First -Class Mail
Crestwood Healthcare                                  1448 Houston St                                       Wills Point, TX 75169                                                                                                                                                                                                         First -Class Mail
Crestwood Medical Center                              1 Hospital Dr Sw                                      Huntsville, AL 35801-6455                                                                                                                                                                                                     First -Class Mail
Crete Carrier Corporation                             400 Nw 56Th Street                                    Lincoln, NE 68528                                                                                                                                                                                                             First -Class Mail
CRH California Water                                  dba Culligan of Ontario                               Attn: Angela Ramirez                                     1925 Burgundy Pl                                  Ontario, CA 91761                                                 aramirez@hallwater.com                           EmailFirst-Class Mail
Crist Kolder Associates                               3250 Lacey Rd                                         Suite 450                                                Downers Grove, IL 60515                                                                                                                                              First -Class Mail
Cristine Elizabeth Oropez                             Address Redacted                                                                                                                                                                                                                                                                    First -Class Mail
Cromsource S.R.L.                                     Via Giorgio De Sandre, 3 - 37135 Verona               Italy                                                    Italy                                                                                                                                                                First -Class Mail
Cross Country Installations Service                   38 Governor St                                        Paterson, NJ 07501-1052                                                                                                                                                                                                       First -Class Mail
Crossvine Recruiting                                  1300 Kings Brook Ct                                   Southlake, TX 76092-7808                                                                                                                                                                                                      First -Class Mail
Crossvine Recruiting                                  Zurcherstrasse 51, Tagelswangen, 8317, China          China                                                                                                                                                                                                                         First -Class Mail
Crothall Facilities Management                        1550 Liberty Ridge Dr, Ste 110                        Wayne, PA 19087                                                                                                                                                                                                               First -Class Mail
Crowdstrike                                           150 Mathilda Place                                    Suite 300                                                Sunnyvale, CA 94086                                                                                                                                                  First -Class Mail
Crowdstrike Services Inc                              150 Mathilda Pl, Ste 300                              Sunnyvale, CA 94086-6012                                                                                                                                                                                                      First -Class Mail
Crowe Llp                                             55 Campau Avenue                                      Grand Rapids, MI 49503                                                                                                                                                                                                        First -Class Mail
Crowe Llp                                             One Mid America Plaza                                 Suite 700                                                Oakbrook Terrace, IL 60181                                                                                                                                           First -Class Mail
Crowe LLP                                             320 E Jefferson Blvd                                  S Bend, IN 46601-2314                                                                                                                                                                                                         First -Class Mail
Crown Equipment Co                                    Attn: Pablo Figueroa                                  44 S Washington St                                       New Bremen, OH 45869                                                                                                                                                 First -Class Mail
Crown Equipment Corporation Dba Crown Lift Trucks     44 S Washington St                                    New Bremen, OH 45869                                                                                                                                                                                                          First -Class Mail
Crown Extrusions, Inc.                                4035 Norex Drive                                      Chaska, MN 55318                                                                                                                                                                                                              First -Class Mail
Crown Lift Trucks                                     P.O. Box 641173                                       Cincinnati, OH 45264-1173                                                                                                                                                                                                     First -Class Mail
Crown Lift Trucks                                     1650 N Sam Houston Pkwy E                             Houston, TX 77032-3032                                                                                                                                                                                                        First -Class Mail
Crown Packaging Corp                                  P.O. Box 17806M                                       St Louis, MO 63195-0001                                                                                                                                                                                                       First -Class Mail
Crown Packaging Corp                                  17854 Chesterfield Airport Rd                         Chesterfield, MO 63005-1216                                                                                                                                                                                                   First -Class Mail
Crst Specialized Transportation Inc                   5001 US Hwy 30 W                                      Fort Wayne, IN 46818-9701                                                                                                                                                                                                     First -Class Mail
Crucialq Ehf                                          Kvistavellir 17                                       221 Hafnafjordur                                         Iceland                                           Iceland                                                                                                            First -Class Mail
Crystal Clinic Orthopaedic Center, Llc                3925 Embassy Parkway                                  Akron, OH 44333                                                                                                                                                                                                               First -Class Mail
Crystal Instruments Lab                               fka Quality Testing                                   Attn: Eric Geriach                                       15661 Producer Ln, Ste H                          Huntington Beach, CA 92846                                        eric@qualitytest.net                             EmailFirst-Class Mail
Crystal Janitorial Service Inc                        2680 Pacer Ln                                         San Jose, CA 95111-2010                                                                                                                                                                                                       First -Class Mail
Crystal Janitorial Services Inc.                      Crystal Janitorial Services Inc.                      2680 Pacer Ln.                                           San Jose, CA 95111                                                                                                                                                   First -Class Mail
Crystal L Theirl                                      Address Redacted                                                                                                                                                                                                                                                                    First -Class Mail
Crystal Run Transformation Services LLC               155 Crystal Run Rd                                    Middletown, NY 10941-4028                                                                                                                                                                                                     First -Class Mail
CSA America Testing & Certification LLC               8501 E Pleasant Valley Rd                             Cleveland, OH 44131                                                                                                                                                                                                           First -Class Mail
Csa Group Testing & Certification Inc.                8501 East Pleasant Valley Road                        Independence, OH 44131-5516                                                                                                                                                                                                   First -Class Mail
CSA Transportaion                                     1 Valleybrook Dr, Ste 305                             Toronto, ON M5B 2S7                                      Canada                                                                                                                                                               First -Class Mail
Csc Holdings LLC                                      c/o Cp Chicago O'Hare LLC                             8535 W Higgins Rd                                        Chicago, IL 60631-2806                                                                                                                                               First -Class Mail
Csd Biostatistics                                     1005 W. Soft Wind Place                               Oro Valley, AZ 85737                                                                                                                                                                                                          First -Class Mail
Csg System Inc                                        P.O. Box 310461                                       Des Moines, IA 50331-0461                                                                                                                                                                                                     First -Class Mail
CSG Systems                                           Attn: Loan Nguyen                                     18020 Burt St                                            Elkhorn, NE 68022                                                                                                   loan.nguyen@csgi.com                             EmailFirst-Class Mail
CSI Technologies                                      P.O. Box 508                                          Laconia, NH 03247-0508                                                                                                                                                                                                        First -Class Mail
Csi Technologies                                      73 Daniel Webster Hwy                                 Belmont, NH 03220-3028                                                                                                                                                                                                        First -Class Mail
C-T Products                                          Attn: Becky Kolk                                      P.O. Box 2652                                            715 Silver Spur Rd                                Rolling Hills Estates, CA 90274                                   becky@ctproducts.com                             EmailFirst-Class Mail
Ctbr LLC                                              4440 Pga Blvd, Ste 600                                Palm Beach Gardens, FL 33410-6542                                                                                                                                                                                             First -Class Mail
Ctbr Travel Llc                                       4440 Pga Blvd.                                        Suite 600                                                Palm Beach Gardens, FL 33410                                                                                                                                         First -Class Mail
Ctc Ons Program Committee                             Attn: Kim Blanton Rn Bsn Ocn                          9405 Minuteman Way                                       W Chester, OH 45069-4248                                                                                                                                             First -Class Mail
CTP Carrera Inc                                       c/o Carclo Technical Plastics                         600 Depot St                                             Latrobe, PA 15650-1617                                                                                                                                               First -Class Mail
Ctpartners                                            P.O. Box 714755                                       Columbus, OH 43271-4755                                                                                                                                                                                                       First -Class Mail
Cts Technology Center                                 10020 Pacific Mesa                                    San Diego, CA 92121                                                                                                                                                                                                           First -Class Mail
Cubist IT AB                                          Kungsbron 21                                          hus G plan 10                                            111 22 Stockholm                                  Sweden                                                                                                             First -Class Mail
Cubist IT AB                                          Vasagatan 11                                          111 20 Stockholm                                         Sweden                                                                                                                                                               First -Class Mail
Culligan Water                                        9399 W Higgins Rd, Ste 1100                           Rosemont, IL 60018                                                                                                                                                                                                            First -Class Mail
Cullman County                                        P.O. Box 1206                                         Cullman, AL 35056-1206                                                                                                                                                                                                        First -Class Mail
Curbell Medical                                       7 Cobham Drive                                        Orchard Park, NY 14127                                                                                                                                                                                                        First -Class Mail
Curbell Medical Products Inc                          62882 Collection Center Dr                            Chicago, IL 60693-0628                                                                                                                                                                                                        First -Class Mail
Currier Plastics Inc.                                 101 Columbus Street                                   Auburn, NY 13021                                                                                                                                                                                                              First -Class Mail
Curry General Hospital                                94220 4Th St                                          Gold Beach, OR 97444                                                                                                                                                                                                          First -Class Mail
Curry Health Network                                  94220 4th St                                          Gold Beach, OR 97444                                                                                                                                                                                                          First -Class Mail
Curtis Instruments, Inc.                              200 Kisco Ave.                                        Mt Kisco, NY 10549                                                                                                                                                                                                            First -Class Mail
Custom Alternatives Inc                               9421 Dielman Rock Island Ind Dr                       St Louis, MO 63132                                                                                                                                                                                                            First -Class Mail
Custom Case Co Inc                                    6045 S Knox Ave                                       Chicago, IL 60629-5421                                                                                                                                                                                                        First -Class Mail
Custom Filter                                         Attn: Tom Wagner                                      401 Hankes Ave                                           Aurora, IL 605058                                                                                                   twagner@customfilter.net                         EmailFirst-Class Mail
Custom Filter LLC                                     Attn: Tom Wagner                                      401 Hankes Ave                                           Aurora, IL 605058                                                                                                                                                    First -Class Mail
Custom Filter, Llc                                    2300 Raddant Road, Suite 100                          Aurora, IL 60502                                                                                                                                                                                                              First -Class Mail
Custom Healthcare Systems                             Custom Healthcare Systems                             4205 Eubank Road                                         Richmond, VA 23231                                                                                                                                                   First -Class Mail
Custom Machine Works LLC                              800 Biltmore Dr                                       Fenton, MO 63026-4658                                                                                                                                                                                                         First -Class Mail
Custom Metalcraft Inc                                 P.O. Box 10587                                        Springfield, MO 65808-0587                                                                                                                                                                                                    First -Class Mail
Custom Pak De Mexico                                  Circuito Siglo Xxi 1960 Mod Abc Y                     Mexicali, BC 21259                                       Mexico                                                                                                                                                               First -Class Mail
Custom Power                                          Attn: Lu Do- Sheila Hoagland                          10910 Talbert Ave                                        Fountain Valley, CA 92708                                                                                           ldo@CustomPower.com; shoagland@CustomPower.com   EmailFirst-Class Mail
Customs & Border Protection                           2813 Business Park Dr Bldg I                          Memphis, TN 38118-1556                                                                                                                                                                                                        First -Class Mail
Cutting, Phillip                                      Address Redacted                                                                                                                                                                                                                                                                    First -Class Mail
CV Plastics Inc                                       dba Regal Plastics                                    Attn: Steven Sissenstein                                 68-743 Perez Rd, Ste D2                           Cathedral City, CA 92234                                          steve_cvplastics@live.com                        EmailFirst-Class Mail
Cv19 Surge Capacity Llc                               4201 Wingren Dr.                                      Suite 216                                                Irving, TX 75062                                                                                                                                                     First -Class Mail
Cvm Solutions Llc                                     Cvm Solutions Llc                                     5 Westbrook Corporate Center, Suite 920                  W Chester, IL 60154                                                                                                                                                  First -Class Mail
CVS Caremark                                          1 CVS Dr                                              Woonsocket, RI 02895                                                                                                                                                                                                          First -Class Mail
CVS Pharmacy Inc                                      83649 Collection Center Dr                            Chicago, IL 60693-0836                                                                                                                                                                                                        First -Class Mail
Cw Software Solutions, Inc.                           5545 Feather Grass Lane                               Yorba Linda, CA 92887                                                                                                                                                                                                         First -Class Mail
CWE, Inc                                              Attn: Hilary Ward                                     315 E Country Line Rd                                    Ardmore, PA 19003                                                                                                   hward@cwe-inc.com                                EmailFirst-Class Mail
Cwiek, Malgorzata                                     1234 Hospital Dr                                      Dallas, TX 75235                                                                                                                                                                                                              First -Class Mail
Cybellum Technologies Ltd                             Aminadav 3 St.                                        Tel Aviv 67067031                                        Israel                                            Israel                                                                                                             First -Class Mail
Cybellum Technologies Ltd                             3 Aminadav Tel Aviv-Jaffa                             Central District, 6706703                                Israel                                                                                                                                                               First -Class Mail
Cybellum Technologies Ltd                             Aminadav 3 St                                         Tel Aviv 67067031                                        Israel                                                                                                                                                               First -Class Mail
Cyient Inc.                                           99 East River Drive                                   5Fl                                                      E Hartford, CT 06108                                                                                                                                                 First -Class Mail
Cylance Inc                                           Attn: Jihn Kolesar                                    400 Spectrum Center Dr, Ste 900                          Irvine, CA 91618                                                                                                    jkolesar@cylance.com                             EmailFirst-Class Mail
Cylance Inc.                                          400 Spectrum Center Dr., Suite 900                    Irvine, CA 92618                                                                                                                                                                                                              First -Class Mail
Cynthia Chaffee                                       Address Redacted                                                                                                                                                                                                                                                                    First -Class Mail
Cynthia Deutschmann                                   Address Redacted                                                                                                                                                                                                                                                                    First -Class Mail
Cynthia R Vasi                                        Address Redacted                                                                                                                                                                                                                                                                    First -Class Mail
Cypress Point Surgical Hospital                       42570 S. Airport Rd.                                  Hammond, LA 70403                                                                                                                                                                                                             First -Class Mail
Cyro Industries                                       Network Pl                                            P.O. Box 70330                                           Chicago, IL 60673-0330                                                                                                                                               First -Class Mail
Cyrus Healthcare And Mgmt                             2300 Hwy 365 Ste 150                                  Nederland, TX 77627                                                                                                                                                                                                           First -Class Mail
Czarlite Ltl Freight Rates                            10221 Wateridge Cir                                   San Diego, CA 92121                                                                                                                                                                                                           First -Class Mail
Czarnowski Exhibit Service Speciali                   c/o Czarnowski Display Service Inc                    2287 S Blue Island Ave                                   Chicago, IL 60608-4344                                                                                                                                               First -Class Mail
D & K Systems                                         Attn: Daniel McNair                                   542 Sebastopol St                                        Claremont, CA 91711                                                                                                 dan@dandksystems                                 EmailFirst-Class Mail
D & L Packing Supplies Inc                            c/o D & L Supply                                      14512 Garfield Ave                                       Paramount, CA 90723-3426                                                                                                                                             First -Class Mail
D C Tool Grinding Inc                                 Rr 3 Box 1390                                         Checotah, OK 74426-9522                                                                                                                                                                                                       First -Class Mail
D Keith Grossman                                      Address Redacted                                                                                                                                                                                                                                                                    First -Class Mail
D&B                                                   P.O. Box 75434                                        Chicago, IL 60675-5434                                                                                                                                                                                                        First -Class Mail
D&C Tool Grinding Inc                                 114500 Dogwood Gln                                    Checotah, OK 74426-2482                                                                                                                                                                                                       First -Class Mail
D&I Comercio de Equipaqmentos Medicos Ltda            Avenida Andromeda                                     Rm 885, 2416, 2417                                       Alphaville CEP 06473-000                          Barueri - SP                                        Brazil                                                         First -Class Mail
D&I Comercio De Equipaqmentos Medicos Ltda.           D&I Comercio De Equipaqmentos Medicos Ltda.           Avenida Andromeda, Rm. 885, 2416, 2417                   Alphaville Cep 06473-000 Barueri - Sp             Brazil                                                                                                             First -Class Mail
D&K Engineering Inc                                   15890 Bernardo Center Dr                              San Diego, CA 92127-2320                                                                                                                                                                                                      First -Class Mail
Da Pro Rubber Inc.                                    601 N. Poplar Avenue                                  Broken Arrow, OK 74012                                                                                                                                                                                                        First -Class Mail
                                                                            Case 24-11217-BLS                                                                                            Doc 463                                  Filed 08/24/24                                    Page 14 of 51

DA/PRO Rubber Inc                                                         Attn: Erin Broadbooks, Jeff Vihanek                         601 N Poplar Ave                                                     Broken Arrow, OK 74012                                                               ebroadbooks@daprorubber.com; jvihnanek@daprorubber.com   EmailFirst-Class Mail
Da/Pro Rubber Inc                                                         P.O. Box 470175                                             Tulsa, OK 74147                                                                                                                                           gbrauninger@daprorubber.com                              EmailFirst-Class Mail
Da/Pro Rubber Inc                                                         Attn: Erin Broadbooks, Jeff Vihanek                         601 N Poplar Ave                                                     Broken Arrow, OK 74012                                                                                                                        First -Class Mail
Dadeland Centre Ltd                                                       9155 S Dadeland Blvd, Ste 1812                              Miami, FL 33156-2742                                                                                                                                                                                               First -Class Mail
Dagan Alex Frey                                                           Address Redacted                                                                                                                                                                                                                                                               First -Class Mail
Dahl-Tech Inc                                                             5805 St Croix Trl N                                         Stillwater, MN 55082-6571                                                                                                                                                                                          First -Class Mail
Dalata Cardiff Ltd                                                        298 Clyde St                                                Glasgow, G1 4NP                                                      United Kingdom                                                                                                                                First -Class Mail
Dalco Enterprises Inc                                                     aka Falk Paper                                              Attn: Jeff Graunke                                                   300 5th Ave                              New Brighton, MN 55112                      Jeff.grauke@dalcoonline.com                              EmailFirst-Class Mail
Dale Bixby Md                                                             Address Redacted                                                                                                                                                                                                                                                               First -Class Mail
Dallas County Hospital District (Dba Parkland Health & Hospital System)   Dallas County Hospital District                             D/B/A Parkland Health & Hospital System                              5201 Harry Hines Blvd.                   Dallas, TX 75235                                                                                     First -Class Mail
Dallas County Utility & Reclamation Dist                                  P.O. Box 140035                                             Irving, TX 75014-0035                                                                                                                                                                                              First -Class Mail
Dalvin Dunn                                                               Address Redacted                                                                                                                                                                                                                                                               First -Class Mail
Damiani, Felipe Dr.                                                       1400 Nw 12Th Ave,                                           Miami, FL 33136                                                                                                                                                                                                    First -Class Mail
Dan A Atkerson                                                            c/o Law Offices of Dan A Atkerson                           1025 Arches Park Dr                                                  Allen, TX 75013-5648                                                                                                                          First -Class Mail
Dan Azagury Md                                                            Address Redacted                                                                                                                                                                                                                                                               First -Class Mail
Dan Poole                                                                 Address Redacted                                                                                                                                                                                                                                                               First -Class Mail
Danco Metal Surfacing                                                     Attn: Dino Gonzalez                                         44 La Porte St                                                       Arcadia, CA 91006                                                                    dino.g@danco.net                                         EmailFirst-Class Mail
Dandurand, Ronald (Canada)                                                160 Stillview Ave                                           Pointe-Claire, QC M5G 2N2                                            Canada                                                                                                                                        First -Class Mail
Dani, Carlo Dr. (Italy)                                                   Largo Brambilla, 3                                          Italy                                                                                                                                                                                                              First -Class Mail
Daniel Caridad Rouco                                                      Address Redacted                                                                                                                                                                                                                                                               First -Class Mail
Daniel Duane Rowley                                                       Address Redacted                                                                                                                                                                                                                                                               First -Class Mail
Daniel Jackson                                                            Address Redacted                                                                                                                                                                                                                                                               First -Class Mail
Daniel Nhan Ho                                                            Address Redacted                                                                                                                                                                                                                                                               First -Class Mail
Daniel P Becker                                                           Address Redacted                                                                                                                                                                                                                                                               First -Class Mail
Daniel P Hoolihan                                                         Address Redacted                                                                                                                                                                                                                                                               First -Class Mail
Daniel Sessler                                                            Address Redacted                                                                                                                                                                                                                                                               First -Class Mail
Daniel Sessler                                                            Address Redacted                                                                                                                                                                                                                                                               First -Class Mail
Daniel Stemen                                                             Address Redacted                                                                                                                                                                                                                                                               First -Class Mail
Daniel Stephen Baird                                                      Address Redacted                                                                                                                                                                                                                                                               First -Class Mail
Daniel, Scott                                                             Dixie Regional Medical Center                               1380 S. Medical Center Dr.                                           St George, UT 84780                                                                                                                           First -Class Mail
Danielle M Rowe                                                           Address Redacted                                                                                                                                                                                                                                                               First -Class Mail
Danielle Miller                                                           Address Redacted                                                                                                                                                                                                                                                               First -Class Mail
Danielle Ness                                                             c/o Hey Darlin                                              11011 36th Ave NE                                                    Seattle, WA 98125-5766                                                                                                                        First -Class Mail
Daniels Manufacturing Corp                                                526 Thorpe Rd                                               Orlando, FL 32824-8133                                                                                                                                                                                             First -Class Mail
Daniels Manufacturing Corporation                                         526 Thorpe Road                                             Orlando, FL 32824                                                                                                                                                                                                  First -Class Mail
Danlee Medical Products Inc                                               6075 E Molloy Rd                                            Syracuse, NY 13211-2139                                                                                                                                                                                            First -Class Mail
DanMedik (S) Pte Ltd                                                      8 Burn Road, #08-07                                         Trivex, Singapore 369977                                             Singapore                                                                                                                                     First -Class Mail
Danmedik (S) Pte. Ltd.                                                    Danmedik (S) Pte. Ltd.                                      8 Burn Road, #08-7 Trivex                                            Singapore 369977                         Singapore                                                                                            First -Class Mail
Danmedik (S) Pte. Ltd.                                                    8 Burn Road, #08-7                                          Singapore                                                                                                                                                                                                          First -Class Mail
DanMedik Sdn Bhd                                                          9-1, Block E2, Dataran Prima                                Jalan PJU 1/42a                                                      Petaling Jaya                            47301 Selangor Darul Ehsan       Malaysia                                                            First -Class Mail
DanMedik Sdn Bhd                                                          H-1-3A, Block H                                             Pusat Komersil Park Ln                                               Jalan SS7/26, Kelana Jaya 47301          Selangor                         Malaysia                                                            First -Class Mail
Danmedik Sdn. Bhd.                                                        Danmedik Sdn. Bhd.                                          H-1-3A, Block H, Pusat Komersil Park Lane,                           Jalan Ss7/26, Kelana Jaya 47301          Selangor                         Malaysia                                                            First -Class Mail
Danmedik Sdn. Bhd.                                                        Danmedik Sdn. Bhd.                                          9-1, Block E2 Dataran Prima, Jalan Pju 1/42A, Petaling Jaya, 47301   Malaysia                                                                                                                                      First -Class Mail
Danny Herman Trucking, Inc.                                               339 Cold Springs Rd.                                        Mtn City, TN 37683                                                                                                                                                                                                 First -Class Mail
Daoud, Ehab Md                                                            455 Toll Gate Rd                                            Warwick, RI 02886                                                                                                                                                                                                  First -Class Mail
Daptiv Solutions Llc                                                      1111 Third Ave.                                             Suite 700                                                            Seattle, WA 98101                                                                                                                             First -Class Mail
Daren Richardson Special Needs Trus                                       243 Pinewood Ln                                             Bloomingdale, IL 60108-2122                                                                                                                                                                                        First -Class Mail
Darktrace Holdings Limited                                                Maurice Wilkes Building, St. John'S Innovation Park,        Cowley Road                                                          Cambridge, Cb4 Ods                       United Kingdom                                                                                       First -Class Mail
Darla Klinger                                                             Address Redacted                                                                                                                                                                                                                                                               First -Class Mail
Dartin Slovensko Spol S.R.O.                                              Dartin Slovensko Spol S.R.O.                                L. Podjavorinskej 25                                                 Presov 080 05                            Slovakia                                                                                             First -Class Mail
Dartin Slovensko Spol S.R.O.                                              L. Podjavorinskej 25                                        Slovakia                                                                                                                                                                                                           First -Class Mail
Dartin Slovensko Spol Sro                                                 L Podjavorinskej 25                                         Presov, 080 05                                                       Slovakia                                                                                                                                      First -Class Mail
Dartin Spol Sro                                                           Suchdolska 688                                              Horomerice, 25262                                                    Czech Republic                                                                                                                                First -Class Mail
Dartin Spol. S.R.O.                                                       Dartin, Spol. S.R.O.                                        Suchdolska 688, Horomerice                                           Stredocesky Kraj, 25262                  Czech Republic                                                                                       First -Class Mail
Dartin Spol. S.R.O.                                                       Suchdolska 688                                              Czech Republic                                                                                                                                                                                                     First -Class Mail
Daru Darman                                                               Address Redacted                                                                                                                                                                                                                                                               First -Class Mail
Data Modul                                                                275 Marcus Blvd                                             Hauppauge, NY 11788                                                                                                                                                                                                First -Class Mail
Data Modul Inc                                                            Attn: Carolyn Zatwarnicki                                   275 Marcus Blvd                                                      Hauppauge, NY 11788                                                                  Czatwarnicki@data-modul.com                              EmailFirst-Class Mail
Data Modul Inc                                                            Attn: Carolyn Zatwarnicki                                   275 Marcus Blvd                                                      Hauppauge, NY 11788                                                                                                                           First -Class Mail
Data Modul, Inc                                                           Attn: Thomas Klingl                                         275 Marcus Blvd, Unit R                                              Hauppauge, NY 11788                                                                  tklingl@data-modul.com                                   EmailFirst-Class Mail
Data Science Automation                                                   375 Valley Brook Rd, Ste 106                                Canonsburg, PA 15317-3370                                                                                                                                                                                          First -Class Mail
Data Storage Inc                                                          7370 E 38th St                                              Tulsa, OK 74145-3224                                                                                                                                                                                               First -Class Mail
Data Translation Inc                                                      Attn: Barbara Berry                                         100 Locke Dr                                                         Marlboro, MA 01752                                                                   bberry@datx.com                                          EmailFirst-Class Mail
Datamax Software Group Inc                                                c/o Rfgen Software                                          1101 Investment Blvd, Ste 250                                        El Dorado Hills, CA 95762-5783                                                                                                                First -Class Mail
Datasite LLC                                                              Attn: Leif Simpson                                          The Baker Center                                                     733 S Marquette Ave, Ste 600             Minneapolis, MN 55402                       leif.simpson@datasite.com                                EmailFirst-Class Mail
Datasite LLC                                                              733 S Marquette, Ste 600                                    Minneapolis, MN 55402-2357
Datex Ohmeda Inc                                                          P.O. Box 641936                                             Pittsburgh, PA 15264-1936                                                                                                                                                                                          First -Class Mail
Dauntless Molds Inc                                                       c/o Dauntless Industries Inc                                806 N Grand Ave                                                      Covina, CA 91724-2418                                                                                                                         First -Class Mail
Daveer Electrical & Mechanical Contracting Inc                            2497 Bosna Ave                                              Pacific, MO 63069-5474                                                                                                                                                                                             First -Class Mail
David A Eckley                                                            Address Redacted                                                                                                                                                                                                                                                               First -Class Mail
David A Tate                                                              Address Redacted                                                                                                                                                                                                                                                               First -Class Mail
David B Allen                                                             Address Redacted                                                                                                                                                                                                                                                               First -Class Mail
David C Lopresti                                                          Address Redacted                                                                                                                                                                                                                                                               First -Class Mail
David Chapman                                                                                                                                                                                                                                                                                   David.Chapman@health.nsw.gov.au                          Email
David Defalco                                                             Address Redacted                                                                                                                                                                                                                                                               First -Class Mail
David Domash                                                              Address Redacted                                                                                                                                                                                                                                                               First -Class Mail
David Faughnder Engineering Inc                                           10636 Scripps Summit Ct, Ste 138                            San Diego, CA 92131-3979                                                                                                                                                                                           First -Class Mail
David Feller Kopman                                                       Address Redacted                                                                                                                                                                                                                                                               First -Class Mail
David Freeman                                                             Address Redacted                                                                                                                                                                                                                                                               First -Class Mail
David Kaufman                                                             Address Redacted                                                                                                                                                                                                      Email Address Redacted                                   EmailFirst-Class Mail
David Kim                                                                 Address Redacted                                                                                                                                                                                                                                                               First -Class Mail
David M Lewis Co LLC                                                      Aka DLC                                                     20750 Ventura Blvd, Ste 300                                          Woodland Hills, CA 91364-6236                                                                                                                 First -Class Mail
David M Lewis Company LLC                                                 20750 Ventura Blvd, Ste 300                                 Woodland Hills, CA 91364-6236                                                                                                                                                                                      First -Class Mail
David M. Lewis Company                                                    Attn: Stephanie Lopez                                       20750 Ventura Blvd, Ste 300                                          Woodland Hills, CA 91364                                                             slopez@dlcinc.com                                        EmailFirst-Class Mail
David M. Lewis Company, Llc (Dlc)                                         20750 Venture Boulevard                                     Suite 300                                                            Woodland Hills, CA 91364                                                                                                                      First -Class Mail
David Mahumapelo Rakotsoane                                               Address Redacted                                                                                                                                                                                                                                                               First -Class Mail
David R Barton                                                            Address Redacted                                                                                                                                                                                                      Email Address Redacted                                   EmailFirst-Class Mail
David Sinks                                                               Address Redacted                                                                                                                                                                                                                                                               First -Class Mail
David Sternberg                                                           Address Redacted                                                                                                                                                                                                                                                               First -Class Mail
David Vines                                                               Address Redacted                                                                                                                                                                                                                                                               First -Class Mail
David Youmans Md                                                          Address Redacted                                                                                                                                                                                                                                                               First -Class Mail
Davis-Standard LLC                                                        P.O. Box 347801                                             Pittsburgh, PA 15251-4801                                                                                                                                                                                          First -Class Mail
Davis-Standard LLC                                                        1 Extrusion Dr                                              Pawcatuck, CT 06379-2313                                                                                                                                                                                           First -Class Mail
Dawar Technologies                                                        dba Koe America                                             Attn: Keith Wright                                                   921 Ridge Ave                            Pittsburgh, PA 15212                        kwright@dawar.com                                        EmailFirst-Class Mail
Dawar Technologies                                                        dba Koe America                                             Attn: Keith Wright                                                   921 Ridge Ave                            Pittsburgh, PA 15212                                                                                 First -Class Mail
Dawar Technologies                                                        921 Ridge Ave.                                              Pittsburg, PA 15212                                                                                                                                                                                                First -Class Mail
Dawco Usa Inc.                                                            180 Park Ave                                                Florham Park, NJ 09732                                                                                                                                                                                             First -Class Mail
Dawoo Co Ltd                                                              Unit1107, 303, Daedong-Ro, Sasang-Gu                        S Korea                                                                                                                                                                                                            First -Class Mail
Dayton Children's Hospital                                                1 Children’S Plz                                            Dayton, OH 45404                                                                                                                                                                                                   First -Class Mail
Dayton Rogers                                                             8401 West 35W Service Drive                                 Minneapolis, MN 55449                                                                                                                                                                                              First -Class Mail
DB Communications Inc                                                     Attn: David Bartnick                                        32922 Brookside Cir                                                  Livonia, MI 48152-1419                                                                                                                        First -Class Mail
Db Roberts, Inc                                                           fka Arconix                                                 Attn: Maria Diaz                                                     880 Avenida Acaso, Ste 100               Camarillo, CA 93012                         mdiaz@dbroberts.com                                      EmailFirst-Class Mail
DB Schenker Inc                                                           3602 Kurtz St                                               San Diego, CA 92110-4432                                                                                                                                                                                           First -Class Mail
DC Health                                                                 2201 Shannon Pl SE                                          Washington, DC 20020                                                                                                                                                                                               First -Class Mail
Ddg Associates LLC                                                        Attn: Denise Ann Graham                                     517 Salem Woods Dr SE                                                Marietta, GA 30067-7161                                                                                                                       First -Class Mail
Ddh Enterprise Inc                                                        2220 Oak Ridge Way                                          Vista, CA 92081                                                                                                                                                                                                    First -Class Mail
De Anza Tool & Manufacturing                                              Attn: Mike Greenawalt                                       4010 Garner Rd                                                       Riverside, CA 92501                                                                  mike@deanzamanufacturing.com                             EmailFirst-Class Mail
De Anza Tool & Mfg Company                                                4010 Garner Road                                            Riverside, CA 92501                                                                                                                                                                                                First -Class Mail
De Lage Landen Financial Services                                         1111 Old Eagle School Rd                                    Dallas, TX 75267-6021                                                                                                                                                                                              First -Class Mail
De Lage Landen Financial Services Inc                                     1111 Old Eagle School Rd                                    Wayne, PA 19087-1453                                                                                                                                                                                               First -Class Mail
De Lage Landen Financial Services, Inc                                    Attn: Legal Dept                                            1111 Old Eagle School Rd                                             Wayne, PA 19087-1453                                                                                                                          First -Class Mail
Deaconess Hospital Inc                                                    600 Mary St                                                 Evansville, IN 47710-1658                                                                                                                                                                                          First -Class Mail
Deaconess Reg Hlthcare Svcs Il Inc                                        Dba Heartland Reg Med Ctr                                   3333 W Deyoung St                                                    Marion, IL 62959                                                                                                                              First -Class Mail
Dean Jiro Mikami                                                          Address Redacted                                                                                                                                                                                                                                                               First -Class Mail
Deans Service Work & Plumbing Repair                                      Attn: Aubrey Dean Oglesby                                   3441 Brookview Dr                                                    Loganville, GA 30052-6125                                                                                                                     First -Class Mail
Dearborn County Hospital                                                  600 Wilson Creek Rd                                         Lawrenceburg, IN 47025-2751                                                                                                                                                                                        First -Class Mail
DEAS srl                                                                  Via Dell'Industria 49                                       Catel Bolognese                                                      Ravenna, 48014                           Italy                                                                                                First -Class Mail
DEAS srl                                                                  Via Dell'Indusstria 49                                      48014 Castel Bolognese, RA                                           Italy                                                                                                                                         First -Class Mail
Debbie L Davis                                                            Address Redacted                                                                                                                                                                                                                                                               First -Class Mail
Debene S.A.                                                               Debene S.A.                                                 Antezana 70                                                          (1414) Ciudad Autonoma De Beuros Aries   Argentina                                                                                            First -Class Mail
Debene S.A.                                                               Antezana 70/72                                              Argentina                                                                                                                                                                                                          First -Class Mail
Debene SA                                                                 Mariano Antezana 70                                         Ciudad de Buenos Aires, C1414EEB                                     Argentina                                                                                                                                     First -Class Mail
Deborah Bonney Hartsfield                                                 Address Redacted                                                                                                                                                                                                                                                               First -Class Mail
Deborah Garcia                                                            Address Redacted                                                                                                                                                                                                                                                               First -Class Mail
Deborah Heart Lung Center                                                 200 Trenton Road                                            Brown Mills, NJ 08015                                                                                                                                                                                              First -Class Mail
Debra M Marshall                                                          Address Redacted                                                                                                                                                                                                                                                               First -Class Mail
Decatur County Hospital                                                   609' Medical Center Dr                                      Decatur, TX 76234                                                                                                                                                                                                  First -Class Mail
Decatur County Memorial Hosp                                              720 N Lincoln St                                            Greensburg, IN 47240                                                                                                                                                                                               First -Class Mail
Decent Medical Equipment Systems Pvt Ltd                                  519, Mr-5, Mahalaxmi Nagar, Indore, Madhya Pradesh 452010   India                                                                                                                                                                                                              First -Class Mail
Decent Medical Equipment Systems Pvt Ltd                                  54 M, Sanchar Nagar Extension                               Kanadia Road-452016                                                  India                                                                                                                                         First -Class Mail
Decent Medical Equipment Systems Pvt Ltd                                  519, MR-5, Mahalaxmi Nagar                                  Indore, Madhya Pradesh 4520010                                       India                                                                                                                                         First -Class Mail
Decisionpoint Systems                                                     8697 Research Drive                                         Irvine, CA 92618                                                                                                                                                                                                   First -Class Mail
Decisionpoint Systems Inc                                                 Dept LA 22710                                               Pasadena, CA 91185-2710                                                                                                                                                                                            First -Class Mail
Decisionpoint Systems Inc                                                 8697 Research Dr                                            Irvine, CA 92618-4204                                                                                                                                                                                              First -Class Mail
DecisionPoint Systems, Inc                                                Attn: Bill Butler                                           8697 Research                                                        Irvine, CA 92618                                                                     bbutler@decisionpt.com                                   EmailFirst-Class Mail
Deco Technology Group Inc                                                 1040 Segovia Cir                                            Placentia, CA 92870-7100                                                                                                                                                                                           First -Class Mail
Deel Inc                                                                  Attn: Luke Floyd                                            425 1st St, Ste 1502                                                 San Francisco, CA 94105                                                              luke@letsdeel.com                                        EmailFirst-Class Mail
Deel Inc                                                                  425 1st St                                                  San Francisco, CA 94105-4621                                                                                                                                                                                       First -Class Mail
Deel, Inc.                                                                425 1St                                                     San Francisco, CA 94107                                                                                                                                                                                            First -Class Mail
Defelsko Corp                                                             802 Proctor Ave                                             Ogdensburg, NY 13669-2205                                                                                                                                                                                          First -Class Mail
Defense Logistics Agcy Troop Spport                                       Attn: Shirley Herrera Dscp-G                                700 Robbins St, Bldg 36                                              Philadelphia, PA 19111-5036                                                                                                                   First -Class Mail
Definite Purpose Systems Inc                                              1135 Black Forest Dr                                        St Charles, MO 63301-0671                                                                                                                                                                                          First -Class Mail
Definitive Healthcare LLC                                                 Attn: Brain Gleavy                                          550 Cochituate Rd, Unit 4                                            Framingham, MA 01701                                                                 support@definitivehc.com                                 EmailFirst-Class Mail
Definitive Healthcare LLC                                                 550 Cochituate Rd, Unit 4                                   Framingham, MA 01701-4600                                                                                                                                                                                          First -Class Mail
Degasa S A De Cv                                                          C Prol Canal De Miramontes                                  3775 Colonia Exhacienda                                              San Juan De Dios                         Tlalpan                                                                                              First -Class Mail
Degasa S A DE CV                                                          Canal De Miramontes                                         No Ex-hacienda                                                       San Juan De Dios                         Tlalp Ciudad De Mexico, 14387    Mexico                                                              First -Class Mail
Degasa S A DE CV                                                          C Prol Canal De Miramontes                                  3775 Colonia Exhacienda                                              San Juan De Dios Tlalpan                 Mexico                                                                                               First -Class Mail
Dehaier Medical Technology Co., Ltd.                                      Dahaier Medical Technology Co., Ltd.                        2Nd Floor, Ancillary Building Of Lvchuang Huanbao Complex            No. 28 Zhenxing Road                     Changping District, Beijing      China                                                               First -Class Mail
Dekalb County Revenue Dept                                                Sales Tax Collections                                       111 Grand Ave SW, Ste 112                                            Ft Payne, AL 35967                                                                                                                            First -Class Mail
Dekra Certification Gmbh                                                  Handwerkstrasse 15                                          D-70565 Stuttgart                                                    Germany                                                                                                                                       First -Class Mail
Del Balso, Sandra                                                         Address Redacted                                                                                                                                                                                                                                                               First -Class Mail
Delano Proctor IV                                                         8356 Canterbury Ct                                          Chagrin Falls, OH 44023-4862                                                                                                                                                                                       First -Class Mail
Delaware Division of Revenue                                              P.O. Box 2044                                               Wilmington, DE 19899-2044                                                                                                                                                                                          First -Class Mail
Delaware Secretary of State                                               Div of Corporations                                         Franchise Tax                                                        P.O. Box 898                             Dover, DE 19903                                                                                      First -Class Mail
Delaware State Treasury                                                   820 Silver Lake Blvd, Ste 100                               Dover, DE 19904                                                                                                                                                                                                    First -Class Mail
Deli-Time LLC                                                             1501 E Woodfield Rd                                         Schaumburg, IL 60173-4907                                                                                                                                                                                          First -Class Mail
Deliverpm                                                                 3500 Heatherwood Lane                                       Durham, NC 27713                                                                                                                                                                                                   First -Class Mail
Dell                                                                      Attn: Tomas Kral                                            One Dell Way                                                         Round Rock, TX 78682                                                                                                                          First -Class Mail
Dell Marketing LP                                                         P.O. Box 676021                                             Dallas, TX 75267-6021                                                                                                                                     Geraldine.tunnell@dell.com                               EmailFirst-Class Mail
Dell Marketing LP                                                         P.O. Box 676021                                             Dallas, TX 75267-6021                                                                                                                                                                                              First -Class Mail
Dell Marketing, L.P.                                                      1 Dell Way, M/S Rr3-40                                      Round Rock, TX 78682                                                                                                                                                                                               First -Class Mail
Dell Mettawa LLC                                                          5215 Old Orchard Rd, Ste 760                                Skokie, IL 60077-1035                                                                                                                                                                                              First -Class Mail
Dell Realty Co                                                            5215 Old Orchard Rd                                         Skokie, IL 60077-1035                                                                                                                                     Jack.faintuch@dell.com                                   EmailFirst-Class Mail
Dell Realty Co                                                            5215 Old Orchard Rd                                         Skokie, IL 60077-1035                                                                                                                                                                                              First -Class Mail
Dell Realty Company                                                       5315 Old Orchard Road                                       Suite 760                                                            Skokie, IL 60077-1035                                                                                                                         First -Class Mail
Delmege Forsyth & Co, Ltd                                                 Number 101                                                  Vinayalankara Mawatha                                                Colombo                                  Sri Lanka                                                                                            First -Class Mail
Delmege Forsyth & Co., Ltd.                                               Delmege Forsyth & Co., Ltd.                                 101, Vinayalankara Mawatha                                           Colombo 10                               Sri Lanka                                                                                            First -Class Mail
Delmege Forsyth & Co., Ltd.                                               101 Vinayalankara Mawatha                                   Sri Lanka                                                                                                                                                                                                          First -Class Mail
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Deloitte & Touche LLP                                                     555 W 5th St, Ste 2700                                      Los Angeles, CA 90013-1024                                                                                                                                                                                         First -Class Mail
Deloitte Tax LLP                                                          P.O. Box 844736                                             Dallas, TX 75284-4736                                                                                                                                                                                              First -Class Mail
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Delta County Memorial Hospital                                            1501 E 3rd St                                               Delta, CO 81416-2815                                                                                                                                                                                               First -Class Mail
Delta Dental of New Jersey Inc                                            P.O. Box 36483                                              Newark, NJ 07188-6406                                                                                                                                                                                              First -Class Mail
Delta Dental of New Jersey Inc                                            1639 State Rt 10                                            Parsippany, NJ 07054-4506                                                                                                                                                                                          First -Class Mail
Delta Regional Medical Center                                             1400 E Union St                                             Greenville, MS 38703-3246                                                                                                                                                                                          First -Class Mail
Deltatec                                                                  Deltatec                                                    21 Place Pasteur                                                     Casablanca 20100                         Morocco                                                                                              First -Class Mail
Deltatec                                                                  21 Place Pasteur                                            Morocco                                                                                                                                                                                                            First -Class Mail
Deltatec                                                                  Rue Gilles Magnée 92/6                                      4430 Ans                                                             Belgium                                                                                                                                       First -Class Mail
Deltatec                                                                  21 Place Pasteur                                            Casablanca 20100                                                     Morocco                                                                                                                                       First -Class Mail
Demcon Macawi Respiratory Systems B.V.                                    Kanaaldijk 29                                               5683 Cr Best                                                         Netherlands                              Netherlands                                                                                          First -Class Mail
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Denise Wendel                                                             Address Redacted                                                                                                                                                                                                                                                               First -Class Mail
Dennis Jackson                                                            Address Redacted                                                                                                                                                                                                                                                               First -Class Mail
Dennis O'Donnell                                                                                                                                                                                                                                                                                dennis.odonnell@dlapiper.com                             Email
Dennis Potts Project                                                      c/o Management LLC                                          17802 Mitchell N                                                     Irvine, CA 92614-6004                                                                                                                         First -Class Mail
Dennis Potts Project Management Llc                                       17802 Mitchell North                                        Irvine, CA 92614                                                                                                                                                                                                   First -Class Mail
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Department Of Veterans Affairs                                            National Acquisition Center                                 P.O. Box 76, Bldg 37                                                 Hines, IL 60141                                                                                                                               First -Class Mail
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Dept of The Treasury                                                      Internal Revenue Service                                    Ogden, UT 84201                                                                                                                                                                                                    First -Class Mail
Dept of the Treasury - Internal Revenue Service                           Kansas City, MO 64999-0012                                                                                                                                                                                                                                                     First -Class Mail
Dept of Veterans Affairs                                                  National Acquisition Center                                 1st Ave 1 Block S Of                                                 Hines, IL 60141-7005                                                                                                                          First -Class Mail
Dept of Veterans Affairs                                                  National Acquisition Ctr                                    1st Ave, 1 Block S of                                                Hines, IL 60141-7005                                                                                                                          First -Class Mail
Deroyal Industries Inc                                                    c/o MSC 30316                                               P.O. Box 415000                                                      Nashville, TN 37241-5000                                                                                                                      First -Class Mail
DeRoyal Industries, Inc                                                   Attn: Heather Craig                                         200 DeBusk Ln                                                        Powell, TN 37849                                                                     hcraig@deroyal.com                                       EmailFirst-Class Mail
Deroyal Industries, Inc.                                                  200 Debusk Lane                                             Powell, TN 37849                                                                                                                                                                                                   First -Class Mail
Derrick Tsou                                                              Address Redacted                                                                                                                                                                                                                                                               First -Class Mail
Desarrollos Viva, S.A. De C.V.                                            Carretera Union 2701-I                                      Mexico                                                                                                                                                                                                             First -Class Mail
Descartes Systems (Usa) Llc                                               2030 Powers Ferry Road Se                                   Atlanta, GA 30339-5066                                                                                                                                                                                             First -Class Mail
Descartes Systems (USA) LLC                                               c/o Descartes Us Holdings Inc                               120 Randall Dr                                                       Waterloo, ON N2V 1C6                     Canada                                                                                               First -Class Mail
Descartes Systems USA LLC                                                 c/o Bank of America                                         P.O. Box 404037                                                      Atlanta, GA 30384-4037                                                                                                                        First -Class Mail
Deschutes County Tax Collector                                            P.O. Box 5277                                               Portland, OR 97208-5277                                                                                                                                                                                            First -Class Mail
Desco                                                                     Attn: Erica Rosas                                           3651 Walnut Ave                                                      Chino, CA 91710                                                                      erica.rosas@desco.com                                    EmailFirst-Class Mail
Desert Alarm, Inc                                                         Attn: Clark Kent                                            73168 Hwy 111, Ste 204                                               Palm Desert, CA 92260                                                                kent@desertalarm.com                                     EmailFirst-Class Mail
Desert Cities Catering                                                    Attn: Jaclyn                                                P.O. Box 671                                                         La Quinta, CA 92253                                                                                                                           First -Class Mail
Desert Promotional & Embroidery                                           Attn: Somu Desai                                            68-915 Vista Chino Ave, Ste 3                                        Cathedral City, CA 92234                                                             somu25@aol.com                                           EmailFirst-Class Mail
Desert Regional Medical Center Accounts Payable                           210 E Tachevah Dr                                           Palm Springs, CA 92262                                                                                                                                                                                             First -Class Mail
Desert Water Agency                                                       1200 S Gene Autry Trl                                       Palm Springs, CA 92264                                                                                                                                                                                             First -Class Mail
Design Concepts Inc                                                       5301 Buttonwood Dr                                          Madison, WI 53718-2110                                                                                                                                                                                             First -Class Mail
Design Imagine & Control LLC                                              c/o Deicon                                                  7525 Paragon Rd, Unit 751722                                         Dayton, OH 45475-5070                                                                                                                         First -Class Mail
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Designpoint Solutions Inc                                                 136 Central Ave                                             Clark, NJ 07066-1142                                                                                                                                                                                               First -Class Mail
Designs Unlimited Product Development Co                                  Attn: Tim Humphrey                                          4017 Via Encinas                                                     Cypress, CA 90630                                                                    timh@desigmsunlimited.net                                EmailFirst-Class Mail
Designsunlimited Product Dvlpmt Cor                                       6058 Pitcairn St                                            Cypress, CA 90630-5673                                                                                                                                                                                             First -Class Mail
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Detroit Medical Centers                                                   3663 Woodward Ave, Ste 200                                  Detroit, MI 48201-2400                                                                                                                                                                                             First -Class Mail
Deutsche Bank AG                                                          1 Columbus Cir                                              New York, NY 10019-8735                                                                                                                                                                                            First -Class Mail
Development Dimensions International, Inc. (Ddi)                          1225 Washington Pike                                        Bridgeville, PA 15017                                                                                                                                                                                              First -Class Mail
                                                                    Case 24-11217-BLS                                                                                          Doc 463                                      Filed 08/24/24                                                        Page 15 of 51

Development Dimensions Int'l, Inc                                 aka DDI                                                     1225 Washington Pike                                                  Bridgeville, PA 15017                                                                                                                                      First -Class Mail
Device Technologies Australia Pty Ltd                             Attn: Andrew Shaw                                           1 Garigal Rd                                                          Belrose, NSW 2085                                  Australia                                                          ashaw@device.com.au                  First -Class Mail
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Dewolff, Boberg and Associates, Inc                               1200 Park Central Dr , Ste 650                              Dallas, TX 75251                                                                                                                                                                                                                 First -Class Mail
Dewolff, Boberg And Associates, Inc.                              1200 Park Central Dr.                                       Suite 650                                                             Dallas, TX 75251                                                                                                                                           First -Class Mail
Dewpointer Repair                                                 Attn: Nick Karrick                                          308 E Jefferson St                                                    Auburn, IL 62615                                                                                                                                           First -Class Mail
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Dexter Research Inc                                               Attn: Bill Mcmillan                                         7300 Huron River Dr                                                   Dexter, MI 48130                                                                                                      bmcmillan@dexterresearch.com         EmailFirst-Class Mail
Dfair Acquisition LLC                                             400 Skokie Blvd, Ste 245                                    Northbrook, IL 60062-7932                                                                                                                                                                                                        First -Class Mail
Dfair Acquisition LLC                                             90 S 7th St, Ste 4300                                       Minneapolis, MN 55402-4108                                                                                                                                                                                                       First -Class Mail
DFAS Rome                                                         325 Brooks Rd                                               Rome, NY 13441                                                                                                                                                                                                                   First -Class Mail
DGSE Companies Inc                                                c/o Echo Environmental Holdings LLC                         2101 W Belt Line Rd                                                   Carrollton, TX 75006-6415                                                                                                                                  First -Class Mail
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DHL Danzas Air & Ocean NC                                         106 Kitty Hawk Dr                                           Morrisville, NC 27560                                                                                                                                                                                                            First -Class Mail
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DHL Global Forwarding                                             Lockbox 5195                                                P.O. Box 742802                                                       Los Angeles, CA 90074-2802                                                                                                                                 First -Class Mail
DHL Global Forwarding                                             3700 Redondo Beach Ave                                      Redondo Beach, CA 90278-1108                                                                                                                                                                                                     First -Class Mail
DHL Global Forwarding                                             5955 Core Rd, Ste 520                                       N Charleston, SC 29406-6085                                                                                                                                                                                                      First -Class Mail
Dhl Global Forwarding                                             File 30672                                                  P.O. Box 60000                                                        San Francisco, CA 94160                                                                                                                                    First -Class Mail
DHL Global Forwarding - Los Angeles                               4000 Redondo Beach Ave, Ste 103                             Redondo Beach, CA 90278-1109                                                                                                                                                                                                     First -Class Mail
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Diagnostic Group                                                  3406 College St                                             Beaumont, TX 77701                                                                                                                                                                                                               First -Class Mail
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Dial-X Automated Equipment                                        c/o Dial-X Acquisition Co                                   3903 S State Rd, Ste 9                                                Albion, IN 46701-9634                                                                                                                                      First -Class Mail
Diamond Fulfillment Services LLC                                  P.O. Box 1650                                               Milwaukee, WI 53201-1650                                                                                                                                                                                                         First -Class Mail
Diamond Fulfillment Solutions                                     900 Kimberly Dr                                             Carol Stream, IL 60188-1859                                                                                                                                                                                                      First -Class Mail
Diana G Merryman                                                  Address Redacted                                                                                                                                                                                                                                                                             First -Class Mail
Diana G Sandoval-Zetina                                           Address Redacted                                                                                                                                                                                                                                                                             First -Class Mail
Diana Krizskaya                                                   Address Redacted                                                                                                                                                                                                                                                                             First -Class Mail
Diana Zimmerman                                                   Address Redacted                                                                                                                                                                                                                                                                             First -Class Mail
Diane M Betti                                                     Address Redacted                                                                                                                                                                                                                                                                             First -Class Mail
Diane Mcelwain                                                    Address Redacted                                                                                                                                                                                                                                                                             First -Class Mail
Dickson Co                                                        930 S Westwood Ave                                          Addison, IL 60101                                                                                                                                                                                                                First -Class Mail
Dicom Express                                                     7000 Pullman St                                             Montreal, QC H4C 1E4                                                  Canada                                                                                                                                                     First -Class Mail
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Dielectrics, Inc.                                                 300 Burnett Road                                            Chicopee, MA 01020                                                                                                                                                                                                               First -Class Mail
Digi Key Co                                                       Attn: Ashley Langevin                                       701 Brooks Ave S                                                      Thief River Falls, MN 56701                                                                                           ashley.langevin@digikey.com          EmailFirst-Class Mail
Digicert                                                          2801 North Thanksgiving Way                                 Suite 500                                                             Lehi, UT 84043                                                                                                                                             First -Class Mail
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Digital River Inc                                                 Attn: Accounts Receivable                                   88278 Expedite Way                                                    Chicago, IL 60695-0003                                                                                                                                     First -Class Mail
Digital Staffing                                                  Dept 4130                                                   Carol Stream, IL 60122-0001                                                                                                                                                                                                      First -Class Mail
Digital Staffing                                                  1110 W Lake Cook Rd, Ste 140                                Buffalo Grove, IL 60089-1965                                                                                                                                                                                                     First -Class Mail
Digital Technologies                                              Attn: Ruben Fierro                                          11650 Mission Park Dr                                                 Rancho Cucamonga, CA 91730                                                                                            rfierro@digitaltechnolgies-inc.com   EmailFirst-Class Mail
Digital Technologies Inc                                          760 S Rochester, Ste E                                      Ontario, CA 91761-8181                                                                                                                                                                                                           First -Class Mail
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Diligent Corporation                                              1385 Broadway                                               19Th Floor                                                            New York, NY 10018                                                                                                                                         First -Class Mail
Dimensional Control Corp                                          1403 Industrial Rd                                          San Carlos, CA 94070-4109                                                                                                                                                                                                        First -Class Mail
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Dionisio Partida Hernandez                                        Address Redacted                                                                                                                                                                                                                                                                             First -Class Mail
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Dittmar & Indrenius                                               c/o Attorneys Ltd                                           Pohjoisesplanadi 25 A                                                 Helsinki, 00100                                    Finland                                                                                                 First -Class Mail
Diversified Educational Systems                                   188 Brooke Rd Bay #13                                       Winchester, VA 22603                                                                                                                                                                                                             First -Class Mail
Diversified Storage Systems                                       c/o Shuler Systems Inc                                      635 3rd Ave S                                                         Nashville, TN 37210-2011                                                                                                                                   First -Class Mail
Division Of Emergency Management                                  2702 Directors Row Center                                   Orlando, FL 32809                                                                                                                                                                                                                First -Class Mail
Divitex, LLC                                                      Attn: Ted R Humphrey                                        77 W Elmwood Dr, Ste 101                                              Dayton, OH 45459                                                                                                      te.humphrey@divitex.com              EmailFirst-Class Mail
Dj Witt Ventures Inc                                              c/o Mountain Tech Mfg                                       92 Talamine Ct                                                        Colorado Springs, CO 80907-5159                                                                                                                            First -Class Mail
DLC Inc                                                           20750 Venture Blvd, Ste 300                                 Woodland Hills, CA 91364-6236                                                                                                                                                               svigeland@dlcinc.com                 EmailFirst-Class Mail
DME Co LLC                                                        Lockbox 774867                                              4867 Solutions Ctr                                                    Chicago, IL 60677-4008                                                                                                                                     First -Class Mail
Dme Co LLC                                                        29111 Stephenson Hwy                                        Madison Heights, MI 48071-2330                                                                                                                                                                                                   First -Class Mail
DMG Mori USA                                                      Attn: Matt Tierney                                          5740 Warland Dr                                                       Cypress, CA 90630                                                                                                     mtierney@dmgmori-usa.com             EmailFirst-Class Mail
Dmg Mori USA                                                      Attn: Matt Tierney                                          5740 Warland Dr                                                       Cypress, CA 90630                                                                                                                                          First -Class Mail
Dms Holdings Inc                                                  c/o Mabis Healthcare                                        1931 Norman Dr                                                        Waukegan, IL 60085                                                                                                                                         First -Class Mail
Dnb Engineering, Inc.                                             5969 Robinson Ave.                                          Riverside, CA 92503                                                                                                                                                                                                              First -Class Mail
Docmatter Inc                                                     560 Davis St, Ste 150                                       San Francisco, CA 94111-1974                                                                                                                                                                                                     First -Class Mail
Docmatter Inc.                                                    560 Davis Street                                            Suite 150                                                             San Francisco, CA 94111                                                                                                                                    First -Class Mail
Docs                                                              1536 N 18th St                                              Sheboygan, WI 53081                                                                                                                                                                                                              First -Class Mail
Doctors Community Hospital                                        8118 Good Luck Road                                         Lanham, MD 20706                                                                                                                                                                                                                 First -Class Mail
Doctors Hospital Of Manteca                                       1205 E North St                                             Manteca, CA 95336-4900                                                                                                                                                                                                           First -Class Mail
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Dogwood Strategies                                                528 Ft. Williams Parkway                                    Alexandria, VA 22304                                                                                                                                                                                                             First -Class Mail
Dolbec Demenagement Et Transport                                  1010 Ave Godin                                              Quebec, QC G1M 2X9                                                    Canada                                                                                                                                                     First -Class Mail
Dome International, Inc.                                          24 15Th St, Ste 205                                         Brooklyn, NY 11215                                                                                                                                                                                                               First -Class Mail
Dome International, Inc.                                          Dome International, Inc.                                    24 15Th Street, Suite 205                                             Brooklyn, NY 11215                                                                                                                                         First -Class Mail
Domestic Linen Supply Co                                          Attn: Jason Campbell                                        30555 Northwestern Hwy, Ste 300                                       Farmington Hills, MI 48334                                                                                            jcampbell@domesticuniform.com        EmailFirst-Class Mail
Domino Amjet Inc                                                  1290 Lakeside Dr                                            Gurnee, IL 60031-2400                                                                                                                                                                                                            First -Class Mail
Domino Printing Mexico Sa De Cv                                   Calle Tres 47 Local F6 Colonia                              Naucalpan, 53370                                                      Mexico                                                                                                                                                     First -Class Mail
Donald J King                                                     Address Redacted                                                                                                                                                                                                                                                                             First -Class Mail
Dong Qu                                                           Address Redacted                                                                                                                                                                                                                                                                             First -Class Mail
Dong Zhi Feng Imp. & Exp. (Shenzhen) Co., Ltd.                    Room 609, 6/F, Block 4, Anhua Industrial Park,              Chegongmiao, Futian District, Shenzhen                                China                                                                                                                                                      First -Class Mail
Dongguan Heju Precision Electronic Co., Ltd.                      Peihouwei Group                                             Renzhou Village                                                       Shatian, Dongguan, Guangdong                                                                  523999 China                                                 First -Class Mail
Dongguan Lulson Plastic Co., Ltd.                                 2F, No. A21, Phase Iii, Plastic Raw Material Market         Zhangmutou Town                                                       Dongguan                                           China                                                                                                   First -Class Mail
Dongguan Wellmei Mold Mfg. Co., Ltd.                              Jinfu Road, Hexi Industrial District                        Jinxia, Changan, Dongguan, Guangdong                                  China                                                                                                                                                      First -Class Mail
Dongguan Wofoo Plastics Company Limited                           Qiaoli Industrial Park                                      Changping Town                                                        Dongguan, Guangdong Province                       China                                                                                                   First -Class Mail
Dongguan Worthy Hardware Co., Ltd.                                No. 47 Of Meryr Area                                        Dalang Dongguan                                                       523000 Guangdong                                   China                                                                                                   First -Class Mail
Dongguan Xiangqian Trading Co., Ltd.                              5Th Building, Huaqiang Road, Shang Sha He He                Industrial Zone, Chang'An Town, Dongguan,                             Guangdong                                          China                                                                                                   First -Class Mail
Dongguan Yangzhen Plastic Trading Co., Ltd.                       Dajingjiu Plastic Market                                    Changping Town                                                        Dongguan                                           China                                                                                                   First -Class Mail
Dongguan Youdie Software Co, Ltd                                  706, Bldg A, Fenghuang Zhigu                                No 50, Tiezi Rd                                                       Gongle Community, Xixiang St                       Bao'an District                                   Shenzhen China                                        First -Class Mail
Dongguan Youdie Software Co, Ltd                                  Rm 201D,201E,205, Fl 2, Bldg 11                             Chuangxin Technology Park                                             Songshanhu High-tech Industrial Development Zone   Dongguan, Guangdong, 523000                       China                                                 First -Class Mail
Dongguan Youdie Software Co., Ltd.                                706, Building A, Fenghuang Zhigu, No. 50,                   Tiezi Road, Gongle Community, Xixiang Street,                         Bao'An District, Shenzhen                          China                                                                                                   First -Class Mail
Dongguan Zhengxin Environmental Protection Technology Co., Ltd.   Room 301, No.15, Lane 5, Longyan East 2Nd Road,             Humen Town, Dongguan, Guangdong Province                              China                                                                                                                                                      First -Class Mail
Dongguan Zhenjie Silicon And Rubber Products Co., Ltd.            1St Floor, H Building                                       No. 75 International Fashion Industry Zone                            Gongye Road 10, Longyan Community                  Humen Town, Dongguan                              China                                                 First -Class Mail
Dongguan Zhenwei Trading Co., Ltd.                                Rm606, Block 1 Of Kaixuanguoji, No. 14 East Houjie Avenue   Houjie Town, Dongguan, Guangdong                                      China                                                                                                                                                      First -Class Mail
Donna L Skala                                                     Address Redacted                                                                                                                                                                                                                                                                             First -Class Mail
Donna Morris                                                      Address Redacted                                                                                                                                                                                                                                                                             First -Class Mail
Donovan Leroy Lefler                                              Address Redacted                                                                                                                                                                                                                                                                             First -Class Mail
Doran Specialties                                                 Attn: Julie Corry                                           22855 Savi Ranch Pkwy, Ste D                                          Yorba Linda, CA 92887                                                                                                 julie@doranspecialties.com           EmailFirst-Class Mail
Doran Specialties                                                 Attn: Julie Corry                                           22855 Savi Ranch Pkwy, Ste D                                          Yorba Linda, CA 92887                                                                                                                                      First -Class Mail
Doreen C Timm                                                     Address Redacted                                                                                                                                                                                                                                                                             First -Class Mail
Doris Parker                                                      Address Redacted                                                                                                                                                                                                                                                                             First -Class Mail
Dornbaum & Peregoy                                                744 Broad St, Ste 1700                                      Newark, NJ 07102                                                                                                                                                                                                                 First -Class Mail
Doubletree Irvine (Ca)                                            90 Pacifica                                                 Irvine, cA 92618                                                                                                                                                                                                                 First -Class Mail
Douglas D Blake                                                   Address Redacted                                                                                                                                                                                                                                                                             First -Class Mail
Douglas Domurat                                                   Address Redacted                                                                                                                                                                                                                                                                             First -Class Mail
Douglas Ray Cummings                                              Address Redacted                                                                                                                                                                                                                                                                             First -Class Mail
Dover Motion                                                      159 Swanson Rd                                              Boxborough, MA 01719-1316                                                                                                                                                                                                        First -Class Mail
Dovico Software Inc                                               236 St George St, Ste 210                                   Moncton, NB E1C 1W1                                                   Canada                                                                                                                                                     First -Class Mail
Down East Community Hospital                                      11 Hospital Dr                                              Machias, ME 04654                                                                                                                                                                                                                First -Class Mail
Downtime Solutions Inc                                            3802 Alderwood Dr                                           Imperial, MO 63052-2961                                                                                                                                                                                                          First -Class Mail
Dp Technology Corp                                                1150 Avenida Acaso                                          Camarillo, CA 93012-8719                                                                                                                                                                                                         First -Class Mail
Dpss Laser Inc                                                    2525 Walsh Ave                                              Santa Clara, CA 95051                                                                                                                                                                                                            First -Class Mail
Dqs Inc                                                           1500 Mcconnor Pkwy, Ste 400                                 Schaumburg, IL 60173-4330                                                                                                                                                                                                        First -Class Mail
Dqs Inc.                                                          1130 West Lake Cook Road                                    Suite 340                                                             Buffalo Grove, IL 60089                                                                                                                                    First -Class Mail
Dr Albert Rhoton Jr                                               Address Redacted                                                                                                                                                                                                                                                                             First -Class Mail
Dr Burton Healthcare Llc                                          3936 South Fields Street                                    Farmville, NC 27828                                                                                                                                                                                                              First -Class Mail
Dr Burton Healthcare Llc                                          Dr Burton Healthcare Llc                                    3936 South Fields Street                                              Farmville, NC 27828                                                                                                                                        First -Class Mail
Dr Burton Healthcare LLC                                          3936 S Fields St                                            Farmville, NC 27828                                                                                                                                                                                                              First -Class Mail
Dr Ewan Goligher Medicine                                         c/o Professional Corp                                       33 Woodlee Rd                                                         Toronto, ON M4E 2P9                                Canada                                                                                                  First -Class Mail
Dr Khaled El-Atawi                                                Address Redacted                                                                                                                                                                                                                                                                             First -Class Mail
Drager Medical GmbH                                               Attn: Sylvia Brandt-Jebens                                  Moislinger Allee 53-55                                                Lubeck, 23558                                      Germany                                                            sylvia.brandt-jebens@draeger.com     First -Class Mail
Dragerwerk Ag & Co. Kgaa                                          Moislinger Allee 53-55                                      2358 Lubeck                                                           Germany                                                                                                                                                    First -Class Mail
Dream Nashville                                                   210 4Th Avenue North                                        Nashville, TN 37219                                                                                                                                                                                                              First -Class Mail
Dreamfactory Software Inc                                         1999 S Bascom Ave, Ste 928                                  Campbell, CA 95008-2206                                                                                                                                                                                                          First -Class Mail
Dreamfactory Software, Inc.                                       1999 South Bascom Avenue                                    Campbell, CA 95008                                                                                                                                                                                                               First -Class Mail
Dreitler True LLC                                                 19 E Kossuth St                                             Columbus, OH 43206-2001                                                                                                                                                                                                          First -Class Mail
Driplan S.A.                                                      Driplan S.A.                                                Catalina De Boyle 3340 (Calle 28)                                     Gral San Martin, B1650Imd Buenos Aires             Argentina                                                                                               First -Class Mail
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Driplan SA                                                        Calle 28, Catalina de Boyle, Nº 3340                        General San Martín                                                    Buenos Aires, B1650IMD                             Argentina                                                                                               First -Class Mail
Driscoll Childrens Hospital                                       3533 S Alameda St                                           Corpus Christi, TX 78411                                                                                                                                                                                                         First -Class Mail
Drive Medical Design & Mfg Inc                                    c/o Medical Depot Inc                                       P.O. Box 798019                                                       St Louis, MO 63179-8000                                                                                                                                    First -Class Mail
Drivesavers Inc                                                   400 Bel Marin Keys Blvd                                     Novato, CA 94949-5642                                                                                                                                                                                                            First -Class Mail
Druckerei Hohl                                                    Schlobackerweg 14                                           Balgheim, 08 78582                                                    Germany                                                                                                                                                    First -Class Mail
Drymaxx Air Solutions LLC                                         14402 Haynes St, Ste 203                                    Van Nuys, CA 91401-1482                                                                                                                                                                                                          First -Class Mail
Dsi Renal                                                         c/o Dialysis Newco Inc                                      424 Church St, Ste 1900                                               Nashville, TN 37219-2387                                                                                                                                   First -Class Mail
dSpace Inc                                                        Attn: Dean Geroux                                           50131 Pontiac Trl                                                     Wixom, MI 48393                                                                                                       dgeroux@dspaceinc.com                EmailFirst-Class Mail
Dsv Air & Sea                                                     1300 N. Arlington Heights Rd.                               Itasca, IL 60143                                                                                                                                                                                                                 First -Class Mail
Dtj Executive Consultants Llc                                     510 Bluffestates                                            San Antonio, TX 78216                                                                                                                                                                                                            First -Class Mail
DTJ Executive Consultants LLC                                     510 Bluffestates                                            San Antonio, TX 78216-7929                                                                                                                                                                                                       First -Class Mail
Dubois Chemicals Inc                                              P.O. Box 713138                                             Cincinnati, OH 45271-3138                                                                                                                                                                                                        First -Class Mail
Dubois Chemicals Inc                                              3630 E Kemper Rd                                            Cincinnati, OH 45241-2011                                                                                                                                                                                                        First -Class Mail
Ducommun Labarge Technologies                                     2222 Pensar Drive                                           Appleton, WI 54911-8789                                                                                                                                                                                                          First -Class Mail
Dukane Ias LLC                                                    P.O. Box 639021                                             Cincinnati, OH 45263-9021                                                                                                                                                                                                        First -Class Mail
Dukane Ias LLC                                                    2900 Dukane Dr                                              St Charles, IL 60174-3348                                                                                                                                                                                                        First -Class Mail
Dukane Ias, Llc                                                   2900 Dukane Drive                                           St Charles, IL 60174                                                                                                                                                                                                             First -Class Mail
Duke Do                                                           Address Redacted                                                                                                                                                                                                                                                                             First -Class Mail
Duke Empirical Inc                                                2829 Mission St                                             Santa Cruz, CA 95060-5755                                                                                                                                                                                                        First -Class Mail
Duke Empirical, Inc.                                              2829 Mission St.                                            Santa Cruz, CA 95060                                                                                                                                                                                                             First -Class Mail
Duke Pediatric Critical Care                                      Attn: Ira M Cheifetz Md, Fccm, Faa                          Duke Children's Hospital                                              P.O. Box 3046                                      Durham, NC 27710-0001                                                                                   First -Class Mail
Duke Pediatric Critical Care                                      Duke Children's Hospital                                    Attn: Ira M Cheifetz Md, Fccm, Faa                                    P.O. Box 3046                                      Durham, NC 27710-0001                                                                                   First -Class Mail
Duke University                                                   2200 West Main Street                                       Suite 900                                                             Durham, NC 27705                                                                                                                                           First -Class Mail
Duke University                                                   200 Trent Dr Pulmonary Function Lab Rm 2785                 Durham, NC 27710                                                                                                                                                                                                                 First -Class Mail
Duke University                                                   P.O. Box 104132                                             Durham, NC 27708-0001                                                                                                                                                                                                            First -Class Mail
Duke University                                                   Attn: Nikeya Goodson Or Jo Hunt                             Dept of Anesthesiology                                                Durham, NC 27710-0001                                                                                                                                      First -Class Mail
Duke University                                                   200 Trent Dr                                                Durham, NC 27710-3037                                                                                                                                                                                                            First -Class Mail
Duke University Health System, Inc.                               C/O Procurement And Supply Chain Management                 200 Facilities Ctr                                                    Po Box 90172                                       Durham, NC 27708-0172                                                                                   First -Class Mail
Duke University Hospital                                          P.O. Box 751274                                             Charlotte, NC 28275-1274                                                                                                                                                                                                         First -Class Mail
Duke University Medical Center                                    Attn: Chitra Subramaniam                                    P.O. Box 3046                                                         Durham, NC 27710                                                                                                      chitra.subramaniam@duke.edu          EmailFirst-Class Mail
Duke University Medical Center                                    2200 W Main St, Ste 530                                     Durham, NC 27710-0001                                                                                                                                                                                                            First -Class Mail
Dulce C Moreno                                                    Address Redacted                                                                                                                                                                                                                                                                             First -Class Mail
Dun & Bradstreet Inc                                              P.O. Box 931197                                             Atlanta, GA 31193-1197                                                                                                                                                                                                           First -Class Mail
Duncan Industrial Solutions                                       Aka Duncan Equipment Co                                     P.O. Box 677491                                                       Dallas, TX 75267-7491                                                                                                                                      First -Class Mail
Duncan Industrial Solutions                                       c/o Duncan Equipment Co                                     3450 S Macarthur Blvd                                                 Oklahoma City, OK 73179-7638                                                                                                                               First -Class Mail
Dunes Surgical Hospital                                           600 N. Sioux Point Road                                     N Sioux City, SD 57049                                                                                                                                                                                                           First -Class Mail
Duo-Med Bidco Bv                                                  Wiebachstraat 25 A                                          6466Ng Kerkrade                                                       The Netherlands                                    Netherlands                                                                                             First -Class Mail
Duo-Med Bidco BV                                                  Landjuweel 16                                               3905 PG, Veenendaal                                                   Netherlands                                                                                                                                                First -Class Mail
Duo-Med Bidco BV                                                  Wiebachstraat 25 A                                          6466NG kerkrade                                                       The Netherlands                                                                                                                                            First -Class Mail
Duomed France Solutions                                           26 Rue De La Montee                                         Flaxlanden, 68720                                                     France                                                                                                                                                     First -Class Mail
Duomed France Solutions Sas                                       26 Rue De La Montée                                         France                                                                                                                                                                                                                           First -Class Mail
Duomed Netherlands Bv                                             Landjuweel 16 - 7, 3905 Pg Veenendaal,                      Netherlands                                                                                                                                                                                                                      First -Class Mail
Dupaco Inc                                                        4144 Avenida De La Plata                                    Oceanside, CA 92056-6038                                                                                                                                                                                                         First -Class Mail
DuPage Medical Group                                              1100 W 31st St                                              Downers Grove, IL 60515                                                                                                                                                                                                          First -Class Mail
Duplicacion Digital Sa De Cv                                      413 Rood Rd, Ste 5                                          Calexico, CA 92231-9765                                                                                                                                                                                                          First -Class Mail
Dupont Hospital                                                   2520 E Dupont Rd                                            Ft Wayne, IN 46825                                                                                                                                                                                                               First -Class Mail
Dura Tech Industries                                              Attn: Amy Bena                                              3216 Commerce St                                                      La Crosse, WI 54603                                                                                                   amy.bena@duratech.com                EmailFirst-Class Mail
Duralar Technologies                                              7260 N. Hartman Lane #132                                   Tucson, AZ 85743                                                                                                                                                                                                                 First -Class Mail
Duratech Industries Inc                                           3216 Commerce St                                            La Crosse, WI 54603-1710                                                                                                                                                                                                         First -Class Mail
Duval & Stachenfeld LLP                                           555 Madison Ave, 6th Fl                                     New York, NY 10022-3409                                                                                                                                                                                                          First -Class Mail
DVAPIC                                                            Attn: Ida Macri                                             1275 K St NW, Ste 1000                                                Washington, DC 20005-4006                                                                                             macrii@pahosp.com                    EmailFirst-Class Mail
DWC Mailing Systems                                               1201 S Boyle Ave                                            Los Angeles, CA 121873                                                                                                                                                                                                           First -Class Mail
Dwyer Instruments Inc                                             Attn: Sue Apple                                             102 Indiana Hwy 212                                                   Michigan City, IN 46360                                                                                               sapple@dwyermail.com                 EmailFirst-Class Mail
Dymax Co                                                          Attn: Steven Blazuk                                         318 Industrial Ln                                                     Torrington, CT 06790                                                                                                  sblazuk@dymax.com                    EmailFirst-Class Mail
Dymax Corp                                                        318 Industrial Ln                                           Torrington, CT 06790-7709                                                                                                                                                                                                        First -Class Mail
Dymax Corp                                                        51 Greenwoods Rd                                            Torrington, CT 06790                                                                                                                                                                                                             First -Class Mail
Dymax Corporation                                                 318 Industrial Ln.                                          Torrington, CT 06790                                                                                                                                                                                                             First -Class Mail
Dymaxium Inc                                                      145 Front St E, Ste 306                                     Toronto, ON M5A 1E3                                                   Canada                                                                                                                                                     First -Class Mail
Dynacoil Inc                                                      2000 Lewis Ave                                              Zion, IL 60099-1546                                                                                                                                                                                                              First -Class Mail
Dynamic Conveyor Corp                                             5980 Grand Haven Rd                                         Norton Shores, MI 49441-6012                                                                                                                                                                                                     First -Class Mail
Dynamic Spine Solutions LLC                                       12634 Fuller Ct                                             Fishers, IN 46038-1082                                                                                                                                                                                                           First -Class Mail
Dynamic Vending Inc                                               5433 Eagle Industrial Ct                                    Hazelwood, MO 63042-2308                                                                                                                                                                                                         First -Class Mail
Dynamics Inc.                                                     493 Nixon Road                                              Cheswick, PA 15024                                                                                                                                                                                                               First -Class Mail
Dynamsoft Corp                                                    668-1771 Robson St                                          Vancouver, BC V6G 1C9                                                 Canada                                                                                                                                                     First -Class Mail
Dynamsoft Corporation                                             1027 Davie St, Ste 602                                      Vancouver, BC V6E 4L2                                                 Canada                                                                                                                                                     First -Class Mail
Dysa Healthcare S.A.                                              Dysa Healthcare S.A.                                        Avda. Artigas #2698 Casi Venezuela                                    Asuncion (Cip: 1421)                               Paraguay                                                                                                First -Class Mail
Dysa Healthcare S.A.                                              Avda. Artigas #2698 Casi Venezuela                          Venezuela                                                                                                                                                                                                                        First -Class Mail
DYSA Healthcare SA                                                Avenida Santa Teresa y Avenida Aviadores                    del Chaco Edificio Paseo La Galería                                   Torre 2, Piso 26º Asunción,                        Central, 1827                                     Paraguay                                              First -Class Mail
                                                             Case 24-11217-BLS                                                                        Doc 463                      Filed 08/24/24                                          Page 16 of 51

Dzs Clinical Services                                      Princeton Park Corp Center                     1100 Cornwall Rd, Suite 211                       Monmouth Junction, NJ 08852                                                                                                                                                          First -Class Mail
DZS Clinical Services Inc                                  1100 Cornwall Rd, Ste 211                      Monmouth Junction, NJ 08852-2441                                                                                                                                                                                                       First -Class Mail
Dzs Clinical Services, Inc.                                1100 Cornwall Rd.                              Suite 211                                         Monmouth Junction, NJ 08852                                                                                                                                                          First -Class Mail
E & L Electric                                             Attn: Larry E Cross                            P.O. Box 837                                      Calimesa, CA 92320                                                                                                                                                                   First -Class Mail
E & S Precision Sheetmetal Mfg Inc                         Attn: Armando Cantera, Frank Egresits          19298 Mclane St                                   N Palm Springs, CA 92258                                                                                                                                                             First -Class Mail

E & S Precision Sheetmetal MFG, Inc                        Attn: Armando Cantera, Frank Egresits          19298 Mclane St                                   N Palm Springs, CA 92258                                                                               armando@esprecisionmfg.com; esprecision@gmail.com; frank@esprecisionmfg.com   EmailFirst-Class Mail
E Conn Co                                                  29990 Technology Dr, Ste 23                    Murrieta, CA 92563-2643                                                                                                                                                                                                                First -Class Mail
E For L Aim Public Company                                 E For L Aim Public Company                     184 Rajhaviti Rd.                                 Bangyeekhan, Bangplad                           Bangkok 10700                   Thailand                                                                                             First -Class Mail
E For L Aim Public Company Limited                         E For L Aim Public Company Limited             184 Rajhaviti Road                                Bangyeekhan, Bangplad                           Bangkok 10700                   Thailand                                                                                             First -Class Mail
E For L Aim Public Company Limited                         E For L Aim Public Company Limited             432 Rajhaviti Road                                Bangyeekhan, Bangplad                           Thailand                                                                                                                             First -Class Mail
E&S Precision Sheetmetal Mfg Inc.                          19298 Mclane St.                               N Palm Springs, CA 92258                                                                                                                                                                                                               First -Class Mail
E. Tamussino & Cia Ltda.                                   E. Tamussino & Cia Ltda.                       Rua Washington Luis, 97 And 95                    Loja B, Centro                                  Brazil                                                                                                                               First -Class Mail
Eagle Express Service                                      728 Spice Islands Dr                           Sparks, NV 89432                                                                                                                                                                                                                       First -Class Mail
Eagle Vision & Automation                                  Attn: Alan O'hern                              3910 Prospect, Unit M                             Yorba Linda, CA 92886                                                                                  alano@evautomation.com                                                        EmailFirst-Class Mail
Easi, Llc                                                  7301 Parkway Drive S.                          Hanover, MD 21076                                                                                                                                                                                                                      First -Class Mail
Easibuy Llc                                                1696 Georgetown Drive                          Suite J                                           Hudson, OH 44236                                                                                                                                                                     First -Class Mail
Easibuy LLC                                                1696 Georgetown Rd, Ste J                      Hudson, OH 44236-4094                                                                                                                                                                                                                  First -Class Mail
East Campus Surgery Center LLC                             c/o Community Surgery Center East              5445 E 16th St                                    Indianapolis, IN 46218-4869                                                                                                                                                          First -Class Mail
East print                                                 Attn: David, Patricia                          350 Willow St S                                   N Andover, MA 01845                                                                                    dbono@eastprint.com; pscott@eastprint.com                                     EmailFirst-Class Mail
Eastec Inc                                                 P.O. Box 1748                                  Belmar, NJ 07719-1748                                                                                                                                                                                                                  First -Class Mail
Eastec Inc                                                 39 State Route 35 S                            Neptune, NJ 07753-6776                                                                                                                                                                                                                 First -Class Mail
Eastek International Corporation                           1280 Rose Rd.                                  Lake Zurich, IL 60047                                                                                                                                                                                                                  First -Class Mail
Eastern Maine Medical Center                               489 State St                                   Bangor, ME 04401-6674                                                                                                                                                                                                                  First -Class Mail
Eastman Chemical Company                                   200 S. Wilcox Dr.                              Kingsport, TN 37660                                                                                                                                                                                                                    First -Class Mail
Eastprint, Inc.                                            350 Willow St. North                           Andover, MA 01845                                                                                                                                                                                                                      First -Class Mail
Easylink Services Int'l Corp                               c/o Xpedite Systems                            11720 Amber Park Dr                               Alpharetta, GA 30009-2275                                                                                                                                                            First -Class Mail
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Ebsco Information Services                                 c/o Ebsco Industries, Inc                      P.O. Box 204661                                   Dallas, TX 75320-4661                                                                                                                                                                First -Class Mail
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Eca Medical Instruments                                    1107 Tourmaline Dr                             Newbury Park, CA 91320-1208                                                                                                                                                                                                            First -Class Mail
Echo Global Logistics, Inc.                                600 W. Chicago Ave                             Suite 725                                         Chicago, IL 60654                                                                                                                                                                    First -Class Mail
Echo Inc                                                   2755 Columbus Rd                               Springfield, OH 45503-3203                                                                                                                                                                                                             First -Class Mail
Echo Therm                                                 2755 Columbus Rd                               Springfield, OH 45503-3203                                                                                                                                                                                                             First -Class Mail
Echo Therm Inc                                             2755 Columbus Rd                               Springfield, OH 45503-3203                                                                                                                                                                                                             First -Class Mail
Eclipse Enterprise Solutions, Llc                          42 Hampton Rd.                                 Exeter, NH 03833                                                                                                                                                                                                                       First -Class Mail
Ecobio                                                     3 B, 4.                                        Krs Helsinki Uusima 00100                         Finland                                                                                                                                                                              First -Class Mail
Ecobio Oy                                                  Malminrinne 3 B 4 Krd                          Helsinki, 00100                                   Finland                                                                                                                                                                              First -Class Mail
Ecolab                                                     26252 Network Pl                               Chicago, IL 60673-1262                                                                                                                                                                                                                 First -Class Mail
Ecolab Pest Elimination                                    370 Wabasha St N                               St Paul, MN 55102-1323                                                                                                                                                                                                                 First -Class Mail
Economedtrx Inc                                            Attn: Tom Bachman                              P.O. Box 1269                                     Lake Arrowhead, CA 92352                                                                               tbachman@me.com                                                               EmailFirst-Class Mail
Economedtrx Inc                                            P.O. Box 1269                                  Lake Arrowhead, CA 92352-1269                                                                                                                                                                                                          First -Class Mail
Economic Research Institute Inc                            aka ERI                                        P.O. Box 3524                                     Seattle, WA 98124-3524                                                                                                                                                               First -Class Mail
Economic Research Institute, Inc. (Eri)                    Po Box 3524                                    Seattle, WA 98124                                                                                                                                                                                                                      First -Class Mail
Economy Supply Inc                                         P.O. Box 70                                    Oilton, OK 74052-0070                                                                                                                                                                                                                  First -Class Mail
Ecova Inc                                                  1313 N Atlantic, Ste 5000                      Spokane, WA 99201                                                                                                                                                                                                                      First -Class Mail
Ecova, Inc. A/K/A Engie                                    1313 N. Atlantic Street                        Suite 5000                                        Spokane, WA 99201                                                                                                                                                                    First -Class Mail
ECU Worldwide USA                                          161 W Victoria St, Ste 200                     Long Beach, CA 90805-2169                                                                                                                                                                                                              First -Class Mail
Ed Manley                                                  26125 N Riverwoods Blvd                        Mettawa, IL 60045                                                                                                                                                                                                                      First -Class Mail
EDA Direct                                                 Attn: Joshua Bietz                             4701 Patrick Henry, Unit 1301                     Santa Clara, CA 95054                                                                                  josh@edadirect.com                                                            EmailFirst-Class Mail
Eddie Martin                                               Address Redacted                                                                                                                                                                                                                                                                      First -Class Mail
Edgar Delgado                                              Address Redacted                                                                                                                                                                                                                                                                      First -Class Mail
Edge Electronics                                           Attn: Goloria Wallace                          75 Orville Dr, Bldg 2                             Bohemia, NY 11716                                                                                      gwallace@edgeelectronics.com                                                  EmailFirst-Class Mail
Edge Electronics                                           75 Orville Dr.                                 Bohemia, NY 11716                                                                                                                                                                                                                      First -Class Mail
Edge Electronics                                           75 Orville Drive                               Bohemia, NY 11716                                                                                                                                                                                                                      First -Class Mail
Edgepark Medical Supplies                                  c/o Rgh Enterprises Inc                        1810 Summit Commerce Park                         Twinsburg, OH 44087-2300                                                                                                                                                             First -Class Mail
Edith Juarez                                               Address Redacted                                                                                                                                                                                                                                                                      First -Class Mail
Edm Supplies Inc                                           9806 Everest St                                Downey, CA 90242-3114                                                                                                                                                                                                                  First -Class Mail
Edmund Optics Inc                                          101 E Gloucester Pike                          Barrington, NJ 08007-1331                                                                                                                                                                                                              First -Class Mail
Edna Agbayani                                              Address Redacted                                                                                                                                                                                                                                                                      First -Class Mail
Educational Review Systems                                 3015 Shannon Lakes N, Ste 303                  Tallahassee, FL 32309                                                                                                                                                                                                                  First -Class Mail
Eduneering Holdings Inc                                    202 Carnegie Ctr, Ste 301                      Princeton, NJ 08540-6239                                                                                                                                                                                                               First -Class Mail
Edward A Rose                                              Address Redacted                                                                                                                                                                                                                                                                      First -Class Mail
Edward Harcourt                                                                                                                                                                                                                                                    clinical.technology@rch.org.au                                                Email
Edward Hines Jr Va Hospital                                5000 S 5th Ave                                 Hines, IL 60141-3030                                                                                                                                                                                                                   First -Class Mail
Edward Manley                                              Address Redacted                                                                                                                                                                                                                                                                      First -Class Mail
Edward Morin                                               Address Redacted                                                                                                                                                                                                                                                                      First -Class Mail
Edward Murashie                                            Address Redacted                                                                                                                                                                                                                                                                      First -Class Mail
Edward T Soriano Jr                                        Address Redacted                                                                                                                                                                                                                                                                      First -Class Mail
Edwards Air Force Base                                     32 Nightingale Rd Bldg. 5518 Medical Officer   Edwards, CA 93524                                                                                                                                                                                                                      First -Class Mail
Edwards Lifesciences B.V.                                  Verlengde Poolseweg 16                         4818 Cl Breda                                     The Netherlands                                 Netherlands                                                                                                                          First -Class Mail
Edwards Lifesciences LLC                                   1 Edwards Way                                  Irvine, CA 92614-5688                                                                                                                                                                                                                  First -Class Mail
Edwin Bills                                                Address Redacted                                                                                                                                                                                                                                                                      First -Class Mail
Eemus Manufacturing Corporation                            11111 Rush Street                              El Monte, CA 91733                                                                                                                                                                                                                     First -Class Mail
Egalax Empia Technology, Inc.                              11F., No.302, Rueiguang Rd.                    Neihu District                                    Taipei City Taiwan                              Taiwan                                                                                                                               First -Class Mail
Egyptian Import Office                                     Egyptian Import Office                         12 Eskanander Ei Akbar St.                        Alexandria                                      Egypt                                                                                                                                First -Class Mail
Egyptian Import Office                                     18 El-Rashedy St                               in front of Old El-Kasr El-Aini                   Garden City                                     Cairo                           Egypt                                                                                                First -Class Mail
Ehab G Daoud                                               c/o Ehab G Daoud Md Inc                        46-359 Haiku Rd A 7                               Kaneohe, HI 96744                                                                                                                                                                    First -Class Mail
E-Infochips Inc                                            2025 Gateway Pl, Ste 270                       San Jose, CA 95110-1007                                                                                                                                                                                                                First -Class Mail
EIS, Inc                                                   Attn: Melanie Neely                            1524 W 14th St, Ste 106                           Temple, AZ 85281                                                                                       moliver@eis-inc.com                                                           EmailFirst-Class Mail
Eis, Inc                                                   Attn: Melanie Neely                            File 98059                                        1524 W 14th St, Ste 106                         Temple, AZ 85281                                                                                                                     First -Class Mail
Eisenhower Medical Center                                  39000 Bob Hope Drive                           Rancho Mirage, CA 92270                                                                                                                                                                                                                First -Class Mail
Eisenhower Medical Center                                  39000 Bob Hope Dr                              Rancho Mirage, CA 92270                                                                                                                                                                                                                First -Class Mail
Eit Inc                                                    108 Carpenter Dr                               Sterling, VA 20164-4422                                                                                                                                                                                                                First -Class Mail
Ekey Medical Electronic Instrument Co., Ltd.               Ekey Medical Electronic Instrument Co, Ltd     Room 20B-2, No. 862, Xiahe Road                   Siming District, Xiamen City, Fujian Province   China                                                                                                                                First -Class Mail
EKOM spol s ro                                             Priemyselná 5031/18 Pieš?any                   Trnavský kraj, 921 01                             Slovakia                                                                                                                                                                             First -Class Mail
EKOM spol s ro                                             Priemyselna 5031/18, SK-21 01                  Company Number 3146519                            Piestany                                        Slovakia                                                                                                                             First -Class Mail
Ekom Spol. S R.O.                                          Priemyselna 5031/18, Sk-21 01                  Piestany, Slovakia                                Company Number 3146519                          Slovakia                                                                                                                             First -Class Mail
El Camino College                                          16007 Crenshaw Blvd                            Torrance, CA 90506                                                                                                                                                                                                                     First -Class Mail
El Paso Pulmonary Association                              9999 Kenworthy St Ste B                        El Paso, TX 79924                                                                                                                                                                                                                      First -Class Mail
El Paso Pulmonary Association                              2465 S Telshor Blvd                            Las Cruces, NM 88011                                                                                                                                                                                                                   First -Class Mail
Elara Systems Inc                                          2356 Gold Meadow Way, Ste 201                  Gold River, CA 95670-6329                                                                                                                                                                                                              First -Class Mail
Elara Systems, Inc.                                        2356 Gold Meadow Way                           Suite 201                                         Gold River, CA 95670                                                                                                                                                                 First -Class Mail
Elastomer Technik GmbH                                     Stöckleinsbrunnen 10 97762                     Hammelburg, Bayern                                Germany                                                                                                                                                                              First -Class Mail
Elastomer Technik GmbH                                     Am Stockleinsbrunnen 10                        Hammelburg 97762                                  Germany                                                                                                                                                                              First -Class Mail
El-Atawi, Khaled Md (United Arab Emirates)                 Corniche Rd,                                   United Arab Emirates                                                                                                                                                                                                                   First -Class Mail
Eldon James Corp                                           10325 E 47th Ave                               Denver, CO 80238-2880                                                                                                                                                                                                                  First -Class Mail
Electra-Med Corporation                                    5332 Hill-23 Dr.                               Flint, MI 48507                                                                                                                                                                                                                        First -Class Mail
Electric Motors & Control                                  c/o Imperial Electric Supply Co Inc            1004 E 2nd St                                     Calexico, CA 92231-3031                                                                                                                                                              First -Class Mail
Electroform Co Inc                                         11070 Raleigh Ct                               Machesney Park, IL 61115-1416                                                                                                                                                                                                          First -Class Mail
Electromedica Equipos Medicos S.A.S.                       Electromedica Equipos Medicos S.A.S.           Carrera 5 No. 27-66 Local                         102 Pereira, Risaralda                          Colombia                                                                                                                             First -Class Mail
Electromedica Equipos Medicos S.A.S.                       Cra. 5 Nº 27-66 Local 102 Pereira,             Colombia                                                                                                                                                                                                                               First -Class Mail
Electromedica Equipos Medicos SAS                          Carrera 9 2 17 Pereira                         Risaralda                                         Colombia                                                                                                                                                                             First -Class Mail
Electromedica Equipos Medicos SAS                          Carrera 5 No 27-66 Local                       102 Pereira, Risaralda                            Colombia                                                                                                                                                                             First -Class Mail
Electronic Interconect                                     Attn: Michael Bendera                          2700 W Touhy Ave                                  Elk Grove Village, IL 60007                                                                            michael.bendera@eiconnect.com                                                 EmailFirst-Class Mail
Electronica Profesional                                    Montes De Oca No 650                           Mexicali, BC 21397                                Mexico                                                                                                                                                                               First -Class Mail
Elegance Talent Agency                                     2763 State St                                  Carlsbad, CA 92008                                                                                                                                                                                                                     First -Class Mail
Element Fleet Corp                                         940 Ridgebrook Rd                              Sparks Glencoe, MD 21152-9390                                                                                                                                                                                                          First -Class Mail
Element Fleet Corporation                                  3 Capital Drive                                Eden Prairie, MN 55344                                                                                                                                                                                                                 First -Class Mail
Element Materials Technology                               6775 Ne Evergreen Parkway                      Suite 400                                         Hillsboro, OR 09712                                                                                                                                                                  First -Class Mail
Element Materials Technology                               c/o Portland Evergreen Inc                     6775 NE Evergreen Pkwy, Ste 400                   Hillsboro, OR 97124-6076                                                                                                                                                             First -Class Mail
Element Materials Technology                               27485 George Merrelli Dr                       Warren, MI 48092-2761                                                                                                                                                                                                                  First -Class Mail
Element Materials Technology                               15062 Bolsa Chica                              Huntington Beach, CA 92649                                                                                                                                                                                                             First -Class Mail
Element Materials Technology Portland - Evergreen Inc.     6775 Ne Evergreen Parkway                      Suite 400                                         Hillsboro, OR 97124                                                                                                                                                                  First -Class Mail
Element Materials Technology St. Paul Inc.                 662 Cromwell Ave.                              St Paul, MN 55114                                                                                                                                                                                                                      First -Class Mail
Element Metech Oy                                          Klovinpellontie 1-3, 02180 Espoo               Finland                                                                                                                                                                                                                                First -Class Mail
Element Vehicle Management Services, Llc                   940 Ridgebrook Road                            Sparks, MD 21152-9390                                                                                                                                                                                                                  First -Class Mail
Elena Diaz-Galan                                           Address Redacted                                                                                                                                                                                                                                                                      First -Class Mail
Elena Ltda                                                 Blvd General Artigas 1631                      Apartamento 1101 Montevideo                       Montevideo, 11200                               Uruguay                                                                                                                              First -Class Mail
Elena Ltda                                                 Av 18 de Julio 2088 Piso 5                     Montevideo, 11200                                 Uruguay                                                                                                                                                                              First -Class Mail
Elena Ltda.                                                Elena Ltda.                                    Av. 18 De Julio 2088 Piso 5                       Montevideo, 11200                               Uruguay                                                                                                                              First -Class Mail
Elevate Healthcare Marketing LLC                           930 Harvest Dr, Ste 430                        Blue Bell, PA 19422-1976                                                                                                                                                                                                               First -Class Mail
Elevate Healthcare Marketing, Llc                          930 Harvest Drive                              Suite 430                                         Blue Bell, PA 19422                                                                                                                                                                  First -Class Mail
Elfy's Inc                                                 2428 Pratt Ave                                 Hayward, CA 94544-7828                                                                                                                                                                                                                 First -Class Mail
Elfy's Inc.                                                2428 Pratt Ave                                 Hayward, CA 94544                                                                                                                                                                                                                      First -Class Mail
Eli Charles                                                Address Redacted                                                                                                                                                                                                                                                                      First -Class Mail
Eli Columbus                                                                                                                                                                                                                                                       eli.columbus@haynesboone.com                                                  Email
Elinco International                                       1525 Kings Highway East                        Fairfield, CT 06824                                                                                                                                                                                                                    First -Class Mail
Elite Coffee Svc                                           Attn: Gwen Gibb                                12 Hughes, Ste D -103                             Irvine, CA 92618                                                                                       gwen@elitecoffeeservice.com                                                   EmailFirst-Class Mail
Elite Technologies                                         aka Elite Inc                                  22855 Savi Ranch Pkwy, Ste B                      Yorba Linda, CA 92887-4627                                                                                                                                                           First -Class Mail
Elitemed Recruiting                                        8040 Southpark Ln                              Littleton, CO 80120-5640                                                                                                                                                                                                               First -Class Mail
Elizabeth Law Alarcon                                      Address Redacted                                                                                                                                                                                                                                                                      First -Class Mail
Elizabeth Lipp-Rawski                                      Address Redacted                                                                                                                                                                                                                                                                      First -Class Mail
Elizabeth Mladenik                                         Address Redacted                                                                                                                                                                                                                                                                      First -Class Mail
Elizabeth Ridge Richey                                     Address Redacted                                                                                                                                                                                                                                                                      First -Class Mail
Elizabeth Storby                                           Address Redacted                                                                                                                                                                                                                                                                      First -Class Mail
Elko County Treasurer                                      571 Idaho St, Ste 101                          Elko, NV 89801-3715                                                                                                                                                                                                                    First -Class Mail
Ellen T Brown                                              Address Redacted                                                                                                                                                                                                                                                                      First -Class Mail
Ellington Management                                       53 Forest Ave                                  Old Greenwich, CT 06870                                                                                                                                                                                                                First -Class Mail
Elliot Hospital NICU Education Committee                   Attn: Mary Burdett                             1 Elliot Way                                      Manchester, NH 03103                                                                                                                                                                 First -Class Mail
Ellis & Winters Llp                                        4131 Parklake Avenue                           Suite 400                                         Raleigh, NC 27612                                                                                                                                                                    First -Class Mail
Ellison Technologies, Inc                                  9890 Pioneer Blvd                              Santa Fe Springs, CA 90670                                                                                                                                                                                                             First -Class Mail
Elma Hans Schmidbauer Gmbh & Co Kg                         Kolpingstr 1-7                                 Singen, 08 78224                                  Germany                                                                                                                                                                              First -Class Mail
elnfoChips Pvt Ltd                                         c/o Arrow Electronics, Inc                     181 Metro Dr, Ste 170                             San Jose, CA 95110                                                                                                                                                                   First -Class Mail
elnfoChips Pvt Ltd                                         c/o Arrow Electronics, Inc                     11/A-B, Chandra Colony                            Behind Cargo Motors, Off C G Road               Ellsbridge, Ahmetabad 380006    India                                                                                                First -Class Mail
Elnfochips Pvt. Ltd (In Care Of Arrow Electronics, Inc.)   11/A-B, Chandra Colony                         Behind Cargo Motors, Off C. G. Road               Ellsbridge, Ahmetabad 380006                    India                           India                                                                                                First -Class Mail
Elsevier Inc                                               P.O. Box 9533                                  New York, NY 10087-4533                                                                                                                                                                                                                First -Class Mail
Elsevier Inc                                               360 Park Ave S                                 New York, NY 10010-1710                                                                                                                                                                                                                First -Class Mail
Elwood Corp- Getty Group                                   Attn: John Hoeppner                            2701 N Green Bay Rd                               Racine, WI 53404                                                                                       jh@elwood.com                                                                 EmailFirst-Class Mail
Elwood Corporation                                         195 W. Ryan Road                               Oak Creek, WI 53154                                                                                                                                                                                                                    First -Class Mail
Ema Design Automation                                      P.O. Box 23325                                 Rochester, NY 14692                                                                                                                                                                                                                    First -Class Mail
Embassy Freight Systems USA Inc                            440 William F McClellan Hwy, Ste 102           E Boston, MA 02128-1125                                                                                                                                                                                                                First -Class Mail
Embassy Suites Orlando                                     8100 Lake Street                               Orlando, FL 32836                                                                                                                                                                                                                      First -Class Mail
Emc Analytics Group LLC                                    11 Wayne Rd                                    Fair Lawn, NJ 07410-5513                                                                                                                                                                                                               First -Class Mail
Emco Empaques Corrugados Sa De Cv                          Camino A La Capilla #1255                      La Capilla, Cp                                    45640 Tlajomulco De Zuniga                      Zuniga                                                                                                                               First -Class Mail
Emco Empaques Corrugados SA de CV                          Miguel Aleman 1810                             Zapopan, Jalisco 45234                            Mexico                                                                                                                                                                               First -Class Mail
Emco Empaques Corrugados SA de CV                          Camino a la capilla 1255                       La Capilla, CP                                    45640 Tlajomulco de Zuniga                      Mexico                                                                                                                               First -Class Mail
Emcor/Crenlo                                               1600 4th Ave NW                                Rochester, MN 55901                                                                                                                                      kkramer@crenlo.com                                                            EmailFirst-Class Mail
Emd Millipore Corp                                         25760 Network Pl                               Chicago, IL 60673-1257                                                                                                                                                                                                                 First -Class Mail
Emd Millipore Corp                                         290 Concord Rd                                 Billerica, MA 01821-3405                                                                                                                                                                                                               First -Class Mail
Emd Millipore Corp                                         fka Biotest Diagnostics                        290 Concord Rd                                    Billerica, MA 01821-3405                                                                                                                                                             First -Class Mail
Eme Company                                                38054 Reulet Oaks Drive                        Prairieville, LA 70769                                                                                                                                                                                                                 First -Class Mail
Eme+R Sa De Cv                                             Paseo De Los Laureles #337                     Fracc. Los Pinos Ex Mexicali, Bc Cp 21230         Mexico                                                                                                                                                                               First -Class Mail
Emedco Inc                                                 Attn: Any Rep                                  20 Thompson Rd                                    Branford, CT 06405                                                                                     emed@emedco.com                                                               EmailFirst-Class Mail
Emergo Europe BV                                           Attn: Kailee Creamer                           Prinsessegracht 20 The                            The Hague, 2514 AP                              Netherlands                                            Kailee.creamer@ul.com                                                         First -Class Mail
Emergo Europe Bv                                           Prinsessegracht 20                             The Hague, 2514 AP                                Netherlands                                                                                                                                                                          First -Class Mail
Emergo Global Consulting Llc                               2500 Bee Cave Road                             Building I, Suite 300                             Austin, TX 78746                                                                                                                                                                     First -Class Mail
Emergo Global Consulting LLC                               2500 Bee Caves Rd, Ste 1, Ste 300              Austin, TX 78746-5888                                                                                                                                                                                                                  First -Class Mail
Emergo Global Representation LLC                           2500 Bee Cave Rd, Bldg 1                       Austin, TX 78746-0015                                                                                                                                                                                                                  First -Class Mail
Emerson Automation Solutions                               12 Ballard Way                                 Lawrence, MA 01843                                                                                                                                                                                                                     First -Class Mail
Emerson Hospital                                           133 Old Rd To 9 Acre Corner                    Concord, MA 01742                                                                                                                                                                                                                      First -Class Mail
Emerson Int'l Inc                                          370 Center Pointe Cir, Ste 1136                Altamonte Springs, FL 32701-3451                                                                                                                                                                                                       First -Class Mail
Emerson Surgery Center                                     633 Emerson Rd, Ste 140A                       Creve Coeur, MO 63141-6739                                                                                                                                                                                                             First -Class Mail
Emery Oleochemicals LLC                                    P.O. Box 643848                                Pittsburgh, PA 15264-3848                                                                                                                                                                                                              First -Class Mail
Emery Oleochemicals LLC                                    4900 Este Ave                                  Cincinnati, OH 45232-1491                                                                                                                                                                                                              First -Class Mail
EMI Plastics Equipment                                     P.O. Box 590                                   Jackson Center, OH 45334-0590                                                                                                                                                                                                          First -Class Mail
Emi Plastics Equipment                                     c/o Emi Corp                                   427 W Pike St                                     Jackson Center, OH 45334-9728                                                                                                                                                        First -Class Mail
Emily Jean Fox                                             Address Redacted                                                                                                                                                                                                                                                                      First -Class Mail
Emily Shears                                               Address Redacted                                                                                                                                                                                                                                                                      First -Class Mail
Emirates Technology Company Emitac Llc                     Emitac Healthcare Solutions                    Emitac Building, Suite 201                        P.O. Box 8391                                   Duba                            United Arab Emirates                                                                                 First -Class Mail
Emory Healthcare Inc                                       550 Peachtree St NE                            Atlanta, GA 30308-2247                                                                                                                                                                                                                 First -Class Mail
Emory Healthcare, Inc.                                     Emory Healthcare Privacy Officer               101 W. Ponce De Leon Avenue, Suite 242            Decatur, GA 30030                                                                                                                                                                    First -Class Mail
Emory Healthcare, Inc.                                     101 W. Ponce De Leon Avenue                    Suite 242                                         Decatur, GA 30030                                                                                                                                                                    First -Class Mail
Emory University School of Medicine                        1462 Clifton Rd NE, Ste 276                    Atlanta, GA 30322-1000                                                                                                                                                                                                                 First -Class Mail
Empire Freight Lines                                       10043 Wallisville Rd                           Houston, TX 77013                                                                                                                                                                                                                      First -Class Mail
Empire Scale Co                                            Attn: Paul Heath                               1801 Adams Ave                                    San Leandro, CA 94577                                                                                  pheath@empirescale.com                                                        EmailFirst-Class Mail
Empire Scale Co                                            P.O. Box 1922                                  San Leandro, CA 94577                                                                                                                                                                                                                  First -Class Mail
Empire Scale Co                                            1801 Adams Ave                                 San Leandro, CA 94577                                                                                                                                                                                                                  First -Class Mail
Emporium Partners Gmbh                                     Horskaetten 18                                 2639 Taastrup                                     Denmark                                                                                                                                                                              First -Class Mail
Emporium Partners GmbH                                     Stuttgart Mörikestrasse 58                     70794 Filderstadt                                 Germany                                                                                                                                                                              First -Class Mail
Empower Funds Inc                                          8515 E Orchard Rd                              Greenwood Village, CO 80111                                                                                                                                                                                                            First -Class Mail
Empresa Brasileira de Correios e Telegrafos                ST SBN Quadra 1 Bloco A                        Asa Norte DF                                      Brazil                                                                                                                                                                               First -Class Mail
Ems Consulting Group Inc                                   1039 Lighthouse Rd                             Carlsbad, CA 92011-3411                                                                                                                                                                                                                First -Class Mail
Enchant Tek Co. Ltd.                                       No. 210                                        Xiangzhong Road                                   Dongshan Township                               Yilan County, 26950             Taiwan                                                                                               First -Class Mail
Encompass Health Corporation                               Attn: Vp Of Operations Support                 9001 Liberty Parkway                              Birmingham, AL 35242                                                                                                                                                                 First -Class Mail
Encompass Medical Supplies Inc. Limited                    Unit 170, Houston Centre 63 Mody Road          Tsim Sha Tsui, Kowloon                            Hong Kong                                       Hong Kong                                                                                                                            First -Class Mail
Encompass Medical Supplies, Inc Ltd                        Tainan West Rd                                 Shanghai, 200131                                  China                                                                                                                                                                                First -Class Mail
Endeavor Health                                            4201 Winfield Road                             Warrenville, IL 60555                                                                                                                                                                                                                  First -Class Mail
Endicott Research Group Cert                               Attn: Ron Evancho                              2601 Wayne St                                     Endicott, NY 13760                                                                                     revancho@ergpower.com                                                         EmailFirst-Class Mail
Endoscopic Specialties Inc                                 35 Heather Ln                                  Wrentham, MA 02093                                                                                                                                                                                                                     First -Class Mail
Endurance American Specialty Insurance                     101 N Indelendence Mall E                      Philadelphia, PA 19106                                                                                                                                                                                                                 First -Class Mail
Engel Machinery Inc                                        3740 Board Rd                                  York, PA 17406                                                                                                                                                                                                                         First -Class Mail
Engie Insight Services Inc                                 fka Ecova Inc                                  1313 N Atlantic St, Ste 5000                      Spokane, WA 99201-2330                                                                                                                                                               First -Class Mail
Engineered Custom Lubricants                               Attn: Denise Fredricks                         3851 Exchange Ave                                 Aurora, IL 60504                                                                                       Denise.Fredricks@quakerhoughton.com                                           EmailFirst-Class Mail
Engineered Industrial Systems, Inc                         4190 Vinewood Ln N, Stes 111-562               Plymouth, MN 55442                                                                                                                                                                                                                     First -Class Mail
Engineered Industrial Systems, Inc                         339 10th St                                    Seal Beach, CA 90740                                                                                                                                                                                                                   First -Class Mail
Engineered Industrial Systems, Inc.                        339 10Th Street                                Seal Beach, CA 90740                                                                                                                                                                                                                   First -Class Mail
Engineered Plastic Products Corp                           Attn: Erik Mierzejewski                        2542 Pratt Blvd                                   Elk Grove Village, IL 60007                                                                            emierzejewski@lairdplastics.com                                               EmailFirst-Class Mail
Engineered Plastic Products Corporation                    1848 South Elmhurst Road                       Mt Prospect, IL 60056                                                                                                                                                                                                                  First -Class Mail
Engineered Printing Solutions                              201 Tennis Way                                 E Dorset, VT 05253-9649                                                                                                                                                                                                                First -Class Mail
Engineered Services Inc                                    c/o Powerlink Electric                         400 Corporate Woods Pkwy                          Vernon Hills, IL 60061-4117                                                                                                                                                          First -Class Mail
Engineering Office Rainer Kuhner                           Burgunderweg 32                                89171 Illerkircheberg                             Germany                                                                                                                                                                              First -Class Mail
Englert GMBH & Co Kg                                       Obere Gruben 11                                Wertheim-Bettingen, 97877                         Germany                                                                                                                                                                              First -Class Mail
Englert Gmbh & Co. Kg (Hoechberg)                          Obere Grüben 11 D-97877 Wertheim               Germany                                                                                                                                                                                                                                First -Class Mail
Englewood Hospital & Med Ctr                               350 Engle St Receiving                         Englewood, NJ 07631                                                                                                                                                                                                                    First -Class Mail
Enhanced Filter Co                                         Attn: Carl Karbum, Patty Marinoff              2159 Palma, Ste C                                 Ventura, CA 93003                                                                                      carl@enhancedfilter.com; Patty@enhancedfilter.com                             EmailFirst-Class Mail
Enhanced Filter Co                                         2159 Palma Dr, Ste C                           Ventura, CA 93003-8036                                                                                                                                                                                                                 First -Class Mail
Enhanced Filter Co                                         2159 Palma, Ste C                              Ventura, CA 93003-8036                                                                                                                                                                                                                 First -Class Mail
Enhanced Filter Company                                    1100 S State College Blvd                      Fullerton, CA 92831                                                                                                                                                                                                                    First -Class Mail
Enhanced Filter Company Inc.                               2159 Palma Drive                               Suite C                                           Ventura, CA 93003                                                                                                                                                                    First -Class Mail
Enhesa Inc                                                 1101 Wilson Blvd, Ste 1750                     Arlington, VA 22209-2277                                                                                                                                                                                                               First -Class Mail
Enhesa Inc.                                                1101 Wilson Blvd                               Suite 1750                                        Arlington, VA 22209                                                                                                                                                                  First -Class Mail
Enlabel Global Services Inc                                300 Commercial St                              Boston, MA 02109-1185                                                                                                                                                                                                                  First -Class Mail
Enlabel Global Services, Inc.                              300 Commercial St.                             Boston, MA 02109                                                                                                                                                                                                                       First -Class Mail
Enok Madrigal                                              Address Redacted                                                                                                                                                                                                                                                                      First -Class Mail
Enrique Escobar                                            Address Redacted                                                                                                                                                                                                                                                                      First -Class Mail
Ensinger Precision Engineering Ltd                         Wilfried Way                                   Tonyrefail, Mid Glamorgan                         Cf39 8 Jq                                       United Kingdom                                                                                                                       First -Class Mail
Entec Polymers LLC                                         P.O. Box 934329                                Atlanta, GA 31193-4329                                                                                                                                                                                                                 First -Class Mail
Enterprise                                                 Enterprise Holdings Inc.                       600 Corporate Park Drive                          St Louis, MO 63105                                                                                                                                                                   First -Class Mail
Enterprise Fleet Management, Inc.                          1200 Jorie Boulevard, Suite 300                Oak Brook, IL 60523                                                                                                                                                                                                                    First -Class Mail
Enterprise Holding Inc                                     c/o Commute With Enterprise                    P.O. Box 804935                                   Kansas City, MO 64180-4935                                                                                                                                                           First -Class Mail
Enterprise Rental                                          600 Corporate Park Dr                          St Louis, MO 63105                                                                                                                                                                                                                     First -Class Mail
Enterprise Security Inc                                    Attn: Teresa Merritt                           1060 N Tustin Ave                                 Anaheim, CA 92827                                                                                      teresa.merritt@entersecurity.com                                              EmailFirst-Class Mail
Enterprise Wire Products Inc                               5300 Port Blvd S                               Red Oak, GA 30272                                                                                                                                                                                                                      First -Class Mail
Entit Software Llc                                         1140 Enterprise Way                            Sunnyvale, CA 94089                                                                                                                                                                                                                    First -Class Mail
Entreprise Adecco, SA DE CV                                Attn: Ricardo Garcia                           Montecito 38 Fl 10 Office 28 Napoles              Mexico City, 03810                              Mexico                                                                                                                               First -Class Mail
Envexia Llc                                                7900 Rockville Rd                              Indianapolis, IN 46214                                                                                                                                                                                                                 First -Class Mail
                                                         Case 24-11217-BLS                                                                                  Doc 463                          Filed 08/24/24                                             Page 17 of 51

Enviro Falk Gmbh                                       Gutenbergstrabe 7                                            Westerburg Rheinland-Pfalz, 56457                 Germany                                                                                                                                               First -Class Mail
Envirolite LLC                                         421 Race St                                                  Coldwater, MI 49036-2119                                                                                                                                                                                First -Class Mail
Envirolite, Llc                                        421 Race St.                                                 Coldwater, MI 49036                                                                                                                                                                                     First -Class Mail
Envirolite, Llc                                        1700 W. Big Beaver Rd.                                       Suite 150                                         Michigan, MI 48084                                                                                                                                    First -Class Mail
Environment Associates Inc                             9604 Variel Ave                                              Chatsworth, CA 91311                                                                                                                                                                                    First -Class Mail
Environment Associates Inc                             2300 W Cape Cod Way                                          Santa Ana, CA 92703                                                                                                                                                                                     First -Class Mail
Environment Associates, Inc.                           1940 Hood St                                                 San Diego, CA 92110                                                                                                                                                                                     First -Class Mail
Environmental Associates Inc                           Attn: Tom Hernandez                                          9604 Variel Ave                                   Chatsworth, CA 91311                                                                                thernandez@eatest.com                             EmailFirst-Class Mail
Environmental Associates, Inc.                         9604 Variel Ave                                              Chatsworth, CA 91311                                                                                                                                                                                    First -Class Mail
Environmental Resource Management                      1701 Golf Road                                               Suite 1-700                                       Rolling Meadows, IL 60008                                                                                                                             First -Class Mail
Environmental Sensors                                  c/o Advanced Chemical Testing LLC                            101B Glades Rd                                    Boca Raton, FL 33432-1603                                                                                                                             First -Class Mail
Envista, Llc                                           11555 N. Meridian Street                                     Suite 300                                         Carmel, IN 46032                                                                                                                                      First -Class Mail
Eolys                                                  1 Villa Du Danube                                            Tassin La Demi-Lune Cedex, 69811                  France                                                                                                                                                First -Class Mail
Eolys Sas                                              2 Chemin Du Vieux Moulin                                     69160 Tassin-La-Demi-Lune                         France                                                                                                                                                First -Class Mail
Eolys Sas                                              2 Chemin Du Vieux Moulin                                     France                                                                                                                                                                                                  First -Class Mail
Epes Transport System, Llc                             3400 Edgefield Court                                         Greensboro, NC 27409                                                                                                                                                                                    First -Class Mail
Epi Use Labs LLC                                       2002 Summit Blvd, Ste 825                                    Atlanta, GA 30319-1498                                                                                                                                                                                  First -Class Mail
Epicor Software Corp                                   804 Las Cimas Pkwy                                           Austin, TX 78748                                                                                                                                                                                        First -Class Mail
Epiq Class Action & Claims Solutions, Inc              Dba Epiq Corporte Services Inc.                              10300 3.W. Allen Blvd.                            Beaverton, OR 97005                                                                                                                                   First -Class Mail
Epiq Systems Corporate Services                        c/o Eqiq Class Action & Claims                               10300 SW Allen Blvd                               Beaverton, OR 97005-4833                                                                                                                              First -Class Mail
Episcopal Health Services Inc                          327 Beach 19Th St South Shore Laboratory                     Far Rockaway, NY 11691                                                                                                                                                                                  First -Class Mail
Epi-Use Labs, Llc                                      2002 Summit Blvd.                                            Suite 825                                         Atlanta, GA 30319                                                                                                                                     First -Class Mail
Epm Pros Inc                                           c/o Bakerfield Solutions                                     550 Congressional Blvd                            Carmel, IN 46032-5644                                                                                                                                 First -Class Mail
Eppendorf North America Inc                            P.O. Box 13275                                               Newark, NJ 07101-3275                                                                                                                                                                                   First -Class Mail
Eppendorf North America Inc                            102 Motor Pkwy                                               Hauppauge, NY 11788-5147                                                                                                                                                                                First -Class Mail
EPS Co                                                 Attn: Yoshiko Honma                                          7F Lidabashi Mf 1-1 Shinogawamachi                Shinjyuku-Ku, Tokyo 162-0814         Japan                                                                                                            First -Class Mail
Epsilon Technologies Int'l                             15540 Rockfield Blvd, Ste C110                               Irvine, CA 92618-2760                                                                                                                                                                                   First -Class Mail
Epsilon Technologies Intl., Llc Dba Movitherm          15540 Rockfield Blvd                                         Suite C-110                                       Irvine, CA 92618                                                                                                                                      First -Class Mail
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Epstein Becker & Green, P.C.                           11622 El Camino Real                                         Suite 100                                         San Diego, CA 92130                                                                                                                                   First -Class Mail
EPTAM Plastics Ltd                                     Attn: Stacy Peverly                                          2 Riverside Business Park                         Northfield, NH 03276                                                                                SPEVERLY@EPTAM.COM                                EmailFirst-Class Mail
EPTAM Plastics Ltd                                     Attn: Stacy Peverly                                          2 Riverside Business Park                         Northfield, NH 03276                                                                                                                                  First -Class Mail
Equifax                                                1550 Peachtree St Nw                                         Atlanta, GA 30309                                                                                                                                                                                       First -Class Mail
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Equipment Source LLC                                   4033 S 104th St                                              Greenfield, WI 53228-2011                                                                                                                                                                               First -Class Mail
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Erasmus University Medical Center Rotterdam            Dr Molewaterplein 40                                         Rotterdam, 3000 CA                                Netherlands                                                                                                                                           First -Class Mail
Erasmus University Medical Center Rotterdam            Dr. Molewaterplein 40,                                       3015 Gd Rotterdam                                 The Netherlands                      Netherlands                                                                                                      First -Class Mail
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Ercon Associates                                       c/o Psc Industries Inc                                       667 S 31st St                                     Louisville, KY 40211-1469                                                                                                                             First -Class Mail
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Ergoline GmbH                                          Lindenstr. 5                                                 72475 Bitz                                        Germany                                                                                             natali.kosel@jk-group.net                         EmailFirst-Class Mail
Ergoline GmbH                                          Attn: Axel Bodmer                                            Lindenstrasse 5                                   Bitz, 72475                          Germany                                                                                                          First -Class Mail
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Eric Gerlach                                           Address Redacted                                                                                                                                                                                                                                                     First -Class Mail
Eric Hui Tseng Liu                                     Address Redacted                                                                                                                                                                                                                                                     First -Class Mail
Eric J Kroon                                           Address Redacted                                                                                                                                                                                                                                                     First -Class Mail
Eric Kriner                                            Address Redacted                                                                                                                                                                                                                                                     First -Class Mail
Eric Thomas                                            Address Redacted                                                                                                                                                                                                                                                     First -Class Mail
Erich Greer                                            Address Redacted                                                                                                                                                                                                                                                     First -Class Mail
Erich John Licht                                       Address Redacted                                                                                                                                                                                                                                                     First -Class Mail
Erich John Licht                                       Address Redacted                                                                                                                                                                                                                                                     First -Class Mail
Erik Crawford                                          Address Redacted                                                                                                                                                                                                                                                     First -Class Mail
Erik Folch                                             Address Redacted                                                                                                                                                                                                                                                     First -Class Mail
Erik Michael Crawford                                  Address Redacted                                                                                                                                                                                                                                                     First -Class Mail
Erik Vollebregt Legal Services Bv                      Piet Heinkade 183                                            Amsterdam, 1019 HC                                Netherlands                                                                                                                                           First -Class Mail
Eriks Seals And Plastics, Inc.                         1160 Mustang Drive                                           Suite 100                                         Dfw Airport                          Dallas, TX 75261                                                                                                 First -Class Mail
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Erik's West                                            Attn: Terri Osborne                                          2230 Lind Ave, SW Bldg C, Ste 110                 Renton, WA 98057                                                                                    pbhogal@eriksusa.com                              EmailFirst-Class Mail
Erin Salbilla                                          Address Redacted                                                                                                                                                                                                                                                     First -Class Mail
Erion Energy                                           Via Messina 38                                               Milano, MI 20154                                  Italy                                                                                                                                                 First -Class Mail
Erlab                                                  Attn: Brittany Langlois                                      388 Newburyport Tpke                              Rowley, MA 01969                                                                                                                                      First -Class Mail
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Erlanger Health System                                 975 E 3rd St                                                 Chattanooga, TN 37403                                                                                                                                                                                   First -Class Mail
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Erm Consulting & Engineering Inc                       1 Beacon St, 5th Fl                                          Boston, MA 02108-3195                                                                                                                                                                                   First -Class Mail
Erma Arena                                             Address Redacted                                                                                                                                                                                                                                                     First -Class Mail
Ernest Fraire                                          Address Redacted                                                                                                                                                                                                                                                     First -Class Mail
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Eryk Madrigal                                          Address Redacted                                                                                                                                                                                                                                                     First -Class Mail
Es Medical Consulting Inc                              Attn: Emily Schmidt                                          358 Greybluff Dr                                  St Louis, MO 63129-5080                                                                                                                               First -Class Mail
Esbee Dynamed Pvt Ltd                                  110 Sai Commercial                                           Centregowandi Station Rd                          Devnar, Mumbai                       MH 400088                                     India                                                              First -Class Mail
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Escatec Medical Sdn. Bhd.                              Industrial Zone 4                                            11900 Bayan Lepas                                 Penang, Malaysia                     Malaysia                                                                                                         First -Class Mail
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Essentra Components                                    c/o Essentra Plastics LLC                                    62946 Collection Center Dr                        Chicago, IL 60693-0629                                                                                                                                First -Class Mail
Essentra Plastics LLC                                  Essentra Component                                           3123 Station Rd                                   Erie, PA 16510-6501                                                                                                                                   First -Class Mail
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Ethan Laurence Schultz                                 Address Redacted                                                                                                                                                                                                                                                     First -Class Mail
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Eurofins EAG Materials, Science LLC                    Attn: Justin Perry                                           810 Kifer Rd                                      Sunnyvale, CA 94086                                                                                 Justinperry@eurofinseag.com                       EmailFirst-Class Mail
Eurofins Electrical                                    18705 Lake Dr E                                              Chanhassen, MN 55317-9384                                                                                                                                                                               First -Class Mail
Eurofins Electrical & Electronic Testing               914 W Patapsco Ave                                           Baltimore, MD 21230-3415                                                                                                                                                                                First -Class Mail
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Evan Cohen Md                                          Address Redacted                                                                                                                                                                                                                                                     First -Class Mail
Evan Seen Kwong Ong                                    Address Redacted                                                                                                                                                                                                                                                     First -Class Mail
Evan Tumminello                                        Address Redacted                                                                                                                                                                                                                                                     First -Class Mail
Evangelical Community Hospital                         1 Hospital Dr                                                Lewisburg, PA 17837-9350                                                                                                                                                                                First -Class Mail
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EVCO Plastics                                          121 Evco Cir                                                 De Forest, WI 53532-1900                                                                                                                                                                                First -Class Mail
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Everett Copeland                                       Address Redacted                                                                                                                                                                                                                                                     First -Class Mail
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Evergy Kansas South Inc                                aka Evergy                                                   P.O. Box 219089                                   Kansas City, MO 64121-9089                                                                                                                            First -Class Mail
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Evoqua Water Technologies LLC                          P.O. Box 360766                                              Pittsburgh, PA 15250-6766                                                                                                                                                                               First -Class Mail
Evoqua Water Technologies LLC                          602 Lambert Pointe Dr                                        Hazelwood, MO 63042-2699                                                                                                                                                                                First -Class Mail
Evoqua Water Technologies LLC                          3580 NW 56th St, Ste 102                                     Ft Lauderdale, FL 33309-2231                                                                                                                                                                            First -Class Mail
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Ewald Fleet Solutions, LLC                             1720 Paramount Dr                                            Waukesha, WI 53186                                                                                                                                                                                      First -Class Mail
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Excela Health                                          532 W. Pittsburgh Street                                     Greenburg, PA 15601                                                                                                                                                                                     First -Class Mail
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Executive Construction Inc                             235 Fencl Ln                                                 Hillside, IL 60162-2001                                                                                                                                                                                 First -Class Mail
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Exotech Medical Co, Ltd                                8502 Dakota Dr                                               Gaithersburg, MD 20877                                                                                                                                                                                  First -Class Mail
Exotech Medical Co, Ltd                                Room No 2A, 2nd Fl, Wangdek                                  1A Bldg, No 21 Soi Yasoop 1                       Viphavadi Rangsit Road               Kwang Jompon, Khet Jatujak, Bangkok 10900     Thailand                                                           First -Class Mail
Exotech Medical Co., Ltd.                              Room No. 2A, 2Nd Fl., Wangdek                                1A Building, No. 21 Soi Yasoop 1                  Viphavadi Rangsit Road               Kwang Jompon, Khet Jatujak, Bangkok, 10900    Thailand                                                           First -Class Mail
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Expeditors Int'l of Washington                         Attn: Gene Hixson                                            1015 3rd Ave, 12th Fl                             Seattle, WA 98104                                                                                   gene.hixson@expeditors.com                        EmailFirst-Class Mail
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Exter 6201 Global Distribution, LLC                    101 W Elm St, Ste 600                                        Conshohocken, PA 19428                                                                                                                                                                                  First -Class Mail
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Extrude Hone Abrasive Flow                             Attn: Will Melendez                                          8800 Somerse Blvd                                 Paramount, CA 90712                                                                                 will.melendez@extrudehoneafm.com                  EmailFirst-Class Mail
Extrusion Control & Supply Inc                         2325 Parklawn Dr, Ste C                                      Waukesha, WI 53186-2937                                                                                                                                                                                 First -Class Mail
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F&L Industrial Solutions Inc                           12550 Stowe Dr                                               Poway, CA 92064-6804                                                                                                                                                                                    First -Class Mail
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Fabe Custom Downstream Systems                         1930 52nd Ave                                                Lachine, QC H8T 2Y3                               Canada                                                                                                                                                First -Class Mail
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Faculty Science Ltd                                    54 Welbeck St                                                London, W1G 9XS                                   United Kingdom                                                                                                                                        First -Class Mail
Faculty Science Ltd.                                   54 Welbeck Street                                            London, W1G9Xs                                    United Kingdom                                                                                                                                        First -Class Mail
Fairchild Industries Product Co                        Attn: Bruce Dupont, David Baker                              3920 W Point Blvd                                 Winston-Salem, NC 27103                                                                             Bruce.dupont@rotork.com; David.Baker@rotork.com   EmailFirst-Class Mail
Fairview Health Services                               Fairview Health Services                                     400 Stinson Boulevard                             Minneapolis, MN 55413                                                                                                                                 First -Class Mail
Fairway Injection Molding Systems I                    20109 Paseo Del Prado                                        Walnut, CA 91789                                                                                                                                                                                        First -Class Mail
Fairway Promotions LLC                                 W175N11081 Stonewood Dr, Ste 202                             Germantown, WI 53022-4771                                                                                                                                                                               First -Class Mail
Faisal Najjar                                          Address Redacted                                                                                                                                                                                                                                                     First -Class Mail
Falcon Group Administrative Services (Uk) Limited      60 Sloane Ave                                                United Kingdom                                                                                                                                                                                          First -Class Mail
Famun Nabi                                             Address Redacted                                                                                                                                                                                                                                                     First -Class Mail
Fanping BU                                             20029 Northville Pl                                          Northville, MI 48167                                                                                                                                                                                    First -Class Mail
Fanuc America Co                                       Attn: Bob Brito                                              1800 Lake Wood Blvd                               Hoffman Estates, IL 121915                                                                          cnc.parts@fanucamerica.com                        EmailFirst-Class Mail
Farleygreene Ltd                                       Hatch Industrial Park, Unit 2                                Mapledurwell, HA RG24 7NG                         United Kingdom                                                                                                                                        First -Class Mail
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Fasico Pte Ltd                                         19 Cairnhill Circle                                          Singapore 229768                                  Singapore                                                                                                                                             First -Class Mail
Fastenal Co                                            P.O. Box 1286                                                Winona, MN 55987-1286                                                                                                                                                                                   First -Class Mail
Fastenal Co                                            8410 Manchester Rd                                           St Louis, MO 63144-2802                                                                                                                                                                                 First -Class Mail
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Fastenal Mexico S De Rl De Cv                          Libramiento Noreste Km 33.5                                  Escobedo, NL 66052                                Mexico                                                                                                                                                First -Class Mail
Fastening Systems                                      Attn: Geri Corrales                                          2288 Valley Blvd                                  Pomona, CA 91768                                                                                    gcorrales@fasteningsystems.com                    EmailFirst-Class Mail
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Fastus Ehf                                             7 Höfðabakki                                                 Iceland                                                                                                                                                                                                 First -Class Mail
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Fastus ehf                                             Síðumúla 16                                                  Reykjavik                                         Hofudhborgarsvaedhi 108              Iceland                                                                                                          First -Class Mail
Faulhaber Micromo Llc                                  14881 Evergreen Avenue                                       Clearwater, FL 33762                                                                                                                                                                                    First -Class Mail
Fax Cargo                                              5761 W Imperial Hwy                                          Los Angeles, CA 90045-6321                                                                                                                                                                              First -Class Mail
FBK Medical Tubing                                     Attn: Michelle Izaguirre                                     2525 SW 32nd Ave                                  Pembroke Park, FL 33023                                                                             mizaguirre@excelon.com                            EmailFirst-Class Mail
FCO Con                                                Attn: Francisco Munguia                                      10561 Perrin Dr                                   Garden Grove, CA 92840                                                                                                                                First -Class Mail
FDA                                                    Attn: Ileana Lund                                            P.O. Box 979109                                   St Louis, MO 63197                                                                                  Ileana.lund@fda.hhs.gov                           EmailFirst-Class Mail
Fed Ex National Ltl, Inc                               333 E Lemon St                                               Lakeland, FL 33804                                                                                                                                                                                      First -Class Mail
                                                           Case 24-11217-BLS                                                                                            Doc 463                           Filed 08/24/24                         Page 18 of 51

Fedbid                                                   8500 Leesburg Pike, Ste 602                                   Vienna, VA 22182-2498                                                                                                                                                         First -Class Mail
Federal Express                                          P.O. Box 1140                                                 Memphis, TN 38101                                                                                                                                                             First -Class Mail
Federal Express                                          P.O. Box 7221                                                 Pasadena, CA 91109-7321                                                                                                                                                       First -Class Mail
Federal Express Corp                                     c/o Fedex Freight East                                        4103 Collection Ctr Dr                                     Chicago, IL 60693-0001                                                                                             First -Class Mail
Federal Express Corp                                     P.O. Box 1140 Dept A                                          Memphis, TN 38101                                                                                                                                                             First -Class Mail
Federal Express Corp                                     P.O. Box 94515                                                Palatine, IL 60094-4515                                                                                                                                                       First -Class Mail
Federal Express Corp                                     P.O. Box 660481                                               Dallas, TX 75266-0481                                                                                                                                                         First -Class Mail
Federal Express Custom Critical                          P.O. Box 371627                                               Pittsburgh, PA 15251-7627                                                                                                                                                     First -Class Mail
Federal Express Freight                                  Dept La                                                       P.O. Box 21415                                             Pasadena, CA 91185-0001                                                                                            First -Class Mail
Federal Express Ground Inc                               P.O. Box 7221                                                 Pasadena, CA 91109-7321                                                                                                                                                       First -Class Mail
Federal Ins Co                                           15 Mountain View R                                            Warren, NJ 07061-1615                                                                                                                                                         First -Class Mail
Fedex Corporate Services, Inc.                           942 S Shady Grove Rd                                          Memphis, TN 38120                                                                                                                                                             First -Class Mail
Fedex Express UK                                         c/o Transportations Ltd                                       Express House Holly Lane Atherstone                        Atherstrone, WA CV9 2RY           United Kingdom                                                                   First -Class Mail
Fedex Express Uk Transportation Limited                  Express House                                                 Holly Lane                                                 Atherstone, Cv9 2Ry               United Kingdom                                                                   First -Class Mail
Fedex Freight Inc                                        Dept CH                                                       P.O. Box 10306                                             Palatine, IL 60055-0306                                                                                            First -Class Mail
Fedex Freight Inc                                        2200 Forward Dr                                               Harrison, AR 72601-2004                                                                                                                                                       First -Class Mail
Fedex Ground Package System                              Attn: Legal Dept                                              P.O. Box 94515                                             Palatine, IL 60094-4515                                                                                            First -Class Mail
Fedex Ground Package System Inc                          P.O. Box 94515                                                Palatine, IL 60094-4515                                                                                                                                                       First -Class Mail
Fedex Ground Package System Inc                          Attn: Legal Dept                                              P.O. Box 94515                                             Palatine, IL 60094-4515                                                                                            First -Class Mail
FEDEX Ground Package System, Inc                         Attn: Becca Panella                                           P.O. Box 94515                                             Palatine, IL 60094                                                           Rebecca.panella@fedex.com             EmailFirst-Class Mail
Fedex Office & Print Svcs, Inc                           Attn: Christopher Andrade                                     13155 Noel Rd, Ste 1600                                    Dallas, TX 75240                                                             christopher.andrade@fedex.com         EmailFirst-Class Mail
Felipe Urdaneta                                          Address Redacted                                                                                                                                                                                                                            First -Class Mail
Felix William Tabor                                      Address Redacted                                                                                                                                                                                                                            First -Class Mail
Feller Gmbh                                              Warndorferstrabe 3                                            2525Gunselsdorf                                            Austria                           Austria                                                                          First -Class Mail
Feller GmbH                                              esterbrogade 74                                               1620 København V                                           Denmark                                                                                                            First -Class Mail
Feller GmbH                                              Warndorferstrabe 3                                            2525Gunselsdorf                                            Austria                                                                                                            First -Class Mail
Feller LLC                                               Attn: Stephen Hyter                                           9100 Industrial Blvd                                       Leland, NC 90815                                                             stephen@feller-us.com                 EmailFirst-Class Mail
Ferco Group Inc                                          5498 Vine St                                                  Chino, CA 91710-5247                                                                                                                                                          First -Class Mail
Fermatex Vascular Technologies                           1746 Route 34                                                 Wall Township, NJ 07727-3937                                                                                                                                                  First -Class Mail
Fermish Clinical Technologies                            c/o Private Ltd                                               A21 Sector 65                                              Noida, 24 201301                  India                                                                            First -Class Mail
Fermish Clinical Technologies Private Limited            20 Community Centre                                           New Friends Colony                                         New Delhi 110065                  India                                                                            First -Class Mail
Fern Alexander                                           Address Redacted                                                                                                                                                                                                                            First -Class Mail
Fernando Hauaji Chacur                                   Address Redacted                                                                                                                                                                                                                            First -Class Mail
Fernando Xavier Moralez                                  Address Redacted                                                                                                                                                                                                                            First -Class Mail
Fernelius Simon Pllc                                     Lyondell Basell Tower                                         1221 Mckinnney Street                                      Suite 3200                        Houston, TX 77010-2011                                                           First -Class Mail
Fernelius Simon PLLC                                     1221 McKinney, Ste 3200                                       Houston, TX 77010-2033                                                                                                                                                        First -Class Mail
Fesco Adecco Human Resources Service Shenzhen Co., Ltd   12F, Block D, Building 3, Phase I                             Tian’An Cloud Park Xuegang Road No. 2018, Bantian Street   Longgang District, Shenzhen       China                                                                            First -Class Mail
Festo Co                                                 395 Moreland Rd                                               Hauppauge, NY 11788                                                                                                                                                           First -Class Mail
Festo Corporation                                        1377 Motor Parkway                                            Suite 310                                                  Islandia, NY 11749                                                                                                 First -Class Mail
Fgh Systems                                              10 Prospect Place                                             Denville, NJ 07834                                                                                                                                                            First -Class Mail
Fgh Systems Inc                                          10 Prospect Pl                                                Denville, NJ 07834-2632                                                                                                                                                       First -Class Mail
Fiat Chrysler Automobiles Aka Fca Us Llc                 P.O. Box 469                                                  Clinton, MI 49236                                                                                                                                                             First -Class Mail
Fibervisions Inc. (Esfv)                                 7101 Alcoy Road                                               Covington, GA 30014                                                                                                                                                           First -Class Mail
Fidel R Arellano                                         Address Redacted                                                                                                                                                                                                                            First -Class Mail
Fidelity                                                 100 Magellan Way, Mailzone Ke22                               Covington, KY 41015                                                                                                                                                           First -Class Mail
Fidelity Investments Instituional                        c/o Operations Co Inc                                         200 Seaport Blvd                                           Boston, MA 02210-2031                                                                                              First -Class Mail
Fidelity Workplace Investing LLC                         c/o FMR LLC                                                   P.O. Box 73307                                             Chicago, IL 60673-7307                                                                                             First -Class Mail
FiGo-Tec GmbH                                            Attn: Daniel Kittel                                           Hindelanderstrabe 35                                       Sonthofen, 87527                  Germany                                    dkittel@figotec.de                    First -Class Mail
Filedo Medical Snc Di Lanzone                            Filedo Medical Snc Di Lanzone                                 Via Malta, 4A/10, 16121 Genova Ge                          Italy                             Italy                                                                            First -Class Mail
File-Fax Inc                                             13135 Danielson Rd, Ste 212                                   Poway, CA 92064                                                                                                                                                               First -Class Mail
Fillmore County Hospital                                 1900 F St                                                     Geneva, NE 68361                                                                                                                                                              First -Class Mail
Fimmtech Inc                                             2097 Courage St                                               Vista, CA 92081-7026                                                                                                                                                          First -Class Mail
Findest BV                                               Hekelveld 8-10                                                1012 SN Amsterdam                                          Netherlands                                                                                                        First -Class Mail
Findest BV                                               Hekelveld 8-10                                                1012 SN Amsterdam                                          Netherlands                                                                                                        First -Class Mail
Fineline Electric Inc                                    1183 N Patt St                                                Anaheim, CA 92801                                                                                                                                                             First -Class Mail
Fineline Electric Inc                                    867 N Commerce St                                             Orange, CA 92867                                                                                                                                                              First -Class Mail
Fineline Prototyping Inc                                 9310 Focal Pt, Ste 100                                        Raleigh, NC 27617-8754                                                                                                                                                        First -Class Mail
Finquery LLC                                             3 Ravinia Dr NE, Ste P7                                       Atlanta, GA 30346-2176                                                                                                                                                        First -Class Mail
Finsa Global Equity Iv, S. De R.L. De C.V.               Av. Ricardo Margain 444                                       Torre Sur, Piso 12                                         Valle Del Campestre 66265         San Pedro Garza Garcia        Nuevo Leon                                         First -Class Mail
Fire Sprinkler Inspections Inc                           Attn: Fred Ortiz                                              419 Main St, Ste 470                                       Huntington Beach, CA 92648                                                   fortiz@firesprinklerinspections.net   EmailFirst-Class Mail
Firetek LLC                                              188 Larchmont Ln                                              Bloomingdale, IL 60108-1412                                                                                                                                                   First -Class Mail
First American Commercial Bancorp Inc                    1821 Hillandale Rd Ste 25 A Duke Asthma Allergy Airway Ctr    Durham, NC 27705                                                                                                                                                              First -Class Mail
First Choice Cooperative                                 3200 Troup Hwy, Ste 250                                       Tyler, TX 75701-8302                                                                                                                                                          First -Class Mail
First Choice Cooperative                                 P.O. Box 1475                                                 Tyler, TX 75710-1475                                                                                                                                                          First -Class Mail
First Choice Medical Supply, Llc                         Po Box 2538                                                   Ridgeland, MS 39158                                                                                                                                                           First -Class Mail
First Citizens Bank And Trust Company                    1821 Hillandale Road Ste 25A Duke Asthma Allergy And Airway   Durham, NC 27705                                                                                                                                                              First -Class Mail
First Citizens Bank And Trust Company                    3480 Wake Porest Road Ste414 Consultants                      Raleigh, NC 27609                                                                                                                                                             First -Class Mail
First Coast Neonatal Symposium                           11250 Old St Augustine Rd, Ste 15335                          Jacksonville, FL 32257                                                                                                                                                        First -Class Mail
First Eagle Alternative Credit LLC                       1345 Ave of the Americas                                      New York, NY 10105                                                                                                                                                            First -Class Mail
First Hill Surgery Center                                P.O. Box 14970                                                Seattle, WA 98114-3125                                                                                                                                                        First -Class Mail
First Nation Group LLC                                   4566 Hwy 20 E                                                 Niceville, FL 32578-8838                                                                                                                                                      First -Class Mail
First Nation Group, Llc                                  Fka Jordan Reses Supply Company                               4566 E. Highway 20, Suite 208                              Niceville, FL 32578                                                                                                First -Class Mail
First Sensor                                             5700 Corsa Ave                                                #105                                                       Westlake Village, CA 91362                                                                                         First -Class Mail
First Sensor Ag                                          Peter-Behrens-Str. 15 12459 Berlin                            Germany                                                                                                                                                                       First -Class Mail
Fisaga Technologies                                      Attn: JR Schenk                                               436 Alviso Way                                             Encinitas, CA 92024                                                          Jr.schenk@mus-intl.com                EmailFirst-Class Mail
Fisch, Spiegler, Ginsburg & Jagolinzer, Apc              9171 Towne Centre Dr, Ste 205                                 San Diego, CA 92122-1238                                                                                                                                                      First -Class Mail
Fisch, Spiegler, Ginsburg & Jagolinzer, Apc              9171 Towne Centre Drive                                       Suite 205                                                  San Diego, CA 92122                                                                                                First -Class Mail
Fischer Elektronik GmbH & co KG                          Nottebohmstraße 28                                            58511 Lüdenscheid                                          Germany                                                                                                            First -Class Mail
Fischer Elektronik GmbH & co KG                          Nottebohmstrase 28                                            58511 Ludenscheid                                          Germany                                                                                                            First -Class Mail
Fischer USA                                              Attn: Doug Kranz                                              3715 Blue River Ave                                        Racine, WI 53405                                                                                                   First -Class Mail
Fischer USA Inc                                          Attn: Doug Kranz                                              3715 Blue River Ave                                        Racine, WI 53405                                                             Doug.kranz@fischerspindle.com         EmailFirst-Class Mail
Fischer Usa, Inc.                                        3715 Blue River Avenue                                        Racine, WI 53405                                                                                                                                                              First -Class Mail
Fisher & Paykel                                          Dept CH 16926                                                 Palatine, IL 60055-6926                                                                                                                                                       First -Class Mail
Fisher & Paykel Healthcare Inc                           Attn: Rob Cornell, Jeff Sample                                15365 Barranca Pkwy                                        Irvine, CA 92618                                                             Jeff.Sample@fphcare.com               EmailFirst-Class Mail
Fisher & Paykel Healthcare Inc                           Attn: Rob Cornell, Jeff Sample                                15365 Barranca Pkwy                                        Irvine, CA 92618                                                                                                   First -Class Mail
Fisher & Phillips LLP                                    1075 Peachtree St NE, Ste 3500                                Atlanta, GA 30309-3900                                                                                                                                                        First -Class Mail
Fisher And Paykel Healthcare Inc.                        15365 Barranca Parkway                                        Irvine, CA 92618                                                                                                                                                              First -Class Mail
Fisher Medical Servces Inc                               5414 E 145th St N                                             Collinsville, OK 74021-7400                                                                                                                                                   First -Class Mail
FL Dept of Business & Professional Regulation            1940 N Monroe St                                              Tallahassee, FL 32399-0783                                                                                                                                                    First -Class Mail
Flagler Hospital                                         100 Whetstone Pl, Ste 203                                     St Augustine, FL 32086                                                                                                                                                        First -Class Mail
Flagler Hospital Inc.                                    Flagler Hospital Inc.                                         400 Health Park Blvd.                                      St Augustine, FL 32086                                                                                             First -Class Mail
Flaglimo Inc                                             P.O. Box 4286                                                 Naperville, IL 60567-4286                                                                                                                                                     First -Class Mail
Flagship Research Inc                                    1011 Camino Del Rio S, Ste 405                                San Diego, CA 92108-3526                                                                                                                                                      First -Class Mail
Flanders Electric Motor Services In                      8039 Burch Park Dr                                            Evansville, IN 47725-1789                                                                                                                                                     First -Class Mail
Fleetwood-Fibre Pakg & Graphics                          15250 Don Julian Rd                                           City Of Industry, CA 91745-1001                                                                                                                                               First -Class Mail
Fleetwood-Fibre Pakg & Graphics                          fka Fibre Containers Co                                       15250 Don Julian Rd                                        City Of Industry, CA 91745-1001                                                                                    First -Class Mail
Fleima Plastic GmbH                                      Neustadt 2                                                    69483 Wald-Michelbach                                      Germany                                                                                                            First -Class Mail
Fleischer Freight Services Inc                           132 W 132nd St                                                Los Angeles, CA 90061-1619                                                                                                                                                    First -Class Mail
Fletcher Csi LLC                                         237 Commerce St                                               Williston, VT 05495-7157                                                                                                                                                      First -Class Mail
Flex Medical                                             c/o Flextronics America LLC                                   7700 Bent Branch Dr, Ste 100                               Irving, TX 75063-6061                                                                                              First -Class Mail
Flex Partners Inc                                        535 Encinitas Blvd, Ste 109                                   Encinitas, CA 92024-3742                                                                                                                                                      First -Class Mail
Flexan, Llc                                              500 Bond Street                                               Lincolnshire, IL 60069                                                                                                                                                        First -Class Mail
Flexan, Llc (Medron Llc)                                 4752 W. California Ave                                        Salt Lake City, UT 84104                                                                                                                                                      First -Class Mail
Flexible Assembly Systems, Inc                           Attn: Herman Avilez                                           8220 Arjons Dr                                             San Diego, CA 92126                                                          herman@flexibleassembly.com           EmailFirst-Class Mail
Flexible Technologies, Inc                               381 Carwellyn Rd                                              Abbeville, SC 29620                                                                                                                                                           First -Class Mail
Flexible Technologies, Inc                               528 Carwellyn Rd                                              Abbeville, SC 29620                                                                                                                                                           First -Class Mail
Flexicon Europe Ltd                                      182 John Wilson Business Park                                 Whitstable, KE CT5 3RB                                     United Kingdom                                                                                                     First -Class Mail
Flexim Facilities Management                             64 New Cavendish St                                           London, W1G 8TB                                            United Kingdom                                                                                                     First -Class Mail
Flexim Group                                             Flexim Group                                                  Route Du Lac 3, 1094                                       Paudex, Switzerland               Switzerland                                                                      First -Class Mail
Flexim Group Sa                                          Cour Des Tanneurs 14                                          Ch-1095 Lutry                                              Switzerland                       Switzerland                                                                      First -Class Mail
Flexim US Corp                                           1550 Madruga Ave, Ste 500                                     Coral Gables, FL 33146-3048                                                                                                             jobrien@flexim.com                    EmailFirst-Class Mail
Flexim US Corp                                           Attn: D Ruben Fajardo Jr                                      1550 Madruga Ave, Ste 500                                  Coral Gables, FL 33146                                                       ruben@fajardocpa.com                  EmailFirst-Class Mail
Flexim US Corp                                           1550 Madruga Ave, Ste 500                                     Coral Gables, FL 33146-3048                                                                                                                                                   First -Class Mail
Flextronics International Usa Inc.                       6201 American Center Dr.                                      San Jose, CA 95002                                                                                                                                                            First -Class Mail
Flextronics Medical Sales And Marketing Limited          Suite 402, St. James Court                                    St. Denis Street                                           Port Louis, Mauritius             Mauritius                                                                        First -Class Mail
Flextronics Precision Plastics Inc                       1735 W 10th St                                                Tempe, AZ 85281                                                                                                                                                               First -Class Mail
Flextronics Precision Plastics Inc                       1735 W 10th St                                                Tempe, AZ 85281-5207                                                                                                                                                          First -Class Mail
Flick Anticimex Pty Ltd                                  145 Arthur St, Unit 9                                         Homebush W, NSW 2140                                       Australia                                                                                                          First -Class Mail
Flight Medical                                           Kodak Bldg.                                                   7 Hatnufa                                                  St. Petach-Tikva                  Israel                        Israel                                             First -Class Mail
Flint Hills Resources Longview, Llc                      4111 East 37Th St. North                                      Wichita, KS 67220                                                                                                                                                             First -Class Mail
Flint Machine Tools Inc                                  3710 Hewatt Ct                                                Snellville, GA 30039-7020                                                                                                                                                     First -Class Mail
Flir Commercial Systems                                  P.O. Box 11115                                                Boston, MA 02211-1115                                                                                                                                                         First -Class Mail
Flir Commercial Systems Inc                              P.O. Box 11115                                                Boston, MA 02211-1115                                                                                                                                                         First -Class Mail
Flir Commercial Systems Inc                              c/o Extech Brand                                              9 Townsend W                                               Nashua, NH 03063-1233                                                                                              First -Class Mail
Flir Systems Inc                                         9 Townsend W                                                  Nashua, NH 03063-1233                                                                                                                                                         First -Class Mail
Flometrics                                               Attn: Steve Harrington                                        5900 Sea Lion Pl, Ste 150                                  Carlsbad, CA 92010                                                           sharrington@flowmetrics.com           EmailFirst-Class Mail
Flometrics Inc                                           5900 Sea Lion Pl, Ste 150                                     Carlsbad, CA 92010-6655                                                                                                                                                       First -Class Mail
Flomospine LLC                                           Attn: Lisa Hogan                                              305 137th St NE                                            Bradenton, FL 34212-2759                                                                                           First -Class Mail
Floodgate Medical LLC                                    3225 S Macdill Ave, Ste 129-142                               Tampa, FL 33629-8171                                                                                                                                                          First -Class Mail
Florida College Inc                                      119 N Glen Arven Ave Accounts Payable                         Temple Terrace, FL 33617                                                                                                                                                      First -Class Mail
Florida Dept of Revenue                                  Taxpayer Services                                             5050 W Tennessee St                                        Mail Stop 3-2000                  Tallahassee, FL 32399-0112                                                       First -Class Mail
Florida Dept of Revenue                                  Taxpayer Services                                             Mail Stop 3-2000                                           5050 W Tennessee St               Tallahassee, FL 32399-0112                                                       First -Class Mail
Florida Dept of Revenue                                  5050 W Tennessee St                                           Tallahassee, FL 32399                                                                                                                                                         First -Class Mail
Florida Hospital Medical Grp                             2501 N Orange Ave Ste 402                                     Orlando, FL 32804                                                                                                                                                             First -Class Mail
Florida Institute For Human And Machine Cognition        420 E Romana St Machine Cognition                             Pensacola, FL 32502                                                                                                                                                           First -Class Mail
Florida Institute For Human And Machine Cognition        40 South Alcaniz Street And Machine Cognition                 Pensacola, FL 32502                                                                                                                                                           First -Class Mail
Floyd Bell Inc                                           Attn: Charlotte Seitz                                         720 Dearborn Park Ln                                       Columbus, OH 43085                                                                                                 First -Class Mail
Floyd Bell, Inc                                          Attn: Charlotte Seitz                                         720 Dearborn Park Ln                                       Columbus, OH 43085                                                           cseitz2@floydbell.com                 EmailFirst-Class Mail
Floyd Construction                                       Attn: Devin Lane Floyd                                        209 Granada Dr                                             Mannford, OK 74044-3036                                                                                            First -Class Mail
Fluid Automation Systems GmbH (FAS)                      Stuttgarter Str 120                                           D-70736 Fellbach                                           Germany                                                                                                            First -Class Mail
Fluid Automation Systems GmbH (FAS)                      Stuttgarter Str 120                                           70736 Fellbach                                             Germany                                                                                                            First -Class Mail
Fluid Engineering Inc                                    2460 Ruffner Ct                                               Birmingham, AL 35210-3929                                                                                                                                                     First -Class Mail
Fluke Electronics                                        7272 Collection Center Dr                                     Chicago, IL 60693                                                                                                                                                             First -Class Mail
Fluke Electronics Corp                                   1420 75th St                                                  Everett, WA 98203                                                                                                                       service@flukecal.com                  EmailFirst-Class Mail
Fluke Electronics Corp                                   1420 75th St SW                                               Everett, WA 98203                                                                                                                                                             First -Class Mail
Fluke Electronics Corporation                            6920 Seaway Boulevard                                         Everett, WA 98203                                                                                                                                                             First -Class Mail
Flushing Hospital Medical Center                         4500 Parsons Blvd                                             Flushing, NY 11355                                                                                                                                                            First -Class Mail
FLW Svc Corp                                             5672 Bolsa Ave                                                Huntington Beach, CA 92649                                                                                                                                                    First -Class Mail
Fnk Inc                                                  c/o Pacific Inspection Co                                     9271 Irvine Blvd                                           Irvine, CA 92618-1645                                                                                              First -Class Mail
Foam Fabricators Inc                                     8722 E San Alberto Dr, Ste 200                                Scottsdale, AZ 85258-4353                                                                                                                                                     First -Class Mail
Foamlinx LLC                                             c/o We Cut Foam                                               1248 Birchwood Dr                                          Sunnyvale, CA 94089-2205                                                                                           First -Class Mail
Foamlinx Llc Dba Wecutfoam 2                             1248 Birchwood Dr.                                            Sunnyvale, CA 94089                                                                                                                                                           First -Class Mail
Foamtec International Llc                                720 Venture Drive                                             Waco, TX 76712                                                                                                                                                                First -Class Mail
Foamtec Int'l Co LLC                                     1621 Ord Way                                                  Oceanside, CA 92056-3599                                                                                                                                                      First -Class Mail
Foboha Gmbh                                              Im Muhlegrun 8                                                77716 Haslach Im                                           Kinzigtal                         Germany                                                                          First -Class Mail
Focus Marketing                                          14901 Featherhill Rd                                          Tustin, CA 92780                                                                                                                                                              First -Class Mail
Food & Drug Administration                               P.O. Box 956733                                               St Louis, MO 63195-6733                                                                                                                                                       First -Class Mail
Food & Drug Administration                               Attn: Chief Counsel & Litigation                              White Oak, Bldg 31, Rm 4544                                10903 New Hampshire Ave           Silver Spring, MD 20993                                                          First -Class Mail
Food & Drug Administration                               P.O. Box 979109                                               St Louis, MO 63197-9000                                                                                                                                                       First -Class Mail
Food And Drug Administration                             Attn: Legal Dept                                              10903 New Hampshire Ave                                    Silver Spring, MD 20993                                                                                            First -Class Mail
Force Communications, Llc                                8440 Woodfield Crossing Boulevard                             Suite 400                                                  Indianapolis, IN 46240                                                                                             First -Class Mail
Forecast Product Development Corp                        dba Forecast 3D                                               Attn: Matt Nebo                                            2221 Rutherford Rd                Carlsbad, CA 92008                         mnebo@forecast3d.com                  EmailFirst-Class Mail
Forefront Medical Technology (Pte) Ltd                   35 Joo Koon Cir                                               Singapore 629110                                           Singapore                                                                                                          First -Class Mail
Forks Community Hospital                                 530 Bogachiel Way                                             Forks, WA 98331                                                                                                                                                               First -Class Mail
Formerra Parent, LLC                                     aka Formerra, LLC                                             1250 Windham Pkwy                                          Romeoville, IL 60446                                                                                               First -Class Mail
Formerra, Llc                                            1250 Windham Parkway                                          Romeoville, IL 60446                                                                                                                                                          First -Class Mail
Formtight                                                11600 E 51st Ave                                              Denver, CO 80239-2612                                                                                                                                                         First -Class Mail
Formtight Inc.                                           11600 E. 51St Ave                                             Denver, CO 80239                                                                                                                                                              First -Class Mail
Formula Plastics Inc                                     451 Tecate Rd, Ste 2B                                         Tecate, CA 91980                                                                                                                                                              First -Class Mail
Formula Plastics, Inc.                                   451 Tecate Rd.                                                Suite 2B                                                   Tecate, CA 91980                                                                                                   First -Class Mail
Forrest County General Hospital                          Forrest County General Hospital                               6051 U.S. Highway 49                                       Hattiesburgh, MS 39401                                                                                             First -Class Mail
Fort Sanders Regional Med Ctr                            1901 Laurel Ave Receiving 20                                  Knoxville, TN 37916                                                                                                                                                           First -Class Mail
Fort Sanders Regional Med Ctr                            9352 Park West Blvd                                           Knoxville, TN 37923                                                                                                                                                           First -Class Mail
Forte Dgtl LLC                                           1200 N Federal Hwy, Ste 200                                   Boca Raton, FL 33432-2813                                                                                                                                                     First -Class Mail
Fortelite Mexico, S.A. De C.V.                           Texcoco #57 Co. Paraiso                                       Guadalupe Nuevo Leon                                       C.P.67140                         Nuevo Leon                    Guadalupe                                          First -Class Mail
Fortis Surgical Products LLC                             809 Savannah Ave No 701                                       Mcallen, TX 78503-3003                                                                                                                                                        First -Class Mail
Fortress Investment Group Llc                            1345 Avenue Of The Americas                                   New York, NY 10105                                                                                                                                                            First -Class Mail
Fortuna Scientific Pte Ltd                               Fortuna Scientific Private Ltd                                2 Kallang Ave                                              05-04 CT Hub, Off Lavender St     Singapore 339407              Singapore                                          First -Class Mail
Fortuna Scientific Pte Ltd                               05-04 CT Hub                                                  2 Kallang Ave                                              Singapore 339407                                                                                                   First -Class Mail
Fortuna Scientific Pte. Ltd.                             #05-04 Ct Hub                                                 2 Kallang Avenue                                           Singapore 339407                  Singapore                                                                        First -Class Mail
Forwarders Int'l Inc                                     10604 S La Cienega Blvd                                       Inglewood, CA 90304-1115                                                                                                                                                      First -Class Mail
Foundation Health Llc                                    P.O. Box 71396                                                Fairbanks, AK 99707                                                                                                                                                           First -Class Mail
Fountain Valley Regional Hosp                            17100 Euclid St Receiving                                     Fountain Valley, CA 92708                                                                                                                                                     First -Class Mail
Four Seasons Resort & Residences Anguilla                444 Brickell Ave                                              Suite 340                                                  Miami, FL 33131                                                                                                    First -Class Mail
Four Seasons Resort Maui At Wailea                       3900 Wailea Alanui                                            Kihei, HI 96753-5453                                                                                                                                                          First -Class Mail
Fox Rothschild LLP                                       Attn: Accounts Receivable                                     2000 Market St, 20th Fl                                    Philadelphia, PA 19103-3222                                                                                        First -Class Mail
Fox Rothschild Llp                                       Campbell Mithun Tower                                         222 South Ninth Street, Suite 2000                         Minneapolis, MN 55402-3338                                                                                         First -Class Mail
Fox Rothschild LLP                                       2000 Market St                                                Philadelphia, PA 19103-3231                                                                                                                                                   First -Class Mail
Foxmoor Chiropractic Center LLC                          Attn: Patricia Gellasch                                       2791 Nottingham Way                                        Hamilton, NJ 08619                                                                                                 First -Class Mail
Foxxmed Ltd                                              33, Ln. 109                                                   Zhuang 5Th Rd.                                             Zhuangwei Township                Yilan County, 26344           Taiwan                                             First -Class Mail
Fracht Uk Ltd.                                           Ecipse House                                                  2700 The Crescent                                          Birmingham, B37 74E               United Kingdom                                                                   First -Class Mail
Fraen Corp                                               P.O. Box 847167                                               Boston, MA 02284-7167                                                                                                                                                         First -Class Mail
Fraen Corp                                               80 New Crossing Rd                                            Reading, MA 01867-3254                                                                                                                                                        First -Class Mail
Fragomen Del Rey Bernsen & Loewy                         75 Remittance Dr, Ste 6072                                    Chicago, IL 60675-6072                                                                                                                                                        First -Class Mail
Fragomen, Del Rey, Bernsen & Loewy                       11238 El Camino Real, Ste 100                                 San Diego, CA 92130-2653                                                                                                                                                      First -Class Mail
Francis Tuttle Technology Ctr                            12777 N Rockwell Ave                                          Oklahoma City, OK 73142                                                                                                                                                       First -Class Mail
Franciscan Alliance                                      8111 S Emerson Ave 01 Sc Receiving Dock                       Indianapolis, IN 46237                                                                                                                                                        First -Class Mail
Franciscan Missionaries                                  Of Our Lady Health System Central Distribution Center, Llc    12100 Little Cayman Street                                 Suite 100                         Baton Rouge, LA 70809                                                            First -Class Mail
Franciscan Missionaries of Our Lady                      c/o Health System                                             4200 Essen Ln                                              Baton Rouge, LA 70809-2158                                                                                         First -Class Mail
Francisco Guzman                                         Address Redacted                                                                                                                                                                                                                            First -Class Mail
Francisco J Arceo                                        Address Redacted                                                                                                                                                                                                                            First -Class Mail
Francisco P Quizon                                       Address Redacted                                                                                                                                                                                                                            First -Class Mail
Frandsen Corporation                                     2939 6Th Avenue                                               Anoka, MN 55303                                                                                                                                                               First -Class Mail
Frank Casillo                                            Address Redacted                                                                                                                                                                                                                            First -Class Mail
Frank Q Gonzalez                                         Address Redacted                                                                                                                                                                                                                            First -Class Mail
Frank Recruitment Group Inc                              c/o Mason Frank International                                 P.O. Box 10921                                             Palatine, IL 60055-0921                                                                                            First -Class Mail
Frank Recruitment Group Inc.                             110 William St                                                New York, NY 10038                                                                                                                                                            First -Class Mail
Franklin County Tax Collector                            P.O. Box 456                                                  Meadville, MS 39653-0456                                                                                                                                                      First -Class Mail
Franklin General Hospital                                320 University Services Bldg                                  1 W Prentiss St                                            Iowa City, IA 52242                                                                                                First -Class Mail
Franklin Hospital                                        201 Bailey Ln                                                 Benton, IL 62812                                                                                                                                                              First -Class Mail
Franklin Medical Center                                  2106 Loop Rd                                                  Winnsboro, LA 71259                                                                                                                                                           First -Class Mail
Fraser Noble Scott                                       Address Redacted                                                                                                                                                                                                                            First -Class Mail
Freddie L Van Amburgh                                    Address Redacted                                                                                                                                                                                                                            First -Class Mail
Frederic W Grannis Jr Md                                 Address Redacted                                                                                                                                                                                                                            First -Class Mail
Frederick Memorial Hospital                              400 W. Seventh Street                                         Frederick, MD 21701                                                                                                                                                           First -Class Mail
Freedom Express                                          c/o Tds Logistics Inc                                         P.O. Box 470070                                            Tulsa, OK 74147-0070                                                                                               First -Class Mail
Freedom Vent                                             Attn: Dan Wilson                                              927 Summer Hill Church Rd                                  W End, NC 27376                                                              freedomventsystem@yahoo.com           EmailFirst-Class Mail
Freshworks Inc.                                          2950 S. Delaware Street                                       Suite 201                                                  San Mateo, CA 94403                                                                                                First -Class Mail
Freyr Inc                                                150 College Rd W, Ste 102                                     Princeton, NJ 08540-6659                                                                                                                                                      First -Class Mail
Freyr Inc.                                               150 College Road West                                         Suite 102                                                  Princeton, NJ 08540                                                                                                First -Class Mail
Frick Hospital                                           508 S Church St                                               Mt Pleasant, PA 15666                                                                                                                                                         First -Class Mail
Froedtert & Med Coll Wisconsin                           9200 W Wisconsin Ave                                          Milwaukee, WI 53226                                                                                                                                                           First -Class Mail
Front Range Tooling Inc                                  7700 Miller Dr                                                Frederick, CO 80504-5454                                                                                                                                                      First -Class Mail
Frontenac Surgery & Spine Care Center LP                 10435 Clayton Rd, Ste 110                                     Frontenac, MO 63131-2930                                                                                                                                                      First -Class Mail
Frontier Communications Corp                             111 Field St                                                  Rochester, NY 14620-1529                                                                                                                                                      First -Class Mail
Frontier Communications Of America, Inc.                 111 Field Street                                              Rochester, NY 14620                                                                                                                                                           First -Class Mail
Frontier Metal Stamping Inc                              3764 Puritan Way                                              Frederick, CO 80516-9437                                                                                                                                                      First -Class Mail
Frontier Metal Stamping, Inc.                            3764 Puritan Way                                              Frederick, CO 80516                                                                                                                                                           First -Class Mail
Frontline Creative Svcs                                  Attn: Josh Kasper                                             2345 Dr FE Wright Dr                                       Jacksonville, TN 38305                                                       jkasper@frontlinecreativestudio.com   EmailFirst-Class Mail
Frye Regional Medical Center                             420 N Center St                                               Hickory, NC 28601                                                                                                                                                             First -Class Mail
FTI Consulting                                           Attn: David Turner                                            16701 Melford Blvd, Ste 200                                Bowie, MD 20715                                                              David.turner@fticonsulting.com        EmailFirst-Class Mail
FTI Consulting Inc                                       16701 Melford Blvd, Ste 200                                   Bowie, MD 20715-4418                                                                                                                                                          First -Class Mail
Fti Consulting Llp                                       200 Aldersgate                                                Aldersgate Street                                          London, Ec1A 4Hd                  United Kingdom                                                                   First -Class Mail
Fti Consulting, Inc.                                     555 12Th Street Nw                                            Suite 700                                                  Washington, DC 20004                                                                                               First -Class Mail
FTK Properties Inc                                       6000 Bass Lake Rd, Ste 200                                    Crystal, MN 55429-2794                                                                                                                                                        First -Class Mail
Fukuda Sangyo Co. Ltd.                                   996 Nazukari Nagareyama-City                                  Chiba 270-0145                                             Japan                                                                                                              First -Class Mail
Fukuda Sangyo Co. Ltd.                                   996 Nazukari Nagareyama-City                                  Japan                                                                                                                                                                         First -Class Mail
                                                           Case 24-11217-BLS                                                                          Doc 463                      Filed 08/24/24                                                                    Page 19 of 51

Fuld & Co                                                Attn: Leonard Fuld                              25 1st St, Ste 301                                 Cambridge, MA 02141                                                                                                        lfuld@fuld.com                                 EmailFirst-Class Mail
Full Spectrum Technologies Inc                           63 Via Pico Plz, Ste 301                        San Clemente, CA 92672-3998                                                                                                                                                                                                  First -Class Mail
Full Vision inc                                          Attn: Rich Meisler                              3017 Full Vision Dr                                Newton, KS 67114                                                                                                           rich@full-vision.com                           EmailFirst-Class Mail
Full Vision Inc                                          Attn: Rich Meisler                              3017 Full Vision Dr                                Newton, KS 67114                                                                                                                                                          First -Class Mail
Fulton Supply Co                                         1428 Kelton Dr                                  Stone Mountain, GA 30083-1916                                                                                                                                                                                                First -Class Mail
Fundacao de Apoio ao Ensino                              Pesquisa e Extensao de Itajuba                  Av Paulo Carneiro Santiago                         472 Itajuba                                                          Minas Gerais, 37500--191             Brazil                                                          First -Class Mail
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Fundacja Rozwoju Neonatologii                            c/o W Wielkopolsce                              Ul Polna 33                                        Poznan, 60-535                                                       Poland                                                                                               First -Class Mail
Furness Controls Ltd                                     14 Beeching Rd                                  Bexhill On Sea, SE TN39 3LG                        United Kingdom                                                                                                                                                            First -Class Mail
Fuses Unlimited                                          Attn: AK Trikha                                 9248 Eton Ave                                      Chatsworth, CA 91311                                                                                                       akumar@fusesunlimited.com                      EmailFirst-Class Mail
Fuses Unlimited                                          9248 Eton Avenue                                Chatsworth, CA 91311                                                                                                                                                                                                         First -Class Mail
Fusion Worldwide                                         One Marina Park                                 Suite 305                                          Boston, MA 02210                                                                                                                                                          First -Class Mail
Future Electronics Corp                                  41 Main St.                                     Bolton, MA 01740                                                                                                                                                                                                             First -Class Mail
Future Electronics, Inc.                                 Dept 3255                                       Paysphere Circle                                   Chicago, IL 60674                                                                                                                                                         First -Class Mail
Future Mold Inc                                          10349 Regis Ct                                  Rancho Cucamonga, CA 91730                                                                                                                                                                                                   First -Class Mail
Fuzhou Chenkang Medical Equipment Co., Ltd.              Room B, 3Rd Floor, Building B                   Yinjiangshan Commercial Building                   No. 528 Xihong Road, Gulou District Fuzhou, Fujian Province          China                                                                                                First -Class Mail
G Barco SA                                               Calle 99 14 76 Lc 201                           Bogota, 810                                        Colombia                                                                                                                                                                  First -Class Mail
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G&K Services, Llc                                        5995 Opus Parkway                               Suite 500                                          Minnetonka, MN 55343                                                                                                                                                      First -Class Mail
G. Barco S.A.                                            Calle 99 No. 1476, Lc 201                       Bogota                                             Colombia                                                                                                                                                                  First -Class Mail
G. Barco S.A.                                            Cl 99 14 76 Lc 201.                             Colombia                                                                                                                                                                                                                     First -Class Mail
G/M Business Interiors-Goforth & Ma                      110 W A St, Ste 140                             San Diego, CA 92101-3702                                                                                                                                                                                                     First -Class Mail
G2 Medical Products Inc                                  975 Chateau Meadows Dr                          Eugene, OR 97401-7048                                                                                                                                                                                                        First -Class Mail
G3G (Epi-Use)                                            Quatro House                                    Frimley Road                                       Camberley, Surrey Gu16 7Er                                           United Kingdom                                                                                       First -Class Mail
G3G UK Ltd                                               Quatro House, Frimley Rd                        Camberley, SY GU16 7ER                             United Kingdom                                                                                                                                                            First -Class Mail
G4S Secure Solutions                                     Attn: Earle Graham                              4200 Wackenhut Dr                                  Palm Beach, FL 33410                                                                                                       egraham@wackenhut.g4s.com                      EmailFirst-Class Mail
G4S Secure Solutions                                     Hq-1395 University Blvd.                        Jupiter, FL 33458                                                                                                                                                                                                            First -Class Mail
Gabriel Rivera                                           Address Redacted                                                                                                                                                                                                                                                             First -Class Mail
Gabriel Sanchez Martinez                                 Address Redacted                                                                                                                                                                                                                                                             First -Class Mail
Gad Consulting Services                                  4008 Barrett Dr.                                Suite 202                                          Raleigh, NC 27609                                                                                                                                                         First -Class Mail
Gad Consulting Svcs                                      Attn: Samantha Gad                              4008 Barrett Dr, Ste 201                           Raleigh, NC 27609                                                                                                          samantha.gad@gadconsulting.com                 EmailFirst-Class Mail
Gaetane Michaud                                          Address Redacted                                                                                                                                                                                                                                                             First -Class Mail
Gaging.com                                               Attn: Monty Abrams                              2520 St Rose Pkwy, Ste 319                         Henderson, NV 89074                                                                                                        info@gaging.com; SALES@GAGING.COM              EmailFirst-Class Mail
Galemed Corporation                                      87, Li-Gong 2Nd Road, Wu-Jia,                   I-Lan 268, Taiwan (R.O.C)                          Taiwan                                                                                                                                                                    First -Class Mail
Galemed Limited Taipei Branch                            5F., No.209, Sec.1, Fuxing S. Road,             Taipei 106                                         Taiwan                                                               Taiwan                                                                                               First -Class Mail
Galemed Ltd Taipei Branch                                Attn: Ariel Lin                                 10F 109 Min Chiuan East Rd, Sec 6                  Taipei                                                               Taiwan                                                Ariel.lin@galemed.com                          First -Class Mail
Galemed Ltd Taipei Branch                                Attn: Ariel Lin                                 10F 109 Min Chiuan East Rd, Sec 6                  Taipei                                                               Taiwan                                                                                               First -Class Mail
Galen Hospital Alaska Inc                                c/o Alaska Regional Hospital                    2801 Debarr Rd                                     Anchorage, AK 99508-2932                                                                                                                                                  First -Class Mail
Galion Hospital                                          Avita Health System - Galion Hospital           269 Portland Way S                                 Galion, OH 44833                                                                                                                                                          First -Class Mail
Garage Force                                             Attn: Kenneth H Kolda                           4605 Maryville Rd                                  Granite City, IL 62040-2514                                                                                                                                               First -Class Mail
Garcia Plastic Molding Inc.                              Garcia Plastic Molding Inc.                     9183 Hermosa Ave.                                  Rancho Cucamonga, CA 91730                                                                                                                                                First -Class Mail
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Gardner Builders LLC                                     730 2nd Ave S, Ste 1233                         Minneapolis, MN 55402-2416                                                                                                                                                                                                   First -Class Mail
Gardner Denver Welch Vacuum Tech In                      c/o Gardner Denver Thomas Inc                   1419 Illinois Ave                                  Sheboygan, WI 53081-4821                                                                                                                                                  First -Class Mail
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Garlic Media Management Llc                              1195 S. Lipan St., Unit A                       Denver, CO 80223                                                                                                                                                                                                             First -Class Mail
Garrett Regional Medical Center                          251 N 4Th St                                    Oakland, MD 21550                                                                                                                                                                                                            First -Class Mail
Gartner Extrusion Gmbh                                   Gartner Extrusion Gmbh                          Petersworther Strasse 1A                           89423 Gundelfingen                                                   Germany                                                                                              First -Class Mail
Gartner Group Inc                                        56 Top Gallant Rd                               Stamford, CT 06904                                                                                                                                                                                                           First -Class Mail
Gartner Inc                                              P.O. Box 911319                                 Dallas, TX 75391-1319                                                                                                                                                                                                        First -Class Mail
Gartner, Inc.                                            56 Top Gallant Road                             Stamford, CT 06904                                                                                                                                                                                                           First -Class Mail
Gary Pisano Consulting LLC                               Attn: Gary P Pisano                             73 Monument St                                     Concord, MA 01742-1840                                                                                                                                                    First -Class Mail
Gary T Hum Md Inc                                        31363 Santiago Rd                               Temecula, CA 92592-3113                                                                                                                                                                                                      First -Class Mail
Gasket Engineering Co                                    4500 E 75th Ter                                 Kansas City, MO 64132-2054                                                                                                                                                                                                   First -Class Mail
Gaston Memorial Hospital Inc                             c/o Caromont Regional Medical Center            P.O. Box 1747                                      Gastonia, NC 28053-1747                                                                                                                                                   First -Class Mail
Gateway Healthcare Ltd                                   101-105 Bacon St                                Pawtucket, RI 02860                                                                                                                                                                                                          First -Class Mail
Gateway Healthcare Ltd                                   254 Soi Ladprao 107                             Kilongchan Bangkapi                                Bangkok 10240                                                        Thailand                                                                                             First -Class Mail
Gateway Healthcare Ltd                                   Gateway Healthcare Ltd                          349 Ladphrao 101 Road,                             Klongchan, Bangkapi                                                  Thailand                                                                                             First -Class Mail
Gateway Regional Medical Ctr                             2100 Madison Ave                                Granite City, IL 62040                                                                                                                                                                                                       First -Class Mail
Gavino O Jr Peralta                                      Address Redacted                                                                                                                                                                                                                                                             First -Class Mail
Gayathri Venkatesan                                      Address Redacted                                                                                                                                                                                                                                                             First -Class Mail
Gaye Heck                                                                                                                                                                                                                                                                              gaye@bbslaw.com                                Email
Gaye Heck                                                                                                                                                                                                                                                                              gheck@bbslaw.com                               Email
Gaylord Opryland Resort                                  c/o Marriot Hotel Services Inc                  P.O. Box 402642                                    Atlanta, GA 30384-2642                                                                                                                                                    First -Class Mail
Gbt Us Llc Dba American Express Global Business Travel   Autopista Altamira Km 45, Altamira, Tms 89603   Mexico                                                                                                                                                                                                                       First -Class Mail
Gc Aero Flexible Cirtuitry Inc.                          24418 S. Main St.                               Suite 406                                          Carson, CA 90745                                                                                                                                                          First -Class Mail
Gci Health                                               Gci Health                                      200 Fifth Avenue                                   New York, NY 10010                                                                                                                                                        First -Class Mail
Gcs Service Inc                                          fka Oracle: 2266                                24673 Network Pl                                   Chicago, IL 60673-1246                                                                                                                                                    First -Class Mail
GCX                                                      Attn: Ryan Boland, Corrinne Foster              3875 Cypress Dr                                    Petaluma, CA 94954                                                                                                         rboland@gcx.com; cfoster@gcx.com               EmailFirst-Class Mail
GCX                                                      Attn: Ryan Boland, Corrinne Foster              3875 Cypress Dr                                    Petaluma, CA 94954                                                                                                                                                        First -Class Mail
Gcx Mounting Solutions                                   3875 Cypress Drive                              Petaluma, CA 94954                                                                                                                                                                                                           First -Class Mail
Gdc Inc                                                  815 Logan St                                    Goshen, IN 46528-3508                                                                                                                                                                                                        First -Class Mail
Gds Cleaning                                             Attn: Gerald D Smith                            5385 Delcastle Dr                                  Florissant, MO 63034-2620                                                                                                                                                 First -Class Mail
GE Healthcare                                            Attn: Roe, Corky S                              9900 W Innovation Dr                               Wauwatosa, WI 53226                                                                                                        Corky.Roe@med.ge.com                           EmailFirst-Class Mail
GE Healthcare                                            Attn: Corky S Roe                               9900 W Innovation Dr                               Wauwatosa, WI 53226                                                                                                                                                       First -Class Mail
GE Healthcare BV                                         De Rondom 8 5612 AP                             Eindhoven                                          Noord-Brabant                                                        Netherlands                                                                                          First -Class Mail
GE Healthcare BV                                         De Wel 18, Bldg C                               38971 MV Hoevelaken                                The Netherlands                                                                                                                                                           First -Class Mail
Ge Medical Systems                                       c/o Information Tech Gmbh                       Munzingerstrasse 5                                 Freiburg, 79111                                                      Germany                                                                                              First -Class Mail
Ge Medical Systems It (Hoechberg)                        Munzisjs Sts 5                                  79111 Fieiburg                                     Hoechberg                                                            Germany                                                                                              First -Class Mail
GE Precision Healthcare                                  Attn: General Counsel                           9900 W Innovation Dr                               Wauwatosa, WI 53226                                                                                                                                                       First -Class Mail
Ge Precision Healthcare Llc                              9900 W. Innovation Drive                        Wauwatosa, WI 53226                                                                                                                                                                                                          First -Class Mail
Ge Precision Healthcare Llc                              Ge Precision Healthcare Llc                     3000 N. Grandview Blvd.                            Waukesha, WI 53188                                                                                                                                                        First -Class Mail
Ge Precision Healthchare Llc                             Ge Precision Healthcare Llc                     8200 West Tower Ave.                               Milwaukee, WI 53223                                                                                                                                                       First -Class Mail
GEA Convenience Food Technologies                        c/o GFS North America Inc                       P.O. Box 5155                                      Carol Stream, IL 60197-5155                                                                                                                                               First -Class Mail
Gea Convenience Food Technologies                        c/o Convenience Food Systems Inc                16005 Gateway Dr, Ste 100                          Frisco, TX 75033-3921                                                                                                                                                     First -Class Mail
Gedeec Medical Cia Ltda                                  República de El Salvador                        36-213 Y Naciones Unidas                           El Salvador                                                                                                                                                               First -Class Mail
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Geiger                                                   P.O. Box 712144                                 Cincinnati, OH 45271-2144                                                                                                                                                                                                    First -Class Mail
Geiger                                                   c/o Giger Bros                                  70 Mt Hope Ave                                     Lewiston, ME 04241-1609                                                                                                                                                   First -Class Mail
Geiger Bros                                              Attn: Beverly MacNeill                          70 Mount Hope Ave                                  Lewiston, ME 04241                                                                                                         bmacneill@geiger.com                           EmailFirst-Class Mail
Geisinger System Services                                100 N Academy Ave                               Danville, PA 17822-9800                                                                                                                                                                                                      First -Class Mail
Geisinger System Services Aka Geisinger Medical Center   Geisinger Medical Center                        100 N. Academy Ave                                 Danville, PA 17822                                                                                                                                                        First -Class Mail
Gemma Diaz                                               Address Redacted                                                                                                                                                                                                                                                             First -Class Mail
Gems Sensors & Controls                                  Attn: Julian Jiminian, Sean McManus             1 Cowles Rd                                        Plainville, CT 06062                                                                                                       sean.mcmanus@gemssensors.com                   EmailFirst-Class Mail
Gems Sensors And Controls                                1 Cowles Rd.                                    Plainville, CT 06062                                                                                                                                                                                                         First -Class Mail
Gems Sensors Inc.                                        1 Cowles Road                                   Plainville, CT 06062                                                                                                                                                                                                         First -Class Mail
Gen Med                                                  685 Citadel Dr E, Ste 290-17                    Colorado Springs, CO 80909                                                                                                                                                                                                   First -Class Mail
Gen Med                                                  3650 Annapolis Ln, Ste 180                      Plymouth, MN 55447                                                                                                                                                                                                           First -Class Mail
Gen Med                                                  Genmed House, Unit 1                            Lakeside Ct                                        Llantarnam Park Way                                                  Cwmbran, NP44 3GA                    United Kingdom                                                  First -Class Mail
Genco Staffing Inc                                       P.O. Box 5662                                   Ft Oglethorpe, GA 30742-0862                                                                                                                                                                                                 First -Class Mail
General Cutting Tools                                    6440 N Ridgeway Ave                             Lincolnwood, IL 60712-4028                                                                                                                                                                                                   First -Class Mail
General Magnaplate                                       Attn: Makayla                                   801 Ave G E                                        Arlington, TX 76011                                                                                                        customerservice@magnaplate.com                 EmailFirst-Class Mail
General Magnaplate Corp 2019-03-19 Cda                   801 Ave G East                                  Arlington, TX 76011                                                                                                                                                                                                          First -Class Mail
General Polymeric Co                                     P.O. Box 380                                    Reading, PA 19607-0380                                                                                                                                                                                                       First -Class Mail
General Polymeric Co                                     1136 Morgantown Rd                              Reading, PA 19607                                                                                                                                                                                                            First -Class Mail
Generant Co Inc                                          Attn: Lissa Messinger, David Farley             1865 State Rte 23 S                                Butler, NJ 07405                                                                                                           lissa@generant.com; dfarley@generant.com       EmailFirst-Class Mail
Genesee Stampings & Fabricating I                        1470 Avenue T                                   Grand Prairie, TX 75050-1222                                                                                                                                                                                                 First -Class Mail
Genmed Enterprise Cc                                     60 Calcium Street                               Prosperita, Windhoek                               Namibia                                                                                                                                                                   First -Class Mail
Genmed Enterprises (Pty) Ltd                             60 Calsium Street Prosperita                    Namibia                                                                                                                                                                                                                      First -Class Mail
Genworks Health Private Limited                          5Th Floor, Gamma Block, Sigma Soft Tech Park    Varthur Road, Bangalore                                                                                          560066 India                                India                                                           First -Class Mail
Genworks Health Private Limited                          5Th Floor, Gamma Block, Sigma Soft Tech Park,   Varthur Road, Bangalore 560066                     India                                                                                                                                                                     First -Class Mail
Geodis Usa, Llc                                          5101 South Broad Street                         Philadelphia, PA 19112                                                                                                                                                                                                       First -Class Mail
Geo-Med Llc                                              1525 International Parkway                      Suite 3071                                         Lake Mary, FL 32746                                                                                                                                                       First -Class Mail
Geomedica Ltd                                            0159, Tbilisi                                   Didube-Chugureti District                          N Bokhua str I Lane, 12                                              Georgia                                                                                              First -Class Mail
Geomedica Ltd                                            79, Block 20, Kvartal 5                         Digomi District                                    0159 Tbilisi                                                         Georgia                                                                                              First -Class Mail
Geomedica Ltd.                                           79, Block 20, Kvartal 5, Digomi                 Georgia                                                                                                                                                                                                                      First -Class Mail
Geometric Technologies                                   c/o Geometric Americas Inc                      15974 N 77th St, Ste 103                           Scottsdale, AZ 85260-1222                                                                                                                                                 First -Class Mail
Georg Quak                                                                                                                                                                                                                                                                             georg.quak@tsc-life.com                        Email
George B Hassler Md                                      Address Redacted                                                                                                                                                                                                                                                             First -Class Mail
George Behrens                                           Address Redacted                                                                                                                                                                                                                                                             First -Class Mail
George Eid                                               Address Redacted                                                                                                                                                                                                                                                             First -Class Mail
George Getrajdman                                        Address Redacted                                                                                                                                                                                                                                                             First -Class Mail
George Semaan Inc                                        c/o Naser Jewelers                              356 S Broadway                                     Salem, NH 03079-4338                                                                                                                                                      First -Class Mail
Georgia Dept of Community Health                         2 Martin Luther King Jr Dr SE                   E Tower                                            Atlanta, GA 30334                                                                                                                                                         First -Class Mail
Georgia Dept of Revenue                                  P.O. Box 105408                                 Atlanta, GA 30348-5408                                                                                                                                                                                                       First -Class Mail
Georgia Dept of Revenue                                  P.O. Box 740397                                 Atlanta, GA 30374-0397                                                                                                                                                                                                       First -Class Mail
Georgia Dept of Revenue                                  Taxpayer Services Division                      P.O. Box 740321                                    Atlanta, GA 30374-0321                                                                                                                                                    First -Class Mail
Georgia Dept of Revenue                                  Sales & Use Tax Return                          P.O. Box 105408                                    Atlanta, GA 30348-5408                                                                                                                                                    First -Class Mail
Georgia Natural Gas Services                             P.O. Box 105445                                 Atlanta, GA 30348-5445                                                                                                                                                                                                       First -Class Mail
Georgia Power Co                                         96 Annex                                        Atlanta, GA 30396-0001                                                                                                                                                                                                       First -Class Mail
Gerald Hunt                                              Address Redacted                                                                                                                                                                                                                                                             First -Class Mail
Geranswers Medical Solutions Lda                         Rua José Afonso, Lote 9 - B – 9                 Bairro Casal De Ouressa                            Mem Martins, Lisbon 2725-346                                         Portugal                                                                                             First -Class Mail
Geranswers Unipessoal LDA                                Raa Jose Afonso                                 Mem Martins, 2725-346                              Portugal                                                                                                                                                                  First -Class Mail
Gerard J Mulholland                                      Address Redacted                                                                                                                                                                                                                                                             First -Class Mail
Geremey Whitner                                          Address Redacted                                                                                                                                                                                                                                                             First -Class Mail
Gerresheimer Regensburg GmbH                             Kumpfmuhler Str 2                               Regensburg, 93047                                  Germany                                                                                                                                                                   First -Class Mail
Gerresheimer Regensburg GmbH                             Kumpfmuhler Strabe 2                            93047 Regensburg                                   Germany                                                                                                                                                                   First -Class Mail
Getemed Medizin-Und Informationstec Ag                   Oderstrasse 77                                  Teltow, 12 14513                                   Germany                                                                                                                                                                   First -Class Mail
Getemed Medizin-Und Informationstechnik Ag               Oderstrasse 77                                  14513 Teltow                                       Germany                                                                                                                                                                   First -Class Mail
Getinge                                                  Attn: Lars Berken                               45 Barbour Pond Rd                                 Wayne, NJ 07470                                                                                                            lars.berken@getinge.com                        EmailFirst-Class Mail
Getinge Castle                                           1777 E Henrietta Rd                             Rochester, NY 14623                                                                                                                                                                                                          First -Class Mail
Getinge/Castle Inc                                       1265 Solutions Ctr                              Chicago, IL 60677                                                                                                                                                                                                            First -Class Mail
Gettysburg Hospital                                      147 Gettys St                                   Gettysburg, PA 17325                                                                                                                                                                                                         First -Class Mail
Getz Healthcare (M) Sdn Bhd                              Oval Damansara Tower                            685 Jalan Damansara, Unit 15-3 & 15-3A             Taman Tun Dr Ismail                                                  60000 Kuala Lumpur                   Malaysia                                                        First -Class Mail
Getz Healthcare (M) Sdn Bhd                              16 Jalan 51A/225                                46100 Petaling Jaya                                Selangor                                                             Malaysia                                                                                             First -Class Mail
Geyer, Jason (Agiliti Health)                            6625 West 78Th Street                           Suite 300                                          Minneapolis, MN 55439                                                                                                                                                     First -Class Mail
Gf Machining Solutions LLC                               c/o George Fischer Corp                         62129 Collection Center Dr                         Chicago, IL 60693-0621                                                                                                                                                    First -Class Mail
GGJ Group LLC                                            c/o Bakerfield Solutions                        7138 Fox Hollow Ridge                              Zionsville, IN 46077-8399                                                                                                                                                 First -Class Mail
Giakova Srl                                              Via F Lli Rosselli 3 2                          Settimo Milanese (Mi), 20019                       Italy                                                                                                                                                                     First -Class Mail
Giambrocono & C Spa                                      Via Rosolino Pilo 16/B                          Milan, 20129                                       Italy                                                                                                                                                                     First -Class Mail
Gibson, Dunn & Crutcher LLP                              Attn: Joshua Brody                                                                                                                                                                                                            jbrody@gibsondunn.com                          Email
Gibson, Dunn & Crutcher LLP                              Attn: Jason Zachary Goldstein                                                                                                                                                                                                 jgoldstein@gibsondunn.com                      Email
Gibson, Dunn & Crutcher LLP                              Attn: Kevin Liang                                                                                                                                                                                                             kliang@gibsondunn.com                          Email
Gibson, Dunn & Crutcher LLP                              Attn: Scott Greenberg/Jason Zachary Goldstein   Attn: Joshua Brody/Kevin Liang                     200 Park Ave                                                         New York, NY 10166-0193                               sgreenberg@gibsondunn.com                      EmailFirst-Class Mail
Gibson, Dunn & Crutcher LLP                              333 S Grand Ave                                 Los Angeles, CA 90071-1504                                                                                                                                                                                                   First -Class Mail
Gibson, Dunn, & Crutcher                                 333 S Grand Ave                                 Los Angeles, CA 90071                                                                                                                                                                                                        First -Class Mail
Gilbert Prieto                                           Address Redacted                                                                                                                                                                                                                                                             First -Class Mail
Gilbert, Barbee, Moore & Mcilvoy, Psc                    201 Park Street                                 Bowling Green, KY 42101                                                                                                                                                                                                      First -Class Mail
Gilead Sciences, Inc                                     333 Lakeside Dr                                 Foster City, CA 94404                                                                                                                                                                                                        First -Class Mail
Gilead Sciences, Inc.                                    333 Lakeside Drive                              Foster City, CA 94404                                                                                                                                                                                                        First -Class Mail
Gina Kelly                                               Address Redacted                                                                                                                                                                                                                                                             First -Class Mail
Gina M Barton                                            Address Redacted                                                                                                                                                                                                                                                             First -Class Mail
Gina M Hoots                                             Address Redacted                                                                                                                                                                                                                                                             First -Class Mail
Ginekologiczno-Polozniczy Szpital                        c/o Kliniczny Uniwersytetu Medycznego           Polna 33                                           Poznan, 60-535                                                       Poland                                                                                               First -Class Mail
Girard, Jerome (The Surgical Company)                    The Surgical Company                            26 Rue De La Montee                                68720 Flaxlanden                                                     France                                                                                               First -Class Mail
Girtec Ag                                                Palmenstrasse 1                                 Ch-8583 Sulgen                                     Switzerland                                                          Switzerland                                                                                          First -Class Mail
Gispath Inc                                              12100 Ford Rd, Ste B 354                        Farmers Branch, TX 75234-7243                                                                                                                                                                                                First -Class Mail
Gispath Inc                                              12100 Ford Rd St, Ste B 354                     Farmers Branch, TX 75234-7243                                                                                                                                                                                                First -Class Mail
Gispath Inc.                                             12100 Ford Rd. Suite B354                       Farms Branch                                       Dallas County, tX 75234                                                                                                                                                   First -Class Mail
Givens Contracting                                       915 Iola Rd                                     Louisville, KY 40207-4366                                                                                                                                                                                                    First -Class Mail
Givens Records Development LLC                           c/o Hotel Zaza Dallas                           2332 Leonard St                                    Dallas, TX 75201-2020                                                                                                                                                     First -Class Mail
Gkb LLC                                                  7072 Bennington Woods Dr                        Pittsburgh, PA 15237-6374                                                                                                                                                                                                    First -Class Mail
Gladius Wptb LLC                                         627 Saddlewood Blvd                             Kerrville, TX 78028-7183                                                                                                                                                                                                     First -Class Mail
Glass Eye Productions Inc                                201 N Brea Blvd, Ste B                          Brea, CA 92821-4062                                                                                                                                                                                                          First -Class Mail
Glassdoor Inc                                            P.O. Box 123436                                 Dallas, TX 75312-3436                                                                                                                                                                                                        First -Class Mail
Glen Mahler                                              Address Redacted                                                                                                                                                                                                                                                             First -Class Mail
Glenn Iwaoka                                             Address Redacted                                                                                                                                                                                                                                                             First -Class Mail
Global Academy For Medical Educatio                      7 Century Dr, Ste 302                           Parsippany, NJ 07054-4609                                                                                                                                                                                                    First -Class Mail
Global Equipment Co                                      29833 Network Pl                                Chicago, IL 60673-1298                                                                                                                                                                                                       First -Class Mail
Global Equipment Co                                      2505 Mill Center Pkwy, Ste 100                  Buford, GA 30518-3700                                                                                                                                                                                                        First -Class Mail
Global Equipment Co Inc                                  29833 Network Pl                                Chicago, IL 60673-1298                                                                                                                                                                                                       First -Class Mail
Global Equipment Co Inc                                  2505 Mill Center Pkwy, Ste 100                  Buford, GA 30518-3700                                                                                                                                                                                                        First -Class Mail
Global Equipment Co Inc                                  P.O. Box 5200                                   Suwanee, GA 30024                                                                                                                                                                                                            First -Class Mail
Global Healthcare Exchange                               1315 W Century Dr, Ste 100                      Louisville, CO 80027-9560                                                                                                                                                                                                    First -Class Mail
Global Healthcare Exchange, Llc (Ghx)                    1315 W. Century Drive                           Suite 100                                          Louisville, CO 80027                                                                                                                                                      First -Class Mail
Global Industrial                                        Attn: Jim Ollinger                              2505 Mill Center Pkwy, Ste 100                     Buford, GA 30518                                                                                                           jollinger@globalindustrial.com                 EmailFirst-Class Mail
Global Industrial Equipment                              Attn: Jim Ollinger                              2505 Mill Center Pkwy, Ste 100                     Buford, GA 30518                                                                                                                                                          First -Class Mail
Global Interconnect, Inc.                                11 Jonathan Bourne Drive                        Pocasset, MA 02559                                                                                                                                                                                                           First -Class Mail
Global Life Sciences Solutions USA LLC                   fka Pall                                        Attn: Kieu Nguyen                                  100 Results                                                          Marlborough, MA 01752                                 kieu_nguyen@pall.com; Suzanne_Cohrt@Pall.com   EmailFirst-Class Mail
Global Medical Response                                  6363 S. Fiddlers Green Circle                   14Th Floor                                         Greenwood Village, CO 80111                                                                                                                                               First -Class Mail
Global Medical Response                                  6363 S. Fiddlers Green Circle                   Greenwood Village, CO 80111                                                                                                                                                                                                  First -Class Mail
Global Medical Response                                  4400 Hwy 121, Ste 700                           Lewisville, TX 75056                                                                                                                                                                                                         First -Class Mail
Global Medical Response                                  6363 S Fiddlers Green Cir, 14th Fl              Greenwood Village, CO 80111                                                                                                                                                                                                  First -Class Mail
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Global Post Auditing Solutions, Llc                      2313 W. Mt. Harmony Road                        Owings, MD 20736                                                                                                                                                                                                             First -Class Mail
Global Regulatory Writing                                7 Century Dr, Ste 302                           Parsippany, NJ 07054-4609                                                                                                                                                                                                    First -Class Mail
Global Regulatory Writing & Consulting                   14900 Interurban Ave S, Ste 271                 Tukwila, WA 98168-4654                                                                                                                                                                                                       First -Class Mail
Global Regulatory Writing & Consulting Inc               14900 Interurban Ave S, Ste 271                 Tukwila, WA 98168-4654                                                                                                                                                                                                       First -Class Mail
Global Regulatory Writing & Consulting, Inc.             27721 105Th Ave Se                              Kent, WA 98030                                                                                                                                                                                                               First -Class Mail
Global Securitization Services LLC                       68 S Service Rd, Ste 120                        Melville, NY 11747-2350                                                                                                                                                                                                      First -Class Mail
Global Securitization Services, Llc                      Global Securitization Services, Llc             114 West 47Th Street, Suite 2310                   New York, NY 10036                                                                                                                                                        First -Class Mail
Global Shipping Services                                 3340 Greens Rd, Ste C500                        Houston, TX 77032-2396                                                                                                                                                                                                       First -Class Mail
Global Silicones Inc                                     49 Industrial Way                               Buellton, CA 93427-9565                                                                                                                                                                                                      First -Class Mail
Globallogic                                              1741 Technology Drive                           4Th Floor                                          San Jose, CA 95110                                                                                                                                                        First -Class Mail
Globallogic Inc                                          1741 Technology Dr, Ste 400                     San Jose, CA 95110-1375                                                                                                                                                                                                      First -Class Mail
Globallogic Inc.                                         1741 Technology Drive                           4Th Floor                                          San Jose, CA 95110                                                                                                                                                        First -Class Mail
Globalmed Inc                                            155 N Murray St                                 Trenton, ON K8V 5R5                                Canada                                                                                                                                                                    First -Class Mail
Globalmed S Ltd                                          85 Tsar Asen Str.                               Sofia, 1463                                        Bulgaria                                                                                                                                                                  First -Class Mail
Globalmed S Ltd                                          Tsar Asen 85 Str.                               Bulgaria                                                                                                                                                                                                                     First -Class Mail
Globalmed S Ltd                                          85 Tsar Assen Str                               Sofia, 1463                                        Bulgaria                                                                                                                                                                  First -Class Mail
Globant Llc                                              875 Howard Street, 320                          San Francisco, CA 94103                                                                                                                                                                                                      First -Class Mail
Globant Llc                                              875 Howard Street                               Suite 320                                          San, CA 94103                                                                                                                                                             First -Class Mail
Globant LLC                                              875 Howard St, Ste 320                          San Francisco, CA 94103-3027                                                                                                                                                                                                 First -Class Mail
Gloria E Swopes                                          Address Redacted                                                                                                                                                                                                                                                             First -Class Mail
GM Business Interiors-Goforth & Ma                       1099 W La Cadena Dr                             Riverside, CA 92501-1413                                                                                                                                                                                                     First -Class Mail
Gm Medical Co., Ltd.                                     789 Test Ave, Test City, Tc3 3Tc                                                                                                                                                                                                                                             First -Class Mail
GM Nameplate                                             Attn: Steve Baker                               2040 15th Ave W                                    Seattle, WA 98119                                                                                                          steve.baker@boydcorp.com                       EmailFirst-Class Mail
GML Fischerlehner & Kucera GMBH                          Andreas Hofer Str 3                             Innsbruck, 6020                                    Austria                                                                                                                                                                   First -Class Mail
Gml-Fischerlehner & Kucera Handelsgesmbh                 Andreas-Hofer-Strabe 3                          A-6020 Innsbruck                                   Austria                                                                                                                                                                   First -Class Mail
Go Engineer                                              739 E Fort Union Blvd                           Midvale, UT 84047-2348                                                                                                                                                                                                       First -Class Mail
Goad Co                                                  P.O. Box 419161                                 St Louis, MO 63141-9161                                                                                                                                                                                                      First -Class Mail
Goad Co                                                  144 S Kentucky Ave                              Independence, MO 64053-1058                                                                                                                                                                                                  First -Class Mail
GoEngineer                                               Attn: Tyler Tanzie                              1787 E Fort Union Blvd, Ste 200                    Salt Lake City, UT 84121                                                                                                   ttanzie@goengineer.com                         EmailFirst-Class Mail
GoEngineer                                               Attn: Tyler Tanzie                              1787 E Fort Union Blvd, Ste 200                    Salt Lake City, UT 84121                                                                                                                                                  First -Class Mail
Goengineer Inc                                           739 E Fort Union Blvd                           Midvale, UT 84047-2348                                                                                                                                                                                                       First -Class Mail
Goengineer Inc                                           739 Fort Union Blvd                             Midvale, UT 84047                                                                                                                                                                                                            First -Class Mail
Golden Gate Chapter of Arin                              3 Campbell Pl                                   Danville, CA 94526-2949                                                                                                                                                                                                      First -Class Mail
Golden West Lubricants, Inc                              Attn: Wendy Padilla                             1937 Mount Vernon Ave                              Pomona, CA 91768                                                                                                           wpadilla@gwlinc.com                            EmailFirst-Class Mail
Golden West Lubricants, Inc                              Attn: Wendy Padilla                             1937 Mount Vernon Ave                              Pomona, CA 91768                                                                                                                                                          First -Class Mail
Goldman Sachs International                              Peterborough Court, 133 Fleet St                United Kingdom                                                                                                                                                                                                               First -Class Mail
Goldstein & Assoc Inc                                    10940 Wilshire Blvd, Ste 600                    Los Angeles, CA 90024-3940                                                                                                                                                                                                   First -Class Mail
Goldstein & Associates                                   Attn: Steve Goldstein                           10940 Wilshire Blvd, Ste 600                       Los Angeles, CA 90024                                                                                                      s.gold@verizon.net                             EmailFirst-Class Mail
Golec-Zgorzalet, Anna (Poland - Prico Study Szczecin)    Jaroslawa Iwaszkiewicza 25                      6, Gryfino, 74-101                                 Poland                                                                                                                                                                    First -Class Mail
Goligher, Ewan (Canada)                                  585 University Ave                              Toronto, ON M5G 2N2                                Canada                                                                                                                                                                    First -Class Mail
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Gonzales Healthcare Systems                                      1110 N Sarah DeWitt Dr                                  P.O. Box 587                                         Gonzales, TX 78629                                                                                                                                                                        First -Class Mail
Good Shepherd Rehabilitation                                     850 S 5th St                                            Allentown, PA 18103-3308                                                                                                                                                                                                                       First -Class Mail
Goodman Property Services                                        c/o Aus Pty Ltd                                         P.O. Box 4703                                        Sydney, NSW 2001                                         Australia                                                                                                                        First -Class Mail
Goodwin Proctor LLP                                              Attn: Alexander Nicas                                                                                                                                                                                                      anicas@goodwinlaw.com                                                       Email
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Goodwin Proctor LLP                                              Attn: Liza Burton                                                                                                                                                                                                          lburton@goodwinlaw.com                                                      Email
Google Llc                                                       1600 Amphitheatre Parkway                               Mtn View, CA 94043                                                                                                                                                                                                                             First -Class Mail
Google LLC                                                       c/o Custodian of Records                                1600 Amphitheatre Pkwy                               Mtn View, CA 94043                                                                                                                                                                        First -Class Mail
Google LLC                                                       1600 Amphitheatre Pkwy                                  Mtn View, CA 94043                                                                                                                                                                                                                             First -Class Mail
Gopal Ramamurthi                                                 26125 N. Riverwoods Blvd                                Mettawa, IL 60045                                                                                                                                                                                                                              First -Class Mail
Gopalakrishnan Ramamurthi                                        Address Redacted                                                                                                                                                                                                                                                                                       First -Class Mail
Gordon Boshears                                                  US Equal Employment Opportunity Commission              131 M St NE                                          Washington, DC 20507                                                                                                                                                                      First -Class Mail
Gordon Rees Scully Mansukhani LLP                                c/o Gordon & Rees                                       1111 Broadway, Ste 1700                              Oakland, CA 94607-4023                                                                                                                                                                    First -Class Mail
Government of Alberta                                            9811 109th St                                           Edmonton, AB T5K 2L5                                 Canada                                                                                                                                                                                    First -Class Mail
Gowani Medical Associates                                        7224 Stonerock Cir                                      Orlando, FL 32819-8000                                                                                                                                                                                                                         First -Class Mail
Gpc Medical Ltd.                                                 M Block, Dda, Lsc, Vikas Puri                           New Delhi                                                                                              110018 India                           India                                                                                            First -Class Mail
GPH Consulting Ltd                                               9 Sysamore Lawn                                         Cabinteely, DB D18E3T3                               Ireland                                                                                                                                                                                   First -Class Mail
GPV                                                              c/o Adawys Ag                                           Via Laveggio 14                                      Mendrisio, 6850                                          China                                                                                                                            First -Class Mail
Gpv Switzerland Sa                                               Gpv Switzerland Sa                                      Switzerland                                                                                                                                                                                                                                    First -Class Mail
Grace Contreras                                                  Address Redacted                                                                                                                                                                                                                                                                                       First -Class Mail
Grady County Treasurer                                           P.O. Box 280                                            Chickasha, OK 73023-0280                                                                                                                                                                                                                       First -Class Mail
Graeme A Court                                                   Address Redacted                                                                                                                                                                                                                                                                                       First -Class Mail
Graf Elektronik GmbH                                             Attn: Christian Soellner                                In Steinen 5, 6850 Dornbirn Austria                  Dornbirn, 6850                                           Austria                                              christian.soellner@grafgroup.com                                            First -Class Mail
Grafton City Hospital                                            1 Hospital Plz                                          Grafton, WV 26354                                                                                                                                                                                                                              First -Class Mail
Graham Engineering Corp                                          1203 Eden Rd                                            York, PA 17402-1965                                                                                                                                                                                                                            First -Class Mail
Grainger                                                         Dept 827111360                                          Palatine, IL 60038-0001                                                                                                                                                                                                                        First -Class Mail
Grainger                                                         Dept 883225013                                          P.O. Box 419267                                      Kansas City, MO 64141-6267                                                                                                                                                                First -Class Mail
Grainger                                                         c/o W W Grainger Inc                                    100 Grainger Pkwy                                    Lake Forest, IL 60045-5202                                                                                                                                                                First -Class Mail
Grainger Industrial Supply                                       Attn: Joe Diersing                                      4820 Signett Dr                                      Raleigh, NC 27616                                                                                                                                                                         First -Class Mail
Grainger Industrial Supply Inc                                   4820 Signett Dr                                         Raleigh, NC 27616                                                                                                                                                                                                                              First -Class Mail
Grand Canyon State Chapter of                                    Radiology Nurses                                        P.O. Box 33545                                       Phoenix, AZ 85067-3545                                                                                                                                                                    First -Class Mail
Grand River Hospital District                                    501 Airport Rd                                          Rifle, CO 81647                                                                                                                                                                                                                                First -Class Mail
Grandtek Distributors Inc                                        8662 Avenida De La Fuente, Ste 9-10                     San Diego, CA 92154-6228                                                                                                                                                                                                                       First -Class Mail
Granite Telecommunications                                       P.O. Box 983119                                         Boston, MA 02298-3119                                                                                                                                                                                                                          First -Class Mail
Grant Medical                                                    Attn: Jessica Taylor                                    1900 Church St, Ste 300                              Nashville, TN 37203-2285                                                                                                                                                                  First -Class Mail
Grant Senn                                                       Address Redacted                                                                                                                                                                                                                                                                                       First -Class Mail
Grant Thornton Llc                                               171 N. Clark Street                                     Suite 200                                            Chicago, IL 60601                                                                                                                                                                         First -Class Mail
Grant Thornton Llp                                               171 N Clark St, Ste 200                                 Chicago, IL 60601                                                                                                                                                                                                                              First -Class Mail
Grant Thornton LLP                                               1901 S Meyers Rd, Ste 455                               Oakbrook Terrace, IL 60181-5208                                                                                                                                                                                                                First -Class Mail
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Graphic Controls Acquisition Corp                                c/o Nissha Medical Technologies                         P.O. Box 1271                                        Buffalo, NY 14240-1271                                                                                                                                                                    First -Class Mail
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Gravity Talent Solutions (Airlife)                               250 Parkway Dr, Ste 150                                 Lincolnshire, IL 60069                                                                                                                                                                                                                         First -Class Mail
Gray Talent Group Inc                                            727 S Dearborn St, Apt 312                              Chicago, IL 60605-3822                                                                                                                                                                                                                         First -Class Mail
Grayling Hospital                                                1100 Michigan Ave                                       Grayling, MI 49738                                                                                                                                                                                                                             First -Class Mail
Great American Ins Co                                            301 E 4th St                                            Cincinati, OH 45202                                                                                                                                                                                                                            First -Class Mail
Great Fosters                                                    Stroude Rd                                              Egham, SY TW20 9UR                                   United Kingdom                                                                                                                                                                            First -Class Mail
Great Group Medical                                              Attn: Alice Hong                                        No 168, Xingong 2nd Rd                               Tianzhong Township                                       Changhua County, 52046          Taiwan               alice@greatgroup.com.tw                                                     First -Class Mail
Great Group Medical Co. Ltd                                      No. 168, Xingong 2Nd                                    Rd. Tiazhong Township                                Changhua County                                          520 Taiwan                      Taiwan                                                                                           First -Class Mail
Greatbatch Ltd.                                                  10000 Wehrle Drive                                      Clarence, NY 14031                                                                                                                                                                                                                             First -Class Mail
Greatbatch Medical (Integer)                                     Attn: Fernando Neri                                     Calle 5 Norte, Ste 511                               Tijuana, Baja California 22444                           Mexico                                               Fernando.neri@integer.net; javier.pena@integer.net                          First -Class Mail
Greater Baltimore Medical Center                                 6701 N Charles St                                       Towson, MD 21204                                                                                                                                                                                                                               First -Class Mail
Greater Charlotte Area Oncology                                  Nursing Society                                         P.O. Box 30515                                       Charlotte, NC 28230-0515                                                                                                                                                                  First -Class Mail
Greater Kansas City Chapter of                                   The Oncology Nursing Society                            2330 Shawnee Mission Pkwy                            Westwood, KS 66205-2005                                                                                                                                                                   First -Class Mail
Greater New York Dental Meeting                                  200 W 41St St                                           New York, NY 10036                                                                                                                                                                                                                             First -Class Mail
Greater Regional Medical Center                                  1700 W Townline                                         Creston, IA 50801                                                                                                                                                                                                                              First -Class Mail
Great-West Capital Management, LLC                               c/o Empower Annuity Ins Co of America                   8515 E Orchard Rd                                    Greenwood Village, CO 80111                                                                                                                                                               First -Class Mail
Greaves Best Design                                              1A The Meadows                                          Salisbury, WI SP5 1EZ                                United Kingdom                                                                                                                                                                            First -Class Mail
Greaves Best Design                                              1A The Meadows, Dean Hlll Park, West Dean               Salisbury, Wiltshire Sp5 1Ez                         United Kingdom                                                                                                                                                                            First -Class Mail
Green Hill Software LLC                                          30 W Sola St                                            Santa Barbara, CA 93101-2508                                                                                                                                                                                                                   First -Class Mail
Green Hills Software, Inc                                        Attn: Jeffrey Hall                                      30 W Sola St                                         Santa Barbara, CA 93101                                                                                       jeffhall@ghs.com                                                            EmailFirst-Class Mail
Green Valley Manufacturing Inc                                   100 Green Valley Dr                                     Mt Zion, IL 62549-1775                                                                                                                                                                                                                         First -Class Mail
Greenberg Traurig, Llp                                           Metlife Building                                        200 Park Avenue                                      New York, NY 10166                                                                                                                                                                        First -Class Mail
Greenberg Trauring LLP                                           200 Park Ave                                            New York, NY 10166-0005                                                                                                                                                                                                                        First -Class Mail
Greenville Health System                                         701 Grove Rd                                            Greenville, SC 29605-4210                                                                                                                                                                                                                      First -Class Mail
Greenville Health System (Kna Prisma Health System)              Prisma Health System                                    1071 Holland Rd.                                     Simpsonville, SC 59596                                                                                                                                                                    First -Class Mail
Greenwood Leflore Hospital                                       1401 River Rd Receiving                                 Greenwood, MS 38930                                                                                                                                                                                                                            First -Class Mail
Gregg D'Antonio                                                  Address Redacted                                                                                                                                                                                                                                                                                       First -Class Mail
Gregg L Ruppel                                                   Address Redacted                                                                                                                                                                                                                                                                                       First -Class Mail
Gregoretti, Cesare Md (Italy)                                    Corso Bramante, 88                                      Italy                                                                                                                                                                                                                                          First -Class Mail
Gregorio Ruiz                                                    Address Redacted                                                                                                                                                                                                                                                                                       First -Class Mail
Gregory John Lonieski                                            Address Redacted                                                                                                                                                                                                                                                                                       First -Class Mail
Gregory Jones                                                    Address Redacted                                                                                                                                                                                                                                                                                       First -Class Mail
Gregory Lucas                                                    Address Redacted                                                                                                                                                                                                                                                                                       First -Class Mail
Gregory McLaughlin                                               Address Redacted                                                                                                                                                                                                                                                                                       First -Class Mail
Gregory Nadolski                                                 Address Redacted                                                                                                                                                                                                                                                                                       First -Class Mail
Gregory Schmidt                                                  Address Redacted                                                                                                                                                                                                                                                                                       First -Class Mail
Grey Healthcare Group                                            c/o Geoff Howe Marketing Communications                 P.O. Box 10036                                       New York, NY 10256-0001                                                                                                                                                                   First -Class Mail
Grey Healthcare Group                                            c/o Geoff Howe Marketing Communications                 1656 Washington St, Ste 300                          Kansas City, MO 64108-1113                                                                                                                                                                First -Class Mail
Gri Medical & Electronics                                        4142 Industry Way                                       Flowery Branch, GA 30542-2894                                                                                                                                                                                                                  First -Class Mail
Gridlogics Technologies Pvt Ltd                                  Survey No 77/1 Sunflower, 4th Fl                        Pune, 13 411045                                      India                                                                                                                                                                                     First -Class Mail
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Grm Document Management                                          215 Coles Street                                        Jersey City, NJ 07310                                                                                                                                                                                                                          First -Class Mail
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Groupe Sharegate Inc                                             c/o Sharegate Group Inc                                 1751 Rue Richardson, Ste 5400                        Montreal, QC H3K 1G6                                     Canada                                                                                                                           First -Class Mail
Grumo Sa De Cv                                                   Sinaloa 411 Colonia Esperanza                           Mexicali, BC                                         Mexico                                                                                                                                                                                    First -Class Mail
Grundy County Memorial Hosp                                      201 E J Ave                                             Grundy Center, IA 50638                                                                                                                                                                                                                        First -Class Mail
Grupo E.M.B., Inc.                                               8460 N.W. 72Nd Street                                   Miami, FL 33166                                                                                                                                                                                                                                First -Class Mail
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Grupo Red Usa Llc                                                4600 E. Washington Street                               Suite 300                                            Phoenix, AZ 85034                                                                                                                                                                         First -Class Mail
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GS1 Germany GMBH                                                 Maarweg 133                                             Cologne, 05 50825                                    Germany                                                                                                                                                                                   First -Class Mail
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GSO Capital Partners LP                                          c/o Blackstone Credit                                   345 Park Ave                                         New York, NY 10154                                                                                                                                                                        First -Class Mail
Guangdong Haizhou Construction Technology Co, Ltd                No15, Jinyuan Rd                                        Chengbei Sub-District                                Jiangcheng District                                      Yangjiang, Guangdong, 529500    China                                                                                            First -Class Mail
Guangdong Haizhou Construction Technology Co, Ltd                No 207, Qianghui Commercial Bldg, No 13                 Yayuan Industrial Park Rd                            Nancheng, Dongguan                                       China                                                                                                                            First -Class Mail
Guangdong Haizhou Construction Technology Co., Ltd.              No. 207, Qianghui Commercial Bldg, No. 13               Yayuan Industrial Park Road                          Nancheng, Dongguan                                       China                                                                                                                            First -Class Mail
Guangdong Pharmaceuticals Holding Co., Ltd.                      8Th Floor, No.2, Zhuxigang Road, Yiexiu District,       Guangzhou, Guangdong Province                        China                                                                                                                                                                                     First -Class Mail
Guangxi Nanning Enfine Trading Co., Ltd.                         Room 1423, 1425 Mingshige, Huaxing Times Plaza, No. 4   Xinmin Road                                          Qingxiu District, Nanning                                China                                                                                                                            First -Class Mail
Guangzhou Cas Test Technical Services Co., Ltd.                  Lab Building A, No. 368 Xingke Road                     Tianhe District, Guangzhou                           Guangdong, 510650                                        China                                                                                                                            First -Class Mail
Guangzhou Chengqin Trading Co., Ltd.(2018 Ida)                   B101, No. 19, East Tangdong Road                        Tianhe District, Guangdong Province                  China                                                                                                                                                                                     First -Class Mail
Guangzhou HomeSun Medical Technology Co, Ltd                     5975 Shiloh Rd, Ste 114                                 Alpharetta, GA 30005                                                                                                                                                                                                                           First -Class Mail
Guangzhou HomeSun Medical Technology Co, Ltd                     Rm 702, Fl 7                                            Xinwei St, Lifu Rd                                   Haizhu District                                          Guangzhou, Guangdong            China                                                                                            First -Class Mail
Guangzhou Homesun Medical Technology Co., Ltd                    Room 702, Floor #7                                      Xinwei Street, Lifu Road                             Haizhu District                                          Guangzhou, Guangdong            China                                                                                            First -Class Mail
Guangzhou Homesun Medical Technology Co., Ltd.                   Room 702, Floor #7, Xinwei Street                       Haizhu District                                      Guangzhou, Guangdong                                     China                                                                                                                            First -Class Mail
Guangzhou Huitian New Material Co., Ltd.                         No. 6 Qibei Road,                                       Motor City, Xinhua Town,                             Guangzhou                                                China                                                                                                                            First -Class Mail
Guangzhou Jincheng Medical Instruments Co., Ltd                  Room 402, Building 16#, Tiannan Headquarters            No. 555, Panyu Avenue North, Donghuan Street         Panyu District, Guangzhou, Guangdong                     China                                                                                                                            First -Class Mail
Guangzhou Sunrise Trade Co., Ltd.                                Rm A702, Huangshanghuang Building                       No. 33 Xiaomeida Street                              Liwan District, Guangzhou                                China                                                                                                                            First -Class Mail
Guangzhou Upin Technology Co Ltd                                 4 Ruifeng 3rd St, Rm 1510                               Guangzhou, 190 510530                                China                                                                                                                                                                                     First -Class Mail
Guangzhou Upin Technology Co. Ltd.                               Room 1510                                               No. 4                                                Ruifeng 3Rd Street                                       Huangpu District, Guangzhou     China                                                                                            First -Class Mail
Guaranteed Delivery Service Inc                                  P.O. Box 42265                                          Brookpark, OH 44142-0265                                                                                                                                                                                                                       First -Class Mail
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Guardian Electric Manufacturing Co.                              1425 Lake Avenue                                        Woodstock, IL 60098                                                                                                                                                                                                                            First -Class Mail
Guardian Electronic Mfg Co                                       Attn: Russ Leipnitz                                     1425 Lake Ave                                        Woodstock, IL 60098                                                                                           rleipnitz@kelcomail.com                                                     EmailFirst-Class Mail
Guckenheimer Enterprises                                         3 Lagoon Dr, Ste 325                                    Redwood City, CA 94065-5167                                                                                                                                                                                                                    First -Class Mail
Guggenheim Partners Europe Limited                               South Dock House, Hanover Quay,                         Dublin 2, D02 Xw94                                   Ireland                                                                                                                                                                                   First -Class Mail
Guided Solutions Limited                                         The Catalyst                                            Unit 5-6 York Science Park                           Baird Lane, York                                         United Kingdom                                                                                                                   First -Class Mail
Guidehouse                                                       1180 Peachtree St. Ne                                   Suite 1900                                           Atlanta, GA 30309                                                                                                                                                                         First -Class Mail
Guidehouse Inc                                                   fka Navigant Consulting Inc                             150 N Riverside Plz, Ste 2100                        Chicago, IL 60606-1528                                                                                                                                                                    First -Class Mail
Guidepoint Security LLC                                          P.O. Box 742788                                         Atlanta, GA 30374-2788                                                                                                                                                                                                                         First -Class Mail
Guidepoint Security LLC                                          11951 Freedom Dr, Ste 1331                              Reston, VA 20190-5640                                                                                                                                                                                                                          First -Class Mail
Guill Tool & Engineering Co                                      10 Pike St                                              W Warwick, RI 02893-3612                                                                                                                                                                                                                       First -Class Mail
Guizhou Huayu Science & Technology Co. Ltd.                      Room 24, 18Th Floor, First Unit, 6Th Building           F District, Pengjiawan Huaguoyuan Project            Nanming District, Guiyang City Guizhou Province          China                                                                                                                            First -Class Mail
Gulf Corporation For Technology (Gct)                            Bldg. 2038, Road 4156, Block 341                        P.O. Box 2576                                        Manama                                                   Kingdom of Bahrain                                                                                                               First -Class Mail
Gulf Corporation for Technology (GCT)                            Bldg 2038, Rd 4156                                      Block 341, Juffair                                   P.O. Box 2576                                            Bahrain                                                                                                                          First -Class Mail
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Guttenberg Home Hlth Supplies                                    200 Main Street -                                       Guttenberg, IA 52052                                                                                                                                                                                                                           First -Class Mail
Guy Deutschman                                                                                                                                                                                                                                                                              guy.deutschman@allina.com                                                   Email
Guy Griffin                                                      Address Redacted                                                                                                                                                                                                                                                                                       First -Class Mail
Guy Warday                                                       c/o Totally Wired                                       5318 E 2nd St, Ste 677                               Long Beach, CA 90803-5324                                                                                                                                                                 First -Class Mail
Guy's & Saint Thomas's Nhs Founda                                Trust of Guy's Hospital                                 New City Ct, 2nd Fl                                  Great Maze Pond, LO SE1 9RT                              United Kingdom                                                                                                                   First -Class Mail
GVS Filter Technolgy UK Ltd                                      Attn: Mariola Barszczowska, Andrew Pearce               Attn: Robert O'Reilly                                NFC House, Mellishaw                                     Morecabe, Lancashire LA3 3EN    United Kingdom       mariola.barszczowska@gvs.com/Andrew.Pearce@gvs.com/robert.oreilly@gvs.com   First -Class Mail
Gvs Filter Technology Uk Ltd                                     Nfc House                                               Vickers Industrial Estate                            Mellishaw Lane, Morecambe                                Lancashire, La3 #En             United Kingdom                                                                                   First -Class Mail
Gvs Filter Technology Uk Ltd                                     Nfc House Vickers Industrial Estate                     Morecambe, LA LA3 3EN                                United Kingdom                                                                                                                                                                            First -Class Mail
GVS North America                                                63 Community Dr                                         Sanford, ME 04073-5809                                                                                                                                                                                                                         First -Class Mail
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Haas Factory Outlet                                              c/o Nymat Machine Tool Corp                             2650 Baird Rd                                        Fairport, NY 14450-1224                                                                                                                                                                   First -Class Mail
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HACK Formenbau GMBH                                              Wielandstrasse 11                                       173230 Kirchheim u                                   Teck Germany                                                                                                                                                                              First -Class Mail
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Hackensack University Medical Ctr                                30 Prospect Ave                                         Hackensack, NJ 07601-1914                                                                                                                                                                                                                      First -Class Mail
Hadimec AG                                                       Attn: Christian Meier                                   Alte Bruggerstrasse 32                               Mahgenwil, 5506                                          Switzerland                                          christian.meier@hadimec.com                                                 First -Class Mail
Hadimec Electronics AG                                           Alte Brugestrasse 32                                    CH-5506 Magenwill                                    Germany                                                                                                                                                                                   First -Class Mail
Hakama AG                                                        Attn: Claude Kasper                                     Hauptstrasse 50                                      Battwil, 4112                                            Switzerland                                          c.kasper@hakama.ch                                                          First -Class Mail
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Halperin, Battaglia Benzija, LLP                                 Attn: Walter Benzija                                    40 Wall St, 37th Fl                                  New York, NY 10005                                                                                            wbenzija@halperinlaw.net                                                    EmailFirst-Class Mail
Hamilton Medical Center                                          1200 Memorial Dr                                        Receiving                                            Dalton, GA 30720                                                                                                                                                                          First -Class Mail
Hancock County Memorial Hosp                                     532 1st St NW                                           Receiving Dept                                       Britt, IA 50423                                                                                                                                                                           First -Class Mail
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Hanover Research Council LLC                                     4401 Wilson Blvd, 4th Fl                                Arlington, VA 22203                                                                                                                                                                                                                            First -Class Mail
Hanowell Pain Management                                         Attn: Michael Dalton Hanowell                           5611 Chestnut Hill Rd                                Athens, GA 30606-5317                                                                                                                                                                     First -Class Mail
Hans Rudolph Inc                                                 Attn: Lee A Stroh                                       8325 Cole Pkwy                                       Shawnee, KS 66227                                                                                             lee@rudolphkc.com                                                           EmailFirst-Class Mail
Hans Rudolph Inc                                                 8325 Cole Pkwy                                          Shawnee, KS 66227-3128                                                                                                                                                                                                                         First -Class Mail
Hans Rudolph, Inc.                                               8325 Cole Pkwy                                          Shawnee, KS 66227                                                                                                                                                                                                                              First -Class Mail
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Harbor Pointe Air Conditioning & Control Systems Inc             Attn: Greg                                              20914 Bake Pkwy, Ste 110                             Lake Forest, CA 92630                                                                                                                                                                     First -Class Mail
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Harold Oglesby                                                   Address Redacted                                                                                                                                                                                                           Email Address Redacted                                                      EmailFirst-Class Mail
Harold Oglesby Rrt                                               Address Redacted                                                                                                                                                                                                                                                                                       First -Class Mail
Harrell Trac & Equipment Inc                                     213 Adams Lake Blvd                                     Atlanta, GA 30339-3348                                                                                                                                                                                                                         First -Class Mail
Harrington Industrial Plastics                                   Attn: Joe Corrales                                      14480 Yorba Ave                                      Chino, CA 91710                                                                                               jcorrales@hipco.com                                                         EmailFirst-Class Mail
Harrison Lazarus                                                 Address Redacted                                                                                                                                                                                                                                                                                       First -Class Mail
Harry Brown Md                                                   Address Redacted                                                                                                                                                                                                                                                                                       First -Class Mail
Harsh Hitesh Patel                                               Address Redacted                                                                                                                                                                                                                                                                                       First -Class Mail
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Hartford Fire Insurance Company                                  1 Hartford Plz                                          Hartford, CT 06155                                                                                                                                                                                                                             First -Class Mail
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Haver & Boecker                                                  Attn: Florian Alsmann                                   Ennigerloher Strasse 64                              Oelde, 59302                                             Germany                                              f.alsmann@haverboecker.com                                                  First -Class Mail
Haver & Boecker Ohg                                              Ennigerloher Strasse 64                                 Oelde, 59302                                         Germany                                                                                                                                                                                   First -Class Mail
Hawaii Dept of Taxation                                          P.O. Box 1425                                           Honolulu, HI 96806-1425                                                                                                                                                                                                                        First -Class Mail
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Hawaii Pacific Health                                            55 Merchant St, 27th Fl                                 Honolulu, HI 96813-4333                                                                                                                                                                                                                        First -Class Mail
Hawaii Sleep Society                                             Attn: Carol Yoshimura                                   1301 Punchbowl St                                    Honolulu, HI 96813                                                                                            c.Yoshimura@kuakini.org                                                     EmailFirst-Class Mail
Hawaii Society For Respiratory Care                              Attn: Jamie Sparacio Bas Rrt-Nps                        1319 Punahou St                                      Honolulu, HI 96826-1001                                                                                                                                                                   First -Class Mail
Hawaii Society For Respiratory Care                              c/o The Queen's Medical Center                          1301 Punchbowl St                                    Honolulu, HI 96813-2402                                                                                                                                                                   First -Class Mail
Hawk Design Inc                                                  Attn: Michael Slasinski                                 7201 Danny Dr                                        Saginaw, MI 48609-5288                                                                                                                                                                    First -Class Mail
Hawthorne Strategy Group Inc                                     141 W Jackson Blvd, Ste 2110                            Chicago, IL 60604-3347                                                                                                                                                                                                                         First -Class Mail
Hawthorne Strategy Group, Inc.                                   900 N Michigan Ave, Ste 1400                            Chicago, IL 60611                                                                                                                                                                                                                              First -Class Mail
Haydee D Lacy                                                    Address Redacted                                                                                                                                                                                                                                                                                       First -Class Mail
Haydon Kerk Motion Solutions Inc                                 Attn: Alison Vonldetstine                               1500 Meriden Rd                                      Waterbury, CT 06786                                                                                           alison.voniderstine@ametek.com                                              EmailFirst-Class Mail
Haynes & Boone LLP                                               2801 N Harwood St                                       Dallas, TX 75201-1574                                                                                                                                              sakina.foster@haynesboone.com                                               EmailFirst-Class Mail
Haynes and Boone, LLP                                            Attn: Eli Columbus/J. Frasher Murphy                    Attn: Matt Ferris                                    2801 N Harwood St, Ste 2300                              Dallas, TX 75201                                     Eli.Columbus@haynesboone.com                                                EmailFirst-Class Mail
Haynes and Boone, LLP                                                                                                                                                                                                                                                                       Frasher.Murphy@haynesboone.com                                              Email
Haynes and Boone, LLP                                                                                                                                                                                                                                                                       Matt.Ferris@haynesboone.com                                                 Email
Hays Medical Center, Inc. (University of Kansas Health System)   2220 Canterbury Dr                                      Hays, KS 67601                                                                                                                                                                                                                                 First -Class Mail
Hayssen Flexible Systems                                         aka Hayssen Inc                                         25242 Network Pl                                     Chicago, IL 60673-1252                                                                                                                                                                    First -Class Mail
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Health Affinities LLC                                               c/o Healthcom Media                                                259 Veterans Ln, Ste 201                          Doylestown, PA 18901-6719                                                                                                                              First -Class Mail
Health Canada                                                       P/L 1918B Rm-Priece 1804 B                                         Ottawa, ON K1A 0K9                                Canada                                                                                                                                                 First -Class Mail
Health Care Information Systems AL1HCI0018                          450 Regency Pkwy, Ste 100                                          Omaha, NE 68114                                                                                                                                                                                          First -Class Mail
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Health Solutions Enterprise                                         2nd Floor, Tao Corporate Center                                    90 P.E. Antonio Street                            Ugong Pasig City 1604                    Philippines                                                                                                   First -Class Mail
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Health Solutions Enterprise Inc.                                    Purok 8                                                            Cayetano Avenue Extension                         Barangay Likod Palingon                  Tipas Taguig City              Philippines                                                                    First -Class Mail
Health Star Physicians                                              420 W Morris Blvd, Ste 400 A                                       Morristown, TN 37813                                                                                                                                                                                     First -Class Mail
Healthcare 21 UK Ltd                                                Unit B1-B2 Bond Close                                              Kingsland Business Park                           Basingstoke RG24 9PZ                     United Kingdom                                                                                                First -Class Mail
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HealthTrust Purchasing Group, L.P. 7023                             155 Franklin Road, Ste 400                                         Brentwood, TN 37027                                                                                                                                                                                      First -Class Mail
HealthTrust Purchasing Group, L.P. 73822                            Replaces HPG 1380                                                  1100 Dr Martin L King Jr Blvd, Ste 1100           Nashville, TN 37203                                                                                                                                    First -Class Mail
HealthTrust Purchasing Group, L.P. 75824                            Replaces HPG 1380                                                  1100 Dr Martin L King Jr Blvd, Ste 1100           Nashville, TN 37203                                                                                                                                    First -Class Mail
HealthTrust Purchasing Group, L.P. 75830                            Replaces HPG 1380                                                  1100 Dr Martin L King Jr Blvd, Ste 1100           Nashville, TN 37203                                                                                                                                    First -Class Mail
Healthup Sp. Z.O.O.                                                 Smolna 4 St                                                        00-375 Warszawa                                   Poland                                                                                                                                                 First -Class Mail
Healthyard Enterprises                                              Ground Floor, Cooksey House No2                                    Simon Mazorodsy Road                              Southerton Harare                        Zimbabwe                                                                                                      First -Class Mail
Healthyard Enterprises                                              Ground Fl Cooksey House                                            Harare Southerton, HG334                          Zimbabwe                                                                                                                                               First -Class Mail
Heart & Lung Center Of SE TX                                        755 N 11th St #P3900                                               Beaumont, TX 77702                                                                                                                                                                                       First -Class Mail
Heart Failure Society of America In                                 9211 Corporate Blvd, Ste 270                                       Rockville, MD 20850-3856                                                                                                                                                                                 First -Class Mail
Heart Hospital Of Austin                                            3801 N Lamar Blvd                                                  Austin, TX 78756                                                                                                                                                                                         First -Class Mail
Heart Of The Rockies Med Ctr                                        1000 Rush Dr                                                       Salida, CO 51041                                                                                                                                                                                         First -Class Mail
Heartland Medical Sales & Services LLC                              2601 Holloway Rd                                                   Louisville, KY 40299-6129                                                                                                                                                                                First -Class Mail
Heartland Services Express                                          901 N Kansas Ave N                                                 Liberty, IA 52317                                                                                                                                                                                        First -Class Mail
Heather Latham                                                      Address Redacted                                                                                                                                                                                                                                                            First -Class Mail
Heather Ryan                                                                                                                                                                                                                                                                   heather@bbslaw.com                                               Email
Heatwave Supply Co                                                  6529 E 14th St                                                     Tulsa, OK 74112-6613                                                                                                                                                                                     First -Class Mail
Hector Alfonso Ortiz-Torres                                         Address Redacted                                                                                                                                                                                                                                                            First -Class Mail
Hector Hernandez                                                    Address Redacted                                                                                                                                                                                                                                                            First -Class Mail
Hector Javier Guerrero                                              Address Redacted                                                                                                                                                                                                                                                            First -Class Mail
Hector Valdez Perez                                                 Address Redacted                                                                                                                                                                                                                                                            First -Class Mail
Hef Technical Services                                              c/o High Efficiency Filters Tech Servic                            900 Ogden Ave 317                                 Downers Grove, IL 60515-2829                                                                                                                           First -Class Mail
Heidelco Medicore Private Limited                                   298-281, Transport Nagar, Kanpur Road                              Adjacent Transport Nagar Metro Station,           Lucknow. Uttar Pradesh 226012            India                                                                                                         First -Class Mail
Heidi Powell                                                        Address Redacted                                                                                                                                                                                                                                                            First -Class Mail
Heidolph Na LLC                                                     1241 Jarvis Ave                                                    Elk Grove Village, IL 60007-2301                                                                                                                                                                         First -Class Mail
Heidrick & Struggles                                                2001 Pennsylvania Ave, 8th Fl                                      Washington, DC 20006                                                                                                                                                                                     First -Class Mail
Heidrick & Struggles Inc                                            233 S Wacker Dr, Ste 4900                                          Chicago, IL 60606-6372                                                                                                                                                                                   First -Class Mail
Heilind Electronics                                                 P.O. Box 41117                                                     Los Angeles, CA 90074-1117                                                                                                                                                                               First -Class Mail
Heilind Electronics                                                 7985 Dunbrook Rd, Ste A/B                                          San Diego, CA 92126-6307                                                                                                                                                                                 First -Class Mail
Heilind Electronics                                                 9400 Activity Rd                                                   San Diego, CA 92126                                                                                                                                                                                      First -Class Mail
Heilind Electronics Inc                                             Attn: Nicole Tatum, Chris Goldbach                                 58 Jonspin Rd                                     Wilmington, MA 01887                                                                  ntatum@heilind.com; cgoldbach@heilind.com                        EmailFirst-Class Mail
Heiz-Medsystems                                                     Attn: Hans Rudolf Heiz                                             Schiffgasse 4                                     Ermatingen, 8272                         Switzerland                                  info@heiz-medsystems.ch                                          First -Class Mail
Heiz-medSystems GmgH                                                Schiffgasse 4                                                      CH-8272 Ermatingen                                Germany                                                                                                                                                First -Class Mail
HEKUMA GmbH                                                         Freisinger Str 3 b                                                 85386 Eching                                      Germany                                                                                                                                                First -Class Mail
Hekuma Gmbh                                                         Freisinger Strasse 3B                                              Eching, 09 85386                                  Germany                                                                                                                                                First -Class Mail
Helen Hayes Hospital                                                51-55 Rte 9W                                                       W Haverstraw, NY 10993                                                                                                                                                                                   First -Class Mail
Helen Shapiro                                                       Address Redacted                                                                                                                                                                                                                                                            First -Class Mail
Hellimed SRL                                                        StrTudor Vianu, mrS-7, sector 1                                    011635, Bucharest                                 Romania                                                                                                                                                First -Class Mail
Hellimed SRL                                                        StrTudor Vianu, mrS-7, sector 1                                    011635, Bucharest                                 Romania                                                                                                                                                First -Class Mail
Helmut Bohr Medizinische Garate GMBH                                Riesengasse 17                                                     66399, Mandelbachtal                              Germany                                                                                                                                                First -Class Mail
Helmut Bohr Medizinische Gerate Gmb                                 Riesengasse 17 66399                                               Mandelbachtal, 66399                              Germany                                                                                                                                                First -Class Mail
HEMA Metallbearbeitung GMBH                                         Flosslande 3                                                       87452 Krugzell                                    Germany                                                                                                                                                First -Class Mail
Hemisferio Sur S.A.                                                 Fransisco Bilbao 2829                                              Santiago, Santiago 7501055                        Chile                                                                                                                                                  First -Class Mail
Hemisferio Sur SA                                                   Avenida Francisco Bilbao                                           2829 Santiago                                     Santiago, 7540183                        Chile                                                                                                         First -Class Mail
HemoCare SAC                                                        Av Andres Aramburu No 856,                                         Oficina 20, Surquillo                             Lima 34, Peru                                                                                                                                          First -Class Mail
Henan Fanrun Investment & Creation Industrial Co., Ltd.             No 904, 9th floor, Unit 1, Bldg 2, No 5, Annex 5                   Shangdu Road                                      Zhengdong New District, Zhengzhou City   China                                                                                                         First -Class Mail
Henderson Services LLC                                              4502 Poplar Level Rd                                               Louisville, KY 40213-2124                                                                                                                                                                                First -Class Mail
Henderson Services, LLC                                             4502 Poplar Level Rd                                               Louisville, KY 40213                                                                                                                                                                                     First -Class Mail
Henkel Co                                                           Attn: Shannon Mccafferty, Olivia Jung                              18930 W 78th St                                   Chanhassen, MN 55647                                                                  shannon.mccafferty@henkel.com; olivia.jung@henkel.com            EmailFirst-Class Mail
Henkel Corporation                                                  32100 Stephenson Hwy                                               Madison Heights, MI 48071                                                                                                                                                                                First -Class Mail
Hennepin County Medical Center                                      901 S 6th St Receiving                                             Receiving                                         Minneapolis, MN 55415                                                                                                                                  First -Class Mail
Henricksen & Co Inc                                                 1070 Ardmore Ave                                                   Itasca, IL 60143-1304                                                                                                                                                                                    First -Class Mail
Henry Abraham Pardo                                                 Address Redacted                                                                                                                                                                                                                                                            First -Class Mail
Henry County Hospital                                               1600 E Riverview Ave                                               Napoleon, OH 43545                                                                                                                                                                                       First -Class Mail
Henry County Medical Center                                         301 Tyson Ave                                                      Receiving Dept                                    Paris, TN 38242                                                                                                                                        First -Class Mail
Henry Ford Health System                                            1 Ford Pl, Ste 5E-A                                                Detroit, MI 48202-3450                                                                                                                                                                                   First -Class Mail
Henry Ford Health System                                            1 Ford Pl                                                          Detroit, MI 48202                                                                                                                                                                                        First -Class Mail
Henry Ford Health System                                            1 Ford Pl                                                          Detroit, MI 48202-3450                                                                                                                                                                                   First -Class Mail
Henry Ford Health System Accounts Payable                           39450 W 12 Mile Rd                                                 Novi, MI 48377-3600                                                                                                                                                                                      First -Class Mail
Henry Ford Health System Accounts Payable                           24555 Haig Rd                                                      Taylor, MI 48180                                                                                                                                                                                         First -Class Mail
Henry Ford Health System Accounts Payable                           751 Medical Center Ct                                              Chula Vista, CA 91911-6617                                                                                                                                                                               First -Class Mail
Henry Ford Health System Accounts Payable                           2799 W Grand Blvd                                                  Detroit, MI 48202                                                                                                                                                                                        First -Class Mail
Henry Mayo                                                          23845 McBean Pkwy                                                  Valencia, CA 91355                                                                                                                                                                                       First -Class Mail
Henry Mayo Newhall Hospital                                         23845 Mcbean Pkwy                                                  Valencia, CA 91355                                                                                                                                                                                       First -Class Mail
Henry Schein Inc                                                    135 Duryea Rd                                                      Melville, NY 11747-3834                                                                                                                                                                                  First -Class Mail
Henry Schein Medical GmbH                                           Alt-Moabit 90b                                                     10559 Berlin                                      Germany                                                                                                                                                First -Class Mail
Henry Schein, Inc.                                                  135 Duryea Rd                                                      Melville, NY 11747                                                                                                                                                                                       First -Class Mail
Hernan Zarate                                                       Address Redacted                                                                                                                                                                                                                                                            First -Class Mail
Herrmann Ultrasonics Inc                                            1261 Hardt Cir                                                     Bartlett, IL 60103                                                                                                                                                                                       First -Class Mail
Hertz                                                               8501 Williams Rd                                                   Estero, FL 33928-3325                                                                                                                                                                                    First -Class Mail
Heubel Material Handling Inc                                        6311 Equitable Rd                                                  Kansas City, MO 64120-1332                                                                                                                                                                               First -Class Mail
Heubel Raymond                                                      P.O. Box 870975                                                    Kansas City, MO 64187-0975                                                                                                                                                                               First -Class Mail
Hewitt Associates LLC                                               Attn: Aon Hewitt                                                   14707 S Dixie Hwy, Ste 201                        Miami, FL 33176-7950                                                                                                                                   First -Class Mail
Hewitt Associates LLC                                               Attn: Aon Hewitt                                                   P.O. Box 95135                                    Chicago, IL 60694-5135                                                                                                                                 First -Class Mail
Hewlett Packard Co                                                  20555 Sh 249                                                       Houston, TX 77070                                                                                                                                                                                        First -Class Mail
Hewlett Packard Enterprise                                          20555 SH 249                                                       Houston, TX 77070                                                                                                                                                                                        First -Class Mail
Hey Darlin'                                                         Attn: Danielle Ness                                                11011 36th Ave NE                                 Seattle, WA 98125                                                                     danielle@heydarlin.com                                           EmailFirst-Class Mail
HGP Consulting, LLC                                                 5401 Leopards Bane Ct                                              Holly Springs, NC 27540                                                                                                                                                                                  First -Class Mail
HHBR Consulting dba Three Things Group                              6048 Dupont Ave S                                                  Minneapolis, MN 55419                                                                                                                                                                                    First -Class Mail
Hi Tech Manufacturing LLC                                           4637 25th Ave                                                      Schiller Park, IL 60176-1302                                                                                                                                                                             First -Class Mail
Hida Visuals Inc                                                    8732 Wyngate St                                                    Sunland, CA 91040-1916                                                                                                                                                                                   First -Class Mail
Highland Commercial Roofing                                         5105 Heintz St                                                     Baldwin Park, CA 91706                                                                                                                                                                                   First -Class Mail
Hilda S Hernandez                                                   Address Redacted                                                                                                                                                                                                                                                            First -Class Mail
Hill, Nicholas Dr.                                                  800 Washington St                                                  Boston, MA 02111                                                                                                                                                                                         First -Class Mail
Hillary Engel                                                       Address Redacted                                                                                                                                                                                                                                                            First -Class Mail
Hill-Rom Co Inc                                                     Attn: Mike Stankoski                                               1069 State Rte 46 E                               Batesville, IN 47006                                                                  mike.stankoski@hill-rom.com                                      EmailFirst-Class Mail
Hill-Rom Co Inc                                                     1069 State Rd 46 E                                                 Batesville, IN 47006-7520                                                                                                                                                                                First -Class Mail
Hillsdale Hospital                                                  168 S Howell St                                                    Hillsdale, MI 49242                                                                                                                                                                                      First -Class Mail
Hilton Austin                                                       500 E 4th St                                                       Austin, TX 78701                                                                                                                                                                                         First -Class Mail
Hilton Head Hospital                                                25 Hospital Ctr Blvd                                               Hilton Head Island, SC 29926                                                                                                                                                                             First -Class Mail
Hinkle Manufacturing Inc                                            P.O. Box 60210                                                     Rossford, OH 43460-0210                                                                                                                                                                                  First -Class Mail
Hinkle Manufacturing Inc                                            348 5th St                                                         Perrysburg, OH 43551-4920                                                                                                                                                                                First -Class Mail
Hipage Co Inc                                                       2420 Mall Dr, Ste 208                                              Charleston, SC 29418                                                                                                                                                                                     First -Class Mail
His Co Inc                                                          c/o Hisco Inc, All-Spec Industries                                 6650 Concord Park Dr                              Houston, TX 77040-4098                                                                                                                                 First -Class Mail
HIS Company, Inc. dba Hisco                                         6650 Concord Park Dr                                               Houston, TX 77040-4098                                                                                                                                                                                   First -Class Mail
Hisco Inc                                                           Attn: Rebecca Terry                                                9151 Blvd 26, Bldg A, Fl 4                        N Richland Hills, TX 76180                                                            rterry@hiscoinc.com                                              EmailFirst-Class Mail
Hiscomex Sa De Cv                                                   Circuito De Las Misiones Oeste                                     Mexicali, BC 21394                                Mexico                                                                                                                                                 First -Class Mail
Hissin Medizintechnik GmbH                                          Obere Zeil 6-8                                                     61440, Oberursel/Ts.                              Germany                                                                                                                                                First -Class Mail
Hissin Medizintechnik GmbH                                          Ob Zeil 6-8,                                                       61440, Oberursel/Ts.                              Germany                                                                                                                                                First -Class Mail
Hissin Medizintechnik GmbH                                          Ob Zeil 6-8                                                        61440 Oberursel, Taunus                           Germany                                                                                                                                                First -Class Mail
Hitachi Capital America Corp                                        c/o Vyaire Financial Services                                      7808 Creekridge Cir, Ste 250                      Edina, MN 55439-2647                                                                                                                                   First -Class Mail
Hitachi Capital America Corp.                                       7808 Creekridge Cir                                                Minneapolis, MN 55439                                                                                                                                                                                    First -Class Mail
Hitachi Capital America Vendor Services                             7808 Creekridge Cir, Ste 250                                       Minneapolis, MN 55439                                                                                                                                                                                    First -Class Mail
HJ Kirby Corp.                                                      29325 Clemens Rd                                                   Westlake, OH 44145                                                                                                                                                                                       First -Class Mail
Hjb Holdings                                                        P.O. Box 22899                                                     Beachwood, OH 44122-0899                                                                                                                                                                                 First -Class Mail
Hm Graphics Inc                                                     7840 W Hicks St                                                    Milwaukee, WI 53219-1158                                                                                                                                                                                 First -Class Mail
HN Lockwood Inc                                                     880 Sweeney Ave                                                    Redwood City, CA 94063-3024                                                                                                                                                                              First -Class Mail
HN Lockwood, Inc.                                                   880 Sweeney Ave                                                    Redwood City, CA 94063                                                                                                                                                                                   First -Class Mail
HNRY Logistics, Inc.                                                5200 W 110th St                                                    Overland Park, KS 66211                                                                                                                                                                                  First -Class Mail
Hogan Lovells US LLP                                                Columbia Sq                                                        555 3th St NW                                     Washington, DC 20004                                                                                                                                   First -Class Mail
Hogan Lovells US LLP                                                Columbia Sq                                                        555 3th St NW                                     Washington, DC 20004                                                                                                                                   First -Class Mail
Holecek Associates Inc                                              c/o Integritas Analytics                                           416 Old Mill Cir                                  Lincolnshire, IL 60069-3305                                                                                                                            First -Class Mail
Holiy Name Medical Center, Inc.                                     718 Teaneck Rd                                                     Teaneck, NJ 07666                                                                                                                                                                                        First -Class Mail
Holton Community Hospital                                           1110 Columbine Dr                                                  Holton, KS 66436                                                                                                                                                                                         First -Class Mail
Holtzbrinck Publishers LLC                                          c/o Mps Macmillan Holdings LLC                                     16365 James Madison Hwy                           Gordonsville, VA 22942-8501                                                                                                                            First -Class Mail
Holy Family Hospital                                                70 E St                                                            Receiving                                         Methuen, MA 01844                                                                                                                                      First -Class Mail
Holy Redeemer Hospital                                              1648 Huntingdon Pike                                               Meadowbrook, PA 19046                                                                                                                                                                                    First -Class Mail
Homepixels                                                          49456 Violet St                                                    Indio, CA 92201                                                                                                                                                                                          First -Class Mail
Hommer Tool & Mfg Inc                                               311 W University Dr                                                Arlington Heights, IL 60004-1811                                                                                                                                                                         First -Class Mail
Honeywell International, Inc                                        300 South Tryon Street                                             Charlotte, NC 28202                                                                                                                                                                                      First -Class Mail
Hongkong Cerulean Mold Co Ltd                                       c/o Xifang Datianyang Ind Pk                                       Songgang St Baoan Distict, 1st Fl                 Shenzhen, 190                            China                                                                                                         First -Class Mail
Hooman Yarmohammadi                                                 1275 York Ave                                                      New York, NY 10065-6007                                                                                                                                                                                  First -Class Mail
Hooper Lundy & Bookman PC                                           1875 Century Park, Ste 1600                                        Los Angeles, CA 90067-2517                                                                                                                                                                               First -Class Mail
Hoosier Inc.                                                        1152 California Ave                                                Corona, CA 92881                                                                                                                                                                                         First -Class Mail
Hoosier Plastic Fab Inc                                             Attn: Melissa Sims                                                 1152 California Ave                               Corona, CA 92878                                                                      msims@hoosierinc.com                                             EmailFirst-Class Mail
Hope-Amundson Inc                                                   1301 3rd Ave, Ste 300                                              San Diego, CA 92101                                                                                                                                                                                      First -Class Mail
Horacio Icaza y Cia S.A. (La Casa del Medico)                       Avenida Justo Arosemana y calle 44                                 Bellavista Ciudad de Panama                       Panama                                                                                                                                                 First -Class Mail
Horacio Icaza y Cia SA                                              La Casa del Medico                                                 Avenida Justo Arosemena                           Calle 44E Edificio La Casa               del Médico Ciudad de Panamá    Panama                                                                         First -Class Mail
Horiba Mira Limited                                                 Watling St                                                         Nuneaton Warwickshire UK                          England, CV10 0TU                        United Kingdom                                                                                                First -Class Mail
Horiba Mira Ltd                                                     Attn: Becky Goddard                                                Watling St                                        Nuneaton, Warwickshire CV10 0TU          United Kingdom                               becky.Goddard@horiba-mira.com                                    First -Class Mail
Horizon Blue Cross Blue Shield                                      c/o of New Jersey                                                  P.O. Box 18009                                    Newark, NJ 07191-8009                                                                                                                                  First -Class Mail
Horizon Blue Cross Blue Shield of NJ                                3 Penn Plz E Pp15F                                                 Newark, NJ 07105-2258                                                                                                                                                                                    First -Class Mail
Horn Medical LLC                                                    18229 N Mission Hills Ave                                          Baton Rouge, LA 70810-7971                                                                                                                                                                               First -Class Mail
Hornacek-Jaeger Servis                                              Sabinovska 5                                                       Bratislava 82102                                  Slovakia                                                                                                                                               First -Class Mail
Horse Creek Medical Inc                                             8007 Us Highway 212                                                Roberts, MT 59070-9575                                                                                                                                                                                   First -Class Mail
Hosokawa Yoko Co Ltd                                                11-5 Nibancho                                                      Chiyoda-Ku, 13 102-0084                           Japan                                                                                                                                                  First -Class Mail
Hospital Clinico Universitario Lozano Blesa de Zaragoza             Avda, Calle de San Juan Bosco, 15                                  Zaragoza 50009                                    Spain                                                                                                                                                  First -Class Mail
Hospital Do Tricentenario                                           Rua Farias Neves Sobrinho, No 232                                  Bairro Novo, Olinda                               PE, CEP 53.120-420                       Brazil                                                                                                        First -Class Mail
Hospital Evangelico de Rio Verde                                    Rua Abel Pereira de Castro                                         No 644 Centro                                     Brazil                                                                                                                                                 First -Class Mail
Hospital Hispania S.L.                                              C/Camino de lo Cortao No 6                                         Local 3; Ctro Emp Delta                           San Sebastian de los Reyes               Madrid 28703                   Spain                                                                          First -Class Mail
Hospital Hispania S.L.                                              Avda Camino de lo Cortao, 6 Centro empresarial Delta, edificio 3   San Sebastian de los Reyes                        Madrid 28703                             Spain                                                                                                         First -Class Mail
Hospital Hispania S.L.                                              Centro Empresarial Delta                                           San Sebastian de los Reyes                        Madrid 28703                             Spain                                                                                                         First -Class Mail
Hospital Hispania Sl                                                Avda Camino De Lo                                                  San Sebastian De Los Reyes, 28703                 Spain                                                                                                                                                  First -Class Mail
Hospital Mater Dei SA                                               Rua Mato Grosso, No 1100                                           Bairro Santo Agostinho                            Brazil                                                                                                                                                 First -Class Mail
Hospital Miguel Servet                                              Isabel La Catolica, 1-3                                            50009 Zaragoza                                    Spain                                                                                                                                                  First -Class Mail
Hospitalar                                                          Attn: Mario Labella                                                2750 SW 154 Ave, Ste 310                          Miramar, FL 33027                                                                                                                                      First -Class Mail
Hospitalar                                                          Av Francisco de Miranda                                            Centro Seguros La Paz Oficina S71 Boleita         Caracas, Miranada                        Venezuela                                                                                                     First -Class Mail
Hosptech Comercio de Equipamentos Medico Hospitalares Ltda. - EPP   103 North Rua N0-11, no 23-B                                       Palmas, Tocantins CEP 77001-036                   Brazil                                                                                                                                                 First -Class Mail
Host Analystics, Inc.                                               555 Twin Dolphin Dr, Ste 400                                       Redwood City, CA 94065                                                                                                                                                                                   First -Class Mail
Hotel Zaza Uptown Dallas                                            2332 Leonard St                                                    Dalla, TX 75201                                                                                                                                                                                          First -Class Mail
Houlihan Lokey Financial                                            10250 Constellation Blvd, 5th Fl                                   Los Angeles, CA 90067-6205                                                                                                                                                                               First -Class Mail
Houlton Regional Hospital                                           20 Hartford St                                                     Houlton, ME 04730                                                                                                                                                                                        First -Class Mail
House of Batteries                                                  10910 Talbert Ave                                                  Fountain Valley, CA 92708                                                                                                                                                                                First -Class Mail
House of Packaging                                                  16720 Chestnut St, Ste B                                           City of Industry, CA 91748                                                                                                                                                                               First -Class Mail
HP Cosmos Sports & Medical GMBH                                     Am Sportplatz 8                                                    83365 Nussdorf bei Traunstein                     Germany                                                                                                                                                First -Class Mail
HP Cosmos Sports & Medical GMBH (Hoechberg)                         Am Sportplatz 8                                                    83365 Nussdorf bei Traunstein                     Germany                                                                                                                                                First -Class Mail
HPS 545                                                             3275 N M 37 Hwy                                                    P.O. Box 2476                                     Middleville, MI 49333-0247                                                                                                                             First -Class Mail
HS Medplan KFT                                                      Nagytetenyi Ut 30                                                  Budapest, 1222                                    Hungary                                                                                                                                                First -Class Mail
HSBC Bank plc                                                       8 Canada Square                                                    London, E14 5HQ                                   United Kingdom                                                                                                                                         First -Class Mail
Hsiner Co., Ltd                                                     312 Jhongshan Rd                                                   Shengang District, Taichung City 429              Taiwan                                                                                                                                                 First -Class Mail
Hsiner Co., LTD                                                     312 Zhongshan Rd                                                   Shenang Township, Taichung County 429             Taichung, Taiwan                                                                                                                                       First -Class Mail
Huang, Yu-Chin MD                                                   1800 Orleans St                                                    Baltimore, MD 21287                                                                                                                                                                                      First -Class Mail
Hub Group                                                           1801 Park 270 Dr                                                   St Louis, MO 63141                                                                                                                                                                                       First -Class Mail
Hub Group Inc                                                       2000 Clearwater Dr                                                 Oak Brook, IL 60523-8809                                                                                                                                                                                 First -Class Mail
Hub International Limited                                           55 E Jackson Blvd                                                  Chicago, IL 60604                                                                                                                                                                                        First -Class Mail
Hudson Rivera Partners LLP                                          c/o The Thayer Hotel                                               674 Thayer Rd                                     W Point, NY 10996-1906                                                                                                                                 First -Class Mail
Hudson Valley Hospital Center                                       1980 Crompond Rd                                                   Cortlandt, NY 10567                                                                                                                                                                                      First -Class Mail
Hue Brand Group LLC                                                 c/o Legionthirteen                                                 1 Custom House St, Ste 2L                         Providence, RI 02903-2600                                                                                                                              First -Class Mail
Huestis Machine Corp                                                P.O. Box 718                                                       Bristol, RI 02809-0718                                                                                                                                                                                   First -Class Mail
Huestis Machine Corp                                                68 Buttonwood St                                                   Bristol, RI 02809-3626                                                                                                                                                                                   First -Class Mail
Huffmaster Crisis Response LLC                                      1055 W Maple Rd                                                    Clawson, MI 48017                                                                                                                                                                                        First -Class Mail
Hughes Marino                                                       1450 Front St                                                      San Diego, CA 92101                                                                                                                                                                                      First -Class Mail
Hughes Marino Inc                                                   1450 Front St                                                      San Diego, CA 92101-3411                                                                                                                                                                                 First -Class Mail
Hughes Marino, Inc                                                  c/o Legal                                                          1450 Front St                                     San Diego, CA 92101                                                                   jared.rahming@hughesmarino.com                                   EmailFirst-Class Mail
Hughes Marino, Inc.                                                 1450 Front St                                                      San Diego, CA 92107                                                                                                                                                                                      First -Class Mail
Hughes, RS, Co Inc                                                  Address Redacted                                                                                                                                                                                                                                                            First -Class Mail
Huld Oy                                                             Keilasatama 5                                                      02150 Espoo                                       Finland                                                                                                                                                First -Class Mail
Human Factors Consulting Services Inc                               9301 Oakdale Ave, Ste 190                                          Chatsworth, CA 91311                                                                                                                                                                                     First -Class Mail
Humantech Inc                                                       1161 Oak Valley Dr                                                 Ann Arbor, MI 48108-9674                                                                                                                                                                                 First -Class Mail
Humphery                                                            Attn: Robert Garner, Steve Froland                                 5070 East Ave                                     Kalamazoo, MI 49048                                                                   rgarner@humphrey-products.com; SFroland@humphrey-products.com;   EmailFirst-Class Mail
                                                                                           Case 24-11217-BLS                                                                               Doc 463                     Filed 08/24/24                                                     Page 22 of 51

Humphrey                                                                                 5070 E N Ave                                            Kalamazoo, MI 49048                                                                                                                                                                                                                   First -Class Mail
Humphrey Products                                                                        5070 E N Ave                                            Kalamazoo, MI 49048                                                                                                                                                                                                                   First -Class Mail
Hunan Yijun Trading Ltd.                                                                 Room 603, Building 7, International Enterprise Center   No. 188 Huanbao Road (M) Yuhua District         Changsha, Hunan Province               P.R. of China                                                                                                                                  First -Class Mail
Hunan Zhongguang Huizhi Information Technology Co, Ltd                                   Room 402, block B, bldg 5                               Depu Wuhe Enterprise Park, No1 & No3            Luoluotang Rd, Changsha Economic and   Technological Development Zone, Changsha City          Hunan Province, China                                                                   First -Class Mail
Hunan Zhongguang Huizhi Information Technology Co, Ltd                                   Room 402, Block B, Bldg 5                               Depu Wuhe Enterprise Park, No 1 & 3             Luositang Rd, Changsha Economic &      Technological Development Zone                         Hunan Province, China                                                                   First -Class Mail
Hunan Zhongguang Huizhi Information Technology Co., Ltd.                                 Room 402, Block B, Building 5                           Depu Wuhe Enterprise Park, No 1 and 3           Luositang Road                         Changsha Economic and Technological Development Zone   Hunan Province, China                                                                   First -Class Mail
Hung Le                                                                                  Address Redacted                                                                                                                                                                                                                                                                              First -Class Mail
Hunterdon Medical Center                                                                 2100 Wescott Dr                                         Flemington, NJ 08822                                                                                                                                                                                                                  First -Class Mail
Hunting Innova, Inc.                                                                     8383 N Sam Houston Pkwy W                               Houston, TX 77064                                                                                                                                                                                                                     First -Class Mail
Huntington Technology Finance, Inc.                                                      2285 Franklin Rd, Ste 100                               Bloomfield Hills, MI 48302                                                                                                                                                                                                            First -Class Mail
Hunzicker Brothers                                                                       P.O. Box 25248                                          Oklahoma City, OK 73125-0248                                                                                                                                                                                                          First -Class Mail
Hunzicker Brothers                                                                       501 N Virginia Ave                                      Oklahoma City, OK 73106-2638                                                                                                                                                                                                          First -Class Mail
Hurtt Machine & Tool                                                                     1222 Inverness St                                       Broomfield, CO 80020-2491                                                                                                                                                                                                             First -Class Mail
Husky Injection Molding Systems                                                          P.O. Box 277927                                         Atlanta, GA 30384-7927                                                                                                                                                                                                                First -Class Mail
Husky Injection Molding Systems                                                          288 North Rd                                            Milton, VT 05468                                                                                                                                                                                                                      First -Class Mail
Hutchinson Clinic, P.A.                                                                  Attn: Compliance                                        2101 N Waldron St                               Hutchinson, KS 67502                                                                                                                                                                  First -Class Mail
Hutchinson Health                                                                        1095 Hwy 15 S                                           Hutchinson, MN 55350                                                                                                                                                                                                                  First -Class Mail
Hutten, Jeroen                                                                           Emma Children's Hospital Amsterdam UMC                  Meibergdreef 9                                  1105 AZ Amsterdam                      Netherlands                                                                                                                                    First -Class Mail
Huy Vu                                                                                   Address Redacted                                                                                                                                                                                                                                                                              First -Class Mail
Hwp Rigging                                                                              c/o Bullseye International LLC                          1017 Olive St, Ste 1000C                        St Louis, MO 63101-2022                                                                                                                                                               First -Class Mail
Hyatt Die Cast & Engineering Corp                                                        Attn: Alfredo Gomez, Terri Esparza                      4656 Lincoln Ave                                Cypress, CA 90630                                                                                                     Alfredo.Gomez@hyattdiecast.com; Teri.esparza@hyattdiecast.com   EmailFirst-Class Mail
Hyatt Die Cast & Engineering Corp                                                        4656 Lincoln Ave                                        Cypress, CA 90630                                                                                                                                                                                                                     First -Class Mail
Hyatt Regency Deerfield                                                                  1750 Lake Cook Rd                                       Deerfield, IL 60015                                                                                                                                                                                                                   First -Class Mail
Hydro Extruder LLC                                                                       Attn: Jose Barraza                                      18111 E Railroad St                             City of Industry, CA 91748                                                                                            jose.barraza@hydro.com                                          EmailFirst-Class Mail
Hydro Extrusion USA, LLC                                                                 6250 N River Rd, Ste 5000                               Rosemont, IL 60018                                                                                                                                                                                                                    First -Class Mail
Hydrogen Group                                                                           Attn: Jay Hine                                          609 Main St, 25th Fl                            Houston, TX 77002                                                                                                     jayhine@hysrogengroup.com                                       EmailFirst-Class Mail
Hydrogen Group LLC                                                                       708 Main St, 10th Fl                                    Houston, TX 77002                                                                                                                                                                                                                     First -Class Mail
Hydrogen Group LLC                                                                       609 Main St, 25th Fl                                    Houston, TX 77002-3167                                                                                                                                                                                                                First -Class Mail
Hygiene Technologies Intl Inc                                                            3625 Del Amo Blvd, Ste 180                              Torrance, CA 90503-1643                                                                                                                                                                                                               First -Class Mail
Hygiene Technologies Int'l, Inc                                                          Attn: Brian P Daly                                      3625 Del Amo Blvd, Ste 180                      Torrance, CA 90503                                                                                                                                                                    First -Class Mail
Hygieneering Inc                                                                         7575 Plaza Ct                                           Willowbrook, IL 60527-5617                                                                                                                                                                                                            First -Class Mail
HY-Line AG                                                                               Hochstrasse 355                                         CH-8200 Schaffhausen                            Switzerland                                                                                                                                                                           First -Class Mail
Hy-Line Ag                                                                               Hochstrasse 355                                         Schaffhausen, 8200                              China                                                                                                                                                                                 First -Class Mail
Hyman Phelps & McNamara PC                                                               700 13th St NW, Ste 1200                                Washington, DC 20005-3960                                                                                                                                                                                                             First -Class Mail
Hyman, Phelps & McNamara, P.C.                                                           700 Thirteenth St NW, Ste 1200                          Washington, DC 20005-5929                                                                                                                                                                                                             First -Class Mail
Hynes & Kuhn SC                                                                          850 Elm Grove Rd, Ste 25                                Elm Grove, WI 53122-2527                                                                                                                                                                                                              First -Class Mail
Hypneumat Inc                                                                            5900 W Franklin Dr                                      Franklin, WI 53132-9178                                                                                                                                                                                                               First -Class Mail
Hypo Vereinsbank                                                                         12 Arabellastrasse                                      Munich, Bavaria 81925                           Germany                                                                                                                                                                               First -Class Mail
I H S Global Inc                                                                         Attn: Tom Wiseman                                       P.O. Box 847193                                 Dallas, TX 75284                                                                                                      tom.wiseman@ihs.com                                             EmailFirst-Class Mail
I.V. League Medical                                                                      5910 Sea Lion Pl, Ste 170                               Carlsbad, CA 92010                                                                                                                                                                                                                    First -Class Mail
Iac Industries                                                                           895 Beacon St                                           Brea, CA 92821-2905                                                                                                                                                                                                                   First -Class Mail
Iar Systems Software Inc                                                                 1065 E Hillsdale Blvd 420                               Foster City, CA 94404                                                                                                                                                                                                                 First -Class Mail
IBC Coatings Technologies                                                                902 Hendricks Dr                                        Lebanon, IN 46052                                                                                                                                                                                                                     First -Class Mail
IBE Laser Co, Ltd                                                                        CN-34, KCN Thu?n Thành 2, X                             An Bình và X Mão Ði?n, H Thu?n                  Thành, T B?c Ninh                      Vietnam                                                                                                                                        First -Class Mail
IBE Laser Co, Ltd                                                                        10/F Wai Tat Commercial Bldg                            Rm 1003, 1a-11 Tung Choi St                     Mongkok Kowloon                        Hong Kong                                              China                                                                                   First -Class Mail
IBE Laser Co., Ltd.                                                                      10/F Wai Tat Commercial Building                        Room 1003                                       1a-11 Tung Choi Street                 Mongkok Kowloon, Hong Kong                             China                                                                                   First -Class Mail
Iberia Parish School Board                                                               Sales & Use Tax Dept                                    P.O. Box 9770                                   New Iberia, LA 70562-9770                                                                                                                                                             First -Class Mail
Ibp Del Noroeste Sa De Cv                                                                13 Nave 7                                               Tijuana, BC 22300                               Mexico                                                                                                                                                                                First -Class Mail
iCaltech Innovations Pvt Ltd                                                             #3499, 14th Main, HAL II Stage Indira Nagar             Bangalore 560008                                India                                                                                                                                                                                 First -Class Mail
Icon Plastics Pty Ltd                                                                    P.O. Box 1287                                           Narre Warren, VIC 03805                         Australia                                                                                                                                                                             First -Class Mail
Iconet Patient Care Pvt. Ltd.                                                            Iconet Patient Care Pvt Ltd                             W 83 Ist St Anna Nagar                          Chennai, Tamil Nadu                    India                                                                                                                                          First -Class Mail
ICR LLC                                                                                  c/o ICR                                                 761 Main Ave                                    Norwalk, CT 06851-1080                                                                                                                                                                First -Class Mail
ICR, LLC                                                                                 761 Main Ave                                            Norwalk, CT 06851                                                                                                                                                                                                                     First -Class Mail
ICS Learning                                                                             225 Bath St                                             Glasgow, G2 4GZ                                 United Kingdom                                                                                                                                                                        First -Class Mail
ICU Medical                                                                              600 N Field Dr                                          Lake Forest, IL 60045                                                                                                                                                                                                                 First -Class Mail
ICU Medical, Inc.                                                                        600 North Field Dr                                      Lake Forest, IL 60045                                                                                                                                                                                                                 First -Class Mail
ICU Medical, Inc.                                                                        Parent Company:                                         951 Calle Amanecer                              San Clemente, CA 92673                                                                                                                                                                First -Class Mail
ID Technology LLC                                                                        c/o Pro Mach Inc                                        P.O. Box 73419                                  Cleveland, OH 44193-0002                                                                                                                                                              First -Class Mail
Ida Cnty Iowa Community Hosp                                                             701 E 2nd ST                                            Ida Grove, IA 51445-1666                                                                                                                                                                                                              First -Class Mail
Idaho County Tax Collector                                                               320 W Main Room 2                                       Grangeville, ID 83530-1994                                                                                                                                                                                                            First -Class Mail
Idaho Division of Occupational & Professional Licenses                                   11341 W Chinden Blvd                                    Boise, ID 83714                                                                                                                                                                                                                       First -Class Mail
Idaho State Board of Pharmacy                                                            1199 W Shoreline Ln, Ste 303                            Boise, ID 83702                                                                                                                                                                                                                       First -Class Mail
Idaho State Tax Commission                                                               P.O. Box 76                                             Boise, ID 83707                                                                                                                                                                                                                       First -Class Mail
Idaho State Tax Commission                                                               P.O. Box 56                                             Boise, ID 83756-0056                                                                                                                                                                                                                  First -Class Mail
Idaho State University                                                                   Office of General Counsel                               Administration 321                              921 S 8th Ave, Stop                    Pocatello, ID 83209-8410                                                                                                                       First -Class Mail
Idata Research Inc                                                                       602 7300 Edmonds St                                     Burnaby, BC V3N 0G8                             Canada                                                                                                                                                                                First -Class Mail
IDBI Bank LTD                                                                            4th Floor, MafatLAL Centre                              Mumbai 400021                                   India                                                                                                                                                                                 First -Class Mail
Ideal Industries                                                                         Attn: Brad                                              7650 303rdc Ave NW                              Princeton, MN 55371                                                                                                   Brad@idealindustriesinc.com                                     EmailFirst-Class Mail
Ideal Industries, Inc.                                                                   7650 303rd Ave NW                                       Princeton, MN 55371                                                                                                                                                                                                                   First -Class Mail
Ideal Medical Solutions W.L.L.                                                           Office 202, Al Naswer Tower A                           Westbay, Doha 19176                             Qatar                                                                                                                                                                                 First -Class Mail
Ideal Medical Solutions w.l.l.                                                           Office No 202,                                          Al Naser Tower A, 2nd Floor                     Al Markhiya Street – West Bay Area     P.O. Box 19176                                         Doha, Qatar                                                                             First -Class Mail
Ideal Medical Solutions WLL                                                              P.O. Box 19176                                          Doha, Qatar                                     Qatar                                                                                                                                                                                 First -Class Mail
IDEX Health & Science                                                                    Attn: Karen Stewart                                     110 Halcyon Dr                                  Bristol, CT 06010                                                                                                     KStewart@idexcorp.com                                           EmailFirst-Class Mail
Idex Health & Science LLC                                                                110 Halcyon Dr                                          Bristol, CT 06010                                                                                                                                                                                                                     First -Class Mail
IDS Medical Systems (Thailand) Co., Ltd.                                                 Lasalle Tower, Room No 2 G Floor                        Room No. 1-4 1st Floor                          10/11 Moo 16 Srinkarin Road            Bangkaew, Bangphli; Bangkok 10540                      Thailand                                                                                First -Class Mail
IDS Medical Systems Inc.                                                                 10th Floor BTTC Centre                                  288 Ortigas Avenue cor Roosevelt St             Greenhills, San Juan City              Philippines                                                                                                                                    First -Class Mail
IDS Medical Systems Inc.                                                                 10th Floor BITC Centre                                  288 Ortigas Avenue                              Roosevelt Street                       Greenhills, San Juan City                              Philippines                                                                             First -Class Mail
IEC Corporation                                                                          1 Post St                                               San Francisco, CA 94104                                                                                                                                                                                                               First -Class Mail
IEC Electronics Corp                                                                     105 Norton St                                           Newark, NY 14513                                                                                                                                                                                                                      First -Class Mail
Ies Commercial Inc                                                                       aka Ies Communications Inc                              9211 Irvine Blvd                                Irvine, CA 92618-1645                                                                                                                                                                 First -Class Mail
Ignite Selling Inc                                                                       7509 Cannon Fort Dr                                     Clifton, VA 20124-2806                                                                                                                                                                                                                First -Class Mail
Ignoffo Engineering                                                                      Attn: John Ignoffo                                      2604 Taylor Ln                                  McHenry, IL 60051-8555                                                                                                                                                                First -Class Mail
Igus Inc.                                                                                257 Ferris Ave                                          Rumford, RI 02916                                                                                                                                                                                                                     First -Class Mail
IHC Health Services Inc                                                                  c/o Intermountain Healthcare                            36 S State St, Ste 2200                         Salt Lake City, UT 84111-1470                                                                                                                                                         First -Class Mail
IHC Health Services, Inc. (Intermountain Healthcare)                                     36 S State St, 10th Fl                                  Salt Lake City, UT 84111                                                                                                                                                                                                              First -Class Mail
IHC Health Services, Inc. (Intermountain Healthcare)                                     7244 S FL Smidth Dr                                     Midvale, UT 84047-804                                                                                                                                                                                                                 First -Class Mail
IHE USA                                                                                  350 N Orleans St, Ste S10000                            Chicago, IL 60654-1701                                                                                                                                                                                                                First -Class Mail
Ihn Sourcing                                                                             2600 6th St SW                                          Canton, OH 44710-1702                                                                                                                                                                                                                 First -Class Mail
Iicme Inc                                                                                6438 Us Highway 11                                      Springville, AL 35146-4010                                                                                                                                                                                                            First -Class Mail
Ika Works Inc                                                                            2635 Northchase Pkwy SE                                 Wilmington, NC 28405-7419                                                                                                                                                                                                             First -Class Mail
Ikon Financial Services                                                                  c/o Ge Capital Info Tech Sol                            P.O. Box 650073                                 Dallas, TX 75265-0073                                                                                                                                                                 First -Class Mail
IKONIX USA Llc                                                                           Attn: Jose Roman                                        28105 N Keith Dr                                Lake Forest, IL 60045                                                                                                 Jose.roman@ikonix.com                                           EmailFirst-Class Mail
Ikonix USA LLC                                                                           28105 N Keith Dr                                        Lake Forest, IL 60045-4528                                                                                                                                                                                                            First -Class Mail
ILI INFODISK                                                                             205 W Wacker Dr, Ste 1800                               Chicago, IL 60606-1426                                                                                                                                                                                                                First -Class Mail
Ili Infodisk                                                                             c/o Sai Global Compliance Inc                           205 W Wacker Dr, Ste 1800                       Chicago, IL 60606-1426                                                                                                                                                                First -Class Mail
Illinois Dept of Financial & Professional Regulation                                     555 W Monroe St, 5th Fl                                 Chicago, IL 60661                                                                                                                                                                                                                     First -Class Mail
Illinois Dept of Revenue                                                                 P.O. Box 19048                                          Springfield, IL 62794-9031                                                                                                                                                                                                            First -Class Mail
Illinois Dept of Revenue                                                                 Retailer's Occupation Tax                               Springfield, IL 62796-0001                                                                                                                                                                                                            First -Class Mail
Illinois National Ins Co                                                                 1271 Ave of the Americas, 37th Fl                       New York, NY 10020-1304                                                                                                                                                                                                               First -Class Mail
Illinois Tool Works                                                                      c/o Itw Trans Tech                                      475 N Gary Ave                                  Carol Stream, IL 60188-1820                                                                                                                                                           First -Class Mail
Illinois Tool Works Inc                                                                  c/o Instron, A Division of Illinois Too                 75 Remittance Dr, Ste 6826                      Chicago, IL 60675-6826                                                                                                                                                                First -Class Mail
Illinois Tool Works Inc                                                                  c/o Instron Division of Illinois Tool W                 825 University Ave                              Norwood, MA 02062                                                                                                                                                                     First -Class Mail
Illinois Union Ins Co                                                                    525 W Monroe St, Ste 400                                Chicago, IL 60661                                                                                                                                                                                                                     First -Class Mail
Illinois Union Insurance Company (Chubb)                                                 1133 Ave of the Americas, 35th Fl                       New York, NY 10036                                                                                                                                                                                                                    First -Class Mail
Ilsemann Automation                                                                      Julius-Bamberger-Str2                                   Bremen, 28279                                   Germany                                                                                                                                                                               First -Class Mail
Ilsemann Automation                                                                      c/o Niederlassung Der Heino Ilsemann                    Julius-Bamberger-Str2                           Bremen, 04 28279                       Germany                                                                                                                                        First -Class Mail
IMA Automation North America                                                             4608 Interstate Blvd                                    Loves Park, IL 61011                                                                                                                                                                                                                  First -Class Mail
IMA Automation North America                                                             4608 Interstate Blvd                                    Loves Park, IL 61111                                                                                                                                                                                                                  First -Class Mail
iMARK Molding LLC                                                                        200 Laurel Rd                                           Voorhees, NJ 08033                                                                                                                                                                                                                    First -Class Mail
Imbotec Group                                                                            12 Cannon Crescent                                      Brampton, ON L6Y 4L8                            Canada                                                                                                                                                                                First -Class Mail
Imedecs                                                                                  c/o Independent Medical Expert Consulti                 100 W Main St, Ste 310                          Lansdale, PA 19446-2022                                                                                                                                                               First -Class Mail
IMI Co, Ltd                                                                              880-1 Ichinomiya                                        Gunma, 370-2452                                 Japan                                                                                                                                                                                 First -Class Mail
IMI Co., Ltd.                                                                            3-3-12 Ryutsu-danchi                                    Koshigaya-shi                                   Sataima 343-0824                       Japan                                                                                                                                          First -Class Mail
IMI Co., Ltd. (merger - Pacific Medico Co. Ltd)                                          3-3-12 Ryutsu-danchi                                    Koshigaya-shi                                   Sataima 343-0824                       Japan                                                                                                                                          First -Class Mail
IMI Co., Ltd. (Taiyo Nippon Sanso Corp.)                                                 3-2-12 Ryutsu-Danchi                                    Koshigaya-shi                                   Sataima 343-0824                       Japan                                                                                                                                          First -Class Mail
IMI-Precision FAS                                                                        Blenheim Way                                            Lichfield, WS13 8SY                             United Kingdom                                                                                                                                                                        First -Class Mail
IMPAK Corp                                                                               10305 102nd Ter                                         Sebastian, FL 32958                                                                                                                                                                                                                   First -Class Mail
IMPAK Corp                                                                               13700 S Broadway                                        Los Angeles, CA 90061                                                                                                                                                                                                                 First -Class Mail
IMPAK Corporation                                                                        13700 S Broadway                                        Los Angeles, CA 90061                                                                                                                                                                                                                 First -Class Mail
Imperial PFS                                                                             125 S Wacker Dr                                         Chicago, IL 60606                                                                                                                                                                                                                     First -Class Mail
Imperial Plastics Inc                                                                    P.O. Box 1150                                           Minneapolis, MN 55480-1150                                                                                                                                                                                                            First -Class Mail
Imperial Plastics Inc                                                                    c/o Integrated Mfg Co & Subsidiaries                    21320 Hamburg Ave                               Lakeville, MN 55044-9032                                                                                                                                                              First -Class Mail
Imprint Publication Science                                                              c/o Young & Rubicam Brands                              230 Park Ave S, 10th Fl                         New York, NY 10003-1528                                                                                                                                                               First -Class Mail
Imprivata, Inc                                                                           20 CityPoint, 6th Fl                                    480 Totten Pond Rd                              Waltham, MA 02451                                                                                                                                                                     First -Class Mail
Imprivata, Inc                                                                           10 Maguire Rd                                           Lexington, MA 02421                                                                                                                                                                                                                   First -Class Mail
IMS Co                                                                                   P.O. Box 75799                                          Cleveland, OH 44101-4755                                                                                                                                                                                                              First -Class Mail
Ims Co                                                                                   10373 Stafford Rd                                       Chagrin Falls, OH 44023-5237                                                                                                                                                                                                          First -Class Mail
Ims Health Inc                                                                           Attn: Mary McDonald                                     200 Campus Dr                                   Collegeville, PA 19426                                                                                                Mmcdonald@us.imshealth.com                                      EmailFirst-Class Mail
IMT Analytics AG                                                                         Attn: Kerwin Sanger                                     Gewerbestrasse 8                                Buchs Sg, 9470                         Switzerland                                                                    Sanger@imtanalytics.com                                         First -Class Mail
IMT Analytics AG                                                                         Täfernstrasse 11                                        5405 Baden                                      Switzerland                                                                                                                                                                           First -Class Mail
IMT Analytics Ag                                                                         Gewerbestrasse 8 9470                                   Buchs Sg                                        China                                                                                                                                                                                 First -Class Mail
IMT Information Management Technology                                                    Attn: Benno Bieri                                       Gewerbestrasse 8                                Buchs Sg, 9470                         Switzerland                                                                    bieri@imt.ch                                                    First -Class Mail
IMT Information Management Technology                                                    Gewerbestrasse 8                                        Buchs, SG 9470                                  China                                                                                                                                                                                 First -Class Mail
IMT Information Management Technology AG                                                 c/o Rhyner Lippuner Bertschinger                        Attn: Roger Lippuner                            St Gallerstrasse 46, Postfach 945      9470 Buchs SG                                          Switzerland             lippuner@rlbanwaelte.ch                                         EmailFirst-Class Mail
IMT Information Management Technology AG                                                 Gewerbestrasse 8                                        9470 Buchs SG                                   Switzerland                                                                                                                                                                           First -Class Mail
IMT Medical                                                                              Attn: Marco Kamber                                      Gewerbestrasse 8                                Buchs Sg, 9470                         Switzerland                                                                    marco.kamber@imtmedical.com                                     First -Class Mail
imtmedical AG                                                                            510 Technology Dr                                       Irvine, CA 92618                                                                                                                                                                                                                      First -Class Mail
Imtmedical Ag                                                                            Gewerbestrasse 8                                        98470Buchs SG                                   Switzerland                                                                                                                                                                           First -Class Mail
Imtron Co                                                                                Attn: Gabrielle Feivor                                  6549 City West Pkwy                             Eden Prairie, MN 55344                                                                                                gabrielle@imtron.com                                            EmailFirst-Class Mail
In Situ Training Sa                                                                      21 Rue Eugene Et Marc                                   Dulout,Pessac, 33600                            France                                                                                                                                                                                First -Class Mail
Incalus Inc                                                                              39174 State St, Ste B                                   Fremont, CA 94538-1410                                                                                                                                                                                                                First -Class Mail
INCEB Ingenieria Integral S.A.S.                                                         Transversal 23 No 61B31                                 Bogota 111311                                   Colombia                                                                                                                                                                              First -Class Mail
Incoe Corp                                                                               P.O. Box 485                                            Troy, MI 48099-0485                                                                                                                                                                                                                   First -Class Mail
Incoe Corp                                                                               1740 E Maple Rd                                         Troy, MI 48083-4209                                                                                                                                                                                                                   First -Class Mail
Incrowd Inc                                                                              1 Appleton St, 3rd Fl                                   Boston, MA 02116-5223                                                                                                                                                                                                                 First -Class Mail
Indak Manufacturing Corporation                                                          1915 Techny Rd                                          Northbrook, IL 60062                                                                                                                                                                                                                  First -Class Mail
Indelco Plastics Corp                                                                    635 Hanley Industrial Ct                                St Louis, MO 63144-1919                                                                                                                                                                                                               First -Class Mail
Independence Medical                                                                     9 Industrial Rd                                         Milford, MA 01757-3735                                                                                                                                                                                                                First -Class Mail

Independent Commodity Intelligence Services, a part of LexisNexis Risk Solutions Group   Independent Commodity Intelligence Services             3355 W Alabama, Ste 700                         Houston, TX 77098                                                                                                                                                                     First -Class Mail
Indian Harbor Ins Co                                                                     70 Seaview Ave                                          Stamford, CT 06902-6040                                                                                                                                                                                                               First -Class Mail
Indian Health Service Navajo                                                             1808 W Aztec Ave                                        Gallup, NM 87301                                                                                                                                                                                                                      First -Class Mail
Indian Society of Critical Care Medicine                                                 B/5, Shalimar Apartment                                 SV Road                                         Borivali West                          Mumbai, 400092                                         India                                                                                   First -Class Mail
Indiana Dept of Revenue                                                                  P.O. Box 7231                                           Indianapolis, IN 46207-7231                                                                                                                                                                                                           First -Class Mail
Indiana Dept of Revenue                                                                  P.O. Box 7218                                           Indianapolis, IN 46207-7218                                                                                                                                                                                                           First -Class Mail
Indiana Regional Medical Ctr                                                             835 Hospital Rd                                         Indiana, PA 15701-0788                                                                                                                                                                                                                First -Class Mail
Indiana University                                                                       P.O. Box 78000                                          Detroit, MI 48278-0896                                                                                                                                                                                                                First -Class Mail
Indiana University Health                                                                Attn: Director, Contract Services                       390 AirTech Parkway                             Plainfield, IN 46168                                                                                                                                                                  First -Class Mail
Indiana University Health                                                                Attn: Sr. VP and General Counsel                        340 W 10th St, Ste 6100                         Indianapolis, IN 46206                                                                                                                                                                First -Class Mail
Indiana University Health                                                                950 N Meridian St                                       Indianapolis, IN 46204-1077                                                                                                                                                                                                           First -Class Mail
Indiana University Health Inc                                                            Attn: Rebates                                           390 Airtech Pkwy                                Plainfield, IN 46168-7416                                                                                                                                                             First -Class Mail
Indiana University Health, Inc.                                                          340 W 10th St                                           Indianapolis, IN 46202                                                                                                                                                                                                                First -Class Mail
Indilab                                                                                  10367 Franklin Ave                                      Franklin Park, IL 60131                                                                                                                                                                                                               First -Class Mail
Indilab Inc                                                                              10367 Franklin Ave                                      Franklin Park, IL 60131-1542                                                                                                                                                                                                          First -Class Mail
Indilab, Inc.                                                                            10367 Franklin Ave                                      Franklin Park, IL 60131                                                                                                                                                                                                               First -Class Mail
Individual Entrepreneur Sergei Sergeev                                                   10b Rogachevskaya apt 48                                220056 , Minsk                                  Belarus                                                                                                                                                                               First -Class Mail
Indonesian Pediatric Critical Care Foundation                                            Jalan Sudirman Kav 49                                   Jakarta, Indonesia                                                                                                                                                                                                                    First -Class Mail
Industrial Experts Inc                                                                   9950 Marconi Dr, Ste 101                                San Diego, CA 92154-7272                                                                                                                                                                                                              First -Class Mail
Industrial Fluoro-Plastic                                                                9328 S Hawley Park Rd                                   W Jordan, UT 84081-5641                                                                                                                                                                                                               First -Class Mail
Industrial Health Medical Group                                                          41185 Golden Gate Cir                                   Murrieta, CA 92562                                                                                                                                                                                                                    First -Class Mail
Industrial Hearing & Pulmonary                                                           Attn: Gary Jones                                        1846 Woodlawn St                                Upland, CA 91786                                                                                                                                                                      First -Class Mail
Industrial Hearing & Pulmonary Mgt                                                       Attn: Gary Jones                                        1846 Woodlawn St                                Upland, CA 91786                                                                                                      gary.jones@industrialhearing.net                                EmailFirst-Class Mail
Industrial Physics Products                                                              c/o Integrity Inc                                       68 Barnum Rd                                    Devens, MA 01434-3508                                                                                                                                                                 First -Class Mail
Industrial Specialties Mfg Inc                                                           Attn: Ryan Webber                                       4091 S Eliot St                                 Englowood, CO 80110                                                                                                                                                                   First -Class Mail
Industrial Specialties Mfg, Inc                                                          Attn: Ryan Webber                                       4091 S Eliot St                                 Englowood, CO 80110                                                                                                   ryan.webber@industrialspec.com                                  EmailFirst-Class Mail
Industry Standard Research LLC                                                           5712 Pine Dr                                            Raleigh, NC 27606-8946                                                                                                                                                                                                                First -Class Mail
INEL BH                                                                                  INEL BH                                                 Aleja Ljiljana br 1                             Maglaj, 74250                          Bosnia/Herzegovina                                                                                                                             First -Class Mail
Inel De Baja Ca S De Rl De Cv                                                            Lazaro Cardenas 2643-B Fracc Solida                     Mexicali, BC 21190                              Mexico                                                                                                                                                                                First -Class Mail
INEOS Styrolution America LLC                                                            4245 Meridian Pkwy, Ste 151                             Aurora, IL 60504                                                                                                                                                                                                                      First -Class Mail
Infinity lLboratory Group Inc                                                            230 3rd St, Ste 200                                     Castle Rock, CO 80104                                                                                                                                                                                                                 First -Class Mail
Infinity lLboratory Group Inc                                                            1585 S Perry St                                         Castle Rock, CO 80104                                                                                                                                                                                                                 First -Class Mail
Infinity Ltl Engineered Compounds                                                        2079 Center Square Rd                                   Swedesboro, NJ 08085-1790                                                                                                                                                                                                             First -Class Mail
Infinity Medical Inc                                                                     8703 Studley Rd, Ste A                                  Mechanicsville, VA 23116-2016                                                                                                                                                                                                         First -Class Mail
Inflexion Private Equity Partners LLP                                                    47 Queen Anne St                                        London W1G 9JG                                  United Kingdom                                                                                                                                                                        First -Class Mail
Infolytica Co                                                                            Attn: Luay Ghafari                                      300 Leo Pariseau, Ste 2222                      Montreal, QC H2X 4B3                   Canada                                                                         luay@infolytica.com                                             First -Class Mail
Infor                                                                                    NW 7418 P.O. Box 1450                                   Minneapolis, MN 55485                                                                                                                                                                                                                 First -Class Mail
Infor Global Solution (Michigan), Inc.                                                   NW 7418                                                 PO Box 1450                                     Minneapolis, MN 55485                                                                                                                                                                 First -Class Mail
Informatica y Equipamiento Medico de Canarias SA                                         Calle los Pobres, 85                                    38280, Tegueste                                 Spain                                                                                                                                                                                 First -Class Mail
Informatica Y Equipmiento                                                                c/o Medico De Canarias Sa                               Calle Los Pobres 85                             Tegueste, 38280                        Spain                                                                                                                                          First -Class Mail
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Informs Inc                                                                              13055 Riley St                                          Holland, MI 49424                                                                                                                                                                                                                     First -Class Mail
Infosec Cloud Ltd.                                                                       4 Elmwood Chineham Park                                 Basingstoke Hampshire                           Basingstoke, RG24 8WG                  United Kingdom                                                                                                                                 First -Class Mail
Infosys Limited                                                                          No 44 & 97/A Infosys Avenue                             Hosur Road, Electronic City                     Gangalore 560100                       India                                                                                                                                          First -Class Mail
Infuse Medical                                                                           c/o Infuse Media Group LLC                              3369 Mayflower Way, Ste 100                     Lehi, UT 84043-3145                                                                                                                                                                   First -Class Mail
ING Capital LLC                                                                          P.O. Box 1800                                           Amsterdam, 1000 BV                              Netherlands                                                                                                                                                                           First -Class Mail
Ingeniux Corp                                                                            1601 2nd Ave, 5th Fl                                    Seattle, WA 98101-3508                                                                                                                                                                                                                First -Class Mail
Ingeniux Corporation                                                                     1601 Second Ave, Ste 500                                Seattle, WA 98101                                                                                                                                                                                                                     First -Class Mail
Ingmar Medical                                                                           400 N Lexington St, Ste Ll117                           Pittsburgh, PA 15208-2564                                                                                                                                                                                                             First -Class Mail
IngMar Medical Ltd                                                                       Attn: Bill Hon                                          5940 Baum Blvd                                  Pittsburgh, PA 15206                                                                                                  bhohn@ingmarmed.com                                             EmailFirst-Class Mail
Ingram Micro Inc                                                                         fka Nimax Division of Ingram Micr                       1600 E St Andrew Pl                             Santa Ana, CA 92705-4926                                                                                                                                                              First -Class Mail
Injectech LLC                                                                            307 N Link Ln                                           Fort Collins, CO 80524-2716                                                                                                                                                                                                           First -Class Mail
Injectech LLC                                                                            307 N Link Ln                                           Ft Collins, CO 80524-2716                                                                                                                                                                                                             First -Class Mail
Inland Cutter Service Inc                                                                30386 Bear River Dr                                     Canyon Lake, CA 92587-7710                                                                                                                                                                                                            First -Class Mail
Inland Empire Fire & Safety                                                              Attn: Lisa DiCesaris                                    1242 Transit Ave                                Pomona, CA 91766                                                                                                                                                                      First -Class Mail
Inland Empire Fire & Safety Enterprise                                                   Attn: Mike Di Cejaris                                   1038 E Bastanchury Rd, Ste 203                  Fullerton, CA 92835                                                                                                   mikejr@ief-s.com                                                EmailFirst-Class Mail
Inmed Drogueria Limitada                                                                 Av Del Valle Sur 577                                    Santiago, Metropolitana                         Chile                                                                                                                                                                                 First -Class Mail
Inmed Drogueria Limitada                                                                 Del Valle 577                                           8580678 Huechuraba                              Región Metropolitana                   Chile                                                                                                                                          First -Class Mail
Innography Inc                                                                           1221 S Mo Pac Expy, Ste 250                             Austin, TX 78746-7627                                                                                                                                                                                                                 First -Class Mail
Innokas Medical Ltd                                                                      Vihikari 10                                             Kempele, 90440                                  Finland                                                                                                                                                                               First -Class Mail
Innorapid Limited                                                                        F1-3, Bldg A1                                           Henghuifeng Industrial Zone                     DaChong Town, Zhongshan                Guangdong Prov.                                        528476, P.R. China                                                                      First -Class Mail
Innorapid Limited                                                                        Rm 215, Bldg 1                                          No 56 Fuqian St                                 Shunyi District                        Beijing,101300                                         China                                                                                   First -Class Mail
Innorapid Limited                                                                        F1-3, Bldg A1                                           Henghuifeng Industrial Zone                     DaChong Town, Zhongshan                Guangdong Prov 528476                                  China                                                                                   First -Class Mail
Innotech Medical Soultions LLC                                                           Attn: Colin Antenbring                                  30 N Gould St                                   Sheridan, WY 82801                                                                                                    Colin@innotechmedical.com                                       EmailFirst-Class Mail
Innovative Discovery LLC                                                                 1700 N Moore St, Ste 1500                               Arlington, VA 22209-1911                                                                                                                                                                                                              First -Class Mail
Innovative Discovery, LLC                                                                1700 N Moore St, Ste 1500                               Arlington, VA 22209                                                                                                                                                                                                                   First -Class Mail
Innovative Office Solutions Inc                                                          3305 E Miraloma Ave, Ste 170                            Anaheim, CA 92806-1935                                                                                                                                                                                                                First -Class Mail
Innovative Purchasing Concepts                                                           95 Old Short Hills Rd                                   W Orange, NJ 07052-1008                                                                                                                                                                                                               First -Class Mail
Innovative Surface Technologies Inc                                                      1045 Westgate Dr, Ste 100                               St Paul, MN 55114-1079                                                                                                                                                                                                                First -Class Mail
Innovis LLC                                                                              1880 Century Park E, Ste 425                            Los Angeles, CA 90067-1600                                                                                                                                                                                                            First -Class Mail
Innovit Inc                                                                              425 Market St, 22nd Fl                                  San Francisco, CA 94105-2403                                                                                                                                                                                                          First -Class Mail
Inosystems                                                                               7 Rue Georges Besse                                     92182 Antony Cedex                              Germany                                                                                                                                                                               First -Class Mail
Inosystems                                                                               Carl-Benz-Straße 2                                      75015 Bretten                                   Germany                                                                                                                                                                               First -Class Mail
INOTherapeutics LLC                                                                      440 US Hwy 22, Ste 302                                  Bridgewater, NJ 08807-2477                                                                                                                                                                                                            First -Class Mail
INOTherapeutics LLC                                                                      6603 Femrite Dr                                         Madison, WI 53718                                                                                                                                                                                                                     First -Class Mail
Inova Fairfax                                                                            3300 Gallows Rd                                         Falls Church, VA 22042                                                                                                                                                                                                                First -Class Mail
Inova Health Care Services                                                               8110 Gatehouse Rd, Ste 400W                             Falls Church, VA 22042-1254                                                                                                                                                                                                           First -Class Mail
Inova Health System                                                                      8110 Gatehouse Rd                                       Falls Church, VA 22042                                                                                                                                                                                                                First -Class Mail
Inplant Offices Inc                                                                      436 Bussen Underground Rd                               St Louis, MO 63129-3867                                                                                                                                                                                                               First -Class Mail
Insco Metrology Inc                                                                      10434 NW 31st Ter                                       Doral, FL 33172-1200                                                                                                                                                                                                                  First -Class Mail
Insentra Group                                                                           20403 N Lake Pleasant Rd, Ste 117-402                   Peoria, AZ 85382                                                                                                                                                                                                                      First -Class Mail
Insidesales.com Inc                                                                      34 E 1700 S, Ste A220                                   Provo, UT 84606-7410                                                                                                                                                                                                                  First -Class Mail
Insight                                                                                  5600 N River Rd, Ste 764                                Rosemont, IL 60018-5165                                                                                                                                                                                                               First -Class Mail
Insight                                                                                  P.O. Box 731069                                         Dallas, TX 75373-1069                                                                                                                                                                                                                 First -Class Mail
Insight Consulting Group LLC                                                             5600 N River Rd, Ste 764                                Rosemont, IL 60018-5165                                                                                                                                                                                                               First -Class Mail
Insight Consulting Group, LLC                                                            5600 N River Rd, Ste 764                                Rosemont, IL 60018                                                                                                                                                                                                                    First -Class Mail
Insight Direct UK Ltd                                                                    Technology Bldg 9 Terry St                              Sheffield, S9 2BU                               United Kingdom                                                                                                                                                                        First -Class Mail
Insight Direct USA Inc                                                                   P.O. Box 731069                                         Dallas, TX 75373-1069                                                                                                                                                                                                                 First -Class Mail
                                                                     Case 24-11217-BLS                                                                                  Doc 463                      Filed 08/24/24                                    Page 23 of 51

Insight Direct Usa Inc                                             2701 E Insight Way                                    Chandler, AZ 85286-1930                                                                                                                                                                                                      First -Class Mail
Insight Direct USA, Inc                                            Attn: Shanti Hinsberg                                 6820 S Hart Ave                                      Tempe, AZ 85283                                                                     shanti.hinsberg@insight.com                                                         EmailFirst-Class Mail
Insight Direct USA, Inc                                            Attn: Shanti Hinsberg                                 6820 S Hart Ave                                      Tempe, AZ 85283                                                                                                                                                         First -Class Mail
Insight Global Inc                                                 4170 Ashford Dunwoody Rd, Ste 250                     Atlanta Ga, GA 30384                                                                                                                                                                                                         First -Class Mail
Insight Networking                                                 c/o Calence LLC                                       6820 S Harl Ave                                      Tempe, AZ 85283                                                                                                                                                         First -Class Mail
Insight Sourcing Group, LLC                                        5555 Triangle Pkwy, Ste 300                           Norcross, GA 30092                                                                                                                                                                                                           First -Class Mail
Insigniam LLC                                                      301 Woodbine Ave                                      Narberth, PA 19072-1912                                                                                                                                                                                                      First -Class Mail
Insite Health                                                      P.O. Box 250                                          Pewaukee, WI 53072-0250                                                                                                                                                                                                      First -Class Mail
Insite Health                                                      c/o Insite Health LLC                                 131 E Wisconsin Ave, Ste 104                         Pewaukee, WI 53072-3400                                                                                                                                                 First -Class Mail
Insmed Inc                                                         700 US Hwy 202/206                                    Bridgewater, NJ 08807                                                                                                                                                                                                        First -Class Mail
Insmed Incorporated                                                700 US Hwy 202/206                                    Bridgewater, NJ 08807-1704                                                                                                                                                                                                   First -Class Mail
Inspecta Tarkastus Oy                                              Plaza Hanssin-Jakki                                   Helsinki                                             Finland                                                                                                                                                                 First -Class Mail
Insperity Business Services, L.P.                                  19001 Crescent Springs Dr                             Kingwood, TX 77339-3802                                                                                                                                                                                                      First -Class Mail
Inspira Health Network                                             2950 College Rd, Ste 1E                               Vineland, NJ 08360                                                                                                                                                                                                           First -Class Mail
Inspiration Healthcare Ltd                                         Satellite Business Village                            Grawley, RH10 9NE                                    United Kingdom                                                                                                                                                          First -Class Mail
Instituto das Pequenas Missionárias                                de Maria Imaculada Hospital Madre Teresa              Av Raja Gabáglia, 1002                               Gutierrez, Belo Horizonte, MG, 30110-051   Brazil                                                                                                                       First -Class Mail
Instituto das Pequenas Missionárias                                de Maria Imaculada Hospital Madre Teresa              Avenida Raja Gabaglia, 1002                          Gutierrez, Belo Horizonte/MG               Brazil                                                                                                                       First -Class Mail
Instituto De Pesquisas                                             c/o Eldorado                                          Av Alan Turing 275                                   Campinas, SP 13083-898                     Brazil                                                                                                                       First -Class Mail
Instituto de Pesquisas Eldorado                                    Parque Cidade Corporate Bldg                          Tower C, room 503                                    Setor Comercial Sul – SCS                  Quadra 9 – Asa Sul             Brazil                                                                                        First -Class Mail
Instituto de Pesquisas Eldorado                                    Edificio Parque Cidade Corporate, Torre C, sala 503   Sector Comercial Sul - SCS, Quadra 9 Asa Sul         Brasilia CEP 13083-898                     Brazil                                                                                                                       First -Class Mail
Instrumart                                                         c/o Total Temperature Instrumentation                 35 Green Mountain Dr                                 S Burlington, VT 05403-7824                                                                                                                                             First -Class Mail
Instrumentacion S.A.                                               Carrera 15A 118-12                                    Bogota DC, 13309-330, Colombia                                                                                                                                                                                               First -Class Mail
Instrumentacion SA                                                 Nit860001130-4                                        Race 15A, 118-12                                     Bogota                                     Colombia                                                                                                                     First -Class Mail
Instrumentation Industries                                         Attn: Brenda Biasinsky                                2990 Industrial Blvd                                 Bethel Park, PA 15102                                                               brendab@iiimedical.com                                                              EmailFirst-Class Mail
Instrumentation Industries Inc                                     2990 Industrial Blvd                                  Bethel Park, PA 15102-2536                                                                                                                                                                                                   First -Class Mail
Insultab                                                           45 Industrial Pkwy                                    Woburn, MA 01801-1944                                                                                                                                                                                                        First -Class Mail
Insyde Software                                                    200 Friberg Pkwy                                      Westborough, MA 01581                                                                                                                                                                                                        First -Class Mail
Intalere (fka Amerinet) VH11449                                    2 City Place Dr, Ste 400                              St Louis, MO 63141                                                                                                                                                                                                           First -Class Mail
Intalere (fka Amerinet) VH11752                                    2 City Place Dr, Ste 400                              St Louis, MO 63141                                                                                                                                                                                                           First -Class Mail
Intalere (fka Amerinet) VH34000                                    2 City Place Dr, Ste 400                              St Louis, MO 63141                                                                                                                                                                                                           First -Class Mail
Intalere (fka Amerinet) VQ10082                                    2 City Place Dr, Ste 400                              St Louis, MO 63141                                                                                                                                                                                                           First -Class Mail
Intalere (fka Amerinet) VQ10322                                    2 City Place Dr, Ste 400                              St Louis, MO 63141                                                                                                                                                                                                           First -Class Mail
Intalere (fka Amerinet) VQ10326                                    2 City Place Dr, Ste 400                              St Louis, MO 63141                                                                                                                                                                                                           First -Class Mail
Intalere (fka Amerinet) VQ25800                                    2 City Place Dr, Ste 400                              St Louis, MO 63141                                                                                                                                                                                                           First -Class Mail
Intalere Inc                                                       2 City Pl Dr, Ste 400                                 St Louis, MO 63141-7096                                                                                                                                                                                                      First -Class Mail
Integra-Cast                                                       265 Newlington Ave                                    New Britian, CT 06051                                                                                                                                                                                                        First -Class Mail
Integral Concepts Inc                                              P.O. Box 251652                                       W Bloomfield, MI 48325-1652                                                                                                                                                                                                  First -Class Mail
Integral Concepts, Inc.                                            P.O. Box 251652                                       W Bloomfield, MI 48325                                                                                                                                                                                                       First -Class Mail
Integral Concepts, Inc.                                            Integral Concepts, Inc                                P.O. Box 251652                                      W Bloomfield, MI 48325                                                                                                                                                  First -Class Mail
Integrant Inc                                                      5405 Oberlin Dr, Ste 200                              San Diego, CA 92121-1700                                                                                                                                                                                                     First -Class Mail
Integraserv Inc                                                    7339 W Friendly Ave, Ste A                            Greensboro, NC 27410-6391                                                                                                                                                                                                    First -Class Mail
Integrated Magnetics Inc.                                          11250 Playa Court                                     Culver City, CA 90230                                                                                                                                                                                                        First -Class Mail
Integrated Medical Partners LLC                                    Attn: Jed A Bernardoni                                1 Hill Valley Dr                                     Lancaster, NY 14086-1054                                                                                                                                                First -Class Mail
Integrated Medical Systems                                         12600 S Holiday Dr                                    Aslip, IL 60803                                                                                                                                                                                                              First -Class Mail
Integrated Medical Systems, Inc.                                   12600 S Holiday Dr                                    Alsip, IL 60803                                                                                                                                                                                                              First -Class Mail
Integrated Paper Services Inc                                      3211 E Capitol Dr                                     Appleton, WI 54911-8706                                                                                                                                                                                                      First -Class Mail
Integrated Project Management Co Inc                               200 S Frontage Rd, Ste 220                            Burr Ridge, IL 60527-6917                                                                                                                                                                                                    First -Class Mail
Integrated Project Management Company, Inc.                        20 S Frontage Rd                                      Suite 220                                            Burr Ridge IL 60527                                                                                                                                                     First -Class Mail
Integrated Project Management Company, Inc.                        200 S Frontage Rd                                     Suite 220                                            Burr Ridge IL 60527                                                                                                                                                     First -Class Mail
Integratelab Builders Inc                                          10723 Bell Ct                                         Rancho Cucamonga, CA 91730-4834                                                                                                                                                                                              First -Class Mail
Integress Inc                                                      333 S Wabash Ave, Unit 2700                           Chicago, IL 60604                                                                                                                                                                                                            First -Class Mail
Integress Inc                                                      31952 Camino Capistrano, Ste C25                      San Juan Capistrano, CA 92675                                                                                                                                                                                                First -Class Mail
Integris Health, Inc.                                              3300 N W Expressway                                   Oklahoma City, OK 73112                                                                                                                                                                                                      First -Class Mail
Integris Health, Inc.                                              Integris Health, Inc                                  3300 N W Expressway                                  Oklahoma City, OK 73112                                                                                                                                                 First -Class Mail
Integritas Analytics                                               100 S Saunders Rd, Ste 150                            Lake Forest, IL 60045                                                                                                                                                                                                        First -Class Mail
Integrity Construction Group                                       Attn: Kevin Cook                                      P.O. Box 72624                                       Roselle, IL 60172-0624                                                                                                                                                  First -Class Mail
Integrity Distributors Inc                                         8008 Slide Rd, Ste 10                                 Lubbock, TX 79424-2828                                                                                                                                                                                                       First -Class Mail
Integrity Elevator                                                 5229 Elata Ave                                        P.O. Box 545                                         Yucca Valley, CA 92284                                                                                                                                                  First -Class Mail
Integrity Solutions LLC                                            1801 W End Ave, Ste 530                               Nashville, TN 37203-2515                                                                                                                                                                                                     First -Class Mail
Integrity Solutions, Llc                                           1801 W End Ave, Ste 530                               Nashville, TN 37203                                                                                                                                                                                                          First -Class Mail
Intel Americas, Inc and-or                                         Intel Technology (US), LLC                            2200 Mission College Blvd                            Santa Clara, CA 95052                                                                                                                                                   First -Class Mail
Intel Americas, Inc and-or                                         Intel Technology (US), LLC                            2200 Mission College Blvd                            Santa Clara, CA 95054-1549                                                                                                                                              First -Class Mail
Intel Corp                                                         2200 Mission College Blvd                             Santa Clara, CA 95052                                                                                                                                                                                                        First -Class Mail
Intel Corp                                                         2200 Mission College Blvd                             Santa Clara, CA 95054-1549                                                                                                                                                                                                   First -Class Mail
Intelisearch                                                       60 Long Ridge Rd                                      Stamford, CT 06902-1838                                                                                                                                                                                                      First -Class Mail
Intellectual Property Association Network LLC                      aka IPAN                                              900 Wilshire Dr, Ste 104                             Troy, MI 48084-1694                                                                                                                                                     First -Class Mail
Intelligent Audit                                                  336 W Passiac St                                      Rochelle Park, NJ 07662                                                                                                                                                                                                      First -Class Mail
Intelligent Management Solutions                                   c/o Ims Expert Service                                4400 Bayou Blvd, Ste 6                               Pensacola, FL 32503-1905                                                                                                                                                First -Class Mail
Intelligent Management Solutions, Inc. Dba Ims Expert Services     4400 Bayou Blvd, Ste 6                                Pensacola, FL 32503                                                                                                                                                                                                          First -Class Mail
Inter Quality Representações                                       Endereco: Estrada do Dende N° 2000                    Bairro: Monero Cidade:                               Rio de Janeiro                             Brazil                                                                                                                       First -Class Mail
Inter Quality Representações                                       Av Coronel Luis Oliveira Sampaio                      243 - Jd Guanabara, Rio de Janeiro                   Rio de Janeiro 21931-010                   Brazil                                                                                                                       First -Class Mail
Intercargo USA Corp                                                12555 Orange Dr, Ste 108                              Davie, FL 33330-4304                                                                                                                                                                                                         First -Class Mail
Inter-Cti Comercio E Servicos Ltda                                 Avienda Or Plinio de Castro Prado, 682                Jardim Palma Travassos                               Ribeirao Preto, Sao Paulo 14091-170        Brazil                                                                                                                       First -Class Mail
Interdel Logistics Inc                                             17501 Rockaway Blvd                                   Jamaica, NY 11434-5521                                                                                                                                                                                                       First -Class Mail
Intergrated Magnetics Inc                                          Attn: Alan Yamamoto                                   11248 Playa Ct                                       Culver City, CA 90230                                                               alany@intemag.com                                                                   EmailFirst-Class Mail
Interior Investments (Goldwater, Larry)                            550 Bond St                                           Lincolnshire, IL 60069                                                                                                                                                                                                       First -Class Mail
Interior Investments (Seymour, Erika)                              550 Bond St                                           Lincolnshire, IL 60069                                                                                                                                                                                                       First -Class Mail
Interior Investments LLC                                           550 Bond St                                           Lincolnshire, IL 60069-4207                                                                                                                                                                                                  First -Class Mail
Interior Investments of St Louis LLC                               8229 Solutions Ctr                                    Chicago, IL 60677-8002                                                                                                                                                                                                       First -Class Mail
Interior Investments of St Louis Llc                               9 Sunnen Dr                                           St Louis, MO 63143-3811                                                                                                                                                                                                      First -Class Mail
Interkek Testing Services Na                                       101 W 8th Ave                                         Fort Worth, TX, 76104                                                                                                                                                                                                        First -Class Mail
Interlek Schweiz Ag - Nelson Laboratories, Llc                     6280 S. Redwood Rd                                    Salt Lake City, UT 84123                                                                                                                                                                                                     First -Class Mail
Interlek Schweiz Ag - Nelson Laboratories, Llc                     TechCenter Reinach                                    Kagenstrasse 18 - CH-4153 Reinach                    Switzerland                                                                                                                                                             First -Class Mail
Interlux Ltd                                                       Avieciu st 16                                         Vilnius, 08418                                       Lithuania                                                                                                                                                               First -Class Mail
Interlux UAB                                                       Avieciu Str 16                                        Vilnius, LT 08418                                    Lithuania                                                                                                                                                               First -Class Mail
Intermed Medical Limited                                           71 Apollo Dr                                          Albany, 632                                          New Zealand                                                                                                                                                             First -Class Mail
Intermed Medico Hospitalar Ltda                                    Rua Santa Monica, 980                                 Parque Industrial San Jose                           Cotia, SP                                  Brazil                                                                                                                       First -Class Mail
Intermed PA                                                        100 Gannett Dr, Ste C                                 S Portland, ME 04106-5900                                                                                                                                                                                                    First -Class Mail
Intermountain Health                                               Attn: SarahAnn S Whitbeck                             36 S State St, Ste 800                               Salt Lake City, UT 84111                                                            sarahann.whitbeck@imail.org                                                         EmailFirst-Class Mail
Intermountain Health                                               Attn: SarahAnn S Whitbeck                             36 S State St, Ste 800                               Salt Lake City, UT 84111                                                                                                                                                First -Class Mail
Internal Medicine Clinic                                           1600 22nd Ave                                         Medical Towers III                                   Meridian, MS 39301                                                                                                                                                      First -Class Mail
Internal Revenue Service                                           Centralized Insolvency Operation                      P.O. Box 7346                                        Philadelphia, PA 19101-7346                                                                                                                                             First -Class Mail
Internal Revenue Service                                           Centralized Insolvency Operation                      2970 Market St                                       Mail Stop 5-Q30.133                        Philadelphia, PA 19104-5016                                                                                                  First -Class Mail
International Biomedical Group                                     8206 Cross Park Dr                                    Austin, TX 78754                                                                                                                                                                                                             First -Class Mail
International Biomedical Group                                     12 Gamal salem St Off Mosadak                         Dokki, Cairo                                         Egypt                                                                                                                                                                   First -Class Mail
International Finance Corporation                                  2121 Pennsylvania Ave NW                              Washington, DC 20433                                                                                                                                                                                                         First -Class Mail
International Medical Industries, Inc.                             2981 Gateway Dr                                       Pompano Beach, FL 33069                                                                                                                                                                                                      First -Class Mail
International Medsurg Connection (Imc)                             4118 N Nashville Ave                                  Chicago, IL 60634                                                                                                                                                                                                            First -Class Mail
International Paper Company                                        6400 Poplar Ave                                       Memphis, TN 38197                                                                                                                                                                                                            First -Class Mail
International Rubber Products Inc.                                 1035 Calle Amanecer Orange                            San Clemente, CA 92673-6260                                                                                                                                                                                                  First -Class Mail
Interpower Co                                                      Attn: Kayla Scholtus                                  100 Interpower Ave                                   Oskaloosa, IA 52577                                                                 kscholtus@interpower.com                                                            EmailFirst-Class Mail
Interpower Corporation                                             100 Interpower Ave                                    Oskaloosa, IA 52577                                                                                                                                                                                                          First -Class Mail
Interstate Capital Corp                                            c/o Mega Carrier Corp                                 P.O. Box 915183                                      Dallas, TX 75391-5183                                                                                                                                                   First -Class Mail
Interstate Packaging LLC                                           c/o Shirley Rauch Kirby                               3751 Revere St                                       Denver, CO 80239-3431                                                                                                                                                   First -Class Mail
Interstate Packaging LLC                                           Attn: Shirley Rauch Kirby                             4761 Moline St                                       Denver, CO 80239-2617                                                                                                                                                   First -Class Mail
Intersurgical Inc                                                  Attn: Customer Svc                                    6757 Kinne St                                        E Syracuse, NY 13057                                                                msweeney@intersurgicalinc.com                                                       EmailFirst-Class Mail
Intersurgical Inc                                                  6757 Kinne St                                         E Syracuse, NY 13057-1215                                                                                                                                                                                                    First -Class Mail
Intersurgical Inc.                                                 417 Electronics Pkwy                                  Liverpool, NY 13088-6001                                                                                                                                                                                                     First -Class Mail
Intertek Schweiz Ag                                                Kagenstrasse 18                                       4153 Reinach                                         Switzerland                                                                                                                                                             First -Class Mail
Intertek Schweiz AG                                                c/o Techcenter Reinach                                Kagenstrasse 18                                      Reinach, BL 4153                           China                                                                                                                        First -Class Mail
Intertek Testing Services NA Inc                                   P.O. Box 405176                                       Atlanta, GA 30384-5176                                                                                                                                                                                                       First -Class Mail
Intertek Testing Services Na Inc                                   fka Entela 1003956                                    P.O. Box 405176                                      Atlanta, GA 30384-5176                                                                                                                                                  First -Class Mail
Intertek Testing Services Na Inc                                   1950 Evergreen Blvd, Ste 100                          Duluth, GA 30096-9079                                                                                                                                                                                                        First -Class Mail
Intertek Testing Services Na, Inc                                  c/o Techcenter Reinach                                Kagenstrasse 18                                      Reinach, BL 4153                           China                                                                                                                        First -Class Mail
Intertek Testing Services Na, Inc.                                 3933 US Route 11                                      Cortland, NY 13045                                                                                                                                                                                                           First -Class Mail
Intertek Testing Services Na, Inc.                                 545 E Algonquin Rd                                    Arlington Heights, IL 60005                                                                                                                                                                                                  First -Class Mail
Intertek Testing Svcs, Inc                                         Attn: Anja Crotts                                     25791 Commercentre Dr                                Lake Forest, CA 13045                                                               alison.lynch@intertek.com                                                           EmailFirst-Class Mail
Intertek Usa, Inc.                                                 25791 Commercentre Dr                                 Lake Forest, CA 92630                                                                                                                                                                                                        First -Class Mail
Int'l Biomedical                                                   Attn: Crystal Berry                                   8206 Cross Park Dr                                   Austin, TX 787754                                                                   crystal@int-bio.com                                                                 EmailFirst-Class Mail
Int'l Business Machines Corp IBM                                   Attn: Matthew LaBerge                                 4 Alleghany Ctr                                      P.O. Box 643600                            Pittsburgh, PA 15264                     matthew_laberge@us.ibm.com                                                          EmailFirst-Class Mail
Int'l General                                                      Attn: Forwarding Agent                                3750 Torrey View Ct                                  San Diego, CA 92130                                                                                                                                                     First -Class Mail
Int'l Light Technologies In                                        10 Technology Dr                                      Peabody, MA 01960-7976                                                                                                                                                                                                       First -Class Mail
Int'l Logistics Inc                                                10001 S 152nd St                                      Omaha, NE 68138-3801                                                                                                                                                                                                         First -Class Mail
Int'l Medsurg                                                      P.O. Box 95018                                        Palatine, IL 60095-5018                                                                                                                                                                                                      First -Class Mail
Int'l Plastics Inc                                                 185 Commerce Ctr                                      Greenville, SC 29615-5817                                                                                                                                                                                                    First -Class Mail
Int'l Rubber Products                                              Attn: Tracy Phelps                                    1035 Calle Amanecer                                  San Clemente, CA 92673                                                              tphelps@irpi.com                                                                    EmailFirst-Class Mail
Int'l Rubber Products Inc                                          1035 Calle Amanecer                                   San Clemente, CA 92673-6260                                                                                                                                                                                                  First -Class Mail
Int'l SOS                                                          3600 Horizon Blvd, Ste 300                            Feasterville Trevose, PA 19053-4949                                                                                                                                                                                          First -Class Mail
Int'l Sports Management                                            205 N Michigan Ave, Ste 840                           Chicago, IL 60601-5922                                                                                                                                                                                                       First -Class Mail
Int'l Supply Chain Solution                                        Outsourcing S De Rl De Cv                             Calle El Dorado 2                                    Mexicali, BC 21383                         Mexico                                                                                                                       First -Class Mail
Intouch Solutions Inc                                              7045 College Blvd, Ste 300                            Leawood, KS 66211-1529                                                                                                                                                                                                       First -Class Mail
Intramedic A.B.                                                    Co-party to IDA:                                      Sjoangsvagen 1C Sollentuna                           Stockholm                                  Sweden                                                                                                                       First -Class Mail
Intramedic A.B.                                                    IntraMedic AS                                         Gentoftegade 118, 2sal                               DK-2820 Gentofte                           Denmark                                                                                                                      First -Class Mail
Intramedic A.S.                                                    Co-party to IDA:                                      Gentoftegade 118, 2.sal                              DK-2820 Gentofte                           Denmark                                                                                                                      First -Class Mail
Intramedic A.S.                                                    IntraMedic AB                                         Sjoangsvagen 1C Sollentuna                           Stockholm                                  Sweden                                                                                                                       First -Class Mail
Intramedic A.S.                                                    Co-party to IDA:                                      IntraMedic A.S, Gentoftegade 118, 2.sal              DK-2820 Gentofte                           Denmark                                                                                                                      First -Class Mail
Intramedic AB                                                      Sjoangsvagen 1C                                       Sollentuna, 19272                                    Sweden                                                                                                                                                                  First -Class Mail
Intramedic AS                                                      Gentoftegade 118                                      Gentofte, 2820                                       Denmark                                                                                                                                                                 First -Class Mail
Intransit Express Delivery                                         404 E 2nd St, Ste 420                                 Calexico, CA 92231                                                                                                                                                                                                           First -Class Mail
Intransit Express Delivery                                         Attn: Cesar E Hernandez                               130 Heffernand Ave                                   Calexico, CA 92231                                                                                                                                                      First -Class Mail
Introtek Int'l LP                                                  150 Executive Dr                                      Edgewood, NY 11717-8323                                                                                                                                                                                                      First -Class Mail
Intuitive Surgical, Inc.                                           1266 Kifer Rd, Bldg 102                               Sunnyvale, CA 94086-5304                                                                                                                                                                                                     First -Class Mail
Invent Medical Corporation                                         2788 Loker Ave W                                      Carlsbad, CA 92010                                                                                                                                                                                                           First -Class Mail
Inventiv Commercial Services LLC                                   c/o Ventiv Commercial Services LLC                    500 Atrium Dr                                        Somerset, NJ 08873-4161                                                                                                                                                 First -Class Mail
Inventus Power (ICCNexergy)                                        Attn: Federico Cruz, Sergio Soto                      Blvd Pacific, Ste 14532 Parque                       Tijuana, Baja California                   Mexico                                   federico.cruz@inventuspower.com; sergio.soto@inventuspower.com                      First -Class Mail
Inventus Power (ICCNexergy)                                        Attn: Federico Cruz, Sergio Soto                      Blvd Pacific, Ste 14532 Parque                       Tijuana, Baja California                   Mexico                                                                                                                       First -Class Mail
Inventus Power Inc.                                                1200 International Pkwy                               Woodbridge, IL 60517                                                                                                                                                                                                         First -Class Mail
Invisors LLC                                                       2000 Pga Blvd, Ste 4440                               Palm Beach Gardens, FL 33408-2738                                                                                                                                                                                            First -Class Mail
Invivox                                                            1 Quai de Paludate                                    33800 Bordeaux                                       France                                                                                                                                                                  First -Class Mail
Invotec Engineering Inc.                                           10909 Industry Ln                                     Miamisburg, OH 45342                                                                                                                                                                                                         First -Class Mail
Iowa Board of Pharmacy                                             400 SW Eighth St, Ste E                               Des Moines, IA 50309                                                                                                                                                                                                         First -Class Mail
Iowa Department of Revenue                                         c/o Office of the Attorney General of Iowa            Attn: Bankruptcy Unit                                1305 E Walnut                              Des Moines, IA 50319                     idr.bankruptcy@ag.iowa.gov                                                          EmailFirst-Class Mail
Iowa Dept of Inspections Appeals & Licensing                       6200 Park Ave, Ste 100                                Des Moines, IA 50321                                                                                                                                                                                                         First -Class Mail
Iowa Dept of Revenue                                               P.O. Box 10412                                        Des Moines, IA 50306-0412                                                                                                                                                                                                    First -Class Mail
Iowa Dept of Revenue                                               P.O. Box 10468                                        Des Moines, IA 50306-0468                                                                                                                                                                                                    First -Class Mail
Iowa Dept of Revenue                                               Corporation Tax Return Processing                     P.O. Box 10468                                       Des Moines, IA 50306-0468                                                                                                                                               First -Class Mail
Ip.Com I, Llc                                                      370 Woodcliff Office Park, Ste 301                    Fairport, NY 14450                                                                                                                                                                                                           First -Class Mail
Ipan Intellectual Property Associat                                aka Ipan                                              900 Wilshire Dr, Ste 104                             Troy, MI 48084-1694                                                                                                                                                     First -Class Mail
Ipan Intellectual Property Associates Network Llc                  Associates Network LLC                                900 Wilshire Plz, Ste 104                            Troy, MI 48084                                                                                                                                                          First -Class Mail
IPC Association                                                    Attn: Rong Zhou                                       3000 Lakeside Dr, 309 S                              Bannockburn, IL 60015                                                               rongzhou@ipc.org                                                                    EmailFirst-Class Mail
IPEG Inc                                                           P.O. Box 644537                                       Pittsburgh, PA 15264-4537                                                                                                                                                                                                    First -Class Mail
Ipfolio Corp                                                       2600 10th St, Ste 635                                 Berkeley, CA 94710-3108                                                                                                                                                                                                      First -Class Mail
Ipfolio Corporation                                                2600 Tenth St, Ste 622                                Berkeley, CA 94710                                                                                                                                                                                                           First -Class Mail
IPFS Corp                                                          1055 Broadway Blvd, 11th Fl                           Kansas City, MO 64105                                                                                                                                                                                                        First -Class Mail
Ipg Photonics Corporation                                          3930 Freedom Cir, Ste 130                             Santa Clara, CA 95054                                                                                                                                                                                                        First -Class Mail
Iprime Legal AG                                                    Hirschengraben 1                                      Zurich, ZH 8001                                      China                                                                                                                                                                   First -Class Mail
Iprime Rentsch Kaelin AG                                           Hirschengraben 1                                      Zurich, ZH 8001                                      China                                                                                                                                                                   First -Class Mail
Ipsen Inc                                                          984 Ipsen Rd                                          Cherry Valley, IL 61016-7706                                                                                                                                                                                                 First -Class Mail
Ipsos Insight LLC                                                  P.O. Box 36076                                        Newark, NJ 07188-6006                                                                                                                                                                                                        First -Class Mail
Ipsos Insight LLC                                                  1600 Stewart Ave, Ste 500                             Westbury, NY 11590-6663                                                                                                                                                                                                      First -Class Mail
Iq Messenger B.V.                                                  Pieter Zeemanweg 57                                   3316GZ Dordrecht                                     Netherlands                                                                                                                                                             First -Class Mail
Iqms                                                               2231 Wisteria Ln                                      Paso Robles, CA 93446-9820                                                                                                                                                                                                   First -Class Mail
Iqvia (Fka Quintiles Inc.)                                         83 Wooster Heights Rd                                 Danbury, CT 06810                                                                                                                                                                                                            First -Class Mail
Iqvia (Fka Quintiles, Inc.)                                        4820 Emperor Blvd                                     Durham, NC 27703                                                                                                                                                                                                             First -Class Mail
IQVIA inc                                                          Attn: Amy Alexander                                   100 Ims Dr                                           Parsippany, NJ 07054                                                                Amy.Alexander@iqvia.com                                                             EmailFirst-Class Mail
IQVIA Inc                                                          P.O. Box 8500-4290                                    Philadelphia, PA 19178-4290                                                                                                                                                                                                  First -Class Mail
Iqvia Inc                                                          100 Ims Dr                                            Parsippany, NJ 07054-2957                                                                                                                                                                                                    First -Class Mail
IQVIA RDS Consulting Inc                                           4820 Emperor Blvd                                     Durham, NC 27703-8426                                                                                                                                                                                                        First -Class Mail
Irma Eros                                                          Address Redacted                                                                                                                                                                                                                                                                   First -Class Mail
Irma Jimenez                                                       Address Redacted                                                                                                                                                                                                                                                                   First -Class Mail
Irmandade Beneficente Da Santa Casa Da Misericordia De Fortaleza   Fortaleza - CE, na Rua Barao do Rio Branco N 20       Inscrita no CNPJ sob o N 07273592/0001-64            Brazil                                                                                                                                                                  First -Class Mail
Iron Mountain                                                                                                                                                                                                                                                     cej@bostonbusinesslaw.com                                                           Email
Iron Mountain                                                      c/o Iron Mtn Intellectual Prpty Mgmt                  P.O. Box 27128                                       New York, NY 10087-7129                                                                                                                                                 First -Class Mail
Iron Mountain Information Management, Llc                          1100 Campus Dr                                        Collegeville, PA 19426                                                                                                                                                                                                       First -Class Mail
Iron Mountain Information Management, Llc                          745 Atlantic Ave                                      Boston, MA 02111                                                                                                                                                                                                             First -Class Mail
Iron Mountain Information Mgt                                      Attn: Jay Fabyan                                      1100 Campus Dr                                       Collegeville, PA 19426                                                              jay.faybyan@ironmountain.com                                                        EmailFirst-Class Mail
Ironshore Insurance Services Llc                                   28 Liberty St, 5th Fl                                 New York, NY 10005                                                                                                                                                                                                           First -Class Mail
Ironshore Specialty Ins Co                                         28 Liberty St, 5th Fl                                 New York, NY 10005                                                                                                                                                                                                           First -Class Mail
Irvine Co                                                          550 Newport Center Dr                                 Newport, CA 92660                                                                                                                                                                                                            First -Class Mail
Irwin Fritchie Urguhart & Moore Llc                                400 Poydras St, Ste 2700                              New Orleans, LA 70130                                                                                                                                                                                                        First -Class Mail
Irwin Fritchie Urquhart & Moore LLC                                400 Poydras St, Ste 2700                              New Orleans, LA 70130-3280                                                                                                                                                                                                   First -Class Mail
Isi Leantek LLC                                                    10404 E 55th Pl, Ste G                                Tulsa, OK 74146-6509                                                                                                                                                                                                         First -Class Mail
Isidro Y Siahon                                                    Address Redacted                                                                                                                                                                                                                                                                   First -Class Mail
Islam Shahin Md                                                    Address Redacted                                                                                                                                                                                                                                                                   First -Class Mail
Island Cargo Support                                               12900 Simms Ave                                       Hawthorne, CA 90250-5533                                                                                                                                                                                                     First -Class Mail
Ismael Reyes De La Rosa                                            Cerrada Circuito Brasil 58                            Mexicali, BC 21229                                   Mexico                                                                                                                                                                  First -Class Mail
Isogo                                                              Attn: Rebecca Jb Hammond                              1407 1st St                                          Coronado, CA 92118-1503                                                                                                                                                 First -Class Mail
Isomedix Operations Inc                                            c/o Steris Applied Sterilizations Tech                2500 Commerce Dr                                     Libertyville, IL 60048-2403                                                                                                                                             First -Class Mail
Ispg Inc                                                           10504 Technology Ter                                  Bradenton, FL 34211-4927                                                                                                                                                                                                     First -Class Mail
ISS AA                                                             c/o Integrated Scientific Services                    Robert Walser Platz 7                                Biel, 2503                                 China                                                                                                                        First -Class Mail
Iss Ag, Integrated Scientific Services                             Robert-Walser-Platz 7                                 CH-2503 Biel/Bienne                                  Switzerland                                                                                                                                                             First -Class Mail
Iss Ag, Integrated Scientific Services                             Robert-Walser-Platz 7                                 2503 Biel                                            Switzerland                                                                                                                                                             First -Class Mail
                                                                                                                                                                                                                                                                  barbara.heinss@itg-wismar.de; rainer.boettcher@itg-wismar.de; demian.gambert@itg-
IT Dr Gambert                                                      Attn: Barbara Heiness, Rainer Bottcher                Attn: Demian Gambert, Katrin Koch                    Hinter Dem Chor 21, 23966                  Wismar, 23966                  Germany   wismar.de; katrin.koch@itg-wismar.de                                                First -Class Mail
It Dr Gambert                                                      Hinter Dem Chor 21                                    Wismar, 23966                                        Germany                                                                                                                                                                 First -Class Mail
It Dr. Gambert Gmbh                                                Hinter dem Chor 21                                    23966 Wismar                                         Germany                                                                                                                                                                 First -Class Mail
It Haus (Hoechberg)                                                Europa-Alee 26-28                                     54343 Fohren                                         Germany                                                                                                                                                                 First -Class Mail
It Takes Two Inc                                                   Pro Packaging                                         2549 Eastbluff Dr, Ste 482                           Newport Beach, CA 92660-3500                                                                                                                                            First -Class Mail
ITD Co                                                             Attn: Bill Miller                                     2200 Touchpoint                                      Odessa, FL 33556                                                                    w.miller@itd-cart.com                                                               EmailFirst-Class Mail
ITD Co                                                             Attn: Bill Miller                                     2200 Touchpoint                                      Odessa, FL 33556                                                                                                                                                        First -Class Mail
ITD Corp                                                           2200 Touchpoint                                       Odessa, FL 33556                                                                                                                         salesusa@itd-cart.com                                                               EmailFirst-Class Mail
Itd Corp                                                           Attn: Bill Miller                                     2200 Touchpoint                                      Odessa, FL 33556                                                                                                                                                        First -Class Mail
Itd Corp.                                                          50 Rado Dr, Unit A                                    Naugatuck, CT 06770                                                                                                                                                                                                          First -Class Mail
ITW Trans Tech                                                     Attn: Eric Haak                                       475 N Gary Ave                                       Carol Stream, IL 60188                                                              ehaak@itwids.com                                                                    EmailFirst-Class Mail
Ivens Medlab Spa                                                   Av El Bosque Sur 379 Suite 21 Providencia             Santiago                                             Chile                                                                                                                                                                   First -Class Mail
Ivens S.A.                                                         Ivens SA                                              Av Los Leones No 3028,                               Comuna de Nuñoa, Santiago                  Chile                                                                                                                        First -Class Mail
Ivette De Leon                                                     Address Redacted                                                                                                                                                                                                                                                                   First -Class Mail
Ivette De Leon                                                     Address Redacted                                                                                                                                                                                                                                                                   First -Class Mail
Ivey Mechanical Co LLC                                             2171 Watterson Trl                                    Louisville, KY 40299-2437                                                                                                                                                                                                    First -Class Mail
Iwg High Performance Conductors                                    13230 N Main St                                       P.O. Box 1129                                        Trenton, GA 30752                                                                                                                                                       First -Class Mail
Izdravje D.O.O. (Formerly B211 D.O.O.)                             B211 doo                                              Stefetova 27                                         4208, Sencur                               Slovenia                                                                                                                     First -Class Mail
Izdravje doo                                                       fka B211 doo                                          Spodnje Škofije                                      1886281 Škofije                            Slovenia                                                                                                                     First -Class Mail
Izdravje doo                                                       fka B211 doo                                          Stefetova 27                                         4208, Sencur                               Slovenia                                                                                                                     First -Class Mail
J & B Device & Equipment LLC                                       8585 Sienna Springs Blvd, Apt 711                     Missouri City, TX 77459-7204                                                                                                                                                                                                 First -Class Mail
J & K Mold Hk Co                                                   Jingda Industrial Nanhuan Rd                          Shenzhen, 190 518104                                 China                                                                                                                                                                   First -Class Mail
J A Hirsch Consulting Inc                                          P.O. Box 324                                          Winchester, MA 01890-0424                                                                                                                                                                                                    First -Class Mail
J Andrews LLC                                                      Attn: Jason Andrew Jennings                           15915 Riggs Rd                                       Stilwell, KS 66085-9126                                                                                                                                                 First -Class Mail
J Harstan Inc                                                      118 Elm St                                            Enfield, CT 06082-3732                                                                                                                                                                                                       First -Class Mail
J Pyskaty Disposal Inc                                             800 Castle Rd                                         Secaucus, NJ 07094-1616                                                                                                                                                                                                      First -Class Mail
J Tech Industries LLC                                              Attn: Jeffrey Johnson                                 2293 W Windermere Ave                                Coeue D'Alene, ID 83815                                                             J2th2nd@ieee.org                                                                    EmailFirst-Class Mail
J Tech Industries Llc                                              2293 W Windermere Ave                                 Coeur d'Alene, ID 83815                                                                                                                                                                                                      First -Class Mail
J. Passuni & Cia Sac                                               J Passuni & Cia SAC                                   Av Caminos del Inca 257, Of 218                      Chacarilla del Estanque                    Santiago de Surco, Lima        Peru                                                                                          First -Class Mail
J.B. Hunt Transport, Inc.                                          615 JB Hunt Corporate Dr                              Lowell, AR 72745                                                                                                                                                                                                             First -Class Mail
J.P. Morgan Securities Llc                                         383 Madison Ave,                                      New York, NY 10179                                                                                                                                                                                                           First -Class Mail
J3 Medical LLC                                                     2870 Old Rocky Ridge Rd, Ste 150                      Birmingham, AL 35243-2947                                                                                                                                                                                                    First -Class Mail
Ja Medical Pc                                                      161 E Main St                                         Huntington, NY 11743                                                                                                                                                                                                         First -Class Mail
Jabil                                                              10500 Dr Martin Luther King Jr St N                   St Petersburg, FL 33716-3718                                                                                                                                                                                                 First -Class Mail
                                                             Case 24-11217-BLS                                                                                              Doc 463                     Filed 08/24/24                                Page 24 of 51

Jabil                                                      Jabil Hasselt Research & Design Ctr                          Hasselt                                                   Belgium                                                                                                                                             First -Class Mail
Jabil Circuit (Shanghai) Ltd                               600 Tian Lin Rd                                              Shanghai, 200233                                          China                                                                                                                                               First -Class Mail
Jabil Circuit Shanghai Co Ltd                              600 Tian Lin Rd                                              Shanghai, 200233                                          China                                                                                                                                               First -Class Mail
Jabil Circuit Shanghai Ltd                                 600 Tian Lin Rd                                              Shanghai, 200233                                          China                                                                                Bill_peters@jabil.com                                          First -Class Mail
Jabil Circuit, Inc. (A Division Of Nypro)                  10560 Dr Martin Luther King Jr St N                          St Petersburg, FL 33716                                                                                                                                                                                       First -Class Mail
Jabil Circuits Shanghai                                    Attn: Daisy Qian Remedios Benedicto                          No 600 Tian Lin Rd                                        Shanghai, 200233                      China                                          Daisy_Qian@jabil.com; Remedios_Benedicto@Jabil.com             First -Class Mail
Jabil Inc.                                                 10560 Dr Martin Luther King Jr St N                          St Petersburg, FL 33716                                                                                                                                                                                       First -Class Mail
Jabil Shanghai                                             600 Tian Lin Rd                                              Shanghai, 200233                                          China                                                                                                                                               First -Class Mail
Jack Britten                                               Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
Jack Britten                                               Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
Jackson Health System                                      1100 NW 20th St                                              Miami, FL 33127-4512                                                                                                                                                                                          First -Class Mail
Jackson Madison County General Hospital                    620 Skyline Dr                                               Jackson, TN 38301                                                                                                                                                                                             First -Class Mail
Jackson Memorial Hospital                                  Jackson Memorial Hospital                                    161 NW 12th                                               Miami, FL 33136                                                                                                                                     First -Class Mail
Jackson Walker LLP                                         2323 Ross Ave, Ste 600                                       Dallas, TX 75201-2725                                                                                                                                                                                         First -Class Mail
Jacob Belica                                               Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
Jacob Hay Co                                               509 N Wolf Rd                                                Wheeling, IL 60090-3027                                                                                                                                                                                       First -Class Mail
Jacobs Engineering Group Inc                               Lockbox 18713F                                               800 Market St                                             St Louis, MO 63150-1001                                                                                                                             First -Class Mail
Jacobs Engineering Group Inc                               1999 Bryan St, Ste 1200                                      Dallas, TX 75201-6823                                                                                                                                                                                         First -Class Mail
Jacqueline Doyle                                                                                                                                                                                                                                                       jmp@bostonbusinesslaw.com                                      Email
Jacques-Pierre Fontaine                                    Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
Jaej                                                       JAEJ                                                         Catamarca 3426                                            Martinez ,Buenos Aires                Argentina                                                                                                     First -Class Mail
JAEJ                                                       Martínez Buenos Aires AR                                     Catamarca 3426                                            B1640 FWB                             Argentina                                                                                                     First -Class Mail
JAEJ                                                       Catamarca 3426, Martinez                                     Buenos Aires                                              Argentina                                                                                                                                           First -Class Mail
Jager Gummi & Kuststoff GmbH                               Gewerbegebiet Lohweg 1                                       30559 Hannover                                            Germany                                                                                                                                             First -Class Mail
Jager Gummi & Kuststoff GmbH                               Lohweg 1                                                     30559 Hannover                                            Germany                                                                                                                                             First -Class Mail
Jama Software, Inc.                                        135 SW Taylor St, Ste 200                                    Portland, OR 97204                                                                                                                                                                                            First -Class Mail
Jamaica Hospital Medical Center                            8900 Van Wyck Expy                                           Queens, NY 11418                                                                                                                                                                                              First -Class Mail
Jamal Abdul-Hafiz                                          Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
Jameco Electronics                                         Attn: patricia finau                                         1355 Shoreway Rd                                          Belmont, CA 94002                                                                    pfinau@jameco.com                                              EmailFirst-Class Mail
James Bracken                                              Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
James D Taylor                                             Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
James Daly, MD FCCP                                        Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
James G Buettner                                           Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
James G Erskine                                            Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
James Hickam                                               Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
James Howard Borders                                       Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
James Kevin Mcgraw                                         Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
James Klys                                                 Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
James W Earls                                              Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
James Weatherbee                                           Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
Jami L Galindo                                             Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
Jamieson, Patrick                                          55 Fruit St,                                                 Boston, MA 02114                                                                                                                                                                                              First -Class Mail
Jamjoom Medical Industries Co. Ltd.                        Jamjoom Medical Industries Co Ltd                            Jawharat Al Tahlia building, Fifth floor                  Prince Mohammed Bin Abdulziz Street   Jeddah                         Saudia Arabia                                                                  First -Class Mail
Jams Inc                                                   18881 Von Karman Ave, Ste 350                                Irvine, CA 92612-6589                                                                                                                                                                                         First -Class Mail
Jan Packaging Inc                                          P.O. Box 448                                                 Dover, NJ 07802-0448                                                                                                                                                                                          First -Class Mail
Jan Packaging Inc                                          100 Harrison St                                              Dover, NJ 07801-4750                                                                                                                                                                                          First -Class Mail
Jane Kanka                                                 Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
Jane M Palmer                                              Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
Janelle Halman                                             Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
Janet M Beacham                                            Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
Janet R Szabo                                              Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
Jani King of Cleveland                                     9075 Town Centre Dr                                          Broadview Heights, OH 44147-4045                                                                                                                                                                              First -Class Mail
Jani King of Cleveland                                     9200 S Hills Blvd                                            Broadview Heights, OH 44147-3521                                                                                                                                                                              First -Class Mail
Janice Ann Hamons                                          Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
Janko Alcion Vernon Hills LP                               1161 Lake Cook Rd, Ste A                                     Deerfield, IL 60015-5277                                                                                                                                                                                      First -Class Mail
Janne Dawn Maschal Quinn                                   Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
Janos Porszasz                                             Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
Janusz, Katarzyna                                          Ujastek 3, 31-752 Krakow                                     Poland                                                                                                                                                                                                        First -Class Mail
Janz Corporation                                           6950F Americana Pkwy                                         Reynoldsburg, OH 43068                                                                                                                                                                                        First -Class Mail
Jarrod M Mosier Md Pllc                                    Attn: Jarrod Mosier                                          11895 E Ponce De Leon                                     Tucson, AZ 85749-8672                                                                                                                               First -Class Mail
Jas Forwarding USA Inc                                     2750 NW 84th Ave                                             Miami, FL 33122-1926                                                                                                                                                                                          First -Class Mail
Jason A Bryant                                             Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
Jason Bagley                                               Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
Jason Beall                                                Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
Jason Higgins                                              Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
Jason Inc                                                  1100 Resource Dr, Ste 1                                      Brooklyn Heights, OH 44131-1888                                                                                                                                                                               First -Class Mail
Jason Johnson                                              Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
Jason Kieffaber                                            Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
Jason L Blackston                                          Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
Jason L Bolding                                            Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
Jason Owen Barrett                                         Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
Jason Smith                                                Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
Jason T Huffman                                            Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
Jason Wolf                                                                                                                                                                                                                                                             jwolf@myairlife.com                                            Email
Jason's Deli                                               c/o Deli Management Inc                                      Dept 271                                                  P.O. Box 4869                         Houston, TX 77210-4869                                                                                        First -Class Mail
Jason's Deli                                               c/o Deli Management Inc                                      350 Pine St, Ste 1775                                     Beaumont, TX 77701-2458                                                                                                                             First -Class Mail
Jasper County Treasurer                                    P.O. Box 722                                                 Ridgeland, SC 29936-2613                                                                                                                                                                                      First -Class Mail
Javier Bonilla Perez                                       Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
Javier Martinez                                            Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
Jay Rubino                                                 Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
Jaytech Inc                                                1290 Osborne Rd NE, Ste E                                    Minneapolis, MN 55432-2892                                                                                                                                                                                    First -Class Mail
Jb Hunt Transport Inc                                      615 J B Hunt Corporate Dr                                    Lowell, AR 72745-9143                                                                                                                                                                                         First -Class Mail
Jb Medical LLC                                             Attn: Jill A Baty                                            1735 Mcnevin Ct                                           Reno, NV 89509-3124                                                                                                                                 First -Class Mail
Jc Ehrlich Co Inc                                          1780 Corporate Dr, Ste 440                                   Norcross, GA 30093-2958                                                                                                                                                                                       First -Class Mail
JC Engineering Svcs                                        1149 Pomona Rd                                               Corona, CA 92882                                                                                                                                                                                              First -Class Mail
JCS Parts                                                  P.O. Box 40221                                               Downey, CA 90239-1221                                                                                                                                                                                         First -Class Mail
Jcs Parts                                                  11519 Washington Blvd                                        Whittier, CA 90606-3144                                                                                                                                                                                       First -Class Mail
Jd Coaching & Consulting Llc                               49 N 4th Ave, Ste 103                                        Minneapolis, MN 55401                                                                                                                                                                                         First -Class Mail
Jd Coaching & Consulting LLC                               Attn: Jodi S Davis                                           49 N 4th Ave, Ste 103                                     Minneapolis, MN 55401-3358                                                                                                                          First -Class Mail
JD Farrell Int'l                                           700 S Harbour Island Blvd                                    Tampa, FL 33602-6783                                                                                                                                                                                          First -Class Mail
Jd Young Co                                                116 W 3rd St                                                 Tulsa, OK 74103-3406                                                                                                                                                                                          First -Class Mail
JD Young Leasing LLC                                       Dept 1446                                                    Tulsa, OK 74182                                                                                                                                                                                               First -Class Mail
Jd Young Leasing LLC                                       6202 S Lewis Ave, Ste C-1                                    Tulsa, OK 74136-1099                                                                                                                                                                                          First -Class Mail
Jeanes Hospital                                            7600 Central Ave                                             Philadelphia, PA 19111                                                                                                                                                                                        First -Class Mail
Jeanna Beauchamp                                           Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
Jeannie Davis                                              Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
Jed Gorden Md                                              Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
Jefferies International Limited                            100 Bishopsgate                                              London, EC2N 4JL                                          UK                                                                                                                                                  First -Class Mail
Jefferson Adams                                            Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
Jefferson County Dept of Revenue                           P.O. Box 830710                                              Birmingham, AL 35283-0710                                                                                                                                                                                     First -Class Mail
Jefferson Healthcare                                       840 W Racine St                                              Jefferson, WI 53549                                                                                                                                                                                           First -Class Mail
Jefferson Parish Bureau of Revenue & Taxation              P.O. Box 248                                                 Gretna, LA 70054                                                                                                                                                                                              First -Class Mail
Jefferson Regional Medical Center                          575 Coal Valley Rd, # 111                                    Jefferson Hills, PA 15025                                                                                                                                                                                     First -Class Mail
Jeffrey A Hagen                                            Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
Jeffrey Alan Kennedy                                       Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
Jeffrey Cowgill                                            Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
Jeffrey H Anderson                                         Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
Jeffrey H Johnson                                          Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
Jeffrey Huang                                              Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
Jeffrey J Lavone                                           Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
Jeffrey L Schaff                                           Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
Jeffrey S Sager Md                                         2428 Castillo St, Ste D                                      Santa Barbara, CA 93105                                                                                                                                                                                       First -Class Mail
Jeffrey Voigt                                              Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
Jelab Corp                                                 49 Wrights Mill Rd                                           Armonk, NY 10504-1137                                                                                                                                                                                         First -Class Mail
Jenefer Lan Nhanh Tran                                     Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
Jenkin Guerin Inc                                          4480 Hunt Ave                                                St Louis, MO 63110-2112                                                                                                                                                                                       First -Class Mail
Jennie Lukas                                               Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
Jennifer Bucy                                              Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
Jennifer Carver                                            Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
Jennifer Hope Mangum                                       Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
Jennifer Nicholson                                         Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
Jennifer Odhiambo                                          Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
Jennifer Robyn Macdonald                                   Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
Jennifer Wierzba                                           Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
Jennifer Z Rupert                                          Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
Jenny Morales                                              Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
Jennyfer Crist                                             Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
Jeremiah Ellis                                             Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
Jeremy Wayne Drennan                                       Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
Jeroen Molinger                                            Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
Jerome Industries                                          dba Astrodyne                                                Attn: James Schon Michael Goble                           36 Newburgh Rd                        Hackettstown, NJ 07840                         James.schon@astrodynetdi.com; Michael.Goble@astrodynetdi.com   EmailFirst-Class Mail
Jerome Industries Corp.                                    36 Newburgh Rd                                               Hackettstown, NJ 07840                                                                                                                                                                                        First -Class Mail
Jerome Susa                                                Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
Jersey Community Hospital                                  400 Maple Summit Rd                                          Jerseyville, IL 62052                                                                                                                                                                                         First -Class Mail
Jesse Faria                                                Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
Jessica Annette O'Neil                                     Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
Jessica Lunaas Feinleib                                    Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
Jessica O'Neil                                             Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
Jessica Paulson                                            Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
Jesus Alfonso Pino Silva                                   Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
Jesus Ambriz Valenzuela                                    Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
Jewa Metallverarbeitung GmbH                               Gewerbegebiet II und III                                     Frankenstraße 8                                           97892 Kreuzwertheim                   Germany                                                                                                       First -Class Mail
Jewa Metallverarbeitung GmbH                               Frankenstrasse 8                                             7892 Kreuzwertheim                                        Germany                                                                                                                                             First -Class Mail
Jfk Medical Center                                         65 James St                                                  Edison, NJ 08820                                                                                                                                                                                              First -Class Mail
Jgh Solutions S.A. De C.V.                                 JGH Solutions SA de CV                                       Pio XI Street, No 103                                     Col San Jeronimo                      C.P. 37204 Leon, Guanajuato    Mexico                                                                         First -Class Mail
Jh Metrology Co Inc                                        1801 Hicks Rd, Ste E                                         Rolling Meadows, IL 60008-1226                                                                                                                                                                                First -Class Mail
Jhu School of Medicine                                     Johns Hopkins University                                     720 Rutland Ave                                           Baltimore, MD 21205-2109                                                                                                                            First -Class Mail
Jiangyin Sinbon Electronics Co., Ltd.                      No 288 Chengjiang Middle Rd                                  Jiangyin Economic Development Zone                        Jiangyin 214434                       China                                                                                                         First -Class Mail
Jiaxing Huisen Medical Materials                           c/o Technology Co Ltd                                        Bldg 6 No 3088 Century Ave                                Jiashan, 130 314100                   China                                                                                                         First -Class Mail
Jieshida Hr Service Shenzhen Co., Ltd.                     669 Beijng W Rd, Room 09A, 8 / F, block B, block 9, zone 2   Shenzhen Bay Science and Technology Park                  Nanshan                               China                                                                                                         First -Class Mail
Jinan Grid Commerce Co., Ltd.                              S1-2301 Room, No 1, Building                                 15612 Century Avenue, High-tech Zone                      Jinan City, Shandong Province         China                                                                                                         First -Class Mail
Jinhua City Juhang Artificial Hair                         Products Factory Shanghai Office                             Rm1404 No 80 Ln 999 Zhenghe Rd                            Shanghai, 020 200438                  China                                                                                                         First -Class Mail
JIT Manufacturing Inc                                      Attn: Sheryl Knott                                           1610 Commerce Way                                         Paso Robles, CA 93446                                                                sknott@jitmfg.com                                              EmailFirst-Class Mail
Jit Supply                                                 2601 E Chapman Ave, Ste 208                                  Fullerton, CA 92831-3737                                                                                                                                                                                      First -Class Mail
Jit Supply                                                 530 N Puente Ave                                             Brea, CA 92821                                                                                                                                                                                                First -Class Mail
Jiuzhou Tong (Shenyang) Medical Device Trading Co., Ltd.   Room 1818, 28-4 Sanyi Street                                 Hunnan District, Shenyang City, Liaoning Province         China                                                                                                                                               First -Class Mail
Jk Medi Systems                                            Flat 305, Sukh Complex                                       Munshipulia, Indira Nagar, Lucknow 226016                 India                                                                                                                                               First -Class Mail
Joan A Monahan                                             Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
Joann H Lin Md Pa                                          c/o McKinney Allergy & Asthma Center                         2251 Eldorado Pkwy                                        McKinney, TX 75070-7550                                                                                                                             First -Class Mail
Joanne Davila                                              Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
Joanne M Fornero                                           Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
Jobelephant.com Inc                                        5443 Fremontia Ln                                            San Diego, CA 92115-1007                                                                                                                                                                                      First -Class Mail
Jobot LLC                                                  aka Jobot                                                    18575 Jamboree Rd, Ste 600                                Irvine, CA 92612-2554                                                                                                                               First -Class Mail
Jocelyn Bunma                                              Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
Jody Knust                                                 Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
Joe Cesa                                                   Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
Joel C Bigwood                                             Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
Joel Mayfield                                              Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
Johanna S Cohen                                            Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
John A Steer Co                                            28 S 2nd St                                                  Philadelphia, PA 19106-2802                                                                                                                                                                                   First -Class Mail
John A Steer Co                                            408 Elmwood Ave                                              Sharon Hill, PA 19079-1016                                                                                                                                                                                    First -Class Mail
John Barry & Associates                                    3020 Newport Blvd                                            Newport Beach, CA 92663                                                                                                                                                                                       First -Class Mail
John Bibb                                                  26125 N Riverwoods Blvd                                      Mettawa, IL 60045                                                                                                                                                                                             First -Class Mail
John C Garriott                                            Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
John C Lincoln Hospitals                                   250 E Dunlap Ave Receiving                                   Phoenix, AZ 85020                                                                                                                                                                                             First -Class Mail
John David Corsaut                                         Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
John Elwood                                                26125 N Riverwoods Blvd                                      Mettawa, IL 60045                                                                                                                                                                                             First -Class Mail
John G Brock-Utne                                          Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
John H Weatherford                                         Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
John Henry Foster                                          P.O. Box 419161                                              Creve Coeur, MO 63141-9161                                                                                                                                                                                    First -Class Mail
John Henry Foster Co Inc                                   P.O. Box 419161                                              Creve Coeur, MO 63141-9161                                                                                                                                                                                    First -Class Mail
John J Gashkoff                                            Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
John Johnson                                               Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
John Joseph Warnecke                                       Address Redacted                                                                                                                                                                                            Email Address Redacted                                         EmailFirst-Class Mail
John Joseph Warnecke                                       Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
John M Dewitt                                              Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
John M Kretz                                               Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
John Muir Medical Center                                   1601 Ygnacio Valley Rd                                       Walnut Creek, CA 94598-3122                                                                                                                                                                                   First -Class Mail
John Neal Rutledge                                         Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
John Pan Md                                                Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
John Peter Smith                                           Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
John R Maurer                                              Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
John Supanich                                              Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
John T Mather Memorial Hospital                            75 N Country Rd                                              Port Jefferson, NY 11777-2119                                                                                                                                                                                 First -Class Mail
John Thomas Bibb                                           Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
John Vidal                                                 US Equal Employment Opportunity Commission                   131 M St NE                                               Washington, DC 20507                                                                                                                                First -Class Mail
Johns Hopkins Health Systems                               c/o Supply Chain Shared Services-Procur                      3910 Keswick Rd, Ste N4100                                Baltimore, MD 21211-2226                                                                                                                            First -Class Mail
Johns Hopkins Univ Schl of Medicine                        12529 Collections Center Dr                                  Chicago, IL 60693-0001                                                                                                                                                                                        First -Class Mail
Johns Hopkins Univ Schl of Medicine                        733 N Broadway, Ste 117                                      Baltimore, MD 21205-1832                                                                                                                                                                                      First -Class Mail
Johns Hopkins University                                   JHU School of Medicine                                       733 N Broadway, Ste 117                                   Baltimore, MD 21205                                                                                                                                 First -Class Mail
Johnson Controls                                           P.O. Box 730068                                              Dallas, TX 75373                                                                                                                                                                                              First -Class Mail
Johnson Controls Inc                                       5757 N Green Bay Ave                                         Milwaukee, WI 53209-4408                                                                                                                                                                                      First -Class Mail
Johnson Equipment Co                                       P.O. Box 802009                                              Dallas, TX 75380-2009                                                                                                                                                                                         First -Class Mail
Johnson Equipment Co                                       4674 Olin Dr                                                 Dallas, TX 75380-2009                                                                                                                                                                                         First -Class Mail
Johnson Plastics Group, S.A. De C.V.                       Av Cerrada Centinela 1701                                    PI Cachanilla Mexicali                                    Baja California CP 21385              Mexico                                                                                                        First -Class Mail
Johnson Products Co                                        Attn: Sam LaPorte                                            149 La Porte St                                           Arcadia, CA 91066                                                                    slaporte@johnsonproductsinc.com                                EmailFirst-Class Mail
Johnson Products Inc.                                      149 Laporte St                                               Arcadia, CA 91006                                                                                                                                                                                             First -Class Mail
Johnston Industrial Supply Inc                             3121 E Cairo St                                              Springfield, MO 65802-2694                                                                                                                                                                                    First -Class Mail
Jolt Advantage Group                                       8875 Hidden River Pkwy, Ste 300                              Tampa, FL 33637                                                                                                                                                                                               First -Class Mail
Jolt Advantage Group Inc                                   8875 Hidden River Pkwy, Ste 300                              Tampa, FL 33637-2087                                                                                                                                                                                          First -Class Mail
JOLT Advantage Group, Inc                                  8875 Hidden River Pkwy, Ste 300                              Tampa, FL 33637                                                                                                                                                                                               First -Class Mail
JOLT Advantage Group, Inc                                  8875 Hidden River Pkwy                                       Tampa, FL 33637                                                                                                                                                                                               First -Class Mail
Jolt Advantage Group, Inc.                                 8875 Hidden River Pkwy, Ste 300                              Tampa, FL 33637                                                                                                                                                                                               First -Class Mail
Jon Tucker                                                 Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
Jonathan Abed                                              c/o Stevens & Mcmillan                                       Attn: Heather McMillan & Christopher Gavriliuc            335 Centennial Way                    Tustin, CA 92780                                                                                              First -Class Mail
Jonathan Bashir                                                                                                                                                                                                                                                        jon_b@evcoplastics.com                                         Email
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Jonathan E Anderson                                        Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
Jones Day                                                  77 W Wacker Dr                                               Chicago, IL 60601-1604                                                                                                                                                                                        First -Class Mail
Jones Lang Lasalle Americas Inc                            200 E Randolph St, Ste Fl 4300                               Chicago, IL 60601-6519                                                                                                                                                                                        First -Class Mail
Jonsman Innovation Aps                                     Hovedvejen 1d                                                3330 Gorlose                                              Denmark                                                                                                                                             First -Class Mail
Jordan Green                                               Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
Jordi Labs Llc                                             200 Gilbert St                                               Mansfield, MA 02048                                                                                                                                                                                           First -Class Mail
Jordi Labs LLC                                             200 Gilbert St                                               Mansfield, MA 02048-2051                                                                                                                                                                                      First -Class Mail
Jordon Von Helf                                            Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
Jorge Duran                                                Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
Jorge Esteban Delgadillo Gallardo                          Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
Jose A Beltran                                             Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
Jose A Ramos                                               Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
Jose Demetrio Sagastume                                    Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
Jose Gallardo Banez                                                                                                                                                                                                                                                    jose.gallardobanez@vyaire.com                                  Email
Jose Garnica                                               Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
Jose Luis Rodriguez                                        Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
Jose Vallejo                                               Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
Jose Villegas                                              Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
Joseph Ben Shrager Md                                      Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
Joseph M McDonough                                         Address Redacted                                                                                                                                                                                                                                                           First -Class Mail
                                                            Case 24-11217-BLS                                                                                Doc 463                     Filed 08/24/24                              Page 25 of 51

Joseph Yedlicka                                           Address Redacted                                                                                                                                                                                                                                               First -Class Mail
Joseph Yutanco                                            Address Redacted                                                                                                                                                                                Email Address Redacted                                         EmailFirst-Class Mail
Joshua Christopher Lalonde                                Address Redacted                                                                                                                                                                                                                                               First -Class Mail
Joshua Cunningham                                         Address Redacted                                                                                                                                                                                                                                               First -Class Mail
Joshua Daniel Rains                                       Address Redacted                                                                                                                                                                                                                                               First -Class Mail
Joshua Kobza                                              Address Redacted                                                                                                                                                                                                                                               First -Class Mail
Joshua Lenchus                                            Address Redacted                                                                                                                                                                                                                                               First -Class Mail
Joshua Tate                                               Address Redacted                                                                                                                                                                                                                                               First -Class Mail
Joyce L Rhoton                                            Address Redacted                                                                                                                                                                                                                                               First -Class Mail
JPMorgan Chase Bank Na                                    131 S Dearborn St, 5th Fl                                Chicago, IL 60603-5517                                                                                                                                                                                First -Class Mail
Jpmorgan Chase Bank, N.A., Sydney                         10420 Highland Manor Dr                                  Tampa, FL 33610                                                                                                                                                                                       First -Class Mail
Jpmorgan Chase Bank, N.A., Sydney                         131 S Dearborn                                           Chicago, IL 60603-5506                                                                                                                                                                                First -Class Mail
Jpmorgan Chase Bank, N.A., Sydney                         Level 15, 85 Castlereagh St                              Sydney, NSW 2000                                Australia                                                                                                                                             First -Class Mail
JPMorgan Chase Bank, NA                                   131 S Dearborn, 6th Fl                                   Chicago, IL 60603-5506                                                                                                                                                                                First -Class Mail
JPMorgan Chase Bank, NA, Sydney                           85 Castlereagh St, Level 15                              Sydney, NSW 2000                                Australia                                                                              gts.client.services@jpmchase.com                               First -Class Mail
JS Tooling Inc                                            Attn: Jeff Talbot                                        715 Dulcinea Dr                                 San Antonio, TX 78260                                                                  jstooling@yahoo.com                                            EmailFirst-Class Mail
JT Mold Technology Co Ltd                                 88 Weixin Rd Sip                                         Suzhou, 100                                     China                                                                                                                                                 First -Class Mail
Jt Mold Technology Co., Ltd.                              No 188 Weixin Road                                       SIP, Suzhou, Jiangsu Province                   China                                                                                                                                                 First -Class Mail
Juan Carlos Carreon                                       Address Redacted                                                                                                                                                                                                                                               First -Class Mail
Juan Manuel Flores                                        Address Redacted                                                                                                                                                                                                                                               First -Class Mail
Juan Williams, As Special Rep                             of the estate of Audrea Hardwicks-Willilams              c/o Breen Goril Law                             Attn: Christopher Goril           111 W Washington St, Ste 1500    Chicago, IL 60602                                                                  First -Class Mail
Judith H Nuetzmann                                        Address Redacted                                                                                                                                                                                                                                               First -Class Mail
Judson Precision Instrumentation Co                       c/o Precision Instrumentation Co                         13413 Benson Ave                                Chino, CA 91710-5231                                                                                                                                  First -Class Mail
Julia Delgrosso                                           Address Redacted                                                                                                                                                                                                                                               First -Class Mail
Julie Clemens                                             Address Redacted                                                                                                                                                                                                                                               First -Class Mail
Julie Jackson                                             Address Redacted                                                                                                                                                                                                                                               First -Class Mail
Julius Cantu                                              Address Redacted                                                                                                                                                                                                                                               First -Class Mail
Jumpcrew                                                  501 Great Circle Rd                                      Nashville, TN 37228                                                                                                                                                                                   First -Class Mail
June Johnson                                              Address Redacted                                                                                                                                                                                                                                               First -Class Mail
Junnimed Services Pte Ltd                                 17 Kaki Bukit Pl                                         Singapore 416195                                Singapore                                                                                                                                             First -Class Mail
Junnimed Services Pte Ltd                                 15 Changi North St 1                                     01-20 I-Lofts @ Changi                          Singapore 498765                                                                                                                                      First -Class Mail
Junnimed Services Pte. Ltd.                               15 Changi North Street 1, #01-20 I-Lofts                 Singapore 498765                                Singapore                                                                                                                                             First -Class Mail
Junnimed Services Pte. Ltd.                               Changi, Singapore 498765                                 Singapore                                                                                                                                                                                             First -Class Mail
Just Laura                                                Attn: Laura Hatbx                                        10119 Allenwood Way                             Santee, CA 92701                                                                       luara@cox.etusda                                               EmailFirst-Class Mail
Just Laura Inc                                            c/o Crossover Print Management                           10119 Allenwood Way                             Santee, CA 92071-1631                                                                                                                                 First -Class Mail
Juxtaposition Records                                     Fifth Fl, Clareville House 2                             6-27 Oxendon St                                 St James's                        London, England SW1Y 4EL         United Kingdom                                                                     First -Class Mail
Jw Marriott Orlando - Grande Lakes                        4040 Central Florida Pkwy                                Orlando, FL 32837                                                                                                                                                                                     First -Class Mail
K&D Installation Inc                                      c/o Boyer Moving & Storage                               12556 Kirkham Ct, Ste 6                         Poway, CA 92064-8808                                                                                                                                  First -Class Mail
K&L Gates Llp                                             1 Newark Center, 10th Fl                                 Newark, NJ 07102                                                                                                                                                                                      First -Class Mail
Kadlec Regional Medical Center                            888 Swift Blvd                                           Richland, WA 99352-3514                                                                                                                                                                               First -Class Mail
Kadlec Regional Medical Center                            888 Swift Blvd Receiving                                 Richland, WA 99352                                                                                                                                                                                    First -Class Mail
Kaelan Watson                                             Address Redacted                                                                                                                                                                                                                                               First -Class Mail
Kaeser Compressors                                        Attn: Leeann Rowden                                      511 Sigma Dr                                    Fredericksburg, VA 22408                                                               leeann.rowden@kaeser.com                                       EmailFirst-Class Mail
Kai Pinkerton                                             Address Redacted                                                                                                                                                                                                                                               First -Class Mail
Kaiser Permanente                                         1 Kaiser Plz, Ste 2600                                   Oakland, CA 94612                                                                                                                                                                                     First -Class Mail
Kaiser Tech Co Ltd                                        31F No 185 Sec 1 Chungkong                               Taichung, 40308                                 Taiwan                                                                                                                                                First -Class Mail
Kalil & Co Inc                                            c/o Lilak, LLC                                           2960 N Swan Rd                                  Tucson, AZ 85712-6017                                                                                                                                 First -Class Mail
Kalispell Regional Med Ctr Inc                            310 Sunnyview Ln DBA Logan Health CTR 310 Sunnyview Ln   Kalispell, MT 59901                                                                                                                                                                                   First -Class Mail
Kalispell Regional Medical Center                         310 Sunnyview Ln                                         Kalispell, MT 59901                                                                                                                                                                                   First -Class Mail
Kaman Industrial Technologies                             Attn: Matt Crum                                          45480 Commerce St                               Indio, CA 92201                                                                        matt.crum@kaman.com                                            EmailFirst-Class Mail
Kamino Int'l                                              2580 Santa Fe Ave                                        Redondo Beach, CA 90278-1116                                                                                                                                                                          First -Class Mail
Kansas City Series of Lockton Compa                       c/o Commerce Bank                                        P.O. Box 843844                                 Kansas City, MO 64184-3844                                                                                                                            First -Class Mail
Kansas Dept of Revenue                                    P.O. Box 3506                                            Topeka, KS 66625-3506                                                                                                                                                                                 First -Class Mail
Kansas Dept of Revenue                                    P.O. Box 750260                                          Topeka, KS 66699-0260                                                                                                                                                                                 First -Class Mail
Kansas Dept of Revenue                                    Kansas Corporate Tax                                     P.O. Box 750260                                 Topeka, KS 66699-0260                                                                                                                                 First -Class Mail
Karen D Webster                                           Address Redacted                                                                                                                                                                                                                                               First -Class Mail
Karen Harbeck                                             Address Redacted                                                                                                                                                                                                                                               First -Class Mail
Karen L Dodge                                             Address Redacted                                                                                                                                                                                                                                               First -Class Mail
Kari Simonsen Md                                          Address Redacted                                                                                                                                                                                                                                               First -Class Mail
Karl Sylvester                                            Royal Papworth Hospital                                  Cambridge Shire, CB23 3RE                       United Kingdom                                                                                                                                        First -Class Mail
Kars Advanced Materials, Inc.                             2528 W Woodland Dr                                       Anaheim, CA 92801                                                                                                                                                                                     First -Class Mail
Karten Design                                             4098 Glencoe Ave                                         Marina Del Rey, CA 92092                                                                                                                                                                              First -Class Mail
Kasia Jablonski                                           Address Redacted                                                                                                                                                                                                                                               First -Class Mail
Kate Joyce Productions                                    Attn: Kate Joyce                                         7660 Fay Ave H0147                              La Jolla, CA 92037                                                                                                                                    First -Class Mail
Katherine Ann McCabe                                      Address Redacted                                                                                                                                                                                                                                               First -Class Mail
Katherine Mccabe                                          Address Redacted                                                                                                                                                                                                                                               First -Class Mail
Kathleen Monteleone                                       Address Redacted                                                                                                                                                                                                                                               First -Class Mail
Katholieke Universiteit                                   c/o Leuven- Kl Leuven                                    Oude Markt 13 Bus 5005                          Leuven, 3000                      Belgium                                                                                                             First -Class Mail
Kathy Bowers                                              Address Redacted                                                                                                                                                                                                                                               First -Class Mail
Kathy D Le                                                Address Redacted                                                                                                                                                                                                                                               First -Class Mail
Kathy Leifeste                                            Address Redacted                                                                                                                                                                                                                                               First -Class Mail
Katten Muchin Rosenman LLP                                525 W Monroe St, Ste 1900                                Chicago, IL 60661-3718                                                                                                                                                                                First -Class Mail
Kauai Veterans Memorial Hosp                              4643 Waimea Canyon Rd Receiving                          Waimea, HI 96796                                                                                                                                                                                      First -Class Mail
Kay Francis Harris                                        Address Redacted                                                                                                                                                                                                                                               First -Class Mail
Kdl Precision Molding Corp                                11381 Bradley Ave                                        Pacoima, CA 91331                                                                                                                                                                                     First -Class Mail
Keck Hospital Of Usc                                      1510 San Pablo St                                        Los Angeles, CA 90033                                                                                                                                                                                 First -Class Mail
Keck Hospital of USC                                      1500 San Pablo St                                        Los Angeles, CA 90033                                                                                                                                                                                 First -Class Mail
Kee Safety Inc                                            Attn: Rodney Sandoval                                    Stradtstam St                                   Buffalo, NY 14206                                                                      Rsandoval@keesafety.com                                        EmailFirst-Class Mail
Keen-Summit Capital Partners Llc                          1 Huntington Quadrangle, Ste 2C04                        Melville, NY 11747                                                                                                                                                                                    First -Class Mail
Keiser University                                         1500 NW 49th St                                          Ft Lauderdale, FL 33309                                                                                                                                                                               First -Class Mail
Keisman Inc                                               Attn: Tony R Keisman                                     40836 N Timberland Trl                          Wadsworth, IL 60083-9313                                                                                                                              First -Class Mail
Keith Izett                                               Address Redacted                                                                                                                                                                                                                                               First -Class Mail
Keith J Kwiatkowski                                       Address Redacted                                                                                                                                                                                                                                               First -Class Mail
Keith Kernell Thomas Jr                                   Address Redacted                                                                                                                                                                                                                                               First -Class Mail
Keith Teresi                                              Address Redacted                                                                                                                                                                                                                                               First -Class Mail
Kekst & Co Inc                                            c/o Kekst CNC                                            437 Madison Ave, 37th Fl                        New York, NY 10022-7001                                                                                                                               First -Class Mail
Kekst And Company Incorporated                            437 Madison Ave                                          New York, NY 10022                                                                                                                                                                                    First -Class Mail
Kelcourt Plastics Inc                                     c/o Kelpac Medical                                       1000 Calle Recodo                               San Clemente, CA 92673                                                                                                                                First -Class Mail
Kele Inc                                                  118 California St, Unit A                                Arcadia, CA 91006-3680                                                                                                                                                                                First -Class Mail
Kele Inc                                                  118 California, Ste A                                    Arcadia, CA 91006                                                                                                                                                                                     First -Class Mail
Kelle Marle Hausler                                       Address Redacted                                                                                                                                                                                                                                               First -Class Mail
Kelli Betancourt                                          Address Redacted                                                                                                                                                                                                                                               First -Class Mail
Kelly Spicers Inc                                         c/o Kelly Spicers                                        12310 E Slauson Ave                             Santa Fe Springs, CA 90670-2629                                                                                                                       First -Class Mail
Kelly Spicers Inc.                                        12310 E Slauson Ave                                      Santa Fe Springs, CA 90670                                                                                                                                                                            First -Class Mail
Kelpac Malaysia Sdn Bhd                                   1&3 Jln Laman Setia 7/3                                  Johor Bahru, JOH 81550                          Malaysia                                                                                                                                              First -Class Mail
Kelpac Medical                                            Attn: Jeff Hunter                                        1000 Calle Recodo                               San Clemente, CA 92673                                                                 jhunter@kelpacmedical.com                                      EmailFirst-Class Mail
Kelpac Medical                                            P.O. Box 71178                                           Chicago, IL 60694-1178                                                                                                                                                                                First -Class Mail
Kelpac Medical                                            1000 Calle Recodo                                        San Clemente, CA 92673                                                                                                                                                                                First -Class Mail
Kelpac Medical                                            10101 78th Ave                                           Pleasant Prairie, WI 53158-2815                                                                                                                                                                       First -Class Mail
Kelpac Medical                                            1&3 Jln Laman Setia 7/3                                  Johor Bahru, JOH 81550                          Malaysia                                                                                                                                              First -Class Mail
Kelpac Medical - San Clamente (Spectrum Plastics Group)   11 Calle Amanecer                                        San Clemente, CA, 92673                                                                                                                                                                               First -Class Mail
Kelpac Medical, A Ppc Industries Company                  10101 78th Ave                                           Pleasant Prairie, WI 53158                                                                                                                                                                            First -Class Mail
Kelsey Seybold Clinic                                     2727 W Holcombe Blvd                                     Houston, TX 77025                                                                                                                                                                                     First -Class Mail
Kelso Burnett Co                                          1378 St Paul Ave                                         Gurnee, IL 60031-2101                                                                                                                                                                                 First -Class Mail
Kelso-Burnett Co.                                         1378 St Paul Ave                                         Gurnee, IL 60031                                                                                                                                                                                      First -Class Mail
Kelvin Hong                                               Address Redacted                                                                                                                                                                                                                                               First -Class Mail
Kem Medical Products Corp                                 400 Broadhollow Rd, Ste 2                                Farmingdale, NY 11735-4824                                                                                                                                                                            First -Class Mail
Ken Armstrong                                             dba Future Shock Ent                                     Attn: Ken Armstrong                             2590 Irsis Ave, Ste 13A           Moreno Valley, CA 92551                                                                                             First -Class Mail
Kendrion Kuhnke Automation GmbH                           Industrial Control Systemts                              Lutjenburger StraBe 101                         23714 Malente                     Germany                                                                                                             First -Class Mail
Kenes Education BV                                        130 Teleport Blvd                                        Amsterdam, 1043 EJ                              Netherlands                                                                                                                                           First -Class Mail
Kennedy Health System                                     130 S 9th St, 18th Fl                                    Edison Building                                 Philadelphia, PA 19107                                                                                                                                First -Class Mail
Kenneth B Chapman                                         Address Redacted                                                                                                                                                                                                                                               First -Class Mail
Kenneth Dique                                             Address Redacted                                                                                                                                                                                                                                               First -Class Mail
Kenneth Joseph Orr                                        Address Redacted                                                                                                                                                                                                                                               First -Class Mail
Kenneth R Hoffman Md Mph                                  Address Redacted                                                                                                                                                                                                                                               First -Class Mail
Kenneth S Roha                                            Address Redacted                                                                                                                                                                                                                                               First -Class Mail
Kenneth Tomkovich                                         Address Redacted                                                                                                                                                                                                                                               First -Class Mail
Kenneth Tomkovich                                         Address Redacted                                                                                                                                                                                                                                               First -Class Mail
Keno Graphic Services Inc                                 1 Parrott Dr                                             Shelton, CT 06484-4733                                                                                                                                                                                First -Class Mail
Kensington Electronics                                    Attn: Terence Rabbitt                                    11801 Stonehollow Dr, Ste 150                   Austin, TX 78758                                                                       trabbitt@keiconn.com                                           EmailFirst-Class Mail
Kensington Int'l Inc                                      1515 W 22nd St, Ste 500                                  Oak Brook, IL 60523-8743                                                                                                                                                                              First -Class Mail
Kent Elastomer Products Inc                               P.O. Box 72318                                           Cleveland, OH 44192-0002                                                                                                                                                                              First -Class Mail
Kent Elastomer Products Inc                               1500 St Clair Ave                                        Kent, OH 44240-4364                                                                                                                                                                                   First -Class Mail
Kent Hootman                                              Address Redacted                                                                                                                                                                                                                                               First -Class Mail
Kent Landsberg Co                                         Blvd Circuito Siglo Xxi                                  Mexicali, BC 21010                              Mexico                                                                                                                                                First -Class Mail
Kentucky Board of Pharmacy                                State Office Building Annex                              125 Holmes St, Ste 300                          Frankfort, KY 40601                                                                                                                                   First -Class Mail
Kentucky Dept of Revenue                                  P.O. Box 856905                                          Louisville, KY 40285-6905                                                                                                                                                                             First -Class Mail
Kentucky Revenue Cabinet                                  Frankfort, KY 40620-0003                                                                                                                                                                                                                                       First -Class Mail
Kentucky State Treasurer                                  125 Holmes St                                            Frankfort, KY 40601                                                                                                                                                                                   First -Class Mail
Kepler Signaltek                                          Unit 912, 9th Floor                                      Two Harbourfront                                22 Tak Fung St.                   Hunghom, KL, Hong Kong           China                                                                              First -Class Mail
Kepler Signaltek Ltd                                      Attn: Scott Hayden                                       Unit 912, 9th Fl, 2 Harbourfront                22 Tak Fung St Hunghom            Kowloon                          Hong Kong           scott.hayden@keplersignaltek.com                               First -Class Mail
Kepler Signaltek Ltd.                                     Unit 914, 9th Fl                                         Two Harbourfront 22 Tak Fung St                 Hunghom Kowloon, Hong Kong        China                                                                                                               First -Class Mail
Keri Carlson                                              Address Redacted                                                                                                                                                                                                                                               First -Class Mail
Kern Medical Center                                       Receiving Warehouse                                      1700 Mount Vernon Ave                           Bakersfield, CA 93305                                                                                                                                 First -Class Mail
Kesa Comercio e Servicos Tecnicos Ltda                    R José Higino                                            145 - Madalena                                  Recife - PE                       50610-340                        Brazil                                                                             First -Class Mail
Kesa Comercio e Servicos Tecnicos Ltda                    R Jose Higino                                            no 145 Madalena                                 Recife, Pernambuco 50610-340      Brazil                                                                                                              First -Class Mail
Keshock, Maureen Md                                       9500 Euclid Ave                                          Cleveland, OH 44195                                                                                                                                                                                   First -Class Mail
Kettering Health                                          3535 Southern Blvd                                       Kettering, OH 45429                                                                                                                                                                                   First -Class Mail
Kevin Mark Klemz                                          Address Redacted                                                                                                                                                                                                                                               First -Class Mail
Kevin Veenstra                                            Address Redacted                                                                                                                                                                                                                                               First -Class Mail
Key Instruments                                           Attn: Chris Michael                                      500 Conventry Ave                               Croydon, PA 19021                                                                      cmichael@keyinstruments.com                                    EmailFirst-Class Mail
Key People Inc                                            c/o Kiara Inc                                            528 Pennsylvania Ave, Ste 339                   Glen Ellyn, IL 60138-8815                                                                                                                             First -Class Mail
Keyedin Solutions, Inc.                                   5001 American Blvd W, 1010                               Minneapolis, MN 55437                                                                                                                                                                                 First -Class Mail
Keyence Co of America                                     Attn: Lauren Velella                                     669 River Dr, Ste 403                           Elmwood Park, NJ 07407                                                                 lvelella@keyence.com                                           EmailFirst-Class Mail
Keyence Corp of America                                   Dept LA 22198                                            Pasadena, CA 91185-2198                                                                                                                                                                               First -Class Mail
Keyence Corp of America                                   669 River Dr, Ste 403                                    Elmwood Park, NJ 07407-1361                                                                                                                                                                           First -Class Mail
Keystone Partners LLC                                     c/o Kensington International                             125 Summer St, Ste 1020                         Boston, MA 02110-1681                                                                                                                                 First -Class Mail
Keystone Plumbing                                         Attn: Donald Shope Jr                                    1690 N 70th West Pl                             Tulsa, OK 74127-1120                                                                                                                                  First -Class Mail
Khaitan & Co LLP                                          1105 Ashoka Estate                                       New Delhi, 30 110001                            India                                                                                                                                                 First -Class Mail
Khalid Scientific Co. W.L.L.                              Khalid Scientific Building                               Airport St., Bldg. No. 402, Area No. 47         P.O. Box 4349                     Doha, Qatar                                                                                                         First -Class Mail
Kidsmed LLC                                               2198 Ogden Ave, Ste 133                                  Aurora, IL 60504-7215                                                                                                                                                                                 First -Class Mail
Kiely Thompson Caisley                                    Address Redacted                                                                                                                                                                                                                                               First -Class Mail
Kieran Roycroft                                           Address Redacted                                                                                                                                                                                                                                               First -Class Mail
Kierrin Medical LLC                                       4636 Edgeware Rd                                         San Diego, CA 92116-4701                                                                                                                                                                              First -Class Mail
Kilmainham Vyaire LLC                                     Attn: Karla Patterson                                    2313 W Overland Rd                              Boise, ID 83705                                                                        kpatterson@kilmainhamholdings.com                              EmailFirst-Class Mail
Kilmainham Vyaire LLC                                     Attn: Karla Patterson                                    2313 W Overland Rd                              Boise, ID 83705                                                                                                                                       First -Class Mail
Kim Bojniewicz                                            Address Redacted                                                                                                                                                                                                                                               First -Class Mail
Kim Fellwock                                              Address Redacted                                                                                                                                                                                                                                               First -Class Mail
Kimberly Anne Howell                                      Address Redacted                                                                                                                                                                                                                                               First -Class Mail
Kimberly Rose Hindman                                     Address Redacted                                                                                                                                                                                                                                               First -Class Mail
Kimmel Gerke Associates Ltd                               Attn: Bill Kimmel                                        628 Levander Way                                S St Paul, MN 55075                                                                    bkimmel@emiguru.com                                            EmailFirst-Class Mail
Kimmel Gerke Associates Ltd                               628 Levander Way                                         S St Paul, MN 55075-2637                                                                                                                                                                              First -Class Mail
Kimpton Rowan Palm Springs Hotel                          100 W Tahquitz Canyon Way                                Palm Springs, CA 92262                                                                                                                                                                                First -Class Mail
Kindred Healthcare Operating Inc                          680 S 4th St                                             Louisville, KY 40202-2407                                                                                                                                                                             First -Class Mail
Kindred Healthcare Operating, Inc.                        680 S 4th Ave                                            Louisville, KY 40202                                                                                                                                                                                  First -Class Mail
Kindred Healthcare Operating, Llc                         680 S 4th St                                             Louisville, KY 40202-2407                                                                                                                                                                             First -Class Mail
Kinetic Medical                                           Attn: Joshua L Whalen                                    2256 Ash St                                     Denver, CO 80207-3720                                                                                                                                 First -Class Mail
King Ocean Serv                                           12600 NW 25th St, Ste 115                                Miami, FL 33182-1508                                                                                                                                                                                  First -Class Mail
Kinnunen Sales & Rentals                                  707 E 6th Ave                                            Stillwater, OK 74074-3704                                                                                                                                                                             First -Class Mail
Kintetsu World Express USA Inc                            21086 24th Ave S, Ste 124                                Seatac, WA 98198-5500                                                                                                                                                                                 First -Class Mail
Kiran Kesava Chekka                                       Address Redacted                                                                                                                                                                                                                                               First -Class Mail
Kirkland & Ellis Llp                                      601 Lexington Ave                                        New York, NY 10022                                                                                                                                                                                    First -Class Mail
Kirkland & Ellis LLP                                      300 N Lasalle Dr                                         Chicago, IL 60654-3406                                                                                                                                                                                First -Class Mail
Kirklin Clinic Uab Hsf Pc                                 Bldg 480 960 Rocket Way Ste 110                          Gardendale, AL 35071                                                                                                                                                                                  First -Class Mail
Kirklin Clinic Uab Hsf Pc                                 501 EMERY DR W                                           Hoover, AL 35244                                                                                                                                                                                      First -Class Mail
Kirsten Nelson                                            Address Redacted                                                                                                                                                                                                                                               First -Class Mail
Kishwaukee Hospital                                       1 Kish Hospital Dr                                       DeKalb, IL 60115                                                                                                                                                                                      First -Class Mail
Kj International Resources Ltd                            500 W Madison St, Ste 1000                               Chicago, IL 60661                                                                                                                                                                                     First -Class Mail
Kjt Group Inc                                             6 East St                                                Honeoye Falls, NY 14472-1202                                                                                                                                                                          First -Class Mail
Kkr Capital Markets Limited                               30 Hudson Yards                                          New York, NY 10001                                                                                                                                                                                    First -Class Mail
Kleen Test Products Corp                                  c/o Meridian Industries Inc                              1611 S Sunset Rd                                Pt Washington, WI 53074-9673                                                                                                                          First -Class Mail
Klein & Co Inc                                            8552 Woodbriar Dr                                        Sarasota, FL 34238-5666                                                                                                                                                                               First -Class Mail
                                                                                                                                                                                                                                                          Bret.k@kleskmetalstamping.com; dukek@kleskmetalstamping.com;
Klesk Metal Stamping                                      Attn: Bret Klesk/Duke/Derek/Josh                         1124 Stinson Blvd NE                            Minneapolis, MN 55413                                                                  dereki@kleskmetalstamping.com; joshh@kleskmetalstamping.com    EmailFirst-Class Mail
Klesk Metal Stamping Co. Inc.                             1124 Stinson Blvd NE                                     Minneapolis, MN 55413                                                                                                                                                                                 First -Class Mail
KM Aligned LLC                                            2206 Stirrup Ln                                          Wheaton, IL 60189-8955                                                                                                                                                                                First -Class Mail
Km Aligned, Llc (Mccabe, Katherine)                       2206 Stirrup Ln                                          Wheaton, IL 60189                                                                                                                                                                                     First -Class Mail
Kneyber, Martin C.J. Md, Phd                              Hanzeplein 1,                                            Groningen, 9713 GZ                              Netherlands                                                                                                                                           First -Class Mail
Knightsbridge Plastic, Inc.                               3075 Osgood Ct                                           Fremont, CA 94537                                                                                                                                                                                     First -Class Mail
Knock Fluid-Technik Gmbh                                  Otto-Hahn-Strabe 4                                       Germany                                                                                                                                                                                               First -Class Mail
Knocks Fluid-Technik Gmbh                                 Otto-Hahn-StraBe 4                                       44227 Dortmund                                  Germany                                                                                                                                               First -Class Mail
Knocks Fluid-Technik GMBH                                 Otto Hahn Strabe 4                                       Selm, 59379                                     Germany                                                                                                                                               First -Class Mail
Knox Community Hospital                                   1330 Coshocton Ave                                       Mt Vernon, OH 43050                                                                                                                                                                                   First -Class Mail
KNR Management Consultants                                c/o Private Ltd                                          Pioneer House Sector 16, 4th Fl                 Noida, 201301                     India                                                                                                               First -Class Mail
Knr Management Consultants Private Limited                4th Floor, Pioneer House, Sector 16                      Noida, Uttar Pradesh, 201301                    India                                                                                                                                                 First -Class Mail
Kns Associates                                            P.O. Box 34716                                           Memphis, TN 38111                                                                                                                                                                                     First -Class Mail
KNS Associates Inc                                        Attn: Terry Johnson, Jesse Johnson                       P.O. Box 34716                                  Memphis, TN 38111                                                                      terry@knsinstruments.com; jess@knsinstruments.com              EmailFirst-Class Mail
Kochasoft Inc.                                            5805 State Bridge Rd, Ste G433                           Johns Creek, GA 30097                                                                                                                                                                                 First -Class Mail
KOE Kaohsiung Taiwan                                      KOE is a Sub Tier Supplier for Dawar                     2, E 13th S, KEPZ                               Kaohsiung, 806                    Taiwan                                                                                                              First -Class Mail
Koeller Nebeker Carlson Haluck Llp                        One E Washington St, Ste 400                             Phoenix, AZ 85004                                                                                                                                                                                     First -Class Mail
Koeller Nebeker Carlson Haluck LLP                        3 Park Plz, Ste 1500                                     Irvine, CA 92614-8558                                                                                                                                                                                 First -Class Mail
Kolawole Otitoju                                          Address Redacted                                                                                                                                                                                                                                               First -Class Mail
Kolster Oy Ab                                             Salmisaarenaukio 1                                       Helsinki, 00181                                 Finland                                                                                                                                               First -Class Mail
Kona Community Hospital                                   79-1-10 Haukepila St                                     Kealakekua, HI 96750                                                                                                                                                                                  First -Class Mail
Konceptogen Healthcare Pvt Ltd                            1524 Moreshwar Apartment                                 Shop No.11                                      Sadashiv Peth                     Pune, Maharashtra 411030         India                                                                              First -Class Mail
Konceptogen Healthcare Pvt Ltd                            Survery No 2138 Yashda Apartment                         Pune, 13 411030                                 India                                                                                                                                                 First -Class Mail
Konica Minolta Business                                   c/o Solutions USA Inc                                    100 Williams Dr                                 Ramsey, NJ 07446-2907                                                                                                                                 First -Class Mail
Konica Minolta Business Solutions                         Attn: Lee Aguirre                                        100 Williams Dr                                 Ramsey, NJ 07446                                                                       Laguirre@kmbs.konicaminolta.us                                 EmailFirst-Class Mail
Konica Minolta Business Solutions                         Attn: Lee Aguirre                                        100 Williams Dr                                 Ramsey, NJ 07446                                                                                                                                      First -Class Mail
Konica Minolta Business Solutions Usa Inc.                Attn: Lee Aguirre                                        100 Williams Dr                                 Ramsey, NJ 07446                                                                                                                                      First -Class Mail
Konstantinos Boukas Md                                    Address Redacted                                                                                                                                                                                                                                               First -Class Mail
Korn Ferry                                                Address Redacted                                                                                                                                                                                                                                               First -Class Mail
Korn Ferry Leadership Consulting Corp                     Attn: Teng Thor                                          33 S Sixth St, Ste 4900                         Minneapolis, MN 55402                                                                  teng.thor@kornferry.com                                        EmailFirst-Class Mail
Korn Ferry Whm LLP                                        Ryder Ct, 14 Ryder St                                    London, SW1Y 6QB                                United Kingdom                                                                                                                                        First -Class Mail
Kornyk Computer Solutions Intl Inc                        201 31234 Wheel Ave                                      Abbotsford, BC V2T 5J9                          Canada                                                                                                                                                First -Class Mail
Korye Jones                                               Address Redacted                                                                                                                                                                                                                                               First -Class Mail
Kp Select, Llc                                            290 E John Carpenter Freeway                             Irving, TX 75062                                Irving, TX 75062                                                                                                                                      First -Class Mail
Kp Select, Llc Kp10788                                    290 E John Carpenter Fwy                                 Irving, TX 75062                                                                                                                                                                                      First -Class Mail
Kp Select, Llc Kp11035                                    290 E John Carpenter Fwy                                 Irving, TX 75062                                                                                                                                                                                      First -Class Mail
Kp Select, Llc Kp11066                                    290 E John Carpenter Fwy                                 Irving, TX 75062                                                                                                                                                                                      First -Class Mail
Kp Select, Llc Kp82900                                    290 E John Carpenter Fwy                                 Irving, TX 75062                                                                                                                                                                                      First -Class Mail
Kp Select, Llc Kp82901                                    290 E John Carpenter Fwy                                 Irving, TX 75062                                                                                                                                                                                      First -Class Mail
Kp Select, Llc Kp82902                                    290 E John Carpenter Fwy                                 Irving, TX 75062                                                                                                                                                                                      First -Class Mail
Kp Select, Llc Kp82903                                    290 E John Carpenter Fwy                                 Irving, TX 75062                                                                                                                                                                                      First -Class Mail
Kp Select, Llc Kp82904                                    290 E John Carpenter Fwy                                 Irving, TX 75062                                                                                                                                                                                      First -Class Mail
KPH Consolidation Inc                                     c/o HCA Houston Helthcare North Cypress                  21214 Northwest Fwy                             Cypress, TX 77429-3373                                                                                                                                First -Class Mail
Kpmg LLP                                                  4747 Executive Dr, Ste 600                               San Diego, CA 92121                                                                                                                                                                                   First -Class Mail
KPMG LLP                                                  Dept 0906                                                Dallas, TX 75312-0906                                                                                                                                                                                 First -Class Mail
Kpmg Llp                                                  20 Pacifica, Ste 700                                     Irvine, CA 92618-3391                                                                                                                                                                                 First -Class Mail
Krayden                                                   fka KR Anderson, Inc                                     Attn: Kathy Leyva                               1491 W 124th Ave                  Westminister, CO 80234                               kleyva@krayden.com                                             EmailFirst-Class Mail
Krayden                                                   fka Kr Anderson, Inc                                     Attn: Kathy Leyva                               1491 W 124th Ave                  Westminister, CO 80234                                                                                              First -Class Mail
Kristen Gullott                                           c/o Dogwood Strategies LLC                               528 Fort Williams Pkwy                          Alexandria, VA 22304-1849                                                                                                                             First -Class Mail
Kristo Foam Industries Inc                                120 Planchet Rd                                          Concord, ON L4K 2C7                             Canada                                                                                                                                                First -Class Mail
Kroll Associates Inc                                      600 3rd Ave, 4th Fl                                      New York, NY 10016-1919                                                                                                                                                                               First -Class Mail
Kroll Associates Uk Ltd                                   The Shard 32 London Bridge St                            London, SE1 9SG                                 United Kingdom                                                                                                                                        First -Class Mail
Kroll Associates, Inc.                                    600 Third Ave                                            New York, NY 10016                                                                                                                                                                                    First -Class Mail
Kse Scientific                                            2714 S Miami Blvd                                        Durham, NC 27703                                                                                                                                                                                      First -Class Mail
                                                    Case 24-11217-BLS                                                                                                        Doc 463                      Filed 08/24/24                              Page 26 of 51

KTR Kunststofftechnik GmbH                        Attn: Christoph Glaubitz                                                    Sthnackenburgallee 42-44                             Hamburg, 22525                   Germany                                                    Christoph.glaubitz@ktr-rethwisch.de   First -Class Mail
Ktr Video Productions                             5 E Hawley St, Ste 150                                                      Mundelein, IL 60060-2324                                                                                                                                                               First -Class Mail
Kuehne & Nagel                                    Attn: Henry Jacregui                                                        2580 W Walnut Ave                                    Rialto, CA 92376                                                                            Henry.jacregui@kuehne-nagel.com       EmailFirst-Class Mail
Kuehne & Nagel                                    5353 W Imperial Hwy, Ste 1000                                               Los Angeles, CA 90045-6276                                                                                                                                                             First -Class Mail
Kuehne & Nagel                                    20000 S Western Ave                                                         Torrance, CA 90501-1305                                                                                                                                                                First -Class Mail
Kuehne & Nagel - California St                    1651 California St, Ste C                                                   Redlands, CA 92374-2904                                                                                                                                                                First -Class Mail
Kuehne & Nagel - Redlands                         9425 Nevada St                                                              Redlands, CA 92374-5108                                                                                                                                                                First -Class Mail
Kuehne & Nagel Inc                                P.O. Box 2039                                                               Carol Stream, IL 60132-2039                                                                                                                                                            First -Class Mail
Kuehne & Nagel Inc                                9425 Nevada St                                                              Redlands, CA 92374-5108                                                                                                                                                                First -Class Mail
Kuehne & Nagel Inc                                Attn: Legal Dept                                                            9425 Nevada St                                       Redlands, CA 92374-5108                                                                                                           First -Class Mail
Kuehne & Nagel Inc - 316                          1651 California St, Ste C                                                   Redlands, CA 92374-2904                                                                                                                                                                First -Class Mail
Kuehne & Nagel Services Ltd                       P.O. Box 894095                                                             Los Angeles, CA 90189-4095                                                                                                                                                             First -Class Mail
Kuehne + Nagel Inc.                               10 Exchange Place, 20th Fl                                                  Jersey City, NJ 07302                                                                                                                                                                  First -Class Mail
Kuehne + Nagel Inc.                               10 Exchange Pl                                                              Jersey City, NJ 07302                                                                                                                                                                  First -Class Mail
Kuehne Nagel Inc                                  9475 Nicola Tesla Ct                                                        San Diego, CA 92154-7613                                                                                                                                                               First -Class Mail
Kuehne Nagel Inc                                  15450 Diplomatic Plaza Dr                                                   Houston, TX 77032-2413                                                                                                                                                                 First -Class Mail
Kuehne Nagel Inc                                  150 W Hill Pl                                                               Brisbane, CA 94005-1216                                                                                                                                                                First -Class Mail
Kunshan Caisuo Human Resources Service Co., Ltd   Building 7, No2377, Shenkun Road                                            Minhang District, Shanghai                           China                                                                                                                             First -Class Mail
Kunststofftechnik Hans                            c/o Rethwisch GMBH                                                          Schnackenburgallee 42, Apt 44                        Hamburg, 22525                   Germany                                                                                          First -Class Mail
Kunststofftechnik Hans Rethwisch Gmbh             Schnackenburgallee 42-44                                                    Hamburg 22525                                        Germany                                                                                                                           First -Class Mail
Kurka Med S.R.O.                                  Jablonova 2882/102                                                          10600 Praha 10                                       Czech Republic                                                                                                                    First -Class Mail
Kurka Med Sro                                     Jablonova 2882/102 106 00 Praha 10                                          Praha, 10600                                         Czech Republic                                                                                                                    First -Class Mail
Kuroda Law Offices                                2nd Akiyama Bldg                                                            Minato-Ku, 13 105-0001                               Japan                                                                                                                             First -Class Mail
Kurt Augustin                                     Address Redacted                                                                                                                                                                                                                                                   First -Class Mail
Kurt Van Dyk & Associates                         13204 Whindygate Ln                                                         St Louis, MO 63146-2228                                                                                                                                                                First -Class Mail
Kurtz Consulting Inc                              16 N Fiore Pkwy                                                             Vernon Hills, IL 60061-3268                                                                                                                                                            First -Class Mail
Kwaku Amoah                                       Address Redacted                                                                                                                                                                                                                                                   First -Class Mail
Kwalyti Tooling & Machinery                       c/o Rebuilding Inc                                                          1690 E Fabyan Pkwy                                   Batavia, IL 60510-1492                                                                                                            First -Class Mail
Kwipped Inc                                       228 N Front St, Ste 301                                                     Wilmington, NC 28401-3978                                                                                                                                                              First -Class Mail
Kyle Larue                                                                                                                                                                                                                                                                     klaru001@gmail.com                    Email
Kyle Larue                                        Address Redacted                                                                                                                                                                                                                                                   First -Class Mail
Kyle Prough                                       Address Redacted                                                                                                                                                                                                                                                   First -Class Mail
Kylie Chakraborty                                 Address Redacted                                                                                                                                                                                                                                                   First -Class Mail
Kyote Creative                                    Attn: Kyle Prough                                                           440 E Rte 66                                         Glendora, CA 91740                                                                          kyle@kyotecreative.com                EmailFirst-Class Mail
Kyote Creative                                    Attn: Kyle Prough                                                           440 E Rte 66                                         Glendora, CA 91740                                                                                                                First -Class Mail
L3 Medical Sarl                                   Le Parc des Alpes                                                           69 bis Rue de Malacombe                              38070 Saint Quentin Fallavier    France                                                                                           First -Class Mail
L3 Medical Sarl                                   Le Parc des Alpes                                                           69 bis Rue de Malacombe                              Saint Quentin Fallavier 38070    France                                                                                           First -Class Mail
L3 Medical Sarl                                   Le Parc Des Alpes                                                           St Quentin Fallavier, 38070                          France                                                                                                                            First -Class Mail
LA Board of Wholesale Drug Distributors           12091 Bricksome Ave, Ste B                                                  Baton Rouge, LA 70816                                                                                                                                                                  First -Class Mail
LA Lift Svc                                       Attn: Brook Bones                                                           4368 Bandini Blvd                                    Vernon, CA 90058                                                                            brook.bones@laliftservices.com        EmailFirst-Class Mail
La Tecnocarta Srl                                 Via per Cedrate 292                                                         21044 Cavaria con Premezzo                           Italy                                                                                                                             First -Class Mail
Labeltronix Llc                                   2419 E Winston Rd                                                           Anaheim, CA 92806-5544                                                                                                                                                                 First -Class Mail
Labeltronix LLC                                   c/o Rethink Labels                                                          2419 E Winston Rd                                    Anaheim, CA 92806-5544                                                                                                            First -Class Mail
LabJack Co                                        Attn: Christie                                                              3232 S Vance St                                      Lakewood, CO 80227                                                                          Support@labjack.com                   EmailFirst-Class Mail
Labor Finders International, Inc.                 77682 County Club Dr, Ste 3                                                 Palm Desert, CA 92211                                                                                                                                                                  First -Class Mail
Laboratorios Pisa S.A. De Cv                      Av Espana no 1840, Col Moderna                                              Guadalajara, Jalisco, CP 44190                       Mexico                                                                                                                            First -Class Mail
Laboratorios Pisa Sa De Cv                        4100 Osuna Rd NE, Ste 2N                                                    Albuquerque, NM 87109-4457                                                                                                                                                             First -Class Mail
Laboratorios Pisa Sa De Cv                        Av Espana 1840 Colonia Moderna                                              Guadalajara, JAL 44190                               Mexico                                                                                                                            First -Class Mail
Laboratorios Pisa, S.A. De C.V.                   Avenida Espana 1840                                                         Colonia Moderna                                      C.P. 44190                       Guadalajara, Jalisco               Mexico                                                        First -Class Mail
Laclede Gas Co                                    Drawer 2                                                                    St Louis, MO 63171                                                                                                                                                                     First -Class Mail
Laclede Gas Co                                    720 Olive St, Ste 1306                                                      St Louis, MO 63171-0001                                                                                                                                                                First -Class Mail
Laco Technologies Inc                             3085 W Directors Row                                                        Salt Lake City, UT 84104-4552                                                                                                                                                          First -Class Mail
Ladislado Hernandez                               Address Redacted                                                                                                                                                                                                                                                   First -Class Mail
Ladner-Drysdale LLC                               2776 S Arlington Mill Dr                                                    Arlington, VA 22206-3402                                                                                                                                                               First -Class Mail
Lady of the Sea General Hospital                  200 W 134th Pl                                                              Cut Off, LA 70345                                                                                                                                                                      First -Class Mail
Laerdal Medical Corp                              167 Myers Corners Rd                                                        Wappingers Falls, NY 12590-3869                                                                                                                                                        First -Class Mail
Lafayette County Collector                        P.O. Box 365                                                                Lexington, MO 64067-0365                                                                                                                                                               First -Class Mail
Lafayette General Health                          1214 Coolidge Blvd                                                          Lafayette, LA 70503                                                                                                                                                                    First -Class Mail
Lafayette General Medical Center In               1214 Coolidge Blvd                                                          Lafayette, LA 70503-2621                                                                                                                                                               First -Class Mail
Lafayette Parish School System                    P.O. Box 52706                                                              Lafayette, LA 70505-2706                                                                                                                                                               First -Class Mail
Lafourche Parish School Board                     P O Box 997                                                                 Thibodaux, LA 70302                                                                                                                                                                    First -Class Mail
Lafourche Parish School Board                     Sales Tax Dept                                                              P.O. Box 997                                         Thibodaux, LA 70302                                                                                                               First -Class Mail
Laguna Honda Hospital Rehabilit                   375 Laguna Honda Blvd                                                       San Francisco, CA 94116                                                                                                                                                                First -Class Mail
Lahey Clinic Hospital Inc                         c/o Lahey Hospital & Medical Center                                         41 Mall Rd                                           Burlington, MA 01805-4136                                                                                                         First -Class Mail
Lahey Clinic Inc                                  Attn: Jeanne King - Med Edu Office                                          41 Mall Rd                                           Burlington, MA 01803-4136                                                                                                         First -Class Mail
Laird Technologies                                Attn: Julian Perez                                                          Av Industrial Dr, S/N Edif 10                        Reynosa, Tam 88780               Mexico                                                     julian.perez@lairdtech.com            First -Class Mail
Lake Air Products                                 Attn: Jim Swanson                                                           385 90th Ave NW                                      Coon Rapids, MN 55433                                                                       jswanson@lakeairmetals.com            EmailFirst-Class Mail
Lake Air Products Llc                             385 90th Ave NE                                                             Coon Rapids, MN 55432                                                                                                                                                                  First -Class Mail
Lake Air Products-Winpark                         Attn: Jim Swanson                                                           7709 Winpark Dr                                      New Hope, MN 55427                                                                          jswanson@lakeairmetals.com            EmailFirst-Class Mail
Lake Charles Memorial Hospital                    1701 Oak Park Blvd                                                          Lake Charles, LA 70601                                                                                                                                                                 First -Class Mail
Lake County Press Inc                             98 Noll St                                                                  Waukegan, IL 60085-3031                                                                                                                                                                First -Class Mail
Lake County Treasurer                             106 4th Ave E                                                               Polson, MT 59860-2133                                                                                                                                                                  First -Class Mail
Lake Forest Flowers                               546 N Western Ave                                                           Lake Forest, IL 60045-1920                                                                                                                                                             First -Class Mail
Lake Group Media Inc                              1 Byram Brook Pl                                                            Armonk, NY 10504-2316                                                                                                                                                                  First -Class Mail
Lakeisha Tanay Waters                             Address Redacted                                                                                                                                                                                                                                                   First -Class Mail
Lakeland Tool & Engineering                       dba Plastech Tool & Engineering                                             Attn: Kristie Hardy                                  2939 6th Ave N                   Anoka, MN 55303                                            krish@lte.biz                         EmailFirst-Class Mail
Lakeshore Co LLC                                  712 Finch Ct                                                                Chesterfield, MO 63017-1782                                                                                                                                                            First -Class Mail
Lakeside Heart & Vascular Center Llc              2849 Maricopa Ave LLC                                                       Lake Havasu City, AZ 86406                                                                                                                                                             First -Class Mail
Lakewood Health System                            49725 Hwy 83                                                                Staples, MN 56479                                                                                                                                                                      First -Class Mail
Lalloon Marketing Group                           17300 Dallas Pkwy, Ste 1080                                                 Dallas, TX 75248-1207                                                                                                                                                                  First -Class Mail
Lally Pak Inc                                     1209 Central Ave, Ste 255                                                   Hillside, NJ 07205-2613                                                                                                                                                                First -Class Mail
Lally Pak Inc.                                    1209 Central Ave                                                            Hillside, NJ 07205-2613                                                                                                                                                                First -Class Mail
Lamco Solutions LLC                               Attn: John E Lamacchia                                                      1064 Canyon Creek Dr                                 Rochester Hills, MI 48306-4281                                                                                                    First -Class Mail
Laminar Consulting Svcs Inc                       Attn: Kolhane Grooters                                                      424 S Olive St                                       Orange, CA 92866                                                                            Kol@xrinteractives.com                EmailFirst-Class Mail
Lamtic, Inc.                                      100 Spectrum Center Dr, Ste 900                                             Irvine, CA 92618                                                                                                                                                                       First -Class Mail
Lamyong Phomthisene                               Address Redacted                                                                                                                                                                                                                                                   First -Class Mail
Lancaster General Health                          555 N Duke St                                                               Lancaster, PA 17602-2250                                                                                                                                                               First -Class Mail
Lance Johnson                                     Address Redacted                                                                                                                                                                                                                                                   First -Class Mail
Land Sea Air Inc.                                 1003 Bennet Ln, Ste M                                                       Carolina Beach, NC 28428                                                                                                                                                               First -Class Mail
Landauer                                          Attn: Douglas Gaines                                                        2 Science Rd                                         Glenwood, IL 60425                                                                          LDR_ADR@landauer.com                  EmailFirst-Class Mail
Landauer                                          Attn: Douglas Gaines                                                        2 Science Rd                                         Glenwood, IL 60425                                                                                                                First -Class Mail
Landauer Inc                                      P.O. Box 809051                                                             Chicago, IL 60680-9051                                                                                                                                                                 First -Class Mail
Landauer Inc                                      2 Science Rd                                                                Glenwood, IL 60425-1531                                                                                                                                                                First -Class Mail
Lander County Treasurer                           Personal Property Division                                                  315 S Humboldt St                                    Battle Mountain, NV 89820-1982                                                                                                    First -Class Mail
Landsberg                                         25794 Network Pl                                                            Chicago, IL 60673-1257                                                                                                                                                                 First -Class Mail
Landsberg Orora                                   Attn: Scott Hornick                                                         Landsberg Orange                                     Buena Park, CA 90621                                                                        scott.hornick@landsberg.com           EmailFirst-Class Mail
Landsman Engineering LLC                          Attn: Kelly Landsman                                                        6129 N Santa Monica Blvd                             Whitefish Bay, WI 53217-4322                                                                                                      First -Class Mail
Lane Harmon                                       Address Redacted                                                                                                                                                                                                                                                   First -Class Mail
Language Scientific Inc                           10 Cabot Rd, Ste 209                                                        Medford, MA 02155-5173                                                                                                                                                                 First -Class Mail
Lansmont Corp                                     17 Mandeville Ct                                                            Monterey, CA 93940-5745                                                                                                                                                                First -Class Mail
Lantronix Inc                                     7535 Irvinie Center Dr, Ste 100                                             Irvine, CA 92618-2966                                                                                                                                                                  First -Class Mail
Lantronix, Inc.                                   7535 Irvine Center Dr, Ste 100                                              Irvine, CA 92618                                                                                                                                                                       First -Class Mail
Lanzhou Yadexin Commercial & Trade Co., Ltd.      Lanzhou Yadexin Commercial & Trade Co, Ltd                                  Room 2010, 20F, Building 12, No 360                  Shenan Road, Anning District     Lanzhou City                       Gansu Province, China                                         First -Class Mail
Laparoscopic Institute For                        Gynecological Oncology                                                      40 Buckeye                                           Portola Valley, CA 94028-8015                                                                                                     First -Class Mail
Laredo Regional Medical Center L P                c/o Doctors Hospital of Laredo                                              1400 W Trenton Rd                                    Edinburg, TX 78539-3413                                                                                                           First -Class Mail
Larkin Community Hospital                         Larkin Community Hospital                                                   5996 SW 70th St                                      S Miami, FL 33143                                                                                                                 First -Class Mail
Laros Equipment Co Inc                            8278 Shaver Rd                                                              Portage, MI 49024-5440                                                                                                                                                                 First -Class Mail
Larry Francis Burnett                             Address Redacted                                                                                                                                                                                                                                                   First -Class Mail
Lars Olke                                                                                                                                                                                                                                                                      oelke@imt.ch                          Email
Laserlinc                                         777 Zapata Dr                                                               Fairborn, OH 45324                                                                                                                                                                     First -Class Mail
Lasers Inc                                        Attn: Tim Johnson                                                           P.O. Box 893                                         Glendora, CA 91740                                                                          info@lasers-inc.com                   EmailFirst-Class Mail
Lasers Inc                                        Attn: Tim Johnson                                                           P.O. Box 893                                         Glendora, CA 91740                                                                                                                First -Class Mail
Lasertechnik Herz GmbH & Co KG                    Kilbigswasen 6                                                              78736 Epfendorf                                      Germany                                                                                                                           First -Class Mail
Lasertechnik Herz GmbH & Co KG                    Kilbigswasen 6                                                              D-78736 Epfendorfj                                   Germany                                                                                                                           First -Class Mail
Laslouni, Sarah                                   26 Rue de la montee                                                         68720 Flaxlanden                                     France                                                                                                                            First -Class Mail
Latrobe Area Hospital                             Excela Health                                                               1 Mellon Way                                         Latrobe, PA 15650                                                                                                                 First -Class Mail
Latroy Graham                                     Address Redacted                                                                                                                                                                                                                                                   First -Class Mail
Latvala-Reilat OY                                 Attn: Pennitti                                                              Olarinluoma 16                                       Espoo, 02200                     United Kingdom                                             penitti.hamafainen@reilat.fi          First -Class Mail
Laube Tecnhology                                  P.O. Box 6079                                                               Camarillo, CA 93011-6079                                                                                                                                                               First -Class Mail
Laube Tecnhology                                  550 Via Alondra                                                             Camarillo, CA 93012-8732                                                                                                                                                               First -Class Mail
Laukamo Teollisuus Oy                             Teollisuustie 1                                                             31400 Somero                                         Finland                                                                                                                           First -Class Mail
Laura G Peluso                                    Address Redacted                                                                                                                                                                                                                                                   First -Class Mail
Laura Graciela Gochicoa Rangel                    Address Redacted                                                                                                                                                                                                                                                   First -Class Mail
Laura Kristy Villalba                             Address Redacted                                                                                                                                                                                                                                                   First -Class Mail
Laura Sudweeks                                    Address Redacted                                                                                                                                                                                                                                                   First -Class Mail
Laural Packaging                                  743 Via De La Paz                                                           Pacific Palisades, CA 90272-4367                                                                                                                                                       First -Class Mail
Laural Packaging                                  2710 E Regal Park Dr                                                        Anaheim, CA 92806-2417                                                                                                                                                                 First -Class Mail
Lauren K Steele                                   Address Redacted                                                                                                                                                                                                                                                   First -Class Mail
Lauren Nicole Patrick                             Address Redacted                                                                                                                                                                                                                                                   First -Class Mail
Laurie B Conroy                                   Address Redacted                                                                                                                                                                                                                                                   First -Class Mail
Laurie Margolies                                  Address Redacted                                                                                                                                                                                                                                                   First -Class Mail
LaVision Inc                                      Attn: Gary Callum                                                           211 W Michigan Ave, Ste 100                          Ypsilanti, MI 48197                                                                         callum@lavisioninc.com                EmailFirst-Class Mail
Lawrence Nagorny                                  Address Redacted                                                                                                                                                                                                                                                   First -Class Mail
Layer 8 Training Inc                              51 Portezza Dr                                                              Henderson, NV 89011-2809                                                                                                                                                               First -Class Mail
Lazar, Michael Dr                                 2799 W Grand Blvd                                                           Detroit, MI 48202                                                                                                                                                                      First -Class Mail
Lazaro Reyes Rodriguez                            Address Redacted                                                                                                                                                                                                                                                   First -Class Mail
Lcr Hallcrest LLC                                 1911 Pickwick Ln                                                            Glenview, IL 60026-1308                                                                                                                                                                First -Class Mail
Ldjcg Llc                                         102 Bobwhite Cove                                                           Dripping Springs, TX 78620                                                                                                                                                             First -Class Mail
Leach Painting Co                                 1615 Manufacturers Dr                                                       Fenton, MO 63026-2838                                                                                                                                                                  First -Class Mail
Leader Tech, Inc                                  Attn: Bill Houston                                                          12420 Race Track Rd                                  Tampa, FL 33626                                                                             bhouston@leadertechinc.com            EmailFirst-Class Mail
Leader Tech, Inc.                                 12420 Race Track Rd                                                         Tampa, FL 33626                                                                                                                                                                        First -Class Mail
Leadership Strategies Int'l                       Attn: Laura Hauser                                                          15555 Bronco Dr                                      Santa Clarita, CA 91387                                                                                                           First -Class Mail
Lean Focus LLC                                    9780 Horseshoe Dr                                                           Chagrin Falls, OH 44023-2470                                                                                                                                                           First -Class Mail
Lean Focus, Llc                                   9780 Horseshoe Dr                                                           Chagrin Falls, OH 44023                                                                                                                                                                First -Class Mail
Leanix Inc                                        1900 W Loop S, Ste 1550                                                     Houston, TX 77027-3379                                                                                                                                                                 First -Class Mail
Leanix Inc.                                       1 Kingsbury Ave                                                             Watertown, MA 02472                                                                                                                                                                    First -Class Mail
Leanix, Inc.                                      One Kingsbury Ave                                                           Watertown, MA 02472                                                                                                                                                                    First -Class Mail
Leankit Inc                                       236 2nd Ave S                                                               Franklin, TN 37064-2650                                                                                                                                                                First -Class Mail
Lease Plan Usa, Inc. (Dba Network)                1165 Sanctuary Pkwy                                                         Alpharetta, GA 30009                                                                                                                                                                   First -Class Mail
LeaseQuery LLC                                    Attn: Spencer Dupee                                                         3 Ravinia Dr NE, Ste P7                              Atlanta, GA 30346                                                                           spencer.dupee@leasequery.com          EmailFirst-Class Mail
Leasequery LLC                                    3 Ravinia Dr NE, Ste P7                                                     Atlanta, GA 30346-2176                                                                                                                                                                 First -Class Mail
Lee Co                                            Attn: Patrick J Ouellette                                                   55 Bokum Rd                                          Essex, CT 06426                                                                             ouellettep@theleeco.com               EmailFirst-Class Mail
Lee Hecht Harrison                                Address Redacted                                                                                                                                                                                                                                                   First -Class Mail
Lee Hecht Harrison LLC                            Dept CH 10544                                                               Palatine, IL 60055-0544                                                                                                                                                                First -Class Mail
Lee Hecht Harrison LLC                            2301 Lucien Way, Ste 325                                                    Maitland, FL 32751-7020                                                                                                                                                                First -Class Mail
Lee Ludwig And Associates                         17800 S Main St, #209                                                       Gardena, CA 90248                                                                                                                                                                      First -Class Mail
Lee Memorial Health System                        2276 Cleveland Ave                                                          Fort Myers, FL 33901                                                                                                                                                                   First -Class Mail
Lee Memorial Health System                        2776 Cleveland Ave                                                          Ft Myers, FL 33901                                                                                                                                                                     First -Class Mail
Lee Spring Co LLC                                 Attn: Toni Maina                                                            140 58th St, Ste 3C                                  Brooklyn, NY 11220                                                                          tmaina@leespring.com                  EmailFirst-Class Mail
Lee Spring Co LLC                                 140 58th St, Ste 3C                                                         Brooklyn, NY 11220                                                                                                                                                                     First -Class Mail
Lee Spring Co LLC                                 1235 N Hobson                                                               Gilbert, AZ 85233-1215                                                                                                                                                                 First -Class Mail
Lee Spring Company Llc                            140 58th St                                                                 Brooklynn, NY 11220                                                                                                                                                                    First -Class Mail
Lee W Evey                                        Address Redacted                                                                                                                                                                                                                                                   First -Class Mail
Legacy Health                                     1919 NW Lovejoy St                                                          Portland, OR 97209-1503                                                                                                                                                                First -Class Mail
Leggett & Platt Office Components LLC             Attn: Jodi Justice                                                          330 N Greensboro St                                  Liberty, NC 27298                                                                           jodi.justice@leggett.com              EmailFirst-Class Mail
Legionthirteen (Hue Brand Group, Llc)             LegionThirteen                                                              1 Custom House, Ste 200                              Providence, RI 02903                                                                                                              First -Class Mail
Lehigh Valley Health Network                      1200 S Cedar Crest Blvd                                                     Allentown, PA 18106                                                                                                                                                                    First -Class Mail
Lehigh Valley Health Network                      c/o Accounts Payable                                                        P.O. Box 1110                                        Allentown, PA 18105-1110                                                                                                          First -Class Mail
Lehigh Valley Health Network                      17th & Chew St, 6th Fl                                                      Allentown, PA 18102                                                                                                                                                                    First -Class Mail
Lehigh Valley Hosp Hazleton                       50 MOISEY DR STE 107                                                        Hazleton, PA 18202                                                                                                                                                                     First -Class Mail
Lehigh Valley Hospital Inc                        c/o Lehigh Valley Hospital Network                                          1200 S Cedar Crest Blvd                              Allentown, PA 18103-6202                                                                                                          First -Class Mail
Leica Microsystems Inc                            1700 Leider Ln                                                              Buffalo Grove, IL 60089-6622                                                                                                                                                           First -Class Mail
Leister Technologies, LLC                         1275 Hamilton Pkwy                                                          Itasca, IL 60143                                                                                                                                 rob.pisto@leister.com                 EmailFirst-Class Mail
Leister Technologies, Llc                         1275 Hamilton Pkwy                                                          Itasca, IL 60143                                                                                                                                                                       First -Class Mail
Lek Consulting America Inc                        c/o Lek Consulting LLC                                                      75 State St, 19th Fl                                 Boston, MA 02109-1827                                                                                                             First -Class Mail
Lemix Co Ltd                                      Nablus St                                                                   Al-Bireh, Ramallah                                   Israel                                                                                                                            First -Class Mail
Lemix Co Ltd                                      Silwadi Bldg F2/5, Nablus St                                                P.O. Box 3543                                        Al Bireh                         Palestinian Territories                                                                          First -Class Mail
Lemix Co. Ltd.                                    Silwadi Bldg F2/5, Nablus Street                                            P.O. Box 3543                                        Al Bireh                         Palestinian Territories                                                                          First -Class Mail
Lemo USA                                          Attn: Maite Parra-Gutierrez                                                 635 Park C                                           Rohnert Park, CA 94928                                                                      mparra-gutierrez@lemo.com             EmailFirst-Class Mail
Lemo Usa                                          635 Park Court                                                              Rohnert Park, CA 94928                                                                                                                                                                 First -Class Mail
Lemon-Flex Company Limited China                  No 1 Kaixuan Road,                                                          Yixing Economic & Technological Development Zone,    Jiangsu                          China                                                                                            First -Class Mail
Lennartz GMBH                                     Paulinenallee 32                                                            Hamburg, 20259                                       Germany                                                                                                                           First -Class Mail
Lennartz Medizintechnik Gmbh                      Paulinenallee 32                                                            20259 Hamburg                                        Germany                                                                                                                           First -Class Mail
Lenoir Memorial Hospital                          100 Airport Rd                                                              Kinston, NC 10003                                                                                                                                                                      First -Class Mail
Lenovo Global Technology U.S. Inc.                8001 Development Dr                                                         Morrisville, NC 27560                                                                                                                                                                  First -Class Mail
Lenox Laser Inc                                   12530 Manor Rd                                                              Glen Arm, MD 21057-9503                                                                                                                                                                First -Class Mail
LensCrafters Inc                                  4000 Lusottica Pl                                                           Mason, OH 45040                                                                                                                                                                        First -Class Mail
Leo Groenendaal                                                                                                                                                                                                                                                                l.groenendaal@erasmusmc.nl            Email
Leo Osawa                                         Address Redacted                                                                                                                                                                                                                                                   First -Class Mail
Leonardo Guillen Guzman                           Address Redacted                                                                                                                                                                                                                                                   First -Class Mail
Leonel Dominguez Srl                              Francisco Soca                                                              Montevideo                                           Uruguay – CP 11300               Uruguay                                                                                          First -Class Mail
Leonel Dominguez Srl                              Francisco Soca 1295                                                         Montevideo, 11300                                    Uruguay                                                                                                                           First -Class Mail
Leonhard Lang Gmbh                                Archenweg 56 A-6020 Innsbruck                                               Austria UID-Nr: ATU37320902, FN77514t                Austria                                                                                                                           First -Class Mail
Leonhard Lang Gmbh                                Archenweg 56                                                                6020 Innsbruck                                       Austria                                                                                                                           First -Class Mail
Leonhard Lang GmbH                                Archenweg 56                                                                Innsbruck, B 6020                                    Austria                                                                                                                           First -Class Mail
Leoni Cable, Inc.                                 321 E 2nd St, Ste B                                                         Rochester, MI 48307                                                                                                                                                                    First -Class Mail
Leon's Landscaping & Tree Sev                     Attn: Mary C Leon                                                           P.O. Box 96                                          Thousand Palms, CA 92276                                                                    leonslandscapinginc@gmail.com         EmailFirst-Class Mail
Leon'S Landscaping & Tree Srvc, Inc               Attn: Mary C Leon                                                           P.O. Box 96                                          Thousand Palms, CA 92276                                                                                                          First -Class Mail
Leroy Brantley                                    Address Redacted                                                                                                                                                                                                                                                   First -Class Mail
Les Industries Flexpipe Inc                       1355 Blvd Magenta E                                                         Farnham, QC J2N 1C4                                  Canada                                                                                                                            First -Class Mail
Lesley Gallagher                                  Address Redacted                                                                                                                                                                                                                                                   First -Class Mail
Leslie Deane Md                                   Address Redacted                                                                                                                                                                                                                                                   First -Class Mail
Leslie J Kohman Md                                Address Redacted                                                                                                                                                                                                                                                   First -Class Mail
Leslie J Payne                                    Address Redacted                                                                                                                                                                                                                                                   First -Class Mail
Lester Box Inc                                    1470 Seabright Ave                                                          Long Beach, CA 90813                                                                                                                                                                   First -Class Mail
Lester E Cox Medical Center                       Attn: Lisa Boyer                                                            1423 N Jefferson Ctr                                 Springfield, MO 65702                                                                       lisa.boyer@coxcollege.com             EmailFirst-Class Mail
Leticia Alvez                                                                                                                                                                                                                                                                  LAlvez@chfirm.com                     Email
Levant Technologies Ltd.                          18 Galgalei Haplada St                                                      46103 Herzliyya                                      Israel                                                                                                                            First -Class Mail
Levia A Sutton Crna                               Address Redacted                                                                                                                                                                                                                                                   First -Class Mail
Levine Industries Inc                             P.O. Box 736                                                                Paterson, NJ 07544-0736                                                                                                                                                                First -Class Mail
Levine Industries Inc                             86 Levine St                                                                Paterson, NJ 07503-2734                                                                                                                                                                First -Class Mail
Lexington Machining                               677 Buffalo Rd                                                              Rochester, NY 14611                                                                                                                                                                    First -Class Mail
Lexington Medical Center                          2720 Sunset Blvd                                                            W Columbia, SC 29169                                                                                                                                                                   First -Class Mail
Lexisnexis Risk Solutions                         1000 Alderman Dr                                                            Alpharetta, GA 30005-4101                                                                                                                                                              First -Class Mail
Liberty Corporate                                 Libridge Building, 25 Ameshoff Street                                       Braamfontein,, 2001                                  PO Box 2094                      Johannesburg 2000, South Africa                                                                  First -Class Mail
Liberty Mutual Insurance Company                  175 Berkeley St - MS 10B                                                    Boston, MA 02116                                                                                                                                                                       First -Class Mail
Liberty Ohm                                       c/o Liberty Occupational Health Mgmt                                        1211 E 39th St                                       Tulsa, OK 74105-3121                                                                                                              First -Class Mail
Liberty Regional Medical Ctr                      462 E G Miles Pkwy Receiving                                                Hinesville, GA 31313                                                                                                                                                                   First -Class Mail
Liburdi Dimetrics Corp                            2599 Charlotte Hwy                                                          Mooresville, NC 28117-9463                                                                                                                                                             First -Class Mail
Liem Vu                                           Address Redacted                                                                                                                                                                                                                                                   First -Class Mail
Life Care Bio-Medical Private Limited             303-304 The Corporate Centre                                                Nirmal Lifestyle LBS Marg Mulandwest                 Mumbai 400080 Maharashtra        India                                                                                            First -Class Mail
Life Care Bio-Medical Private Limited             B-7(i) Ground Floor Level, Krishna Mills Compound, Sonapur Lane, LBS Marg   Bhandup (West), Mumbai 400078                        India                                                                                                                             First -Class Mail
Life Care Medical Systems                         03/304, The Corporate Centre Nirmal Lifestyle LBS Marg                      Mumbai, Maharashtra 40080                            India                                                                                                                             First -Class Mail
Life Care Medical Systems                         303/304, The Corporate Centre                                               Nirmal Lifestyle. L.B.S. Marg, Mulund West           Mumbai, Maharashtra 400080       India                                                                                            First -Class Mail
Life Science Intelligence                         Attn: Scott Pantel                                                          7372 Prince Dr, Ste 208                              Huntington Beach, CA 92130                                                                  scott@lifescienceintelligence.com     EmailFirst-Class Mail
Lifecare Medical Center                           715 Delmore Dr                                                              Roseau, MN 56751-1534                                                                                                                                                                  First -Class Mail
Lifelink, Inc                                     709 Shaw Blvd                                                               Ortigas Center                                       Mandaluyong                      1554 Metro Manila                  Philippines                                                   First -Class Mail
Lifelink, Inc                                     825 8F Cityland Shaw Tower                                                  Shaw Blvd Cor St Francis St                          Mandaluyong City 1552            Philippines                                                                                      First -Class Mail
Lifemed Safety, Inc.                              6124 E 162nd Svenue                                                         Bringhton, CO 80602                                                                                                                                                                    First -Class Mail
Lifesaving Society Ontario                        400 Consumers Road                                                          Toronto, ON, M2J 1P8                                 Canada                                                                                                                            First -Class Mail
LifeScience Risk                                  155 N Wacker Dr, Ste 4000                                                   Chicago, IL 60606                                                                                                                                                                      First -Class Mail
Lifespan Corporation                              Miriam Hospital                                                             164 Summit Ave                                       Providence, RI 02905                                                                                                              First -Class Mail
Lifespan Physician Group                          593 EDDY ST                                                                 Providence, RI 02903-4923                                                                                                                                                              First -Class Mail
Lifotronic Technology Ltd Hong Kong               c/o Shenzhen Lifotronic Technology Ltd                                      19H Maxgrand Plz                                     Kowloon                          Hong Kong                                                                                        First -Class Mail
Light Blue Touch Systems                          Am Soltkamp 1                                                               Braunschweig, 38126                                  Germany                                                                                                                           First -Class Mail
Ligo Laparoscopic Institute For                   Gynecologic Oncology                                                        40 Buckeye                                           Portola Valley, CA 94028-8015                                                                                                     First -Class Mail
Limona Software (Helpsystems Goanywhere)          103 S 14th St                                                               Ashland, NE 68003                                                                                                                                                                      First -Class Mail
                                                         Case 24-11217-BLS                                                                 Doc 463                       Filed 08/24/24                  Page 27 of 51

Lin, Joann MD                                          c/o McKinney Allergy & Asthma Center              2251 Eldorado Pkwy                      McKinney, TX 75070-7550                                                                                                     First -Class Mail
Lincare                                                655 Euclid Ave, Ste 206                           National City, CA 91950                                                                                                                                             First -Class Mail
Lincoln Community Hospital                             111 6th St                                        Hugo, CO 80821                                                                                                                                                      First -Class Mail
Lincoln Parish                                         Sales Tax Commission                              P.O. Box 863                            Ruston, LA 71273-0863                                                                                                       First -Class Mail
Lincoln Parish Tax Collector                           P.O. Box 2070                                     Ruston, LA 71273-2070                                                                                                                                               First -Class Mail
Linda Breadmont                                        Address Redacted                                                                                                                                                                                                      First -Class Mail
Linda Sue Cummins                                      Address Redacted                                                                                                                                                                                                      First -Class Mail
Lindberg Mph                                           c/o SPX Corp                                      12813 Collection Center Dr              Chicago, IL 60693-0128                                                                                                      First -Class Mail
Lindberg Mph Spx Corp                                  3827 Riverside Rd                                 Riverside, MI 49084                                                                                                                                                 First -Class Mail
Linde Gas Schweiz AG                                   Industriepark 10                                  Dagmersellen                            Lucerne 6252                      Switzerland                                                                               First -Class Mail
Lindquist & Vennum LLP                                 4200 IDS Center                                   80 S 8th St                             Minneapolis, MN 55402-2100                                                                                                  First -Class Mail
Lindsay Delgigante                                     Address Redacted                                                                                                                                                                                                      First -Class Mail
Lindsey Ugoji                                          Address Redacted                                                                                                                                                                                                      First -Class Mail
Lindy A Grumbeck                                       Address Redacted                                                                                                                                                                                                      First -Class Mail
Linkedin Corp                                          62228 Collections Center Dr                       Chicago, IL 60693-0622                                                                                                                                              First -Class Mail
LinkedIn Corporation                                   1000 W Maude Ave                                  Sunnyvale, CA 94085                                                                                                                                                 First -Class Mail
Linklaters LLP                                         Taunusanlage 8                                    Frankfurt Am Main, 60329                Germany                                                          Michael.bennett@linklaters.com                             First -Class Mail
Linklaters LLP                                         Taunusanlage 8                                    Frankfurt Am Main, 60329                Germany                                                                                                                     First -Class Mail
Linklaters LLP                                         P.O. Box 17 01 11                                 60075 Frankfurt am                      Main, Germany                                                                                                               First -Class Mail
Linklaters LLP                                         Taunusanlage 8                                    60329 Frankfurt am                      Main, Germany                                                                                                               First -Class Mail
Linmed Smart Linton Medical Ltd                        Duchifat 9/11                                     Tzur Hadassa 9987500                    Israel                                                                                                                      First -Class Mail
Linmed Smart Linton Medical Ltd                        Katznelbogen 62/6                                 Jerusalem                               Israel                                                                                                                      First -Class Mail
Linmed Smart Linton Medical Ltd                        62/6 Katznelbogen                                 Jerusalem, 9387167                      Israel                                                                                                                      First -Class Mail
Linvox Co                                              Attn: Quincy Lin                                  4241 Business Center Dr                 Fremont, CA 94538                                                quincy@linvoxcorp.com                                      EmailFirst-Class Mail
Liquid 9                                               c/o Liquid 9 LLC                                  515 Southwest Blvd                      Kansas City, MO 64108-2122                                                                                                  First -Class Mail
Lisa C Shumpert                                        Address Redacted                                                                                                                                                                                                      First -Class Mail
Lisa D Tomlinson                                       Address Redacted                                                                                                                                                                                                      First -Class Mail
Lista, Gianluca MD (Italy)                             Via Castelvestro 32                               Milan 20154                             Italy                                                                                                                       First -Class Mail
Little Rapids Holding Corp                             2273 Larsen Rd Brown                              Green Bay, WI 54303-4809                                                                                                                                            First -Class Mail
Little Rapids Holding Corp                             c/o Little Rapids Corp                            2273 Larsen Rd                          Green Bay, WI 54303-4809                                                                                                    First -Class Mail
Littler Mendelson Pc                                   2301 McGee St, Ste 800                            Kansas City, MO 64108-2662                                                                                                                                          First -Class Mail
Liu, Shuang MD (China)                                 1 Shuaifuyuan, Wangfujing                         Beijing 100730                          China                                                                                                                       First -Class Mail
LLK Logistics USA Inc                                  17518 147th Ave                                   Jamaica, NY 11434-5402                                                                                                                                              First -Class Mail
Lloyd’s of London                                      1 Lime St                                         London, EC3M 7HA                        United Kingdom                                                                                                              First -Class Mail
Lloyd’s Syndicate 1036 COF                             30 Fenchurch St                                   London, EC3M 3BD                        United Kingdom                                                                                                              First -Class Mail
Lloyd’s Syndicate No 4472 LIB                          20 Fenchurch St                                   London, EC3M 3AW                        United Kingdom                                                                                                              First -Class Mail
LLP Zhan Pharm Trade                                   Dom 1/2, kv 14, mkr Samal                         Zhanaozen, R10C8C4                      Kazakhstan                                                                                                                  First -Class Mail
LLP Zhan Pharm Trade                                   320 off, 53, Mynbayeva str                        Almaty                                  Kazakhstan                                                                                                                  First -Class Mail
Lluis Blanch Torra                                     Address Redacted                                                                                                                                                                                                      First -Class Mail
LM Brokerage & Logistics Inc                           1390 N Mariposa Rd, Ste 1                         Nogales, AZ 85621-4507                                                                                                                                              First -Class Mail
Lmi Systems Inc                                        1902 Tucker Industrial Rd                         Tucker, GA 30084-6625                                                                                                                                               First -Class Mail
LMJ International Logistics, LLC                       859 Route 130 N, Ste 1226                         E Windsor, NJ 08520                                                                                                                                                 First -Class Mail
LNRS Data Services Inc                                 3355 W Alabama, Ste 700                           Houston, TX 77098-1789                                                                                                                                              First -Class Mail
Lockton Companies                                      444 W 47th St, Ste 900                            Kansas City, MO 64112-1906                                                                                                                                          First -Class Mail
Lockton Investment Advisors LLC                        Dept 999224                                       P.O. Box 219153                         Kansas City, MO 64121-9153                                                                                                  First -Class Mail
Lockton Investment Advisors LLC                        444 W 47th St, Ste 900                            Kansas City, MO 64112-1906                                                                                                                                          First -Class Mail
Lode BV                                                Attn: J de Vries, G Scholten                      Zernikepark 16                          An Groningen, AN 9747             Netherlands                                                                               First -Class Mail
Lode Holding B.V.                                      Zernikepark 16, AN Groningen                      AN Groningen 9747                       Netherlands                                                                                                                 First -Class Mail
Lode Medical Technology                                Nernikepark 16 9747                               AN Groningen 9747                       Netherlands                                                                                                                 First -Class Mail
Logan Health Medical Center                            106 Ridgewater Dr                                 Polson, MT 59860                                                                                                                                                    First -Class Mail
Logan Health Medical Center                            1600 Hospital Way                                 Whitefish, MT 59937                                                                                                                                                 First -Class Mail
Logfret Inc                                            11 Golden Shore, Ste 260                          Long Beach, CA 90802-4265                                                                                                                                           First -Class Mail
Logistics Loomis                                       aka DHL Express CA Ltd                            200 Westcreek Blvd                      Brampton, ON L6T 5T7              Canada                                                                                    First -Class Mail
LogMan AG                                              Gottstattstrasse 24                               2504 Biel                               Switzerland                                                                                                                 First -Class Mail
Lojistic, LLC                                          3200 Park Center Dr, Ste 500                      Costa Mesa, CA 92626                                                                                                                                                First -Class Mail
Lollchand, Kunal                                       26 Rue de la Montee                               68720 Flaxlanden                        France                                                                                                                      First -Class Mail
Loma Linda Mercantile                                  125 E Club Center Dr                              San Bernardino, CA 92408                                                                                                                                            First -Class Mail
Loma Linda University Medical Ctr                      24887 Taylor St, Ste 106                          Loma Linda, CA 92354-2809                                                                                                                                           First -Class Mail
Lombard Graphics                                       Attn: Ross Lombard                                3619 San Gabriel River Pkwy             Pico Rivera, CA 90660                                            ross@lombardgraphics.com                                   EmailFirst-Class Mail
Lombardi Electric Inc                                  160 Covington Dr                                  Bloomingdale, IL 60108-3105                                                                                                                                         First -Class Mail
Lone Peak Hospital - 250166                            11925 State St                                    Draper, UT 84020                                                                                                                                                    First -Class Mail
Long Beach Memorial Med Center                          2801 Atlantic Ave                                Long Beach, CA 90806                                                                                                                                                First -Class Mail
Longs Peak Hospital                                    1750 E Ken Pratt Blvd                             Longmont, CO 80504                                                                                                                                                  First -Class Mail
Loniewska, Beata (Poland - PRICO Study Szczecin)       Gesia 27A 71 693                                  Szczecin, 74-101                        Poland                                                                                                                      First -Class Mail
Loopio Inc                                             310 Spadina Ave, Ste 600                          Toronto, ON M5T 3E8                     Canada                                                                                                                      First -Class Mail
Loopio, Inc.                                           310 Spadina, Ste 600                              Toronto, ON M5T 2E8                     Canada                                                                                                                      First -Class Mail
Loretto Hospital                                       645 S Central Ave                                 Chicago, IL 60644                                                                                                                                                   First -Class Mail
Lori Anne Vossler-Yang                                 Address Redacted                                                                                                                                                                                                      First -Class Mail
Lori B Paige                                           Address Redacted                                                                                                                                                                                                      First -Class Mail
Lori Luna                                              Address Redacted                                                                                                                                                                                                      First -Class Mail
Lori Wyrick                                            Address Redacted                                                                                                                                                                                                      First -Class Mail
Lorin Theiss                                           Address Redacted                                                                                                                                                                                                      First -Class Mail
Lorraine J Foley                                       Address Redacted                                                                                                                                                                                                      First -Class Mail
Los Alamitos Medical Center                            3751 Katella Ave                                  Los Alamitos, CA 90720-3113                                                                                                                                         First -Class Mail
Los Angeles County LUC+USC Medical Center              c/o Supply Chain Operations                       1670 E 120th St                         Los Angeles, CA 90059                                                                                                       First -Class Mail
Los Robles Hospital & Med Ctr                          215 W Janss Rd                                    Thousand Oaks, CA 91360                                                                                                                                             First -Class Mail
Lotte New York Place Hotel                             455 Madison Ave                                   New York, NY 10022                                                                                                                                                  First -Class Mail
Loud Speaker Components                                Attn: George Wise                                 7596 US Hwy 61 S                        Lancaster, WI 53813                                              bettyh@loudspeakercomponents.com                           EmailFirst-Class Mail
Louie Liwanag                                          Address Redacted                                                                                                                                                                                                      First -Class Mail
Louisiana - Washington                                 Sales & Use Tax Dept                              1002 Main St                            Franklinton, LA 70438                                                                                                       First -Class Mail
Louisiana Board of                                     Wholesale Drug Distributors                       12091 Bricksome Ave, Ste B              Baton Rouge, LA 70816-2774                                                                                                  First -Class Mail
Louisiana Board of Drug & Device Distributors          12091 Bricksome Ave, Ste B                        Baton Rouge, LA 70816                                                                                                                                               First -Class Mail
Louisiana Dept of Revenue                              P.O. Box 91011                                    Baton Rouge, LA 70821-9011                                                                                                                                          First -Class Mail
Louisiana Dept of Revenue                              P.O. Box 201                                      Baton Rouge, LA 70821-0201                                                                                                                                          First -Class Mail
Louisiana Society for Respiratory Care                 Attn: Dennis Guillot                              154 S Sugarfield Dr                     Thibodaux, LA 70301                                                                                                         First -Class Mail
Louisville Gas & Electric Co                           P.O. Box 9001960                                  Louisville, KY 40290-1960                                                                                                                                           First -Class Mail
Lovejoy Tool Co                                        133 Main St                                       P.O. Box 949                            Springfield, VT 05156                                                                                                       First -Class Mail
Lovelace Search                                        32 S Main St, Ste 228                             Greenville, SC 29601                                                                                                                                                First -Class Mail
Lovelace Search                                        32 S Main St                                      Greenville, SC 29601                                                                                                                                                First -Class Mail
Lovelace Search LLC                                    32 S Main St, Ste 228                             Greenville, SC 29601-4884                                                                                                                                           First -Class Mail
LPA Inc                                                P.O. Box 7399                                     Newport Beach, CA 92658-7399                                                                                                                                        First -Class Mail
Lpmc Group                                             Attn: Lori B Paige                                305 E 86th St, Apt 12Jw                 New York, NY 10028-4702                                                                                                     First -Class Mail
Lrn Corp                                               745 5th Ave, Ste 800                              New York, NY 10151-0099                                                                                                                                             First -Class Mail
LRN Corporation                                        745 Fifth Ave, Ste 800                            New York, NY 10151                                                                                                                                                  First -Class Mail
LSR Healthcare Pty Ltd                                 Level 5/4 Colombia Court                          Baulklam Hills                          NSW 2156                          Australia                                                                                 First -Class Mail
LSR Healthcare Pty Ltd                                 Level 5, Nexus Norwest                            4 Columbia Ct                           Baulkham Hills, NSW, 2153         Australia                                                                                 First -Class Mail
LSR Healthcare Pty Ltd                                 Level 5/4 Colombia Ct                             Baulklam Hills, NSW 2156                Australia                                                                                                                   First -Class Mail
LTI Holdings, Inc                                      dba Boyd Corporation                              5960 Inglewood Dr, Ste 115              Pleasanton, CA 94588                                                                                                        First -Class Mail
Lubricantes Gallardo Sa                                c/o Lugasa                                        Lago Poopo Y Managua 996                Mexicali, BC 21330                Mexico                                                                                    First -Class Mail
Lucas Associates (dba Lucas Group)                     Attn: Victor Palumbo                              230 W Monroe St, Ste 850                Chicago, IL 60606                                                                                                           First -Class Mail
Lucas Group                                            c/o Lucas Associates Inc                          230 W Monroe St, Ste 850                Chicago, IL 60606-4781                                                                                                      First -Class Mail
Lucia Slovak                                           Address Redacted                                                                                                                                                                                                      First -Class Mail
Lucile Salter Packard Childrens Hospital At Stanford   2680 Horizon Dr SE                                Grand Rapids, MI 49546-7517                                                                                                                                         First -Class Mail
Lucky Line                                             7890 Dunbrook Rd                                  San Diego, CA 92126-4369                                                                                                                                            First -Class Mail
Lumen Dynamics Group                                   2260 Argentia Rd                                  Mississauga, ON L5N 6H7                 Canada                                                                                                                      First -Class Mail
Lumitex Inc                                            P.O. Box 74853                                    Cleveland, OH 44190-0001                                                                                                                                            First -Class Mail
Lumitex LLC                                            8443 Dow Cir                                      Strongsville, OH 44136                                                                                                                                              First -Class Mail
Lundell Manufacturing                                  Attn: Darby Bitzan, Mark Streiff                  2700 Ranchview Land                     Minneapolis, MN 55447                                            darby.bitzan@lundellmfg.com; mark.streiff@lundellmfg.com   EmailFirst-Class Mail
Lundell Manufacturing                                  2700 Ranchview Land                               Minneapolis, MN 55447                                                                                    Info@lundellmfg.com                                        EmailFirst-Class Mail
Lundell Manufacturing                                  2700 Ranchview Land                               Minneapolis, MN 55447                                                                                                                                               First -Class Mail
Lundell Manufacturing Corporation                      2700 Ranchview Ln N                               Plymouth, MN 55447                                                                                                                                                  First -Class Mail
Lung & Sleep Institute                                 4475 Regency Pl, Ste 303                          White Plains, MD 20695                                                                                                                                              First -Class Mail
Lung Associates of Sarasota                            1921 Waldemere St, Ste 705                        Sarasota, FL 34239                                                                                                                                                  First -Class Mail
Lung Care & PC                                         Joan & Paul Rubschlager Bldg                      1520 W Harrison St, 6th Fl              Chicago, IL 60607                                                                                                           First -Class Mail
Lung-Diagnostics GmbH                                  Peter-Behrns-Platz 3-6                            4020 Linz                               Austria                                                                                                                     First -Class Mail
Lupe E Hernandez                                       Address Redacted                                                                                                                                                                                                      First -Class Mail
Luro Technologies Inc                                  166 Elizabeth Ln                                  Genoa City, WI 53128-2124                                                                                                                                           First -Class Mail
Lusk Quality Machine Products                          39457 15th St E                                   Palmdale, CA 93550                                                                                                                                                  First -Class Mail
Lynn Sato Smith                                        Address Redacted                                                                                                                                           Email Address Redacted                                     EmailFirst-Class Mail
Lyon & Associates Creative Services                    c/o Lyon                                          3366 N Torrey Pines Ct, Ste 110         La Jolla, CA 92037-1025                                                                                                     First -Class Mail
Lyon & Associates Creative Services Lyon               3366 N Torrey Pines Ct, Ste 110                   La Jolla, CA 92037-1025                                                                                                                                             First -Class Mail
Lyon & Associates Creative Services, Inc.              380 Stevens Ave, Ste 205                          Solana Beach, CA 92075                                                                                                                                              First -Class Mail
Lyon & Associates Creative Svcs, Inc                   Attn: Susan Lyon                                  3366 N Torrey Pines Ct, Ste 110         La Jolla, CA 92307                                               susan.lyon@lyonassoc.com                                   EmailFirst-Class Mail
M Holland Co                                           P.O. Box 856666                                   Minneapolis, MN 55485-6666                                                                                                                                          First -Class Mail
M Holland Co                                           400 Skokie Blvd, Ste 600                          Northbrook, IL 60062-7906                                                                                                                                           First -Class Mail
M R Mold Engineering Corp                              1150 Beacon St                                    Brea, CA 92821-6711                                                                                                                                                 First -Class Mail
M Squared Associates Inc                               575 8th Ave Rm 1212                               New York, NY 10018-3417                                                                                                                                             First -Class Mail
M. Holland Company                                     400 Skokie Blvd, Ste 600                          Northbrook, IL 60062                                                                                                                                                First -Class Mail
M.P. Technologies Srl                                  MP Technologies Srl                               Corso Susa, 242                         10098 Rivoli (TO)                 Italy                                                                                     First -Class Mail
M10TEK                                                 1970 E 3rd Ave, Ste 111                           Durango, CO 81301                                                                                                                                                   First -Class Mail
Mabis Healthcare Inc                                   13329 Collection Center Dr                        Chicago, IL 60693-0001                                                                                                                                              First -Class Mail
Macco & Corey, P.C.                                    Attn: Peter Corey                                 2950 Express Dr S                       Islandia, NY 11749                                               pcorey@maccolaw.com                                        EmailFirst-Class Mail
Machine Control Specialists Inc                        35 N Garden Ave                                   Roselle, IL 60172-1733                                                                                                                                              First -Class Mail
Machine Solutions Inc                                  2951 W Shamrell Blvd, Ste 107                     Flagstaff, AZ 86005-9420                                                                                                                                            First -Class Mail
Machine Tool Marketing Inc                             21083 S 103rd East Ave                            Bixby, OK 74008-6734                                                                                                                                                First -Class Mail
Machine Tool Services - Div of Skf                     c/o Skf Usa Inc                                   69900 Powell Rd                         Armada, MI 48005-4030                                                                                                       First -Class Mail
Machine Tool Supply                                    Attn: Steven West                                 3505 Cadillac Ave, Bldg-K               Costa Mesa, CA 92626                                             stevenw@mtsupply.com                                       EmailFirst-Class Mail
MacIntyre, Neil MD                                     3787 Shipyard Blvd                                Wilmington, NC 28403                                                                                                                                                First -Class Mail
Macon City Collector                                   P.O. Box 445                                      Macon, MO 63552-0445                                                                                                                                                First -Class Mail
Macon County Collector                                 Attn: Jeanette Ronchetto                          101 E Washington St, Ste 302            Macon, MO 63552-1579                                                                                                        First -Class Mail
Macon County General Hospital                          Attn: Receiving                                   204 Medical Dr                          Attn: Receiving                   Lafayette, TN 37083                                                                       First -Class Mail
Mader Communications Group Inc                         12167 Rosewood Ct, Ste 100                        Cedarburg, WI 53012-9554                                                                                                                                            First -Class Mail
Madica Medical LLC                                     9421 Glendale Ave NE                              Albuquerque, NM 87122-3964                                                                                                                                          First -Class Mail
Madison Community Hospital                             c/o Madison Regional Health System                323 SW 10th St                          Madison, SD 57042-3200                                                                                                      First -Class Mail
Madison County                                         100 N Side Sq                                     Huntsville, AL 35801                                                                                                                                                First -Class Mail
Madison County                                         100 E Main St, Rm 107                             Jackson, TN 38301-6244                                                                                                                                              First -Class Mail
Madison Paige Cremeans                                 Address Redacted                                                                                                                                                                                                      First -Class Mail
Madison Parish Hospital                                900 Johnson St                                    Tallulah, LA 71282                                                                                                                                                  First -Class Mail
Maersk Logistics & Services                            180 Park Ave, Bldg 105                            P.O. Box 950                            Florham Park, NJ 07932                                                                                                      First -Class Mail
Maersk Logistics & Services                            The Plaza                                         Old Hall Street                         Liverpool, L# 9QJ                 United Kingdom                                                                            First -Class Mail
Maersk Logistics & Services                            The Plaza                                         Old Hall St                             Liverpool, L 9QJ                  United Kingdom                                                                            First -Class Mail
Mafix AG                                               Attn: Simon Graber                                Eisternweg 2                            Obergeriafingen, 4564             Switzerland                    Simon.graber@mafix.ch                                      First -Class Mail
Mafix Ag                                               Attn: Simon Graber                                Eisternweg 2                            Obergeriafingen, 4564             Switzerland                                                                               First -Class Mail
Mafix AG                                               Elsternweg 2 CH-4564                              Obergerlafingen                         Switzerland                                                                                                                 First -Class Mail
Magda Baeza                                            Address Redacted                                                                                                                                                                                                      First -Class Mail
Magik Glass 7 Door                                     3500 Tacheva Dr                                   Palm Springs, CA 92262                                                                                                                                              First -Class Mail
Magnet Schultz of America, Inc.                        401 Plaza Dr                                      Westmont, IL 60559                                                                                                                                                  First -Class Mail
Magnet-Schultz of America                              Attn: Samabtha Encarnacion                        401 Plaza Dr                            Westmont, IL 60559                                                                                                          First -Class Mail
Magnifi Group Inc                                      2633 Ariane Dr                                    San Diego, CA 92117-3422                                                                                                                                            First -Class Mail
Magnifi Group, Inc.                                    2633 Ariane Dr                                    San Diego, CA 92117                                                                                                                                                 First -Class Mail
Magnitude Software Inc                                 8529 Six Forks Rd, Ste 400                        Raleigh, NC 27615-4972                                                                                                                                              First -Class Mail
Magnitude Software Inc.                                8529 Six Forks Rd                                 Raleigh, NC 27615-4972                                                                                                                                              First -Class Mail
Magnolia Innovation LLC                                2 Hudson Pl, 6th Fl                               Hoboken, NJ 07030-5594                                                                                                                                              First -Class Mail
Magnolia Innovation, LLC                               2 Hudson Place, 6th Fl                            Hoboken, NJ 07030                                                                                                                                                   First -Class Mail
Magor Mold Inc                                         420 S Lone Hill Ave                               San Dimas, CA 91773-4600                                                                                                                                            First -Class Mail
Magsys Magnet System LLC                               8125 Parkridge Dr                                 St Louis, MO 63123-4824                                                                                                                                             First -Class Mail
Magsys Magnet Systems LLC                              Attn: James Murphy                                8125 Parkridge Dr                       St Louis, MO 63123                                               jmurphy@magsys.de                                          EmailFirst-Class Mail
Maguire Products Inc                                   11 Crozerville Rd                                 Aston, PA 19014-1431                                                                                                                                                First -Class Mail
Mahaska County Hospital                                Attn: Receiving                                   1229 C Ave E                            Oskaloosa, IA 52577                                                                                                         First -Class Mail
Mai Ying Lor                                           Address Redacted                                                                                                                                                                                                      First -Class Mail
Maile Klein Photography                                Attn: Geard Athalakian                            345 W Marisal Rd                        Palm Springs, CA 92262                                           gerardathalakian@yahoo.com                                 EmailFirst-Class Mail
Mailfinance Inc                                        478 Wheelers Farms Rd                             Milford, CT 06461-9105                                                                                                                                              First -Class Mail
Mailon Garcia                                          Address Redacted                                                                                                                                                                                                      First -Class Mail
Maimonides Medical Center                              4802 10th Ave                                     Brooklyn, NY 11219                                                                                                                                                  First -Class Mail
Maine Dept of Revenue                                  P.O. Box 1064                                     Augusta, ME 04332-1064                                                                                                                                              First -Class Mail
Maine Revenue Services                                 P.O. Box 1065                                     Augusta, ME 04332-1065                                                                                                                                              First -Class Mail
Maintenance Reseller Corp                              400 W Cummings Park, Ste 4450                     Woburn, MA 01801-6594                                                                                                                                               First -Class Mail
Major Custom Assemblies (Buse Industries)              177 NW Industrial Ct                              Bridgeton, MO 63044                                                                                                                                                 First -Class Mail
Major Lindsey & Africa LLC                             c/o Allegis Group Holdings Inc                    1 S Wacker Dr, Ste 1750                 Chicago, IL 60606-4734                                                                                                      First -Class Mail
Major, Lindsey & Africa                                1 S Wacker Dr                                     Chicago, IL 60606                                                                                                                                                   First -Class Mail
Malvern Instruments Inc                                21543 Network Pl                                  Chicago, IL 60673-1215                                                                                                                                              First -Class Mail
Malvern Panalytical Inc                                117 Flanders Rd                                   Westboro, MA 01581-1042                                                                                                                                             First -Class Mail
Malvern Panalytical Inc.                               2400 Computer Dr                                  Westborough, MA 01581                                                                                                                                               First -Class Mail
Managed Health Care Associates Inc                     25 A Vreeland Rd, Ste 200                         Florham Park, NJ 07932-1903                                                                                                                                         First -Class Mail
Managed Health Care Associates, Inc. VYA2019           c/o Managed Health Care Associates, Inc           25-A Vreeland Road, Ste 200             Florham Park, NJ 07932                                                                                                      First -Class Mail
Management Registry Inc                                1100 W Lake Cook Rd                               Buffalo Grove, IL 60089-1929                                                                                                                                        First -Class Mail
Manatee Biodevices Inc                                 Attn: Michael T Boyer                             668 Lakescene Dr                        Venice, FL 34293                                                                                                            First -Class Mail
Manatee Memorial Hospital                              206 Second St                                     E Bradenton, FL 34208                                                                                                                                               First -Class Mail
Mangueras Y Conexiones De Mexicali Sa De Cv            Blvd Benito Juarez 498                            Mexicali, BC 21360                      Mexico                                                                                                                      First -Class Mail
Manner Usa Inc                                         1105 Progress Industrial Blvd                     Lawrenceville, GA 30043                                                                                                                                             First -Class Mail
Mannford Chamber of Commerce                           P.O. Box 478                                      Mannford, OK 74044-0478                                                                                                                                             First -Class Mail
Mannford Chamber of Commerce                           300 Coonrod Rd                                    Mannford, OK 74044                                                                                                                                                  First -Class Mail
Mannford Public Works Authority                        300 Coonrod Rd                                    Mannford, OK 74044                                                                                                                                                  First -Class Mail
Mannford Vision Clinic PLLC                            Attn: Barbara A Murphy                            P.O. Box 810                            Mannford, OK 74044-0810                                                                                                     First -Class Mail
Manning & Napler Associates LLC                        c/o IP.com I, LLC                                 370 Woodcliff Dr, Ste 301               Fairport, NY 14450-4238                                                                                                     First -Class Mail
Manpower Group US                                      100 Manpower Pl                                   Milwaukee, WI 53212                                                                                                                                                 First -Class Mail
Manuel Barraza                                         Address Redacted                                                                                                                                                                                                      First -Class Mail
Manuel De Jesus Escobedo                               Address Redacted                                                                                                                                                                                                      First -Class Mail
Mao Vang                                               Address Redacted                                                                                                                                                                                                      First -Class Mail
Mapi Life Sciences Canada Inc                          4 Innovation Dr                                   Dundas, ON L9H 7P3                      Canada                                                                                                                      First -Class Mail
Maples Teesdale LLP                                    30 King St                                        London, EC2V 8EE                        United Kingdom                                                                                                              First -Class Mail
Mar Cor Purification Inc                               4450 Township Line Rd                             Skippack, PA 19474                                                                                                                                                  First -Class Mail
Marc Comtois                                           Address Redacted                                                                                                                                                                                                      First -Class Mail
Marc Letot                                             Address Redacted                                                                                                                                                                                                      First -Class Mail
Marc Manufacturing Inc                                 c/o Qualtek Manufacturing                         4230 N Nevada Ave                       Colorado Springs, CO 80907-4306                                                                                             First -Class Mail
Marc Medical Systems                                   45/3, Kali KK Majumdar Road Santoshpur Jadavpur   Kolkata 700075                          India                                                                                                                       First -Class Mail
Marc Medical Systems                                   45/3, Kali KK Majumdar Road                       Kolkata 700075                          India                                                                                                                       First -Class Mail
Marc Medical Systems                                   45/3, Kali Kumar Majumdar Rd                      Green Ave                               Santoshpur, Kolkata               W Bengal 700075        India                                                              First -Class Mail
Marc Medical Systems                                   45/3, Kali KK Majumdar Rd                         Santoshpur Jadavpur                     Kolkata - 700075                  India                                                                                     First -Class Mail
Marcella Davis                                         Address Redacted                                                                                                                                                                                                      First -Class Mail
Marcio Sinzato                                                                                                                                                                                                    marcio.sinzato@vyaire.com                                  Email
Marco Gidaro                                           Address Redacted                                                                                                                                                                                                      First -Class Mail
Marelcom AG                                            Bahnhofstrasse 1                                  CH-8772 Nidfurn                         Germany                                                                                                                     First -Class Mail
Margit Naomi Horiba Md                                 Address Redacted                                                                                                                                                                                                      First -Class Mail
Maria Eugenia Santacruz Briones                        Address Redacted                                                                                                                                                                                                      First -Class Mail
Maria Flores                                           Address Redacted                                                                                                                                                                                                      First -Class Mail
Maria G Lopez                                          Address Redacted                                                                                                                                                                                                      First -Class Mail
Maria Galindo                                          Address Redacted                                                                                                                                                                                                      First -Class Mail
Maria J Ortiz                                          Address Redacted                                                                                                                                                                                                      First -Class Mail
Maria J Toledo                                         Address Redacted                                                                                                                                                                                                      First -Class Mail
Maria Jimenez                                          Address Redacted                                                                                                                                                                                                      First -Class Mail
Maria Lictawa                                          Address Redacted                                                                                                                                                                                                      First -Class Mail
Maria Miriam Diaz Gomez                                Address Redacted                                                                                                                                                                                                      First -Class Mail
Maria Nicole Almy                                      Address Redacted                                                                                                                                                                                                      First -Class Mail
Maria Salpeas Madden                                   Address Redacted                                                                                                                                                                                                      First -Class Mail
Maria Tocci                                            Address Redacted                                                                                                                                                                                                      First -Class Mail
Marian Barbra Cembrano Tavarro                         Address Redacted                                                                                                                                                                                                      First -Class Mail
Maricopa Integrated Health System                      2611 E Pierce                                     Phoenix, AZ 85008-6092                                                                                                                                              First -Class Mail
Marietta Memorial Hospital                             401 Matthew St                                    Marietta, OH 45750                                                                                                                                                  First -Class Mail
Marino, Amy MD                                         12222 Merit Dr, Ste 600                           Dallas, TX 75251                                                                                                                                                    First -Class Mail
Mario Cano                                             Address Redacted                                                                                                                                                                                                      First -Class Mail
Marion General Hospital Inc                            c/o Marion General Hospital                       441 N Wabash Ave                        Marion, IN 46952-2612                                                                                                       First -Class Mail
Maris Anne Tusman                                      Address Redacted                                                                                                                                                                                                      First -Class Mail
Marisa Magana                                          Address Redacted                                                                                                                                                                                                      First -Class Mail
Mark Alvarino                                          Address Redacted                                                                                                                                                                                                      First -Class Mail
Mark Bowes                                             Address Redacted                                                                                                                                                                                                      First -Class Mail
Mark Cawi                                                                                                                                                                                                         mark.cawi@bakerfieldsolutions.com                          Email
                                                                   Case 24-11217-BLS                                                                                         Doc 463                           Filed 08/24/24                                     Page 28 of 51

Mark Cole                                                        Address Redacted                                                                                                                                                                                                                                   First -Class Mail
Mark Ellison                                                     Address Redacted                                                                                                                                                                                                                                   First -Class Mail
Mark J Kennedy                                                   Address Redacted                                                                                                                                                                                                                                   First -Class Mail
Mark J Lucchesi                                                  Address Redacted                                                                                                                                                                                                                                   First -Class Mail
Mark Jacob Kleiner                                               Address Redacted                                                                                                                                                                                                                                   First -Class Mail
Mark K Ferguson Md                                               Address Redacted                                                                                                                                                                                                                                   First -Class Mail
Mark Moedritzer                                                                                                                                                                                                                                                             MMOEDRITZER@SHB.COM                     Email
Mark T Williams                                                  Address Redacted                                                                                                                                                                                                                                   First -Class Mail
Mark T Williams                                                  Address Redacted                                                                                                                                                                                                                                   First -Class Mail
Markem Imaje Corp                                                P.O. Box 3542                                            Boston, MA 02241                                                                                                                                                                          First -Class Mail
Markem Imaje, SA De CV                                           Av Central 186-B                                         Vallejo, DF 07700                                             Mexico                                                                                                                      First -Class Mail
Markem-Imaje Co                                                  Attn: Peggy Lafreniere                                   150 Congress St                                               Keene, NH 03431                                                                     mlafreniere@markem-imaje.com            EmailFirst-Class Mail
Markem-Imaje Corp                                                150 Congress St                                          Keene, NH 03431                                                                                                                                                                           First -Class Mail
Markets & Markets                                                Unit 802 Tower 7                                         Pune, 13 411013                                               India                                                                                                                       First -Class Mail
Markperi Int'l Enterprise                                        c/o 3KRF                                                 3516 Hargale Rd                                               Oceanside, NY 11572-5820                                                                                                    First -Class Mail
Marks & Clerk Singapore LLP                                      77 Robinson Rd, Ste 17-00                                Singapore, 068896                                             Singapore                                                                                                                   First -Class Mail
Markwin Enterprise                                               Block 4 Lot 7 Veraville Belcrest Pamplona III            Las Pinas City, Metro Manila                                  Philippines                                                                                                                 First -Class Mail
Markwin Enterprise                                               Block 4 Lot 7 Veraville Belcrest Pamplona III            Las Pinas City, Metro Manila, Philippines                     Philippines                                                                                                                 First -Class Mail
Marlee Manufacturing                                             4711 E Guasti Road                                       Ontario, Canada 91761                                                                                                                                                                     First -Class Mail
Marlee Manufacturing Inc                                         Attn: Richard Costa                                      4711 E Guasti Rd                                              Ontario, CA 91761                                                                   Quality@marleemfg.com                   EmailFirst-Class Mail
Marlee Mfg                                                       Attn: Richard Costa                                      4711 E Guasti Rd                                              Ontario, CA 91761                                                                                                           First -Class Mail
Marlee Mfg                                                       4711 E Guasti Rd                                         Ontario, CA 91761                                                                                                                                                                         First -Class Mail
Marman Industries Inc                                            1701 Earhart                                             La Verne, CA 91750-5827                                                                                                                                                                   First -Class Mail
Marman Industries Inc.                                           1701 Earhart Ct                                          La Verne, CA 91750                                                                                                                                                                        First -Class Mail
Marquette Commercial Finance                                     NW 6333                                                  P.O. Box 1450                                                 Minneapolis, MN 55485-6333                                                                                                  First -Class Mail
Marriott Int'l, Inc                                              c/o The JW Marriott Orlando                              4040 Central Florida Pkwy                                     Orlando, FL 32837-7662                                                                                                      First -Class Mail
Marriott Irvine Spectrum                                         7905 Irvine Center Dr                                    Irvine, CA 92618                                                                                                                                                                          First -Class Mail
Marriott Resort Sawgrass                                         1000 Tournament Players Blvd                             Ponte Vedra Beach, FL 32082                                                                                                                                                               First -Class Mail
Mars Environmental Inc                                           22349 E La Palma Ave                                     Yorba Linda, CA 92887                                                                                                                                                                     First -Class Mail
Marsh Bellofram Corp                                             Attn: Dawn Cunningham                                    8019 Ohio River Blvd                                          Newell, WV 26050                                                                    dcunningham@marshbellofram.com          EmailFirst-Class Mail
Marsh Ltd                                                        Tower Place W, Tower Pl                                  London, EC3R 5BU                                              United Kingdom                                                                                                              First -Class Mail
Marsh Usa Inc                                                    P.O. Box 846015                                          Dallas, TX 75284-6015                                                                                                                                                                     First -Class Mail
Marsh USA Inc                                                    1166 Ave of The Americas                                 New York, NY 10036                                                                                                                                                                        First -Class Mail
Marsh USA Inc.                                                   540 W Madison St                                         Chicago, IL 60661                                                                                                                                                                         First -Class Mail
Marshfield Clinic                                                Health Information Management, HM2                       Marshfield Clinic Health System                               1000 N Oak Ave                                Marshfield, WI 54449                                                          First -Class Mail
Marshfield Clinic Health Systems, Inc.                           1000 N Oak Ave                                           Marshfield, WI 54449                                                                                                                                                                      First -Class Mail
Marta Araujo                                                     Address Redacted                                                                                                                                                                                                                                   First -Class Mail
Martin Gruber Medizintechnik GmbH                                Martin Gruber Medizintechnik GmbH                        Trimburgstrasse 2                                             81249, Munchen                                Germany                                                                       First -Class Mail
Martin Gruber Medizintechnik GMBH                                Trimburgstraße 2                                         München, 81249                                                Germany                                                                                                                     First -Class Mail
Martin K Eby Construction Co Inc                                 2525 E 36th Cir N                                        Wichita, KS 67219-2303                                                                                                                                                                    First -Class Mail
Martin K. Eby Construction Co., Inc.                             4711 E 31st St S                                         Whichita, KS 67210                                                                                                                                                                        First -Class Mail
Martin Luther King Jr Community Hospital                         1680 E 120th St                                          Los Angeles, CA 90059                                                                                                                                                                     First -Class Mail
Martin Spiegel Kartonagenfabrik GmbH & Co KG                     Leibnizstraße 3                                          97204 Höchberg                                                Germany                                                                                                                     First -Class Mail
Martin Spiegel Kartonagenfabrik GmbH & Co KG                     Leibnizstrasse 3                                         D-97204 Hochberg                                              Germany                                                                                                                     First -Class Mail
Martinez Hostettler                                              Attn: Frank Martinez                                     750 E Green St, Ste 308                                       Pasadena, CA 91101                                                                  frank@martinezhostettler.com            EmailFirst-Class Mail
Martinez Hostettler Inc                                          750 E Green St, Ste 308                                  Pasadena, CA 91101-2167                                                                                                                                                                   First -Class Mail
Martins A Plus Service Inc                                       199 Evans Ave                                            Mannford, OK 74044-3152                                                                                                                                                                   First -Class Mail
Maruka USA Inc                                                   1210 NE Douglas St                                       Lees Summit, MO 64086-4604                                                                                                                                                                First -Class Mail
Maruka Usa Inc                                                   400 Commons Way, Ste A                                   Rockaway, NJ 07866-2030                                                                                                                                                                   First -Class Mail
Mary Anne Davis                                                  Address Redacted                                                                                                                                                                                                                                   First -Class Mail
Mary C Trout                                                     Address Redacted                                                                                                                                                                                                                                   First -Class Mail
Mary E Marracino                                                 Address Redacted                                                                                                                                                                                                                                   First -Class Mail
Mary Kaye Van Huis                                               Address Redacted                                                                                                                                                                                                                                   First -Class Mail
Mary Necamp                                                      Address Redacted                                                                                                                                                                                                                                   First -Class Mail
Mary Washington Hospital                                         1001 Sam Perry Blvd                                      Fredericksburg, VA 81201                                                                                                                                                                  First -Class Mail
Maryland Board of Pharmacy                                       4201 Patterson Ave                                       Baltimore, MD 21215                                                                                                                                                                       First -Class Mail
Maryland Board of Pharmacy                                       P.O. Box 2024                                            Baltimore, MD 21203-2024                                                                                                                                                                  First -Class Mail
Maryland Oncologic Consultants LLC                               Attn: Fred M Moeslein Md Phd                             1900 Thames St, Unit 307                                      Baltimore, MD 21231-3526                                                                                                    First -Class Mail
Maryland Revenue Administration                                  110 Carroll St                                           Annapolis, MD 21411-0001                                                                                                                                                                  First -Class Mail
Masekela, Refiloe MD (South Africa)                              c/o University of KwaZulu-Natal Medical School           719 Umbilo Rd                                                 Durban, KwaZulu-Natal 4001                    South Africa                                                                  First -Class Mail
Maselec Equipment Material Med                                   c/o Materiel Selectionne Maselec                         48, Rue d'Iran Street                                         Tunis 1002                                    Tunisia                                                                       First -Class Mail
Masimo Co                                                        Attn: Karla Guerrero                                     52 Discovery                                                  Irvine, CA 92618                                                                    kguerrero@masimo.com                    EmailFirst-Class Mail
Masimo Co                                                        Attn: Karla Guerrero                                     52 Discovery                                                  Irvine, CA 92618                                                                                                            First -Class Mail
Masimo Coproration, Masimo International SARL                    52 Discovery                                             Irvine, CA, 92618                                                                                                                                                                         First -Class Mail
Masimo Corp                                                      Attn: Karla Guerrero                                     Industrial Vallera De Mexicali SA De CV                       Calzada Delorto, Ste 2001, 21600 Parque Ind   Mexicali, Baja California    Mexico   kguerrero@masimo.com                    First -Class Mail
Masimo Corp                                                      Attn: Karla Guerrero                                     Industrial Vallera De Mexicali SA De CV                       Calzada Delorto, 2001, 21600 Parque Ind       Mexicali, Baja California    Mexico                                           First -Class Mail
Masimo Corporation                                               52 Discovery                                             Irvine, CA, 92618                                                                                                                                                                         First -Class Mail
Mason City Clinic, PC                                            250 S Crescent Dr                                        Mason City, IA 50401                                                                                                                                                                      First -Class Mail
Mass General Brigham                                             243 Charles St                                           Boston, MA 02114                                                                                                                                                                          First -Class Mail
Massachusetts Department of Revenue                              c/o Bankruptcy Unit                                      P.O. Box 7090                                                 Boston, MA 02204-7090                                                               dwyersa@dor.state.ma.us                 EmailFirst-Class Mail
Massachusetts Dept of Revenue                                    P.O. Box 7005                                            Boston, MA 02204                                                                                                                                                                          First -Class Mail
Massachusetts Dept of Revenue                                    P.O. Box 7000                                            Boston, MA 02204                                                                                                                                                                          First -Class Mail
Master Bond Inc                                                  Attn: Miriam                                             154 Hobart St                                                 Hackensack, NJ 07601                                                                miriam@masterbond.com                   EmailFirst-Class Mail
Master Communications Inc                                        54 Old State Rd                                          Ellisville, MO 63021-5905                                                                                                                                                                 First -Class Mail
Master Electronics                                               1301 Olympic Blvd                                        Santa Monica, CA 90404                                                                                                                                                                    First -Class Mail
Master Kraft Tooling Corp                                        425 S 122nd East Ave                                     Tulsa, OK 74128-2407                                                                                                                                                                      First -Class Mail
Master Medical Equipment                                         2345 FE Wright Dr                                        Jackson, TN 38305                                                                                                                                                                         First -Class Mail
Master Technology Group                                          7640 Golden Triangle Dr                                  Eden Prairie, MN 55344-3732                                                                                                                                                               First -Class Mail
Masterlift Inc                                                   P.O. Box 20067                                           Canton, OH 44701-0067                                                                                                                                                                     First -Class Mail
Masterlift Inc                                                   1033 Kelly Ave                                           Akron, OH 44306-3143                                                                                                                                                                      First -Class Mail
Matclinic Sl                                                     Poligono Industrial                                      Betera, 46 46117                                              Spain                                                                                                                       First -Class Mail
MatClinic, S.L.                                                  Poligono Industrial Horta Vella                          Calle 5 No 5                                                  Betera, Valencia 46117                        Spain                                                                         First -Class Mail
Material Handling Solutions                                      Attn: Ken Nater                                          13709 54th Ave N                                              Plymouth, MN 55446                                                                  ken@mhsionline.com                      EmailFirst-Class Mail
Material Motion Inc                                              2987 Clairmont Rd                                        Atlanta, GA 30329                                                                                                                                                                         First -Class Mail
Material Motion Inc                                              2987 Clairmont Rd, Ste 220                               Atlanta, GA 30329                                                                                                                                                                         First -Class Mail
Materialise NV                                                   Technologielaan 15                                       3001 Leuven                                                   Belgium                                                                                                                     First -Class Mail
Materialise Usa LLC                                              44650 Helm Ct                                            Plymouth, MI 48170-6061                                                                                                                                                                   First -Class Mail
Materials Engineering Inc                                        47W605 Ic Trl                                            Virgil, IL 60151-8306                                                                                                                                                                     First -Class Mail
Materials Evaluation & Enginee                                   13805 1st Ave N, Ste 400                                 Plymouth, MN 55441-5447                                                                                                                                                                   First -Class Mail
Materiel Selectionne Maselec                                     48, Rue d'Iran St                                        Tunis 1002                                                    Tunisia                                                                                                                     First -Class Mail
Materion Precision Optics & Thin Film Coatings                   300 Potash Hill Rd                                       Tyngsborough, MA 01879                                                                                                                                                                    First -Class Mail
Matheson                                                         Dept La 23793                                            Pasadena, CA 91185                                                                                                                                                                        First -Class Mail
Matheson Tri-Gas, Inc.                                           150 Allen Rd, Ste 302                                    Basking Ridge, NJ 07920                                                                                                                                                                   First -Class Mail
Mathesontri-Gas Inc                                              P.O. Box 123028                                          Dallas, TX 75312                                                                                                                                                                          First -Class Mail
Mathesontri-Gas Inc                                              909 Lake Carolyn Pkwy, Ste 1300                          Irving, TX 75039-3908                                                                                                                                                                     First -Class Mail
Mathworks                                                        3 Apple Hill Dr                                          Natick, MA 01760-2081                                                                                                                                                                     First -Class Mail
Matthew A Meyer                                                  Address Redacted                                                                                                                                                                                                                                   First -Class Mail
Matthew D Spitler                                                Address Redacted                                                                                                                                                                                                                                   First -Class Mail
Matthew David Soriano                                            Address Redacted                                                                                                                                                                                                                                   First -Class Mail
Matthew F Duncan                                                 Address Redacted                                                                                                                                                                                                                                   First -Class Mail
Matthew Jinright                                                 Address Redacted                                                                                                                                                                                                                                   First -Class Mail
Matthew John O'Brien                                             Address Redacted                                                                                                                                                                                                                                   First -Class Mail
Matthew Perun                                                    Address Redacted                                                                                                                                                                                                                                   First -Class Mail
Matthews Real Estate Investment Services                         841 Apollo St, Ste 150                                   El Segundo, CA 90245                                                                                                                                                                      First -Class Mail
Maureen C Keshock                                                Address Redacted                                                                                                                                                                                                                                   First -Class Mail
Maureen Jingeleski                                               Address Redacted                                                                                                                                                                                                                                   First -Class Mail
Maverick Spring Makers Limited                                   80 Roy Blvd                                              Brantford ON, N3R 7K2                                         Canada                                                                                                                      First -Class Mail
Max Soliz Medical                                                1321 Florida Ave                                         Corpus Christi, TX 78415-4313                                                                                                                                                             First -Class Mail
Maxim Incorporation Traders Pvt Ltd                              Lazimpat                                                 Kathmandu 44600                                               Nepal                                                                                                                       First -Class Mail
Maxim Incorporation Traders Pvt Ltd                              Baluwater - 4                                            Kathmandu                                                     Nepal                                                                                                                       First -Class Mail
Maxim Incorporation Traders Pvt. Ltd                             Baluwater -4                                             Kathmandu 44600                                               Nepal                                                                                                                       First -Class Mail
Maxon Precision                                                  Attn: Feff Randall                                       101 Waldron Rd                                                Fall River, MA 94404                                                                jrandall@maxonmotorusa.com              EmailFirst-Class Mail
Maxon Precision Motors, Inc                                      125 Dever Dr                                             Taunton, MA 02780                                                                                                                                                                         First -Class Mail
Maxtec                                                           Customer Furnished Material                              Attn: Sidra Hankins                                           6526 S Cottonwood St                          Salt Lake City, UT 84107              shankins@maxtec.com                     EmailFirst-Class Mail
Maxtec                                                           2305 S 1070 W                                            W Valley City, UT 84119-1564                                                                                                                                                              First -Class Mail
Maxtec                                                           6526 Cottonwood St                                       Salt Lake City, UT 84107-7008                                                                                                                                                             First -Class Mail
Maxtec, LLC                                                      2305 S 1070 W                                            Salt Lake City, UT 84119                                                                                                                                                                  First -Class Mail
Maxtec, LLC                                                      2305 S 1070 W                                            Salt Lake City, UT 84119                                                                                                                                                                  First -Class Mail
Maxval Group Inc                                                 2251 Grant Rd, Ste B                                     Los Altos, CA 94024-6958                                                                                                                                                                  First -Class Mail
May Yang                                                         Address Redacted                                                                                                                                                                                                                                   First -Class Mail
Mayers Memorial Hospital                                         43563 State Hwy 299 E                                    Fall River Mills, CA 96028-9787                                                                                                                                                           First -Class Mail
Mayo Clinic                                                      200 1st St SW                                            Rochester, MN 55905-0001                                                                                                                                                                  First -Class Mail
Mayo Foundation                                                  200 First St SW                                          Rochester, MN 55905                                                                                                                                                                       First -Class Mail
Mayo Foundation For                                              Medical Education & Research                             200 1st St SW                                                 Rochester, MN 55905-0001                                                                                                    First -Class Mail
Mayo Foundation for Medical Education and Research               200 1st St SW                                            Rochester, MN 55905                                                                                                                                                                       First -Class Mail
Mayon Plastics                                                   11595 K Tel Dr                                           Minnetonka, MN 55343-8845                                                                                                                                                                 First -Class Mail
Mayon Plastics                                                   415 17th Ave N                                           Hopkins, MN 55343                                                                                                                                                                         First -Class Mail
MBA & Co Consultancy Ltd                                         9 Marshalsea Rd                                          London, SE1 1EP                                               United Kingdom                                                                                                              First -Class Mail
MBC Fire Safety                                                  Attn: Mike Chester                                       7389 Hinsdale Pl                                              Rancho Cucamonga, CA 91730                                                          mbcfiresafty@aol.com                    EmailFirst-Class Mail
MBm : La Maintenance Biomedicale                                 rue de l'hirondelle - D2                                 Megrine 2033                                                  Tunisia                                                                                                                     First -Class Mail
MBM Packaging Labs Inc                                           P.O. Box 733                                             Rogersville, TN 37857-0733                                                                                                                                                                First -Class Mail
MBM Packaging Labs Inc.                                          505 Collins St                                           Melbourne, VIC 3000                                           Australia                                                                                                                   First -Class Mail
Mbuso Medical Supplies                                           14 Jersey Drive                                          Longmeadow Business Estate                                    Modderfontein                                 South Africa                                                                  First -Class Mail
MC Practic LLC                                                   Leningradskiy avenu, 80, building 16, suite I, unit 25   Moscow 125315                                                 Russia                                                                                                                      First -Class Mail
MC Practic LLC                                                   Leningradskiy avenu, 80,                                 Bldg 16, suite I, unit 25                                     Moscow 125315                                 Russia                                                                        First -Class Mail
MCA Events Srl                                                   Bonaventura Zumbini 29                                                                                           20143 Italy                                                                                                                       First -Class Mail
Mcbride Esco LLC                                                 133 Steel Rd                                             P.O. Box 894                                                  Mannford, OK 74044                                                                                                          First -Class Mail
Mcbride Properties                                               Attn: Gary M Mcbride                                     133 Steel Rd                                                  P.O. Box 894                                  Mannford, OK 74044                                                            First -Class Mail
Mcclain Tool Technology Inc                                      106 Weldon Pkwy                                          Maryland Heights, MO 63043-3102                                                                                                                                                           First -Class Mail
Mccormack Schreiber Legal Solutions                              303 W Madison St, Ste 2150                               Chicago, IL 60606-3333                                                                                                                                                                    First -Class Mail
McCoy Design & Construction                                      13246 Powers Ct                                          Poway, CA 92064                                                                                                                                                                           First -Class Mail
Mccrone Associates Inc                                           850 Pasquinelli Dr                                       Westmont, IL 60559-5539                                                                                                                                                                   First -Class Mail
McDermott Will & Emery LLP                                       Attn: Kristin Going                                                                                                                                                                                        dazman@mwe.com                          Email
McDermott Will & Emery LLP                                       Attn: David R Hurst/Maris J Kandestin                    The Brandywine Bldg                                           1000 NW St, Ste 1400                          Wilmington, DW 19801                  dhurst@mwe.com                          EmailFirst-Class Mail
McDermott Will & Emery LLP                                       Attn: Darren Azman/Kristin Going                         One Vanderbilt Ave                                            New York, NY 10017-3852                                                             kgoing@mwe.com                          EmailFirst-Class Mail
McDermott Will & Emery LLP                                       Attn: Maris J Kandestin                                                                                                                                                                                    mkandestin@mwe.com                      Email
McDermott Will & Emery LLP                                       444 W Lake St, Ste 4000                                  Chicago, IL 60606-0029                                                                                                                                                                    First -Class Mail
McDermott Will & Emery Rechtsanwalt                              c/o Steuerberater LLP                                    Nymphenburger Strabe 3                                        Munchen, 09 80335                             Germany                                                                       First -Class Mail
Mcewan Manufacturing & Tech Solutions Ltd.                       c/o Avaland House                                        110 London Rd, Apsley, Hemel Hempstead                        Hertfordshire, HP3 9SC                        United Kingdom                                                                First -Class Mail
McEwan Manufacturing & Technical Solutions Ltd                   c/o Avaland House                                        110 London Rd, Apsley, Hemel Hempstead                        Hertfordshire, HP3 9SC                        United Kingdom                                                                First -Class Mail
McEwan Manufacturing & Technology                                c/o Solutions Ltd                                        Avaland House 110 London Rd                                   Hertfordshire, HP3 9SC                        United Kingdom                                                                First -Class Mail
Mcg Health Inc                                                   1225 Walton Way                                          Augusta, GA 30901-2141                                                                                                                                                                    First -Class Mail
McGehee Hospital Inc                                             900 S 3rd St                                             Mcgehee, AR 71654                                                                                                                                                                         First -Class Mail
Mcglinchey Stafford PLLC                                         1 Beacon St, Ste 16100                                   Boston, MA 02108-3107                                                                                                                                                                     First -Class Mail
Mcgrath Communications Group Inc                                 796 Cranbury Cross Rd                                    N Brunswick, NJ 08902-2204                                                                                                                                                                First -Class Mail
McGuire Woods LLP                                                2000 McKinney Ave, Ste 1400                              Dallas, TX 75201                                                                                                                                                                          First -Class Mail
McGuirewoods LLP                                                 80 E Canal St                                            Richmond, VA 23219-3956                                                                                                                                                                   First -Class Mail
Mckenna Svc Co                                                   Attn: Nancy                                              901 E Orchard Ave, Unit 1                                     Mundelein, IL 60060                                                                 nancy@mckennaservice.com                EmailFirst-Class Mail
McKesson Medical                                                 9954 Mayland Dr, Ste 4000                                Richmond Hill, VA 23233                                                                                                                                                                   First -Class Mail
McKesson Medical Surgical                                        Lockbox 635157                                           5050 Kingsley Dr                                              Cincinnati, OH 45263-5157                                                                                                   First -Class Mail
McKesson Medical Surgical                                        Attn: Craig Corbin                                       2260 Barrett Dr                                               Cumming, GA 30040-9658                                                                                                      First -Class Mail
Mckesson Medical Surgical                                        8741 Landmark Rd                                         Henrico, VA 23228-2801                                                                                                                                                                    First -Class Mail
McKesson Medical-Surgical Government Solutions LLC               9954 Mayland Dr, Ste 4000                                Richmond, VA 23233                                                                                                                                                                        First -Class Mail
McKesson Medical-Surgical Inc                                    9954 Mayland Dr, Ste 4000                                Richmond, VA 23233                                                                                                                                                                        First -Class Mail
McKesson Medical-Surgical Inc.                                   8741 Landmark Rd                                         Richmond, VA 23228                                                                                                                                                                        First -Class Mail
Mckesson Medical-Surgical Supply                                 9954 Mayland Dr, Ste 4000                                Richmond Hill, VA 23233                                                                                                                                                                   First -Class Mail
Mckinley Equipment Co                                            Attn: Marcus Crockett                                    17611 Armstrong Ave                                           Irvine, CA 92614                                                                    marcus.crockett@mckinleyequipment.com   EmailFirst-Class Mail
McKinley Packaging, S de RL de CV                                Cerrada Via de la Produccion #61                         ParqueIndustrial PIMSA III                                    Mexicali, Baja California 21395               Mexico                                                                        First -Class Mail
Mckinney Trailer Rentals                                         8400 Slauson Ave                                         Pico Rivera, CA 90660-4325                                                                                                                                                                First -Class Mail
Mckinney Trailer Rentals                                         c/o Jt Mckinney Co Inc                                   486 E Chick Rd                                                El Centro, CA 92243-9773                                                                                                    First -Class Mail
McKinsey & Co Inc                                                251 Little Falls Dr                                      Wilmington, DE 19808-1674                                                                                                                                                                 First -Class Mail
McKinsey & Co Inc                                                Kennedydamm 24                                           Dusseldorf, 40027                                             Germany                                                                                                                     First -Class Mail
McKinsey & Co Inc                                                c/o Do Brasil Consultoria Ltda                           Presidente Juscelino Kubitschek Av                            Sao Brasil, 04543-907                         Brazil                                                                        First -Class Mail
McKinsey & Co Inc Mexico SC                                      Pedregal 24 Piso23                                       Ciudad De Mexico, 11040                                       Mexico                                                                                                                      First -Class Mail
McKinsey & Company, Inc.                                         300 E Randolph St, Ste 3100                              Chicago, IL 60601                                                                                                                                                                         First -Class Mail
McLaren Health Care Corporation                                  1 McLaren Pkwy                                           Grand Blanc, MI 48439                                                                                                                                                                     First -Class Mail
McMaster Carr                                                    P.O. Box 7690                                            Chicago, IL 60680                                                                                                                                                                         First -Class Mail
McMaster Carr Supply Co                                          Attn: Jennifer Kirtland                                  9630 Norwalk Blvd                                             Santa Fe Springs, CA 90670                                                          la.sales@mcmaster.com                   EmailFirst-Class Mail
Mcmaster-Carr Supply Co                                          P.O. Box 7690                                            Chicago, IL 60680                                                                                                                                                                         First -Class Mail
Mcmaster-Carr Supply Co                                          Mcmaster-Carr                                            9630 Norwalk Blvd                                             Santa Fe Springs, CA 90670-2932                                                                                             First -Class Mail
Mcmaster-Carr Supply Co                                          Mcmaster-Carr                                            P.O. Box 4355                                                 Chicago, IL 60680-4355                                                                                                      First -Class Mail
McOmber McOmber & Luber P C                                      54 Shrewsbury Ave                                        Red Bank, NJ 07701-1113                                                                                                                                                                   First -Class Mail
McPherson Hospital                                               1000 Hospital Dr                                         Mcpherson, KS 67460                                                                                                                                                                       First -Class Mail
MCR Printing & Pack                                              15630 Timberidge Ln                                      Chino Hills, CA 91709-8706                                                                                                                                                                First -Class Mail
MCR Printing & Packaging Corp                                    c/o MCR Printing & Packaging Corp                        113 W G St 438                                                San Diego, CA 92101-6096                                                                                                    First -Class Mail
Mcr Printing & Pkg                                               Km 121 Carr Mxli-Tecate                                  Tecate, BC 21400                                              Mexico                                                                                                                      First -Class Mail
MCR Printing and Packaging Corp.                                 15630 Timberidge Ln                                      Chino Hills, CA 91790                                                                                                                                                                     First -Class Mail
MCWD Ltd                                                         S Stour Roman Rd Mershan                                 Ashford, KE TN25 7HS                                          United Kingdom                                                                                                              First -Class Mail
MCWD Ltd.                                                        South Stour Offices                                      Roman Road                                                    Mersham, Oshford, Kent TN225 7HS              United Kingdom                                                                First -Class Mail
MD Anderson Cancer Center                                        c/o The University of Texas                              7007 Bertner Ave, Unit 1781                                   Houston, TX 77030-3907                                                                                                      First -Class Mail
Md Anderson Cancer Center                                        The University of Texas                                  1515 Holcombe Blvd                                            Houston, TX 77030-4000                                                                                                      First -Class Mail
Md Anderson Cancer Center                                        Ut Md Anderson Cancer Center                             1515 Holcombe Blvd                                            Houston, TX 77030-4000                                                                                                      First -Class Mail
Md Anderson Cancer Center                                        1515 Holcombe Blvd, Unit 90                              Houston, TX 77030-4000                                                                                                                                                                    First -Class Mail
MD Anderson Cancer Center Univ TX                                Attn: Erika Carrieri                                     1400 Pressler St, Ste 1462                                    Houston, TX 77030-3722                                                                                                      First -Class Mail
MD Buyline                                                       Attn: Thomas Bumpass                                     5910 N Central Expwy                                          Dallas, TX 75206                                                                                                            First -Class Mail
Md Consultants LLC                                               125 S Jefferson St, Unit 2704                            Chicago, IL 60661-3731                                                                                                                                                                    First -Class Mail
Md Consultants LLC                                               Attn: Neel Shah                                          1602 Camden Pl                                                Wheaton, IL 60189-7452                                                                                                      First -Class Mail
Md Medical Solutions                                             5464 W Lady Bug Ct                                       Tucson, AZ 85742-8364                                                                                                                                                                     First -Class Mail
MD Tox Laboratories (dba Innovative Health Diagnostics)          1565 McGaw Ave, Ste B                                    Irvine, CA 92614                                                                                                                                                                          First -Class Mail
MD Tox Laboratory                                                dba Innovative Health Diagnostic                         Attn: Kaushik Gune                                            1565 Mcgaw Ave, Ste B                         Irvine, CA 92614                      kgune@ihdlab.com                        EmailFirst-Class Mail
MD Tox Laboratory                                                c/o Innovative Health Diagnostic                         1565 McGaw Ave, Ste B                                         Irvine, CA 92614-5670                                                                                                       First -Class Mail
MDS Finland Oy                                                   Lars Sonckin kaari 14                                    02600, ESPOO Uusimaa                                          Finland                                                                                                                     First -Class Mail
MDS Finland Oy                                                   Kuortaneenkatu 2                                         00510 Helsinki                                                Finland                                                                                                                     First -Class Mail
MDW Medical                                                      JR Stuutsraat 79                                         9663 SJ Nieuwe Pekela                                         Netherlands                                                                                                                 First -Class Mail
MDW Medical                                                      JR Stuutstraat 79                                        9663 SJ Nieuwe Pekela                                         Netherlands                                                                                                                 First -Class Mail
MDW Medical Bv                                                   Holland Marsh 6                                          Nieuwe Pekela, 05                                             Netherlands                                                                                                                 First -Class Mail
ME-92 Operations                                                 10 Houghton St                                           Providence, RI 02904-1013                                                                                                                                                                 First -Class Mail
Meadoworks, LLC                                                  1051 Perimeter Dr, Ste 525                               Schaumburg, IL 60173                                                                                                                                                                      First -Class Mail
Measurement Computing Co                                         Attn: Kyle MacPherson                                    10 Commerce Way, Ste 1008                                     Norton, MA 02766                                                                    kyle.macpherson@mccdaq.com              EmailFirst-Class Mail
Measurement Specialties                                          c/o Ysis Account                                         P.O. Box 416085                                               Boston, MA 02241-6085                                                                                                       First -Class Mail
Measurement Specialties, Inc. (a TE Connectivity Ltd. Company)   1711 139th Ln NW                                         Andover, MN 55304                                                                                                                                                                         First -Class Mail
Measurement Technologies Inc                                     4204 Sorrento Valley Blvd, Ste K                         San Diego, CA 92121-1412                                                                                                                                                                  First -Class Mail
Mecanor Sa                                                       Erlennstrasse 52                                         Brugg, 2555                                                   China                                                                                                                       First -Class Mail
Mechatronics De Mexico S De Rl De C                              Callejon 16 De Septiembre No 161                         Mexicali, BC 21360                                            Mexico                                                                                                                      First -Class Mail
Med One Capital                                                  10712 S 1300 E                                           Sandy, UT 84094-5094                                                                                                                                                                      First -Class Mail
Med One Capital Funding, LLC                                     10712 S 1300 E                                           Sandy, UT 84094                                                                                                                                                                           First -Class Mail
Med One Equipment Rental                                         210 Lewis Ct                                             Corona, CA 92882                                                                                                                                                                          First -Class Mail
Med One Equipment Rental LLC                                     210 Lewis Ct                                             Corona, CA 92882-1812                                                                                                                                                                     First -Class Mail
Med-Advise Consulting LLC                                        9420 E Doubletree Ranch Rd C-104                         Scottsdale, AZ 85258-5589                                                                                                                                                                 First -Class Mail
Medasia Manufacturing Holding Ltd                                1 Wang Kwong Rd Kowloon Bay                              Hong Kong, KLN                                                Hong Kong                                                                                                                   First -Class Mail
Medassets Performance Management                                 c/o Solutions Inc                                        280 S Mount Auburn Rd                                         Cape Girardeau, MO 63703-4918                                                                                               First -Class Mail
MedCare Visions GmbH                                             Franz-Lehner-Str 3                                       Unterschleißheim Bavaria 85716                                Germany                                                                                                                     First -Class Mail
MedcareVision                                                    Franz-Lehner-Strabe 3                                    D-85716 UnterscheleiBheim                                     Germany                                                                                                                     First -Class Mail
MedcareVision                                                    3 Franz-lehner-str                                       Unterschleissheim                                             Bavaria, 85716                                Germany                                                                       First -Class Mail
Medco Consultants LLC                                            24025 Greater Mack Ave, Ste 202                          St Clair Shores, MI 48080-4312                                                                                                                                                            First -Class Mail
Medco Forum Inc                                                  33963 Upper Bear Creek Rd                                Evergreen, CO 80439                                                                                                                                                                       First -Class Mail
Medconsul Middle East SARL                                       Acsess Business Center, 6th Floor                        Sinelfil - Horch Tabet - Charles El Helou Street              Mount Lebanon                                 Lebanon                                                                       First -Class Mail
Medcontacts                                                      c/o Biz2Bizmarketing.com                                 630 Ash St                                                    San Diego, CA 92101-3212                                                                                                    First -Class Mail
Meddev Mfg Sdn Bhd                                               No 115 Jalan Serunai 1 Kaw 3                             Kiang, Sel 41200                                              Malaysia                                                                                                                    First -Class Mail
Med-E Link                                                       Attn: Rutger Flink                                       Sloestraat Appt 12-Hs                                         1078-BG                                       Netherlands                                                                   First -Class Mail
Medefab                                                          81 Turnpike Rd                                           Jaffrey, NH 03452-6669                                                                                                                                                                    First -Class Mail
Medegen Medical Products LLC                                     360 Motor Pkwy, Ste 800                                  Hauppauge, NY 11788-5182                                                                                                                                                                  First -Class Mail
Medeksperts                                                      Unijas 8a                                                1084 Riga                                                     Latvia                                                                                                                      First -Class Mail
Medeksperts                                                      Unijas iela 8a                                           Vidzemes priekšpilseta                                        Riga, LV-1084                                 Latvia                                                                        First -Class Mail
Medeksperts                                                      Unijas 8a                                                1084 - Riga                                                   Latvia                                                                                                                      First -Class Mail
Medenvoy Global Bv                                               Prinses Margrietplantsoen 33                             The Hague, 2595 AM                                            Netherlands                                                                                                                 First -Class Mail
Medex Holdings (Pvt) Ltd.                                        No 07, Dickmans Road                                     Colombo 05                                                    Sri Lanka                                                                                                                   First -Class Mail
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Medex Holdings Pvt. Ltd.                                                     797/C/G/2, Temple Road                                                   Colombo, 10                                           Sri Lanka                                                                                                                                 First -Class Mail
Medex Supply                                                                 Medex Supply                                                             61 Willet St                                          Passaic, NJ 07055                                                                                                                         First -Class Mail
Medex Supply Distributors Inc                                                P.O. Box 1242                                                            Monsey, NY 10952-8341                                                                                                                                                                           First -Class Mail
Medex Supply Distributors Inc                                                11 Washington Ave                                                        Suffern, NY 10901-4655                                                                                                                                                                          First -Class Mail
Medhold Medical (Pty) Ltd                                                    MSI Business Park                                                        68 Rigger Rd                                          Spartan                                      Kempton Park, 1619                South Africa                                               First -Class Mail
Medhold Medical (Pty) Ltd                                                    MSI Business Park                                                        68 Rigger Rd                                          Spartan Kempton Park                         1619 Gauteng                      South Africa                                               First -Class Mail
Medhold Medical (Pty) Ltd.                                                   MSI Busines Park, 68 Rigger Road Spartan Kempton Park                    1619 Gauteng                                          South Africa                                                                                                                              First -Class Mail
Medi Services SARL                                                           8, rue Reverce                                                           Noumea, 98800                                         France                                                                                                                                    First -Class Mail
Medi Trading DWC LLC                                                         Building 28- St 29- Sec 929- Hay Babel – Arassat Al Hendea               Baghdad                                               Iraq                                                                                                                                      First -Class Mail
Medi Trading DWC LLC                                                         283 Corniche St                                                          Al Majaz 1 - Al Majaz                                 Sharjah                                      United Arab Emirates                                                                         First -Class Mail
Medi Trading DWC LLC                                                         Bldg 28-St 29-Sec                                                        929-Hay Babel                                         Arassat Al Hendea, Baghdad                   Iraq                                                                                         First -Class Mail
Medial d.o.o.                                                                Ulica Grade Vukovara 237B                                                Zagreb, 10000                                         Croatia                                                                                                                                   First -Class Mail
Medial Doo                                                                   Ulica Grada Vukovara, Unit 237B                                          Zagreb, 10000                                         Croatia                                                                                                                                   First -Class Mail
Medias International d.o.o.                                                  Leskoskova cesta 90                                                      1000 Ljubljana                                        Slovenia                                                                                                                                  First -Class Mail
Medias Int'l Doo                                                             Leskoskova Cesta 9D                                                      Ljubljana, 1000                                       Slovenia                                                                                                                                  First -Class Mail
Medic Dot Com Sdn Bhd.                                                       No 63 Jalan Pluto AZ U5/AZ                                               Bandar Pinggiran Subang, 40`50 Shah Alam              Selangor                                     Malaysia                                                                                     First -Class Mail
Medical Action Industries Inc                                                25 Heywood Rd                                                            Arden, NC 28704-9302                                                                                                                                                                            First -Class Mail
MEDICAL CENTER HOSPITAL                                                      Attn: Receiving                                                          500 W 4th ST                                          Odessa, TX 79761                                                                                                                          First -Class Mail
Medical Depot SA                                                             CL50 EDIF Medical Depot 0-41                                             Paitilla                                              Panama                                                                                                                                    First -Class Mail
Medical Depot SA                                                             C 9, Panamá                                                              Provincia de Panamá                                   Panama                                                                                                                                    First -Class Mail
Medical Dynamics Inc                                                         5720 Lonetree Blvd                                                       Rocklin, CA 95765-3734                                                                                                                                                                          First -Class Mail
Medical Equipment and Devices                                                Surama Jyoti, Flat: SA-2" 22 Sarat Bose Road Hakimpara Siliguri-734001   Siliguri 734001                                       India                                                                                                                                     First -Class Mail
Medical Equipment Distributors Inc                                           25 A Vreeland Rd, Ste 200                                                Florham Park, NJ 07932-1903                                                                                                                                                                     First -Class Mail
Medical Innovation                                                           2 rue d'Argentine, Immeuble Integra,                                     Tunis 1002                                            Tunisia                                                                                                                                   First -Class Mail
Medical Innovation MED-IN                                                    Adam-Geisler-Straße 1                                                    82140 Olching                                         Germany                                                                                                                                   First -Class Mail
Medical Innovation MED-IN                                                    Immeuble Integra 2                                                       Rue d'Argentine                                       Belvedere 1002 Tunis                         Tunisia                                                                                      First -Class Mail
Medical Marcom                                                               Attn: Joe Hage                                                           16515 NE 117th Ct                                     Redmond, WA 98052                                                                                     Jhage@medicalmarcom.com             EmailFirst-Class Mail
Medical Marcom LLC                                                           16515 NE 117th Ct                                                        Redmond, WA 98052-2329                                                                                                                                                                          First -Class Mail
Medical Marcom LLC                                                           16515 NE 117th Ct                                                        Redmond, WA 98052                                                                                                                                                                               First -Class Mail
Medical Murray                                                               400 N Rand Rd                                                            N Barrington, IL 60010                                                                                                                                                                          First -Class Mail
Medical Murray Inc                                                           400 N Rand Rd                                                            N Barrington, IL 60010-1496                                                                                                                                                                     First -Class Mail
Medical Simuation Center                                                     Attn: Dr Kent Denmark                                                    24760 Stewart St, 4th Fl                              Loma Linda, CA 92350                                                                                  lbenati@llu.edu                     EmailFirst-Class Mail
Medical Specialties                                                          676 Time Saver Ave                                                       New Orleans, LA 70123                                                                                                                                                                           First -Class Mail
Medical Specialties Inc                                                      2350 Franklin Rd, Ste 125                                                Bloomfield Hills, MI 48302-0321                                                                                                                                                                 First -Class Mail
Medical Specialties Sa De Cv                                                 Ave Armada De Mexico No 1371 Interi                                      Coyoacan, DF 04800                                    Mexico                                                                                                                                    First -Class Mail
Medical Strategic Planning Inc                                               5 Shelbern Dr                                                            Lincroft, NJ 07738-1324                                                                                                                                                                         First -Class Mail
Medical Sul Equipamentos Medicos Ltda                                        R Dr Lauro Azambuja                                                      155 - Sala 404/406 -                                  Centro, Guaíba - RS                          92500-000                         Brazil                                                     First -Class Mail
Medical Sul Equipamentos Medicos Ltda                                        Medical Sul Equipamentos Medicos Ltda                                    Rua Doutor Lauro Azambuja, no 155 - SL 406            Centro Guaiba, Rio Grande do Sul 92500-000   Brazil                                                                                       First -Class Mail
Medical Sul Equipamentos Medicos Ltda.                                       Rua Doutor Lauro Azambuja, no 155 - SL 406                               Centro Guaiba, Rio Grande do Sul 92500-000            Brazil                                                                                                                                    First -Class Mail
Medical Supplies & Services Co. Ltd.                                         PO BOX 17550                                                             Riyadh 11494                                          Saudi Arabia                                                                                                                              First -Class Mail
Medical Systems, Joint Stock Company                                         Office 1N, Bldg 2, 17                                                    10th Line V O                                         199178, St Petersburg                        Russia                                                                                       First -Class Mail
Medical Systems, Joint Stock Company                                         10th Linija VO, 17/2 A                                                   Office 1H                                             St Petersburg                                Russia                                                                                       First -Class Mail
Medical Univ Hosp Authority                                                  169 Ashley Ave                                                           Charleston, SC 29425                                                                                                                                                                            First -Class Mail
Medical University Hospital Authority                                        Medical University of S Carolina                                         c/o MUSC Health                                       22 WestEdge St, Ste 300                      Charleston, SC 29425                                                                         First -Class Mail
Medicalis GMBH                                                               Wohlemberg Str 5                                                         Hoamover, 30175                                       Germany                                                                                                                                   First -Class Mail
Medicalis Medizintechnologie GmbH                                            Wohlenbergstr 5                                                          30179 Hannover                                        Germany                                                                                                                                   First -Class Mail
MedicalSystem Comercio e Servicos de Equipamentos Medicos Ltda               Rua Jurupoca No 75, Lot                                                  Portal Norte Center Galpao 03                         Bairro Buraquinho, 42700-000                 Cidade Lauro de Freitas, Bahia    Brazil                                                     First -Class Mail
Medicarabies SAS (DBA Medicarabies Guadeloupe)                               28 rue Ferdinand Forest - ZI de Jarry                                    97122 Baie Mahault, Guadeloupe                        France                                                                                                                                    First -Class Mail
Medicaraibe Guadeloupe                                                       28 Rue Ferdinand                                                         Baie-Mahault, 971-22                                  Guadeloupe                                                                                                                                First -Class Mail
Medicaraibe Guyane                                                           22 ZI Collery 3                                                          BP 90147 - 97323 Cayenne cedex, French Guinea         France                                                                                                                                    First -Class Mail
Medicaraibe Guyane                                                           18 Rue Des Coccinelles BP 90147                                          Cayenne, 97323                                        France                                                                                                                                    First -Class Mail
Medicina Milosevic                                                           107 Dalmatinska                                                          Beograd 11050                                         Serbia                                                                                                                                    First -Class Mail
Medicina Milosevic                                                           Luke Zore 6                                                              Beograd                                               Serbia                                                                                                                                    First -Class Mail
Medico Electrodes International Limited                                      142-A/11 & 12                                                            Noida Special Economic Zone                           Noida                                        India                                                                                        First -Class Mail
Medicom d.o.o.                                                               Hondlova 2/2                                                             Hondlova 2/2                                          1000 Zagreb                                  Croatia                                                                                      First -Class Mail
Medicom Doo                                                                  Hondlova 2/2                                                             Zagreb, 10000                                         Croatia                                                                                                                                   First -Class Mail
Medicom Spolka z.o.o.                                                        UIM Sklodowskiej-Curie 34                                                41-819 Zabreze                                        Poland                                                                                                                                    First -Class Mail
Medicom Spolka z.o.o.                                                        34 Marii Sklodowskiej-Curie                                              Zabrze 41-800                                         Poland                                                                                                                                    First -Class Mail
Medicommers Kft                                                              Csillaghegyi ut 36                                                       1037 Budapest                                         Hungary                                                                                                                                   First -Class Mail
Medicommers Kft                                                              Csillaghegyi Ut 36                                                       Budapest, 1037                                        Hungary                                                                                                                                   First -Class Mail
Medicon Spotka Z Oo                                                          Ul M Sktodowskiej Curie 34                                               Zabrze, 41-819                                        Poland                                                                                                                                    First -Class Mail
Medicore LLC                                                                 7810 Agnew Ave                                                           Los Angeles, CA 90045-1011                                                                                                                                                                      First -Class Mail
MEDICOtehna d.o.o.                                                           Zadobrovska cesta 42a                                                    1260 Ljubljana                                        Slovenia                                                                                                                                  First -Class Mail
MEDICOtehna doo                                                              Zadobrovška cesta 42A                                                    1260 Ljubljana - Polje                                Slovenia                                                                                                                                  First -Class Mail
Medienbau                                                                    Gutenbergstrabe 15                                                       Tuttlingen, 78532                                     Germany                                                                                                                                   First -Class Mail
Medigas Italia S.r.l.                                                        Via Edison, 6                                                            I - 20090 Assago (MI)                                 Italy                                                                                                                                     First -Class Mail
MEDI-KS Berlin GmbH                                                          Nordenstrasse 46F                                                        13156, Berlin                                         Germany                                                                                                                                   First -Class Mail
Medi-Ks Berlin GMBH                                                          Nordendstrabe 46F                                                        Berlin, 13156                                         Germany                                                                                                                                   First -Class Mail
medi-lan AG                                                                  Hammerstrasse 3                                                          6312 Steinhausen                                      Switzerland                                                                                                                               First -Class Mail
Medi-lan Schweiz ag                                                          Hammerstrasse 3                                                          6312 Steinhausen                                      Switzerland                                                                                                                               First -Class Mail
Mediline SAL                                                                 Mkalles area                                                             PO Box 16-6381                                        Beirut                                       Lebanon                                                                                      First -Class Mail
Medilux LLP                                                                  Office 407, 48 A Kurmangazi street                                       Almaty                                                Kazakhstan                                                                                                                                First -Class Mail
Medilux LLP                                                                  Office 407, 48 A Kurmangazi St,                                          Almaty 050000                                         Kazakhstan                                                                                                                                First -Class Mail
Medilux LLP                                                                  48A Kurmangazi, Ste 407-409                                              Almaty                                                Kazakhstan                                                                                                                                First -Class Mail
Medilux LLP                                                                  Office 407, 48 A Kurmangazi St, Almaty                                   Republic of Kazakhstan                                                                                                                                                                          First -Class Mail
Medimar                                                                      3016 NW 82nd Ave                                                         Miami, FL 33122                                                                                                                                                                                 First -Class Mail
Medimex Petrova EF                                                           ul Kosta Lulchev 16, bl244                                               1113 Sofiya                                           Bulgaria                                                                                                                                  First -Class Mail
Medimex-Petrova Ef                                                           16 Kosta                                                                 Sofia, 1113                                           Bulgaria                                                                                                                                  First -Class Mail
Medionics Healthcare Limited                                                 Unit 32 Westlands Avenue                                                 00200 Nairobi                                         Kenya                                                                                                                                     First -Class Mail
Medionics Healthcare Limited                                                 Unit 32 off David Osieli Rd                                              Waiyaki Way                                           Westlands Ave                                Nairobi                           Kenya                                                      First -Class Mail
Medionics Healthcare Limited                                                 Unit 32 Westlands Ave                                                    00200 Nairobi                                         Kenya                                                                                                                                     First -Class Mail
Mediplex SA                                                                  Julio Prado 1069                                                         Providencia, Santiago de Chile                        Chile                                                                                                                                     First -Class Mail
Mediplex SA                                                                  1069 Julio Prado                                                         Providencia, Santiago de Chile                        Chile                                                                                                                                     First -Class Mail
Mediplex SA                                                                  Julio Prado 1069                                                         7501188 Providencia                                   Región Metropolitana                         Chile                                                                                        First -Class Mail
Mediquip SRL                                                                 4760 Clotilde Velasco St                                                 Santa Cruz                                            Bolivia                                                                                                                                   First -Class Mail
Mediquip SRL                                                                 Clotilde Velasco 4760                                                    Santa Cruz de la Sierra                               Bolivia                                                                                                                                   First -Class Mail
Medisap Sro                                                                  Na Rovnosti 2244/5                                                       Prague 3, 13000                                       Czech Republic                                                                                                                            First -Class Mail
Medisap, s.r.o.                                                              Na Rovnosti 5                                                            Praha 3, 1300 00                                      Czech Republic                                                                                                                            First -Class Mail
Medisap, sro                                                                 Na Rovnosti 2244                                                         130 00 Praha 3-Žižkov                                 Czechia                                                                                                                                   First -Class Mail
Mediserv Medical Supplies & Services Co Ltd                                  Riyadh, Al Ihsa St                                                       Az Zahra                                              MediServ Bldg                                Saudi Arabia                                                                                 First -Class Mail
Mediserv Medical Supplies & Services Co Ltd                                  Al-Ahsa St, Al-Malaz Riyadh                                              P.O. Box 17550                                        Riyadh 11494                                 Saudi Arabia                                                                                 First -Class Mail
Mediserv Medical Supplies & Services Co. Ltd.                                Al-Ahsa Street, Al-Malaz Riyadh                                          P.O. BOX 17550                                        Riyadh 11494                                 Saudi Arabia                                                                                 First -Class Mail
Medisystems Medizintechnik                                                   Hauptstrabe 73                                                           Lauda-Konigshofen, 97922                              Germany                                                                                                                                   First -Class Mail
Medisystems Medizintechnik GmbH                                              Hauptstr 73                                                              97922 Lauda-Königshofen                               Germany                                                                                                                                   First -Class Mail
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MediTrade GmbH                                                               Rudolf-Diesel-Str 30                                                     28876, Oyten                                          Germany                                                                                                                                   First -Class Mail
Meditrade Medical Tradig GMBH                                                Rudolf Diesel Str 30                                                     Oyten, 28876                                          Germany                                                                                                                                   First -Class Mail
Meditrust Group S.A.                                                         154 Kifissias Avenue                                                     Athens 11525                                          Greece                                                                                                                                    First -Class Mail
Meditrust L.T.D.                                                             154 Kifissias Avenue                                                     Athens 11525                                          Greece                                                                                                                                    First -Class Mail
Meditrust Ltd                                                                25 Lefkados Str                                                          Athens, 113 62                                        Greece                                                                                                                                    First -Class Mail
Mediva d.o.o.                                                                Kerestinec, Svetonedeljska 62/a                                          10431 Sveta Nedelja                                   Croatia                                                                                                                                   First -Class Mail
Mediva Doo                                                                   Kerestinec Svetonedeljska 62A                                            Sveta Nedelja, 10431                                  Croatia                                                                                                                                   First -Class Mail
Medival Srl (fka Medica Valeggia Spa)                                        Via San Crispino, 33, Padova,                                            Veneto, 35129                                         Italy                                                                                                                                     First -Class Mail
Medix Staffing Solutions                                                     222 S Riverside Plaza, Ste 2120                                          Chicago, IL 60606                                                                                                                                                                               First -Class Mail
Medix Staffing Solutions Inc                                                 Attn: Jared Gelfond                                                      222 S Riverside Pl, Ste 2120                          Chicago, IL 60606                                                                                     jgelfond@medixteam.com              EmailFirst-Class Mail
Medix Staffing Solutions Inc                                                 222 S Riverside Plz, Ste 2120                                            Chicago, IL 60606-6101                                                                                                                                                                          First -Class Mail
Medizinische Instrumente Und                                                 Monitoring Gmbh                                                          Brandshofer Deich 68                                  Hamburg, 02 20539                            Germany                                                                                      First -Class Mail
Medizinische Universitat Innsbruck                                           Anichstrabe 35                                                           Innsbruck, 6020                                       Austria                                                                                                                                   First -Class Mail
Medizin-Service GmbH                                                         Dorstener Strasse 43                                                     40472, Dusseldorf                                     Germany                                                                                                                                   First -Class Mail
Medizin-Service GMBH                                                         Dorstener Str 43                                                         Dusseldorf, 40472                                     Germany                                                                                                                                   First -Class Mail
Medline Industries                                                           Attn: Legal                                                              3 Lakes Dr                                            Northfield, IL 60093                                                                                                                      First -Class Mail
Medline Industries Inc                                                       Dept LA 21558                                                            Pasadena, CA 91185-0001                                                                                                                                                                         First -Class Mail
Medline Industries Inc                                                       c/o Aplicare Inc                                                         280 Prichard Industrial Park Rd                       Prichard, WV 25555-4001                                                                                                                   First -Class Mail
Medline Industries Inc                                                       1 Medline Pl                                                             Mundelein, IL 60060-4485                                                                                                                                                                        First -Class Mail
Medline Industries Inc.                                                      3 Lakes Dr                                                               Northfield, IL 60093                                                                                                                                                                            First -Class Mail
Medline Industries, Inc                                                      Attn: Liz Burgess                                                        3 Lakes Dr                                            Northfield, IL 60093                                                                                                                      First -Class Mail
Medline Industries, Inc.                                                     Attn: General Counsel                                                    1 Medline Pl                                          Mundelein, IL 60060                                                                                                                       First -Class Mail
Medline Industries, Inc.                                                     3 Lakes Dr                                                               Northfield, IL 60093                                                                                                                                                                            First -Class Mail
Medlogistics GmbH                                                            c/o Altrimo AG                                                           Weissbadstrasse 1 CH-9050                             Appenzell                                    Switzerland                                                                                  First -Class Mail
Medlogistics GmbH                                                            Sun Gate International LLC, SN Medical Services LP                       Bahnhofplatz                                          6300 Zug                                     Switzerland                                                                                  First -Class Mail
Medlogistics GmbH (see Sun Gate International LLC, SN Medical Services LP)   c/o Altrimo AG                                                           Weissbadstrasse 1 CH-9050                             Appenzell                                    Switzerland                                                                                  First -Class Mail
Mednax Svcs                                                                  210 W Wall St                                                            Grapevine, TX 76051                                                                                                                                                                             First -Class Mail
Medpace, Inc                                                                 5375 Medpace Way                                                         Cincinnati, OH 45227                                                                                                                                                                            First -Class Mail
Medpharm                                                                     Attn: Accounts Payable                                                   P.O. Box 11864                                        Tamuning, GU 96931                                                                                                                        First -Class Mail
Medpoint Mt Inc                                                              Attn: Blaine C Platt                                                     P.O. Box 4507                                         Whitefish, MT 59937-4507                                                                                                                  First -Class Mail
Med-Pro Hungary Kft                                                          Perenyl ut 8/b                                                           1037 Budapest                                         Hungary                                                                                                                                   First -Class Mail
Med-Pro Hungary Kft                                                          Perenyi Ut 8/B                                                           Budapest, 1037                                        Hungary                                                                                                                                   First -Class Mail
Medpro Systems LLC                                                           100 Stierli Ct, Ste 100                                                  Mt Arlington, NJ 07856-1312                                                                                                                                                                     First -Class Mail
MedPro Systems LLC                                                           100 Stierli Court, Ste 100                                               Mt. Arlington, NJ 07856                                                                                                                                                                         First -Class Mail
MedQIA, LLC                                                                  10850 Wilshire Blvd, Ste 1170                                            Los Angeles, CA 90024                                                                                                                                                                           First -Class Mail
Medqor                                                                       Attn: Bob Rogers                                                         4303 W 119th St                                       Leawood, KS 66209                                                                                     brogers@thisisamg.com               EmailFirst-Class Mail
Med-Search Recruiting Network                                                2634 Highway 109, Ste A0                                                 Grover, MO 63040-1160                                                                                                                                                                           First -Class Mail
Medsearch Usa                                                                Attn: Kristine Byer                                                      19932 Cato Cir                                        Huntington Beach, CA 92646-3801                                                                                                           First -Class Mail
Medsec LLC                                                                   429 Lenox Ave, Ste 415                                                   Miami Beach, FL 33139                                                                                                                                                                           First -Class Mail
Medspray                                                                     A Colosseum 23                                                           7521 PV Enschede                                      The Netherlands                                                                                                                           First -Class Mail
Medstar Health Inc                                                           8094 Sandpiper Cir, Ste G                                                Nottingham, MD 21236-4907                                                                                                                                                                       First -Class Mail
Medstar Health, Inc.                                                         1447 York Rd                                                             Lutherville, MD 21093                                                                                                                                                                           First -Class Mail
Medstorm LLC                                                                 1718 Peachtree St NW                                                     Atlanta, GA 30309-2452                                                                                                                                                                          First -Class Mail
Medsurg Pi, Llc                                                              3700 Lark Farm Rd                                                        Franklinton, NC 27525                                                                                                                                                                           First -Class Mail
Medtech Consultants LLC                                                      24710 Terra Del Mar Dr                                                   Novi, MI 48374-2529                                                                                                                                                                             First -Class Mail
Medtech Maldives Pvt Ltd                                                     Fas Eri Machangolhi                                                      20205, Maldives                                       Maldives                                                                                                                                  First -Class Mail
Medtech Maldives Pvt Ltd                                                     Ma Fas Eri, 3rd Fl                                                       Ameenee Magu                                          Postal: 20-205, Male                         Maldives                                                                                     First -Class Mail
Medtech Maldives Pvt. Ltd.                                                   Ma Fas Eri, 3rd Floor                                                    Ameenee Magu                                          Male, 20-205                                 Republic of Maldives                                                                         First -Class Mail
Medtech Maldives Pvt. Ltd.                                                   Ma Fas Eri, 3rd Floor                                                    Ameenee Magu                                          Postal: 20-205                               Male                              Republic of Maldives                                       First -Class Mail
Medtechgenius                                                                9204 Cline Ct                                                            Franklin, TN 37067                                                                                                                                                                              First -Class Mail
Medtechnica Ltd                                                              15 Shaked St                                                             Industrial Park, 7319900                              Israel                                                                                                                                    First -Class Mail
Medtechnica Ltd.                                                             7 Hatnufa St                                                             P.O.B 10249 Kiriat Arie Industrial Park               Petach-Tikva, 4900202                        Israel                                                                                       First -Class Mail
Medtronix Nepal Pvt Ltd                                                      2Nd Floor, Sen Plaza Complex                                             Bijulibazar                                           Kathmandu                                    Nepal                                                                                        First -Class Mail
Medtronix Nepal Pvt Ltd                                                      Banshidhar Marg                                                          Kathmandu 44600                                       Nepal                                                                                                                                     First -Class Mail
Medtronix Nepal Pvt Ltd                                                      2nd Fl, Sen Plaza Complex                                                Bijulibazar, Kathmandu                                Nepal                                                                                                                                     First -Class Mail
Medtrxorg                                                                    P.O. Box 1269                                                            Carefree, AZ 85377                                                                                                                                                                              First -Class Mail
MEDtrxORG                                                                    medTadvies                                                               Herculesplein 357                                     3584 AA Utrecht                              Netherlands                                                                                  First -Class Mail
Meet Recruitment Inc                                                         408 Broadway                                                             New York, NY 10013-3699                                                                                                                                                                         First -Class Mail
Meet Recruitment, Inc.                                                       408 Broadway                                                             New York, NY 10013                                                                                                                                                                              First -Class Mail
Mega Carrier Corp                                                            6454 La Posta Dr                                                         El Paso, TX 79912-7332                                                                                                                                                                          First -Class Mail
Megan B Gibson                                                               Address Redacted                                                                                                                                                                                                                                                         First -Class Mail
Megan Stopek                                                                 Address Redacted                                                                                                                                                                                                                                                         First -Class Mail
Megan Sweeney                                                                Address Redacted                                                                                                                                                                                                                                                         First -Class Mail
Megellan Medical Technology Consultants, Inc                                 Attn: Joel Schneider                                                     120 S Sixth St                                        Minneapolis, MN 55402                                                                                 jschneider@magellanmed.com          EmailFirst-Class Mail
Megmeet Usa Inc.                                                             4020 Moorpark Ave, Ste 115                                               San Jose, CA 95117                                                                                                                                                                              First -Class Mail
Mehow Ltd.                                                                   Block B, Ncbc Industrial Park                                            6th Baolong Rd                                        Longgang Shenzhen 518116                     China                                                                                        First -Class Mail
Mekasha Mikael Getachew                                                      Address Redacted                                                                                                                                                                                                                                                         First -Class Mail
Melinda Rodriguez                                                            Address Redacted                                                                                                                                                                                                                                                         First -Class Mail
Melissa A Souder                                                             Address Redacted                                                                                                                                                                                                                                                         First -Class Mail
Melissa Ann Durant                                                           Address Redacted                                                                                                                                                                                                                                                         First -Class Mail
Melissa Bayer                                                                Address Redacted                                                                                                                                                                                                                                                         First -Class Mail
Melissa Stevens                                                              Address Redacted                                                                                                                                                                                                                                                         First -Class Mail
Mellissa Harding                                                             Address Redacted                                                                                                                                                                                                                                                         First -Class Mail
Memorial Health Meadows Lung And Sleep Care                                  1811 Edwina Dr                                                           Vidalia, GA 30474                                                                                                                                                                               First -Class Mail
Memorial Health Services                                                     17730 Brookhurst St, Ste 300                                             Fountain Valley, CA 92708                                                                                                                                                                       First -Class Mail
Memorial Health System                                                       701 N 1St St                                                             Springfield, IL 62781                                                                                                                                                                           First -Class Mail
Memorial Health System                                                       701 N 1st St                                                             Springfield, IL 62781-0001                                                                                                                                                                      First -Class Mail
Memorial Health System                                                       4500 13th St                                                             P.O. Box 1810                                         Gulfport, MS 39501                                                                                                                        First -Class Mail
Memorial Health System Dba Memorial Medical Center                           Memorial Health System                                                   Springfield, IL 62781                                                                                                                                                                           First -Class Mail
Memorial Hermann Hlthcare Sys                                                921 Gessner Rd                                                           Houston, TX 77024                                                                                                                                                                               First -Class Mail
Memorial Hermann Spclty Hosp                                                 300 Kingwood Medical Dr Receiving                                        Kingwood, TX 77339                                                                                                                                                                              First -Class Mail
Memorial Hosp Sheridan County                                                1401 W 5Th St                                                            Sheridan, WY 82801                                                                                                                                                                              First -Class Mail
Memorial Hospital East                                                       1404 Cross St                                                            Shiloh, IL 62269                                                                                                                                                                                First -Class Mail
Memorial Hospital Gulfport                                                   4500 13th St                                                             Gulfport, MS 39501                                                                                                                                                                              First -Class Mail
Memorial Hospital of Converse Count                                          111 S 5th St                                                             Douglas, WY 82633-2434                                                                                                                                                                          First -Class Mail
Memorial Hospital of Sweetwater Co                                           1200 College Dr                                                          Rock Springs, WY 82901                                                                                                                                                                          First -Class Mail
Memorial Hospital Union County                                               200 Hwy 30 W                                                             New Albany, MS 38652                                                                                                                                                                            First -Class Mail
Memorial Satilla Health                                                      1900 Tebeau St                                                           Waycross, GA 31501-6357                                                                                                                                                                         First -Class Mail
Memorial Satilla Health                                                      2004 Pioneer St                                                          Waycross, GA 31501                                                                                                                                                                              First -Class Mail
Menorah Medical Center                                                       5721 W 119th St                                                          Overland Park, KS 66209                                                                                                                                                                         First -Class Mail
Mentor Graphics                                                              Attn: Shirley Robinson                                                   8005 SW Boeckman Rd                                   Wilsonville, OR 97070                                                                                 shirleyrobinson@mantor.com          EmailFirst-Class Mail
Mer Mar Inc                                                                  Attn: Phillip Chaboya                                                    7042 Santa Fe Ave E, Bldg A-1                         Hesperia, CA 92345                                                                                    pchaboya@mermarinc.com              EmailFirst-Class Mail
Mer Mar, Inc                                                                 Attn: Phillip Chaboya                                                    7042 Santa Fe Ave E, Bldg A-1                         Hesperia, CA 92345                                                                                                                        First -Class Mail
Mercedes M Ortiz                                                             Address Redacted                                                                                                                                                                                                                                                         First -Class Mail
Mercer Health & Benefits Llc                                                 155 N Wacker Dr, Ste 1500                                                Chicago, IL 60614                                                                                                                                                                               First -Class Mail
Mercer Inc                                                                   P.O. Box 730182                                                          Dallas, TX 75373-0182                                                                                                                                                                           First -Class Mail
Mercer Technologies Inc                                                      1600 Savannah Ave                                                        Terre Haute, IN 47804-4200                                                                                                                                                                      First -Class Mail
Merchants Fleet                                                              14 Central Park Dr, 1St Fl                                               Hooksett, NH 03106                                                                                                                                                                              First -Class Mail
Mercury Medical                                                              P.O. Box 17009                                                           Clearwater, FL 33762-0009                                                                                                                                                                       First -Class Mail
Mercy Health                                                                 14528 S Outer Forty Rd, Ste 100                                          Chesterfield, MO 63017                                                                                                                                                                          First -Class Mail
Mercy Health                                                                 1701 Mercy Health Pl                                                     Cincinnati, OH 45237                                                                                                                                                                            First -Class Mail
Mercy Health Partners                                                        2200 Jefferson Ave                                                       Toledo, OH 43604-7101                                                                                                                                                                           First -Class Mail
Mercy Health Services, Inc.                                                  1701 Mercy Health Pl                                                     Cincinnati, OH 45237                                                                                                                                                                            First -Class Mail
Mercy Medical Center                                                         1000 N Village Ave                                                       Rockville Centre, NY                                                                                                                                                                            First -Class Mail
Meridian Biomedical Inc. Dba Quality Medical                                 Meridian Biomedical Inc                                                  7381 114th Ave                                        Largo, FL 33773                                                                                                                           First -Class Mail
Meridian Health Partners                                                     P.O. Box 31236                                                           Salt Lake City, UT 84131-0236                                                                                                                                                                   First -Class Mail
Meridian Health System                                                       30 Prospect Ave                                                          Hackensack, NJ 07601-1915                                                                                                                                                                       First -Class Mail
Merit Cables Inc                                                             Attn: Andy Sison                                                         830 N Pointsettia                                     Santa Ana, CA 92701                                                                                   asison@meritcable.com               EmailFirst-Class Mail
Merit Health Biloxi                                                          150 Reynoir St                                                           890 912 Biloxi Materials Mgmnt                        Biloxi, MS 39530                                                                                                                          First -Class Mail
Merit LLC                                                                    P.O. Box 291092                                                          San Antonio, TX 78229-1692                                                                                                                                                                      First -Class Mail
Merit Moving Systems                                                         Attn: Patty Cervantes                                                    5655 Dolly Ave                                        Buena Park, CA 90621                                                                                  pcervantes@meritmovingsystems.com   EmailFirst-Class Mail
Merit Moving Systems Inc                                                     5655 Dolly Ave                                                           Buena Park, CA 90621                                                                                                                                                                            First -Class Mail
Meritec                                                                      Attn: Melissa Kehm                                                       1382 W Jackson St                                     Paineville, OH 44077                                                                                  tsolivan@meritec.com                EmailFirst-Class Mail
Meritec                                                                      1382 W Jackson St                                                        Paineseville, OH 44077                                                                                                                                                                          First -Class Mail
Meritec                                                                      1382 W Jackson St                                                        Paineseville, OH 44078                                                                                                                                                                          First -Class Mail
Mermaid Care As                                                              Hedelund 1                                                               DK-9400 Nr Sundby                                     Denmark                                                                                                                                   First -Class Mail
Mer-Mar Electronics                                                          7042 Santa Fe Ave E, Bldg A-1                                            Hesperia, CA 92345                                                                                                                                                                              First -Class Mail
Mer-Mar Electronics Inc.                                                     7042 Santa Fe Ave E, Bldg A-1                                            Hesperia, CA 92245                                                                                                                                                                              First -Class Mail
Mermel Consulting Group LLC                                                  Attn: Leonard Mermel                                                     3 Deep Meadow Rd                                      Barrington, RI 02806-2741                                                                                                                 First -Class Mail
Merrill Communications LLC                                                   1 Merrill Cir                                                            St Paul, MN 55108                                                                                                                                                                               First -Class Mail
Merrill Lynch (Baml)                                                         250 Vesey St                                                             New York, NY 10281                                                                                                                                                                              First -Class Mail
Merryweather Foam Inc                                                        11 Brown St                                                              Barberton, OH 44203-2314                                                                                                                                                                        First -Class Mail
Mesa Fence Co                                                                Attn: John Cooke                                                         1303 W Oleander Ave                                   Perris, CA 92571                                                                                      john@mesafenceco.com                EmailFirst-Class Mail
Mesa Suarez, Pablo Md (Spain)                                                Avenida Manuel Siurot, S/N                                               Sevilla, 41013                                        Spain                                                                                                                                     First -Class Mail
MESC-Medical Engineering Systems Co                                          29 Fawzy Moaaz St                                                        Smouha, Alexandria 21431                              Egypt                                                                                                                                     First -Class Mail
MESC-Medical Engineering Systems Co                                          11431 Maadi                                                              Cairo                                                 Egypt                                                                                                                                     First -Class Mail
Mesc-Medical Engineering Systems Co.                                         9W Magdy Salama St                                                       Lasilky Section-11435-New Maadi                       Cairo                                        Egypt                                                                                        First -Class Mail
Messenger Molding Inc                                                        7854 White Fir St                                                        Reno, NV 89523-8931                                                                                                                                                                             First -Class Mail
Messer Medical Home Care Slovakia S.R.O.                                     Piestanská 12                                                            91501 Nové Mesto nad Váhom                            Slovkakia                                                                                                                                 First -Class Mail
Messer Medical Home Care Slovakia Sro                                        Piestanska 12                                                            Nove Mesto Nad Vahom, 91501                           Slovakia                                                                                                                                  First -Class Mail
Messner Reeves LLP                                                           1550 Wewatta St Ste 710                                                  Denver, CO 80202                                                                                                                                                                                First -Class Mail
Metalpro Industries                                                          Attn: Bob Theberge                                                       28064 Ave Stanford, Unit H                            Valencia, CA 91355                                                                                    mary@metalproindustries.net         EmailFirst-Class Mail
Metalpro Industries                                                          Attn: Bob Theberge                                                       28064 Ave Stanford, Unit H                            Valencia, CA 91355                                                                                                                        First -Class Mail
Metazoa                                                                      5214F Diamond Hts Blvd, Ste 652                                          San Francisco, CA 94131-2175                                                                                                                                                                    First -Class Mail
Metcutinc                                                                    c/o Metal Cutting Supply Inc                                             5845 S Garnett Rd                                     Tulsa, OK 74146-6812                                                                                                                      First -Class Mail
Methapharm Inc                                                               81 Sinclair Blvd                                                         Brantford, ON N3S 7X6                                 Canada                                                                                                                                    First -Class Mail
Methapharm Inc.                                                              81 Sinclair Boulevard                                                    Brantford, ON N3S 7X6                                 Canada                                                                                                                                    First -Class Mail
Method, Inc.                                                                 585 Howard St                                                            Ground Floor                                          San Francisco, CA 94105                                                                                                                   First -Class Mail
Methodist Craig Ranch                                                        c/o Surgery Center LLC                                                   8000 El Dorado Pkwy                                   McKinney, TX 75070-5940                                                                                                                   First -Class Mail
Methodist Health System                                                      1441 N Beckley Ave                                                       Dallas, TX 75203                                                                                                                                                                                First -Class Mail
Methodist Hospital Dba Houston Methodist                                     6565 Fannin                                                              Houston, TX 77030                                                                                                                                                                               First -Class Mail
Methodist Hospital of So Ca                                                  300 W Huntington Dr                                                      Arcadia, CA 91007-3402                                                                                                                                                                          First -Class Mail
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Methodist Hospitals Of Dallas                                                        1441 N Beckley Ave                           Dallas, TX 75203                                                                                                                                                                         First -Class Mail
Methodist Hospitals of Dallas                                                        c/o Methodist Health System                  P.O. Box 655999                             Dallas, TX 75265-5999                                                                                                                        First -Class Mail
Methodist Medical Center                                                             7700 Floyd Curl Dr                           San Antonio, TX 78229                                                                                                                                                                    First -Class Mail
MetLife                                                                              200 Park Ave                                 New York, NY 10166                                                                                                                                                                       First -Class Mail
Metra It Consultants                                                                 3268 De Champagne                            Vaudreuil-Dorion, QC J7V9M1                 Canada                                                                                                                                       First -Class Mail
Metric Plumbing & Heating Inc                                                        320 Grove Ave                                Cedar Grove, NJ 07009-1442                                                                                                                                                               First -Class Mail
Metricstream Inc                                                                     2600 E Bayshore Rd                           Palo Alto, CA 94303-3241                                                                                                                                                                 First -Class Mail
Metro Cad Inc                                                                        Attn: Aundrea Gassier                        8808 Monticello Ln N                        Maple Grove, MN 55369-4551                                                                sales@metro-cad.com                                EmailFirst-Class Mail
Metro Fire Detection LLC                                                             1267 S Lipan St                              Denver, CO 80223-3006                                                                                                                                                                    First -Class Mail
Metro Health Hospital                                                                2500 MetroHealth Dr                          Cleveland, OH 44109                                                                                                                                                                      First -Class Mail
Metroconnections Inc                                                                 1650 W 82nd St, Ste 125                      Bloomington, MN 55431-1419                                                                                                                                                               First -Class Mail
Metrohm Usa                                                                          9250 Camden Field Pkwhy                      Riverview, FL 33578                                                                                                                                                                      First -Class Mail
Metrology Solutions Inc                                                              1335 Lakeside Dr, Unit 6                     Romeoville, IL 60446-1459                                                                                                                                                                First -Class Mail
Metropolitan St Louis Water Dist                                                     P.O. Box 437                                 St Louis, MO 63166-0437                                                                                                                                                                  First -Class Mail
Metropolitan St Louis Water Dist                                                     2350 Market St                               St Louis, MO 63103-2555                                                                                                                                                                  First -Class Mail
Mettler Toledo Sa De Cv                                                              Col Chapultepec Morales                      Mexico, DF 11570                            Mexico                                                                                                                                       First -Class Mail
Mexichem Compuestos Sa De Cv                                                         Autopista Altamira Km 45                     Altamira, TMS 89603                         Mexico                                                                                                                                       First -Class Mail
Mexichem Specialty Compounds Inc                                                     21729 Network Pl                             Chicago, IL 60673-0001                                                                                                                                                                   First -Class Mail
Mexichem Specialty Compounds Inc                                                     170 Pioneer Dr                               Leominster, MA 01453-3474                                                                                                                                                                First -Class Mail
Meyerlustenberger Lachenal Ag                                                        Schiffbaustrasse 2, Postfach 1765            Zurich, ZH 8031                             China                                                                                                                                        First -Class Mail
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MGA Poly Corp                                                                        8104 Tiara Cove Cir                          Las Vegas, NV 89128                                                                                                                                                                      First -Class Mail
MGA Poly Corp                                                                        91 E Agate, Ste 302                          Las Vegas, NV 89123                                                                                                                                                                      First -Class Mail
Mgs Mfg. Group, Inc.                                                                 W190 N 11701 Moldmakers Way                  Germantown, WI 53022                                                                                                                                                                     First -Class Mail
Mh Custom Design & Manufacturing Lc                                                  8012 Pioneer St                              Midvale, UT 84047                                                                                                                                                                        First -Class Mail
MH Custom Design & MFG LC                                                            Attn: Mark Hoyt                              8012 S Pioneer St                           Midvale, UT 84047                                                                         mhoyt@mhcdesign.com                                EmailFirst-Class Mail
MHCCNA                                                                               800 Connecticut Ave                          Norwalk, CT 06854                                                                                                                                                                        First -Class Mail
Miami Anatomical Research Center                                                     8850 NW 20th St                              Doral, FL 33172-2602                                                                                                                                                                     First -Class Mail
Miatara Llc                                                                          26472 Elmcrest Way                           Lake Forest, CA 92630                                                                                                                                                                    First -Class Mail
Mic Medical Corp                                                                     2 31 27 Yushima                              Bunko-Ku, 13 113-0034                       Japan                                                                                                                                        First -Class Mail
Micayla Hought                                                                       Address Redacted                                                                                                                                                                                                                      First -Class Mail
Michael A Finnegan                                                                   Address Redacted                                                                                                                                                                                                                      First -Class Mail
Michael B Hiller                                                                     Address Redacted                                                                                                                                                                                                                      First -Class Mail
Michael Bartosik                                                                     Address Redacted                                                                                                                                                                                                                      First -Class Mail
Michael Bloomfield                                                                   Address Redacted                                                                                                                                                                                                                      First -Class Mail
Michael Douglas Hartman                                                              Address Redacted                                                                                                                                                                                                                      First -Class Mail
Michael E Browning                                                                   Address Redacted                                                                                                                                                                                                                      First -Class Mail
Michael Hewitt                                                                       Address Redacted                                                                                                                                                                                                                      First -Class Mail
Michael J Leier                                                                      Address Redacted                                                                                                                                                                                                                      First -Class Mail
Michael J Napper                                                                     Address Redacted                                                                                                                                                                                                                      First -Class Mail
Michael James Morris                                                                 Address Redacted                                                                                                                                                                   Email Address Redacted                             EmailFirst-Class Mail
Michael James Silva                                                                  Address Redacted                                                                                                                                                                                                                      First -Class Mail
Michael Kotlerevsky                                                                  Address Redacted                                                                                                                                                                                                                      First -Class Mail
Michael Machuzak                                                                     Address Redacted                                                                                                                                                                                                                      First -Class Mail
Michael Marotta Md                                                                   Address Redacted                                                                                                                                                                                                                      First -Class Mail
Michael O Jones                                                                      Address Redacted                                                                                                                                                                                                                      First -Class Mail
Michael Page International Recruitment Ltd Inc.                                      Michael Page Intl Recruitment Inc            The Bourne Business Park                    1 Dashwood Lang Road            Addlestone, Weybridge KT15 2QW, UK    United Kingdom                                                         First -Class Mail
Michael Page Int'l                                                                   c/o Recruitment Private Ltd                  2 North Ave, 5th Fl                         Mumbai, 400051                  India                                                                                                        First -Class Mail
Michael Pisack                                                                       Address Redacted                                                                                                                                                                                                                      First -Class Mail
Michael Rainisch                                                                     Address Redacted                                                                                                                                                                                                                      First -Class Mail
Michael Scott Chester                                                                Address Redacted                                                                                                                                                                                                                      First -Class Mail
Michael Simmons                                                                      Address Redacted                                                                                                                                                                                                                      First -Class Mail
Michael Thomas Oppy                                                                  Address Redacted                                                                                                                                                                                                                      First -Class Mail
Michael Tran                                                                         Address Redacted                                                                                                                                                                                                                      First -Class Mail
Michael W Alabran                                                                    Address Redacted                                                                                                                                                                                                                      First -Class Mail
Michael W Schroeder                                                                  Address Redacted                                                                                                                                                                                                                      First -Class Mail
Michele Lee Biscossi                                                                 Address Redacted                                                                                                                                                                                                                      First -Class Mail
Michelle C Silvey                                                                    Address Redacted                                                                                                                                                                                                                      First -Class Mail
Michelle Christine Evangelista                                                       Address Redacted                                                                                                                                                                                                                      First -Class Mail
Michelle Jones                                                                       Address Redacted                                                                                                                                                                                                                      First -Class Mail
Michelle Silvey                                                                      Address Redacted                                                                                                                                                                                                                      First -Class Mail
Michigan Dept of Licensing & Regulatory Affairs                                      c/o Bureau of Professional Licensing         Ottawa Building                             611 W Ottawa                    P.O. Box 30004                        Lansing, MI 48909                                                      First -Class Mail
Michigan Dept of Treasury                                                            State Treasurer                              Austin Building                             430 W Allegan St                Lansing, MI 48922                                                                                            First -Class Mail
Michigan Dept of Treasury                                                            P.O. Box 30324                               Lansing, MI 48909-7824                                                                                                                                                                   First -Class Mail
Michigan Instruments Inc                                                             4717 Talon Ct SE                             Grand Rapids, MI 49512-5408                                                                                                                                                              First -Class Mail
Michigan Sgna                                                                        3807 Wrenwood Ct                             Midland, MI 48640-6619                                                                                                                                                                   First -Class Mail
Michigan Society of Interventional Radiology                                         P.O. Box 290                                 Novi, MI 48376-0290                                                                                                                                                                      First -Class Mail
Michigan State Treasurer                                                             Austin Bldg                                  430 W Allegan St                            Lansing, MI 48922                                                                                                                            First -Class Mail
Micorpore Inc.                                                                       100 Konica Dr                                Elkton, MD 21921                                                                                                                                                                         First -Class Mail
Micro Control Solutions                                                              Attn: Henry Feldman                          1113 Old Freehold Rd                        Toms River, NJ 08753-5205                                                                                                                    First -Class Mail
Micro Welding Advance S De Rl De Cv                                                  Av Islas De Java 492                         Mexicali, BC 21339                          Mexico                                                                                                                                       First -Class Mail
Microchip Technology Inc                                                             2355 W Chandler Blvd                         Chandler, AZ 85224-6199                                                                                                                                                                  First -Class Mail
Microchip Technology, Inc.                                                           2355 W Chandler Blvd                         Chandler, AZ 85224                                                                                                                                                                       First -Class Mail
MicroCool                                                                            Attn: Adam Murphy                            30670 Hill St                               Thousand Palms, CA 92276                                                                  Adam.murphy@microcool.com                          EmailFirst-Class Mail
Microdyne Plastics Inc                                                               1901 E Cooley Dr                             Colton, CA 92324-6322                                                                                                                                                                    First -Class Mail
Microflex Wire & Cable Inc                                                           2275 S Grand Ave                             Santa Ana, CA 92705-5206                                                                                                                                                                 First -Class Mail
MicroGroup Inc                                                                       Attn: Fran                                   7 Industrial Park Rd                        Medway, MA 02053                                                                          fflattery@microgroup.com                           EmailFirst-Class Mail
Micro-matics Inc                                                                     Attn: Tony Herbst, Robin Blesi               8050 Ranchers Rd NE                         Fridley, MN 55432                                                                         therbst@micro-matics.com; robin@micro-matics.com   EmailFirst-Class Mail
Micro-Matics Inc                                                                     Attn: Tony Herbst, Robin Blesi               8050 Ranchers Rd NE                         Fridley, MN 55432                                                                                                                            First -Class Mail
Micro-Matics Inc.                                                                    8050 Ranchers Rd                             Minneapolis, MN 55432                                                                                                                                                                    First -Class Mail
Micromold Inc                                                                        P.O. Box 51118                               Riverside, CA 92517-2118                                                                                                                                                                 First -Class Mail
Micromold Inc                                                                        2100 Iowa Ave                                Riverside, CA 92507-2413                                                                                                                                                                 First -Class Mail
Micronel Ag                                                                          Lättichstrasse 6, 6340 Baar                  Switzerland                                                                                                                                                                              First -Class Mail
Micronel Ag                                                                          Zurcherstrasse 51                            Tagelswangen, 8317                          China                                                                                                                                        First -Class Mail
MicroRus Medical                                                                     12, Nauchny Proezd                           117246, Moscow                              Russia                                                                                                                                       First -Class Mail
MicroRus Medical                                                                     Odesskaya str, 2, bld 1, fl 7                office III                                  Moscow, 117638                  Russia                                                                                                       First -Class Mail
Microscan Systems                                                                    700 SW 39th St                               Renton, WA 98057-2316                                                                                                                                                                    First -Class Mail
Microscan Systems Inc                                                                21547 Network Pl                             Chicago, IL 60673-1215                                                                                                                                                                   First -Class Mail
Microscan Systems Inc                                                                Attn: Teri De Marco                          101 Auburn Ct                               Peachtree City, GA 30269                                                                                                                     First -Class Mail
Microsemi Corporation                                                                1 Enterprise                                 Aliso Viejo, CA 92656                                                                                                                                                                    First -Class Mail
Microsoft Corp                                                                       700 SW 39th St                               Renton, WA 98057-2316                                                                                                                                                                    First -Class Mail
Microsoft Corp                                                                       1 Microsoft Way                              Redmond, WA 98052-6399                                                                                                                                                                   First -Class Mail
Microsoft Corporation                                                                1 Microsoft Way                              Redmond, WA 98052                                                                                                                                                                        First -Class Mail
Microsoft Licensing, Gp                                                              6100 Neil Rd                                 Reno, NV 89511                                                                                                                                                                           First -Class Mail
Mid Atlantic Grp Network of                                                          Shared Services Cooperative                  4823 E Trindle Rd, Ste 300                  Mechanicsburg, PA 17050-3642                                                                                                                 First -Class Mail
Mid Rivers Surgery Center                                                            5401 Veterans Memorial Pkwy, Ste 100         St Peters, MO 63376-1681                                                                                                                                                                 First -Class Mail
Mid South Pulmonary                                                                  5050 Poplar Ave, Ste 700                     Memphis, TN 38157                                                                                                                                                                        First -Class Mail
Mid State Pulmonary Associates                                                       300 20Th Ave N Ste G4                        Nashville, TN 37203                                                                                                                                                                      First -Class Mail
Mid-America Overseas Inc                                                             1480 Charles Willard St                      Carson, CA 90746-4010                                                                                                                                                                    First -Class Mail
Mid-Atlantic Computer Services Inc                                                   c/o Procustom Group & Acme Government        13030 Alondra Blvd, Ste 101                 Cerritos, CA 90703-2265                                                                                                                      First -Class Mail
Middlesex Hospital                                                                   28 Crescent St                               Middletown, CT 06457                                                                                                                                                                     First -Class Mail
Middletown Medical                                                                   111 Maltese Dr                               Middletown, NY 10940                                                                                                                                                                     First -Class Mail
Midland Medical Supply Co.                                                           4799 Bair Ave                                Lincoln, NE 68504                                                                                                                                                                        First -Class Mail
Midland Transport                                                                    100 Midland Dr                               Dieppe, NB E1A 6X4                          Canada                                                                                                                                       First -Class Mail
Midmichigan Health                                                                   4000 Wellness Dr                             Midland, MI 48670                                                                                                                                                                        First -Class Mail
Midstates Engineered Equipment Inc                                                   2244 Rose Ln                                 Pacific, MO 63069-1163                                                                                                                                                                   First -Class Mail
Midvale Indemnity Co (Bowhead)                                                       1411 Broadway, 38th Fl                       New York, NY 10018                                                                                                                                                                       First -Class Mail
Midvale Industries Inc                                                               P.O. Box 771370                              St Louis, MO 63177-2370                                                                                                                                                                  First -Class Mail
Midvale Industries Inc                                                               6310 Knox Industrial Dr                      St Louis, MO 63139-3025                                                                                                                                                                  First -Class Mail
Midwest Composite Technologies                                                       1050 Walnut Ridge Dr                         Hartland, WI 53029                                                                                                                                                                       First -Class Mail
Midwest Mechanical Group Inc                                                         801 Parkview Blvd                            Lombard, IL 60148-3230                                                                                                                                                                   First -Class Mail
Midwest Mechanical Group, Inc.                                                       801 Parkview Blvd                            Lombard, IL 60148                                                                                                                                                                        First -Class Mail
Midwest Products And Engineering, Inc.                                               10597 W Glenbrook Ct                         Milwaukee, WI 53224                                                                                                                                                                      First -Class Mail
Midwest Vacuum Inc                                                                   201 E Ogden Ave, Ste 15                      Hinsdale, IL 60521-3633                                                                                                                                                                  First -Class Mail
Miele Inc                                                                            9 Independence Way                           Princeton, NJ 08540-6621                                                                                                                                                                 First -Class Mail
Migesa Sa De Cv                                                                      Hidalgo Pte Col Obispado 2294                Monterrey, NL 64060                         Mexico                                                                                                                                       First -Class Mail
Miguel Estavillo                                                                     Address Redacted                                                                                                                                                                                                                      First -Class Mail
MII Acquisition LLC                                                                  c/o Michigan Instruments LLC                 4717 Talon Ct SE                            Grand Rapids, MI 49512-5408                                                                                                                  First -Class Mail
Mikasha Mikael Getachew                                                              Address Redacted                                                                                                                                                                                                                      First -Class Mail
Mike Grannan Vp Purchasing                                                           c/o Kindred Healthcare Operating Inc         680 S 4th St                                Louisville, KY 40202-2407                                                                                                                    First -Class Mail
Mike Kavanaugh                                                                       US Equal Employment Opportunity Commission   131 M St NE                                 Washington, DC 20507                                                                                                                         First -Class Mail
Mikro Prazision Welfried Nippe                                                       c/o Nippel Gmbh                              An Der Woeste 8                             Meinerzhagen, 58540             Germany                                                                                                      First -Class Mail
Mikro-Prazision Wilfried                                                             c/o Nippel GMBH                              An Der Woeste 8                             Meinerzhagen, 58540             Germany                                                                                                      First -Class Mail
Mikro-Prazision Wilfried Nippel GmbH                                                 Attn: Hartmut Nippel                         An Der Woeste 8                             Meinerzhagen, 58540             Germany                                                   h.nippel@mikropraezision.de                        First -Class Mail
Mikro-Prazision Wilfried Nippel Gmbh                                                 An Der Woeste 8                              58540 Meinerzhagen                          Germany                                                                                                                                      First -Class Mail
Milacron Inc                                                                         c/o Plastic Technology Group                 4165 Half Acre Rd                           Batavia, OH 45103-3247                                                                                                                       First -Class Mail
Milbank LLP                                                                          55 Hudson Yards                              New York, NY 10001-2163                                                                                                                                                                  First -Class Mail
Millcreek Community Hospital                                                         5515 Peach St                                Erie, PA 16509                                                                                                                                                                           First -Class Mail
Millennium Physicians                                                                1111 Medical Plaza Dr, Ste 250                                                                                                                                                                                                        First -Class Mail
Millennium Projects Services Co., Ltd.                                               House No 210 South Of Social                 Insurance Taif Branch, Block No. 22         Nakhil St.                      Khartoum                              Sudan                                                                  First -Class Mail
Millennium Projects Services Co., Ltd.                                               P.O. Box 8227                                Khartoum 12217                              Sudan                                                                                                                                        First -Class Mail
Millennium Research Group                                                            P.O. Box 9519                                Station A                                   Toronto, ON M5W 2K3             Canada                                                                                                       First -Class Mail
Millennium Research Group                                                            175 Bloor St E S Towe, Ste 701               Toronto, ON M4W 3R8                         Canada                                                                                                                                       First -Class Mail
Millennium Research Group, Inc.                                                      175 Bloor St E South Tower, Suite 400        Toronto, ON M4W 3R8                         Canada                                                                                                                                       First -Class Mail
Miller Heiman Group Inc                                                              10901 W Toller Dr, Ste 202                   Littleton, CO 80127-6325                                                                                                                                                                 First -Class Mail
Miltenyi Biotec Inc                                                                  2303 Lindbergh St                            Auburn, CA 95602-9562                                                                                                                                                                    First -Class Mail
Milton Kim Bertagnolli                                                               c/o MKB Ams Enterprises LLC                  5815 Delor St                               St Louis, MO 63109-3108                                                                                                                      First -Class Mail
Mimbres Memorial Hospital                                                            900 W Ash St                                 Deming, NM 88030                                                                                                                                                                         First -Class Mail
Mimic Studios Inc                                                                    Attn: Spike Milligan                         13360 Beach Ave                             Marina Del Rey, CA 90292                                                                  spike@mimicstudios.com                             EmailFirst-Class Mail
Minden Medical Center                                                                1 Medical Plaza Pi                           Minden, LA 71055                                                                                                                                                                         First -Class Mail
Mindy Faber                                                                          Address Redacted                                                                                                                                                                                                                      First -Class Mail
Miners Colfax Medical Center                                                         203 Hospital Dr                              Raton, NM 87740                                                                                                                                                                          First -Class Mail
Mini-Mover Conveyors                                                                 c/o Whipple Enterprises                      21150 Shake Ridge Rd                        Volcano, CA 95689-9779                                                                                                                       First -Class Mail
Ministry Health Care                                                                 P.O. Box 7                                   Stevens Point, WI 54481-0007                                                                                                                                                             First -Class Mail
Ministry Health Care                                                                 611 N St Joseph Ave                          Marshfield, WI 54449-1832                                                                                                                                                                First -Class Mail
Minitab Inc                                                                          1829 Pine Hall Rd                            State College, PA 16801-3210                                                                                                                                                             First -Class Mail
Minitab Inc.                                                                         3081 Enterprise Dr                           State College, PA 16801                                                                                                                                                                  First -Class Mail
Minivasive Medical LLC                                                               344 Dartmouth Way                            Freehold, NJ 07728-5372                                                                                                                                                                  First -Class Mail
Minnesota Dept of Revenue                                                            600 Robert St N                              St Paul, MN 55146                                                                                                                                                                        First -Class Mail
Minnesota Dept of Revenue                                                            Mail Station 1250                            St Paul, MN 55145-1250                                                                                                                                                                   First -Class Mail
Minnesota Office Technology Group                                                    aka MOTG                                     5600 Rowland Rd, Ste 205                    Minnetonka, MN 55343-4315                                                                                                                    First -Class Mail
Minnesota Revenue                                                                    Mail Stn 1250                                St Paul, MN 55145-1250                                                                                                                                                                   First -Class Mail
Minnesota Society for Respiratory Care                                               Attn: Susan Shipley                          490 Concordia Ave                           St Paul, MN 55103                                                                                                                            First -Class Mail
Minnesota Wire And Cable                                                             1835 Energy Park Dr                          St Paul, MN 55108                                                                                                                                                                        First -Class Mail
Minnetronix Inc                                                                      1635 Energy Park Dr                          St Paul, MN 55108-2703                                                                                                                                                                   First -Class Mail
Minnetronix, Inc.                                                                    1835 Energy Park Dr                          St Paul, MN 55108-2703                                                                                                                                                                   First -Class Mail
Minor Rubber Co Inc                                                                  Attn: Jeff Hillringhouse                     49 Ackerman St                              Boomfield, NJ 07003                                                                       JHillringhouse@minorrubber.com                     EmailFirst-Class Mail
Mipm Mammendorfer Institute Fur Physik Und Medizin Gmbh                              Oskar-Von-Miller Str 6                       82291 Mammendorf                            Germany                                                                                                                                      First -Class Mail
Miro Sp Zoo                                                                          Minska 25B Lok U1                            Warszawa, 03-808                            Poland                                                                                                                                       First -Class Mail
Miro Sp Zoo                                                                          Minska 25B Lok U1                            03-808                                      Poland                                                                                                                                       First -Class Mail
Miro Sp. Z.O.O.                                                                      Ul Minska 25B Lok Ui                         03-808 Warszawa                             Poland                                                                                                                                       First -Class Mail
Mirth Co                                                                             Attn: Anthony Leon                           611 Anton, Ste 500                          Costa Mesa, CA 92626                                                                                                                         First -Class Mail
Mission Plastics Inc                                                                 1930 S Parco Ave                             Ontario, CA 91761-8312                                                                                                                                                                   First -Class Mail
Mission Plastics Inc                                                                 Attn: Felix Rozuk                            1930 S Parco Ave                            Ontario, CA 91761                                                                                                                            First -Class Mail
Mission Plastics Inc.                                                                1500 S Hellman Ave,                          Ontario, CA, 91761                                                                                                                                                                       First -Class Mail
Mississippi Department of Revenue                                                    c/o Bankruptcy Section                       P.O. Box 22808                              Jackson, MS 39225-2808                                                                    bankruptcy@dor.ms.gov                              EmailFirst-Class Mail
Mississippi Dept of Revenue                                                          P.O. Box 1033                                Jackson, MS 39215-1033                                                                                                                                                                   First -Class Mail
Mississippi Dept of Revenue                                                          P.O. Box 23191                               Jackson, MS 39225-3191                                                                                                                                                                   First -Class Mail
Mississippi Secretary of State                                                       P.O. Box 1020                                Jackson, MS 39215-1020                                                                                                                                                                   First -Class Mail
Missoula Surgical Associates                                                         c/o Cyan Sportsman                           P.O. Box 7817                               Missoula, MT 59807-7817                                                                                                                      First -Class Mail
Missouri American Water Co                                                           P.O. Box 94551                               Palatine, IL 60094-4551                                                                                                                                                                  First -Class Mail
Missouri American Water Co                                                           P.O. Box 5600                                Cherry Hill, NJ 08034-0590                                                                                                                                                               First -Class Mail
Missouri Board of Pharmacy                                                           P.O. Box 7003                                Jefferson City, MO 65102                                                                                                                                                                 First -Class Mail
Missouri Dept of Natural Resources                                                   Hazardous Waste Program                      1730 E Elm St                               Jefferson City, MO 65101-4130                                                                                                                First -Class Mail
Missouri Dept of Revenue                                                             P.O. Box 700                                 Jefferson City, MO 65105-0700                                                                                                                                                            First -Class Mail
Missouri Dept of Revenue                                                             P.O. Box 840                                 Jefferson City, MO 65105-0840                                                                                                                                                            First -Class Mail
Missouri Division of Professional Registration                                       c/o Board of Pharmacy                        P.O. Box 625                                Jefferson City, MO 65102                                                                                                                     First -Class Mail
Missouri Division of Professional Registration                                       c/o Board of Pharmacy                        3605 Missouri Blvd                          Jefferson City, MO 65109                                                                                                                     First -Class Mail
Missouri Tools Co Inc                                                                1562 Fenpark Dr                              Fenton, MO 63026-2916                                                                                                                                                                    First -Class Mail
Missy D Consulting, LLC                                                              Address Redacted                                                                                                                                                                                                                      First -Class Mail
Misumi of The Americas Inc                                                           1105 Remington Rd, Ste B                     Schaumburg, IL 60173                                                                                                                                                                     First -Class Mail
Misumi USA Inc                                                                       26797 Network Pl                             Chicago, IL 60673-1267                                                                                                                                                                   First -Class Mail
Mitchell County Reg Health Ctr                                                       616 N 8Th St                                 Osage, Iowa 50461                                                                                                                                                                        First -Class Mail
Mitchell Magee                                                                       Address Redacted                                                                                                                                                                                                                      First -Class Mail
Mitsubishi Chemical Advanced                                                         c/o Materials Inc                            1705 N 48th St                              Mesa, AZ 85205-3241                                                                                                                          First -Class Mail
Mitsubishi Chemical Advanced Materials Inc.                                          1705 N 48Th St                               Mesa, AZ 85205                                                                                                                                                                           First -Class Mail

Mitsubishi Electric Power Products, Inc. (Dba Computer Protection Technology (Cpt)   1215 Pacific Oaks Pl, Ste 106                Escondido, CA 92029                                                                                                                                                                      First -Class Mail
Mitsubishi Logistics America Corp                                                    11934 S La Cienega Blvd                      Hawthorne, CA 90250-3465                                                                                                                                                                 First -Class Mail
Mizuho Bank, Ltd New York                                                            1271 Ave of the Americas                     New York, NY 10020                                                                                                                                                                       First -Class Mail
MJB Freight Systems Inc                                                              10845 Koontz Ave                             Santa Fe Springs, CA 90670-4409                                                                                                                                                          First -Class Mail
Mk Products                                                                          16882 Armstrong Ave                          Irvine, CA 92606                                                                                                                                                                         First -Class Mail
ML Products LLC                                                                      P.O. Box 1700                                Noble, OK 73068-1700                                                                                                                                                                     First -Class Mail
Ml Products LLC                                                                      1101 Maguire Rd                              Noble, OK 73068                                                                                                                                                                          First -Class Mail
Mlc & Associates Inc                                                                 c/o Mlc Management Consulting Inc            3525 Hyland Ave                             Costa Mesa, CA 92626-1442                                                                                                                    First -Class Mail
Mlc Cad Systems Inc                                                                  c/o Teamworx Systems Inc                     1201 S Innovation Way Lot 300               Stillwater, OK 74074-1580                                                                                                                    First -Class Mail
M-Line Inc                                                                           2906 Nationwide Pkwy                         Brunswick, OH 44212-2364                                                                                                                                                                 First -Class Mail
Mma Securities LLC                                                                   7225 Northland Dr N                          Minneapolis, MN 55428-1571                                                                                                                                                               First -Class Mail
MMIS Inc                                                                             100 International Dr, Ste 350                Portsmouth, NH 03801                                                                                                                                                                     First -Class Mail
Mmis Inc                                                                             100 International Dr, Ste 350                Portsmouth, NH 03801-6851                                                                                                                                                                First -Class Mail
Mobi Wireless Management LLC                                                         6100 W 96th St, Ste 150                      Indianapolis, IN 46278-6009                                                                                                                                                              First -Class Mail
Mobile County                                                                        P.O. Drawer 161009                           Mobile, AL 36616                                                                                                                                                                         First -Class Mail
Mobile Medical Training Unit                                                         21 Chapel Hill Ct                            Sparta, NJ 07871-2743                                                                                                                                                                    First -Class Mail
Mobile Screen                                                                        Attn: Jeffrey Scot Nelson                    P.O. Box 1082                               Catoosa, OK 74015-1082                                                                                                                       First -Class Mail
Mobilepoint Corp                                                                     4695 Macarthur Ct, Ste 1100                  Newport Beach, CA 92660-1866                                                                                                                                                             First -Class Mail
Mobridge Regional Hospital                                                           1401 10Th Ave W                              Mobridge, SD 57601-1106                                                                                                                                                                  First -Class Mail
Mocap LLC                                                                            Attn: Mattew Hull                            409 Parkway Dr                              Park Hills, MO 63061                                                                      mhull@mocap.com                                    EmailFirst-Class Mail
Mode Transportation Inc                                                              17330 Preston Rd, Ste 200C                   Dallas, TX 75252-6035                                                                                                                                                                    First -Class Mail
Mode Transportation, Llc                                                             17330 Preston Rd, Ste 200C                   Dallas, TX 75252                                                                                                                                                                         First -Class Mail
Model Solution                                                                       24 Beotkkot-Ro                               20-gil, Geumcheon-gu                        Seoul, 08582                    Korea                                                                                                        First -Class Mail
Model Solutions                                                                      24 Beotkkot-Ro 20-Gil                        Geumcheon Seoul, 08582                      Korea                                                                                                                                        First -Class Mail
Modern Concepts Inc                                                                  3121 E Ana St                                E Rancho Dominguez, CA 90221-5606                                                                                                                                                        First -Class Mail
Modern Marketing Concepts                                                            29 Industrial Park Dr                        Binghamton, NY 13904                                                                                                                                                                     First -Class Mail
Modern Silicone Technolog                                                            2345 Waukegan Rd, Ste 155                    Bannockburn, IL 60015-1592                                                                                                                                                               First -Class Mail
Modern Silicone Technology                                                           5777 Myerlake Cir                            Clearwater, FL 33760-2804                                                                                                                                                                First -Class Mail
Modmed Therapeutics Inc                                                              203 81st St                                  Virginia Beach, VA 23451-1934                                                                                                                                                            First -Class Mail
Modus Advanced Inc                                                                   fka Western Rubber                           Attn: Sue Peterson                          1575 Greenville Rd              Livermore, CA 94550                                       speterson@westernrubber.com                        EmailFirst-Class Mail
Moffit Cancer Center                                                                 12902 Usf Magnolia Dr                        Tampa, FL 33612-9416                                                                                                                                                                     First -Class Mail
Mogomane Khomotso Yvonne                                                             c/o Masemola                                 Kalafong Tertiary Hospital                  Pretoria, 0008                  South Africa                                                                                                 First -Class Mail
Mohawk Hospital Equipment, Inc.                                                      335 Columbia Street                          Utica, NY 13502                                                                                                                                                                          First -Class Mail
Mohit Ahlawat                                                                        Address Redacted                                                                                                                                                                                                                      First -Class Mail
Mold Masters                                                                         Dept 6927                                    75 Remittance Dr                            Chicago, IL 60675-6927                                                                                                                       First -Class Mail
Mold Masters                                                                         233 Armstrong Ave                            Georgetown, ON L7G 4X5                      Canada                                                                                                                                       First -Class Mail
Molded Rubber & Plastic Corp                                                         P.O. Box 246                                 Butler, WI 53007-0246                                                                                                                                                                    First -Class Mail
Molded Rubber & Plastic Corp                                                         13161 W Glendale Ave                         Butler, WI 53007-1806                                                                                                                                                                    First -Class Mail
Molding Automation Concepts Inc                                                      1760 Kilkenny Ct                             Woodstock, IL 60098-7437                                                                                                                                                                 First -Class Mail
Moldpro Inc                                                                          36 Denman Thompson Hwy                       Swanzey, NH 03446-3003                                                                                                                                                                   First -Class Mail
Moldpro, Inc.                                                                        36 Denman Thompson Hwy                       Swanzey, NH 03446                                                                                                                                                                        First -Class Mail
Moldtech Inc.                                                                        1900 Commerce Pkwy                           Lancaster, NY 14086                                                                                                                                                                      First -Class Mail
Molecular Products                                                                   633 Ctc                                      Louisville, CO 80027                                                                                                                                                                     First -Class Mail
Molecular Products Inc                                                               6837 Winchester Cir                          Boulder, CO 80301-3530                                                                                                                                                                   First -Class Mail
Molecular Products Limited                                                           Mill End, Thaxted                            Essex CM6 2LT                               United Kingdom                                                                                                                               First -Class Mail
Molecular Products Ltd                                                               Parkway Harlow Business Park                 Harlow, ES CM19 5FR                         United Kingdom                                                                                                                               First -Class Mail
Molex Inc                                                                            P.O. Box 101853                              Atlanta, GA 30392-1853                                                                                                                                                                   First -Class Mail
Momen Wahidi                                                                         Address Redacted                                                                                                                                                                                                                      First -Class Mail
Momentive Inc                                                                        fka Survey Monkey                            Attn: Denny Foran                           One Curiosity Way               San Mateo, CA 94403                                                                                          First -Class Mail
Momentum Social Ltd                                                                  1&3 Kings Meadow                             Oxford, OX OX2 0DP                          United Kingdom                                                                                                                               First -Class Mail
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Monday.com Ltd                                      Menachem Begin 52                               Tel Aviv, 06 6713701                       Israel                                                                                                 First -Class Mail
Monday.Com Ltd                                      6 Yitzhak Sadeh St                              Tel-Aviv, 6777506                          Israel                                                                                                 First -Class Mail
Monday.Com Ltd (Israel)                             52 Menachem Begin St                            Tel Aviv 6713701                           Israel                                                                                                 First -Class Mail
Monday.Com, Ltd                                     52 Menachem Begin Road                          Tel Aviv, 6713701                          Israel                                                                                                 First -Class Mail
Monica Cota Romero                                  Address Redacted                                                                                                                                                                                  First -Class Mail
Monigle Associates Inc                              Attn: C Gunner Jacobs                           150 Adams St                               Denver, CO 80206                                                                                       First -Class Mail
Monocl                                              Redegatan 1B                                    426 77 Vastra Frolunda                     Sweden                                                                                                 First -Class Mail
Monocl Ab                                           Redegatan 1B                                    Vastra Frolunda, 42677                     Sweden                                                                                                 First -Class Mail
Monroe County Hospital                              P.O. Box 1068                                   Forsyth, GA 31029                                                                                                                                 First -Class Mail
Montal Sh.P.K.                                      Rr Dervish Hima, 3 Kullat, K3 A9/2              Tirana                                     Albania                                                                                                First -Class Mail
Montana Board of Pharmacy                           301 S Park, 4th Fl                              Helena, MT 59620-0513                                                                                                                             First -Class Mail
Montana Board of Pharmacy                           c/o Board of Pharmacy                           P.O. Box 200513                            Helena, MT 59620-0513                                                                                  First -Class Mail
Montana Board of Pharmacy                           c/o Board of Pharmacy                           301 S Park Ave, 4th Fl                     Helena, MT 59620                                                                                       First -Class Mail
Montana Dept of Revenue                             P.O. Box 8021                                   Helena, MT 59604-8021                                                                                                                             First -Class Mail
Montana Wyoming Chapter                             c/o American College of Surgeons                P.O. Box 3700                              Billings, MT 59107-7000                                                                                First -Class Mail
Montefiore Health System                            111 E 210th St                                  Bronx, NY 10467                                                                                                                                   First -Class Mail
Montefiore Medical Center                           600 E 233Rd St Rcvng Bronx Blvd Near 233Rd St   Bronx, NY 10466                                                                                                                                   First -Class Mail
Montefiore Medical Center                           1600 Tenbroeck Ave                              Bronx, NY 10461                                                                                                                                   First -Class Mail
Montefiore Medical Center                           600 E 233Rd St                                  Bronx, NY 10466                                                                                                                                   First -Class Mail
Montgomery County                                   Commission Tax & Audit Dept                     P.O. Box 4779                              Montgomery, AL 36103-4779                                                                              First -Class Mail
Monument Health Rapid City Hospital Inc             353 Fairmont Blvd Receiving                     Rapid City, SD 57701                                                                                                                              First -Class Mail
Moody's Investors Service, Inc                      Attn: John Brigantino                           250 Greenwich St                           New York, NY 10007                                                 john.brigantino@moodys.com          EmailFirst-Class Mail
Moog Components Group Inc                           Attn: Robbie Queen, Steve Baker                 1995 NC Hwy 141                            Murphy, NC 28906                                                   rqueen@moog.com; SBaker2@moog.com   EmailFirst-Class Mail
Moog Components Group, Inc                          Attn: Robbie Queen, Steve Baker                 1995 NC Hwy 141                            Murphy, NC 28906                                                                                       First -Class Mail
Moog In. Murphy Operations (North Carolina)         1995 Nc Hwy 141                                 Murphy, NC 28906                                                                                                                                  First -Class Mail
MOOG Inc                                            c/o Moog Components Group                       1995 Nc Hwy 141                            Murphy, NC 28906-6864                                                                                  First -Class Mail
Moog, Inc.                                          1995 Nc Hwy 141                                 Murphy, NC 28906                                                                                                                                  First -Class Mail
Mooney Industrials                                  16162 Beach Blvd, Ste 260                       Huntington Beach, CA 92647                                                                                                                        First -Class Mail
Morehead Construction LLC                           P.O. Box 373                                    Locust Grove, OK 74352-0373                                                                                                                       First -Class Mail
Morehead Construction LLC                           102 Ewing                                       Locust Grove, OK 74352-9023                                                                                                                       First -Class Mail
Morgan Lewis & Bockius LLP                          600 Anton Blvd, Ste 1800                        Costa Mesa, CA 92626-7653                                                                                                                         First -Class Mail
Morgan Sartor                                       Address Redacted                                                                                                                                                                                  First -Class Mail
Morgan Stanley Bank NA                              1585 Broadway                                   New York, NY 10036                                                                                                                                First -Class Mail
Morphix Design                                      68 Via Sonrisa                                  San Clemente, CA 92673                                                                                                                            First -Class Mail
Morris James LLP                                    Attn: Brya Keilson                                                                                                                                            bkeilson@morrisjames.com            Email
Morris James LLP                                    Attn: Eric Monzo/Brya Keilson                   Attn: Siena Cerra                          500 Delaware Ave, Ste 1500        Wilmington, DE 19801             emonzo@morrisjames.com              EmailFirst-Class Mail
Morris James LLP                                    Attn: Siena Cerra                                                                                                                                             scerra@morrisjames.com              Email
Morris, Zachary                                     2799 W Grand Blvd                               Detroit, MI 48202                                                                                                                                 First -Class Mail
Morrison Express Corp                               2000 Hughes Way                                 El Segundo, CA 90245                                                                                                                              First -Class Mail
Morrison Express Corporation                        371 Meyer Rd                                    Bensenville, IL 60106                                                                                                                             First -Class Mail
Morristown Hamblen Hc System                        908 W 4Th N St                                  Morristown, TN 37814                                                                                                                              First -Class Mail
Morton Plant Hospital                               300 Pinellas St                                 Clearwater, FL 33576                                                                                                                              First -Class Mail
Motion Industries                                   P.O. Box 98412                                  Chicago, IL 60693-8412                                                                                                                            First -Class Mail
Motion Industries                                   5695 Oakbrook Pkwy, Ste A                       Norcross, GA 30093-1837                                                                                                                           First -Class Mail
Motus LLC                                           1 Beacon St, 15th Fl                            Boston, MA 02108-3107                                                                                                                             First -Class Mail
Motus Operations, Llc                               Two Financial Center                            60 S St                                    Boston, MA 02111                                                                                       First -Class Mail
Mougel, Laurence (The Surgical Company)             The Surgical Company                            26 Rue de la Montee                        68720 Flaxlanden                  France                                                               First -Class Mail
Moulds Plus Int'l Usa Inc                           1521 E Mcfadden Ave, Ste G                      Santa Ana, CA 92705-4318                                                                                                                          First -Class Mail
Mount Carmel Health System                          6001 E Broad St                                 Columbus, OH 43213                                                                                                                                First -Class Mail
Mount Sinai Beth Israel                             7 Irving Pl Between 14Th St & 15T St            New York, NY 10003                                                                                                                                First -Class Mail
Mount Sinai Beth Israel                             10 Union Sq E, Ste 2A                           New York, NY 10003                                                                                                                                First -Class Mail
Mount Sinai Medical Center                          1 Gustave L Levy Pl                             New York, NY 10029-6504                                                                                                                           First -Class Mail
Mountain States Pulmonary And Critical Care         5957 Fashion Point Dr Critical Care             Ogden, UT 84403                                                                                                                                   First -Class Mail
Mountain Tech Manufacturing                         c/o Ohio Mountain Tech LLC                      92 Talamine Ct                             Colorado Springs, CO 80907-5159                                                                        First -Class Mail
Mountainview Regional Med Ctr                       4311 E Lohman Ave                               Las Cruces, NM 88011                                                                                                                              First -Class Mail
Mountainview Regional Medical Center                4311 E Lohman Ave                               Las Cruces, NM 88011                                                                                                                              First -Class Mail
Mountz Inc                                          1080 N 11th St                                  San Jose, CA 95112-2927                                                                                                                           First -Class Mail
Mouser Electronics                                  1000 N Main St                                  Mansfield, TX 76063                                                                                           tana.armitage@mouser.com            EmailFirst-Class Mail
Mouser Electronics                                  1000 N Main St                                  Mansfield, TX 76063                                                                                                                               First -Class Mail
MP Technologies Srl                                 Viale Trento E Trieste                          2 Biassono                                 Monza E Brianza, 20853            Italy                                                                First -Class Mail
MP Technologies Srl                                 Corso Susa, 242                                 10098 Rivoli, TO                           Italy                                                                                                  First -Class Mail
Mpc Executive Search Services                       114 Washington St, Ste 201                      Gainesville, GA 30501                                                                                                                             First -Class Mail
Mpi Morheat Inc                                     21 Meteor Dr                                    Toronto, ON M9W 1A3                        Canada                                                                                                 First -Class Mail
MPX Minuteman                                       Attn: Ryan Johnson                              8043 Lewis Rd                              Golden Valley, CA 55427                                            rjohnson@thempxgroup.com            EmailFirst-Class Mail
Mr Diagnostic S.R.O.                                Mr Diagnostic Sro                               Pod Visnovkou1662/ 21                      140000 Prague                     Czech Republic                                                       First -Class Mail
Mr Diagnostic Sro                                   Pod Visnovkou 21 Praha                          Prague, 14000                              Czech Republic                                                                                         First -Class Mail
Mrpc                                                13161 W Glendale Ave                            P.O. Box 246                               Butler, WI 53007                                                                                       First -Class Mail
MSA Consulting Inc                                  Attn: Nicole Vann                               34200 Bob Hope Dr                          Rancho Mirage, CA 92270                                            nvann@msaconsultinginc.com          EmailFirst-Class Mail
MSC Industrial Supply Co                            Attn: Mike Osolinski                            75 Maxess Red                              Melville, NY 11747                                                 osolinsm@mscdirect.com              EmailFirst-Class Mail
Msc Industrial Supply Co Inc                        Attn: Mike Osolinski                            75 Maxess Red                              Melville, NY 11747                                                                                     First -Class Mail
MSC Technologies Systems GMBH                       Torfstecherring 6                               Ludwigshafen, 67067                        Germany                                                                                                First -Class Mail
Msco Inc                                            200 E Appleton Ave                              Sheffield, AL 35660-3458                                                                                                                          First -Class Mail
Msdsonline (Velocityehs)                            222 Merchandise Mart Plz, Ste 1750              Chicago, IL 60654                                                                                                                                 First -Class Mail
Msdsonline Inc                                      c/o Velocity Ehs                                222 Merchandise Mart Plz, Ste 1750         Chicago, IL 60654-4243                                                                                 First -Class Mail
Mshcsp Michigan Society For                         Health Care Ctrl Serv Prof D Halstead           620 Byron Rd                               Howell, MI 48843-1002                                                                                  First -Class Mail
M-Solv Ltd                                          Unit 8 Oxonian Park Langford Locks              Kidlington OX5 1FP                         United Kingdom                                                                                         First -Class Mail
MSP Corp                                            c/o EB 117                                      P.O. Box 1691                              Minneapolis, MN 55480-1691                                                                             First -Class Mail
Msp Corp                                            5910 Rice Creek Pkwy, Ste 300                   St Paul, MN 55126-5028                                                                                                                            First -Class Mail
Mt Hawley Ins Co                                    3655 N Point Pkwy, Ste 400                      Alpharetta, GA 30005                                                                                                                              First -Class Mail
MT-G Medical Translation                            Stuttgarter Strabe 115                          Ulm, 89075                                 Germany                                                                                                First -Class Mail
Mt-G Medical Translation Gmbh & Co. Kg              Stuttgarter Strasse 155                         89075 Ulm                                  Germany                                                                                                First -Class Mail
Mth Medical Gmbh                                    Heinrich-Schicht-Str 4                          DE-42499 Huckeswagen                       Germany                                                                                                First -Class Mail
Mti De Baja, Inc.                                   915 Industrial Way                              San Jacinto, CA 92582                                                                                                                             First -Class Mail
Mubin Syed Md                                       Address Redacted                                                                                                                                                                                  First -Class Mail
Muhan Cao                                           Address Redacted                                                                                                                                                                                  First -Class Mail
Muharem Gas                                         Address Redacted                                                                                                                                                                                  First -Class Mail
Multi Color Label Corporation Mexico S.A. De C.V.   Eugenio Cuzin 1085                              Parque Industrial Belenes Norte            C.P. 45150                        Zapopan, Jalisco        Mexico                                       First -Class Mail
Multi Tool & Supply Inc                             Attn: Raymond Nelson                            423 W California St                        Ontario, CA 91762                                                  ray-nels@verizon.net                EmailFirst-Class Mail
Multisource Prp Inc                                 3836 Wacker Dr                                  Mira Loma, CA 91752-1147                                                                                                                          First -Class Mail
Multivac Inc                                        Dept CH 17573                                   Palatine, IL 60055-7573                                                                                                                           First -Class Mail
Multivac Inc                                        11021 NW Pomona Ave                             Kansas City, MO 64153                                                                                                                             First -Class Mail
Multiview Inc                                       Attn: Dan MacKinnon                             7701 Las Colinas Ridge, Ste 800            Irving, TX 75063                                                   dmackinnon@multiview.com            EmailFirst-Class Mail
Muneeb Syed Hassan                                  Address Redacted                                                                                                                                                                                  First -Class Mail
Municipal Tool & Machinery Co Inc                   2465 Rock Island Blvd                           Maryland Heights, MO 63043-3520                                                                                                                   First -Class Mail
Munson Healthcare                                   c/o Receiving                                   1465 E Parkdale Ave                        Manistee, MI 49660                                                                                     First -Class Mail
Munson Healthcare Charlevoix Hospital               14700 Lake Shore Dr                             Charlevoix, MI 49720-1931                                                                                                                         First -Class Mail
Munson Medical Center                               c/o Receiving                                   1105 6th St                                Traverse City, MI 49684                                                                                First -Class Mail
Murray Womble Inc                                   8150 N 116th East Ave                           Owasso, OK 74055-2646                                                                                                                             First -Class Mail
Murtaza Lakdawala                                   Address Redacted                                                                                                                                                                                  First -Class Mail
Muscat Pharmacy & Stores Llc                        P.O. Box 438                                    Muscat 100                                 Oman                                                                                                   First -Class Mail
Muscogee Creek Nation Department Of Health          10109 E 79Th St                                 Tulsa, OK 74133                                                                                                                                   First -Class Mail
Mutou                                               5464, Uchimoriyamachi                           Joso, 303-0043                             Japan                                                                                                  First -Class Mail
MV Credit Partners LLP                              45 Old Bond St                                  London, W1S 4QT                            United Kingdom                                                                                         First -Class Mail
MVAP Medical Supplies Inc                           1415 Lawrence Dr                                Newbury Park, CA 91320-1396                                                                                                                       First -Class Mail
Mvap Medical Supplies Inc.                          2001 Corporate Center Dr, Ste 250               Thousand Oaks, CA 91320                                                                                                                           First -Class Mail
My Office Inc                                       6060 Nancy Ridge Dr, Ste 100                    San Diego, CA 92121                                                                                                                               First -Class Mail
N Z Techno Handels                                  Gonzagagasse 11/13                              Vienna, A - 1010                           Austria                                                                                                First -Class Mail
N3                                                  3565 Piedmont Rd Ne, Bldg 3, Ste 650            Atlanta, GA 30305                                                                                                                                 First -Class Mail
Nada Koussa                                         Address Redacted                                                                                                                                                                                  First -Class Mail
Nadia F Stachowicz                                  Address Redacted                                                                                                                                                                                  First -Class Mail
Naila Bukhari                                       Address Redacted                                                                                                                                                                                  First -Class Mail
Nairobi Enterprises Ltd                             Saachi Plaza-Argwing Kodhek Rd                  B Wing-B1 Hurlingham                       Nairobi, 00100                    Kenya                                                                First -Class Mail
Nairobi Enterprises Ltd.                            P.O. Box 42367-00100 Saachi Plz Argwi           Nairobi, 00100                             Kenya                                                                                                  First -Class Mail
Nalco Co LLC                                        dba Nalco Water Pretreatment Solutions LLC      1961 Petra Ln                              Placentia, CA 92870                                                                                    First -Class Mail
Nalco Crossbow Water LLC                            24658 Network Pl                                Chicago, IL 60673-0001                                                                                                                            First -Class Mail
Nalco Crossbow Water LLC                            320 W 194th St                                  Glenwood, IL 60425-1502                                                                                                                           First -Class Mail
Nalco US 2 Inc                                      c/o Nalco Water Pretreatment Solutions          704 Richfield Rd                           Placentia, CA 92870-6760                                                                               First -Class Mail
Nalco, Cal Water                                    Attn: Homer Villarreal                          1961 Petra Ln                              Placentia, CA 92870                                                home@cal-water.com                  EmailFirst-Class Mail
Nam Nguyen                                          Address Redacted                                                                                                                                                                                  First -Class Mail
Name Redacted 1013                                  Address Redacted                                                                                                                                                                                  First -Class Mail
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Name Redacted 3011                                                       Address Redacted                                                                                                                                                                                                 First -Class Mail
Name Redacted 306                                                        Address Redacted                                                                                                                                                                                                 First -Class Mail
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Nami Azar Md                                                             Address Redacted                                                                                                                                                                                                 First -Class Mail
Namsa Medical Research Organization                                      400 Hwy 169 S, Ste 500                                           Minneapolis, MN 55426                                                                                                                           First -Class Mail
Namsa OH                                                                 Address Redacted                                                                                                                                                                                                 First -Class Mail
Namsa Oh                                                                 Address Redacted                                                                                                                                                                                                 First -Class Mail
Nan Jong Trading Co., Ltd.                                               No 69 Section 1, Kaifong St Zhongzheng Dist                      Taipei City 100001                                           Taiwan                                                                             First -Class Mail
Nanchang Jianle Medical Instrument Co., Ltd                              No 258, Meiling Road, High-Tech Zone                             Nanchang, Jiangxi                                            China                                                                              First -Class Mail
Nanchang Jianle Medical Instrument Co., Ltd                              No 258, Meiling Road, High-Tech Zone, Nanchang, Jiangxi, China   Nanchang, Jiangxi                                            China                                                                              First -Class Mail
Nanchang Renpeng Trading Co. Ltd.                                        No 69, Lidu Avenue                                               Lidu Town                                                    Nanchang, Jiangxi Province        China                                            First -Class Mail
Nancy Hulme                                                              Address Redacted                                                                                                                                                                                                 First -Class Mail
Nanette L Wilson                                                         Address Redacted                                                                                                                                                                                                 First -Class Mail
Nanjing Dongmiao Technology Co., Ltd.                                    No 12, Xiongzhou Industrial Park                                 Nanjing, Jiangsu                                             China                                                                              First -Class Mail
Nanjing Lianghui Medical Instrucment Co.,Ltd.                            Room 1005, Unit 1, Building 1, No 1 Hongsheng Road               Jiangbei New Area, Nanjing City                              China                                                                              First -Class Mail
NanoScience Instruments                                                  9831 S 51st St                                                   Phoenix, AZ 85044                                                                                                                               First -Class Mail
Narasimhan Jagannathan Md                                                Address Redacted                                                                                                                                                                                                 First -Class Mail
Narrative Strategies LLC                                                 1401 H St NW, Ste 750                                            Washington, DC 20005-2022                                                                                                                       First -Class Mail
Nash General Hospital                                                    2460 Curtis Ellis Dr                                             Rocky Mount, NC 27804                                                                                                                           First -Class Mail
Nat Sclafani                                                             Address Redacted                                                                                                                                                                                                 First -Class Mail
Natalie Beth Davis                                                       Address Redacted                                                                                                                                                                                                 First -Class Mail
Natchitoches Regional Med Ctr                                            501 Keyser Ave                                                   Natchitoches, LA 71457                                                                                                                          First -Class Mail
Natel Engineering Co Dba Neo Tech                                        9340 Owensmouth Ave                                              Chatsworth, CA 91311                                                                                                                            First -Class Mail
Nathan Lake                                                              Address Redacted                                                                                                                                                                                                 First -Class Mail
Nathan Welch                                                             Address Redacted                                                                                                                                                                                                 First -Class Mail
Nathen B Galvin                                                          Address Redacted                                                                                                                                                                                                 First -Class Mail
National Assoc of Boards of Pharmacy (NABP)                              Attn: Customer Svc                                               1600 Feehanville Dr                                          Mt Prospect, IL 60056                                     custserv@nabp.net        EmailFirst-Class Mail
National Assoc of Boards of Pharmacy (Nabp)                              1600 Feehanville Dr                                              Mt Prospect, IL 60056-6014                                                                                                                      First -Class Mail
National Breast Cancer Foundation I                                      2600 Network Blvd, Ste 300                                       Frisco, TX 75034-6010                                                                                                                           First -Class Mail
National Cable Molding Division Of National Wire And Cable Corporation   136 San Fernando Rd                                              Los Angeles, CA 90031                                                                                                                           First -Class Mail
National Center For Medical Supplies                                     21 Saeid Lamber Street                                           AL-Bayader, Industrial Zone, Beside the Civil Defense Bldg   P.O. Box 649                      Amman 11831    Jordan                            First -Class Mail
National Center For Medical Supplies                                     21 Saeid Lamber St, AL-Bayader                                   Indust Zone, Beside the Civil Defense Bldg                   P.O. Box 649                      Amman 11831    Jordan                            First -Class Mail
National Distributing & Contracting, Inc. Dba Ndc Homecaare              402 Bna Dr, Ste 500                                              Nashville, TN 37217                                                                                                                             First -Class Mail
National Distributing Contracting                                        402 Bna Dr, Ste 500                                              Nashville, TN 37217                                                                                                                             First -Class Mail
National Electro-Tech Pvt Limited                                        2nd Fl, House No 283                                             Devkota Sadak, New Baneshwor                                 P.O. Box 9970                     Kathmandu      Nepal                             First -Class Mail
National Electro-Tech Pvt. Limited                                       2Nd Floor, House No 283                                          Devkota Sadak, New Baneshwor                                 P.O. Box 9970                     Kathmandu      Nepal                             First -Class Mail
National Fire Suppression                                                c/o Western States Fire Protection Co                            54 Worthington Access Dr                                     Maryland Heights, MO 63043-3806                                                    First -Class Mail
National Instruments                                                     P.O. Box 202262                                                  Dallas, TX 75320-2262                                                                                                                           First -Class Mail
National Instruments                                                     11500 N Mopac Expwy                                              Austin, TX 78759                                                                                                                                First -Class Mail
National Instruments                                                     11500 N Mopac Expressway                                         Austin, TX 78759-3504                                                                                                                           First -Class Mail
National Instruments Corp                                                Nationa                                                          P.O. Box 202262                                              Dallas, TX 75320-2262                                                              First -Class Mail
National Pump & Compressor Ltd                                           3385 W Cardinal Dr                                               Beaumont, TX 77705-4416                                                                                                                         First -Class Mail
National Records Storage Inc                                             1433 Strassner Dr                                                St Louis, MO 63144-1848                                                                                                                         First -Class Mail
National Technical System                                                24007 Ventura Blvd, Ste 200                                      Calabasas, CA 91302                                                                                                                             First -Class Mail
National Union Fire Ins Co of Pittsburgh, PA                             1271 Ave of the Americas, 35th Fl                                New York, NY 10020-1304                                                                                                                         First -Class Mail
National Union Fire Insurance Company Of Pittsburgh,                     1650 Market St, Ste 3900                                         Philadelphia, PA 19103                                                                                                                          First -Class Mail
Nationwide Children's Hospital                                           700 Childrens Dr                                                 Columbus, OH 43205-2664                                                                                                                         First -Class Mail
Natixis North America Llc                                                1251 Ave Of The Americas                                         New York, NY, 10020                                                                                                                             First -Class Mail
Natixis, New York Branch                                                 1251 Ave of the Americas                                         New York, NY 10020                                                                                                                              First -Class Mail
Natrel Communications Inc                                                119 Cherry Hill Rd                                               Parsippany, NJ 07054-1117                                                                                                                       First -Class Mail
Naturs Design, Inc.                                                      274 W Cortland St                                                Jackson, MI 49201                                                                                                                               First -Class Mail
Natvar Plastic Specialties & Techno                                      2870 Paysphere Cir                                               Chicago, IL 60674-0028                                                                                                                          First -Class Mail
Natvar-Plastic Specialties & Technologies                                19555 E Arenth Ave                                               City Of Industry, CA 91748                                                                                                                      First -Class Mail
Nava, Stefano (Italy)                                                    Via Giuseppe Massarenti, 9                                       Bologna 40138                                                Italy                                                                              First -Class Mail
Navarro County Collector                                                 P.O. Box 1070                                                    Corsicana, TX 75151-1070                                                                                                                        First -Class Mail
Navex Global Inc                                                         5500 Meadows Rd, Ste 500                                         Lake Oswego, OR 97035-3626                                                                                                                      First -Class Mail
Navex Global, Inc.                                                       5500 Meadows Rd, Ste 500                                         Lake Oswego, OR 97035                                                                                                                           First -Class Mail
Navicent Health Baldwin                                                  821 N Cobb St                                                    Milledgeville, GA 31061                                                                                                                         First -Class Mail
Navigant Consulting, Inc.                                                1180 Peachtree St Ne, Ste 1900                                   Atlanta, GA 30309                                                                                                                               First -Class Mail
Navigational Logistics Inc                                               14735 183rd St                                                   Springfield Gardens, NY 11413-4011                                                                                                              First -Class Mail
Nazdar West                                                              11821 Western Ave                                                Garden Grove, CA 92841-2119                                                                                                                     First -Class Mail
Nb Ventures, Inc. Dba Gep                                                100 Walnut Ave, Ste 304                                          Clark, NJ 07066                                                                                                                                 First -Class Mail
Ncavir                                                                   9421 Concord Church Rd                                           Lewisville, NC 27023-8105                                                                                                                       First -Class Mail
Nch Healthcare System                                                    c/o Receiving                                                    350 7th ST N                                                 Naples, FL 34102                                                                   First -Class Mail
ND Industries Inc                                                        P.O. Box 674728                                                  Detroit, MI 48267-4728                                                                                                                          First -Class Mail
Nd Industries Inc                                                        1675 Providence Blvd, Ste A                                      Deltona, FL 32725-4950                                                                                                                          First -Class Mail
ND Office of State Tax Commissioner                                      P.O. Box 5623                                                    Bismarck, ND 58506-5623                                                                                                                         First -Class Mail
NDC Technologies Inc                                                     8001 Technology Blvd                                             Dayton, OH 45424-1568                                                                                                                           First -Class Mail
Neal Feay Co                                                             Attn: Alex Rasmossen                                             133 S La Patera Ln                                           Goleta, CA 93117                                          alex@nealfeay.com        EmailFirst-Class Mail
Nebraska Dept of Revenue                                                 P.O. Box 98923                                                   Lincoln, NE 68509-8923                                                                                                                          First -Class Mail
Nebraska Dept of Revenue                                                 P.O. Box 94818                                                   Lincoln, NE 68509-4818                                                                                                                          First -Class Mail
Nebraska Methodist Health System, Inc.                                   825 S 169Th St                                                   Omaha, NE 68118                                                                                                                                 First -Class Mail
Nebutec                                                                  Kreuzfeldring 17                                                 63820 Elsenfeld                                              Germany                                                                            First -Class Mail
Nectar                                                                   1332 Gladys Ave                                                  long Beach, CA 90804                                                                                                                            First -Class Mail
                                                                                        Case 24-11217-BLS                                                                                           Doc 463                         Filed 08/24/24                                               Page 33 of 51

Neil Macintyre                                                                        Address Redacted                                                                                                                                                                                                                                                                                              First -Class Mail
Neil Medical Group                                                                    P.O. Box 1377                                              Kinston, NC 28501                                                                                                                                                                                                                                  First -Class Mail
Nelson Laboratories LLC                                                               P.O. Box 571830                                            Murray, UT 84157-1830                                                                                                                                                                                                                              First -Class Mail
Nelson Laboratories LLC                                                               6280 S Redwood Rd                                          Salt Lake City, UT 84123-6600                                                                                                                                                                                                                      First -Class Mail
Nelson Laboratories, Llc                                                              6280 S Redwood Rd                                          Salt Lake City, UT 84123                                                                                                                                                                                                                           First -Class Mail
Nelson Laboratory Inc                                                                 Attn: Julie Pizza, Jared Forsyth                           Attn: Dani Blake                                            6280 S Redwood Rd                                        Salt Lake City, UT 84123                              jpizza@nelsonlabs.com; jforsyth@nelsonlabs.com; dblake@nelsonlabs.com   EmailFirst-Class Mail
Nemko Inc.                                                                            2210 Faraday Ave, Ste 150                                  Carlsbad, CA 92008                                                                                                                                                                                                                                 First -Class Mail
Nemko USA Inc                                                                         2210 Faraday Ave, Ste 150                                  Carlsbad, CA 92008-7226                                                                                                                                                                                                                            First -Class Mail
Nemko Usa, Inc.                                                                       2210 Faraday Ave, Ste 150                                  Carlsbad, CA 92008                                                                                                                                                                                                                                 First -Class Mail
Nemmex LLC                                                                            Attn: Francisco Burgos                                     2310 Martin Luther King St                                  Calexico, CA 92231                                                                                             francisco.burgos@nemmex.com                                             EmailFirst-Class Mail
Nemmex LLC                                                                            815 E St, Unit 121071                                      San Diego, CA 92112-5644                                                                                                                                                                                                                           First -Class Mail
Nena E Martinez                                                                       Address Redacted                                                                                                                                                                                                                                                                                              First -Class Mail
Neon Design Fz LLC                                                                    c/o E Clips Global Fz LLC                                  Dark Green Building Media Zone                              United Arab Emirates                                                                                                                                                                   First -Class Mail
Neonatal Medical Ventures, Llc                                                        123 Neo Ave, Neo City, Nc1 1Nc,                            Seattle, WA 98125                                                                                                                                                                                                                                  First -Class Mail
Nepc LLC                                                                              P.O. Box 4110                                              Woburn, MA 01888-4110                                                                                                                                                                                                                              First -Class Mail
Nepc LLC                                                                              1 Main St                                                  Cambridge, MA 02142                                                                                                                                                                                                                                First -Class Mail
Netnames Usa                                                                          140 Broadway, 22nd Fl                                      New York, NY 10005-1108                                                                                                                                                                                                                            First -Class Mail
Netscout Systems Inc                                                                  310 Littleton Rd                                           Westford, MA 01886-4105                                                                                                                                                                                                                            First -Class Mail
Network Courier Services                                                              21061 S Western Ave, 3rd Fl                                Torrance, CA 90501                                                                                                                                                                                                                                 First -Class Mail
Network Packaging Group LLC                                                           c/o Network Partners                                       2180 N Pointe Dr                                            Warsaw, IN 46582-9043                                                                                                                                                                  First -Class Mail
Netwoven Inc                                                                          4000 Pimlico Dr                                            Pleasanton, CA 94588-3474                                                                                                                                                                                                                          First -Class Mail
Netwoven, Inc.                                                                        4000 Pimlico Dr, Ste 114-103                               Pleasanton, CA 94588                                                                                                                                                                                                                               First -Class Mail
Netwoven, Inc.                                                                        4000 Pimlico Dr, Ste 114-103                               Wilmington, NC 28401-7353                                                                                                                                                                                                                          First -Class Mail
Neuro Spine Solutions PC                                                              240 Medical Park Blvd, Ste 2700                            Bristol, TN 37620-7352                                                                                                                                                                                                                             First -Class Mail
Neurological Specialties                                                              Neurosurgery P A                                           2816 W Virginia Ave                                         Tampa, FL 33607-6330                                                                                                                                                                   First -Class Mail
Neutrex Inc                                                                           11119 Jones Rd W                                           Houston, TX 77065-3616                                                                                                                                                                                                                             First -Class Mail
Nevada Dept of Taxation                                                               P.O. Box 51107                                             Los Angeles, CA 90051-5407                                                                                                                                                                                                                         First -Class Mail
Nevada Healthcare Cooperative                                                         Material Solutions                                         1316 Capital Blvd, Ste 101                                  Reno, NV 89502-7145                                                                                                                                                                    First -Class Mail
Nevada State Board of Pharmacy                                                        985 Damonte Ranch Pkwy, Ste 206                            Reno, NV 89521                                                                                                                                                                                                                                     First -Class Mail
New Age Industries                                                                    Attn: Mary Marcus                                          145 James Way Rd                                            Southampton, PA 18966                                                                                          mmarcus@newageind.com                                                   EmailFirst-Class Mail
New England Reg Hlth Care Cooperati                                                   c/o Michael Zwirko, Vp Operations                          575 Beech St                                                Holyoke, MA 01040-2223                                                                                                                                                                 First -Class Mail
New England Society of Intervention                                                   c/o Radiology Inc                                          75 Francis St                                               Boston, MA 02115-6110                                                                                                                                                                  First -Class Mail
New Hampshire Board of Pharmacy                                                       c/o Office of Professional Licensure & Certification       7 Eagle Sq                                                  Concord NH, 03301                                                                                                                                                                      First -Class Mail
New Hampshire Dept of Revenue Administration                                          P.O. Box 637                                               Concord, NH 03302-0637                                                                                                                                                                                                                             First -Class Mail
New Hanover Regional Med Ctr                                                          1090 Medical Center Dr                                     Wilmington, NC 28401-7353                                                                                                                                                                                                                          First -Class Mail
New Horizons Computer Learning Centers                                                Attn: Frank Buttaro                                        14115 Farmington Rd                                         Livonia, MI 48154                                                                                                                                                                      First -Class Mail
New Jersey Dept of Health                                                             Dept of Health                                             P. O. Box 360                                               Trenton, NJ 08625-0360                                                                                                                                                                 First -Class Mail
New Jersey Division of Taxation                                                       P.O. Box 999                                               Trenton, NJ 08646-0999                                                                                                                                                                                                                             First -Class Mail
New Jersey Division of Taxation                                                       P.O. Box 289                                               Trenton, NJ 08646-0289                                                                                                                                                                                                                             First -Class Mail
New Medicare Systems                                                                  97 - Mig Sector 3, Hemant Vihar, Barra                     Kanpur                                                      Uttar Pradesh 208002                                     India                                                                                                                         First -Class Mail
New Mexico Taxation & Revenue Dept                                                    P.O. Box 25128                                             Santa Fe, NM 87504-5128                                                                                                                                                                                                                            First -Class Mail
New Mexico Taxation & Revenue Dept                                                    P.O. Box 25127                                             Santa Fe, NM 87504-5127                                                                                                                                                                                                                            First -Class Mail
New Roots Solutions, Llc                                                              334 W Menomonee St, Ste 202                                Chicago, IL 60614                                                                                                                                                                                                                                  First -Class Mail
New Technology D.O.O.                                                                 Na Uglu Ulice Valtera Perica I Doke Mazalica               71000 Sarajevo                                              Bosnia & Herzegovina                                                                                                                                                                   First -Class Mail
New Technology D.O.O.                                                                 Nova Cesta 11, 71321 Semizovac, Opština Vogošca Sarajevo   71321 Sarajevo                                              Bosnia & Herzegovina                                                                                                                                                                   First -Class Mail
New York Dept of Taxation and Finance                                                 W A Harriman Campus                                        Albany, NY 12227                                                                                                                                                                                                                                   First -Class Mail
New York Dept of Taxation and Finance                                                 P.O. Box 15181                                             Albany, NY 12212-5181                                                                                                                                                                                                                              First -Class Mail
New York General Thoracic Surgical                                                    1000 10th Ave, Ste 2B-07                                   New York, NY 10019-1147                                                                                                                                                                                                                            First -Class Mail
New York State Department Of Health                                                   Attn: Pool Administrator                                   Office of Pool Administration                               Excellus BlueCross BlueShield, Central New York Region   P.O. Box 4757               Syracuse, NY 13221-4757                                                                           First -Class Mail
New York State Department of Taxation and Finance                                     c/o Bankruptcy Section                                     P.O. Box 5300                                               Albany, NY 12205-0300                                                                                                                                                                  First -Class Mail
New York State Education Dept                                                         89 Washingtin Ave                                          Albany, NY 12234                                                                                                                                                                                                                                   First -Class Mail
New York State Education Dept                                                         c/o Office of the Professions, Board of Pharmacy           89 Washington Ave, 2nd Fl, W Wing                           Albany, NY 12234                                                                                                                                                                       First -Class Mail
Newark                                                                                33190 Collection Center Dr                                 Chicago, IL 60693-0331                                                                                                                                                                                                                             First -Class Mail
Newark Co                                                                             Attn: Penny Terry                                          4801 N Ravenswood Ave                                       Chicago, IL 60640                                                                                              pterry@newark.com                                                       EmailFirst-Class Mail
Newark Corp                                                                           33190 Collection Center Dr                                 Chicago, IL 60693-0331                                                                                                                                                                                                                             First -Class Mail
Newark Element 14                                                                     33190 Collection Center Dr                                 Chicago, IL 60693-0331                                                                                                                                                                                                                             First -Class Mail
Newark Element 14                                                                     c/o Newark Corp                                            33190 Collection Center Dr                                  Chicago, IL 60693-0331                                                                                                                                                                 First -Class Mail
Newark Inone                                                                          4801 N Ravenswood                                          Chicago, IL 60640                                                                                                                                                                                                                                  First -Class Mail
Newble Design                                                                         Attn: Matthew Newble                                       3 Glebe Rd Gillingham                                       Kent, ME7 HU                                             United Kingdom                                                                                                                First -Class Mail
Newcomb Spring Corp                                                                   P.O. Box 743090                                            College Park, GA 30349                                                                                                                                                                                                                             First -Class Mail
Newcomb Spring of Atlanta                                                             5408 Panola Industrial Blvd                                Decatur, GA 30035-4016                                                                                                                                                                                                                             First -Class Mail
Newmark Southern Region, Llc Dba Newmark Knight Frank                                 3424 Peachtree Rd Ne, Ste 800                              Atlanta, GA 30326                                                                                                                                                                                                                                  First -Class Mail
Newmed Produtos Para Saude Ltda                                                       Rua Santa Cruz, 2209                                       Cursino, 04121-002                                          Sao Paulo, State of Sao Paulo                            Brazil                                                                                                                        First -Class Mail
Newmedics Com S.R.L.                                                                  Sos Giurgiului 261B, Sector 4                              Bucharesti, 040666                                          Romania                                                                                                                                                                                First -Class Mail
Newmedics Com Srl                                                                     Sos Giurgiului 261 B, Sector 4                             Bucuresti, 040666                                           Romania                                                                                                                                                                                First -Class Mail
Newport Global Advisors                                                               21 Waterway Ave, Ste 150                                   The Woodlands, TX 77380                                                                                                                                                                                                                            First -Class Mail
Newpower Worldwide Llc                                                                107 Northeastern Blvd                                      Nashua, NH 03062                                                                                                                                                                                                                                   First -Class Mail
Newtech Escrap Recycling Inc                                                          3159 W 36th Pl                                             Chicago, IL 60632-2306                                                                                                                                                                                                                             First -Class Mail
Newvision Medisystem                                                                  17/2, New Eskaton Road (3Rd Floor)                         Baro Moghbazar, Dhaka-1000                                  Bangladesh                                                                                                                                                                             First -Class Mail
Newvision Medisystem                                                                  17/2, New Eskaton Rd, 3rd Fl                               Baro Moghbazar, Dhaka-1000                                  Bangladesh                                                                                                                                                                             First -Class Mail
Nexeo Plastics Holdings Inc                                                           c/o Nexeo Plastics LLC                                     1780 Hughes Landing Blvd, Ste 1000                          The Woodlands, TX 77380-4027                                                                                                                                                           First -Class Mail
Nexeo Plastics, Llc                                                                   1780 Hughes Landing Blvd, Ste 1000                         The Woodlands, TX 77380                                                                                                                                                                                                                            First -Class Mail
Nexeo Solutions LLC                                                                   c/o Nexeo Solutions Plastics LLC                           62190 Collections Center Dr                                 Chicago, IL 60693-0621                                                                                                                                                                 First -Class Mail
Nexeo Solutions LLC                                                                   c/o Nexeo Solutions Plastics LLC                           5200 Blazer Pkwy Ds-3                                       Dublin, OH 43017-5309                                                                                                                                                                  First -Class Mail
Nexgen Digital                                                                        Attn: Michelle Armendariz                                  1370 Reynolds Ave                                           Irvine, CA 92614                                                                                               michellea@nexgendigital.com                                             EmailFirst-Class Mail
Nexgen Digital                                                                        Attn: Michelle Armendariz                                  1370 Reynolds Ave                                           Irvine, CA 92614                                                                                                                                                                       First -Class Mail
Nexgen Digital Inc.                                                                   17791 Fitch                                                Irvine, CA 92612                                                                                                                                                                                                                                   First -Class Mail
Next Day Delivery                                                                     P.O. Box 61002                                             Anaheim, CA 92803                                                                                                                                                                                                                                  First -Class Mail
Next It Innovations                                                                   Blvd Gustavo Diaz Ordaz 12145                              Tijuana, BC 22106                                           Mexico                                                                                                                                                                                 First -Class Mail
Next Srl                                                                              Via Luigi Anelli, 43                                       65129 Pescara                                               Italy                                                                                                                                                                                  First -Class Mail
Nguyen Nguyen                                                                         Address Redacted                                                                                                                                                                                                                                                                                              First -Class Mail
Nguyen Nguyen                                                                         Address Redacted                                                                                                                                                                                                                                                                                              First -Class Mail
NH Dept of Revenue                                                                    P.O. Box 637                                               Concord, NH 03302-0637                                                                                                                                                                                                                             First -Class Mail
Nhs Wales Shared Services Partnership                                                 National Health Services Wales                             4th Floor, Companies House                                  Crown Way, Cardiff CF14 3UB                              Wales                       United Kingdom                                                                                    First -Class Mail
Nibedita Das                                                                          Address Redacted                                                                                                                                                                                                                                                                                              First -Class Mail
Nicholas Dadabo                                                                       Address Redacted                                                                                                                                                                                                                                                                                              First -Class Mail
Nicholas Desalvo                                                                      Address Redacted                                                                                                                                                                                                                                                                                              First -Class Mail
Nicholas Lersch                                                                       Address Redacted                                                                                                                                                                                                                                                                                              First -Class Mail
Nicholas S Hill Md                                                                    Address Redacted                                                                                                                                                                                                                                                                                              First -Class Mail
Nick Coniglio                                                                         Address Redacted                                                                                                                                                                                                                                                                                              First -Class Mail
Nida, Ronnie                                                                          1340 Hal Greer Blvd                                        Huntington, WV 25701                                                                                                                                                                                                                               First -Class Mail
Nidia Martinez                                                                        Address Redacted                                                                                                                                                                                                                                                                                              First -Class Mail
NIEN YI Industrial                                                                    aka Taicang Nienyi Technology Electronics                  Attn: Diana Cardenas                                        No 89 Beijing Taicang Economy Dev Area                   Taicang, 21400              China                     diane.drs1@gmail.com                                                    First -Class Mail
Nien Yi Industrial (Hk) Ltd                                                           89 Beijing Rd Taicang                                                                                              100 China                                                                                                                                                                                  First -Class Mail
Nien-Yi Industrial (Hk) Ltd.                                                          Unit No 8 On 7Th Floor Of One Midtown                      No 11 Hoi Shing Road                                        Tsuen Wan                                                New Territories                                                                                                               First -Class Mail
Nifersa Information Technology Sa D                                                   Blvd Manuel Avila Camacho 88 Ofc 63                        Mexico, DF 11000                                            Mexico                                                                                                                                                                                 First -Class Mail
Nikki Lechel                                                                          Address Redacted                                                                                                                                                                                                                                                                                              First -Class Mail
Nikolaus Gravenstein                                                                  Address Redacted                                                                                                                                                                                                                                                                                              First -Class Mail
Nikomed Usa Inc.                                                                      2800 Turnpike Dr, Ste 1                                    Hatboro, PA 19040                                                                                                                                                                                                                                  First -Class Mail
Nikon Metrology Inc                                                                   12701 Grand River Rd                                       Brighton, MI 48116-8506                                                                                                                                                                                                                            First -Class Mail
Nimax Division of Ingram Micro Inc                                                    P.O. Box 90341                                             Chicago, IL 60696-0341                                                                                                                                                                                                                             First -Class Mail
Nimlok Ltd                                                                            Nimlok House Booth Dr                                      Wellingborough, NH NN8 6NL                                  United Kingdom                                                                                                                                                                         First -Class Mail
Nimpex Limited                                                                        House - 22, Road - 4, Block – C Banani                     Dhaka – 1213                                                Bangladesh                                                                                                                                                                             First -Class Mail
Ningbo Shengyurui Medical Appliance                                                   No 138 Binhaisi Rd                                         Ningbo, 315336                                              China                                                                                                                                                                                  First -Class Mail
Ningbo Shengyurui Medical Appliances Co., Ltd. (Soundway Ningbo)                      No 79 Jingu Middle Rd, Ningbo                              Zhejiang                                                    China                                                                                                                                                                                  First -Class Mail
Nippon Bd Japan                                                                       Akasaka Garden City 15-1                                   Akasaka 4 Chome                                             Minato-Ku                                                Tokyo 107-0052              Japan                                                                                             First -Class Mail
Nippon Express USA Inc                                                                2038 Solutions Ctr                                         Chicago, IL 60677-2000                                                                                                                                                                                                                             First -Class Mail
Nippon Express USA Inc                                                                c/o Raleigh Office                                         951 Aviation Pkwy, Ste 1100                                 Morrisville, NC 27560-6634                                                                                                                                                             First -Class Mail
Nippon Express Usa Inc                                                                950 N Edgewood Ave                                         Wood Dale, IL 60191-1257                                                                                                                                                                                                                           First -Class Mail
Nippon Express USA, Inc                                                               970 Francisco St                                           Torrance, CA 90502                                                                                                                                                                                                                                 First -Class Mail
Nippon Express USA, Inc                                                               104 Kitty Hawk Drive                                       Morrisville, NC 27560                                                                                                                                                                                                                              First -Class Mail
Nirmala Kandra                                                                        Address Redacted                                                                                                                                                                                                                                                                                              First -Class Mail
Nissei America Inc                                                                    1480 N Hancock St                                          Anaheim, CA 92807-1920                                                                                                                                                                                                                             First -Class Mail
Nissha Medical Technologies And Affiliates                                            400 Exchange St                                            Buffalo, NY 14204                                                                                                                                                                                                                                  First -Class Mail
Nitto Avecia Pharma Services Inc                                                      10 Vanderbilt                                              Irvine, CA 92618-2010                                                                                                                                                                                                                              First -Class Mail
Nixsys Inc                                                                            Attn: Nicolas Szczedrin                                    9281 Irvine Blvd                                            Irvine, CA 92618                                                                                               nicolas@nixsys.com                                                      EmailFirst-Class Mail
Nixu Oyj                                                                              Keilaranta 15b                                             02150 Espoo                                                 Finland                                                                                                                                                                                First -Class Mail
NJ Division of Taxation                                                               Sales & Use Tax                                            P.O. Box 999                                                Trenton, NJ 08646-0999                                                                                                                                                                 First -Class Mail
NLG Gmbh                                                                              Attn: Val Vadikollia                                       Ludwigstr 47                                                Halbergmoos, D-85399                                     Germany                                               vvadikolia@nlgworldwide.com                                             First -Class Mail
Nlg Gmbh                                                                              Ludwigstr 47                                               Halbergmoos, D-85399                                        Germany                                                                                                                                                                                First -Class Mail
NLG GMBH                                                                              Ludwigstr 47                                               Halbergmoos, 85399                                          Germany                                                                                                                                                                                First -Class Mail
NLG GMBH                                                                              Attn: Val Vadikollia                                       Ludwigstr 47                                                Halbergmoos, D-85399                                     Germany                                                                                                                       First -Class Mail
NM Taxation & Revenue Dept                                                            P.O. Box 25127                                             Santa Fe, NM 87504-5127                                                                                                                                                                                                                            First -Class Mail
NMB Technologies                                                                      Attn: Glenn Chingcuangco                                   39830 Grand River Ave                                       Novi, MI 48375                                                                                                 gchingcuangco@nmbtc.com                                                 EmailFirst-Class Mail
NMB Technologies                                                                      Attn: Glenn Chingcuangco                                   39830 Grand River Ave                                       Novi, MI 48375                                                                                                                                                                         First -Class Mail
Nmb Technologies Corporation                                                          39830 Grand River Ave                                      Novi, MI 48375                                                                                                                                                                                                                                     First -Class Mail
NMH Marketing                                                                         Attn: Bruce Anderson, Susan Aromero                        7803 Galloping Hills St                                     Las Vegas, NV 89113                                                                                            bruce@nmhmarketingllc.com; susanaromero@andercraftmexico.com            EmailFirst-Class Mail
NMH Marketing LLC                                                                     7803 Galloping Hills St                                    Las Vegas, NV 89113-3019                                                                                                                                                                                                                           First -Class Mail
Nmh Marketing Llc                                                                     7803 Galloping Hills St                                    Las Vegas, NV 89113                                                                                                                                                                                                                                First -Class Mail
NMHG Financial Services                                                               P.O. Box 14545                                             Des Moines, IA 50306-3545                                                                                                                                                                                                                          First -Class Mail
Nmhg Financial Services                                                               P.O. Box 3072                                              Cedar Rapids, IA 52406-3072                                                                                                                                                                                                                        First -Class Mail
Noatex Corp                                                                           2711 Plaza Del Amo, Ste 511                                Torrance, CA 90503-7344                                                                                                                                                                                                                            First -Class Mail
Noble Tool Corp                                                                       1535 Stanley Ave                                           Dayton, OH 45404-1112                                                                                                                                                                                                                              First -Class Mail
Nocona General Hospital                                                               c/o Receiving                                              100 Park Rd                                                 Nocona, TX 37172                                                                                                                                                                       First -Class Mail
Noel Mills                                                                            Address Redacted                                                                                                                                                                                                                                                                                              First -Class Mail
Noland Hospital Montgomery                                                            809 University Blvd E Fl 4                                 Tuscaloosa, AL 35401                                                                                                                                                                                                                               First -Class Mail
Nonin Medical                                                                         Attn: Elizabeth Lussier                                    13700 1st Ave N                                             Plymouth, MN 55441                                                                                                                                                                     First -Class Mail
Nonin Medical Inc                                                                     Attn: Elizabeth Lussier                                    13700 1st Ave N                                             Plymouth, MN 55441                                                                                             elizabeth.lussier@nonin.com                                             EmailFirst-Class Mail
Nonin Medical, Inc                                                                    Attn: Rachel Mayer                                         13700 1st Ave N                                             Plymouth, MN 55441                                                                                             rachel.mayer@nonin.com                                                  EmailFirst-Class Mail
Nonin Medical, Inc                                                                    Attn: Rachel Mayer                                         13700 1st Ave N                                             Plymouth, MN 55441                                                                                                                                                                     First -Class Mail
Nonin Medical, Inc.                                                                   13700 1St Ave N                                            Plymouth, MN 55441                                                                                                                                                                                                                                 First -Class Mail
Nonwoven Solutions LLC                                                                27981 W Concrete Dr                                        Ingleside, IL 60041-8835                                                                                                                                                                                                                           First -Class Mail
Nor Cal Controls Inc.                                                                 1952 Concourse Dr                                          San Jose, CA 95131                                                                                                                                                                                                                                 First -Class Mail
Norco                                                                                 1125 W Amity Rd                                            Boise, ID 83705-5412                                                                                                                                                                                                                               First -Class Mail
Nordli Wilson Associates LLP                                                          13 Shale St                                                Worcester, MA 01604-2933                                                                                                                                                                                                                           First -Class Mail
Nordson Corp                                                                          28601 Clemens Rd                                           Westlake, OH 44145-1148                                                                                                                                                                                                                            First -Class Mail
Nordson Corp                                                                          P.O. Box 802586                                            Chicago, IL 60680-2586                                                                                                                                                                                                                             First -Class Mail
Nordson Corp                                                                          11475 Lakefield Dr                                         Duluth, GA 30097-1511                                                                                                                                                                                                                              First -Class Mail
Nordson Corporation                                                                   28601 Clemens Rd                                           Westlake, OH 44145                                                                                                                                                                                                                                 First -Class Mail
Normandy Nickerson Road LLC                                                           P.O. Box 30930                                             New York, NY 10011-0105                                                                                                                                                                                                                            First -Class Mail
Noro US Holdings Inc                                                                  c/o BCD Travel USA LLC                                     6 Concourse Pkwy, Ste 2400                                  Atlanta, GA 30328-6120                                                                                                                                                                 First -Class Mail
North American Interconnect                                                           7975 N Hayden Rd, Ste D-105                                Scottsdale, AZ 85258                                                                                                                                                                                                                               First -Class Mail
North American Science Associates                                                     Namsa                                                      9 Morgan                                                    Irvine, CA 92618-2005                                                                                                                                                                  First -Class Mail
North American Science Associates                                                     c/o Namsa                                                  P.O. Box 710970                                             Cincinnati, OH 45271-0970                                                                                                                                                              First -Class Mail
North American Science Associates, Inc. (Namsa)                                       6750 Wales Rd                                              Northwood, OH 43619                                                                                                                                                                                                                                First -Class Mail
North American Science Associates, Llc                                                6750 Wales Rd                                              Northwood, OH 43619                                                                                                                                                                                                                                First -Class Mail
North American Science Associates, Llc                                                400 Hwy 169 S, Ste 500                                     Minneapolis, MN 55426                                                                                                                                                                                                                              First -Class Mail
North American Society                                                                for Pediatric Exercise Medicine                            1350 Poplar Ridge Dr                                        Memphis, TN 38120                                                                                                                                                                      First -Class Mail
North American Society For                                                            c/o Pediatric Exercise Medicine                            1350 Poplar Ridge Dr                                        Memphis, TN 38120-3440                                                                                                                                                                 First -Class Mail
North Bay Orthopaedics                                                                18 Buhman Ct                                               Napa, CA 94558-5357                                                                                                                                                                                                                                First -Class Mail
North Carolina Dept of Revenue                                                        P.O. Box 25000                                             Raleigh, NC 27640-0700                                                                                                                                                                                                                             First -Class Mail
North Carolina Dept of Revenue                                                        P.O. Box 25000                                             Raleigh, NC 27640-0500                                                                                                                                                                                                                             First -Class Mail
North Central Baptist Hospital                                                        520 Madison Oak Dr                                         San Antonio, TX 78258-3912                                                                                                                                                                                                                         First -Class Mail
North Cypress Medical Center                                                          21214 NW Fwy                                               Cypress, TX 77429-3373                                                                                                                                                                                                                             First -Class Mail
North Dakota                                                                          Office of State Tax Commissioner                           600 E Blvd Ave                                              Dept 127                                                 Bismarck, ND 58505-0599                                                                                                       First -Class Mail
North Dakota Board of Pharmacy                                                        1838 E Interstate Ave, Ste D                               Bismarck, ND 58503                                                                                                                                                                                                                                 First -Class Mail
North Dakota Office of State Tax Commissioner                                         P.O. Box 5623                                              Bismarck, ND 58506-5623                                                                                                                                                                                                                            First -Class Mail
North Dakota Workforce Safety & Ins                                                   c/o Workforce Safety & Insurance                           1600 E Century Ave, Ste 1                                   P.O. Box 55                                              Bismarck, ND 58506-5585                                                                                                       First -Class Mail
North East Knitting Inc                                                               P.O. Box 5808                                              Pawtucket, RI 02862-5808                                                                                                                                                                                                                           First -Class Mail
North Oaks Health System                                                              P.O. Box 2668                                              Hammond, LA 70404                                                                                                                                                                                                                                  First -Class Mail
North Pad Office LLC                                                                  60 E Broadway                                              Bloomington, MN 55425-5510                                                                                                                                                                                                                         First -Class Mail
North Pad Office, Llc (Bloomington, Mn)                                               c/o Mall Of America                                        2131 Lindau Ln, Ste 500                                     Bloomington, MN 55425                                                                                                                                                                  First -Class Mail
North Side Spine LLC                                                                  314 Avonworth Heights Dr                                   Pittsburgh, PA 15237-1257                                                                                                                                                                                                                          First -Class Mail
North Suburban Medical Center                                                         919 Grant St                                               Thornton, CO 80229                                                                                                                                                                                                                                 First -Class Mail
North Texas Division (Medical City North Hills)                                       6565 N Macarthur Blvd, Ste 350                             Irving, TX 75039                                                                                                                                                                                                                                   First -Class Mail
North Texas Division, Inc D/B/A Medical City Healthcare                               6565 N Mcarthur Blvd, Ste 350                              Irving, TX 75039                                                                                                                                                                                                                                   First -Class Mail
North Valley Hospital                                                                 North Valley Hospital                                      1600 Hospital Way                                           Whitefish, NT 59937                                                                                                                                                                    First -Class Mail
Northcrest Medical Center                                                             c/o Receiving                                              100 Northcrest Dr                                           Springfield, TN 63401-6877                                                                                                                                                             First -Class Mail
Northeast Laser Engraving Inc                                                         246C Main St                                               Monroe, CT 06468-1171                                                                                                                                                                                                                              First -Class Mail
Northern Arizona Health                                                               1200 N Beaver St                                           Flagstaff, AZ 86001-3118                                                                                                                                                                                                                           First -Class Mail
Northern Care Alliance Nhs Foundation Trust                                           3Rd Floor Mayo Building                                    Scott Lane, Salford M6 8HD                                  United Kingdom                                                                                                                                                                         First -Class Mail
Northern Care Alliance NHS Foundation Trust                                           3rd Fl Mayo Bldg                                           Scott Ln                                                    Salford M6 8HD                                           United Kingdom                                                                                                                First -Class Mail
Northern Maine Medical Center                                                         194 E Main St                                              Ft Kent, ME 04743                                                                                                                                                                                                                                  First -Class Mail
Northern Michigan Sply Allnce                                                         419 S Coral St                                             Kalkaska, MI 49646                                                                                                                                                                                                                                 First -Class Mail
Northlake Engineering                                                                 8320 193Rd Ave                                             Bristol, WI 53142                                                                                                                                                                                                                                  First -Class Mail
NorthLake Enginneering                                                                Attn: Lorna Klein, Michael Feichtner                       8320 193rd Ave                                              Bristol, WI 53104                                                                                              lklein@northlake-eng.com; MFeichtner@northlake-eng.com                  EmailFirst-Class Mail
Northside Hospital System                                                             1000 Johnson Ferry Rd                                      Atlanta, GA 30342-1606                                                                                                                                                                                                                             First -Class Mail
Northstar Consultants LLC                                                             24025 Greater Mack Ave, Ste 202                            St Clair Shores, MI 48080-4312                                                                                                                                                                                                                     First -Class Mail
Northwell Health                                                                      1979 Marcus Ave, Ste E124                                  New Hyde Park, NY 11042-1062                                                                                                                                                                                                                       First -Class Mail
Northwell Health Alliance Inc                                                         1979 Marcus Ave                                            New Hyde Park, NY 11042-1062                                                                                                                                                                                                                       First -Class Mail

Northwell Health Alliance Inc. - Northwell Health Regional Alliance, Inc. Gpocm-743   1979 Marcus Ave, Ste E124                                  Lake Success, NY 11042                                                                                                                                                                                                                             First -Class Mail
Northwell Health Alliance, Inc.                                                       1979 Marcus Ave,                                           Lake Success, NY 11042                                                                                                                                                                                                                             First -Class Mail
Northwell Health, Inc. (Fna North Shore-Long Island Jewish Health System)             P.O. Box 3856                                              New Hyde Park, NY 11040                                                                                                                                                                                                                            First -Class Mail
Northwest Emc Inc.                                                                    22975 NW Evergreen Pkwy, Ste 400                           Hillsboro, OR 97124                                                                                                                                                                                                                                First -Class Mail
Northwest Specialty Hospital                                                          1551 E Mullan Ave Tamarack Building                        Post Falls, ID 83854                                                                                                                                                                                                                               First -Class Mail
Northwestern Memorial Healthcare                                                      211 E Ontario St, 18th Fl                                  Chicago, IL 60611                                                                                                                                                                                                                                  First -Class Mail
Northwestern Memorial Healthcare                                                      251 E Huron St                                             Chicago, IL 60611                                                                                                                                                                                                                                  First -Class Mail
Northwestern Memorial Hospital                                                        251 E Huron St                                             Chicago, IL 60611-2908                                                                                                                                                                                                                             First -Class Mail
Northwestern University                                                               633 Clark St                                               Evanston, IL 60208-0001                                                                                                                                                                                                                            First -Class Mail
Norton Rose Fulbright US LLP                                                          1301 McKinney, Ste 5100                                    Houston, TX 77010-3095                                                                                                                                                                                                                             First -Class Mail
Norton Rose Fulbright Us Llp                                                          Frost Tower                                                111 W Houston St, Ste 1800                                  San Antonio, TX 78205                                                                                                                                                                  First -Class Mail
Norton Sound Health Corp                                                              1000 Greg Kruschek Ave                                     Nome, AK 92543                                                                                                                                                                                                                                     First -Class Mail
Norton Sound Health Corp                                                              1000 Greg Kruschek Ave                                     Nome, AK 99762                                                                                                                                                                                                                                     First -Class Mail
Nosco                                                                                 24282 Network Pl                                           Chicago, IL 60603-2003                                                                                                                                                                                                                             First -Class Mail
Nosco                                                                                 1100 Venture Ct                                            Carrollton, TX 75006                                                                                                                                                                                                                               First -Class Mail
Nosco                                                                                 651 S Martin Luther King Jr Ave                            Waukegan, IL 60085-7546                                                                                                                                                                                                                            First -Class Mail
Nosco, Inc                                                                            24282 Network Pl                                           Chicago, IL 60673-1242                                                                                                                                                                                                                             First -Class Mail
Notare An Der Palmaille                                                               c/o Zier, Kopp, Karthaus                                   Palmaille 106                                               Hamburg, 02 22767                                        Germany                                                                                                                       First -Class Mail
Nova Medical S.A.C.                                                                   Intisuyo 146                                               San Miguel 15088                                            Lima                                                     Peru                                                                                                                          First -Class Mail
Nova Medical S.A.C.                                                                   146 Intisuyo                                               San Miguel 15088                                            Peru                                                                                                                                                                                   First -Class Mail
Novackner Industries Inc                                                              c/o Midwest Blinds                                         12700 Zenith Ave S, Ste 104                                 Burnsville, MN 55337-6012                                                                                                                                                              First -Class Mail
Novalco Inc                                                                           130 NE 31st St                                             Oklahoma City, OK 73105-2606                                                                                                                                                                                                                       First -Class Mail
Novamed Sarl                                                                          Hikmi St                                                   Jdeideh                                                     Lebanon                                                                                                                                                                                First -Class Mail
Novamed SARL                                                                          fka Sterimed                                               Jdeidet El-Metn, Sed el Baouchrich                          Sterimed Bldg                                            Beirut                      Labanon                                                                                           First -Class Mail
Novamed Sarl (Fka Sterimed)                                                           Sterimed                                                   Jdeidet El-Metn, Sed el Baouchrich                          Sterimed Building, Beirut                                Lebanon                                                                                                                       First -Class Mail
Novamed Vietnam Jsc                                                                   Block 10, 5th Floor, D2 Giang Vo Building,                 Giang Vo Ward, Ba Dinh District                             Hanoi City                                               Vietnam                                                                                                                       First -Class Mail
Novamed Vietnam JSC                                                                   Block 10, 5th Fl, D2 Giang Vo Bldg,                        Giang Vo Ward, Ba Dinh District                             Hanoi City                                               Vietnam                                                                                                                       First -Class Mail
Novant Health Inc                                                                     P.O. Box 25686                                             Winston Salem, NC 27114-5686                                                                                                                                                                                                                       First -Class Mail
Novant Health, Inc.                                                                   2085 Frontis Plaza Blvd                                    Winston-Salem, NC 27103                                                                                                                                                                                                                            First -Class Mail
Novasom, Inc.                                                                         1014 W 36th St                                             Baltimore, MD 21211                                                                                                                                                                                                                                First -Class Mail
Novatec Inc                                                                           P.O. Box 37505                                             Baltimore, MD 21297-3505                                                                                                                                                                                                                           First -Class Mail
Novatec Inc                                                                           222 E Thomas Ave                                           Baltimore, MD 21225                                                                                                                                                                                                                                First -Class Mail
Novita Training                                                                       4410 Stony River Dr                                        Bloomfield Hills, MI 48301                                                                                                                                                                                                                         First -Class Mail
Novomed                                                                               116 Kazi Nazrul Islam Avenue                               Dhaka 1205                                                  Bangladesh                                                                                                                                                                             First -Class Mail
Nox Medical Ehf                                                                       Hofdatorg 12th floor                                       Katrinartun 2                                               105 Reykjavik                                            Iceland                                                                                                                       First -Class Mail
NoxBox Ltd                                                                            Bevan Britta LLP                                           Kings Orchard                                               1 Queen St                                               Bristol BS2 0HQ             United Kingdom                                                                                    First -Class Mail
Noxbox Ltd.                                                                           Bevan Britta LLP                                           Kings Orchard                                               1 Queen Street                                           Bristol BS2 0HQ             United Kingdom                                                                                    First -Class Mail
Nrenner-Fiedler & Associates                                                          Attn: Ryan Sweaney                                         P.O. Box 7938                                               Riverside, CA 92513                                                                                            ar@brfa.com                                                             EmailFirst-Class Mail
Ns Comercio E Manutencao De Equipamentos Medicos E Hospitalares Ltda. – Epp           Rua Constellation de Peixe, 11, Conj Morada do Sol         Aleixo, CEP 69060-068, Manaus, State of Amazonas            Brazil                                                                                                                                                                                 First -Class Mail
NTH Generation Computing Inc                                                          17055 Camino San Bernardo                                  San Diego, CA 92127-5709                                                                                                                                                                                                                           First -Class Mail
Ntt America, Inc.                                                                     757 Third Ave                                              New York, NY 10017                                                                                                                                                                                                                                 First -Class Mail
NTT Data Business Solutions Inc                                                       10856 Reed hartment Hwy                                    Cincinnati, OH 45242                                                                                                                                                                                                                               First -Class Mail
Nuaire Inc                                                                            2100 Fernbrook Ln N                                        Minneapolis, MN 55447-4723                                                                                                                                                                                                                         First -Class Mail
Numatic Engineering                                                                   Attn: Gary Graham                                          7915 Ajay Dr                                                Sun Valley, CA 91352                                                                                           ggraham@num-eng.com                                                     EmailFirst-Class Mail
Numatic Engineering                                                                   Attn: Gary Graham                                          7915 Ajay Dr                                                Sun Valley, CA 91352                                                                                                                                                                   First -Class Mail
Numatic Engineering Inc                                                               P.O. Box 17933                                             Los Angeles, CA 90017                                                                                                                                                                                                                              First -Class Mail
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Numatic Engineering Inc                            7915 Ajay Dr                                     Sun Valley, CA 91352-5315                                                                                                                                                                                                                First -Class Mail
Nurse Assist                                       4409 Haltom Rd                                   Haltom City, TX 76117                                                                                                                                                                                                                    First -Class Mail
Nurse Assist                                       P.O. Box 961013                                  Fort Worth, TX 76161-0013                                                                                                                                                                                                                First -Class Mail
Nurse Assist, Inc.                                 4409 Haltom Rd                                   Haltom City, TX 76117                                                                                                                                                                                                                    First -Class Mail
Nutmeg Chrome Co                                   Attn: Wendy Sperry                               111 Vanderbilt Ave                                    W Hartford, CT 06110                                                                                      wendy@nutmegchrome.com                                                   EmailFirst-Class Mail
Nutmeg Chrome Corp                                 111 Vanderbilt Ave                               W Hartford, CT 06110-1514                                                                                                                                                                                                                First -Class Mail
Nuveen Asset Management, LLC                       c/o DST Asset Manager Solutions, Inc.            P.O. Box 219140                                       Kansas City, MO 64121-9140                                                                                                                                                         First -Class Mail
Nv Artiq                                           Boskouter 15, 3000 Leuven                        Belgium                                                                                                                                                                                                                                  First -Class Mail
Nvision Global Tech Solutions Inc                  1900 Brannan Rd, Ste 300                         McDonough, GA 30253-4324                                                                                                                                                                                                                 First -Class Mail
Nvision Global Tech Solutions Inc                  fka Oracle: 9223                                 1900 Brannan Rd                                       Mc Donough, GA 30253                                                                                                                                                               First -Class Mail
Nvision Global Technology Solutions, Inc.          1900 Brannan Road, Ste 300                       McDonough, GA 30253                                                                                                                                                                                                                      First -Class Mail
Nxtgenmed LLC                                      Attn: Ryan Daniel Lessnau                        4208 Nevada Ave                                       Nashville, TN 37209-3666                                                                                                                                                           First -Class Mail
NY Dept of Taxation & Finance                      W A Harriman Campus                              Albany, NY 12227                                                                                                                                                                                                                         First -Class Mail
Nyc Health + Hospitals                             760 Broadway                                     Brooklyn, NY 11206                                                                                                                                                                                                                       First -Class Mail
Nyc Health And Hospitals                           3424 Kossuth Ave                                 Bronx, NY 10467-2410                                                                                                                                                                                                                     First -Class Mail
Nyc Health And Hospitals                           1400 Pelham Pkwy S                               Bronx, NY 10461                                                                                                                                                                                                                          First -Class Mail
Nyc Health And Hospitals                           Goethals Ave and Parsons Blvd 8268 164th St      Jamaica, NY 11432                                                                                                                                                                                                                        First -Class Mail
Nypro China Holdings Ltd                           Attn: Daisy Qian                                 Unit 510, 5F, No 12 Science Park                      West Ave, Hong Kong Science Park            Shatin                            Hong Kong                   Daisy_Qian@jabil.com                                                     First -Class Mail
Nypro Healthcare Baja Inc (Jabil)                  NPA de Mexico S de RL de CV                      Attn: Miguel Lopez, Luis Matus, Nestor Ortega         Sor Juana Ines De La Cruz, Ste 20150 Int5   Tijuana, Baja California 22444    Mexico                      Miguel.Lopez4@Nypro.com; Luis_Matus@jabil.com; Nestor_Ortega@jabil.com   First -Class Mail
Nypro Healthcare Baja Inc (Jabil)                  NPA de Mexico S de RL de CV                      Attn: M Lopez, L Matus, N Ortega                      Sor Juana Ines De La Cruz, 20150 Int 5      Tijuana, Baja California 22444    Mexico                                                                                               First -Class Mail
Nypro Healthcare Baja, Inc.                        Sor Juana Ines De La Cruz, Ste 20150 Int5        Tijuana, Baja California 22444                        Mexico                                                                                                                                                                             First -Class Mail
Nypro Inc. (A Jabil Company)                       101 Union St                                     Clinton, MA 01510                                                                                                                                                                                                                        First -Class Mail
Nypromold Inc                                      144 Pleasant St                                  Clinton, MA 01510-3416                                                                                                                                                                                                                   First -Class Mail
NYS Corporation Tax                                P.O. Box 15181                                   Albany, NY 12212-5181                                                                                                                                                                                                                    First -Class Mail
Nys Department Of Health                           5900 Airport Ave                                 Oriskany, NY 13424                                                                                                                                                                                                                       First -Class Mail
Nys Department Of Health                           28B Van Buren Blvd -                             Guilderland Center, NY 12085                                                                                                                                                                                                             First -Class Mail
Nysif Disability Benefits                          c/o New York State Insurance Fund                199 Church St                                         New York, NY 10007-1100                                                                                                                                                            First -Class Mail
Nyu Grossman School Of Medicine                    4929 30TH PL                                     Long Island City, NY 11101                                                                                                                                                                                                               First -Class Mail
Nyu Grossman School Of Medicine                    FL 001 185 Central Ave Bld N104                  Bethpage, NY 11714                                                                                                                                                                                                                       First -Class Mail
Nyu Langone                                        1 Park Ave, 3rd Fl                               New York, NY 10016                                                                                                                                                                                                                       First -Class Mail
Nz Techno Handels Gmbh                             Gonzagagasse 11                                  Wien 1010                                             Austria                                                                                                                                                                            First -Class Mail
Nz Techno Handels Gmbh                             NZ Techno Ltd. Commercial & Production Company   Berezhanska Street 14/7                               04050 Kyiv                                  Ukraine                                                                                                                                First -Class Mail
NZ Techno Ltd Commercial &                         Production Company                               Berezhanska St 14/7                                   04050 Kyiv                                  Ukraine                                                                                                                                First -Class Mail
Nz Techno Ltd. Commercial & Production Company     Berezhanska Street 14/7                          04050 Kyiv                                            Ukraine                                                                                                                                                                            First -Class Mail
Nz Techno Ltd. Commercial & Production Company     NZ Techno Handels GmbH                           Gonzagagasse 11                                       Wien 1010                                   Austria                                                                                                                                First -Class Mail
NZ Techno Sp Zoo                                   Bernenska 5A                                     03-976 Warszawa                                       Poland                                                                                                                                                                             First -Class Mail
Nz Techno Sp. Z.O.O.                               Bernenska 5A                                     03-976 Warsaw                                         Poland                                                                                                                                                                             First -Class Mail
Oak Harbor Freight Lines, Inc.                     1339 W Valley Hwy N                              Auburn, WA 98001                                                                                                                                                                                                                         First -Class Mail
Oakleaf Clinics Inc.                               719 W Hamilton Ave, Ste B                        Eau Claire, WI 54701                                                                                                                                                                                                                     First -Class Mail
Oakwood Healthcare System                          18101 Oakwood Blvd                               Dearborn, MI 48124-4089                                                                                                                                                                                                                  First -Class Mail
Obed Izquierdo                                     Address Redacted                                                                                                                                                                                                                                                                          First -Class Mail
Obex Medical Ltd                                   303 Manukau Rd                                   Epsom, Auckland 1344                                  New Zealand                                                                                                                                                                        First -Class Mail
O'Brien Compliance Management LLC                  73 Princeton St                                  N Chelmsford, MA 01853                                                                                                                                                                                                                   First -Class Mail
O'Brien, Matthew                                   Address Redacted                                                                                                                                                                                                                                                                          First -Class Mail
Obvious Consulting, Llc                            402 Rockefeller, Unit 211                        Irvine, CA 92612                                                                                                                                                                                                                         First -Class Mail
Obvius Consulting LLC                              102 Rockefeller, Ste 211                         Irvine, CA 92612-8114                                                                                                                                                                                                                    First -Class Mail
Ocala Lung & Crit Care Association                 1834 SW 1st Ave, Ste 101                         Ocala, FL 34471                                                                                                                                                                                                                          First -Class Mail
Ocala Regional Medical Center                      4600 SW 46TH CT                                  Ocala, FL 34474-5783                                                                                                                                                                                                                     First -Class Mail
Ocean State Stainless                              Attn: David Butler                               15679 Chemical Ln                                     Huntington Beach, CA 92649                                                                                davidb@osstainless.com                                                   EmailFirst-Class Mail
Ocean State Stainless, Inc                         Attn: David Butler                               15679 Chemical Ln                                     Huntington Beach, CA 92649                                                                                                                                                         First -Class Mail
Ochsner Clinic Foundation                          1514 Jefferson Hwy                               New Orleans, LA 70121-2429                                                                                                                                                                                                               First -Class Mail
Ochsner Health System                              1516 Jefferson Hwy                               New Orleans, LA 70121                                                                                                                                                                                                                    First -Class Mail
Ochsner Medical Ctr Westbank                       463 Ashley Ridge Blvd                            Shreveport, LA 71106                                                                                                                                                                                                                     First -Class Mail
Ochsner Medical Ctr Westbank                       1057 Paul Maillard Rd                            Luling, LA 70070                                                                                                                                                                                                                         First -Class Mail
Ochsner Medical Ctr Westbank                       1514 Jefferson Hwy                               New Orleans, LA 70121                                                                                                                                                                                                                    First -Class Mail
Ocp Group, Inc.                                    7130 Engineer Rd                                 San Diego, CA 92111                                                                                                                                                                                                                      First -Class Mail
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Odu-Usa, Inc.                                      4010 Adolfo Rd                                   Camarillo, CA 93012                                                                                                                                                                                                                      First -Class Mail
Oechsler AG                                        Matthias-Oechsler-Strasse 9                      91522 Ansbach                                         Germany                                                                                                                                                                            First -Class Mail
Off Duty Officers Inc                              2365 La Mirada Dr                                Vista, CA 92081-7863                                                                                                                                                                                                                     First -Class Mail
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Office of the Attorney General                     Consumer Law Section                             Attn: Bankruptcy Notices                              455 Golden Gate Ave, Ste 11000              San Francisco, CA 94102-7004                                                                                                           First -Class Mail
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Office of the Attorney General                     Attn: Kris Kobach                                120 SW 10th Ave, 2nd Fl                               Topeka, KS 66612-1597                                                                                                                                                              First -Class Mail
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Office of the Attorney General                     Attn: Jeff Landry                                P.O. Box 94095                                        Baton Rouge, LA 70804-4095                                                                                                                                                         First -Class Mail
Office of the Attorney General                     Attn: Keith Ellison                              State Capital                                         75 Dr Martin Luther King Jr Blvd, Ste 102   St Paul, MN 55155                                                                                                                      First -Class Mail
Office of the Attorney General                     Attn: Lynn Fitch                                 Dept of Justice                                       P.O. Box 220                                Jackson, MS 39205                                                                                                                      First -Class Mail
Office of the Attorney General                     Attn: Josh Stein                                 Dept of Justice                                       P.O. Box 629                                Raleigh, NC 27602-0629                                                                                                                 First -Class Mail
Office of the Attorney General                     Attn: Gentner Drummond                           313 NE 21st St                                        Oklahoma City, OK 73105                                                                                                                                                            First -Class Mail
Office of the Attorney General                     Attn: Peter F Neronha                            150 S Main St                                         Providence, RI 02903                                                                                                                                                               First -Class Mail
Office of the Attorney General                     800 5th Ave, Ste 2000                            Seattle, WA 98104                                                                                                                                                                                                                        First -Class Mail
Office of the Attorney General                     Attn: Patrick Morrisey                           State Capitol                                         1900 Kanawha Blvd E                         Charleston, WV 25305                                                                                                                   First -Class Mail
Office of the Attorney General                     Attn: Bridget Hill                               State Capitol Bldg                                    Cheyenne, WY 82002                                                                                                                                                                 First -Class Mail
Office of the Attorney General                     Attn: Brian Schwalb                              400 6th St NW                                         Washington, DC 20001                                                                                                                                                               First -Class Mail
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Office of the Attorney General                     Attn: Andrew Bailey                              815 Olive St, Ste 200                                 St Louis, MO 63101                                                                                                                                                                 First -Class Mail
Office of the Attorney General                     Attn: Andrew Bailey                              615 E 13th St, Ste 401                                Kansas City, MO 64106                                                                                                                                                              First -Class Mail
Office of the Attorney General                     Attn: Andrew Bailey                              2311 Bloomfield St, Ste 106                           Cape Girardeau, MO 63703                                                                                                                                                           First -Class Mail
Office of the Attorney General                     Attn: Andrew Bailey                              Supreme Court Bldg                                    207 W High St                               Jefferson City, MO 65101                                                                                                               First -Class Mail
Office of the Attorney General                     Supreme Court Bldg                               P.O. Box 899                                          Jefferson City, MO 65102                                                                                                                                                           First -Class Mail
Office of the Attorney General                     Walter Sillers Bldg                              550 High St, Ste 1200                                 Jackson, MS 39201                                                                                                                                                                  First -Class Mail
Office of the Attorney General                     Attn: Mathew J Platkin                           Richard J Hughes Justice Complex                      25 Market St                                P.O. Box 080                      Trenton, NJ 08625                                                                                    First -Class Mail
Office of the Attorney General                     Attn: Hector Balderas                            P.O. Drawer 1508                                      Santa Fe, NM 87504-1508                                                                                                                                                            First -Class Mail
Office of the Attorney General                     Attn: Letitia A James                            Dept of Law                                           The Capitol, 2nd Fl                         Albany, NY 12224                                                                                                                       First -Class Mail
Office of the Attorney General                     Attn: Dave Yost                                  State Office Tower                                    30 E Broad St                               Columbus, OH 43266-0410                                                                                                                First -Class Mail
Office of the Attorney General                     Attn: Michelle A Henry                           Strawberry Sq, 16th Fl                                Harrisburg, PA 17120                                                                                                                                                               First -Class Mail
Office of the Attorney General                     Attn: Domingo Emanuelli Hernandez                P.O. Box 9020192                                      San Juan, PR 00902-0192                                                                                                                                                            First -Class Mail
Office of the Attorney General                     Attn: Alan Wilson                                Rembert D Dennis Office Bldg                          P.O. Box 11549                              Columbia, SC 29211-1549                                                                                                                First -Class Mail
Office of the Attorney General                     Attn: Marty Jackley                              1302 E Hwy 14, Ste 1                                  Pierre, SD 57501-8501                                                                                                                                                              First -Class Mail
Office of the Attorney General                     Attn: Herbert H Slattery, III                    P.O. Box 20207                                        Nashville, TN 37202-0207                                                                                                                                                           First -Class Mail
Office of the Attorney General                     Attn: Jonathan Skrmetti                          425 5th Ave N                                         Nashville, TN 37243                                                                                                                                                                First -Class Mail
Office of the Attorney General                     Attn: Ken Paxton                                 Capital Station                                       P.O. Box 12548                              Austin, TX 78711-2548                                                                                                                  First -Class Mail
Office of the Attorney General                     Attn: Josh Kaul                                  Wisconsin Dept of Justice                             State Capital, Rm 114 E                     P.O. Box 7857                     Madison, WI 53707-7857                                                                               First -Class Mail
Office of the Attorney General                     Attn: Fainu’ulelei Falefatu Ala’ilima-Utu        American Samoa Gov’t, Exec Ofc Bldg                   Utulei                                      Pago Pago, AS 96799                                                                                                                    First -Class Mail
Office of the Attorney General                     Attn: Douglas Moylan                             ITC Bldg                                              590 S Marine Corps Dr, Ste 706              Tamuning, GU 96913                                                                                                                     First -Class Mail
Office of the Attorney General                     Attn: Edward Manibussan                          Administration Bldg                                   P.O. Box 10007                              Saipan, MP 96950-8907                                                                                                                  First -Class Mail
Office of the Attorney General                     Attn: Ariel M Smith                              Dept of Justice                                       3438 Kronprindsens Gade GERS Bldg, 2nd Fl   St Thomas, VI 00802                                                                                                                    First -Class Mail
Office Solutions                                   23303 La Palma Ave                               Yorba Linda, CA 92887-4773                                                                                                                                                                                                               First -Class Mail
Office Solutions Business Products & Svcs          Attn: Priscilla Ciamarro                         23303 La Palma Ave                                    Yorba Linda, CA 92887                                                                                     pciamarro@officesolutions.com                                            EmailFirst-Class Mail
Ohio Bureau of Workers' Compensation               P.O. Box 89492                                   Cleveland, OH 44101-6492                                                                                                                                                                                                                 First -Class Mail
Ohio County Hospital                               1211 Main St                                     Hartford, KY 42347                                                                                                                                                                                                                       First -Class Mail
Ohio Dept of Taxation                              P.O. Box 16560                                   Columbus, OH 43216-6560                                                                                                                                                                                                                  First -Class Mail
Ohio Dept of Taxation                              P.O. Box 27                                      Columbus, OH 43216-0027                                                                                                                                                                                                                  First -Class Mail
Ohio Health                                        Attn: Bob Boswell/ Vp Supply Chain               3420 Olentangy River Rd                               Columbus, OH 43202-1523                                                                                                                                                            First -Class Mail
Ohio Medical Corp                                  6690 Eagle Way                                   Chicago, IL 60678-0001                                                                                                                                                                                                                   First -Class Mail
Ohio State University                              Division of Paccs                                410 W 10th Ave                                        Columbus, OH 43210-1240                                                                                                                                                            First -Class Mail
Ohm Biomedical Engineering Services                3 Lowe Dr                                        Doreen, VIC 3754                                      Australia                                                                                                                                                                          First -Class Mail
Ok Dept of Environmental Quality                   P.O. Box 2036                                    Oklahoma City, OK 73101                                                                                                                                                                                                                  First -Class Mail
Okanogan County Treasure                           P.O. Box 111                                     Okanogan, WA 98840-0111                                                                                                                                                                                                                  First -Class Mail
O'Keefe Controls Co                                Attn: Maura McCarthy                             4 Maple Dr                                            Monroe, CT 06468                                                                                          mmccarthy@okeefecontrols.com                                             EmailFirst-Class Mail
Oklahoma Dept of Labor                             3017 N Stiles Ave, Ste 100                       Oklahoma City, OK 73105-2811                                                                                                                                                                                                             First -Class Mail
Oklahoma Heart Hospital                            4050 W Memorial Rd                               Oklahoma City, OK 73120                                                                                                                                                                                                                  First -Class Mail
Oklahoma State Board of Pharmacy                   4545 N Lincoln Blvd, Ste 112                     Oklahoma City, OK 73105-3413                                                                                                                                                                                                             First -Class Mail
Oklahoma Tax Commission                            c/o General Counsel's Office                     P.O. Box 269056                                       Oklahoma City, OK 73126                                                                                   bankruptcy@tax.ok.gov                                                    EmailFirst-Class Mail
Oklahoma Tax Commission                            P.O. Box 26860                                   Oklahoma City, OK 73126-0860                                                                                                                                                                                                             First -Class Mail
Oklahoma Tax Commission                            P.O. Box 26800                                   Oklahoma City, OK 73126-0800                                                                                                                                                                                                             First -Class Mail
Oklahoma Tax Commission                            Income Tax                                       P.O. Box 26800                                        Oklahoma City, OK 73126-0800                                                                                                                                                       First -Class Mail
Olathe Health Systems Inc                          20333 W 151st St                                 Olathe, KS 66061-5350                                                                                                                                                                                                                    First -Class Mail
Old Dominion Freight Line, Inc                     2885 Alum Creek Dr                               Columbus, OH 43207                                                                                                                                                                                                                       First -Class Mail
Old Republic Professional Liability, Inc           191 N Wacker Dr, Ste 1000                        Chicago, IL 60606                                                                                                                                                                                                                        First -Class Mail
Old Republic Title Co                              22745 Savi Ranch Rd                              Parkway, CA 92778                                                                                                                                                                                                                        First -Class Mail
Olifos Medical Llc                                 29 Crestview Cir                                 Longmeadow, MA 01106                                                                                                                                                                                                                     First -Class Mail
Oliver                                             97 Britain Dr                                    New Britain, PA 18901-5186                                                                                                                                                                                                               First -Class Mail
Oliver Products Company                            445 6th St NW                                    Grand Rapids, MI 49504                                                                                                                                                                                                                   First -Class Mail
Olmsted Medical Center                             1650 4th St SE                                   Rochester, MN 55904                                                                                                                                                                                                                      First -Class Mail
Olson Transportation                               P.O. Box 514                                     Gurnee, IL 60031-0514                                                                                                                                                                                                                    First -Class Mail
Olson Transportation, Inc.                         P.O. Box 514                                     Gurnee, IL 60031                                                                                                                                                                                                                         First -Class Mail
Olympic Precision Machining                        Metropolitana Free Zone                          jBuilding 6C                                          Barreal de Heredia                          Costa Rica                                                                                                                             First -Class Mail
Olympus America Inc                                48 Woerd Ave                                     Waltham, MA 02453-3824                                                                                                                                                                                                                   First -Class Mail
Olympus Controls Corp                              18280 SW 108th Ave                               Tualatin, OR 97062-8380                                                                                                                                                                                                                  First -Class Mail
Olympus Ndt Inc                                    P.O. Box 822196                                  Philadelphia, PA 19182-2196                                                                                                                                                                                                              First -Class Mail
Om Bhati (International Medsurg Connection Inc.)   935 N Plum Grove Rd, Ste F                       Schaumburg, IL 60173-5174                                                                                                                                                                                                                First -Class Mail
OM Healthcare Logistics                            15615 Collections Center Dr                      Chicago, IL 60693-0156                                                                                                                                                                                                                   First -Class Mail
Om Healthcare Logistics                            Owens & Minor                                    9120 Lockwood Blvd                                    Mechanicsville, VA 23116                                                                                                                                                           First -Class Mail
Om Healthcare Logistics-Louisville                 6201 Global Distribution Way Ste103              Louisville, KY 40228-1387                                                                                                                                                                                                                First -Class Mail
Omar Rodriguez                                     Address Redacted                                                                                                                                                                                                                                                                          First -Class Mail
OMC Investors LLC                                  c/o Ohio Medical LLC                             25 B E Pearce St                                      Richmond Hill, ON L4B 2M9                   Canada                                                                                                                                 First -Class Mail
Omega Engineering Inc                              P.O. Box 405369                                  Atlanta, GA 30384-5369                                                                                                                                                                                                                   First -Class Mail
Omega Engineering Inc                              P.O. Box 4047                                    Stamford, CT 06907-0047                                                                                                                                                                                                                  First -Class Mail
Omega Extruding of Ca                              P.O. Box 827627                                  Philadelphia, PA 19182-7627                                                                                                                                                                                                              First -Class Mail
Omega Extruding of Ca                              9614 Lucas Ranch Rd                              Rancho Cucamonga, CA 91730-5787                                                                                                                                                                                                          First -Class Mail
O'Melveny & Myers Llp                              1625 Eye St NW                                   Washington, DC 20006-4061                                                                                                                                                                                                                First -Class Mail
O'Melveny & Myers LLP                              400 S Hope St, 18th Fl                           Los Angeles, CA 90071-2830                                                                                                                                                                                                               First -Class Mail
Omni Commercial Group Inc                          P.O. Box 223                                     Algonquin, IL 60102-0223                                                                                                                                                                                                                 First -Class Mail
Omni Logistics, Llc                                3100 Olympus Blvd, Ste 420                       Dallas, TX 75019                                                                                                                                                                                                                         First -Class Mail
Omni San Diego Hotel                               675 L St                                         San Diego, CA 92101                                                                                                                                                                                                                      First -Class Mail
Omni Seals                                         Attn: Michael Johnson, Yvette Rodriquiz          11031 Jersey Blvd                                     Rancho Cucamonga, CA 91730                                                                                mikjohnson@slb.com; YvRodriguez@slb.com                                  EmailFirst-Class Mail
Omnia Partners, Llc                                840 Crescent Centre Dr, Ste 600                  Franklin, TN 37067                                                                                                                                                                                                                       First -Class Mail
Omniboom LLC                                       c/o Omniboom                                     20 High St                                            Hamilton, OH 45011-2709                                                                                                                                                            First -Class Mail
Omniboom, Llc                                      20 High St                                       Hamilton, OH 45011                                                                                                                                                                                                                       First -Class Mail
Omnicard                                           Foster Plz 10                                    680 Anderson Dr, Ste 430                              Pittsburgh, PA 15220                                                                                                                                                               First -Class Mail
On Line Controls Inc                               9A Kane Industrial Dr                            Hudson, MA 01749-2905                                                                                                                                                                                                                    First -Class Mail
On Line Electronics                                Attn: Liz Dale                                   1000 Brioso Dr                                        Costa Mesa, CA 92627                                                                                      liz@onlineelec.com                                                       EmailFirst-Class Mail
On Services                                        1425 Greenway Dr, Ste 250                        Irving, TX 75038                                                                                                                                                                                                                         First -Class Mail
On.Off Srl                                         Corso Re Umberto I, 13                           Torino 10121                                          Italy                                                                                                                                                                              First -Class Mail
Onanon Inc.                                        720 S Milpitas Blvd                              Milpitas, CA 95035                                                                                                                                                                                                                       First -Class Mail
On-Belay Medical LLC                               306 Erin Dr                                      Knoxville, TN 37919-6201                                                                                                                                                                                                                 First -Class Mail
Oncology Nursing Society                           Pugent Sound Chapter                             P.O. Box 20096                                        Seattle, WA 98102-1096                                                                                                                                                             First -Class Mail
Onda Medical LLC                                   206 New Bern Pl                                  Raleigh, NC 27601-1416                                                                                                                                                                                                                   First -Class Mail
One Gas Inc                                        c/o Kansas Gas Service                           P.O. Box 219046                                       Kansas City, MO 64121-9046                                                                                                                                                         First -Class Mail
One River Grant Inc                                8 Winter St                                      Troy, NY 12180-6228                                                                                                                                                                                                                      First -Class Mail
One Source Distributors                            Dept 2388                                        Los Angeles, CA 90084-0001                                                                                                                                                                                                               First -Class Mail
Onepromed LLC                                      3625 156th Pl SE                                 Bothell, WA 98012-4743                                                                                                                                                                                                                   First -Class Mail
OneSource Distributor                              P.O. Box 740527                                  Los Angeles, CA 90074                                                                                                                                                                                                                    First -Class Mail
Onesource Distributors LLC                         950 S Hope St                                    El Centro, CA 92243-3435                                                                                                                                                                                                                 First -Class Mail
Onesource Virtual Hr Inc                           9001 Cypress Waters Blvd                         Dallas, TX 75019                                                                                                                                                                                                                         First -Class Mail
Onesource Virtual, Inc.                            9001 Cypress Waters Blvd                         Dallas, TX 75019                                                                                                                                                                                                                         First -Class Mail
Onetouchpoint                                      P.O. Box 88561                                   Milwaukee, WI 53288-0561                                                                                                                                                                                                                 First -Class Mail
Onetouchpoint Midwest Corp                         c/o Onetouchpoint                                P.O. Box 88531                                        Milwaukee, WI 53288-0001                                                                                                                                                           First -Class Mail
Onetrust LLC                                       1200 Abernathy Rd, Ste 600                       Atlanta, GA 30328-5691                                                                                                                                                                                                                   First -Class Mail
Onetrust, Llc                                      P.O. Box 7813                                    1072 W Peachtree St NW                                Atlanta, GA 30309                                                                                                                                                                  First -Class Mail
Onetrust, Llc                                      1200 Abernathy Rd NE, Ste 300                    Atlanta, GA 30328                                                                                                                                                                                                                        First -Class Mail
Onex Rf                                            1824 Flower Ave                                  Duarte, CA 91010                                                                                                                                                                                                                         First -Class Mail
Onguard Inc.                                       9836 White Oak Ave, Ste 105                      Northridge, CA 91325                                                                                                                                                                                                                     First -Class Mail
Onit, Inc                                          1360 Post Oak Blvd, Ste 2200                     Houston, TX 77056                                                                                                                                                                                                                        First -Class Mail
Onsite Training                                    Attn: Louie Liwanag                              30100 Town Center Dr, Ste O                           Laguna Niguel, CA 92677                                                                                                                                                            First -Class Mail
Onslow Memorial Hospital                           414 White St Unit A                              Jacksonville, NC 28546                                                                                                                                                                                                                   First -Class Mail
Open Text Inc                                      2950 S Delaware St, Ste 400                      San Mateo, CA 94403-2199                                                                                                                                                                                                                 First -Class Mail
Openmarkets Inc                                    c/o Openmarkets Health                           180 N Wacker Dr, Ste 001                              Chicago, IL 60606-1648                                                                                                                                                             First -Class Mail
OpenMarkets, Inc                                   Attn: Hanna Levine                               180 N Wacker Dr, Ste 001                              Chicago, IL 60606                                                                                         hlevine@openmarketshealth.com                                            EmailFirst-Class Mail
OpenMarkets, Inc                                   211 W Wacker Dr, Fl 3, PMB 900E                  Chicago, IL 60606                                                                                                                                               hskodras@openmarketshealth.com                                           EmailFirst-Class Mail
Openmarkets, Inc.                                  180 N Wacker Dr, Ste 1                           Chicago, IL 60606                                                                                                                                                                                                                        First -Class Mail
Opentext                                           275 Frank Tompa Dr                               Waterloo, ON N2L 0A1                                  Canada                                                                                                                                                                             First -Class Mail
Opentext Inc. (Fka Gxs)                            951 Mariners Island Blvd                         San Mateo, CA 94404                                                                                                                                                                                                                      First -Class Mail
Opg-3 Inc                                          8030 Old Cedar Ave S, Ste 205                    Minneapolis, MN 55425-1215                                                                                                                                                                                                               First -Class Mail
OPG-3 Inc                                          2020 Silver Bell Rd, Ste 20                      Egan, MN 55122                                                                                                                                                                                                                           First -Class Mail
Opg-3, Inc.                                        8030 Old Cedar Ave, Ste 205                      Bloomington, MN 55425                                                                                                                                                                                                                    First -Class Mail
Ophir Spiricon LLC                                 3050 N 300 W                                     Logan, UT 84341-6741                                                                                                                                                                                                                     First -Class Mail
Opshub                                             1000 Elwell Ct, Ste 101                          Palo Alto, CA 94303                                                                                                                                                                                                                      First -Class Mail
Opticore Communications                            Attn: Marc Gonzalez                              83852 Yosemite Dr                                     Indio, CA 92203                                                                                           marc@opticore.com                                                        EmailFirst-Class Mail
Optima Commerce LLC                                P.O. Box 36520                                   Louisville, KY 40233-6520                                                                                                                                                                                                                First -Class Mail
Optima Commerce LLC                                993 E Frontage Rd                                Rio Rico, AZ 85648                                                                                                                                                                                                                       First -Class Mail
Optimal Strategix Group Inc                        140 Terry Dr, Ste 119                            Newtown, PA 18940-1896                                                                                                                                                                                                                   First -Class Mail
Optimas Oe Solutions LLC                           P.O. Box 74008133                                Chicago, IL 60674-8133                                                                                                                                                                                                                   First -Class Mail
Optimas Oe Solutions LLC                           1800 S Sylvania Ave, Unit 100                    Sturtevant, WI 53177-2162                                                                                                                                                                                                                First -Class Mail
Optum Insight Canada Inc                           c/o T11082C                                      P.O. Box 11082                                        Station A                                   Toronto, ON M5W 2G5               Canada                                                                                               First -Class Mail
Optum Medical Care                                 672 Stoneleigh Ave                               Carmel, NY 10512                                                                                                                                                                                                                         First -Class Mail
Optum Medical Care                                 310 N Highland Ave                               Ossining, NY 10562                                                                                                                                                                                                                       First -Class Mail
Optum Medical Care                                 90 S Bedford Rd                                  Mount Kisco, NY 10549                                                                                                                                                                                                                    First -Class Mail
Optumcare Mgmt Llc                                 3565 Del Amo Blvd                                Torrance, CA 90503                                                                                                                                                                                                                       First -Class Mail
                                                         Case 24-11217-BLS                                                                                        Doc 463                     Filed 08/24/24                                             Page 35 of 51

Optumcare New Mexico LLC                               303 Roma Ave NW                                                       Albuquerque, NM 87102-2251                                                                                                                                               First -Class Mail
Oracle America Inc                                     P.O. Box 44471                                                        San Francisco, CA 94144                                                                                                                                                  First -Class Mail
Oracle America Inc                                     500 Oracle Pkwy                                                       Redwood City, CA 94065-1677                                                                                                                                              First -Class Mail
Oracle America Inc.                                    2300 Coud Way                                                         Austin, TX 78741                                                                                                                                                         First -Class Mail
Oracle America Inc.                                    P.O. Box 203448                                                       Dallas, TX 75320-3448                                                                                                                                                    First -Class Mail
Oracle America, Inc.                                   500 Oracle Pkwy                                                       Redwood Shores, CA 94065                                                                                                                                                 First -Class Mail
Orange City Health System                              1000 Lincoln Cir SE                                                   Pulmonary                                  Orange City, IA 51041                                                                                                         First -Class Mail
Orange Coast Pneumatics                                Attn: Ric Jarrett, Michael Ellis                                      3810 Prospect St, Unit A                   Yorba Linda, CA 92886                                                                      Ric@OCAire.com/mike@ocaire.com     EmailFirst-Class Mail
Orange Coast Pneumatics                                Attn: Ric Jarrett, Michael Ellis                                      3810 Prospect St, Unit A                   Yorba Linda, CA 92886                                                                                                         First -Class Mail
Orange Coast Pneumatics                                3810 Prospect Ave, Ste A                                              Yorba Linda, CA 92886                                                                                                                                                    First -Class Mail
Orange Coast Pneumatics Inc.                           3810 Prospect Ave, Ste A                                              Yorba Linda, CA 92886                                                                                                                                                    First -Class Mail
Orange County Industrial Plastics                      Attn: Butch Fleck                                                     4811 E La Palma                            Anaheim, CA 92807                                                                          butch@ocip.com                     EmailFirst-Class Mail
Orange Products Inc                                    1929 Vultee St                                                        Allentown, PA 18103-4744                                                                                                                                                 First -Class Mail
Orange Vise Co                                         19794 Solana Dr                                                       Saratoga, CA 95070                                                                                                                                                       First -Class Mail
Orantech Inc.                                          Zone #A, 4F, 1st Bld, 7th Industrial Zone                             Yulv Community, GongMing                   Guangming District                                   Shenzhen, 518106             China                                       First -Class Mail
Orbecargo USA Corp                                     8610 NW 70th St                                                       Miami, FL 33166                                                                                                                                                          First -Class Mail
Orbis Corp                                             Dept 6965                                                             75 Remittance Dr                           Chicago, IL 60675-6965                                                                                                        First -Class Mail
Oregon Board of Pharmacy                               800 NE Oregan St                                                      Portland, OR 97232                                                                                                                                                       First -Class Mail
Oregon Board of Pharmacy                               800 NE Oregon St, Ste 150                                             Portland, OR 97232                                                                                                                                                       First -Class Mail
Oregon Dept of Revenue                                 P.O. Box 14777                                                        Salem, OR 97309-00960                                                                                                                                                    First -Class Mail
Oregon Dept of Revenue                                 955 Center St NE                                                      Salem, OR 97301-2555                                                                                                                                                     First -Class Mail
Oregon Dept of Revenue                                 P.O. Box 14777                                                        Salem, OR 97309-0096                                                                                                                                                     First -Class Mail
Oregon Health & Science University                     3181 SW Sam Jackson Park Rd                                           Portland, OR 97239                                                                                                                                                       First -Class Mail
Orestes Pedro Maia Andrade                             Rua Barao do Rio Branco, 406 E                                        Sala 09 Centro                             Chapeco - SC CEP: 89.802-100                         Brazil                                                                   First -Class Mail
Oricare Inc                                            1900 Am Dr                                                            Quakertown, PA 18951                                                                                                                                                     First -Class Mail
Oriental Motor                                         Badenerstrasse 13                                                     Brugg, 5200                                Antigua & Barbuda                                                                                                             First -Class Mail
Origin Medical Devices Inc.                            8 Corporate Park, Ste 300                                             Irvine, CA 92606                                                                                                                                                         First -Class Mail
O-Ring & Engineered Seals Division                     2360 Palumbo Dr                                                       Lexington, KY 40509                                                                                                                                                      First -Class Mail
Orion Ics, Llc                                         2159 Palma Dr, Ste C                                                  Ventura, CA 93003-8036                                                                                                                                                   First -Class Mail
Oriskany Training Center                               5900 Airport Ave                                                      Oriskany, NY 13424                                                                                                                                                       First -Class Mail
Orkin                                                  31210 Plantation Dr, Ste B                                            Thousand Palms, CA 92276                                                                                                                                                 First -Class Mail
Orkin Services of California Inc                       c/o Orkin Pest Control                                                P.O. Box 7161                              Pasadena, CA 91109-7161                                                                                                       First -Class Mail
Orlando Health, Inc.                                   7312 Kingspointe Pkwy                                                 Orlando, FL 32819                                                                                                                                                        First -Class Mail
Orlando Ortiz Md                                       Address Redacted                                                                                                                                                                                                                               First -Class Mail
Orlando Pediatric Pulmonary & Sleep                    2660 W Fairbanks Ave                                                  Winter Park, FL 32789                                                                                                                                                    First -Class Mail
Orlando Regional Healthcare                            1900 Don Wickham Dr                                                   Clermont, FL 34711-1999                                                                                                                                                  First -Class Mail
Ortho Consulting Limited Inc.                          Regus, Pinewood, Chineham Business Park                               Crockford Lane                             Basingstoke, RG24 8AL                                United Kingdom                                                           First -Class Mail
Orthomed S.R.L.                                        via Vico Ferruccio, 24                                                89132 Reggio Calabria                      Italy                                                                                                                         First -Class Mail
Orthomed Srl                                           Via Sant'Anna II Tronco, 34                                           89128 Reggio Calabria                      Italy                                                                                                                         First -Class Mail
Orthopedic Surgery Center                              P.O. Box 13476                                                        Gainesville, FL 32604-1476                                                                                                                                               First -Class Mail
Osborn Consulting Group LLC                            Attn: Tyann R Osborn                                                  651 Martin Rd                              Dripping Springs, TX 78620-3506                                                                                               First -Class Mail
Oscar Eduardo Cuevas Morales                           Address Redacted                                                                                                                                                                                                                               First -Class Mail
Oscar Motta                                            Address Redacted                                                                                                                                                                                                                               First -Class Mail
Osd Displays                                           135 W Central Blvd, Ste 330                                           Orlando, FL 32801                                                                                                                                                        First -Class Mail
Osf Healthcare System                                  800 NE Glen Oak Ave                                                   Peoria, IL 61603                                                                                                                                                         First -Class Mail
Osf Healthcare System                                  800 NE Glen Oak Ave                                                   Peoria, IL 61603-3255                                                                                                                                                    First -Class Mail
Osf Little Company Of Mary Medical Center              2800 W 95th St Receiving                                              Evergreen Park, IL 60805                                                                                                                                                 First -Class Mail
OSHA, State of California                              Attn: Michael Loupe                                                   P.O. Box 420603                            San Francisco, CA 94142                                                                                                       First -Class Mail
Osram Sylvania Inc                                     P.O. Box 2114                                                         Carol Stream, IL 60132-2114                                                                                                                                              First -Class Mail
Osram Sylvania Products Inc                            816 Lexington Ave                                                     Warren, PA 16365-2834                                                                                                                                                    First -Class Mail
Otavio P Maciel                                        Address Redacted                                                                                                                                                                                                                               First -Class Mail
Otitoju, Kola                                          251 Locke Dr                                                          Marlborough, MA 01752                                                                                                                                                    First -Class Mail
Ou Balti Intermed                                      Tartu mnt 84d                                                         Tallinn 10112                              Estonia                                                                                                                       First -Class Mail
OU Hansa Medical                                       Mustamae Tee 46                                                       Tallinn, 10621                             Estonia                                                                                                                       First -Class Mail
Outbox Systems, Inc. Dba Simplus (Fka Cirrusone Llc)   535 Mission St, 14th Fl                                               San Francisco, CA 94105                                                                                                                                                  First -Class Mail
Outdoors Inc LLC                                       563 Winfred Dr                                                        Raleigh, NC 27603-7209                                                                                                                                                   First -Class Mail
Outdoors Inc., Llc.                                    563 Winfred Dr                                                        Raleigh, NC 27603                                                                                                                                                        First -Class Mail
Overhead Door Co of St Louis                           c/o D H Pace Co Inc                                                   P.O. Box 190427                            St Louis, MO 63119-6427                                                                                                       First -Class Mail
Overlake Hospital Medical Center                       1035 116th Ave NE                                                     Bellevue, WA 98004                                                                                                                                                       First -Class Mail
Overture, Llc                                          800 S Northpoint Blvd                                                 Waukegan, IL 60085                                                                                                                                                       First -Class Mail
Ovid Technologies Inc                                  100 River Ridge Dr                                                    Norwood, MA 02062-5030                                                                                                                                                   First -Class Mail
Owens & Minor                                          9120 Lockwood Blvd                                                    Mechanicsville, VA 23116                                                                                                                                                 First -Class Mail
Owens & Minor Healthcare Logistics                     9120 Lockwood Blvd                                                    Mechanicsville, VA 23116-2015                                                                                                                                            First -Class Mail
Owens & Minor Medical, Inc.                            9120 Lockwood Blvd                                                    Mechanicsville, VA 23116                                                                                                                                                 First -Class Mail
Owl Rock Capital Advisors Llc                          399 Park Ave, 38th Fl                                                 New York, NY 10022                                                                                                                                                       First -Class Mail
Oxford Global Resources LLC                            100 Cummings Center, Ste 206L                                         Beverly, MA 01915-6104                                                                                                                                                   First -Class Mail
Oxford Global Resources, Inc.                          1515 E Woodfield Rd, Ste 850                                          Schaumburg, IL 60173                                                                                                                                                     First -Class Mail
Oxford Global Resources, LLC                           Attn: Jill Frakes                                                     100 Cummings Ctr, Ste 206L                 Beverly, MA 01915                                                                          jill_frakes@oxfordcorp.com         EmailFirst-Class Mail
Oxford Global Resources, Llc                           100 Cummings Center, Ste 206L                                         Beverly, MA 01915                                                                                                                                                        First -Class Mail
Oxford University Hospital Nhs                         c/o Foundation Trust                                                  Ouh Cowley Unipart, 2nd Fl                 Oxford, OX3 9DU                                      United Kingdom                                                           First -Class Mail
Oxford University Hospitals Nhs Trust                  Radcliffe Hospital                                                    Headley Way                                Headington, Oxford                                   United Kingdom                                                           First -Class Mail
Oxigraf Inc                                            238 E Caribbean Dr                                                    Sunnyvale, CA 94089-1007                                                                                                                                                 First -Class Mail
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Oxi-Rent S.A. De C.V.                                  Boulevard Vista Hermosa 25-19 zona 15                                 Edificio Multimedia Of 102                                                               1015                                                                            First -Class Mail
Oxi-Rent S.A. De C.V.                                  3era Calle Poniente No 5241 Col Escalon                               San Salvador                               El Salvador                                                                                                                   First -Class Mail
Oxi-Rent Sociedad Anonima                              Blvd Vista Hermosa 25-19 Zona 15                                      Guatemala, 01015                           Guatemala                                                                                                                     First -Class Mail
Oxygen Care Ltd                                        2 Holfield Business Park                                              Kilmacanogue, Wicklow                      A 98 NP27                                            Ireland                                                                  First -Class Mail
Oxygen Care Ltd.                                       2 Holfeld Business Park                                               Kilmacanogue, Co. Wicklow                  Ireland                                                                                                                       First -Class Mail
Oxygen Funding Inc                                     fbo Dependable Sterilizer Repair I                                    P.O. Box 601208                            Los Angeles, CA 90060-1208                                                                                                    First -Class Mail
Oxygen-Care Limited                                    2 Holfeld Business Park                                               Kilmacanoge, Co Wicklow                    A98 NP27                                             Ireland                                                                  First -Class Mail
Oxygen-Care Ltd                                        2 Holfeld Business                                                    Co Wicklow, A98-NP27                       Ireland                                                                                                                       First -Class Mail
Oxy-System Equipamentos Médicos Ltda.                  Oxy-System Equipamentos Médicos Ltda                                  Rua Dr Tomas Alves, 65                     Vila Mariana - Sao Paulo - S.P. - 04017-070          Brazil                                                                   First -Class Mail
Oxy-System Equipamentos Médicos Ltda.                  Rua Padre Machado,1137 - São Paulo - SP Cep                           São Paulo 04127-001                        Brazil                                                                                                                        First -Class Mail
OYA AIMOTAFAWEQA CO                                    Block 1 Apt 10, Mari St                                               Tripoli                                    Libya                                                                                                                         First -Class Mail
Oya Aimotafaweqa Co. For Import Of Medical Equipment   Maari St (Beside Corinthia Hotel), Building 3, Apt #10                Tripoli                                    Libyan Arab Jamahiriya                                                                                                        First -Class Mail
Oya Almotafaweqa Co. For Import Of Medical Equipment   Maari St (Beside Corinthia Hotel), Building 3, Apt #10                Tripoli                                    Libyan Arab Jamahiriya                                                                                                        First -Class Mail
P.K. Morgan (India) Pvt. Ltd.                          110 Chiranjiv Tower, Nehru Place                                      New Delhi, 110019                          India                                                                                                                         First -Class Mail
Pa Consulting Services Limited                         10 Bressenden Place                                                   London SW1E 5DN                            United Kingdom                                                                                                                First -Class Mail
PA Dept of Revenue                                     P.O. Box 280427                                                       Harrisburg, PA 17128-0427                                                                                                                                                First -Class Mail
PA Dept of Revenue                                     P.O. Box 280905                                                       Harrisburg, PA 17128-0905                                                                                                                                                First -Class Mail
Pablo Lozano                                           Address Redacted                                                                                                                                                                                                                               First -Class Mail
Pac Integrations                                       P.O. Box 6008                                                         Concord, CA 94524                                                                                                                                                        First -Class Mail
Pac N Wrap                                             146 Spencer St, Ste 5003                                              Brooklyn, NY 11205-5624                                                                                                                                                  First -Class Mail
Pac N Wrap                                             651 Lehigh Ave                                                        Union, NJ 07083-7600                                                                                                                                                     First -Class Mail
Pac N Wrap Supply Corp.                                158 Skillman St                                                       Brooklyn, NY 11205                                                                                                                                                       First -Class Mail
Pace Analytical Life Sciences LLC                      P.O. Box 681088                                                       Chicago, IL 60695-2088                                                                                                                                                   First -Class Mail
Pace Analytical Life Sciences LLC                      1311 Helmo Ave N                                                      Oakdale, MN 55128-6023                                                                                                                                                   First -Class Mail
Pachulski Stang Ziehl & Jones LLP                      Attn: Laura Davis Jones/Timothy Cairns                                919 N Market St, 17th Fl                   P.O. Box 8705                                        Wilmington, DE 19899-8705             ljones@pszjlaw.com                 EmailFirst-Class Mail
Pachulski Stang Ziehl & Jones LLP                      Attn: Timothy Cairns                                                                                                                                                                                        tcairns@pszjlaw.com                Email
Pacific American Life Science                          Learning Center                                                       5286 Eastgate Mall                         San Diego, CA 92121-2815                                                                                                      First -Class Mail
Pacific BioLabs, Inc                                   551 Linus Pauling Dr                                                  Hercules, CA 94547                                                                                                                                                       First -Class Mail
Pacific Biomedical Distribution Services Inc           3140 Gold Camp Dr, Ste 90                                             Rancho Cordova, CA 95670-6054                                                                                                                                            First -Class Mail
Pacific Coast Plants LLC                               1634 E Edinger Ave, Ste A                                             Santa Ana, CA 92705-5019                                                                                                                                                 First -Class Mail
Pacific Commerce Pty Ltd                               435 Williamstown Rd, Factory 10                                       Port Melbourne, VIC 3207                   Australia                                                                                                                     First -Class Mail
Pacific Hospital Supply Co Ltd                         4100 Osuna Rd NE                                                      Albuquerque, NM 87109-4457                                                                                                                                               First -Class Mail
Pacific Hospital Supply Co., Ltd.                      4F, No 160, Daye Road                                                 Beitou District                            Taipei                                               Taiwan                                                                   First -Class Mail
Pacific Hospital Supply Company                        4F, No 160, Rd, Beitou Dist                                           Taipei 11268                               Taiwan                                                                                                                        First -Class Mail
Pacific Inspection                                     Attn: Steve Kaifesh                                                   9271 Irvine Blvd                           Irvine, CA 92618                                                                           steve@pacificinspection.com        EmailFirst-Class Mail
Pacific Isle Delivery Inc                              2988 Ualena St                                                        Honolulu, HI 96819                                                                                                                                                       First -Class Mail
Pacific Medico                                         2F Yamakawa, Bldg 1-8-4                                               Toyko                                      Japan                                                                                                                         First -Class Mail
Pacific Medico Co, Ltd                                 3-5-12 Iwamoto-cho                                                    Chiyoda-ku                                 Tokyo, 101-0032                                      Japan                                                                    First -Class Mail
Pacific Medico Co., Ltd.                               2-6-4 Hongo                                                           Bunkyo-ku, Tokyo 113-0033                  Japan                                                                                                                         First -Class Mail
Pacific Promotions LLC                                 Attn: Sonja Lynn Faulkner                                             1113 N Kenwood St                          Burbank, CA 91505-2404                                                                                                        First -Class Mail
Pacific Pulmonary Medical Group                        4234 Riverwalk Pkwy, Ste 230                                          Riverside, CA 92505                                                                                                                                                      First -Class Mail
Pacific Research Laboratories Inc                      10221 SW 188th St                                                     Vashon, WA 98070-5225                                                                                                                                                    First -Class Mail
Pacific Scientific Transport                           c/o Pacific Bio-Material Management Inc                               22841 Lockness Ave                         Torrance, CA 90501-5103                                                                                                       First -Class Mail
Pacific Wire & Cable                                   Attn: Charles Jackosn                                                 1228 F S Village Way                       Santa Ana, CA 92705                                                                        pacwire@sbcglobal.net              EmailFirst-Class Mail
Pacific X-Ray Imaging                                  Attn: Glenn Olaes                                                     12225 World Trade Dr                       San Diego, CA 92128                                                                        glenn.olaes@pacificxray.com        EmailFirst-Class Mail
Package Express Freight Inc                            c/o German Corona                                                     Attn: David Lopez                          2322 M L King St                                     Calexico, CA 92231-1737                                                  First -Class Mail
Packaging Corp of America                              36596 Treasury Ctr                                                    Chicago, IL 60694-6500                                                                                                                                                   First -Class Mail
Packaging Corp of America                              708 Killian Rd                                                        Akron, OH 44319-2549                                                                                                                                                     First -Class Mail
Pad Printing Machinery of Vermont                      P.O. Box 1291                                                         Williston, VT 05495-1291                                                                                                                                                 First -Class Mail
Padmanabhan Ramnarayan                                 82 Oak End Way                                                        Gerrards Cross, BU SL9 8DB                 United Kingdom                                                                                                                First -Class Mail
Page, Marcel (Page Photography)                        1225 W Morse Ave                                                      Chicago, IL 60626                                                                                                                                                        First -Class Mail
Paky Goyes                                             Address Redacted                                                                                                                                                                                                                               First -Class Mail
Palex Medical S A                                      Jesus Serra Santamans 5                                               Sant Cugat Del Valles, 08174               Spain                                                                                                                         First -Class Mail
Palex Medical S.A.U.                                   Edimburgo 14                                                          Las Rozas, Madrid 28232                    Spain                                                                                                                         First -Class Mail
Palex Medical, S.A.                                    Jesus Serra Santamans, 5                                              08174 Sant Cugat del Valles                Carcelona                                            Spain                                                                    First -Class Mail
Pall Corp                                              fka Gelman 1001167                                                    25 Harbor Park Dr                          Pt Washington, NY 11050-4605                                                                                                  First -Class Mail
Pall Life Sciences                                     P.O. Box 8500-1311                                                    Philadelphia, PA 19178-1311                                                                                                                                              First -Class Mail
Palm Beach Gardens Medical Ctr                         3360 Burns RD                                                         Palm Beach Gardens, FL 33410                                                                                                                                             First -Class Mail
Palm Springs Cabinets                                  Attn: Jon Werries                                                     640 S Williams Rd                          Palm Springs, CA 92264                                                                                                        First -Class Mail
Palm Springs Disposal Service, Inc                     4690 E Mesquite Ave                                                   Palm Springs, CA 92264                                                                                                                                                   First -Class Mail
Palm Springs Plating                                   Attn: Lily Castro                                                     345 Del Sol Rd                             Palm Springs, CA 92262                                                                     ken@psplating.com                  EmailFirst-Class Mail
Palm Springs Plating                                   Attn: Lily Castro                                                     345 Del Sol Rd                             Palm Springs, CA 92262                                                                                                        First -Class Mail
Palm Springs Plating                                   345 Del Sol Rd                                                        Palm Springs, CA 92262                                                                                                                                                   First -Class Mail
Palm Springs, Ca                                       1100 Bird Ctr Dr                                                      Palm Springs, CA 92262                                                                                                                                                   First -Class Mail
Palmetto Spinal Solutions                              Attn: Michael Zachery Southerland                                     22 Pinckney St                             Greenville, SC 29601-1422                                                                                                     First -Class Mail
Palo Alto County Hospital                              3201 First St                                                         Emmetsburg, IA 50536                                                                                                                                                     First -Class Mail
Palo Alto Networks                                     4401 Great America Pkwy                                               Santa Clara, CA 95054                                                                                                                                                    First -Class Mail
Palo Alto Networks, Inc                                3000 Tannery Way                                                      Santa Clara, CA 95054                                                                                                                                                    First -Class Mail
Paloma Medical Group                                   30230 Rancho Viejo Rd, Ste 200                                        San Juan Capistrano, CA 92675                                                                                                                                            First -Class Mail
Palomar Health                                         15255 Innovation Dr                                                   San Diego, CA 92128-3400                                                                                                                                                 First -Class Mail
Palos Hospital                                         12251 S 80Th Ave                                                      Resp Therapy                               Palos Heights, IL 60463                                                                                                       First -Class Mail
Palos Hospital                                         12251 S 80th Ave                                                      Palos Heights, IL 60463                                                                                                                                                  First -Class Mail
Palpilot Inc.                                          15991 Red Hill Ave, Ste 102                                           Tustin, CA 92780                                                                                                                                                         First -Class Mail
Pamala Blane                                                                                                                                                                                                                                                       pblane@rchsd.org                   Email
Pan International                                      48008 Fremont Blvd                                                    Fremont, CA 94538                                                                                                                                                        First -Class Mail
Panagopoulos, Andria M                                 Address Redacted                                                                                                                                                                                                                               First -Class Mail
Panalpina Inc                                          1425 Corporate Center Dr, Ste 900                                     San Diego, CA 92154-6637                                                                                                                                                 First -Class Mail
Panama City Surgery Center                             1800 Jenks Ave                                                        Panama City, FL 32405-4642                                                                                                                                               First -Class Mail
Panamed Of Miami Corp                                  13449 NW 19 Ln                                                        Miami, FL 33176                                                                                                                                                          First -Class Mail
Pangaea Medical LLC                                    P.O. Box 71954                                                        Salt Lake City, UT 84171-0954                                                                                                                                            First -Class Mail
Pangas Ag                                              Industriepart 10                                                      CH-6262 Dagmersellen                       Switzerland                                                                                                                   First -Class Mail
PanGas AG                                              PanGas AG                                                             Industriepart 10                           CH-6262 Dagmersellen                                 Switzerland                                                              First -Class Mail
Panoramic Healthcare Communications                    4 Indian Purchase, Ste A                                              Whitehouse Station, NJ 08889-4022                                                                                                                                        First -Class Mail
Panther Industries Inc                                 8990 Barrons Blvd                                                     Highlands Ranch, CO 80129-2347                                                                                                                                           First -Class Mail
Panther Industries Inc.                                8990 Barrons Blvd                                                     Highlands Ranch, CO 80129                                                                                                                                                First -Class Mail
Paola Veronica Lerma Gonzalez                          Address Redacted                                                                                                                                                                                                                               First -Class Mail
Paradyne Medical                                       2950 Saturn St, Ste A                                                 Brea, CA 92821                                                                                                                                                           First -Class Mail
Paradyne Medical Products Inc                          Attn: Susie Leon                                                      2950 Saturn St, Unit A                     Brea, CA 92821                                                                             sleon@paradynemedical.com          EmailFirst-Class Mail
Parexel Int'l Corp                                     c/o Health Advances                                                   9 Riverside Rd                             Weston, MA 02493-2281                                                                                                         First -Class Mail
Pari                                                   2412 Pari Way                                                         Midlothian, VA 23112                                                                                                                                                     First -Class Mail
Pari Respiratory Equip Inc                             P.O. Box 4952                                                         Lancaster, PA 17604-4952                                                                                                                                                 First -Class Mail
Parish Of Acadia                                       P.O. Drawer 309                                                       Crowley, LA 70527-0309                                                                                                                                                   First -Class Mail
Parish of Acadia                                       Sales & Use Tax Dept                                                  P.O. Drawer 309                            Crowley, LA 70527-0309                                                                                                        First -Class Mail
Parish of St Tammany                                   Tax Collector                                                         P.O. Box 669393                            Dallas, TX 75266-9393                                                                                                         First -Class Mail
Parish of St. Tammany                                  P.O. Box 669393                                                       Dallas, TX 75266-9393                                                                                                                                                    First -Class Mail
Park Place Technologies Llc                            5910 Landerbrook Dr, Ste 300                                          Mayfield Heights, OH 44124                                                                                                                                               First -Class Mail
Park Place Technologies LLC                            5910 Landerbrook Dr                                                   Mayfield Heights, OH 44124-6508                                                                                                                                          First -Class Mail
Park Square Capital, Llp                               40 Berkeley Square                                                    London, W1J 5AL                            United Kingdom                                                                                                                First -Class Mail
Parker Engineered Seals                                Engineered Seals Division                                             501 S Sycamore St                          Syracuse, IN 46567-1529                                                                                                       First -Class Mail
Parker Hannifin                                        3191 E La Palma Ave                                                   Anaheim, CA 92806-2803                                                                                                                                                   First -Class Mail
Parker Hannifin Co- Porter Div                         Attn: Ted Fravel                                                      245 Township Line Rd                       P.O. Box 907                                         Hatfield, PA 19440                    tfravel@parker.com                 EmailFirst-Class Mail
Parker Hannifin Corp                                   Attn: Sumit Prasad                                                    902 Columbia Ave                           Riverside, CA 92507                                                                        karla.chan@parker.com              EmailFirst-Class Mail
Parker Hannifin Corp                                   2360 Palumbo Dr                                                       Lexington, KY 40509-1048                                                                                                                                                 First -Class Mail
Parker Hannifin Corp                                   16519 Collection Center Dr                                            Chicago, IL 60693                                                                                                                                                        First -Class Mail
Parker Hannifin Corporation                            3191 E La Palma Ave                                                   Anaheim, CA 92806                                                                                                                                                        First -Class Mail
Parker Hannifin Css Division                           7925 Collection Center Dr                                             Chicago, IL 60693-0079                                                                                                                                                   First -Class Mail
Parker Hannifin Css Division                           c/o Parker Hannifin Corp                                              Blvd Bellas Artes 20394                    Tijuana, BC 22444                                    Mexico                                                                   First -Class Mail
Parker Hannifin Medical Systems Division               Blvd Bellas Artes 20394, Lote 12D                                     Manzana 22 Ciudad Industrial Nueva         Tijuana 22444, BC                                    Mexico                                                                   First -Class Mail
Parker Hannifin Precision Fluids Div                   Attn: Kathleen Leonard                                                26 Clinton Dr                              Hollis, NH 03049                                                                           kathleen.leonard@parker.com        EmailFirst-Class Mail
Parker Hannifin-Pneumatic Div North America            Attn: Cyndi Zimmerman                                                 8676 East M-89                             Richland, MI 49083                                                                         czimmerman@parker.com              EmailFirst-Class Mail
Parker Medical Sales LLC                               10966 E Cortez St                                                     Scottsdale, AZ 85259-3008                                                                                                                                                First -Class Mail
Parker Medical Systems Division                        Engineered Seals Div                                                  501 S Sycamore St                          Syracuse, IN 46567-1529                                                                                                       First -Class Mail
Parkview Health                                        11109 Parkview Plaza Dr, Ent 1                                        Ft Wayne, IN 46845                                                                                                                                                       First -Class Mail
Parkwood Int'l                                         fka Management Recruiters                                             3550 Parkwood Blvd, Ste 500                Frisco, TX 75034                                                                                                              First -Class Mail
Parlex Usa                                             801 Scholz Dr                                                         Vandalia, OH 45377                                                                                                                                                       First -Class Mail
Parque Industrial Mexicali, S.A. De C.V.               Galaxia 18-B                                                          Colonia Parque Industrial                  Mexicali Baja California                             C.P. 21210                   Mexico                                      First -Class Mail
Pars Tanafos Co.                                       No 5, 6th Street                                                      Ostad Nejatollahi Street                   Tehran 15986                                         Iran                                                                     First -Class Mail
Particle Measuring Systems                             51571 Network Pl                                                      Chicago, IL 60673-0001                                                                                                                                                   First -Class Mail
Particle Measuring Systems                             5475 Airport Blvd                                                     Boulder, CO 80301-2339                                                                                                                                                   First -Class Mail
Partner Assessment Corp                                c/o Partner Engineering & Science Inc                                 P.O. Box 207428                            Dallas, TX 75320-7428                                                                                                         First -Class Mail
Partners Cooperative                                   3625 Cumberland Blvd SE, Ste 1425                                     Atlanta, GA 30339-6428                                                                                                                                                   First -Class Mail
Partners Cooperative, Inc.                             3625 Cumberland Blvd SE                                               Atlanta, GA 30339                                                                                                                                                        First -Class Mail
Partners Healthcare System Inc                         529 Main St, 5th Fl                                                   Charlestown, MA 02129-1125                                                                                                                                               First -Class Mail
Partners Healthcare System Inc                         399 Revolution Dr, Ste 645                                            Somerville, MA 02145-1444                                                                                                                                                First -Class Mail
Partners In Womens Healthcare Pc                       1 Lemoyne Sq, Ste 201                                                 Lemoyne, PA 17043-1230                                                                                                                                                   First -Class Mail
Parts Source                                           777 Lena Dr                                                           Aurora, OH 44202                                                                                                                                                         First -Class Mail
Parts Source Inc                                       777 Lena Dr                                                           Aurora, OH 44202-8025                                                                                                                                                    First -Class Mail
Partssource, Inc.                                      777 Lena Dr                                                           Aurora, OH 44202                                                                                                                                                         First -Class Mail
Parylene Engineering                                   931 Calle Negocio, Ste H                                              San Clemente, CA 92673                                                                                                                                                   First -Class Mail
Pasaragad Teb Irsa Co., Ltd.                           Apt #5, No 72, Ghaem Magham Farahani St                               1585984331 Tehran                          Iran                                                                                                                          First -Class Mail
Pasco County Board Of County Comm                      8919 Government Dr                                                    New Port Richey, FL 34654                                                                                                                                                First -Class Mail
Pass Med Healthcare Ltd                                Ramera, Gasabo                                                        Umujyi wa Kigali                           Rwanda                                                                                                                        First -Class Mail
Passavant Area Hospital                                1600 W Walnut St                                                      Jacksonville, FL 62650                                                                                                                                                   First -Class Mail
Passport Health Holdings LLC                           c/o PHH Global Services LLC                                           8324 E Hartford Dr, Ste 200                Scottsdale, AZ 85255-7801                                                                                                     First -Class Mail
Passport Health Los Angeles                            Attn: Rayann Aziz                                                     5455 Wilshire Blvd, Ste 1802               Los Angeles, CA 90036                                                                      rayann.aziz@passporthealthia.com   EmailFirst-Class Mail
Passport Health Los Angeles                            5455 Wilshire Blvd, Ste 1802                                          Los Angeles, CA 90036-4268                                                                                                                                               First -Class Mail
Patel Bhavdip G, MD                                    Address Redacted                                                                                                                                                                                                                               First -Class Mail
Patentburo Paul Rosenich Ag                            Rotenbobenstrasse 12                                                  Tresenberg, 9497                           Liechtenstein                                                                                                                 First -Class Mail
Pathway Health                                         7955 Westminster Blvd                                                 Westminster, CA 92683-4001                                                                                                                                               First -Class Mail
Pathway Health Service                                 11240 Stillwater Blvd N                                               Lake Elmo, MN 55042-9321                                                                                                                                                 First -Class Mail
Patient Services Inc                                   P.O. Box 5930                                                         Midlothian, VA 23112-0033                                                                                                                                                First -Class Mail
Patients Medical Center                                4600 E Sam Houston Pkwy S                                             Pasadena, TX 77505                                                                                                                                                       First -Class Mail
Patricia DeJuilio                                      Address Redacted                                                                                                                                                                                                                               First -Class Mail
Patricia Mendez-Alarcon                                Address Redacted                                                                                                                                                                                                                               First -Class Mail
Patricia Schnoor                                       Address Redacted                                                                                                                                                                                                                               First -Class Mail
Patricia Steed                                         Address Redacted                                                                                                                                                                                                                               First -Class Mail
Patrick Gaither                                        Address Redacted                                                                                                                                                                                                                               First -Class Mail
Patrick Gaither                                        Address Redacted                                                                                                                                                                                                                               First -Class Mail
Patrick Langham Gleason Md                             Address Redacted                                                                                                                                                                                                                               First -Class Mail
Patrick Lynch                                          Address Redacted                                                                                                                                                                                                                               First -Class Mail
Patrick Mccaffrey                                      Address Redacted                                                                                                                                                                                                                               First -Class Mail
Patrick Surface                                        Address Redacted                                                                                                                                                                                                                               First -Class Mail
Patsnap                                                1 N Bridge Rd, #18-01, High St Centre, 179094                         Singapore                                                                                                                                                                First -Class Mail
Patsnap Uk Ltd                                         Building 11 Chiswick Business Park                                    London, W4 5YS                             United Kingdom                                                                                                                First -Class Mail
Patterson Health Center                                485 N KS Hwy 2                                                        Anthony, KS 67003                                                                                                                                                        First -Class Mail
Patterson Precision                                    265 Tech Way, Unit H                                                  Grants Pass, OR 97526                                                                                                                                                    First -Class Mail
Paul A Henry                                           Address Redacted                                                                                                                                                                                                                               First -Class Mail
Paul Cisneros                                          Address Redacted                                                                                                                                                                                                                               First -Class Mail
Paul Eggers                                            Address Redacted                                                                                                                                                                                                                               First -Class Mail
Paul H Gesswein Co Inc                                 201 Hancock Ave                                                       Bridgeport, CT 06605-2403                                                                                                                                                First -Class Mail
Paul McDonnell Treasurer                               P.O. Box 12005                                                        Riverside, CA 92502                                                                                                                                                      First -Class Mail
Paul N Gardner Co Inc                                  316 NE 1st St                                                         Pompano Beach, FL 33060-6608                                                                                                                                             First -Class Mail
Paul Nhuan Nguyen                                      Address Redacted                                                                                                                                                                                                                               First -Class Mail
Paul S Aronzon                                         Address Redacted                                                                                                                                                                                                                               First -Class Mail
                                                                       Case 24-11217-BLS                                                                                   Doc 463                      Filed 08/24/24                             Page 36 of 51

Paul Williem Corey                                                   Address Redacted                                                                                                                                                                                                                                                     First -Class Mail
Paul, Weiss, Rifkind, Wharton & Garrison LLP                         1285 Ave of the Americas                             New York, NY 10019                                                                                                                                                                                              First -Class Mail
Pauline Lieu                                                         Address Redacted                                                                                                                                                                                                                                                     First -Class Mail
Paulson Training Programs Inc                                        3 Inspiration Ln                                     Chester, CT 06412-1356                                                                                                                                                                                          First -Class Mail
Pavel Crystal                                                        Address Redacted                                                                                                                                                                                                                                                     First -Class Mail
Pavese AG                                                            Attn: Enzo Pavese                                    Zellgut 10                                             Schenkon, 6214                        Switzerland                                         Enzo@pavese.ch                                                 First -Class Mail
Pavese Ag                                                            Attn: Enzo Pavese                                    Zellgut 10                                             Schenkon, 6214                        Switzerland                                                                                                        First -Class Mail
Pavese Ag                                                            Zellgut 10                                           6214 Schenkon                                          Switzerland                                                                                                                                              First -Class Mail
Pax Industries                                                       Attn: Armando Martinez                               1561 W Macarthur Industries                            Costa Mesa, CA 92626                                                                      armando@paxindustries.com                                      EmailFirst-Class Mail
Pax Industries                                                       Attn: Armando Martinez                               1561 W Macarthur Industries                            Costa Mesa, CA 92626                                                                                                                                     First -Class Mail
Paxton, Shreve & Hays, Inc                                           2191 Main St                                         San Diego, CA 92113                                                                                                                                                                                             First -Class Mail
Payman Zamani                                                        Address Redacted                                                                                                                                                                                                                                                     First -Class Mail
Paymetric Inc                                                        c/o Paymetric Now Worldplay                          8500 Governors Hill Dr                                 Symmes Twp, OH 45249-1384                                                                                                                                First -Class Mail
Paymetric, Inc                                                       300 Colonial Center Pkwy, Ste 130                    Roswell, GA 30076                                                                                                                                                                                               First -Class Mail
PB Associates                                                        2 Castle Business Village                            Station Rd                                             Hampton Middlesex TW12 2BX            United Kingdom                                                                                                     First -Class Mail
PC Mall                                                              File 55327                                           Los Angeles, CA 90074-5327                                                                                                                                                                                      First -Class Mail
Pc Mall                                                              2555 W 190th St                                      Torrance, CA 90504                                                                                                                                                                                              First -Class Mail
PCM Sales Inc                                                        fka PC Mall Business Solutions                       Attn: Mark Severson                                    1940 E Mariposa Ave                   El Segundo, CA 90245                                mark.severson@pcm.com                                          EmailFirst-Class Mail
PCS Co                                                               Dept 771831                                          P.O. Box 77000                                         Detroit, MI 48277-1831                                                                                                                                   First -Class Mail
Pcs Co                                                               34488 Doreka Dr                                      Fraser, MI 48026                                                                                                                                                                                                First -Class Mail
Pdc Laboratories Inc                                                 2231 W Altorfer Dr                                   Peoria, IL 61615-1807                                                                                                                                                                                           First -Class Mail
Pdl Distribution Services Llc (Provider Supply Chain Services Llc)   4050 Jackson Pointe Ct                               Zelienople, PA 16063                                                                                                                                                                                            First -Class Mail
Peacehealth                                                          1115 SE 164th Ave, Dept 322                          Vancouver, WA 98683-8002                                                                                                                                                                                        First -Class Mail
Peacehealth                                                          1115 SE 164th Ave                                    Vancouver, WA 98683                                                                                                                                                                                             First -Class Mail
Peachtree Surgical And                                               4200 Northside Pkwy Bldg 8 Bariatric PC              Atlanta, GA 30327                                                                                                                                                                                               First -Class Mail
Peak Automation                                                      Attn: Werner Foltz                                   11414 Cockleburr Rd                                    Roanoke, TX 76262-5782                                                                                                                                   First -Class Mail
Peak- Ryzex, Inc                                                     Attn: Brenda Dymond                                  10330 Old Columbia Rd                                  Columbia, OH 21046                                                                        brenda.dymond@peak-ryzex.com                                   EmailFirst-Class Mail
Peak Technical Services Inc                                          583 Epsilon Dr                                       Pittsburgh, PA 15238-2816                                                                                                                                                                                       First -Class Mail
Peak Technical Staffing Usa                                          583 Epsilon Dr                                       Pittsburgh, PA 15238                                                                                                                                                                                            First -Class Mail
Peak Technical Svcs Inc                                              Attn: Fred Aiello                                    583 Epsilon Dr                                         Pittsburgh, PA 15238                                                                      Fredaiello@peaktechnical.com                                   EmailFirst-Class Mail
Peak To Peak Medical Llc                                             101 Model T Rd                                       Boulder, CO 80302                                                                                                                                                                                               First -Class Mail
Peak To Peak Medical LLC                                             101 Model T Rd                                       Boulder, CO 80302-9796                                                                                                                                                                                          First -Class Mail
Peakon                                                               Frederiksberggade 11                                 1st Floor                                              1459 Copenhagen K                     Denmark                                                                                                            First -Class Mail
Peakon Aps                                                           Frederiksberggade 11, 1st Fl                         Copenhagen, 1459                                       Denmark                                                                                                                                                  First -Class Mail
Pediatric Academic Societies                                         3400 Research Forest Dr, Ste B-7                     The Woodlands, TX 77381                                                                                                                          info@pas-meeting.org                                           EmailFirst-Class Mail
Pediatric Academic Societies Inc                                     9303 New Trails Dr, Ste 350                          The Woodlands, TX 77381-5018                                                                                                                                                                                    First -Class Mail
Pediatric Home Respiratory Services, Llc                             2800 Cleveland Ave N                                 Roseville, MN 55113                                                                                                                                                                                             First -Class Mail
Pednar                                                               1823 Enterprise Way                                  Monrovia, CA 91016                                                                                                                                                                                              First -Class Mail
Pednar Products Inc                                                  P.O. Box 661569                                      Arcadia, CA 91066-1569                                                                                                                                                                                          First -Class Mail
Pednar Products Inc                                                  13130 Spring St                                      Baldwin Park, CA 91706-2283                                                                                                                                                                                     First -Class Mail
Pegamentos Ind Galileo                                               Blvd Lopez Mateos 2257                               Mexicali, BC 21360                                     Mexico                                                                                                                                                   First -Class Mail
Pelican Industries & Fabricating Co Inc.                             2225 S 8th St                                        Mikeaukee, WI 53172                                                                                                                                                                                             First -Class Mail
Pelonis Technologies Inc.                                            444 Creamery Way, Ste 500                            Exton, PA 19341                                                                                                                                                                                                 First -Class Mail
Pelonis Technologies, Inc                                            Attn: Sam Pelonis                                    444 Creamery Way, Ste 500                              Exton, PA 19341                                                                                                                                          First -Class Mail
Pelonis/Pelko                                                        Attn: Sam Pelonis                                    444 Creamery Way, Ste 500                              Exton, PA 19341                                                                           spelonis@pelonistech.com                                       EmailFirst-Class Mail
Pemiscot Memorial Hospital                                           946 E Reed St                                        Hayti, MO 63851                                                                                                                                                                                                 First -Class Mail
Pender Community Hospital                                            100 Hospital Dr                                      Pender, NE 68047                                                                                                                                                                                                First -Class Mail
Pendry San Diego                                                     c/o Rgc Gaslamp LLC                                  550 J St                                               San Diego, CA 92101-7020                                                                                                                                 First -Class Mail
Peninsula Regional Medcial Center                                    100 E Carrole St                                     Salisbury, MD 21801                                                                                                                                                                                             First -Class Mail
Penn Corporate Relocation Services                                   1515 W Mable St                                      Anaheim, CA 92802                                                                                                                                                                                               First -Class Mail
Pennoyer Dodge Company                                               6650 San Fernando Rd                                 Glendale, CA 91201                                                                                                                                                                                              First -Class Mail
Pennoyer-Dodge Co                                                    P.O. Box 5105                                        Glendale, CA 91221-1017                                                                                                                                                                                         First -Class Mail
Pennoyer-Dodge Co                                                    6650 San Fernando Rd                                 Glendale, CA 91201-1745                                                                                                                                                                                         First -Class Mail
Pennsylvania Assoc For Thoracic Srg                                  830 Old Lancaster Rd, Ste 210                        Bryn Mawr, PA 19010-3118                                                                                                                                                                                        First -Class Mail
Pennsylvania Capital Region Ons Cha                                  c/o Diane Mcelwain, York Cancer Ctr                  25 Monument Rd, Ste 194                                York, PA 17403-5049                                                                                                                                      First -Class Mail
Pennsylvania Dept of Health                                          Pennsylvania Dept of Health, Health & Welfare Bldg   625 Forster St, 8th Fl                                 W Harrisburg, PA 17120                                                                                                                                   First -Class Mail
Pennsylvania Dept of Revenue                                         P.O. Box 280427                                      Harrisburg, PA 17128-0427                                                                                                                                                                                       First -Class Mail
Pennsylvania Dept of Revenue                                         P.O. Box 280905                                      Harrisburg, PA 17128-0905                                                                                                                                                                                       First -Class Mail
Pennsylvania Hospital                                                800 Spruce St                                        Philadelphia, PA 19107                                                                                                                                                                                          First -Class Mail
Pennsylvania State University                                        201 Old Main                                         University Park, PA 16802                                                                                                                                                                                       First -Class Mail
PennWell Co                                                          Attn: Mark Fisher                                    1421 S Sheridan Rd                                     Tulsa, CA 74112                                                                                                                                          First -Class Mail
Penrod Software Llc                                                  219 N Milwaukee St, Ste 250                          Milwaukee, WI 53202                                                                                                                                                                                             First -Class Mail
Pentad Design Co                                                     Attn: Aaron London                                   1371 Warner Ave, Ste C                                 Tustin, CA 92780                                                                          alondon@pentaddesign.com                                       EmailFirst-Class Mail
Pentad Design Corp                                                   1371 Warner Ave, Ste C                               Tustin, CA 92780-6448                                                                                                                                                                                           First -Class Mail
Pentair Filtration Solutions                                         Attn: Carlos Rincon-Toro                             1350 Hammond Rd                                        St Paul, MN 55110                                                                         carlos.rincon-toro@pentair.com                                 EmailFirst-Class Mail
Pentair Filtration Solutions LLC                                     Attn: Carlos Rincon-Toro                             1350 Hammond Rd                                        St Paul, MN 55110                                                                                                                                        First -Class Mail
Pentair Filtration Solutions Llc                                     1350 Hammond Rd                                      St Paul, MN 55110                                                                                                                                                                                               First -Class Mail
People Productions                                                   Attn: Done Poe                                       1737 15th St, Ste 200                                  Boulder, CO 80302                                                                         don.poe@peopleproductions.com                                  EmailFirst-Class Mail
Perceptum Group LLC                                                  2001 Union St, Ste 300                               San Francisco, CA 94123-4108                                                                                                                                                                                    First -Class Mail
Perfect Tangban                                                      Address Redacted                                                                                                                                                                                                                                                     First -Class Mail
Perforce Software Inc                                                400 1St Ave N, Ste 200                               Minneapolis, MN 55401-1720                                                                                                                                                                                      First -Class Mail
Perforce Software, Inc.                                              400 1st Ave N, Ste 200                               Minneapolis, MN 55401                                                                                                                                                                                           First -Class Mail
Perforce Software, Inc.                                              400 First Ave North                                  Minneapolis, MN 55401                                                                                                                                                                                           First -Class Mail
Performance Feeders Inc                                              251 Dunbar Ave                                       Oldsmar, FL 34677-2900                                                                                                                                                                                          First -Class Mail
Performance Polymer Technologies                                     Attn: Don Fenton                                     8801 Washington Blvd, Ste 109                          Roseville, CA 95678                                                                       donfenton@pptech.com                                           EmailFirst-Class Mail
Performance Testing Laboratories Llc                                 2601 S Garnsey St, Ste B                             Santa Ana, CA 92707                                                                                                                                                                                             First -Class Mail
Performance Testing Laboratories, LLC                                Attn: Mary Beth Proctor                              1428 N Manzanita St                                    Orange, CA 92867                                                                          marybeth@performancetestinglabs.com                            EmailFirst-Class Mail
Performance Testing Labs LLC                                         1428 N Manzanita St A                                Orange, CA 92867-3606                                                                                                                                                                                           First -Class Mail
Perioperative Medical Improvement                                    Attn: William J Mazzei Md                            700 W E St, Unit 2306                                  San Diego, CA 92101-5994                                                                                                                                 First -Class Mail
Perkin Elmer Health Sciences Inc                                     710 Bridgeport Ave                                   Shelton, CT 06484-4750                                                                                                                                                                                          First -Class Mail
Perkins Coie LLP                                                     11988 El Camino Real, Ste 350                        San Diego, CA 92130-2594                                                                                                                                                                                        First -Class Mail
Perma Pure                                                           Attn: Jessica Light                                  100 New Hampshire Ave                                  Lakewood, NJ 08701                                                                                                                                       First -Class Mail
Perma Pure LLC                                                       Attn: Jessica Light                                  100 New Hampshire Ave                                  Lakewood, NJ 08701                                                                        jlight@permapure.com                                           EmailFirst-Class Mail
Perma Pure Llc                                                       1001 New Hampshire Ave                               Lakewood, NJ 08701                                                                                                                                                                                              First -Class Mail
Perma Pure LLC                                                       Attn: Jessica Light                                  100 New Hampshire Ave                                  Lakewood, NJ 08701                                                                                                                                       First -Class Mail
Permabond, Llc                                                       14 Robinson St                                       Pottstown, PA 19464                                                                                                                                                                                             First -Class Mail
Perona, Megan Nicole                                                 518 S Springbrook Rd                                 Newberg, OR 97132                                                                                                                                                                                               First -Class Mail
Perry D Sabo                                                         Address Redacted                                                                                                                                                                                                                                                     First -Class Mail
Person County Tax Collector                                          P.O. Box 1701                                        Roxboro, NC 27573-1701                                                                                                                                                                                          First -Class Mail
Peter Doyle                                                          Address Redacted                                                                                                                                                                                                                                                     First -Class Mail
Peter Staessens                                                                                                                                                                                                                                                            peter.staessens@arseus-medical.be                              Email
Peterson Health                                                      551 Hill Country Dr                                  Kerrville, TX 78028                                                                                                                                                                                             First -Class Mail
Pexco                                                                c/o Extrusion LLC                                    2500 Northwinds Pkwy, Ste 472                          Alpharetta, GA 30009-2249                                                                                                                                First -Class Mail
Pexco LLC                                                            P.O. Box 532215                                      Atlanta, GA 30353-2215                                                                                                                                                                                          First -Class Mail
Pf Medical Di Giuseppe Purrone                                       Piazzetta M Tigani, 2-89024 Polistena (RC)           Italy                                                                                                                                                                                                           First -Class Mail
PF Medical di Giuseppe Purrone                                       Piazzetta M Tigani, 2                                89024 Polistena, RC                                    Italy                                                                                                                                                    First -Class Mail
Pfiedler Education                                                   2170 S Parker Rd, Ste 400                            Denver, CO 80231                                                                                                                                                                                                First -Class Mail
Pfiedler Education (Ce Seminar)                                      2170 S Parker Rd, Ste 125                            Denver, CO 80231                                                                                                                                                                                                First -Class Mail
Pfiedler Enterprises Inc                                             Pfiedler Education                                   2170 S Parker Rd, Ste 125                              Denver, CO 80231-5746                                                                                                                                    First -Class Mail
Pfitzinger Graphics LLC                                              Attn: Donald C Pfitzinger                            681 Larkin Williams Rd                                 Fenton, MO 63026-3108                                                                                                                                    First -Class Mail
Pharmaceutical Research Associates, Inc                              4130 Park Lane Ave, Ste 400                          Raleigh, NC 27612                                                                                                                                                                                               First -Class Mail
Pharmaceutical Research Associates, Inc.                             4130 Park Ln Ave, Ste 400                            Raleigh, NC 27612                                                                                                                                                                                               First -Class Mail
Pharmalink Consulting Inc                                            51 John F Kennedy Pkwy, Ste 425                      Short Hills, NJ 07078-2704                                                                                                                                                                                      First -Class Mail
Pharmatelligence                                                     Abton House Wedal Rd                                 Cardiff, CF14 3QX                                      United Kingdom                                                                                                                                           First -Class Mail
Pharmawrite LLC                                                      152 Wall St                                          Princeton, NJ 08540-1514                                                                                                                                                                                        First -Class Mail
Pharmed UK Ltd                                                       Unit 8                                               Manor Park                                             Wildmere Industrial estate            Banbury OX163TB              United Kingdom                                                                        First -Class Mail
Pharmethod Inc                                                       1170 Wheeler Way                                     Langhorne, PA 19047-3243                                                                                                                                                                                        First -Class Mail
Phasium A Megmeet Company                                            4020 Moorpark Ave, Ste 115                           San Jose, CA 95117                                                                                                                                                                                              First -Class Mail
Phecda China, Ltd.                                                   Room 404, No 88 Taoyu Road                           Tianhe District, Guangzhou, Guangdong Province         China                                                                                                                                                    First -Class Mail
Phenomenex Inc                                                       411 Madrid Ave                                       Torrance, CA 90501-1430                                                                                                                                                                                         First -Class Mail
Phiama Inc                                                           236 Mckinley Park Ln                                 Louisville, CO 80027-1671                                                                                                                                                                                       First -Class Mail
Phiama, Inc.                                                         236 McKinley Park Ln                                 Louisville, CO 80027                                                                                                                                                                                            First -Class Mail
Philip E Silkoff                                                     Address Redacted                                                                                                                                                                                                                                                     First -Class Mail
Philips Healthcare, A Division Of Philips North America Llc          222 Jacobs St                                        Cambridge, MA 02141                                                                                                                                                                                             First -Class Mail
Philips North America Llc                                            222 Jacobs St                                        Cambridge, MA 02141                                                                                                                                                                                             First -Class Mail
Phillips Plastics Corp                                               Lockbox                                              3976 Solutions Ctr                                     Chicago, IL 60677-3009                                                                                                                                   First -Class Mail
Phillips Rs North America Llc (Fka Respironics)                      Respironics Inc                                      6501 Living Pl                                         Pittsburgh, PA 15206                                                                                                                                     First -Class Mail
Phillips-Medisize Costa Mesa LLC                                     c/o Risk Optimization Dept                           Attn: Hillary Kamran                                   2222 Wellington Ct                    Lisle, IL 60532                                     hillary.kamran@molex.com                                       EmailFirst-Class Mail
Phillips-Medisize Costa Mesa LLC                                     Lockbox                                              3976 Solutions Ctr                                     Chicago, IL 60677-3009                                                                                                                                   First -Class Mail
Phillips-Medisize Costa Mesa, LLC                                    fka Affinity                                         Attn: Edith Perez, Customer Svc                        Attn: Ashutosh Kashyap, Quality Eng   3545 Harbor Blvd, Ste 150    Costa Mesa, CA 92626   Edith.PerezCuatlayotl@molex.com; ashutosh.kashyap1@molex.com   EmailFirst-Class Mail
Phillips-Medisize Costa Mesa, Llc                                    3545 Harbor Blvd, Ste 150                            Costa Mesa, CA 92626                                                                                                                                                                                            First -Class Mail
Phoenix Asia                                                         No 7 Alley 47/4                                      Lane 47 Nguyen Hong Rd                                 Lang Ha Commune, Dong Da Dist         Hanoi                        Vietnam                                                                               First -Class Mail
Phoenix Business Consulting Inc                                      959 Redhawk Ln                                       Greensburg, PA 15601-7837                                                                                                                                                                                       First -Class Mail
Phoenix Business Consulting, Inc.                                    P.O. Box 237                                         Greensburg, PA 15601                                                                                                                                                                                            First -Class Mail
Phoenix Instrument Business Co Ltd                                   Fl 4, No 6, Lane 609, Sec 5                          Chorng-Hsin Road, Sanchung                             New Taipei City 24159                 Taiwan                                                                                                             First -Class Mail
Phoenix Mecano Inc                                                   Attn: Candice Rincon                                 7330 Executive Way                                     Frederick, MD 21704                                                                       sylvia@pm-usa.com                                              EmailFirst-Class Mail
Phoenix Mecano Inc.                                                  7330 Executive Way                                   Frederick, MD 21704                                                                                                                                                                                             First -Class Mail
Photo Machining                                                      Attn: Joey Placenti                                  4 Industrial Dr                                        Pelham, NH 03076                                                                          jplacenti@photomachining.com                                   EmailFirst-Class Mail
Photomachining                                                       4 Industrial Drive Unit                              Pelham, NH 03076                                                                                                                                                                                                First -Class Mail
Photomachining, Inc.                                                 4 Industrial Park Dr, Unit 40                        Pelham, NH 03076                                                                                                                                                                                                First -Class Mail
Phouvanh V Xayalinh                                                  Address Redacted                                                                                                                                                                                                                                                     First -Class Mail
Physician Sales & Service Inc                                        P.O. Box 749499                                      Los Angeles, CA 90074-9499                                                                                                                                                                                      First -Class Mail
Physician Sales & Svc                                                1938 Malvern Ave                                     Fullerton, CA 92833                                                                                                                                                                                             First -Class Mail
Pickrel Bros, Inc                                                    Attn: James Pickrel                                  901 S Perry St                                         Dayton, OH 45402                                                                          www.pickrelbros.com                                            EmailFirst-Class Mail
Picture Time LLC                                                     Attn: Jeff Stone                                     1021 Kerber Pass N                                     Chaska, MN 55318                                                                          Jeff@picturetimemn.com                                         EmailFirst-Class Mail
Picture Time LLC                                                     1021 Kerber Pass                                     Chaska, MN 55318-5403                                                                                                                                                                                           First -Class Mail
Piedmont Healthcare                                                  2334 De Foor Hills Rd                                Atlanta, GA 30318                                                                                                                                                                                               First -Class Mail
Piedmont Healthcare, Inc.                                            1800 Howell Mill Rd, Ste 850                         Atlanta, GA 30318                                                                                                                                                                                               First -Class Mail
Piedmont Healthcare, Inc.                                            1968 Peachtree Rd NW                                 Atlanta, GA 30309                                                                                                                                                                                               First -Class Mail
Piergiuseppe Agostoni                                                Quadronno 11                                         Milano                                                 Italy                                                                                                                                                    First -Class Mail
Pierson Workholding                                                  c/o Pierson Industries Inc                           4685 Runway St, Ste E                                  Simi Valley, CA 93063-3470                                                                                                                               First -Class Mail
Pikielny Consultoria Ltda                                            Rua Joaquim Floriano, 243, cj 72 - CEP               04534-010, Sao Paulo, SP                               Brazil                                                                                                                                                   First -Class Mail
Pikielny Consultoria Ltda                                            Rua Joaquim Floriano 243 Cj 72                       Sao Paulo, SP 04534-010                                Brazil                                                                                                                                                   First -Class Mail
Pilgrim Quality Solutions                                            3450 Buschwood Park Dr, Ste 34                       Tampa, FL 33618-4447                                                                                                                                                                                            First -Class Mail
Pilgrim Software, Inc.                                               2807 W Busch Blvd, Ste 200                           Tampa, FL 33618                                                                                                                                                                                                 First -Class Mail
Pillsbury Winthrop Shaw Pittman LLP                                  P.O. Box 742262                                      Los Angeles, CA 90074-2262                                                                                                                                                                                      First -Class Mail
Pillsbury Winthrop Shaw Pittman LLP                                  P.O. Box 7880                                        San Francisco, CA 94120-7880                                                                                                                                                                                    First -Class Mail
Pilot Freight Services                                               P.O. Box 654058                                      Dallas, TX 75265-4058                                                                                                                                                                                           First -Class Mail
Ping Lu Chong Md                                                     1000 E Latham Ave, Ste E                             Hemet, CA 92543                                                                                                                                                                                                 First -Class Mail
Pinnacle                                                             c/o Pinnacle Performance Group                       601 Carlson Pkwy, Ste 1050                             Hopkins, MN 55305-5219                                                                                                                                   First -Class Mail
Pinnacle Engineering & Design                                        1535 Katella Way                                     Escondido, CA 92027-3637                                                                                                                                                                                        First -Class Mail
Pinnacle Engineering & Design (Monroe, William)                      Willima Monroe                                       7236 Mount Shasta Ave                                  Joshua Tree, CA 92252                                                                                                                                    First -Class Mail
Pinnacle Engineering & Design (Monroe, William)                      1535 Katella Way                                     Escondido, CA 92027                                                                                                                                                                                             First -Class Mail
Pinnacle Precision                                                   5410 E La Palma Ave                                  Anaheim, CA 92807                                                                                                                                                                                               First -Class Mail
Pinnacle Precision Sheet Metal                                       Attn: Erica Gamboa                                   5410 E La Palma Ave                                    Anaheim, CA 92807                                                                         erica@pinnaclemetal.com                                        EmailFirst-Class Mail
Pinnacle Precision Sheet Metal Corp                                  c/o Pinnacle Performance Group                       601 Carlson Pkwy, Ste 1050                             Hopkins, MN 55305-5219                                                                                                                                   First -Class Mail
Pinnacle Solutions                                                   P.O. Box 220591                                      St Louis, MO 63122-0591                                                                                                                                                                                         First -Class Mail
Pinnacle Solutions Llc                                               6017 Snell Ave, Unit 916                             San Jose, CA 95123                                                                                                                                                                                              First -Class Mail
Pinnacle Technical Resources Inc                                     5501 Lyndon B Johnson Fwy                            Dallas, TX 75240                                                                                                                                                                                                First -Class Mail
Pinnacle Xray Solutions Inc                                          480 Brogdon Rd, Ste 700                              Suwanee, GA 30024-8616                                                                                                                                                                                          First -Class Mail
PINP Inc                                                             3164 N Hudson Ave                                    Chicago, IL 60657-4712                                                                                                                                                                                          First -Class Mail
Pioneer Packaging                                                    730 E University Dr                                  Phoenix, AZ 85034                                                                                                                                                                                               First -Class Mail
Pioneer Packaging                                                    Dept 0117                                            Los Angeles, CA 90084-0001                                                                                                                                                                                      First -Class Mail
Pioneer Packaging Inc                                                c/o Pioneer Packaging Worldwide                      730 E University Dr                                    Phoenix, AZ 85034-6509                                                                                                                                   First -Class Mail
Piper Medical Corp                                                   1053 Village Ln                                      Chico, CA 95926-2812                                                                                                                                                                                            First -Class Mail
Piper Medical, Inc.                                                  1053 Village Ln                                      Chico, CA 95926                                                                                                                                                                                                 First -Class Mail
Pisa Biopharm Inc.                                                   300 Great Oaks Blvd, Ste 325                         Albany, NY 12203                                                                                                                                                                                                First -Class Mail
Pitney Bowes Global                                                  c/o Financial Services LLC                           P.O. Box 371887                                        Pittsburgh, PA 15250-7887                                                                                                                                First -Class Mail
Pitney Bowes Global                                                  c/o Financial Services LLC                           P.O. Box 371896                                        Pittsburgh, PA 15250-7896                                                                                                                                First -Class Mail
Pitney Bowes Global                                                  c/o Financial Services LLC                           1 Elmcroft Rd                                          Stamford, CT 06926-0700                                                                                                                                  First -Class Mail
Pitt County Memorial Hospital Inc                                    c/o Vidant Medical Center                            P.O. Box 6028                                          Greenville, NC 27835-6028                                                                                                                                First -Class Mail
Pixel & Timber LLC                                                   1633 Pullan Ave                                      Cincinnati, OH 45223-2050                                                                                                                                                                                       First -Class Mail
Pixel And Timber, Llc                                                3925 Spring Grove Ave                                Cincinnati, OH 45223                                                                                                                                                                                            First -Class Mail
PJT Partners LP                                                      280 Park Ave, 17th Fl                                New York, NY 10017-1274                                                                                                                                                                                         First -Class Mail
Pka Marketing                                                        c/o Prom Krog Altstiel Inc                           1009 W Glen Oaks Ln, Ste 107                           Mequon, WI 53092-3382                                                                                                                                    First -Class Mail
Plan B Inc                                                           116 W Illinois St, Fl 2W                             Chicago, IL 60654-2732                                                                                                                                                                                          First -Class Mail
Planet Pharma                                                        Attn: Tim Bosse                                      2100 Sanders Rd                                        Northbrook, IL 60062                                                                      www.planet-pharma.com                                          EmailFirst-Class Mail
Planet Pharma LLC                                                    2100 Sanders Rd                                      Northbrook, IL 60062-6139                                                                                                                                                                                       First -Class Mail
Planful Inc                                                          555 Twin Dolphin Dr, 4th Fl                          Redwood City, CA 94065-2129                                                                                                                                                                                     First -Class Mail
Planful, Inc                                                         555 Twin Dolphin Dr, Ste 400                         Redwood City, CA 94065                                                                                                                                                                                          First -Class Mail
Planview, Inc                                                        Research Park Plaza V                                12301 Research Blvd, Ste 101                           Austin, TX 78759                                                                                                                                         First -Class Mail
Plaquemines Medical Center                                           27136 La-23                                          Port Sulphur, LA 70083                                                                                                                                                                                          First -Class Mail
Plaquemines Parish                                                   Sales Tax Division                                   333 F Edward Hebert Blvd                               Bldg 102, Ste 345                     Belle Chasse, LA 70037                                                                                             First -Class Mail
Plasmatreat Usa Inc                                                  2541 Technology De                                   Elgin, IL 60124                                                                                                                                                                                                 First -Class Mail
Plasmatreat USA Inc                                                  2541 Technology Dr, Ste 407                          Elgin, IL 60124-7845                                                                                                                                                                                            First -Class Mail
Plastech Corporation                                                 920 S Field Ave                                      Rush City, MN 55069                                                                                                                                                                                             First -Class Mail
Plastech, Lakeland Tool                                              Attn: Nick Frandsen                                  920 S Frandsen Ave                                     Rush City, CA 55069                                                                       Nfrandsen@frandsencorporation.com                              EmailFirst-Class Mail
Plastic Ingenuity                                                    1017 Park St                                         Cross Plains, WI 53528-9630                                                                                                                                                                                     First -Class Mail
Plastic Molded Concepts                                              Attn: Garrett Woldanski                              111 Murphy Dr                                          Eagle, WI 53119                                                                           woldanski@pmcplastics.com                                      EmailFirst-Class Mail
Plastic Process Equipment Inc                                        P.O. Box 670425                                      Northfield, OH 44067-0425                                                                                                                                                                                       First -Class Mail
Plastic Process Equipment Inc                                        8303 Corporate Park Dr                               Macedonia, OH 44056-2300                                                                                                                                                                                        First -Class Mail
Plastic Products International                                       Lovet Road Pinnacles Harlow                          Essex CM19 5AS                                         United Kingdom                                                                                                                                           First -Class Mail
Plastic Products Int'l Ltd                                           Capital Pl Lovet Rd Pinnacles                        Harlow, ES CM19 5AS                                    United Kingdom                                                                                                                                           First -Class Mail
Plastic Supply & Fabrication Co Inc                                  7743 E 38th St                                       Tulsa, OK 74145-3248                                                                                                                                                                                            First -Class Mail
Plastic Surgery Associates of Tulsa                                  6585 S Yale Ave, Ste 1020                            Tulsa, OK 74136-8323                                                                                                                                                                                            First -Class Mail
Plasticos Y Materias Primas Sa De C                                  Juan De La Barrera 3609-2                            Guadalajara, JAL 44490                                 Mexico                                                                                                                                                   First -Class Mail
Plasticos Y Materias Primas Sa De Cv                                 Juan De La Barrera 3609-2                            Guadalajara, Jal 44470                                 Mexico                                                                                                                                                   First -Class Mail
Plasticweld Systems Inc                                              3600 Coomer Rd                                       Newfane, NY 14108-9651                                                                                                                                                                                          First -Class Mail
Platinum Training LLC                                                874 American Pacific Dr, Ste 120                     Henderson, NV 89014-8801                                                                                                                                                                                        First -Class Mail
Plaza Medical Ctr Fort Worth                                         900 8Th Ave Receiving                                Fort Worth, TX 76104                                                                                                                                                                                            First -Class Mail
Plexus Corp                                                          1 Plexus Way                                         Neenah, WI 54956-3045                                                                                                                                                                                           First -Class Mail
Plexus Corp                                                          One Plexus Way                                       Neenah, WI 54956                                                                                                                                                                                                First -Class Mail
Plomics Inc                                                          76 Rivervale Rd                                      Shelburne, VT 05482-4415                                                                                                                                                                                        First -Class Mail
Pm Corporate Group, Inc (Dba Pm Packaging)                           2285 Michael Faraday Dr, Ste 12                      San Diego, CA 92154                                                                                                                                                                                             First -Class Mail
Pmalliance Inc                                                       P.O. Box 621                                         Tucker, GA 30085-0621                                                                                                                                                                                           First -Class Mail
PMSNA SSD Andove                                                     3000 Minuteman Rd                                    MS5303                                                 Andover, MA 01810                                                                                                                                        First -Class Mail
Pneumatic Scale Angelus - Oh                                         c/o Pneumatic Scale Corp                             10 Ascot Pkwy                                          Cuyahoga Falls, OH 44223-3325                                                                                                                            First -Class Mail
Pnoi SA                                                              Vassileos Georgiou 30                                15233 Chalandri, Athens                                Greece                                                                                                                                                   First -Class Mail
Pointe Camino Windell LLC                                            2525 Main St, Ste 200                                Irvine, CA 92614-6679                                                                                                                                                                                           First -Class Mail
Polaris Recruitment Communications                                   12 W Central Ave                                     Miamisburg, OH 45342-2813                                                                                                                                                                                       First -Class Mail
Polarixpartner Gmbh                                                  Graf-Siegfried-Str 32                                Saarburg 54439                                         Germany                                                                                                                                                  First -Class Mail
Polimedika DOO                                                       Ulsr Njemacke 4/7                                    10020 Zagreb                                           Croatia                                                                                                                                                  First -Class Mail
Polimedika Doo                                                       Sr Njemacke 4                                        Zagreb, 10020                                          Croatia                                                                                                                                                  First -Class Mail
Polished Geek Llc                                                    500 Westover Dr, Ste 6832                            Sanford, NC 27330-8941                                                                                                                                                                                          First -Class Mail
Politecnico Di Milano                                                c/o Deib                                             Piazza Leonardo Da Vinci 32                            Milano, 20133                         Italy                                                                                                              First -Class Mail
Politecnico Di Milano                                                Piazza Leonardo Da Vinci, 32                         20133 Milano                                           Italy                                                                                                                                                    First -Class Mail
Pollution Control Specialist Inc                                     1354 Ritchey St                                      Santa Ana , CA 92705-4727                                                                                                                                                                                       First -Class Mail
Polo Custom Products                                                 c/o M-C Industries Inc                               3601 SW 29th St, Ste 250                               Topeka, KS 66614-2078                                                                                                                                    First -Class Mail
Polsinelli                                                           1401 Eye St Nw, Ste 800                              Washington, DC 20005                                                                                                                                                                                            First -Class Mail
Polsinelli Pc                                                        1401 Eye St Nw, Ste 800                              Washington, DC 20005                                                                                                                                                                                            First -Class Mail
Polsinelli Pc                                                        900 W 48th Pl, Ste 900                               Kansas City, MO 64112-1899                                                                                                                                                                                      First -Class Mail
Poly One MA Hanna                                                    Dept 1176                                            P.O. Box 121176                                        Dallas, TX 75312-1176                                                                                                                                    First -Class Mail
Poly Pro Inc                                                         2003 Macy Dr                                         Roswell, GA 30076-6346                                                                                                                                                                                          First -Class Mail
Polyfoam Corp                                                        2355 Providence Rd                                   Northbridge, MA 01534-1085                                                                                                                                                                                      First -Class Mail
Polyfoam Corporation                                                 2355 Providence Rd                                   Northbridge, MA 01534                                                                                                                                                                                           First -Class Mail
Polygon Co                                                           P.O. Box 176                                         Walkerton, IN 46574-0176                                                                                                                                                                                        First -Class Mail
Polygon Co                                                           103 Industrial Park Dr                               Walkerton, IN 46574-1068                                                                                                                                                                                        First -Class Mail
Polymer Technologies Inc                                             420 Corporate Blvd                                   Newark, DE 19702                                                                                                                                                                                                First -Class Mail
Polymershapes Holdings Inc                                           c/o Polymershapes Lls                                9369 Dowdy Dr                                          San Diego, CA 92126                                                                                                                                      First -Class Mail
Polymershapes LLC                                                    24482 Network Pl                                     Chicago, IL 60673-0001                                                                                                                                                                                          First -Class Mail
Polyomed Cjsc                                                        Novgorodskaya Str, 1, 6Th Floor, Ofa605,             127576 Moscow                                          Russian Federation                                                                                                                                       First -Class Mail
Polyomed Oy Ltd                                                      Regus Business Center Graniittialo                   Jaakonkatu 3 B, 7th Floor, off 7715                    00100 Helsinki                        Finland                                                                                                            First -Class Mail
Polyone Corp                                                         33587 Walker Rd                                      Avon Lake, OH 44012-1145                                                                                                                                                                                        First -Class Mail
Polyone Corporation                                                  33587 Walker Rd                                      Avon Lake, OH 44012                                                                                                                                                                                             First -Class Mail
Polytainers Inc                                                      P.O. Box 71723                                       Chicago, IL 60694-1723                                                                                                                                                                                          First -Class Mail
Polytainers Inc                                                      c/o Poly Group Packaging LLC                         197 Norsman St                                         Toronto, ON M8Z 2R5                   Canada                                                                                                             First -Class Mail
Polyzen Inc                                                          1041 Classic Rd                                      Apex, NC 27539-4402                                                                                                                                                                                             First -Class Mail
                                                                      Case 24-11217-BLS                                                                                             Doc 463                                     Filed 08/24/24                          Page 37 of 51

Pomona Valley Community Hospital                                    286 W Bonita Ave                                             Pomona, CA 91767-1850                                                                                                                                                                                                            First -Class Mail
Ponte Vedra Lodge Inc                                               c/o The Lodge & Club                                         200 Ponte Vedra Blvd                                                    Ponte Vedra Beach, FL 32082-1810                                                                                                                         First -Class Mail
Poppelmann Plastics USA                                             Attn: Bart Cave                                              2180 Heart Dr                                                           Claremont, NC 28610                                                                  bartcave@popoeppelmann.com                                          EmailFirst-Class Mail
Poppelmann Plastics Usa Llc                                         2180 Heart Dr                                                Claremont, NC 28610                                                                                                                                                                                                              First -Class Mail
Poppulo Inc                                                         77 4th Ave, Ste 6                                            Waltham, MA 02451-7567                                                                                                                                                                                                           First -Class Mail
Porex Corp                                                          500 Bohannon Rd                                              Fairburn, GA 30213-2828                                                                                                                                                                                                          First -Class Mail
Porex Technologies                                                  27763 Network Pl                                             Chicago, IL 60673-1277                                                                                                                                                                                                           First -Class Mail
Porex Technologies Ltd                                              Merlin house                                                 Alness Point Business Park,                                             Alness IV17 OUP                        United Kingdom                                                                                                    First -Class Mail
Porge Yang                                                          Address Redacted                                                                                                                                                                                                                                                                              First -Class Mail
Porsha Carter                                                       Address Redacted                                                                                                                                                                                                                                                                              First -Class Mail
Port Air Cargo Int'l Inc                                            11099 S La Cienega Blvd, Ste 280                             Los Angeles, CA 90045-6146                                                                                                                                                                                                       First -Class Mail
Porter Hospital Llc                                                 D/B/A Northwest Health ? Porter                              85 E Us Hwy 6                                                           Valparaiso, IN 46383                                                                                                                                     First -Class Mail
Porter Trucking Ltd                                                 P.O. Box 157                                                 Station T                                                               Calgary, AB T2H 2G8                    Canada                                                                                                            First -Class Mail
                                                                                                                                                                                                                                                                                              Nitija.Kupekar@regalrexnord.com; Juliet.Menezes@regalrexnord.com;
Portescap India                                                     Attn: Juliet Menezes, Nitja Kupekar                          Attn: Nilesh Patil                                                      Unit No 2, Sdf 1 Seepz-Sez             Mumbai, 400096           India                Nilesh.patil@portescap.com                                          First -Class Mail
Portescap India                                                     Attn: Juliet Menezes, Nitja Kupekar                          Attn: Nilesh Patil                                                      Unit No 2, Sdf 1 Seepz-Sez             Mumbai, 400096           India                                                                                    First -Class Mail
Portescap India Pvt Ltd                                             Attn: Juliet Menezes, Nitja Kupekar                          Attn: Nilesh Patil                                                      Unit 2, Sdf 1 Seepz-Sez                Mumbai, 400096           India                                                                                    First -Class Mail
Portescap India Pvt Ltd                                             Unit No 2, Sdf 1 Seepz-Sez                                   Mumbai, 400096                                                          India                                                                                                                                                    First -Class Mail
Portescap US                                                        Attn: Ben Vanderhoof                                         110 Westtown Rd                                                         W Chester, PA 19382                                                                  ben.vanderhoof@portescap.com                                        EmailFirst-Class Mail
Portneuf Medical Center                                             777 Hospital Way                                             Pocatello, ID 83201-5176                                                                                                                                                                                                         First -Class Mail
Porzio Bromberg & Newman Pc                                         100 Southgate Pkwy                                           Morristown, NJ 07960-6465                                                                                                                                                                                                        First -Class Mail
Porzio Compliance Services Llc                                      100 Southgate Pkwy                                           P.O. Box 1997                                                           Morristown, NJ 07962-1997                                                                                                                                First -Class Mail
Porzio Compliance Services, LLC                                     100 Southgate Pkwy                                           Morristown, NJ 07960-6465                                                                                                                                                                                                        First -Class Mail
Porzio Life Sciences LLC                                            Attn: Frank Fazio                                            100 Southgate Pkwy                                                      Morristown, NJ 07960-6465                                                            ffazio.@pbnlaw                                                      EmailFirst-Class Mail
Porzio Life Sciences LLC                                            100 Southgate Pkwy                                           Morristown, NJ 07960-6465                                                                                                                                                                                                        First -Class Mail
Porzio, Bromberg & Newman, PC                                       100 Southgate Pkwy                                           P.O. Box 1997                                                           Morristown, NJ 07962-1997                                                                                                                                First -Class Mail
Positive Electronics Company Limited                                10 Science Park East Ave, Hong Kong Science Park, Shatin,    Hong Kong                                                                                                                                                                                                                        First -Class Mail
Positive Electronics Company Limited                                No 18/15/477 Kim Ma St, Ngoc Khanh Ward, Ba Dinh Dist        Hanoi                                                                   Vietnam                                                                                                                                                  First -Class Mail
Potenza Productions LLC                                             1802 W Berteau Ave, Ste 207                                  Chicago, IL 60613-6182                                                                                                                                                                                                           First -Class Mail
Potomac Photonics Inc                                               1450 S Rolling Rd                                            Halethorpe, MD 21227-3863                                                                                                                                                                                                        First -Class Mail
Potomac River Partners Corp                                         1621 N Kent St, Ste 800                                      Arlington, VA 22209                                                                                                                                                                                                              First -Class Mail
Potter Anderson & Corroon LLP                                       Attn: Aaron Stulman                                                                                                                                                                                                       astulman@potteranderson.com                                         Email
Potter Anderson & Corroon LLP                                       Attn: L. Katherine Good/Aaron Stulman                        1313 N Market St, 6th Fl                                                Wilmington, DE 19801                                                                 kgood@potteranderson.com                                            EmailFirst-Class Mail
Power Transmission Specialties                                      8803 Sorensen Ave                                            Santa Fe Springs, CA 90670-2636                                                                                                                                                                                                  First -Class Mail
Powers Pyles Sutter & Verville PC                                   1501 M St NW, Ste 700                                        Washington, DC 20005-1708                                                                                                                                                                                                        First -Class Mail
Powertech Components Inc                                            403 E Ramsey Rd, Ste 205                                     San Antonio, TX 78216-4662                                                                                                                                                                                                       First -Class Mail
Pozitronics Co, Ltd                                                 No 18, Alley 15, Lane 477 Kim Ma Street                      Ngoc Khanh Ward, Ba Dinh District                                       Ha Noi City                            Vietnam                                                                                                           First -Class Mail
Ppc Industries, Inc                                                 10101 78Th Ave                                               Pleasant Prairie, WI 53158                                                                                                                                                                                                       First -Class Mail
Ppc Industries, Inc Dba Spectrum Plastics Group                     2500 Northwinds Pkwy, Ste 472                                Alpharetta, GA 30009                                                                                                                                                                                                             First -Class Mail
Pph Global Services, Llc (Passport Health)                          8324 E Hartford Dr                                           Scottsdale, AZ 85255                                                                                                                                                                                                             First -Class Mail
PQ Systems                                                          210B E Spring Valley Rd                                      Dayton, OH 45458                                                                                                                                                                                                                 First -Class Mail
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Pratt Medical Group Inc                                             800 Washington St                                            P.O. Box 1013                                                           Boston, MA 02111-1552                                                                                                                                    First -Class Mail
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Precision Associates                                                Attn: Ashley Corkran                                         3800 Wahington Ave N                                                    Minneapolis, MN 55412                                                                AshleyCorkran@precisionassoc.com                                    EmailFirst-Class Mail
Precision Associates                                                NW 6245                                                      3800 Washington Ave N                                                   Minneapolis, MN 55412-2142                                                                                                                               First -Class Mail
Precision Associates Inc                                            740 Washington Ave                                           Minneapolis, MN 55401                                                                                                                                                                                                            First -Class Mail
Precision Associates Inc                                            740 Washington Ave N                                         Minneapolis, MN 55401-1110                                                                                                                                                                                                       First -Class Mail
Precision Charts Inc                                                130 Wilbur Pl                                                Bohemia, NY 11716                                                                                                                                                                                                                First -Class Mail
Precision Charts Inc                                                P.O. Box 456                                                 Bohemia, NY 11716-0456                                                                                                                                                                                                           First -Class Mail
Precision Concepts Costa Rica                                       Saret Industrial Park                                        Building C7                                                             Rio Segundo, Alajuela 74-4002          Costa Rica                                                                                                        First -Class Mail
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Precision Interconnect                                              c/o Tyco Electronics                                         25258 Network Pl                                                        Chicago, IL 60673-1252                                                                                                                                   First -Class Mail
Precision Interconnect LLC                                          10025 SW Freeman Dr                                          Wilsonville, OR 97070-9289                                                                                                                                                                                                       First -Class Mail
Precision Interconnect Llc, A Te Connectivity Ltd Company           Carret Int Km 1969                                           Guadalajara-Nogales Km2                                                 Empalme, Sonora 85340                  Mexico                                                                                                            First -Class Mail
Precision Medical Devices LLC                                       4024 Highwood Dr                                             Chattanooga, TN 37415-3102                                                                                                                                                                                                       First -Class Mail
Precision Medical Inc                                               Attn: Jim Parker                                             300 Held Dr                                                             Northampton, PA 18067                                                                jparker@precisionmedical.com                                        EmailFirst-Class Mail
Precision Metal Processing                                          Attn: Brandon Anthony                                        1245 W 2nd St                                                           Pomona, CA 91766                                                                     brandon@precisionmetal.net                                          EmailFirst-Class Mail
Precision Metal Processing                                          13717 Desmond St                                             Pacolma, CA 91331                                                                                                                                                                                                                First -Class Mail
Precision Testing Laboratories Inc                                  P.O. Box 100268                                              Nashville, TN 37224                                                                                                                                                                                                              First -Class Mail
Precision Testing Laboratories Inc                                  313 Hill Ave                                                 Nashville, TN 37210-4711                                                                                                                                                                                                         First -Class Mail
Preclinical Medevice Innovations Ll                                 c/o Isis Sc LLC                                              1031 Bing St                                                            San Carlos, CA 94070-5320                                                                                                                                First -Class Mail
Preety Tuli                                                         Address Redacted                                                                                                                                                                                                                                                                              First -Class Mail
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Preferred Cfo Solutions LLC                                         478 S 100 E                                                  Salem, UT 84653-9427                                                                                                                                                                                                             First -Class Mail
Premier Display & Exhibits                                          Attn: Steven B Firks                                         11261 Warland Dr                                                        Cypress, CA 90630                                                                    sfirks@premierdisplays.com                                          EmailFirst-Class Mail
Premier Health Partners                                             110 N Main St                                                Dayton, OH 45402                                                                                                                                                                                                                 First -Class Mail
Premier Health Partners                                             Attn: Megan Kelley                                           110 N Main St, Ste 260                                                  Dayton, OH 45402-3705                                                                                                                                    First -Class Mail
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Premier Healthcare Solutions                                        Attn: Conner Adams                                           13034 Ballantyne Corporate Pl                                           Charlotte, NC 28277                                                                  Conner_adams@premierinc.com                                         EmailFirst-Class Mail
Premier Healthcare Solutions Inc                                    13034 Ballantyne Corporate Pl                                Charlotte, NC 28277-1498                                                                                                                                                                                                         First -Class Mail
Premier Medical Distribution                                        12393 S Gateway Park Pl, Ste 100                             Draper, UT 84020                                                                                                                                                                                                                 First -Class Mail
Premier Pack Int'l                                                  1428 36th St                                                 Brooklyn, NY 11218-3710                                                                                                                                                                                                          First -Class Mail
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Premium Aerotec Gmbh                                                Haunstetter Str 225                                          86179 Augsburg                                                          Germany                                                                                                                                                  First -Class Mail
Premium Assignment Corp                                             3522 Thomasville Rd, Ste 400                                 Tallahassee, FL 32309-3488                                                                                                                                                                                                       First -Class Mail
Premium Creative Labels, Inc                                        Attn: Destiny London                                         26341 Jefferson Ave, Ste D                                              Murrieta, CA 92567                                                                   customer.service@premiumcreativelabels.com                          EmailFirst-Class Mail
Pre-Press Print Production Service & Verlag                         Romershauser Strabe 2                                        Gladenbach, 06 35075                                                    Germany                                                                                                                                                  First -Class Mail
Preproduction Plastics, Inc                                         210 N Teller St                                              Corona, CA 92879                                                                                                                                                                                                                 First -Class Mail
Presbyterian Healthcare Services                                    P.O. Box 27489                                               Albuquerque, NM 87113                                                                                                                                                                                                            First -Class Mail
Prescient Surgical                                                  1585 Industrial Rd                                           San Carlos, CA 94070                                                                                                                                                                                                             First -Class Mail
Presidio Holdings Inc                                               c/o Presidio Networked Solutions Group                       12100 Sunset Hills Rd, Ste 300                                          Reston, VA 20190-3295                                                                elliotbrecher@presidio.com                                          EmailFirst-Class Mail
Presidio Holdings Inc                                               c/o Presidio Networked Solutions Group                       12100 Sunset Hills Rd, Ste 300                                          Reston, VA 20190-3295                                                                                                                                    First -Class Mail
Presidio Networked Solutions Group, Llc                             6355 E Paris Ave                                             Caledonia, MI 49316                                                                                                                                                                                                              First -Class Mail
Presidio Networked Solutions Group, Llc                             8161 Maple Lawn Blvd                                         Fulton, MD 20759                                                                                                                                                                                                                 First -Class Mail
Presidio Networked Solutions Group, Llc                             1 Penn Plaza, 28Th Fl                                        New York, NY 10119                                                                                                                                                                                                               First -Class Mail
Presidio Surgical Inc                                               1451 Danville Blvd, Ste 204                                  Alamo, CA 94507-1941                                                                                                                                                                                                             First -Class Mail
Presido                                                             Attn: Jay Staples                                            One Penn Plz, Ste 2501                                                  New York, NY 10119                                                                   jstaples@presido.com                                                EmailFirst-Class Mail
Pres-Tek Plastics Inc                                               11060 Tacoma Dr                                              Rancho Cucamonga, CA 91730                                                                                                                                                                                                       First -Class Mail
Pres-Tek Plastics Inc                                               11060 Tacoma Dr                                              Rancho Cucamonga, CA 91730-4857                                                                                                                                                                                                  First -Class Mail
Prestige Mold Inc                                                   11040 Tacoma Dr                                              Rancho Cucamonga, CA 91730-4857                                                                                                                                                                                                  First -Class Mail
Preston Marketing Inc                                               520 Inverness Dr                                             Gurnee, IL 60031-5350                                                                                                                                                                                                            First -Class Mail
PRGX USA Inc                                                        600 Galleria Pkwy SE, Ste 100                                Atlanta, GA 30339-5991                                                                                                                                                                                                           First -Class Mail
Prgx Usa, Inc                                                       600 Galleria Pkwy, Ste 100                                   Atlanta, GA 30339                                                                                                                                                                                                                First -Class Mail
Priamus System Technology LLC                                       3061 Nationwide Pkwy                                         Brunswick, OH 44212-2361                                                                                                                                                                                                         First -Class Mail
Pricewaterhouse Coopers S C                                         Marano Escobedo 573                                          Ciudad De Mexico                                                        Mexico                                                                                                                                                   First -Class Mail
Pricewaterhousecoopers Advisory Services Llc                        Two Commerce Square                                          2001 Market Street, Ste 1800                                            Philadelphia, PA 19103                                                                                                                                   First -Class Mail
Pricewaterhousecoopers LLP                                          300 Madison Ave                                              New York, NY 10017                                                                                                                                                                                                               First -Class Mail
Primary Care Education Consortium                                   Attn: Donna York                                             15603 Mccullers Ct                                                      Charlotte, NC 28277-1478                                                                                                                                 First -Class Mail
Primary Children's Hospital                                         Attn: Hannah Nicksic                                         100 N Mario Capecchi Dr                                                 Salt Lake City, UT 84113                                                             hannah.nicksic@imail.org                                            EmailFirst-Class Mail
Primary Children's Hospital                                         Pediatric Education Svcs                                     81 N Mario Capecchi Dr                                                  Salt Lake City, UT 84113                                                                                                                                 First -Class Mail
Primary Freight Services                                            19618 S Susana Rd                                            Compton, CA 90221                                                                                                                                                                                                                First -Class Mail
Prime Healthcare Management                                         1000 Carondelet Dr                                           Kansas City, MO 64114                                                                                                                                                                                                            First -Class Mail
Prime Medical Co, Ltd                                               111 Soi Ladprao 126                                          Ladprao Road                                                            Wangthonglarng, Bangkok 10310          Thailand                                                                                                          First -Class Mail
Prime Medical Co, Ltd                                               111 Soi Ladprao 126                                          Ladprao Rd                                                              Wangthonglarng, Bangkok, 10310         Thailand                                                                                                          First -Class Mail
Prime Medical Co,Ltd                                                111 Soi Ladprao 126, Ladprao Road                            Phlapphla, Wangthonglang,                                                                                                                                                                                                        First -Class Mail
Prime Technologies Inc                                              840 Springdale Dr                                            Exton, PA 19341-2803                                                                                                                                                                                                             First -Class Mail
Primerevnue, Inc                                                    600 Peachtree St Ne, Ste 400                                 Atlanta, GA 30308                                                                                                                                                                                                                First -Class Mail
PrimeRevnue, Inc                                                    600 Peachtree St NE, Ste 4400                                Atlanta, GA 30308                                                                                                                                                                                                                First -Class Mail
Primex Plastics Corp                                                Lockbox 774527                                               4527 Solutions Ctr                                                      Chicago, IL 60677-0001                                                                                                                                   First -Class Mail
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Princeton Excess & Surplus Lines Ins Co                             555 College Rd E                                             P.O. Box 5241                                                           Princeton, NJ 08543-5241                                                                                                                                 First -Class Mail
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Printpack Inc                                                       2800 Overlook Pkwy                                           Atlanta, GA 30339-6240                                                                                                                                                                                                           First -Class Mail
Priority Sign Inc                                                   837 Riverfront Dr, Ste 300                                   Sheboygan, WI 53081-4670                                                                                                                                                                                                         First -Class Mail
Prisco Engineering Associates LLC                                   Attn: Michael R Prisco                                       833 Samantha Cir                                                        Geneva, IL 60134-4410                                                                                                                                    First -Class Mail
Prisym Id Ltd                                                       Tech House                                                   Oaklands Business Centre                                                Oaklands Park, Wokingham               Berkshire RG41 2FD       United Kingdom                                                                           First -Class Mail
PRN Health Service                                                  2500 E Imperial Hwy, Ste 201-164                             Brea, CA 92821                                                                                                                                                                                                                   First -Class Mail
Prn Staffing                                                        c/o Professional Registry Network                            2500 E Imperial Hwy, Ste 201-164                                        Brea, CA 92821-6122                                                                                                                                      First -Class Mail
Pro Fab Ind Inc                                                     P.O. Box 550                                                 Mannford, OK 74044-0550                                                                                                                                                                                                          First -Class Mail
Pro Mach Inc                                                        c/o Id Technology LLC                                        391 Greendale Rd                                                        York, PA 17403-4638                                                                                                                                      First -Class Mail
Pro Mach Inc                                                        c/o Rennco LLC                                               300 S Elm St                                                            Homer, MI 49245-1337                                                                                                                                     First -Class Mail
Pro Mold Inc                                                        415 Grumman Dr                                               Riverside, CA 92508-9453                                                                                                                                                                                                         First -Class Mail
Pro Mold, Inc                                                       415 Grumman Dr                                               Riverside, CA 92508                                                                                                                                                                                                              First -Class Mail
Pro Packaging                                                       2549 Eastbluff Dr, Ste 482                                   Newport Beach, CA 92660-3599                                                                                                                                                                                                     First -Class Mail
Pro Trans Int'l Inc                                                 8311 N Perimeter Rd                                          Indianapolis, IN 46241-3628                                                                                                                                                                                                      First -Class Mail
ProAssurance Specialty Ins Co                                       4795 Meadow Wood Ln, Ste 335 W                               Chantilly, VA 20151                                                                                                                                                                                                              First -Class Mail
Process Quality Consulting                                          353 S Smokeridge Ter                                         Anaheim, CA 92807                                                                                                                                                                                                                First -Class Mail
Processmap Corp                                                     13450 W Sunrise Blvd, Ste 160                                Sunrise, FL 33323-2948                                                                                                                                                                                                           First -Class Mail
Proclinical Staffing                                                1010 N Hancock St                                            Philadelphia, PA 19123                                                                                                                                                                                                           First -Class Mail
Proctor, Delano Md                                                  6770 Mayfield Rd                                             Mayfield Heights, OH 44124                                                                                                                                                                                                       First -Class Mail
Procura Consulting Ltd                                              99 Bishopsgate                                               London, EC2M 3XD                                                        United Kingdom                                                                                                                                           First -Class Mail
Procurement Advisors Llc Dba Procure Analytics                      3101 Towercreek Pkwy, Ste 250                                Atlanta, GA 30339                                                                                                                                                                                                                First -Class Mail
Procustom Group                                                     Dba Of Mid-Atlantic Computer Services                        13030 Alondra Blvd, Ste 101                                             Cerritos, CA 90703                                                                                                                                       First -Class Mail
ProCustom Group                                                     dba of Mid-Atlantic Computer Svcs                            13030 Alondra Blvd, Ste 101                                             Cerritos, CA 90703                                                                                                                                       First -Class Mail
Product Safety Labs                                                 2394 Hwy 130                                                 Dayton, NJ 08810                                                                                                                                                                                                                 First -Class Mail
Product Slingshot, Inc Dba Forecast 3D                              2221 Rutherford Rd                                           Carlsbad, CA 92008                                                                                                                                                                                                               First -Class Mail
Production Automation Co                                            Attn: Troy Martin                                            6200 Bury Dr                                                            Eden Prairie, MN 55346                                                               troy.martin@gotopac.com                                             EmailFirst-Class Mail
Production Automation Corp                                          6200 Bury Dr                                                 Eden Prairie, MN 55346-1718                                                                                                                                                                                                      First -Class Mail
Production Systems                                                  12568 Kirkham Court                                          Poway, CA 92064                                                                                                                                                                                                                  First -Class Mail
Productivity-Quality Systems                                        P.O. Box 750010                                              Dayton, OH 45475                                                                                                                                                                                                                 First -Class Mail
Productos Médicos Y Quirurgicos SA                                  Promedica                                                    Benito Moncion No 4                                                     Gazeue Z-1                             Santo Domingo            Dominican Republic                                                                       First -Class Mail
Productos Médicos Y Quirurgicos SA (Promedica)                      Benito Moncion No 4 Gazeue Z-1                               Dominican Republic                                                                                                                                                                                                               First -Class Mail
Proengineered Solutions, Llc                                        2139 N Flower St                                             Santa Ana, CA 92706                                                                                                                                                                                                              First -Class Mail
Profesionales De Equipo Medico Sa De Cv                             C/O Mexico, & Servicios De Ingenieria En Medicina Sa De Cv   Calzada de Tlalpan 479, 1-3 Piso, Col Alamos Delegacion Benito Juarez   Mexico City 03400                      Mexico                                                                                                            First -Class Mail
Profesionales De Equipo Medico Sa De Cv                             Grupo Sim:                                                   479 Calzada de Tlalpan                                                  Mexico City, Federal District, 03400   Mexico                                                                                                            First -Class Mail
Profesionales De Equipo Medico Sa De Cv                             479 Calzada De Tlalpan                                       Ciudad de México                                                        Federal District 3400                  Mexico                                                                                                            First -Class Mail
Profesionales de Equipo Medico SA de CV                             479 Calzada de Tlalpan                                       Mexico City, Federal District, 03400                                    Mexico                                                                                                                                                   First -Class Mail
Professional Diversified Flooring Inc                               Attn: Jeff Vinzant                                           4 Vanderbilt, Ste A                                                     Irvine, CA 92618                                                                     jeff@pdfinc.net                                                     EmailFirst-Class Mail
Professional Medical, Inc                                           1917 Garnet Ct                                               New Lenox, IL 60451                                                                                                                                                                                                              First -Class Mail
Professional Registry Network                                       dba PRN Staffing                                             Attn: George Makridis                                                   2500 E Imperial Hwy, Ste 201-164       Brea, CA 92821                                gmakridis@prncorp.net                                               EmailFirst-Class Mail
Professional Registry Network Dba Prn Staffing                      2500 E Imperial Hwy, Ste 201-164                             Brea, CA 92821                                                                                                                                                                                                                   First -Class Mail
Professional Resource Partners LLC                                  14 Rickland Dr                                               Randolph, NJ 07869-4338                                                                                                                                                                                                          First -Class Mail
Profiles Inc                                                        17704 Bearpath Tr                                            Eden Prairie, MN 55347-3447                                                                                                                                                                                                      First -Class Mail
Progress Lithograph Co Inc                                          c/o Progress Printers                                        3311 W Beverly Blvd                                                     Montebello, CA 90640-1536                                                                                                                                First -Class Mail
Progressive Components Intl Corp                                    P.O. Box 5997                                                Carol Stream, IL 60197-5997                                                                                                                                                                                                      First -Class Mail
Progressive Components Intl Corp                                    c/o Progressive Components                                   235 Industrial Dr                                                       Wauconda, IL 60084-1078                                                                                                                                  First -Class Mail
Project Hope-The People-To People                                   c/o Health Foundation, Inc                                   1220 19th St NW, Ste 800                                                Washington, DC 20036-2400                                                                                                                                First -Class Mail
Projekt Medizin Gmbh                                                Lessingstrasse 25                                            08085, Zwickau                                                          Germany                                                                                                                                                  First -Class Mail
Projekt Medizin GMBH                                                Lessingstrabe 25                                             Zwickau, 05058                                                          Germany                                                                                                                                                  First -Class Mail
Proliance Highlands Surgery Center                                  510 8th Ave NE, Ste 100                                      Issaquah, WA 98029-5436                                                                                                                                                                                                          First -Class Mail
Promaplast Usa, Inc                                                 9595 Six Pines Dr, Ste 8210, Bldg 8, Level 2                 The Woodlands, TX 77380                                                                                                                                                                                                          First -Class Mail
Promed Molded Products Inc                                          15600 Medina Rd                                              Minneapolis, MN 55447-1466                                                                                                                                                                                                       First -Class Mail
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Promedic Consulting LLC                                             c/o Promedic LLC                                             131 Bay Point Dr NE                                                     St Petersburg, FL 33704-3805                                                                                                                             First -Class Mail
Promedic, Llc                                                       C/O Promedic Llc                                             131 Bay Point Dr NE                                                     St Petersburg, FL 33704-3805                                                                                                                             First -Class Mail
Promedical Comercio de                                              Materiais Hospitalares Ltda                                  Rua Eng Benedito Mario                                                  da Silva, 655, conj 01                 Cajuru, CEP 82970-000    Brazil                                                                                   First -Class Mail
Promedical Comercio De Materiais Hospitalares Ltda                  C/O Worldmed Produtos E Equipamentos Medicos Rua Eng         Benedito Mario da Silva, 635 Bairro Cajuru Curitiba                     Parana 82970000                        Brazil                                                                                                            First -Class Mail
Promedis Medikal Cozumler                                           c/o Servis Ve San Tic As                                     Tatlisu Mah Nurettin Durman                                             Istanbul, 34774                        Turkey                                                                                                            First -Class Mail
Promedis Medikal Cozumler Servis Ve Sanayi Ticaret Anonim Sirketi   Tatlisu Mahallesi Nurettin Durman Sk, No:18                  34755 Ümraniye Istanbul                                                 Turkey                                                                                                                                                   First -Class Mail
Promenade Software                                                  16 Technology Dr, Ste 100                                    Irvine, CA 92618                                                                                                                                                                                                                 First -Class Mail
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Pro-Mold Inc                                                        Attn: Randy Herr                                             415 Grumman Dr                                                          Riverside, CA 92508                                                                  promoldinc@earthlink.net                                            EmailFirst-Class Mail
Promotional Alliance Inc                                            2303 Wycliff St, Ste 1W                                      St Paul, MN 55114-1278                                                                                                                                                                                                           First -Class Mail
Promotional Capital LLC                                             P.O. Box 221379                                              Beachwood, OH 44122-0998                                                                                                                                                                                                         First -Class Mail
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ProPharma Group                                                     8717 W 110 St, Ste 300J                                      Overland Park, KS 66210                                                                                                                                                                                                          First -Class Mail
Propper Manufacturing Company                                       36-04 Skillman Ave                                           Long Island City, NY 11101                                                                                                                                                                                                       First -Class Mail
Prosegur Services Group, Inc                                        512 Herndon Pkwy, Ste A                                      Herndon, VA 20170                                                                                                                                                                                                                First -Class Mail
Prosymmetry Llc                                                     2000 Auburn Dr, Ste 460                                      Beachwood, OH 44122                                                                                                                                                                                                              First -Class Mail
Prosymmetry LLC                                                     2000 Auburn Dr, Ste 460                                      Beachwood, OH 44122-4314                                                                                                                                                                                                         First -Class Mail
Protective Industries Inc                                           c/o Caplugs                                                  2150 Elmwood Ave                                                        Buffalo, NY 14207-1910                                                                                                                                   First -Class Mail
Protective Industries Inc                                           c/o Caplugs West                                             18704 S Ferris Pl                                                       Rancho Dominguez, CA 90220-6400                                                                                                                          First -Class Mail
Protective Industries, Inc - Caplugs                                2150 Elmwood Ave                                             Buffalo, NY 14207                                                                                                                                                                                                                First -Class Mail
Protiviti                                                           101 N Wacker Dr, Ste 140                                     Chicago, IL 60606                                                                                                                                                                                                                First -Class Mail
Protiviti Inc                                                       12269 Collections Center Dr                                  Chicago, IL 60693-0001                                                                                                                                                                                                           First -Class Mail
Proto Labs Inc                                                      c/o Protomold & First Cut                                    5540 Pioneer Creek Dr                                                   Maple Plain, MN 55359                                                                                                                                    First -Class Mail
Proto Labs Inc                                                      c/o Protomold & First Cut                                    5540 Pioneer Creek Dr                                                   Maple Plain, MN 55359-9003                                                                                                                               First -Class Mail
Proto Labs, Inc                                                     dba Protomold                                                Attn: Richard Wuollett                                                  5540 Pioneer Creek Dr                  Maple Plain, MN 55359                         Richard.Wuollett@protolabs.com                                      EmailFirst-Class Mail
Proto Labs, Inc                                                     5540 Pioneer Creek Dr                                        Maple Plain, MN 55359                                                                                                                                                                                                            First -Class Mail
Protocast                                                           3900 E 68Th Ave                                              Commerce City, CO 80022                                                                                                                                                                                                          First -Class Mail
Protocast/ John List Corp                                           Attn: John List Jr                                           9732 Cozycroft Ave                                                      Chartsworth, CA 91311                                                                johnlistjr@protocastjlc.com                                         EmailFirst-Class Mail
Protofab Technologies                                               924 W Maple St                                               Valley View, PA 17983                                                                                                                                                                                                            First -Class Mail
Protofab Technologies                                               Attn: Benjamin M Machamer                                    924 W Maple St                                                          Valley View, PA 17983-9733                                                                                                                               First -Class Mail
Prough, Kyle (Kyote Creative)                                       111 N Vermont Ave                                            Glendora, CA 91741                                                                                                                                                                                                               First -Class Mail
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Proven Staffing Consultants                                         Attn: Ronald Bell                                            9444 Waples St, Ste 440                                                 San Diego, CA 92121                                                                  rbell@proveninc.com                                                 EmailFirst-Class Mail
Providence Enterprise Limited                                       Unit 13-15, 6/F Grand City Plaza                             Sai Lau Kok Road                                                        Tsuen Wan N.T.                         Hong Kong                                                                                                         First -Class Mail
Providence Equity Partners Inc                                      50 Kennedy Plz                                               Providence, RI 02903                                                                                                                                                                                                             First -Class Mail
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Providence Health & Science                                         Southern California                                          501 S Buena Vista St                                                    Burbank, CA 91505-4809                                                                                                                                   First -Class Mail
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Providence Health & Services                                        6350 NE Halsey St                                            Portland, OR 97213-4720                                                                                                                                                                                                          First -Class Mail
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Providence Mfg Inc                                            10862 Capital Ave, Ste 4K                  Garden Grove, CA 92843-6500                                                                                                                                                    First -Class Mail
Providence MFG, Inc                                           Attn: Vinh Nguyen                          10862 Capital Ave, Unit 4K                         Garden Grove, CA 92843                                                     info@providencemfg.com                           EmailFirst-Class Mail
Providence St Mary'S Medical Center                           401 W Poplar                               Walla Walla, WA 99362                                                                                                                                                          First -Class Mail
Providien Llc                                                 2731 Loker Ave W                           Carlsbad, CA 92010                                                                                                                                                             First -Class Mail
Prowers Medical Center                                        401 Kendall Dr                             Lamar, CO 81052                                                                                                                                                                First -Class Mail
Proxima                                                       107 Cheapside                              London EC2V 6DB                                    United Kingdom                                                                                                              First -Class Mail
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Proximed Ltd                                                  C/O Accounts Payable                       Royal Road, Cassis                                 Mauritius                                                                                                                   First -Class Mail
Pryor Products                                                Attn: Kevin Donahue                        1819 Peacock Blvd                                  Oceanside, CA 92056                                                        kdonahue@pryorproducts.com                       EmailFirst-Class Mail
Pryor Products                                                Attn: Kevin Donahue                        1819 Peacock Blvd                                  Oceanside, CA 92056                                                                                                         First -Class Mail
Psa Lab Furniture/Fume Hoods Labtec                           c/o Psa Labtech Inc                        2100 S Calhoun Rd                                  New Berlin, WI 53151-2218                                                                                                   First -Class Mail
PSC Electronics                                               Attn: Todd Derbique                        2307 Calle Del Mundo                               Santa Clara, CA 95054                                                      t.derbique@emailpsc.com                          EmailFirst-Class Mail
Psc Environmental Services LLC                                c/o Stericycle Environmental Solutions     5151 San Felipe St, Ste 1000                       Houston, TX 77056-3607                                                                                                      First -Class Mail
PSC LLC                                                       27727 Network Pl                           Chicago, IL 60673-1277                                                                                                                                                         First -Class Mail
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Pt Meditrans Global                                           Rukan Zamzam Square                        Unit R5, JI, Condet Raya                           Jakarta                             Indonesia                                                                               First -Class Mail
PT Meditrans Global                                           Rukan Zamzam Sq                            Unit R5, JI, Condet Raya                           Jakarta                             Indonesia                                                                               First -Class Mail
Pt Rajawali Nusindo                                           Address Redacted                                                                                                                                                                                                          First -Class Mail
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Pt Ravindra Putrapratama                                      Pusat Niaga Duta Mas Fatmawati             Blok B2-18, Jl Fatmawati 39-Kebayoran Baru         Jakarta 12150                       Indonesia                                                                               First -Class Mail
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Pulmonary & Critical Care Spec                                1301 W 38Th St, Ste 400                    Austin, TX 78705                                                                                                                                                               First -Class Mail
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Pulmonary Allergy & Sleep Ctr                                 11901 Toepperwein Rd, Ste 1401             San Antonio, TX 78233                                                                                                                                                          First -Class Mail
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Pulmonary Associates                                          4194 Royal Pine Dr                         Colorado Springs, CO 80920                                                                                                                                                     First -Class Mail
Pulmonary Associates                                          1725 E Boulder St Ste 204                  Colorado Springs, CO 80909                                                                                                                                                     First -Class Mail
Pulmonary Associates                                          5216 Dawes Ave                             Alexandria, VA 22311                                                                                                                                                           First -Class Mail
Pulmonary Associates Pa                                       1450 Ross Clark Cir Ste 400                Dothan, AL 36301                                                                                                                                                               First -Class Mail
Pulmonary Consultants Of Sw Fl                                1031 Se 9Th Pl, Unit 2                     Cape Coral, FL 33990                                                                                                                                                           First -Class Mail
Pulmonary Critical Care And Pulmonary Critical Care & Sleep   435 Airport Blvd Sleep                     Pensacola, FL 32503                                                                                                                                                            First -Class Mail
Pulmonary Physicians Pa                                       1133 Se 18Th Pl, Ste 4                     Ocala, FL 34471                                                                                                                                                                First -Class Mail
Pulmonary Slp & Wellness Ctr                                  44555 Woodward Ave Ste 504                 Pontiac, MI 48341                                                                                                                                                              First -Class Mail
Pulmonary Technology Services Llc                             2575 Pioneer Ave, Ste 102                  Vista, CA 92081-8450                                                                                                                                                           First -Class Mail
Pulmonary Technology Svc                                      Attn: David Spivey                         13834 48th Court N                                 W Palm Beach, FL 33411                                                                                                      First -Class Mail
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Purolator Courier Ltd                                         P.O. Box 1100                              Etobicoke, ON M9C 5K2                              Canada                                                                                                                      First -Class Mail
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PWC                                                           Attn: Kevin Lewis                          4040 W Boy Scout Blvd                              Tampa, FL 33607                                                            kevin.t.lewis@pwc.com                            EmailFirst-Class Mail
PWC Holding No 21 LLC                                         c/o Pricewaterhousecoopers Advisory Ser    4040 W Boy Scout Blvd                              Tampa, FL 33607-5750                                                                                                        First -Class Mail
Pye Legal Group                                               520 Post Oak Group, Ste 310                Houston, TX 77027                                                                                                                                                              First -Class Mail
Pyng Lee                                                      Address Redacted                                                                                                                                                                                                          First -Class Mail
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Pyramid Packaging                                             2901 Shermer Rd                            Northbrook, IL 60062-7712                                                                                                                                                      First -Class Mail
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Q Laboratories Inc                                            c/o Mkt Inc                                1400 Harrison Ave                                  Cincinnati, OH 45214-1606                                                                                                   First -Class Mail
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Q Medical LLC                                                 c/o Qure Sturtevant                        1810 Renaissance Blvd                              Sturtevant, WI 53177-1743                                                                                                   First -Class Mail
Q1 Test Inc                                                   11000 S Grove Ave, Bldg B2                 Ontario, CA 91761                                                                                                                                                              First -Class Mail
Q2 Metrics Inc                                                60 Sumach St, 2nd Fl                       Toronto, ON M5A 3J7                                Canada                                                                                                                      First -Class Mail
Qliktech Inc                                                  150 Randor-Chester Rd, Ste E220            Radnor, PA 19087                                                                                                                                                               First -Class Mail
Qliktech Inc                                                  150 N Radnor Chester Rd, Ste E220          Radnor, PA 19087-5242                                                                                                                                                          First -Class Mail
Qmedic                                                        Al Rayan, Area 55, Ai Azizla               Umm Kharj Street, Building No 130                  P.O. Box 16299                      Doha                           Qatar                                                    First -Class Mail
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Qosina Corp                                                   Attn: Susan Rathje                         150-Q Executive Dr                                 Edgewood, NY 11717                                                         dvalenti@qosina.com                              EmailFirst-Class Mail
Qosina Corp                                                   2002-Q Orville Dr N                        Ronkonkoma, NY 11779                                                                                                                                                           First -Class Mail
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Qserve Group BV                                               Utrechtseweg 310-B42                       6812AR Arnhem                                      The Netherlands                                                                                                             First -Class Mail
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Quail Electronics                                             2171 Research Dr                           Livermore, CA 94550                                                                                                                                                            First -Class Mail
Quail Electronics Inc                                         Attn: Zac Macdonald                        2171 Research Dr                                   Livermore, CA 94550                                                        zmacdonald@quail.com; zmacdonald@quail.com       EmailFirst-Class Mail
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Quality Inspection                                            c/o Reverse Engineering Inc                688 Parkridge Ave                                  Norco, CA 92860-3124                                                                                                        First -Class Mail
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Quaras LLC                                                    2101 Camino Rey                            Fullerton, CA 92833-1304                                                                                                                                                       First -Class Mail
Quark Communications                                          Attn: Todd Saffoite                        2033 B San Elijo Ave, Unit 290                     Cardiff, CA 92007                                                          todd@inetsupervisor.com                          EmailFirst-Class Mail
Quest Global Services Na Inc                                  11499 Chester Rd, Ste 600                  Cincinnati, OH 45246-4000                                                                                                                                                      First -Class Mail
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Quest Software Inc                                            4 Polaris Way                              Aliso Viejo, CA 92656                                                                                                                                                          First -Class Mail
Quest Software Inc                                            4 Polaris Way                              Aliso Viejo, CA 92656-5356                                                                                                                                                     First -Class Mail
Quick Services LLC                                            121 W Carlson St, Ste 3                    Cheyenne, WY 82009-4070                                                                                                                                                        First -Class Mail
Quicksilver Express Courier Inc of CO                         P.O. Box 64417                             St Paul, MN 55164-0417                                                                                                                                                         First -Class Mail
Quickstart Intelligence                                       360 Training.com Inc                       Attn: Cassie Reveile                               13801 Burnet Rd, Ste 100            Austin, TX 78727                       Cassie.Reveile@360training.com                   EmailFirst-Class Mail
Quinn Rental Svcs                                             Attn: Richard Garcia                       656 E La Cadena Dr                                 Riverside, CA 92507                                                                                                         First -Class Mail
Quinnett Painting & Drywall                                   Attn: Chris A Quinnett                     805 Eagle Dr                                       Mannford, OK 74044-3007                                                                                                     First -Class Mail
Quintiles Consulting                                          1 Grand Central Lincoln Blvd               60 E 42nd St                                       New York, NY 10165                                                                                                          First -Class Mail
Quintiles Consulting Inc                                      P.O. Box 601070                            Charlotte, NC 28260-1070                                                                                                                                                       First -Class Mail
Quintiles Consulting Inc                                      1801 Rockville Pike, Ste 300               Rockville, MD 20852                                                                                                                                                            First -Class Mail
Qure Medical                                                  P.O. Box 76074                             Cleveland, OH 44101-4755                                                                                                                                                       First -Class Mail
Qure Medical                                                  663 Bryant Blvd                            Rock Hill, SC 29732                                                                                                                                                            First -Class Mail
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Quy N Nguyen                                                  Address Redacted                                                                                                                                                                                                          First -Class Mail
R & D Spring & Stamping                                       Attn: Bob Dalby                            5757 Chino Ave                                     Chino, CA 91710                                                            bob@rdspring.com                                 EmailFirst-Class Mail
R & D Spring & Stamping                                       Attn: Robert Dalby                         5757 Chino Ave                                     Chino, CA 91708                                                            bob@rdspring.com                                 EmailFirst-Class Mail
R & M Machining                                               Attn: Sonond S Som                         7965 Silverton Ave, Ste 1303                       San Diego, CA 92126-6358                                                                                                    First -Class Mail
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R P P Corp                                                    12 Ballard Way                             Lawrence, MA 01843                                                                                                                                                             First -Class Mail
R S Hughes                                                    Address Redacted                                                                                                                                                                                                          First -Class Mail
R S Hughes                                                    Address Redacted                                                                                                                                                                                                          First -Class Mail
R S Hughes Co Inc                                             Address Redacted                                                                                                                                                                                                          First -Class Mail
R&M Consulting                                                205 N. Michigan Avenue, Suite 2660         Chicago, IL 60601                                                                                                                                                              First -Class Mail
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Rachel Behrendt                                               Address Redacted                                                                                                                                                                                                          First -Class Mail
Rachel Brem Md                                                Address Redacted                                                                                                                                                                                                          First -Class Mail
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Rachel Lisenby                                                Address Redacted                                                                                                                                                                                                          First -Class Mail
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Radiology Partners Inc                                        1600 Rosecrans Ave, 4th Fl                 Manhattan Beach, CA 90266-3708                                                                                                                                                 First -Class Mail
Radius Teknologies LLC                                        Attn: Mark Ridgley                         9401 Inverness Ln NW                               Ramsey, MN 55303                                                           mark.ridgley@radius-tek.com                      EmailFirst-Class Mail
Radius Teknologies, Llc                                       9401 Inverness Lane Nw                     Ramsey, MN 55303                                                                                                                                                               First -Class Mail
Radwell Int'l Inc                                             P.O. Box 822828                            Philadelphia, PA 19182-2828                                                                                                                                                    First -Class Mail
Radwell Int'l Inc                                             111 Mt Holly By Pass                       Lumberton, NJ 08048-1113                                                                                                                                                       First -Class Mail
Rady Childrens Hosp San Diego                                 3020 Children'S Way                        San Diego, CA 92123                                                                                                                                                            First -Class Mail
Rady Children's Hospital - San Dieg                           3020 Childrens Way                         San Diego, CA 92123-4223                                                                                                                                                       First -Class Mail
Radyne Corp                                                   211 W Boden St                             Milwaukee, WI 53207-6277                                                                                                                                                       First -Class Mail
Rael Logistics                                                389 Rood Rd, Suite 1                       Calexio, CA                                                                                                                                                                    First -Class Mail
Rafi Usa Inc.                                                 18025 Hwy 99                               Lynnwood, WA 98037                                                                                                                                                             First -Class Mail
Rah Equipment Inc                                             355 W Rt 120                               Round Lake, IL 60073-3699                                                                                                                                                      First -Class Mail
Raina Varga                                                   Address Redacted                                                                                                                                                                                                          First -Class Mail
Rainer Kuehner                                                Address Redacted                                                                                                                                                         Email Address Redacted                           EmailFirst-Class Mail
Rajbir Khera                                                  Address Redacted                                                                                                                                                                                                          First -Class Mail
Rajeev Bhatia                                                 Address Redacted                                                                                                                                                                                                          First -Class Mail
Raju G Kammula                                                Address Redacted                                                                                                                                                                                                          First -Class Mail
Rakotsoane, David Md (South Africa)                           23967 Cnr Immink Drive & Chris Hani Road   Johannesburg, 1862                                 South Africa                                                                                                                First -Class Mail
Ralph W Flick                                                 Address Redacted                                                                                                                                                                                                          First -Class Mail
Ralph Wayne Stumbo Jr                                         Address Redacted                                                                                                                                                                                                          First -Class Mail
Ram 2 D.O.O.                                                  Bratislavska C.7                           Ljubljana, SI-1000                                 Slovenia                                                                                                                    First -Class Mail
Ram 2 D.O.O.                                                  Bratislavska 7                             Ljubljana, SI-1000                                 Slovenia                                                                                                                    First -Class Mail
Ram 2 Doo                                                     Bratislavska Cesta 7                       Ljubljana, 1000                                    Slovenia                                                                                                                    First -Class Mail
Ramboll Us Corporation                                        4350 North Fairfax Drive, Suite 300        Arlington, VA 22203                                United Kingdom                                                                                                              First -Class Mail
Ramon Navarro                                                 Address Redacted                                                                                                                                                                                                          First -Class Mail
Ramon Ramirez Felix                                           Address Redacted                                                                                                                                                                                                          First -Class Mail
Ramon Ramirez Felix                                           Address Redacted                                                                                                                                                                                                          First -Class Mail
Randip Sangha                                                 Address Redacted                                                                                                                                                                                                          First -Class Mail
Randstad                                                      1901 S Meyers Rd, Ste 455                  Oakbrook Terrace, IL 60181-5208                                                                                                                                                First -Class Mail
Randstad Finance & Accounting & Technologies                  4660 La Jolla Village Dr                   San Diego, CA 92122                                                                                                                                                            First -Class Mail
Randy S Wagner                                                Address Redacted                                                                                                                                                                                                          First -Class Mail
Ranker Tool Grinding                                          Attn: Mike Daily                           1101 E Ash Ave, Ste G                              Fullerton, CA 92831                                                        mike#@rankertool.com                             EmailFirst-Class Mail
Ranroy Printing Co                                            8320 Camino Santa Fe                       San Diego, CA 92121-2659                                                                                                                                                       First -Class Mail
Rapid City Regional Hospital                                  1906 Lombardy Avenue                       Rapid City, SD 57703                                                                                                                                                           First -Class Mail
Rapid City Regional Hospital                                  1906 Lombardy Ave                          Rapid City, SD 57703                                                                                                                                                           First -Class Mail
Rapid Granulator Inc                                          P.O. Box 645362                            Pittsburgh, PA 15264-5251                                                                                                                                                      First -Class Mail
Rapid Granulator Inc                                          555 W Park Rd                              Leetsdale, PA 15056-1018                                                                                                                                                       First -Class Mail
Rapid Manufacturing                                           8080 E. Crystal Drive                      Anaheim, CA 92807                                                                                                                                                              First -Class Mail
Rapid Product Development Group Inc                           P.O. Box 225                               Santa Clara, CA 95052-0225                                                                                                                                                     First -Class Mail
Rapid Product Development Group Inc                           300 W Grand Ave, Ste 200                   Escondido, CA 92025-2617                                                                                                                                                       First -Class Mail
Rapid Production Tooling Inc                                  265 Bunyan Ave                             Berthoud, CO 80513                                                                                                                                                             First -Class Mail
Rapid Ratings International, Inc.                             86 Chambers St                             New York, NY 10007                                                                                                                                                             First -Class Mail
Rapid Sheet Metal Inc                                         Attn: Pat Cayer                            104 Perimeter Rd                                   Nashua, NH 03063                                                           pcayer@therapidgroup.com                         EmailFirst-Class Mail
Rapid Sheet Metal Inc                                         104 Perimeter Rd                           Nashua, NH 03063-1332                                                                                                                                                          First -Class Mail
Rapid7 LLC                                                    100 Summer St, 13th Fl                     Boston, MA 02110-2106                                                                                                                                                          First -Class Mail
Rapides Parish                                                Sales & Use Tax Dept                       5606 Coliseum Blvd                                 Alexandria, LA 71303                                                                                                        First -Class Mail
Rapides Regional Medical Ctr                                  211 4Th St                                 Alexandria, LA 71301                                                                                                                                                           First -Class Mail
Rappresentanze                                                Via Francesco Cocco Ortu 6                 Cagliari, 09128                                    Italy                                                                                                                       First -Class Mail
Rasmussen, Maynard                                            3003 Health Center Drive                   San Diego, CA 92123                                                                                                                                                            First -Class Mail
Raul Montes                                                   Address Redacted                                                                                                                                                                                                          First -Class Mail
Raul Rosenthal                                                Address Redacted                                                                                                                                                                                                          First -Class Mail
Raul Valdez                                                   Address Redacted                                                                                                                                                                                                          First -Class Mail
Ravago Americas Llc Dba Entec Polymers                        1900 Summit Tower Blvd, Suite 900          Orlando, FL 32810                                                                                                                                                              First -Class Mail
Ravago Holdings America Inc                                   dba Entec Polymers LLC                     1900 Summit Tower Blvd, Ste 900                    Orlando, FL 32810-5925                                                                                                      First -Class Mail
Raven Skye                                                    Address Redacted                                                                                                                                                                                                          First -Class Mail
Rawlings Mechanical Co                                        Attn: Curtis Morrissetter                  11615 Pendleton St                                 Sun Valley, CA 91352                                                       curtism@rawlingsmechanical.com                   EmailFirst-Class Mail
Raymond Handling Solutions Inc                                1801 W Olympic Blvd                        Pasadena, CA 91199-0001                                                                                                                                                        First -Class Mail
Raymond Handling Solutions Inc                                9939 Norwalk Blvd                          Santa Fe Springs, CA 90670                                                                                                                                                     First -Class Mail
Raymond Hm Schaerf Md Inc                                     2601 W Alameda Ave, Ste 404                Burbank, CA 91505-4813                                                                                                                                                         First -Class Mail
Raymond Leasing Corp                                          P.O. Box 301590                            Dallas, TX 75303-1590                                                                                                                                                          First -Class Mail
Raymond Leasing Corp                                          22 S Canal St                              Greene, NY 13778-1244                                                                                                                                                          First -Class Mail
Raymond Lee                                                   Address Redacted                                                                                                                                                                                                          First -Class Mail
Raymond Sanchez                                               Address Redacted                                                                                                                                                                                                          First -Class Mail
Raymoundo Gonzalez                                            Address Redacted                                                                                                                                                                                                          First -Class Mail
Razvan Secrian                                                Address Redacted                                                                                                                                                                                                          First -Class Mail
Rc Coil Spring Manufacturing                                  490 Mitchell Lroad                         Glendale Heights, IL 60139                                                                                                                                                     First -Class Mail
Rc Coil Spring Manufacturing Co Inc                           490 Mitchell Rd                            Glendale Heights, IL 60139-2580                                                                                                                                                First -Class Mail
RD Rubber Technology Co                                       Attn: Toni Cunningham, Rex Polito          12870 E Florence Ave                               Santa Fe Springs, CA 90670                                                 tcunningham@rdrubber.com; rpolito@rdrubber.com   EmailFirst-Class Mail
Rd Rubber Technology Corp                                     12870 E. Florence Avenue                   Santa Fe Springs, CA 90670                                                                                                                                                     First -Class Mail
Rd Spring & Stamping Inc                                      5757 Chino Ave                             Chino, CA 91710-5226                                                                                                                                                           First -Class Mail
Rdn Manufacturing Co Inc                                      160 Covington Dr                           Bloomingdale, IL 60108                                                                                                                                                         First -Class Mail
Reacting Sarl                                                 33, Rue Atlas                              Hay Essalam, C.I.L. Casablanca                     Morocco                                                                                                                     First -Class Mail
Real Fusion, Jsc                                              V. Daunio 78-1                             Vilnius,                                           Lithuania                                                                                                                   First -Class Mail
Real Staffing Group                                           Attn: Devin Elliott                        2 Houston Ctr                                      909 Fannin, Ste P-350               Houston, TX 77010                      d.elliott@realstaffing.com                       EmailFirst-Class Mail
Real Staffing Group                                           c/o Specialists Staffing Solutions Inc     2 Houston Centre 909 Fannin                        Houston, TX 77010-1015                                                                                                      First -Class Mail
Real Staffing Group                                           2159 India Street, Suite 200               San Diego, CA 92101                                                                                                                                                            First -Class Mail
Real Staffing Group                                           2159 India St, Ste 200                     San Diego, CA 92101                                                                                                                                                            First -Class Mail
Real Staffing Group                                           Attn: Devin Elliot                         2 Houston Ctr                                      909 Fannin, Ste P-350               Houston, TX 77010                                                                       First -Class Mail
Realfocus Xr, Inc.                                            17733 Main Street                          Huntington Beach, CA 92648                                                                                                                                                     First -Class Mail
Realm Promotions                                              5249 W 73rd St, Ste B                      Minneapolis, MN 55439-2214                                                                                                                                                     First -Class Mail
Rebecca Ann Carreon                                           Address Redacted                                                                                                                                                                                                          First -Class Mail
Rebecca Smith                                                 Address Redacted                                                                                                                                                                                                          First -Class Mail
Rech, Christian (Volkswagen)                                  600 Clipper Drive                          Belmont, CA 94002                                                                                                                                                              First -Class Mail
Recticel (Dba Foampartner Americas, Inc.                      2923 Technology Drive                      Rochester Hills, MI 48309                                                                                                                                                      First -Class Mail
Recticel Ab                                                   P.O. Box 507                               Gislaved, 33228                                    Sweden                                                                                                                      First -Class Mail
Recycled Plastic Materials                                    21200 Lagrange Rd, Ste 177                 Frankfort, IL 60423-2003                                                                                                                                                       First -Class Mail
Red Classic Transportation Services, Llc                      1800 Continental Blvd. Suite 400           Charlotte, NC 28216                                                                                                                                                            First -Class Mail
Redact Name                                                   Address Redacted                                                                                                                                                                                                          First -Class Mail
Redacted Claim Name                                           Address Redacted                                                                                                                                                         Email Address Redacted                           EmailFirst-Class Mail
Redacted Claim Name                                           Address Redacted                                                                                                                                                         Email Address Redacted                           EmailFirst-Class Mail
Redbock LLC                                                   Attn: Shawn O'Rouke                        21684 Granada Ave, Ste B                           Cupertino, CA 95014                                                        shawn.orourke@redbock.com                        EmailFirst-Class Mail
Redbock Llc                                                   21684 Granada Avenue, Suite B              Cupertino, CA 95014                                                                                                                                                            First -Class Mail
Redbock LLC                                                   21684 Granada Ave, Ste B                   Cupertino, CA 95014-5928                                                                                                                                                       First -Class Mail
Redbrick Health Corp                                          P.O. Box 674808                            Detroit, MI 48267-4808                                                                                                                                                         First -Class Mail
Redbrick Health Corp                                          510 Marquette Ave, Ste 500                 Minneapolis, MN 55402-1264                                                                                                                                                     First -Class Mail
Redbrick Health Corporation                                   510 Marquette Avenue South, Suite 500      Minneapolis, MN 55402                                                                                                                                                          First -Class Mail
Reddaway                                                      16277 SE 130th Ave                         Clackamas, OR 97015-8948                                                                                                                                                       First -Class Mail
                                                                         Case 24-11217-BLS                                                                                       Doc 463                      Filed 08/24/24                            Page 39 of 51

Redington Fairview Gen Hosp                                            46 Fairview Ave                                                Skowhegan, ME 04976                                                                                                                                                                                                                     First -Class Mail
Redline Packaging Ltd                                                  11 Commerce Ct                                                 Stoney Creek, ON L8E 4G3                         Canada                                                                                                                                                                                 First -Class Mail
Redline Packaging Ltd                                                  6800 Columbus Rd                                               Mississauga, ON L5T 2G1                          Canada                                                                                                                                                                                 First -Class Mail
Redmond Regional Medical Ctr                                           501 Redmond Rd Nw Resp Care                                    Rome, GA 30165                                                                                                                                                                                                                          First -Class Mail
Redox Engine                                                           2020 Eastwood Dr                                               Madison, WI 53704                                                                                                                                                                                                                       First -Class Mail
Reed Med                                                               B102, 5 Wiryegwangjung-Ro                                      Sujeong-gu, Seongnam-si                          Gyeonggi-Do, 13640                    South Korea                                                                                                                                      First -Class Mail
Reed Med                                                               A1013, 14, Galmachi-Ro 288 Beon-Gil, Jungwon-Gu, Seongnam-Si   Gyeonggi-Do, 13640                               South Korea                                                                                                                                                                            First -Class Mail
Reed Med                                                               B102, 5 Wiryegwangjung-ro                                      Sujeong-gu, Seongnam-si                          Gyeonggi-do, 13646                    S Korea                                                                                                                                          First -Class Mail
Reed Technology & Information Services                                 7 Walnut Grove Dr                                              Horsham, PA 19044-2201                                                                                                                                                                                                                  First -Class Mail
Reed Technology And Information Services Inc.                          7 Walnut Grove Drive                                           Horsham, PA 19044                                                                                                                                                                                                                       First -Class Mail
Reed Technology And Information Services, Inc., A Lexisnexis Company   7 Walnut Grove Drive                                           Horsham, PA 19044                                                                                                                                                                                                                       First -Class Mail
Rees Scientific Corp                                                   1007 Whitehead Rd Ext                                          Ewing, NJ 08638-2428                                                                                                                                                                                                                    First -Class Mail
Refiloe Masekela                                                       Dept of Pediatrics & Child                                     Durban, 4001                                     South Africa                                                                                                                                                                           First -Class Mail
Regal Plastic Supply                                                   P.O. Box 7558                                                  Kansas City, MO 64116-0258                                                                                                                                                                                                              First -Class Mail
Regal Plastic Supply                                                   11612 E 58th St                                                Tulsa, OK 74146-6815                                                                                                                                                                                                                    First -Class Mail
Regents of The University of Ca                                        c/o MC 8237                                                    402 Dickinson St, Rm 250, MC8220                 San Diego, CA 92103-6902                                                                                                                                                               First -Class Mail
Regents of The University of Ca                                        Mc 8237                                                        130 Dickinson St                                 San Diego, CA 92103-2012                                                                                                                                                               First -Class Mail
Regents, University of California                                      Attn: Sheryl Crowley                                           10920 Wilshire Blvd                              Los Angeles, CA 90024                                                                                scrowley@mednet.ucla.edu                                                          EmailFirst-Class Mail
Regina Hooley                                                          Address Redacted                                                                                                                                                                                                                                                                                       First -Class Mail
Regional Medical Ctr San Jose                                          225 N Jackson Ave                                              San Jose, CA 95116                                                                                                                                                                                                                      First -Class Mail
Regulatory & Clinical Research Institute, Inc.                         5353 Wayzata Blvd, Suite 505                                   Minneapolis, MN 55416                                                                                                                                                                                                                   First -Class Mail
Regulatory & Quality Solutions Llc (Affiliate Of Rqm+ Corp)            4807 Innovate Lane, Suite 145                                  Madison, WI 53718                                                                                                                                                                                                                       First -Class Mail
Regulatory Compliance Associates Inc                                   10411 Corporate Dr, Ste 102                                    Pleasant Prairie, WI 53105                                                                                                                                                                                                              First -Class Mail
Regulatory Compliance Associates Inc.                                  10411 Corporate Drive,Suite 102                                Pleasant Prairie, WI 53105                                                                                                                                                                                                              First -Class Mail
Regulatory Strategies Inc                                              c/o Mark D Kramer                                              808 E Fox Ln                                     Fox Point, WI 53217-2805                                                                                                                                                               First -Class Mail
Regulatory Strategies Inc                                              4465 N Farwell Ave                                             Shorewood, WI 53211-1760                                                                                                                                                                                                                First -Class Mail
Regulatory Strategies, Inc.                                            4465 N. Farwell Avenue                                         Shorewood, WI 53211                                                                                                                                                                                                                     First -Class Mail
Regulatory Technology Services LLC                                     Attn: Mark Job                                                 1394 25th St NW                                  Buffalo, MN 55313-4453                                                                                                                                                                 First -Class Mail
Regus (Copenhagen, Denmark)                                            Business Centre Lyngby Hovedgage                               Lyngby Hovedgage 10c                             2800 Lyngby                           Copenhagen                  Denmark                                                                                                              First -Class Mail
Regus Corp                                                             c/o Regus Management Group LLC                                 P.O. Box 842456                                  Dallas, TX 75284-2456                                                                                                                                                                  First -Class Mail
Reichlin Technik Ag                                                    Sihlbruggstrasse 103                                           6340 Baar                                                                                                                                                                                                                               First -Class Mail
Reliable Airway Anchoring Devices Llc                                  7315 Hix Court                                                 Colleyville, TX 76034                                                                                                                                                                                                                   First -Class Mail
Reliatrace                                                             709 Keller Avenue                                              Amery, WI 54001-1420                                                                                                                                                                                                                    First -Class Mail
Relitech                                                               Van Siburgstraat 34                                            3863 HW Nijkerk                                  Netherlands                                                                                                                                                                            First -Class Mail
Relitech                                                               Hoogstraat 24 B7                                               3862 Al Nijkerk                                  Netherlands                                                                                                                                                                            First -Class Mail
RELX Inc                                                               c/o Lexisnexis A Division of Relx Inc                          28544 Network Pl                                 Chicago, IL 60673-1285                                                                                                                                                                 First -Class Mail
Rembow Industry And Trade (Dong Guan) Co., Ltd.                        Room 915, 8 Building, Jin Aol Lua Yuan,                        Dongcheng Ave, Dongguan, Guangdong,              China                                                                                                                                                                                  First -Class Mail
Renal Purchasing Group LLC                                             200 Cumberland Bnd                                             Nashville, TN 37228-1804                                                                                                                                                                                                                First -Class Mail
Renew Biomedical Services                                              2345 Dr. Fe Wright Drive                                       Jackson, TN 38305                                                                                                                                                                                                                       First -Class Mail
Renew Biomedical Services, Llc                                         2345 Dr F E Wright Dr.                                         Jackson, TN 38305                                                                                                                                                                                                                       First -Class Mail
Renew Biomedical Svcs LLC                                              Attn: Mark Taylor                                              2445 FE Wright Dr                                Jackson, TN 38305                                                                                    mark@mmemed.com                                                                   EmailFirst-Class Mail
Renew Biomedical Svcs LLC                                              Attn: Mark Taylor                                              2445 FE Wright Dr                                Jackson, TN 38305                                                                                                                                                                      First -Class Mail
Rennco LLC                                                             P.O. Box 73840                                                 Cleveland, OH 44193-0002                                                                                                                                                                                                                First -Class Mail
Rentokil Initials                                                      Markgroningerstrasse 51                                        Schwieberdingen, 08 71701                        Germany                                                                                                                                                                                First -Class Mail
Rentokil North America Inc                                             Attn: Ryan Bueler                                              P.O. Box 16350                                   Reading, PA 19612                                                                                    Ryan.bueler@west-ext.com                                                          EmailFirst-Class Mail
Reny & Co Inc                                                          c/o Renymed                                                    4505 Littlejohn St                               Baldwin Park, CA 91706-2239                                                                                                                                                            First -Class Mail
Renymed                                                                4505 Littlejohn Street                                         Baldwin Park, CA 91703                                                                                                                                                                                                                  First -Class Mail
Research Institute                                                     of Nationwide Childrens Hospital                               Attn: Meaghan Ventura                            700 Childrens Dr                      Columbus, OH 43205                                             Meaghan.ventura@nationwidechildrens.org                                           EmailFirst-Class Mail
Research Pros Inc                                                      1525 E 53rd St, Ste 1103                                       Chicago, IL 60615-4572                                                                                                                                                                                                                  First -Class Mail
Residence Inn By Marriott - Lake Forest                                26325 N. Riverwoods Blvd                                       Mettawa, IL 60045                                                                                                                                                                                                                       First -Class Mail
Resilinc Corporation                                                   1525 Mccarthy Blvd                                             Suite 1122                                       Milpitas, CA 95035                                                                                                                                                                     First -Class Mail
Resin Technology, Inc                                                  6618 Bryant Irvin Rd, Ste 200                                  Ft Worth, TX 76132                                                                                                                                                                                                                      First -Class Mail
Resin Technology, Inc.                                                 6618 Bryant Irvin Road                                         Suite 200                                        Fort Worth, TX 76132                                                                                                                                                                   First -Class Mail
Resmed Corp                                                            P.O. Box 534593                                                Atlanta, GA 30353-4593                                                                                                                                                                                                                  First -Class Mail
Resmed Inc.                                                            9001 Spectrum Center Blvd.                                     San Diego, CA 92123                                                                                                                                                                                                                     First -Class Mail
Resource Optimization & Innovation, Llc                                Resource Optimization & Innovation, Llc                        645 Maryville Centre Drive                       Suite 200                             St Louis, MO 63141                                                                                                                               First -Class Mail
Resources Global Professionals                                         File 55221                                                     Los Angeles, CA 90074-0001                                                                                                                                                                                                              First -Class Mail
Resources Global Professionals                                         fka Oracle: 8388                                               17101 Armstrong Ave                              Irvine, CA 92614                                                                                                                                                                       First -Class Mail
Respiratory Care Africa                                                449 Granite Road                                               Kya Sands Business Park                          Johannesburg, 2169                    South Africa                                                                                                                                     First -Class Mail
Respiratory Care Africa                                                Stand 208C Hoogland, Ext 44                                    N Riding, GP 2162                                South Africa                                                                                                                                                                           First -Class Mail
Respiratory Care Africa (PTY) Ltd                                      Attn: Sarely Van Der Walt                                      Stand 208,Hoogland Ext44                         Cnr Epson Ave & Malibongwe Dr         N Riding, Gauteng 2169      South Africa                       sareley@ascedismedical.com                                                        First -Class Mail
Respiratory Care Africa (PTY) Ltd                                      Attn: Sarely Van Der Walt                                      Stand 208,Hoogland Ext44                         Cnr Epson Ave & Malibongwe Dr         N Riding, Gauteng 2169      South Africa                                                                                                         First -Class Mail
Respiratory Care Africa (Rca)                                          Respiratory Care Africa                                        Stand 208C, Paddock Lane, Boundary Park,         Cnr Malibongwe Drive & Epsom Avenue   Northriding                 Johannesburg, 2162, South Africa                                                                                     First -Class Mail
Respiratory Care Africa (Rca)                                          Boundary Park Extension 44 Building 4                          CNR EPSOM AVENUEAND MALIBONGWE DRIVE             North Riding, Gauteng 2169            South Africa                                                                                                                                     First -Class Mail
Respiratory Care Africa (Rca)                                          Boundry Park Erf                                               208C HOOGLAND EXT 44                             North Riding, 2162                    South Africa                                                                                                                                     First -Class Mail
Respiratory Care Hospitalar Ltda.                                      Respiratory Care Hospitalar Ltda.                              Rua Padur Abes, 118                              Juquitiba CEP 06950-000               Brazil                                                                                                                                           First -Class Mail
Respiratory Care Hospitalar Ltda.                                      Rua Padur Abes, 118                                            Juquitiba,                                       Brazil                                                                                                                                                                                 First -Class Mail
Respiratory Innovation Summit                                          10200 W Innovation Dr                                          Wauwatosa, WI 53226                                                                                                                                                                                                                     First -Class Mail
Respiratory Motion, Inc                                                411 Waverly Oaks Rd, Ste 150                                   Waltham, MA 02452-8447                                                                                                                                                                                                                  First -Class Mail
Respiratory Motion, Inc.                                               411 Waverley Oaks Road                                         Building 1                                       Suite 150                             Waltham, MA 02452                                                                                                                                First -Class Mail
Respiratory Motion, Inc.                                               Respiratory Motion, Inc.                                       411 Waverley Oaks Road                           Building 1                            Suite 150                   Waltham, MA 02452                                                                                                    First -Class Mail
Respironics Healthscan Inc                                             P.O. Box 405740                                                Atlanta, GA 30384-5740                                                                                                                                                                                                                  First -Class Mail
Respironics Inc                                                        P.O. Box 405740                                                Atlanta, GA 30384-5740                                                                                                                                                                                                                  First -Class Mail
Respironics Inc                                                        c/o Respironics Novametrix LLC                                 5 Technology Dr                                  Wallingford, CT 06492-1942                                                                                                                                                             First -Class Mail
Respironics Inc                                                        1010 Murry Ridge Ln                                            Murrysville, PA 15668-8517                                                                                                                                                                                                              First -Class Mail

Respironics Novametrix LLC                                             Attn: Taheerah Murphy, Anil Thapa, Deiver Sanchez              Philips De Costa Rica Srl                        Coyol Free Zone & Business Park B37   Alajuela                    Costa Rica                         Taheerah.Murphy@philips.com; Anil.Thapa@philips.com; deiver.sanchez@philips.com   First -Class Mail
Respironics Novametrix, Llc, A Philips Healthcare Company              5 Technology Drive                                             Wallingford, CT 06492                                                                                                                                                                                                                   First -Class Mail
Restech SRL                                                            Via Melchiorre Gioia, 61                                       Milano, 20124                                    Italy                                                                                                                                                                                  First -Class Mail
Restech Srl                                                            Via Melchiorre Gioia 61-63                                     20124 Milan                                      Italy                                                                                                                                                                                  First -Class Mail
Restek Corp                                                            110 Benner Cir                                                 Bellefonte, PA 16823-8433                                                                                                                                                                                                               First -Class Mail
Reston Hospital Center                                                 1850 Town Center Pkwy                                          Reston, VA 20190-3298                                                                                                                                                                                                                   First -Class Mail
Restructuring Partners & Asso LLC                                      c/o Rpa Advisors LLC                                           45 Eisenhower Dr, Ste 560                        Paramus, NJ 07652-1425                                                                                                                                                                 First -Class Mail
Restructuring Partners & Associates LLC                                1 Rockefeller Plz, 10th Fl                                     New York, NY 10020                                                                                                                                    nkleinschmidt@rpaadvisors.com                                                     EmailFirst-Class Mail
Resyca Bv                                                              Colosseum 23, 7521Pv, Enschede                                 The Netherlands                                                                                                                                                                                                                         First -Class Mail
Rethink Label Systems                                                  2419 E Winston Rd                                              Anaheim, CA 92806-5544                                                                                                                                                                                                                  First -Class Mail
Revere Plastics Systems LLC                                            18401 Malyn Blvd                                               Fraser, MI 48026-1628                                                                                                                                                                                                                   First -Class Mail
Revolutionary Medical Devices Inc                                      26125 N Riverwoods Blvd                                        Mettawa, IL 60045-3422                                                                                                                                                                                                                  First -Class Mail
Revolutionary Medical Devices Inc                                      6363 N Swan Rd, Ste 200                                        Tucson, AZ 85718-3655                                                                                                                                                                                                                   First -Class Mail
Revolutionary Medical Devices, Inc.                                    6363 N. Swan Rd.                                               Suite 200                                        Tucson, AZ 85718                                                                                                                                                                       First -Class Mail
Rex Healthcare                                                         4420 Lake Boone Trl                                            HEART STATION RM 1400                            Raleigh, NC 27607                                                                                                                                                                      First -Class Mail
Rey Pacuno                                                             Address Redacted                                                                                                                                                                                                                                                                                       First -Class Mail
Reynaldo A Acu                                                         Address Redacted                                                                                                                                                                                                                                                                                       First -Class Mail
Rfs Graphics                                                           2015 Dean St, Ste 6A                                           St Charles, IL 60174-1577                                                                                                                                                                                                               First -Class Mail
Rfxcel Corp                                                            12657 Alcosta Blvd, Ste 485                                    San Ramon, CA 94583-4433                                                                                                                                                                                                                First -Class Mail
RG Meditron Inc                                                        LFG Bldg, 82 Panay Ave                                         Quezon City 1103                                 Philippines                                                                                                                                                                            First -Class Mail
Rg Meditron Inc.                                                       Lfg Building                                                   82 Panay Avenue                                  Quezon City, 1103                     Philippines                                                                                                                                      First -Class Mail
Rg Meditron Inc.                                                       Lfg Bldg. No 82 Panay Avenue South                             Quezon City, 1103                                Philippines                                                                                                                                                                            First -Class Mail
Rgis, Llc                                                              2000 Taylor Road                                               Suite 200                                        Auburn Hills, MI 48326                                                                                                                                                                 First -Class Mail
Rgis, Llc                                                              2000 East Taylor Road                                          Auburn Hills, MI 48326                                                                                                                                                                                                                  First -Class Mail
Rhode Island Division of Taxation                                      1 Capitol Hill                                                 Providence, RI 02908                                                                                                                                                                                                                    First -Class Mail
Rhode Island Textile Com                                               P.O. Box 999                                                   Pawtucket, RI 02862-0999                                                                                                                                                                                                                First -Class Mail
Rhode Island Textile Com                                               211 Columbus Ave                                               Pawtucket, RI 02861-3404                                                                                                                                                                                                                First -Class Mail
RI Ber Industrial Inc                                                  744 Design Ct, Ste 214                                         Chula Vista, CA 91911-6162                                                                                                                                                                                                              First -Class Mail
Ri Ber Industrial Inc                                                  2488 Main St, Ste K                                            Chula Vista, CA 91911-4653                                                                                                                                                                                                              First -Class Mail
RI Division of Taxation                                                1 Capitol Hill                                                 Providence, RI 02908                                                                                                                                                                                                                    First -Class Mail
Riaz, Unsia                                                            The Surgical Company                                           26 Rue de la Montee                              68720 Flaxlanden                      France                                                                                                                                           First -Class Mail
Ricardo Hinojosa                                                       Address Redacted                                                                                                                                                                                                                                                                                       First -Class Mail
Riccio, Christina Md                                                   5323 Harry Hines Blvd                                          Dallas, TX 75390                                                                                                                                                                                                                        First -Class Mail
Rice Equipment Co                                                      12895 Pennridge Dr                                             Bridgeton, MO 63044-1238                                                                                                                                                                                                                First -Class Mail
Rich Branson                                                           Address Redacted                                                                                                                                                                                                                                                                                       First -Class Mail
Richard Branson                                                        Address Redacted                                                                                                                                                                                                                                                                                       First -Class Mail
Richard Ditsch                                                         Address Redacted                                                                                                                                                                                                                                                                                       First -Class Mail
Richard Dung Le                                                        Address Redacted                                                                                                                                                                                                                                                                                       First -Class Mail
Richard K Freeman Md LLC                                               11685 Bradford Pl                                              Carmel, IN 46033-3391                                                                                                                                                                                                                   First -Class Mail
Richard Light                                                          Address Redacted                                                                                                                                                                                                                                                                                       First -Class Mail
Richard Marston Gillespie                                              Address Redacted                                                                                                                                                                                                                                                                                       First -Class Mail
Richard Scott Kusleika                                                 Address Redacted                                                                                                                                                                                                                                                                                       First -Class Mail
Richard Silva                                                          Address Redacted                                                                                                                                                                                                                                                                                       First -Class Mail
Richard W Sachse                                                       Address Redacted                                                                                                                                                                                                                                                                                       First -Class Mail
Richard Williams                                                       Address Redacted                                                                                                                                                                                                                                                                                       First -Class Mail
Richland County Treasurer                                              201 W Main St                                                  Sidney, MT 59270-4035                                                                                                                                                                                                                   First -Class Mail
Richmond University Med Ctr                                            355 Bard Ave                                                   Staten Island, NY 10310                                                                                                                                                                                                                 First -Class Mail
Richter Precision Inc.                                                 1021 Commercial Avenue                                         East Petersburg, PA 17520                                                                                                                                                                                                               First -Class Mail
Ricoh                                                                  P.O. Box 31001                                                 Pasadena, CA 91110                                                                                                                                                                                                                      First -Class Mail
Ricoh Usa Inc                                                          P.O. Box 31001-0850                                            Pasadena, CA 91110-0850                                                                                                                                                                                                                 First -Class Mail
Ridgeview Medical Center                                               500 S. Maple Street                                            Waconia, MN 55387                                                                                                                                                                                                                       First -Class Mail
Ridgewood Medical Media LLC                                            fka Oracle: 8255                                               30 Garber Sq                                     Ridgewood, NJ 07450-3114                                                                                                                                                               First -Class Mail
Riensch & Held Gmbh & Co. Kg (Hoechberg)                               Hans - Dunker - Str. 1 21035 Hamburg                           Germany                                                                                                                                                                                                                                 First -Class Mail
Rigler Medizintechnik Gmbh                                             Ellbognerstrasse 60                                            A-4020 Linz                                      Austria                                                                                                                                                                                First -Class Mail
Rigler Medizintechnik Gmbh                                             Ellbognerstrabe 60                                             Linz, 4020                                       Austria                                                                                                                                                                                First -Class Mail
Rikair West-Africa Limited                                             House No. C638/3                                               C5th Crescent Asylum Down Accra                  Ghana                                                                                                                                                                                  First -Class Mail
Rikair West-Africa Limited                                             C638/3 House No.                                               Crescent Asylum Down, C5TH                       Ghana                                                                                                                                                                                  First -Class Mail
Rimensberger, Peter Md (Switzerland)                                   6 Rue Willy-Donze                                              Geneva, 1211                                     Switzerland                                                                                                                                                                            First -Class Mail
RingCentral Inc                                                        Attn: Greg Rodda                                               20 Davis Dr                                      Belmont, CA 94002                                                                                    Greg.Rodda@ringcentral.com                                                        EmailFirst-Class Mail
Ringcentral Inc                                                        20 Davis Dr                                                    Belmont, CA 94002-3002                                                                                                                                                                                                                  First -Class Mail
Ringcentral, Inc.                                                      20 Davis Drive                                                 Belmont, CA 94002                                                                                                                                                                                                                       First -Class Mail
Rio Spine & Biologics Inc                                              113 Falls Ct, Ste 300                                          Boerne, TX 78006-2964                                                                                                                                                                                                                   First -Class Mail
RISI Inc                                                               aka Fastmarkets Risi                                           1 Van De Graaff Dr, Ste 601                      Burlington, MA 01803-5294                                                                                                                                                              First -Class Mail
Rita Lara                                                              Address Redacted                                                                                                                                                                                                                                                                                       First -Class Mail
Rivera Finance                                                         c/o Assignee For Cohagan Engineering In                        P.O. Box 202487                                  Dallas, TX 75320-2487                                                                                                                                                                  First -Class Mail
Rivers Health                                                          2520 Valley Dr                                                 Point Pleasant, WV 25550-2092                                                                                                                                                                                                           First -Class Mail
Riverside Community Hospital                                           4445 Magnolia Ave                                              Riverside, CA 92501                                                                                                                                                                                                                     First -Class Mail
Riverside Cty Reg Med Ctr Fnd                                          26520 Cactus Ave                                               Moreno Valley, CA 92555                                                                                                                                                                                                                 First -Class Mail
Rizwan Bakhsh                                                          Address Redacted                                                                                                                                                                                                                                                                                       First -Class Mail
Rjg Inc                                                                c/o Rjg Technologies Inc                                       3111 Park Dr                                     Traverse City, MI 49686                                                                                                                                                                First -Class Mail
Rjw Transport                                                          11240 Kathrine'S Xing                                          Woodridge, IL 60517                                                                                                                                                                                                                     First -Class Mail
Rm Engineering Consulting                                              3282 Via Alicante                                              La Jolla, CA 92037                                                                                                                                                                                                                      First -Class Mail
RM Wester & Associates Inc                                             P.O. Box 494                                                   St Charles, MO 63302-0494                                                                                                                                                                                                               First -Class Mail
Rm Wester & Associates Inc                                             215 Indacom Dr                                                 St Peters, MO 63376-2434                                                                                                                                                                                                                First -Class Mail
Rmbio Rocky Mountain Biologicals                                       8095 S. Welby Park Drive                                       West Jordan, UT 84088                                                                                                                                                                                                                   First -Class Mail
RMSATT, Childrens Hospital Colorado                                    Attn: Neta Hogestad                                            13123 E 16th Ave, Ste B090                       Aurora, CO 80045                                                                                                                                                                       First -Class Mail
RMX Freight Systems                                                    P.O. Box 185                                                   White Cottage, OH 43791-0185                                                                                                                                                                                                            First -Class Mail
RMZ Transport Inc                                                      401 E Main St                                                  El Centro, CA 92243-2619                                                                                                                                                                                                                First -Class Mail
Rmz Transport, Inc.                                                    401 E. Main Street                                             El Centro, CA                                                                                                                                                                                                                           First -Class Mail
Roadway Express, Inc                                                   1110 S Reservoir St                                            Pomona, CA 91766                                                                                                                                                                                                                        First -Class Mail
Roanoke Insurance Group                                                1475 E. Woodfield Road                                         Suite 500                                        Schaumburg, IL 60173                                                                                                                                                                   First -Class Mail
Roanoke Trade Services                                                 1475 E Woodfield Rd, Ste 500                                   Schaumburg, IL 60173-4903                                                                                                                                                                                                               First -Class Mail
Roanoke Trade Services Inc                                             c/o Chicago Office                                             35079 Eagle Way                                  Chicago, IL 60678-1350                                                                                                                                                                 First -Class Mail
Robert Andrew Eckert                                                   Address Redacted                                                                                                                                                                                                                                                                                       First -Class Mail
Robert Avila                                                           Address Redacted                                                                                                                                                                                                                                                                                       First -Class Mail
Robert Barry & Associates Inc                                          c/o John Barry & Associates                                    3020 Newport Blvd                                Newport Beach, CA 92663-3879                                                                                                                                                           First -Class Mail
Robert Bilgor Peliks                                                   Address Redacted                                                                                                                                                                                                                                                                                       First -Class Mail
Robert Birk Johnson                                                    Address Redacted                                                                                                                                                                                                                                                                                       First -Class Mail
Robert Busse & Co Inc                                                  75 Arkay Dr                                                    Hauppauge, NY 11788-3707                                                                                                                                                                                                                First -Class Mail
Robert C Muela                                                         Address Redacted                                                                                                                                                                                                     Email Address Redacted                                                            EmailFirst-Class Mail
Robert Cammarato                                                       Address Redacted                                                                                                                                                                                                                                                                                       First -Class Mail
Robert Chan                                                            Address Redacted                                                                                                                                                                                                                                                                                       First -Class Mail
Robert Chatburn                                                        Address Redacted                                                                                                                                                                                                                                                                                       First -Class Mail
Robert Cohen                                                           Address Redacted                                                                                                                                                                                                                                                                                       First -Class Mail
Robert Cornelius Luten                                                 Address Redacted                                                                                                                                                                                                                                                                                       First -Class Mail
Robert D Karpinos                                                      Address Redacted                                                                                                                                                                                                                                                                                       First -Class Mail
Robert Farmer                                                          Address Redacted                                                                                                                                                                                                                                                                                       First -Class Mail
Robert Garster                                                         Address Redacted                                                                                                                                                                                                                                                                                       First -Class Mail
Robert Half International Inc.                                         18200 Von Karman Ave.                                          Suite 800                                        Irvine, CA 92612-7147                                                                                                                                                                  First -Class Mail
Robert Half Int'l Inc                                                  c/o Accountemps                                                2613 Camino Ramon                                San Ramon, CA 94583-4289                                                                                                                                                               First -Class Mail
Robert Hildebrand                                                      Address Redacted                                                                                                                                                                                                                                                                                       First -Class Mail
Robert Ira Cohen                                                       Address Redacted                                                                                                                                                                                                                                                                                       First -Class Mail
Robert Keith Smith Ii                                                  Address Redacted                                                                                                                                                                                                                                                                                       First -Class Mail
Robert Lee Montague                                                    Address Redacted                                                                                                                                                                                                                                                                                       First -Class Mail
Robert Miller                                                          Address Redacted                                                                                                                                                                                                                                                                                       First -Class Mail
Robert P Knetsche                                                      Address Redacted                                                                                                                                                                                                                                                                                       First -Class Mail
Robert Spetzler                                                        Address Redacted                                                                                                                                                                                                                                                                                       First -Class Mail
Robert V Hogan                                                         Address Redacted                                                                                                                                                                                                                                                                                       First -Class Mail
Robert Wayne Fontenot                                                  Address Redacted                                                                                                                                                                                                                                                                                       First -Class Mail
Robertson Lowstuter Inc                                                2201 Waukegan Rd, Ste E175                                     Bannockburn, IL 60015-1543                                                                                                                                                                                                              First -Class Mail
Robin Industries, Inc.                                                 3500 State Route 39                                            P.O. Box 287                                     Berlin, OH 44610                                                                                                                                                                       First -Class Mail
Roboyo USA Inc                                                         fka JOLT Advantage Group                                       Attn: Brian Morrison                             1175 Peachtree St NE, Ste 1000        Atlanta, GA 30361                                              Brian.Morrison@roboyousa.com                                                      EmailFirst-Class Mail
Roboyo USA Inc                                                         9838 Old Baymeadows Rd, Ste 240                                Jacksonville, FL 32256-8101                                                                                                                                                                                                             First -Class Mail
Rochester Regional Health                                              100 Kings Hwy S                                                Rochester, NY 14617                                                                                                                                                                                                                     First -Class Mail
Rochling Medical Solutions SE                                          Waldweg 16                                                     98724 Neuhaus am                                 Rennweg,                              Germany                                                                                                                                          First -Class Mail
Rock Tenn Cp LLC                                                       14079 Collections Ctr Dr                                       Chicago, IL 60693-0001                                                                                                                                                                                                                  First -Class Mail
Rock Tenn Cp LLC                                                       7350 Stiles Dr                                                 El Paso, TX 79915-2518                                                                                                                                                                                                                  First -Class Mail
Rockdotvoss                                                            Rockdotvoss                                                    12815 54th Ave. North                            Plymouth, MN 55442                                                                                                                                                                     First -Class Mail
Rockdotvoss                                                            Attn: Jennifer Rock                                            12815 54th Ave N                                 Plymouth, MN 55442-1719                                                                                                                                                                First -Class Mail
Rocket Medical PLC                                                     Imperial Way, Watford                                          WD24 4XX                                         United Kingdom                                                                                                                                                                         First -Class Mail
Rocketrip, Inc.                                                        14 E. 38Th St.                                                 New York, NY 10016                                                                                                                                                                                                                      First -Class Mail
Rocklin Manufacturing Co Corp                                          110 S Jennings St                                              Sioux City, IA 51101-1836                                                                                                                                                                                                               First -Class Mail
Rocktenn Mexico S De Rl De Cv                                          14386 Collections Cntr Dr                                      Chicago, IL 60693-0001                                                                                                                                                                                                                  First -Class Mail
Rocktenn Mexico S De Rl De Cv                                          Ave Club De Columnistas                                        Mexicali, BC 21600                               Mexico                                                                                                                                                                                 First -Class Mail
Rocktenn-Mexico S De Rl De Cv                                          Av Dia Del Empresario No 1100                                  Colonia San Miguel                               Guadalupe NL, CP 67110                Mexico                                                                                                                                           First -Class Mail
Rocktenn-Mexico S De Rl De Cv                                          Avenida Del Club De Los Columnistas 900                        Col Ignacio Allende                              Mexicali, CP 21390                    Mexicali Bala California    Mexico                                                                                                               First -Class Mail
Rocktenn-Mexico S De Rl De Cv                                          Av Dia Del Empresario No 1100                                  Colonia San Miguel                               Guadalupe NL, CP 67110                Mexico                                                                                                                                           First -Class Mail
Rockwell Automation De Mexico Sa De                                    Av Santa Fe No 481 Piso 3 Col                                  Mexico, DF 05349                                 Mexico                                                                                                                                                                                 First -Class Mail
Roder Medical                                                          Selehattin Eyyubi Mah.                                         Urfa Bulvari Ekin Sitesi Ekin                    Apt. No.: 47 A Blok No 31             Diyarbakir Baglar           Turkey                                                                                                               First -Class Mail
Roder Medical                                                          Selehattin Eyyubi Mah                                          Urfa Bulvari Ekin Sitesi Ekin, Apt 47            A Blok 31                             Diyarbakir Baglar           Turkey                                                                                                               First -Class Mail
Rodney J Willows                                                       Address Redacted                                                                                                                                                                                                                                                                                       First -Class Mail
Rodney Richardson                                                      Address Redacted                                                                                                                                                                                                                                                                                       First -Class Mail
Roehm America LLC                                                      299 Jefferson Rd                                               Parsippany, NJ 07054-2827                                                                                                                                                                                                               First -Class Mail
Roembke Mfg & Design Inc                                               1580 Baker Dr                                                  Ossian, IN 46777-9391                                                                                                                                                                                                                   First -Class Mail
Roeser Medical Gmbh                                                    Roeser Medical Gmbh                                            Meesmannstrasse 103                              44807 Bochum                          Germany                                                                                                                                          First -Class Mail
Roeser Medical GMBH                                                    Meesmannstrasse 103 Bochum                                     Essen, 45307                                     Germany                                                                                                                                                                                First -Class Mail
Rofin Sinar Inc                                                        40984 Concept Dr                                               Plymouth, MI 48170-4252                                                                                                                                                                                                                 First -Class Mail
Rogan Co                                                               Attn: Jane Kubicki                                             3455 Woodhead Dr                                 Northbrook, IL 60062                                                                                 janek@rogancorp.com                                                               EmailFirst-Class Mail
Rogan Corporation                                                      3455 Woodhead Drive                                            Northbrook, IL 60062                                                                                                                                                                                                                    First -Class Mail
Roger Lippuner                                                                                                                                                                                                                                                                              lippuner@rlbanwaelte.ch                                                           Email
Roger S Mecca Md Consultant                                            Attn: Roger S Mecca Md                                         28521 Breckenridge Dr                            Laguna Niguel, CA 92677-1440                                                                                                                                                           First -Class Mail
Rogers Foam Corp                                                       20 Vernon St                                                   Somerville, MA 02145-3620                                                                                                                                                                                                               First -Class Mail
Rogers Foam Corp                                                       Priv Jose Lopez Portillo                                       Tijuana, BC 22570                                Mexico                                                                                                                                                                                 First -Class Mail
Rogers Foam Corporation                                                20 Vernon Street                                               Somerville, MA 02145                                                                                                                                                                                                                    First -Class Mail
Rogue Regional Medical Center                                          2825 E Barnett Rd                                              Medford, OR 97504-8332                                                                                                                                                                                                                  First -Class Mail
Rogue Regional Medical Center                                          2825 E Barnett Rd Receiving                                    Medford, OR 97504                                                                                                                                                                                                                       First -Class Mail
Rohanika Electronics & Medical Systems                                 C-49 Okhla Phase I                                             New Delhi 110020                                 India                                                                                                                                                                                  First -Class Mail
Rohanika Electronics & Medical Systems                                 C-49 Okhla Phase I                                             Delhi, 110020                                    India                                                                                                                                                                                  First -Class Mail
Rohit Khanna                                                           Address Redacted                                                                                                                                                                                                                                                                                       First -Class Mail
Roi LLC                                                                c/o Resource Optimization And                                  645 Maryville Center Dr                          St Louis, MO 63141-5846                                                                                                                                                                First -Class Mail
Roland J Bouvier Jr                                                    Address Redacted                                                                                                                                                                                                                                                                                       First -Class Mail
Rollins Inc                                                            c/o Orkin LLC                                                  31210 Plantation Dr, Ste B                       Thousand Palms, CA 92276-6604                                                                                                                                                          First -Class Mail
Ronald J Dandurand                                                     Address Redacted                                                                                                                                                                                                                                                                                       First -Class Mail
Ronald Labrum                                                          Address Redacted                                                                                                                                                                                                                                                                                       First -Class Mail
Ronald Mcdonald House Charities of                                     Nashville TN Inc                                               2144 Fairfax Ave                                 Nashville, TN 37212-3629                                                                                                                                                               First -Class Mail
Ronald Mcdonald House of South Flor                                    1145 NW 14th Ter                                               Miami, FL 33136-1050                                                                                                                                                                                                                    First -Class Mail
Ronda Z Bradley Rrt                                                    c/o Spiritus Consulting                                        6229 Tholozan Ave                                St Louis, MO 63109-1367                                                                                                                                                                First -Class Mail
Ropes & Gray LLP                                                       Prudential Tower                                               800 Boylston St                                  Boston, MA 02199-3600                                                                                                                                                                  First -Class Mail
Rory C Sanchez                                                         Address Redacted                                                                                                                                                                                                                                                                                       First -Class Mail
Rose, Edward                                                           Address Redacted                                                                                                                                                                                                                                                                                       First -Class Mail
Rosemount Design                                                       Attn: Rachel Martin                                            61 Pine Rd                                       Eastleigh, Hampshire S053 1JU         United Kingdom                                                 rachel@rosemountdesign.com                                                        First -Class Mail
                                                                                    Case 24-11217-BLS                                                               Doc 463                      Filed 08/24/24                                                          Page 40 of 51

Rosen Shingle Creek                                                               c/o Rosen 9939, Inc                           9840 International Dr                     Orlando, FL 32819-8111                                                                                                                                                                                            First -Class Mail
Ross Freebairn                                                                    Address Redacted                                                                                                                                                                                                                                                                                          First -Class Mail
Ross Harper                                                                       Address Redacted                                                                                                                                                                                                    Email Address Redacted                                                                EmailFirst-Class Mail
Ross Name Plate Co.                                                               2 Red Plum Circle                             Monterey Park, CA 91755                                                                                                                                                                                                                                     First -Class Mail
Ross NamePlate Co                                                                 Attn: David Reynolds                          2 Red Plum Cir                            Monterey Park, CA 91755                                                                                                     david.reynolds@rossnameplate.com                                                      EmailFirst-Class Mail
Ross Sherban                                                                      Address Redacted                                                                                                                                                                                                                                                                                          First -Class Mail
Roswell Park Cancer Institute Corp                                                Elm And Carlton Streets                       Buffalo, NY 14263                                                                                                                                                                                                                                           First -Class Mail
Roswell Park Cancer Institute Corporation                                         Elm And Carlton Streets                       Buffalo, NY 14263                                                                                                                                                                                                                                           First -Class Mail
Roswell Park Comprehensive Cancer Center                                          Elm & Carlton St                              Buffalo, NY 14263                                                                                                                                                                                                                                           First -Class Mail
Rosy Manivong                                                                     Address Redacted                                                                                                                                                                                                                                                                                          First -Class Mail
Rothschild & Co                                                                   1299 Ocean Ave                                Santa Monica, CA 90401                                                                                                                                                                                                                                      First -Class Mail
Roundtower Technologies, Llc                                                      5905 E. Galbraith Rd.                         3rd Floor                                 Cincinnati, OH 45236                                                                                                                                                                                              First -Class Mail
Rowena Gandionco Gonzalez                                                         Address Redacted                                                                                                                                                                                                                                                                                          First -Class Mail
Roy T Henderson                                                                   Address Redacted                                                                                                                                                                                                                                                                                          First -Class Mail
Royal Bank of Canada New York Branch                                              1211 Ave of the Americas                      New York, NY 10036                                                                                                                                                                                                                                          First -Class Mail
Royal Medical                                                                     5Z, Ahmed Kamel St.                           Laselky,beside USA aid                    1st floor new Maady                 Cairo, 2                                                    Egypt                                                                                                             First -Class Mail
Royal Oak Acquisitions Llc                                                        600 East Avenue                               Suite 200                                 Rochester, NY 14607                                                                                                                                                                                               First -Class Mail
Royal Wholesale Electric                                                          P.O. Box 847124                               Los Angeles, CA 90084-7124                                                                                                                                                                                                                                  First -Class Mail
Royal Wholesale Electric                                                          3200 Russell St                               Riverside, CA 92501-2247                                                                                                                                                                                                                                    First -Class Mail
RP Medicas SA                                                                     Transversal 6                                 No 45-135 Patio Bonito                    Medellin                            Colombia                                                                                                                                                                      First -Class Mail
Rpa Electronic Distributors                                                       122 South Terry St.                           Dayton, OH 45403                                                                                                                                                                                                                                            First -Class Mail
RPP Co                                                                            Attn: Ana Salcedo                             12 Ballard Way                            Lawernce, MA 01843                                                                                                          ana.salcedo@rppcorp.com                                                               EmailFirst-Class Mail
RPP Corp                                                                          12 Ballard Way                                Lawrence, MA 01843-1044                                                                                                                                                                                                                                     First -Class Mail
Rpp Corporation                                                                   12 Ballard Way                                Lawrence, MA 01843                                                                                                                                                                                                                                          First -Class Mail
Rpp Rubber                                                                        12 Ballard Way                                Lawrence, MA 01843-1044                                                                                                                                                                                                                                     First -Class Mail
RQM Corp                                                                          c/o Regulatory & Quality                      2790 Mosside Blvd, Ste 800                Monroeville, PA 15146-2768                                                                                                                                                                                        First -Class Mail
Rqm+ Corp                                                                         2790 Mosside Blvd #800                        Monroeville, PA 15146                                                                                                                                                                                                                                       First -Class Mail
RR Donnelley                                                                      P.O. Box 932721                               Cleveland, OH 44193-0015                                                                                                                                                                                                                                    First -Class Mail
RR Donnelley                                                                      P.O. Box 905151                               Charlotte, NC 28290-5151                                                                                                                                                                                                                                    First -Class Mail
RR Donnelley                                                                      35 W Wacker Dr                                Chicago, IL 60601                                                                                                                                                                                                                                           First -Class Mail
Rr Donnelley & Sons Co                                                            111 S Wacker Dr                               Chicago, IL 60606-4302                                                                                                                                                                                                                                      First -Class Mail
Rr Donnelley & Sons Company                                                       35 W. Wacker Drive                            Chicago, IL 60601                                                                                                                                                                                                                                           First -Class Mail

RS Americas Inc                                                                   Attn: Lilia Guzman, Jimmy Small               Attn: Maria Mann                          7151 Jack Newell Blvd               Ft Worth, TX 76118                                                                      lillia.guzman@na.rsgroup.com; Jimmy.Small@alliedelec.com; Maria.Mann@alliedelec.com   EmailFirst-Class Mail
RS Hughes Co, Inc                                                                 Address Redacted                                                                                                                                                                                                    Email Address Redacted                                                                EmailFirst-Class Mail
Rs Hughes Company                                                                 Address Redacted                                                                                                                                                                                                                                                                                          First -Class Mail
Rs Hughes Company, Inc                                                            116 Wilbur Pl                                 Bohemia, NY 11716                                                                                                                                                                                                                                           First -Class Mail
RSD                                                                               Attn: Dan Ridenour                            26021 Atlantic Ocean Dr                   Lake Forest, CA 92630                                                                                                       dridenour@rsd.net                                                                     EmailFirst-Class Mail
RSI Mexico S De Rl De Cv                                                          Blvd Tercera Oeste 17530                      BC 22430                                  Mexico                                                                                                                                                                                                            First -Class Mail
Rsi Mexico S De Rl De Cv                                                          Calle Juan Manuel Salvatierra                 1-A Fracc. Garita de Otay                 Tijuana, BC CP 22430                Mexico                                                                                                                                                                        First -Class Mail
Rsi Mexico S De Rl De Cv                                                          Blvd Tercera Oeste 17530 17530                Tijuana, BC 22430                         Mexico                                                                                                                                                                                                            First -Class Mail
RTD Seals Corp                                                                    c/o All Seals Inc, Hercules Oem               P.O. Box 845529                           Los Angeles, CA 90084-5529                                                                                                                                                                                        First -Class Mail
Rtd Seals Corp                                                                    c/o All Seals Inc, Hercules Oem               20762 Linear Ln                           Lake Forest, CA 92630-7804                                                                                                                                                                                        First -Class Mail
RTM Soft Inc                                                                      c/o Trackforce                                3636 Nobel Dr, Ste 275                    San Diego, CA 92122-1062                                                                                                                                                                                          First -Class Mail
Ruben D Restrepo                                                                  Address Redacted                                                                                                                                                                                                                                                                                          First -Class Mail
Rush Bartlett                                                                     Address Redacted                                                                                                                                                                                                                                                                                          First -Class Mail
Rush County Treasurer                                                             P.O. Box 291                                  Rushville, IN 46173-1886                                                                                                                                                                                                                                    First -Class Mail
Rush Foundation Hospital                                                          5312 Water Tower Rd                           Meridian, MS 39301-8823                                                                                                                                                                                                                                     First -Class Mail
Rush University Medical Center                                                    600 S. Paulina Street                         Chicago, IL 60612                                                                                                                                                                                                                                           First -Class Mail
Rush University Medical Center                                                    1700 W Van Buren St, Ste 103                  Chicago, IL 60612-5500                                                                                                                                                                                                                                      First -Class Mail
Russell A Farrow US Inc                                                           131 SW 156th St, Ste 200                      Burien, WA 98166-2513                                                                                                                                                                                                                                       First -Class Mail
Russell Air Conditioning Inc                                                      Attn: Paul R Soto                             P.O. Box 1351                             Desert Hot Springs, CA 960094                                                                                               rusellaircon@yahoo.com                                                                EmailFirst-Class Mail
Ruston Regional Specialty Hospital                                                1401 Ezell St                                 Ruston, LA 71270                                                                                                                                                                                                                                            First -Class Mail
Ruth Ann Lundstrom                                                                Address Redacted                                                                                                                                                                                                                                                                                          First -Class Mail
Rutherford County Tax Collector                                                   P.O. Box 143                                  Rutherfordton, NC 28139-0143                                                                                                                                                                                                                                First -Class Mail
Rwh Myers & Company, Llc                                                          Po Box 62031                                  Pittsburgh, PA 15241                                                                                                                                                                                                                                        First -Class Mail
Rwj Barnabas Health Inc.                                                          95 Old Short Hills Rd.                        Livingston, NJ 07078                                                                                                                                                                                                                                        First -Class Mail
Rwj Barnabas Health, Inc.                                                         95 Old Short Hills Road                       Livingston, NJ 07757                                                                                                                                                                                                                                        First -Class Mail
Ryan Bailey                                                                       Address Redacted                                                                                                                                                                                                                                                                                          First -Class Mail
Ryan Enterprise                                                                   Attn: Cindy Gustafson                         1456 Linnet Rd                            Wrightwood, CA 92397                                                                                                                                                                                              First -Class Mail
Ryan Herco Flow Solutions                                                         Attn: Shawn Roth                              3010 N San Fernando Blvd                  Burbank, CA 91504                                                                                                           sroth@rhfs.com                                                                        EmailFirst-Class Mail
Ryan Rava                                                                         Address Redacted                                                                                                                                                                                                                                                                                          First -Class Mail
Ryan Tyner                                                                        Address Redacted                                                                                                                                                                                                                                                                                          First -Class Mail
Ryan Watters                                                                      Address Redacted                                                                                                                                                                                                                                                                                          First -Class Mail
Ryder Transportation Services                                                     P.O. Box 96723                                Chicago, IL 60693-6723                                                                                                                                                                                                                                      First -Class Mail
Ryder Truck Rental Inc                                                            11690 NW 105th St                             Medley, FL 33178-1103                                                                                                                                                                                                                                       First -Class Mail
Rynetta Carter                                                                    Address Redacted                                                                                                                                                                                                                                                                                          First -Class Mail
S Albert Edwards Pharmd Ltd                                                       Attn: S Albert Edwards                        16 Yorkshire Dr                           Lincolnshire, IL 60069-3167                                                                                                                                                                                       First -Class Mail
S H Global Solution Bd                                                            44/A, Block-B, Road-03, Pallabi, Mirpur-12,   Dhaka, 1212                               Bangladesh                                                                                                                                                                                                        First -Class Mail
S Matrix Corp                                                                     1594 Myrtle Ave                               Eureka, CA 95501-1454                                                                                                                                                                                                                                       First -Class Mail
S&N Labs Inc                                                                      2021 E 4th St, Ste 112                        Santa Ana, CA 92705-3912                                                                                                                                                                                                                                    First -Class Mail
S&N Labs, Inc.                                                                    2021 E. Fourth Street                         Suite 112                                 Santa Ana, CA 92705                                                                                                                                                                                               First -Class Mail
S&P Global Inc                                                                    c/o Standard & Poors Financial Services       55 Water St                               New York, NY 10041-0004                                                                                                                                                                                           First -Class Mail
S&T Medtech Srl                                                                   (Fka Gadagroup Romania Srl)                   Bucuresti Sector 1                        Strada Gheorghe Polizu, No. 58-60   Bucharest Corporate Center, 10 floor, Corp A. District 1    Bucharest, 11062, Romania                                                                                         First -Class Mail
S&T Medtech Srl                                                                   58-60 Gheorghe Polizu St, 11th Fl             Bucharest, 110620                         Romania                                                                                                                                                                                                           First -Class Mail
S2Insight Inc                                                                     231 Market Pl, Ste 352                        San Ramon, CA 94583-4743                                                                                                                                                                                                                                    First -Class Mail
S2Insight Inc.                                                                    231 Market Place 352                          San Ramon, CA 94583                                                                                                                                                                                                                                         First -Class Mail
Sa Surgical LLC                                                                   17 Cedar View Dr                              Savannah, GA 31410-1903                                                                                                                                                                                                                                     First -Class Mail
Saad Ahmad, MD                                                                    Address Redacted                                                                                                                                                                                                                                                                                          First -Class Mail
Saarmedtec L.L.Co                                                                 Medical, Laboratory, & Technical Supplies     Jabal Amman                               77 Zahran St. Business Avenue       Amman,                                                      Jordan                                                                                                            First -Class Mail
Saarmedtec L.L.Co.                                                                Jabal Amman, 3Rd Circle                       Abu Na'enha Trade Center                  Amman,                              Jordan                                                                                                                                                                        First -Class Mail
Saba Software Inc                                                                 4120 Dublin Blvd, Ste 200                     Dublin, CA 94568-7759                                                                                                                                                                                                                                       First -Class Mail
Sabic Innovative Plastics                                                         Attn: Sri Santhanam                           9930 Kincey Ave                           Huntersville, NC 28078                                                                                                      sri.santhanam@sabic-ip.com                                                            EmailFirst-Class Mail
Sabic Innovative Plastics                                                         P.O. Box 100093                               Pasadena, CA 91189-0093                                                                                                                                                                                                                                     First -Class Mail
Sabic Innovative Plastics Us LLC                                                  9930 Kincey Ave                               Huntersville, NC 28078                                                                                                                                                                                                                                      First -Class Mail
Sabio Systems LLC                                                                 4520 Montgomery Blvd NE, Ste 2                Albuquerque, NM 87109-1291                                                                                                                                                                                                                                  First -Class Mail
Sachin Murthy                                                                     Address Redacted                                                                                                                                                                                                                                                                                          First -Class Mail
Sacred Heart Hospital Of The Hospital Sisters Of The Third Order Of St. Francis   900 W. Clairemont Avenue                      Eau Claire, WI 54701                                                                                                                                                                                                                                        First -Class Mail
Saeed Ahmed Shaikh                                                                Address Redacted                                                                                                                                                                                                                                                                                          First -Class Mail
Safeline Pharmaceuticals Pty Ltd                                                  4845 Rugby St Weltevreden Park                Palmcourt, 1715                           South Africa                                                                                                                                                                                                      First -Class Mail
SafeShred                                                                         Attn: Tamy Maynard                            5928 S Malt Ave                           Commerce, CA 90040                                                                                                          tmaynard@safeshred.com                                                                EmailFirst-Class Mail
Safeshred                                                                         5928 S Malt Ave                               Commerce, CA 90040-3504                                                                                                                                                                                                                                     First -Class Mail
Safety Culture                                                                    2114 Central Street                           6th Floor                                 Kansas City, MO 64108                                                                                                                                                                                             First -Class Mail
Safety Kleen Systems, Inc                                                         Attn: Sean Ledden                             7979 Palm Ave                             Highland, CA 92346                                                                                                          sean.ledden@safety-kleen.com                                                          EmailFirst-Class Mail
Safety Management System                                                          Attn: Gilbert Prieto                          5405 Alton Pkwy, Ste 5A-549               Irvine, CA 92604                                                                                                            gil@safetycat.com                                                                     EmailFirst-Class Mail
Safetyculture Pty Ltd                                                             P.O. Box 7175                                 Garbutt, QLD 4814                         Australia                                                                                                                                                                                                         First -Class Mail
Safety-Kleen                                                                      Attn: Sean Ledden                             7979 Palm Ave                             Highland, CA 92346                                                                                                                                                                                                First -Class Mail
Sage Software                                                                     6561 Irvine Center Drive                      Irvine, CA 92618                                                                                                                                                                                                                                            First -Class Mail
Sage Software Inc                                                                 14855 Collection Center Dr                    Chicago, IL 60693-0148                                                                                                                                                                                                                                      First -Class Mail
Sage Software Inc                                                                 6561 Irvine Center Dr                         Irvine, CA 92618-2118                                                                                                                                                                                                                                       First -Class Mail
Sagentia Limited                                                                  Harston Mill                                  Harston, Cambridge                        CB22 7GG                            United Kingdom                                                                                                                                                                First -Class Mail
Sager Electronics                                                                 Attn: MaryAnne Davis                          19 Leona Dr                               Middleborough, MA 02346                                                                                                     mdavis@sager.com                                                                      EmailFirst-Class Mail
Sager Electronics                                                                 Attn: Maryanne Davis                          19 Leona Dr                               Middleborough, MA 02346                                                                                                                                                                                           First -Class Mail
Sahak Zargarian                                                                   Address Redacted                                                                                                                                                                                                                                                                                          First -Class Mail
Sai Global Compliance Inc.                                                        205 W. Wacker Dr.                             Suite 1800                                Chicago, IL 60606                                                                                                                                                                                                 First -Class Mail
Saia                                                                              P.O. Box 730532                               Dallas, TX 75373-0532                                                                                                                                                                                                                                       First -Class Mail
Saia, Inc                                                                         1717 Krieger St                               Columbus, OH 43228                                                                                                                                                                                                                                          First -Class Mail
Saida Maria Mesa                                                                  Address Redacted                                                                                                                                                                                                    Email Address Redacted                                                                EmailFirst-Class Mail
Saint Francis Hospital                                                            5959 Park Avenue                              Memphis, TN 38119                                                                                                                                                                                                                                           First -Class Mail
Saint Gobain Performance Plastics C                                               2664 Gilchrist Rd                             Akron, OH 44305-4412                                                                                                                                                                                                                                        First -Class Mail
Saint Louis University                                                            Attn: Tammi Moosegian                         3545 Lindell Blvd                         St Louis, MO 63103                                                                                                                                                                                                First -Class Mail
Saint Lukes East Hospital                                                         P.O. Box 5870                                 Kansas City, MO 64171-0870                                                                                                                                                                                                                                  First -Class Mail
Saint Luke'S Health System                                                        901 E. 104Th Street                           Kansas City, MO 64131                                                                                                                                                                                                                                       First -Class Mail
Saint Luke'S Health System, Inc.                                                  903 East 104Th Street                         Mailstop # 900                            Kansas City, MO 64131                                                                                                                                                                                             First -Class Mail
Saint Luke'S Hospital Of Kansas City                                              Saint Luke'S Health System                    903 E. 104th St.                          Mailstop #900                       Kansas City, MO 64131                                                                                                                                                         First -Class Mail
Saint Lukes Physician Group Inc                                                   P.O. Box 5870                                 Kansas City, MO 64171-0870                                                                                                                                                                                                                                  First -Class Mail
Saint-Gobain Performance Plastics                                                 Attn: Kayla Grove, Frank Chanowski            3910 Terry Diane St                       Beaverton, MI 48612                                                                                                         Kayla.grove@saint-gobain.comFrank.J.Chanowski@saint-gobain.com                        EmailFirst-Class Mail
Saint-Gobain Performance Plastics                                                 2664 Gilchrist Rd                             Akron, OH 44305-4412                                                                                                                                                                                                                                        First -Class Mail
Saint-Gobain Performance Plastics                                                 Attn: Kayla Grove, Frank Chanowski            3910 Terry Diane St                       Beaverton, MI 48612                                                                                                                                                                                               First -Class Mail
Saint-Gobain Performance Plastics                                                 L+S GmbH, Hoechberg                           Dertinger Weg 10                          97877 Wertheim                      Germany                                                                                                                                                                       First -Class Mail
Saint-Gobain Performance Plastics                                                 L+S GmbH, Hoechberg                           Dertlinger Weg 10                         97877 Wertheim-Bettingen            Hoechberg                                                   Germany                                                                                                           First -Class Mail
Salary.Com                                                                        610 Lincoln Street                            North Building, Suite #200                Waltham, MA 02451                                                                                                                                                                                                 First -Class Mail
Salary.com LLC                                                                    P.O. Box 844048                               Boston, MA 02284-4048                                                                                                                                                                                                                                       First -Class Mail
Salco Dynamic Solutions                                                           Attn: Lucy George                             6248 Sufpoint Cir                         Huntington Beach, CA 92648                                                                                                  svgsag@aol.com                                                                        EmailFirst-Class Mail
Salem Community Hospital                                                          1995 E State St                               Salem, OH 44460-2400                                                                                                                                                                                                                                        First -Class Mail
Salem Hospital                                                                    890 Oak St Se                                 Salem, OR 97301                                                                                                                                                                                                                                             First -Class Mail
Sales Development Associates Inc                                                  7850 Manchester Rd                            St Louis, MO 63143-2710                                                                                                                                                                                                                                     First -Class Mail
Sales Performance Int'l LLC                                                       1818 Market St, Ste 2800                      Philadelphia, PA 19103-3629                                                                                                                                                                                                                                 First -Class Mail
Salesforce.com                                                                    415 Mission St, 3rd Fl                        San Francisco, CA 94105                                                                                                                                                                                                                                     First -Class Mail
Salesforce.com Inc                                                                1 Market St, Ste 300                          San Francisco, CA 94105-1315                                                                                                                                          Sabastian.Niles@salesforce.com                                                        EmailFirst-Class Mail
Salesforce.com Inc                                                                1 Market St, Ste 300                          San Francisco, CA 94105-1315                                                                                                                                                                                                                                First -Class Mail
Salesforce.Com, Inc                                                               The Landmark @ One Market                     Suite 300                                 San Francisco, California 94105                                                                                                                                                                                   First -Class Mail
Salesforce.Com, Inc                                                               415 Mission St                                San Francisco, CA 94105                                                                                                                                                                                                                                     First -Class Mail
Salesforce.Com, Inc                                                               One Market                                    Suite 300                                 San Francisco, California 94105                                                                                                                                                                                   First -Class Mail
Salient LLC                                                                       Attn: Brad R Lang                             1810 Cherry St                            Kansas City, MO 64108-2315                                                                                                                                                                                        First -Class Mail
Salina Regional Health Center                                                     400 S Santa Fe Ave Receiving                  Salina, Kansas 67401                                                                                                                                                                                                                                        First -Class Mail
Salvatore C Lazzara Jr                                                            Address Redacted                                                                                                                                                                                                                                                                                          First -Class Mail
Sam Blonder                                                                       c/o Epic Productions of Phoenix LLC           3719 N 75th St, Ste 110                   Scottsdale, AZ 85251-4526                                                                                                                                                                                         First -Class Mail
Samantha Levi Photography Slp                                                     c/o Samantha Levi Photography LLC             515 Southwest Blvd                        Kansas City, MO 64108-2122                                                                                                                                                                                        First -Class Mail
Samaritan Hospital                                                                801 E Wheeler Rd                              Moses Lake, Washington 98837-1820                                                                                                                                                                                                                           First -Class Mail
Samco                                                                             7315 N Alpine Rd, Ste F                       Loves Park, IL 61111-1804                                                                                                                                                                                                                                   First -Class Mail
Samir Pandya                                                                      Address Redacted                                                                                                                                                                                                                                                                                          First -Class Mail
Samir Rajput                                                                      Address Redacted                                                                                                                                                                                                                                                                                          First -Class Mail
Samm Group                                                                        Attn: Matthew D Saltzman                      610 Glendale Rd                           Glenview, IL 60025-4002                                                                                                                                                                                           First -Class Mail
Samodzielny Publiczny Szpital                                                     c/o Kliniczny Nr 2 Pum W Szczecinie           Al Powstancow Wielkopolskich 72           Szczecin, 70-111                    Poland                                                                                                                                                                        First -Class Mail
Samodzielny Publiczny Szpital Kliniczny Nr 2 Pum W Szczecine                      Al. Powstancow Wielkopolskich 71              70-111, Szczecin                          Poland                                                                                                                                                                                                            First -Class Mail
Samodzielny Publicznym                                                            Pavog Study Poland - Site 001                 Warsaw                                    Poland                                                                                                                                                                                                            First -Class Mail
Samodzlelny Publiczny Szpital Klin                                                Czerniakowska 231                             Warsaw, 00-416                            Poland                                                                                                                                                                                                            First -Class Mail
Samtec                                                                            Attn: Loretta Papp                            520 Park East Blvd                        New Albany, IN 47150                                                                                                        loretta.papp@samtec.com                                                               EmailFirst-Class Mail
Samtec, Inc.                                                                      520 Park East Boulevard                       New Albany, IN 47150                                                                                                                                                                                                                                        First -Class Mail
Samuel Alan Shube                                                                 Address Redacted                                                                                                                                                                                                                                                                                          First -Class Mail
San Bernardino Mountains Community                                                c/o Hospital District                         P.O. Box 70                               Lake Arrowhead, CA 92352-0070                                                                                                                                                                                     First -Class Mail
San Diego Gas & Electric                                                          P.O. Box 25111                                Santa Ana, CA 92799-5111                                                                                                                                                                                                                                    First -Class Mail
San Diego PCB                                                                     Attn: David Carmody                           9909 Mira Mesa Blvd, Ste 250              San Diego, CA 92131                                                                                                         david.carmody@sdpcb.com                                                               EmailFirst-Class Mail
San Diego Pcb Design, Llc                                                         10803 Thommint Rd.                            Ste 100                                   San Diego, CA 92127                                                                                                                                                                                               First -Class Mail
San Diego PCB Inc                                                                 9909 Mira Mesa Blvd, Ste 250                  San Diego, CA 92131-3004                                                                                                                                                                                                                                    First -Class Mail
San Diego Scale Inc                                                               4510 Federal Blvd                             San Diego, CA 92102                                                                                                                                                                                                                                         First -Class Mail
San Juan Regional Medical Ctr                                                     801 W Maple St Receiving                      Farmington, NM 87401                                                                                                                                                                                                                                        First -Class Mail
San Luis Valley Reg Medical Center                                                106 Blanca Ave                                Alamosa, CO 81101                                                                                                                                                                                                                                           First -Class Mail
San Mateo Medical Center                                                          222 W 39th Ave                                San Mateo, CA 94403                                                                                                                                                                                                                                         First -Class Mail
Sanacare                                                                          (F/K/A Ace Sales Corp.)                       8085 NW 68th Street                       Miami, FL 33166                                                                                                                                                                                                   First -Class Mail
SanaCare                                                                          fka Ace Sales Corp                            8085 NW 68th St                           Miami, FL 33166                                                                                                                                                                                                   First -Class Mail
Sanborn Technologies                                                              c/o North American Filtration of Mass I       23 Walpole Park S                         Walpole, MA 02081-2558                                                                                                                                                                                            First -Class Mail
Sanchez-Luna, Manuel Md (Spain)                                                   Calle Del Dr. Esquerdo, 46                    Madrid, 28007                             Spain                                                                                                                                                                                                             First -Class Mail
Sandra M Del Balso                                                                Address Redacted                                                                                                                                                                                                                                                                                          First -Class Mail
Sandra S Adamczyk                                                                 Address Redacted                                                                                                                                                                                                                                                                                          First -Class Mail
Sandra Valencia                                                                   Address Redacted                                                                                                                                                                                                                                                                                          First -Class Mail
Sandy Almeta Mclaughlin                                                           Address Redacted                                                                                                                                                                                                                                                                                          First -Class Mail
Sanford                                                                           801 Broadway North                            Fargo, ND 58122                                                                                                                                                                                                                                             First -Class Mail
Sanford Medical Center Fargo                                                      501 4th St N                                  Fargo, ND 58126-0001                                                                                                                                                                                                                                        First -Class Mail
Sanford Medical Ctr Bismarck                                                      3401 N 14Th St                                Bismarck, ND 58503                                                                                                                                                                                                                                          First -Class Mail
Sang Greene                                                                       Address Redacted                                                                                                                                                                                                                                                                                          First -Class Mail
Sanitas Gmbh                                                                      Holunderstraße 6                              Salzburg                                  Wals, 5071                          Austria                                                                                                                                                                       First -Class Mail
Sanitas GMBH                                                                      Holunderstrasse 6                             Wals, 5071                                Austria                                                                                                                                                                                                           First -Class Mail
Sanitas Medizintechnik Gmbh                                                       Holunderstrasse 6                             Wals, 5071                                Austria                                                                                                                                                                                                           First -Class Mail
Sanitas Medizintechnik GmbH                                                       Drovestraße 198a                              52372 Kreuzau                             Germany                                                                                                                                                                                                           First -Class Mail
Sanitas Medizintechnik GmbH                                                       Sanitas Medizintechnik GmbH                   Holunderstrasse 6                         A-5071 Wals                         Austria                                                                                                                                                                       First -Class Mail
Sanja Stanojevic                                                                  Address Redacted                                                                                                                                                                                                                                                                                          First -Class Mail
Sankar Venkataramani Srinivas                                                     Address Redacted                                                                                                                                                                                                                                                                                          First -Class Mail
Sankaran Shanmugavelayudam                                                        Address Redacted                                                                                                                                                                                                                                                                                          First -Class Mail
Sanmina SCI Corp                                                                  Attn: Alia Khoja                              60 E Plumeria Dr                          San Jose, CA 95134                                                                                                          alia.khoja@sanmina-sci.com                                                            EmailFirst-Class Mail
Sanmina-SCI Corp                                                                  2700 N First St                               San Jose, CA 95134                                                                                                                                                                                                                                          First -Class Mail
Sanosil Int'l LLC                                                                 91 Lukens Dr, Ste A                           New Castle, DE 19720-2799                                                                                                                                                                                                                                   First -Class Mail
Sansum Clinic                                                                     515 W Pueblo St                               Santa Barbara, CA 93105                                                                                                                                                                                                                                     First -Class Mail
Santa Casa De Misericordia De Ribeirao Preto                                      Saudade, No. 456                              Bairro: Campos Eliseos                    Ribeirao Preto                      Brazil                                                                                                                                                                        First -Class Mail
Santa Casa de Misericordia do Recife                                              Santa Casa de                                 Misericordia do Recife                    Brazil                                                                                                                                                                                                            First -Class Mail
Santa Casa de Misericordia do Recife                                              Avenida Cruz Cabuga                           No 1563 Santo Amaro                       Recife, Estado de Pernambuco        Brazil                                                                                                                                                                        First -Class Mail
Santa Clara Vly Oncology Nursing So                                               32707 Folklore Loop                           Union City, CA 94587-8215                                                                                                                                                                                                                                   First -Class Mail
Santa Fe College                                                                  3000 Nw 83Rd St                               Gainesville, FL 32606-6210                                                                                                                                                                                                                                  First -Class Mail
Santa Fe Rubber Productions, Inc                                                  Attn: Mike Peterman                           12306 E Washington Blvd                   Whittier, CA 90606                                                                                                          mpeterman@santaferubber.com                                                           EmailFirst-Class Mail
Santa Fe Rubber Products Inc.                                                     12306 E. Washington Blvd.                     Whittier, CA 90606                                                                                                                                                                                                                                          First -Class Mail
Santarelli Srl                                                                    49, avenue des Champs-Elysées                 75008 Paris                               France                                                                                                                                                                                                            First -Class Mail
Santarelli Srl                                                                    Via Sgarrone 1                                San Giovanni Teatino                      Abruzzo 66020                       Italy                                                                                                                                                                         First -Class Mail
Santarelli Srl                                                                    Via Sgarrone 1                                San Giovanni Teatino, 66020               Italy                                                                                                                                                                                                             First -Class Mail
Sanyfico SA                                                                       Av 8 de Octubre 2573                          11600 Montevideo                          Departamento de Montevideo          Uruguay                                                                                                                                                                       First -Class Mail
Sap America Inc                                                                   3999 W Chester Pike                           Newtown Square, PA 19073-2305                                                                                                                                                                                                                               First -Class Mail
Sap America, Inc.                                                                 3999 West Chester Pike                        Newtown Square, PA 19073                                                                                                                                                                                                                                    First -Class Mail
Saporito Finishing Co                                                             3119 S Austin Blvd                            Cicero, IL 60804-3730                                                                                                                                                                                                                                       First -Class Mail
Sarah Coleman                                                                     Address Redacted                                                                                                                                                                                                                                                                                          First -Class Mail
Sarah Poydence Norris                                                             Address Redacted                                                                                                                                                                                                                                                                                          First -Class Mail
Sarah R Bartlett                                                                  Address Redacted                                                                                                                                                                                                                                                                                          First -Class Mail
Sarasota Memorial Hospital                                                        1700 S Tamiami Trail                          Sarasota, FL 34239                                                                                                                                                                                                                                          First -Class Mail
Sarl Hospimedica                                                                  Sarl Hospimedica                              Cite des Annassers 2 Bt 17 N°2            Kouba Alger                         Algeria                                                                                                                                                                       First -Class Mail
Sarl Promonet Promedical                                                          Promedical Sarl                               142, Rue Stephane Rebecca                 ZI N°2 - BP 345                     97452 St. Pierre Cedex, Ile de la Reunion                   France                                                                                                            First -Class Mail
Sartorius Corp                                                                    24918 Network Pl                              Chicago, IL 60673-1249                                                                                                                                                                                                                                      First -Class Mail
Sartorius Corp                                                                    5 Orville Dr, Ste 200                         Bohemia, NY 11716-2535                                                                                                                                                                                                                                      First -Class Mail
Sauk Prairie Memorial Hospital                                                    260 26Th Street                               Prairie Du Sac, WI 53578                                                                                                                                                                                                                                    First -Class Mail
Saul Ewing LLP                                                                    Attn: Lucian B Murley                         Attn: Nicholas Smargiassi                 1201 N Market St, Ste 2300          P.O. Box 1266                                               Wilmington, DE 19899        luke.murley@saul.com                                                                  EmailFirst-Class Mail
Saul Ewing LLP                                                                    Attn: Nicholas Smargiassi                                                                                                                                                                                           nicholas.smargiassi@saul.com                                                          Email
Saurin Shah                                                                       Address Redacted                                                                                                                                                                                                                                                                                          First -Class Mail
Savanna Trucking Corp                                                             12487 Darkwood Rd                             San Diego, CA 92129                                                                                                                                                                                                                                         First -Class Mail
Savi Ranch Property Holdings LLC                                                  Attn: Amy Higuchi                             P.O. Box 101834                           Pasadena, CA 91189                                                                                                                                                                                                First -Class Mail
Savi Tech Center Property Owner LLC                                               Attn: Rhonda Lauer                            333 S Grand Ave, 28th Fl                  Los Angeles, CA 90071                                                                                                       rhonda.lauer@hines.com                                                                EmailFirst-Class Mail
Savills, Inc.                                                                     399 Park Avenue                               11th Floor                                New York, NY 10022                                                                                                                                                                                                First -Class Mail
Sbr Medical System                                                                Sbr Medical System                            270-A, 1st Floor                          Patparganj, Mayur Vihar, Phase-1    Delhi PIN 110091                                            India                                                                                                             First -Class Mail
Sbr Medical System                                                                Mayur Vihar Phase 1                           270 A FIRST FLOOR                         PATPARGANJ                          New Delhi, 110091                                           India                                                                                                             First -Class Mail
Sbr Medical System                                                                270-A, 1St Floor                              Patparganj, Mayur Vihar                   Phase-1                             Delhi, 110091                                               India                                                                                                             First -Class Mail
SBR Medical System                                                                270-A, 1st Fl                                 Ptparganj                                 Mayur Vihar                         Delhi, 110091                                               India                                                                                                             First -Class Mail
SBR Medical System                                                                270-A, 1st Fl                                 Patparganj, Mayur Vihar                   Phase-1                             Delhi PIN 110091                                            India                                                                                                             First -Class Mail
SC Medical Service Srl                                                            Via Antonio de Curtis, 3                      80016 Marano di Napoli NA,                Italy                                                                                                                                                                                                             First -Class Mail
SC Medical Service Srl                                                            Via Tevere 41/F                               Marano di Napoli, NA                      Cap 80016                           Italy                                                                                                                                                                         First -Class Mail
Sc Transport, Inc.                                                                425 E. Hester Rd                              Helena, CA 92249                                                                                                                                                                                                                                            First -Class Mail
Scal Mobile LLC                                                                   25422 Trabuco Rd, Ste 105-126                 Lake Forest, CA 92630-2791                                                                                                                                                                                                                                  First -Class Mail
Scan Shipping Inc                                                                 144-146 Lefante Way                           Bayonne, NJ 07002-6507                                                                                                                                                                                                                                      First -Class Mail
Scanwell Logistics (Chi) Inc.                                                     2455 Arthur Avenue                            Elk Grove Village, IL 60007                                                                                                                                                                                                                                 First -Class Mail
Sceti K.K.                                                                        Kasumigaseki Place                            3-6-7 Kasumigaseki Chiyoda-ku             Tokyo, 100-0013                     Japan                                                                                                                                                                         First -Class Mail
Schenck Trebel Corp.                                                              535 Acorn Street                              Deer Park, NY 11729                                                                                                                                                                                                                                         First -Class Mail
Schenker, Inc.                                                                    1305 Executive Blvd.                          Suite 200                                 Chesapeake, VA 23320                                                                                                                                                                                              First -Class Mail
Schermerhorn Bros Co                                                              P.O. Box 668                                  Lombard, IL 60148-0668                                                                                                                                                                                                                                      First -Class Mail
Schermerhorn Bros Co                                                              12922 Florence Ave                            Santa Fe Springs, CA 90670-4504                                                                                                                                                                                                                             First -Class Mail
Schiff Hardin LLP                                                                 233 S Wacker Dr, Ste 7100                     Chicago, IL 60606-6446                                                                                                                                                                                                                                      First -Class Mail
Schimmer Comercializadora S De R L                                                Periferico Oriente 281-3                      Mexicali, BC 21216                        Mexico                                                                                                                                                                                                            First -Class Mail
Schlafender Hase Inc                                                              245 1st St, Ste 1800-103                      Cambridge, MA 02142-1200                                                                                                                                                                                                                                    First -Class Mail
Schlesinger Associates Inc                                                        10880 Wilshire Blvd, Ste 1100                 Los Angeles, CA 90024-4112                                                                                                                                                                                                                                  First -Class Mail
Schmidt Biomed Sdn Bhd                                                            Wisma Tecna 18A, 5th Fl                       Petaling Jaya, SEL 08000                  Malaysia                                                                                                                                                                                                          First -Class Mail
Schmidt Biomedtech Sdn Bhd                                                        5Th Floor, Wisma Tecna                        18A Lot 318, Jalan 51A/223                46100 Petaling Jaya                 Selangor                                                    Malaysia                                                                                                          First -Class Mail
Schmidt Mike & Nicki                                                              264 Goehl Rd                                  Waterloo, WI 53594                                                                                                                                                                                                                                          First -Class Mail
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Schmidt Technology                                                                      Attn: Greg Gaghan                                                       280 Executive Dr                                        Cranberry Twp, PA 16066                                                                                 greg@schmidtpresses.com                                  EmailFirst-Class Mail
Schmidt Technology                                                                      280 Executive Dr                                                        Cranberry Twp, PA 16066-6448                                                                                                                                                                                             First -Class Mail
Schneider National Carriers, Inc.                                                       3101 South Packerland Drive                                             Green Bay, WI 54313                                                                                                                                                                                                      First -Class Mail
Schnorr Co                                                                              Attn: Kathy Meadows                                                     4355 Varsity Dr, Ste A                                  Ann Arbor, MI 48108                                                                                     k.meadows@schnorr.com                                    EmailFirst-Class Mail
Schroff Inc                                                                             Attn: Cheryl Garay                                                      170 Commerce Dr                                         Warwick, RI 02886-2430                                                                                                                                           First -Class Mail
Schroff Inc (n'Vent)                                                                    Attn: Cheryl Garay                                                      170 Commerce Dr                                         Warwick, RI 02886-2430                                                                                  cheryl.garay@nvent.com                                   EmailFirst-Class Mail
Schroff Inc (n'Vent)                                                                    Attn: Cheryl Garay                                                      170 Commerce Dr                                         Warwick, RI 02886-2430                                                                                                                                           First -Class Mail
Schroff, Inc. (Nvent)                                                                   170 Commerce Drive                                                      Warwick, RI 02886                                                                                                                                                                                                        First -Class Mail
Scicon Technologies Co                                                                  Attn: Matthew Mootola                                                   27525 Newhall Ranch Rd, Unit 2                          Valencia, CA 91355                                                                                      mmottola@scicontech.com                                  EmailFirst-Class Mail
Scicon Technologies Corp                                                                27525 Newhall Ranch Rd, Unit 2                                          Valencia, CA 91355-4003                                                                                                                                                                                                  First -Class Mail
Science & Technology Engineering Ltd                                                    Science & Technology Engineering Sarl                                   Immeuble N110 Cite CICES                                B.P.27045                                       Dakar                       Senegal                                                                              First -Class Mail
Science & Technology Engineering Ltd                                                    Immeuble N110 Cite CICES                                                Dakar, BP 27045                                         Senegal                                                                                                                                                          First -Class Mail
Science & Technology Engineering Sarl                                                   Immeuble No 10,                                                         Cite CICES                                              B.P.27045                                       Dakar                       Senegal                                                                              First -Class Mail
Science 37, Inc.                                                                        600 Corporate Pointe #320                                               Culver City, CA 90230                                                                                                                                                                                                    First -Class Mail
Science Care Inc                                                                        P.O. Box 85080                                                          Phoenix, AZ 85080                                                                                                                                                                                                        First -Class Mail
Science Care Inc                                                                        P.O. Box 87119                                                          Phoenix, AZ 85080-7119                                                                                                                                                                                                   First -Class Mail
Scientific Molding Corp (SMC)                                                           Attn: Lisa Riemenschneider                                              330 SMC Dr                                              Somerset, WI 54025                                                                                      Lisa.Riemenschneider@smcltd.com                          EmailFirst-Class Mail
Scientific Molding Corporation Ltd. Dba Smc Ltd.                                        330 Smc Drive                                                           Somerset, WI 54025                                                                                                                                                                                                       First -Class Mail
Scientific Refrigeration                                                                16511 Burke Ln                                                          Huntington Beach, CA 92647-4537                                                                                                                                                                                          First -Class Mail
Scimitar Inc                                                                            616 S El Camino Real, Ste G14                                           San Clemente, CA 92672-4297                                                                                                                                                                                              First -Class Mail
Scimitar, Inc.                                                                          616 S. El Camino Rel                                                    Suite G14                                               San Clemente, CA 92672                                                                                                                                           First -Class Mail
Scionhealth                                                                             500 W Romeo B Garrett Ave                                               Peoria, IL 61605                                                                                                                                                                                                         First -Class Mail
SCM Alliance                                                                            P.O. Box 902                                                            Palm City, FL 34991-0902                                                                                                                                                                                                 First -Class Mail
SCM Alliance Inc                                                                        19 Sea Winds Ln S                                                       Ponte Vedra Beach, FL 32082-2733                                                                                                                                                                                         First -Class Mail
Scott Allen Raber Md                                                                    Address Redacted                                                                                                                                                                                                                                                                                 First -Class Mail
Scott Cranwell Beckner                                                                  Address Redacted                                                                                                                                                                                                                                                                                 First -Class Mail
Scott Dillion Incentives Inc                                                            P.O. Box 776402                                                         Chicago, IL 60677-6402                                                                                                                                                                                                   First -Class Mail
Scott Medical Products A Division Of Airgas Usa, Llc                                    5141 Easton Road, Building 3                                            Plumsteadville, PA 18949-0310                                                                                                                                                                                            First -Class Mail
Scott Sheldon Llc                                                                       1375 South Main Street, Suite 230                                       North Canton, OH 44720                                                                                                                                                                                                   First -Class Mail
Scott Sheldon LLC                                                                       Attn: Scott Spyker                                                      1375 S Main St, Ste 203                                 N Canton, OH 44720-4288                                                                                                                                          First -Class Mail
Scottsdale Healthcare                                                                   7400 E Osborn Rd                                                        Scottsdale, AZ 85251-6432                                                                                                                                                                                                First -Class Mail
Scottsdale Healthcare Hospitals                                                         c/o Honorhealth                                                         8125 N Hayden Rd                                        Scottsdale, AZ 85258-2463                                                                                                                                        First -Class Mail
Scoutrfp Inc                                                                            123 Mission St, Ste 600                                                 San Francisco, CA 94105-5121                                                                                                                                                                                             First -Class Mail
Scoutrfp, Inc.                                                                          123 Mission Street                                                      Suite 600                                               San Francisco, CA 94105                                                                                                                                          First -Class Mail
Scovil & Sides Hardware Co                                                              2408 W Skelly Dr                                                        Tulsa, OK 74107-9038                                                                                                                                                                                                     First -Class Mail
Screaming Circuits                                                                      Attn: Kasey Harrop                                                      1140 NW 3rd Ave                                         Carby, OR 97013                                                                                         kharrop@screamingcircuits.com                            EmailFirst-Class Mail
Scripps Health                                                                          4275 Campus Point Ct                                                    San Diego, CA 92121-1513                                                                                                                                                                                                 First -Class Mail
Sctrans, Inc.                                                                           Mexicali, Baja California, México                                       and 425 E. Road                                         Heber, CA 92249                                                                                                                                                  First -Class Mail
Sculpteo Sas                                                                            10 Rue Auguste Perret                                                   94800 Villejuif                                         France                                                                                                                                                           First -Class Mail
Sd Worx Peoplesolutions Nv                                                              Brouwersvliet 2                                                         Belgium                                                                                                                                                                                                                  First -Class Mail
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SDV USA Inc                                                                             19630 Pacific Gateway Dr                                                Torrance, CA 90502-1115                                                                                                                                                                                                  First -Class Mail
Seabrook Plastics                                                                       1869 Lindberg Dr                                                        Norton Shores, MI 49441-3410                                                                                                                                                                                             First -Class Mail
Seal Methods Inc                                                                        Attn: Darin Welter                                                      11915 Shoemaker Ave                                     Santa Fe Springs, CA 90670                                                                              darinw@sealmethodsinc.com                                EmailFirst-Class Mail
Seal Methods Inc.                                                                       11915 Shoemaker Ave.                                                    Santa Fe Springs, CA 90670                                                                                                                                                                                               First -Class Mail
Seal Science                                                                            Attn: Patty                                                             17131 Daimler St                                        Irvine, CA 92614                                                                                        pattyp@sealscience.com                                   EmailFirst-Class Mail
Sealed Air Co US                                                                        Attn: Patricia Omba                                                     10 Old Sherman Tpke                                     Danbury, CT 06810                                                                                       patricia.omba@sealedair.com; gulf.nappcs@sealedair.com   EmailFirst-Class Mail
Sealed Air Corporation (Us)                                                             2415 Cascade Pointe Blvd                                                Charlotte, NC 28208                                                                                                                                                                                                      First -Class Mail
Seamates Int'l                                                                          316 Main St                                                             E Rutherford, NJ 07073-1752                                                                                                                                                                                              First -Class Mail
Sean M Cummings                                                                         c/o Laminar Consulting Services Inc                                     424 S Olive St                                          Orange, CA 92866-1938                                                                                                                                            First -Class Mail
Sean R Muldoon                                                                          Attn: Cindy Johnson                                                     239 Fairfax Ave                                         Louisville, KY 40207                                                                                    Cindy.johnson@kindred.com                                EmailFirst-Class Mail
Search Now Inc                                                                          100 Diplomat Dr, Ste 2B                                                 Mt Kisco, NY 10549-2005                                                                                                                                                                                                  First -Class Mail
Seattle Cancer Care Alliance                                                            1100 Fairview Ave N                                                     P.O. Box 19024                                          Seattle, WA 98109-1024                                                                                                                                           First -Class Mail
Seattle Childrens Hospital                                                              4800 Sand Point Way NE                                                  Seattle, WA 98105-5005                                                                                                                                                                                                   First -Class Mail
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Sebac Adhesia                                                                           12/14 Rue Sarah Bernhardt                                               92600 Asniere sur Seine                                 France                                                                                                                                                           First -Class Mail
Sebac Sas                                                                               16, Avenue Des Louvresses                                               92230 Gennevilliers                                     France                                                                                                                                                           First -Class Mail
Sebastian Masanet                                                                       Address Redacted                                                                                                                                                                                                                                                                                 First -Class Mail
Secretária Da Saúde Do Estado Da Bahia                                                  Av. Luis Viana Filho, Lado B. No. 400                                   Plataforma VI                                           Centro Administrativo da Bahia - CAB            Brazil                                                                                                           First -Class Mail
Secretary of State - NE                                                                 1445 K St, Ste 1301                                                     Lincoln, NE 68508-2730                                                                                                                                                                                                   First -Class Mail
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Securitas Security Svcs                                                                 Attn: Chris Trevisan                                                    9 Campus Dr                                             Parsippany, NJ 07054                                                                                    Chris.trevisan@securitasinc.com                          EmailFirst-Class Mail
Securities & Exchange Commission                                                        100 F St NE                                                             Washington, DC 20549                                                                                                                                                                                                     First -Class Mail
Securities & Exchange Commission                                                        NY Regional Office                                                      Attn: Andrew Calamari, Regional Director                200 Vesey St, Ste 400                           New York, NY 10281-1022                                                                                          First -Class Mail
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Seeburger Inc                                                                           1230 Peachtree St NE, Ste 1020                                          Atlanta, GA 30309-3551                                                                                                                                                                                                   First -Class Mail
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Selco Products                                                                          Attn: Sifa Puckett                                                      8780 Technology Way                                     Reno, NV 89521                                                                                          spuckett@selcoproducts.com                               EmailFirst-Class Mail
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SensorPros                                                                              Attn: Tom Dugan                                                         P.O. Box 1191                                           La Jolla, CA 92038                                                                                      tom@sensorpros.com                                       EmailFirst-Class Mail
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Seraj Abu-Seraj                                                                         Address Redacted                                                                                                                                                                                                                                                                                 First -Class Mail
Sergei Sergeev                                                                          Address Redacted                                                                                                                                                                                                                                                                                 First -Class Mail
Sergio Aguilar                                                                          Address Redacted                                                                                                                                                                                                                                                                                 First -Class Mail
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Service Container Company, Llc Dba Harbor Packaging                                     13100 Danielson Street                                                  Poway, CA 92064                                                                                                                                                                                                          First -Class Mail
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Servicemax Inc                                                                          2700 Camino Ramon, Ste 450                                              San Ramon, CA 94583-5004                                                                                                                                                                                                 First -Class Mail
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Servomex                                                                                c/o Hummingbird Sensing Technology                                      Uk Technical Ctr Jarvis Brook                           Crowborough, TN6 3FB                            United Kingdom                                                                                                   First -Class Mail
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Setra Systems Inc                                                                       c/o Bank of America Lockbox Services                                    12003 Collection Center Dr                              Chicago, IL 60693-0120                                                                                                                                           First -Class Mail
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Sfp Prüfmittelüberwachung                                                               Worthstr 31                                                             Wehinghen, 08 78564                                     Germany                                                                                                                                                          First -Class Mail
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Shanen Lazenby                                                                          Address Redacted                                                                                                                                                                                                                                                                                 First -Class Mail
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Shanghai Feeling Company Ltd                                                            Room A2518, Building 2, No 2889, Baoan Gong Road                        Jiading District, Shanghai                              China                                                                                                                                                            First -Class Mail
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Shawnee Mission Medical Center                                                          7450 Kessler St Ste 204                                                 Merriam, KS 66204                                                                                                                                                                                                        First -Class Mail
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Shea Marie Siems                                                                        Address Redacted                                                                                                                                                                                                                                                                                 First -Class Mail
Shearwater Health, Inc                                                                  20 Burton Hills Boulevard, Suite 400                                    Nashville, TN 37215                                                                                                                                                                                                      First -Class Mail
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Shenzhen Ninehelp Biomedical Consulting Co, Ltd                                         Rm 908, Bldg A No 18, Jinhui Rd, Jinsha                                 Community, Kengzi St                                    Pingshan District                               Shenzhen                    China                                                                                First -Class Mail
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Shenzhen Timewaycloud Network Technology Co, Ltd                                        1009, 10F, Block E, Xinghe World, Wuhe Avenue                           Minzhi, Longhua District, Shenzhen                      China                                                                                                                                                            First -Class Mail
Shenzhen Vital Signs Ktl                                                                Medical Instrument Co Ltd                                               Building 3, Filtech Industrial Park                     Shenzhen, 190 518117                            China                                                                                                            First -Class Mail
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Shenzhen Zhanyi Construction Group Co, Ltd                                              5F, Hall F, Shenzhen Cultural & Creative Park                           No 4001 Fuqiang Rd                                      Futian District                                 Shenzhen                    China                                                                                First -Class Mail
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Sheppard, Mullin, Richter & Hampton Llp                                                 501 West Broadway, 19Th Floor                                           San Diego, CA 92101-3598                                                                                                                                                                                                 First -Class Mail
Sherman Health Systems                                                                  934 Center St                                                           Elgin, IL 60120-2125                                                                                                                                                                                                     First -Class Mail
Sherry E Courtney                                                                       Address Redacted                                                                                                                                                                                                                                                                                 First -Class Mail
Shibaura Machine Co America                                                             c/o Toshiba Machine Co America                                          P.O. Box 94028                                          Chicago, IL 60690-4028                                                                                                                                           First -Class Mail
Shibaura Machine Co America                                                             c/o Toshiba Machine Co America                                          755 Greenleaf Ave                                       Elk Grove Village, IL 60007-5031                                                                                                                                 First -Class Mail
Shibaura Machine Company, America                                                       Attn: Legal Dept                                                        755 Greenleaf Ave                                       Elk Grove Village, IL 60007                                                                                                                                      First -Class Mail
Shijiazuang Zhuoge Medical Equipment Trading Co, Ltd                                    Room 1110 & 1118, Floor 11, Hebei Metals & Minerals Building            No 448 Heping West Road                                 Xinjua District, Shijiazhuang, Hebei Province   China                                                                                                            First -Class Mail
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Shin Han Medical Co, Ltd                                                                308 Skv1 Center, 280-1 Sungsudong-2Ga                                   Sungdong-gu, Seoul 133-120                              South Korea                                                                                                                                                      First -Class Mail
Shin Han Medical Co, Ltd                                                                Seongsu SKV1 Center 308                                                 48 Achasan-ro 17-gil                                    Seongdong-gu                                    Seoul                       S Korea                                                                              First -Class Mail
Shin Han Medical Co, Ltd                                                                308 SKV1 Center                                                         280-1 Sungsudong-2ga                                    Sungdong-gu, Deoul, 133-120                     S Korea                                                                                                          First -Class Mail
Shinano Kenshi                                                                          aka Aspina                                                              Attn: Alma Cook Gabriela Ben-David                      6065 Bristol Pkwy                               Culver City, CA 90230                                   acook@shinano.com; gabriela@shinano.com                  EmailFirst-Class Mail
Shin-Etsu Silicones Of America, Inc                                                     1150 Damar Drive                                                        Akron, OH 44305                                                                                                                                                                                                          First -Class Mail
Shipco Transport Inc                                                                    699 Kapkowski Rd                                                        Elizabeth, NJ 07201-2122                                                                                                                                                                                                 First -Class Mail
Shiva Chris Kangoo                                                                      Address Redacted                                                                                                                                                                                                                                                                                 First -Class Mail
Shoals Primary Care                                                                     342 Cox Blvd                                                            Sheffield, AL 35660-4020                                                                                                                                                                                                 First -Class Mail
Shore Pulmonary PA                                                                      2640 HWY 70, Bldg 6, Unit A                                             Manasquan, NJ 08736                                                                                                                                                                                                      First -Class Mail
Shoreline Medical LLC                                                                   917 Prince Phillip Dr                                                   Virginia Beach, VA 23452-3929                                                                                                                                                                                            First -Class Mail
Showcore Inc                                                                            3711 Kennebec Dr, Ste 200                                               Eagan, MN 55122-1087                                                                                                                                                                                                     First -Class Mail
Showpad Inc                                                                             1 N State St, Ste 1100                                                  Chicago, IL 60602-3303                                                                                                                                                                                                   First -Class Mail
Shred Connect                                                                           760 E Lambert, Unit B                                                   La Habra, CA 90631                                                                                                                                                                                                       First -Class Mail
Shred Connect Inc                                                                       11372 Trask Ave, Unit I-110                                             Garden Grove, CA 92843-2605                                                                                                                                                                                              First -Class Mail
Shred Connect, Inc                                                                      760 E Lambert Rd, Unit B                                                La Habra, CA 90631                                                                                                                                                                                                       First -Class Mail
Shriners Hospital for Children                                                          2211 N Oak Park Ave                                                     Chicago, IL 60707                                                                                                                                                                                                        First -Class Mail
Shriners Hospitals For Children                                                         950 West Faris Road                                                     Greenville, SC 29605                                                                                                                                                                                                     First -Class Mail
Shumate Mechanical LLC                                                                  2805 Premiere Pkwy                                                      Duluth, GA 30097-4902                                                                                                                                                                                                    First -Class Mail
Shumin Cheng                                                                            Address Redacted                                                                                                                                                                                                                                                                                 First -Class Mail
Sia Arbor Medical Korporacija                                                           Meistaru St 7                                                           Valdlauci, LA 1076                                      Latvia                                                                                                                                                           First -Class Mail
Sichuan Youbeite Science & Tech Co, Ltd                                                 Area A, B, Room 606, No 5 Tongshan Street                               Jinniu District, Chengdu of Sichuan Province            China                                                                                                                                                            First -Class Mail
Sid Tool Co Inc                                                                         c/o MSC Industrial Supply                                               Dept CH 0075                                            Palatine, IL 60055-0001                                                                                                                                          First -Class Mail
Sid Tool Co Inc                                                                         c/o Msc Industrial Supply                                               75 Maxess Rd                                            Melville, NY 11747                                                                                                                                               First -Class Mail
Sid Weiss                                                                               Address Redacted                                                                                                                                                                                                                                                                                 First -Class Mail
Sidam Srl                                                                               Via Statale Sud, 169                                                    Italy                                                                                                                                                                                                                    First -Class Mail
Sidney & Lois Eskenazi Hospital                                                         720 Eskenazi Ave                                                        Indianapolis, IN 46202                                                                                                                                                                                                   First -Class Mail
Sidroc Services Ltd                                                                     74 Sliema Rd                                                            GZR 1634 Gzira                                          Malta                                                                                                                                                            First -Class Mail
Sidroc Services Ltd                                                                     74 Sliema Rd                                                            Gzira, GZR 1634                                         Malta                                                                                                                                                            First -Class Mail
Siemens Industry Software Inc                                                           5800 Granite Pkwy, Ste 600                                              Plano, TX 75024-6612                                                                                                                                                                                                     First -Class Mail
Siemens Industry Software Inc                                                           P.O. Box 2168                                                           Carol Stream, IL 60132-2168                                                                                                                                                                                              First -Class Mail
Siemens Industry Software Inc                                                           5800 Granite Pkwy                                                       Plano, TX 75024-6612                                                                                                                                                                                                     First -Class Mail
Siemens Product Lifecycle Management Software Inc                                       C/O Software Inc                                                        P.O. Box 2168                                           Carol Stream, IL 60132-2168                                                                                                                                      First -Class Mail
Siemens Product Lifecycle Managment                                                     c/o Software Inc                                                        P.O. Box 2168                                           Carol Stream, IL 60132-2168                                                                                                                                      First -Class Mail
Siemens Product Lifecycle Mgt Software                                                  60 Broadhollow Rd                                                       Melville, NY 11747-2504                                                                                                                                                                                                  First -Class Mail
Siemens Product Lifecycle Mgt Software Inc                                              60 Broadhollow Rd                                                       Melville, NY 11747-2504                                                                                                                                                                                                  First -Class Mail
Sierra Aluminum                                                                         Div of Samuel, Son & Co                                                 1401 Davey Rd, Ste 300                                  Woodridge, IL 60517-4963                                                                                                                                         First -Class Mail
Sierra Aluminum                                                                         Div of Samuel, Son & Co                                                 2345 Fleetwood Dr                                       Jurupa Valley, CA 92509                                                                                                                                          First -Class Mail
                                                                               Case 24-11217-BLS                                                                                                       Doc 463                     Filed 08/24/24                                                Page 42 of 51

Sierra Aluminum (Division Of Samuel, Son & Co)                               2345 Fleetwood Dr                                                             Jurupa Valley, CA 92509                                                                                                                                                                                                      First -Class Mail
Sierra Circuits                                                              dba Sierra Proto Express                                                      1108 W Evelyn Ave                                 Sunnyvale, CA 94086                                                                                                                                                        First -Class Mail
Sierra Instruments Corp                                                      5 Harris Ct, Bldg L                                                           Monterey, CA 93940-5752                                                                                                                                                                                                      First -Class Mail
Sierra Vista Regional Medical Center                                         1010 Murry Avenue                                                             San Luis Obispo, CA 93405                                                                                                                                                                                                    First -Class Mail
Sievo Oy                                                                     Mikonkatu 15A                                                                 00100 Helsinki                                    Finland                                                                                                                                                                    First -Class Mail
Sigma Aldrich Inc                                                            P.O. Box 535182                                                               Atlanta, GA 30353-5182                                                                                                                                                                                                       First -Class Mail
Sigma Medicine (Shenzhen) Co Ltd                                             Room 52, Building B, No 14 Jinxiu East Rd, Xiuxin Community, Kengzi Street    Pingshan District, Shenzhen                       China                                                                                                                                                                      First -Class Mail
Sigma medicine (Shenzhen) Co Ltd                                             Rm 52, Bldg B                                                                 No 14 Jinxiu East Rd                              Xiuxin Community                                 Kengzi Street, Pingshan District    Shenzhen, China                                                                       First -Class Mail
Sigma-Aldrich Inc                                                            P.O. Box 535182                                                               Atlanta, GA 30353-5182                                                                                                                                                                                                       First -Class Mail
Sigma-Aldrich Inc                                                            3050 Spruce St                                                                St Louis, MO 63103-2530                                                                                                                                                                                                      First -Class Mail
Signature Graphics Inc                                                       1000 Signature Dr                                                             Porter, IN 46304-8936                                                                                                                                                                                                        First -Class Mail
Signature Healthcare - Brockton Hospital                                     680 Centre Street                                                             Brockton, MA 02302                                                                                                                                                                                                           First -Class Mail
Signify Research Ltd                                                         Cranfield Innovation Ctr                                                      Cranfield, MK43 0BT                               United Kingdom                                                                                                                                                             First -Class Mail
Silcoplast Ag                                                                Luchten 75                                                                    Wolfhalden, 9427                                  China                                                                                                                                                                      First -Class Mail
Silcos GmbH                                                                  Hans-Böckler-Str 28                                                           72770 Reutlingen                                  Germany                                                                                                                                                                    First -Class Mail
Silcos GmbH                                                                  Hans Bockler StraBe 28                                                        72770 Reutlingen                                  Germany                                                                                                                                                                    First -Class Mail
Silicon Expert Technologies                                                  Attn: Roya Ansari                                                             2975 Scott, Ste 100                               Santa Clara, CA 95054                                                                                  roya@siliconexpert.com                                              EmailFirst-Class Mail
Silicon Expert Technologies                                                  245 Main Street                                                               Cambridge, MA 02142                                                                                                                                                                                                          First -Class Mail
Silicon Expert Technologies                                                  Attn: Roya Ansari                                                             2975 Scott, Ste 100                               Santa Clara, CA 95054                                                                                                                                                      First -Class Mail
Siliconexpert Technologies Inc                                               245 Main St                                                                   Cambridge, MA 02142-1064                                                                                                                                                                                                     First -Class Mail
Silikon-Technik Siltec GMBH Co Kg                                            Jaklob Lang Strasse 12                                                        Weiler-Simmerberg, 88171                          Germany                                                                                                                                                                    First -Class Mail
Silkoff, Philip Md                                                           219 N Broad St                                                                Philadelphia, PA 19107                                                                                                                                                                                                       First -Class Mail
Silmates Private Limited                                                     201-202, Second Floor, Platinum Hub                                           Tulsidham Chowk, Manjalpur, Vododara              Gujarat 390011, India                            India                                                                                                                     First -Class Mail
Silmates Private Ltd                                                         201 202 2nd Fl Platinum Hub                                                   Gujarat, 390011                                   India                                                                                                                                                                      First -Class Mail
Sil-Pro Llc                                                                  740 7Th St South                                                              Delano, MN 56320                                                                                                                                                                                                             First -Class Mail
Silverson Machines Inc                                                       355 Chestnut St                                                               E Longmeadow, MA 01028-2742                                                                                                                                                                                                  First -Class Mail
Silverstone Automation, Inc                                                  14621 South 800 West, Suite 200                                               Bluffdale, UT 84065                                                                                                                                                                                                          First -Class Mail
Silverstone Automation, Inc                                                  14621 S 800 W, Ste 200                                                        Bluffdale, UT 84065                                                                                                                                                                                                          First -Class Mail
Simco Electronics                                                            Attn: Raquel Gonzalez                                                         3131 Jay St, Ste 100                              Santa Clara, CA 95054                                                                                  raquel.gonzalez@simco.com                                           EmailFirst-Class Mail
Simco Electronics                                                            P.O. Box 8520                                                                 Pasadena, CA 91109-8520                                                                                                                                                                                                      First -Class Mail
Simco Electronics                                                            701 Quincy Ave, Suite 32                                                      Naperville, IL 60540                                                                                                                                                                                                         First -Class Mail
Simon Kucher & Partners                                                      Strategy & Marketing Consultants LLC                                          1 Canal Park                                      Cambridge, MA 02141-2234                                                                                                                                                   First -Class Mail
Simplelegal                                                                  2455 El Camino Real                                                           Palo Alto, CA 94306                                                                                                                                                                                                          First -Class Mail
Simplelegal Inc                                                              144 S Whisman Rd, Ste F                                                       Mtn View, CA 94041-1531                                                                                                                                                                                                      First -Class Mail
Simplus                                                                      c/o Outbox Systems Inc                                                        9350 S 150 E, Ste 220                             Sandy, UT 84070-2755                                                                                                                                                       First -Class Mail
Simpson Enterprises                                                          313 Magnolia Dr                                                               Kokomo, IN 46901-5016                                                                                                                                                                                                        First -Class Mail
Simpson Thacher & Bartlett Llp                                               425 Lexington Avenue                                                          New York, NY 10017-3954                                                                                                                                                                                                      First -Class Mail
Simpson Thacher & Bartlett LLP                                               425 Lexington Ave                                                             New York, NY 10017-3903                                                                                                                                                                                                      First -Class Mail
Simulab Corp                                                                 13001 48th Ave S                                                              Tukwila, WA 98168-3303                                                                                                                                                                                                       First -Class Mail
Sinai Health System                                                          1500 South Fairfield Avenue                                                   Chicago, IL 60608                                                                                                                                                                                                            First -Class Mail
Sinclair Research Center LLC                                                 562 State Rd Dd                                                               Auxvasse, MO 65231-1012                                                                                                                                                                                                      First -Class Mail
Sindhu Sridhar                                                               Address Redacted                                                                                                                                                                                                                                                                                           First -Class Mail
Sindian Healthcare Systems                                                   Al-Faisaliah Healthcare Systems                                               Business Park Zone, Building 10                   P.O. Box 5585, Street No 242 King Abdullah 2nd   Amman 11953                         Jordan                                                                                First -Class Mail
Sindian Healthcare Systems                                                   Bld 10 Macca St                                                               Amman, 11953                                      Jordan                                                                                                                                                                     First -Class Mail
Sinead Ricci                                                                 Address Redacted                                                                                                                                                                                                                                                                                           First -Class Mail
Singing River Hospital                                                       2809 Denny Avenue                                                             Pascagoula, MS 39581                                                                                                                                                                                                         First -Class Mail
Singing River Hospital System                                                3109 Bienville Blvd                                                           Ocean Springs, MS 39564                                                                                                                                                                                                      First -Class Mail
Sirimed Srl                                                                  Via Nizeti, 66                                                                95126 Tremestieri Etneo (CT)                      Italy                                                                                                                                                                      First -Class Mail
Sisters of Charity Leavenworth Hs                                            2420 W 26th Ave, Ste 100D                                                     Denver, CO 80211-5302                                                                                                                                                                                                        First -Class Mail
Sit Sa De Cv                                                                 Av Jose Lopez Portillo 1460-1                                                 Tijuana, BC 22435                                 Mexico                                                                                                                                                                     First -Class Mail
Siteworx LLC                                                                 11480 Commerce Park Dr, Ste 500                                               Reston, VA 20191-1575                                                                                                                                                                                                        First -Class Mail
Sitex Environmental Inc                                                      1525 S Broadway                                                               St Louis, MO 63104-3810                                                                                                                                                                                                      First -Class Mail
Siu Physicians & Surgeons, Inc Dba Siu Healthcare                            123 Medical St                                                                Springfield, IL 62702                                                                                                                                                                                                        First -Class Mail
Siva Shanmugam Manickam                                                      Address Redacted                                                                                                                                                                                                                                                                                           First -Class Mail
Six Sigma Academy International, Llc Dba Ssa & Company                       685 Third Avenue, 22Nd Floor                                                  New York, NY 10017                                                                                                                                                                                                           First -Class Mail
Sj Mcdaniels Consulting Inc                                                  1534 NW 183rd Ave                                                             Pembroke Pines, FL 33029-3094                                                                                                                                                                                                First -Class Mail
SK & A Cededim Co                                                            Attn: Daniel Franz                                                            2601 Main St, Ste 650                             Irvine, CA 92614                                                                                       daniel.franz@cegedim.com                                            EmailFirst-Class Mail
SK&A Information Services Inc                                                P.O. Box 741401                                                               Atlanta, GA 30374-1401                                                                                                                                                                                                       First -Class Mail
Sk&A Information Services Inc                                                2601 Main St, Ste 650                                                         Irvine, CA 92614-6220                                                                                                                                                                                                        First -Class Mail
Skamex Spolka Z Ograniczona                                                  c/o Odpowiedzialnoscia Sp K                                                   Czestochowska 38/52 St                            Lodz, 93-121                                     Poland                                                                                                                    First -Class Mail
Skamex Spolka Z Organiczonz Odpowiedzialnoscia Sp K                          Czestochowska 38/52                                                           93-121 Lodz                                       Poland                                                                                                                                                                     First -Class Mail
SKF USA Inc 7713                                                             P.O. Box 7247                                                                 Philadelphia, PA 19170-0001                                                                                                                                                                                                  First -Class Mail
Skillsoft Corp                                                               300 Innovative Way, Ste 201                                                   Nashua, NH 03062-5746                                                                                                                                                                                                        First -Class Mail
Sky Lakes Medical Center, Inc                                                2865 Daggett Ave                                                              Klamath Falls, OR 97601                                                                                                                                                                                                      First -Class Mail
Slalom Consulting Llc                                                        821 2Nd Avenue, Suite 1900                                                    Seattle, WA 98104                                                                                                                                                                                                            First -Class Mail
Slalom LLC                                                                   821 2nd Ave                                                                   Seattle, WA 98104-1526                                                                                                                                                                                                       First -Class Mail
Slalom, Llc Dba Slalom Consulting                                            200 E Randolph St, Suite 3700                                                 Chicago, IL 60601                                                                                                                                                                                                            First -Class Mail
Sleep & Pulmonary Assoc Pa                                                   11901 Toepperwein Rd Ste 1401                                                 Live Oak, TX 78233                                                                                                                                                                                                           First -Class Mail
Sleep Disorders Dentistry Inc                                                205-2000 Credit Valley Rd                                                     Mississauga, ON L5M 4N4                           Canada                                                                                                                                                                     First -Class Mail
Sleep Management LLC                                                         dba VieMed                                                                    Attn: Nadia De La Houssaye, Jones Walker          600 Jefferson St, Ste 1600                       Lafayette, LA 70501                                                                                                       First -Class Mail
Sleep Management LLC                                                         dba VieMed                                                                    625 E Kaliste Saloom Rd                           LaFayette, LA 70508                                                                                                                                                        First -Class Mail
Sleepnet Corp                                                                Attn: Judith Dunn                                                             5 Merrill Industrial Dr                           Hampton, NH 03842                                                                                      Jdunn@sleepnetcorp.com                                              EmailFirst-Class Mail
Sly Inc                                                                      8300 Dow Cir, Ste 600                                                         Strongsville, OH 44136-6607                                                                                                                                                                                                  First -Class Mail
Small Parcel Freight Rates                                                   10221 Wateridge Cir                                                           San Diego, CA 92121                                                                                                                                                                                                          First -Class Mail
Smartsheet Inc                                                               10500 Ne 8Th Street, Suite 1300                                               Bellevue, WA 98004                                                                                                                                                                                                           First -Class Mail
Smith & Nephew Extruded Films Ltd                                            Broad Lane Gilberdyke                                                         E Yorkshire, HU15 2TD                             United Kingdom                                                                                                                                                             First -Class Mail
Smith Enterprises Inc                                                        c/o J Smith Enterprises Inc                                                   931 Dillon Dr                                     Wood Dale, IL 60191-1274                                                                                                                                                   First -Class Mail
Smithfield Bioscience                                                        12150 Best Pl                                                                 Cincinnati, OH 45241-1569                                                                                                                                                                                                    First -Class Mail
Smithfield Bioscience, Inc                                                   12450 Best Place                                                              Cincinnati, OH 45241                                                                                                                                                                                                         First -Class Mail
Smithfield Bioscience, Inc                                                   12150 Best Place                                                              Cincinnati, OH 45241-1569                                                                                                                                                                                                    First -Class Mail
Smiths Group Plc                                                             11-12 St James'S Square                                                       London SW1Y 4LB                                   United Kingdom                                                                                                                                                             First -Class Mail
Smiths Medical Asd                                                           P.O. Box 7247-7784                                                            Philadelphia, PA 19170-7784                                                                                                                                                                                                  First -Class Mail
Smiths Medical Asd, Inc                                                      1265 Grey Fox Road                                                            St Paul, MN 55112                                                                                                                                                                                                            First -Class Mail
Smooth-Bor Plastics                                                          Attn: Craig Brittain                                                          23322 Del Lago Dr                                 Laguna Hills, CA 92653                                                                                 craig.brittain@smoothborplastics.com                                EmailFirst-Class Mail
Sms Medipool Ag                                                              Robert-Kock-Str 2A                                                            Friedrichsthal, 66299                             Germany                                                                                                                                                                    First -Class Mail
Sms Medipool Ag                                                              Robert-Koch-Str 2A                                                            Friedrichsthal, 66299                             Germany                                                                                                                                                                    First -Class Mail
SMS Medipool Ag                                                              Hagenauer Str 55                                                              Friedrichsthal, 66299                             Germany                                                                                                                                                                    First -Class Mail
Sms Medipool Gmbh                                                            Therese-Giehse-Platz 2                                                        Germering, 82110                                  Germany                                                                                                                                                                    First -Class Mail
Sms Medipool Gmbh                                                            Landsberger Straße 65                                                         Germering, Bavaria 82110                          Germany                                                                                                                                                                    First -Class Mail
SMS medipool GmbH                                                            Stockdorfer Weg 16                                                            Gauting, 82110                                    Germany                                                                                                                                                                    First -Class Mail
Smudge Laboratories                                                          Attn: Kolhane Grooters                                                        11261 Warland Dr                                  Cypress, CA 90630                                                                                      kolhane@smudgelaboratories.com                                      EmailFirst-Class Mail
Smudge Laboratories                                                          200 Spectrum Center Drive, Suite 300                                          Irvine, CA 92646                                                                                                                                                                                                             First -Class Mail
Smudge Laboratories                                                          20280 SW Acacia St, Ste 115                                                   Newport Beach, CA 92660-0782                                                                                                                                                                                                 First -Class Mail
Smyrna Pulmonary & Sleep Assoc                                               1940 N Jackson Street Suite 150                                               Tullahoma, TN 37388                                                                                                                                                                                                          First -Class Mail
Smyrna Pulmonary & Sleep Assoc                                               13181 Old Nashville Hwy                                                       Smyrna, TN 37167                                                                                                                                                                                                             First -Class Mail
Smyth Companies LLC                                                          1085 Snelling Ave N                                                           St Paul, MN 55108-2705                                                                                                                                                                                                       First -Class Mail
Sn Medical Services Lp (See Sun Gate International Llc, Medlogistics Gmbh)   45B West Wilmot St, Suite 202                                                 Richmond Hill L4B2P3                              Canada                                                                                                                                                                     First -Class Mail
Snow Software, Inc                                                           1703 West 5Th Street, Floor 7                                                 Austin, TX 78703                                                                                                                                                                                                             First -Class Mail
Snp Transformations, Inc                                                     433 E Las Colinas Blvd, Suite 1050                                            Irving, TX 07039                                                                                                                                                                                                             First -Class Mail
SNP Transformations, Inc                                                     433 E Las Colinas Blvd, Ste 1050                                              Irving, TX 75039                                                                                                                                                                                                             First -Class Mail
Social Light SoCal                                                           Attn: Laurent Groult                                                          424 Tava Ln                                       Palm Desert, CA 92211                                                                                  Laurent@sociallightphoto.com                                        EmailFirst-Class Mail
Society For Airway Management                                                144 N 750 W                                                                   Valparaiso, IN 46385                                                                                                                                                                                                         First -Class Mail
Society For Pain Practice Managemen                                          11600 Manor Rd                                                                Leawood, KS 66211-3008                                                                                                                                                                                                       First -Class Mail
Society of Interventional Radiology                                          3975 Fair Ridge Dr, Ste 400 N                                                 Fairfax, VA 22033-2911                                                                                                                                                                                                       First -Class Mail
Society Of Mechanical Ventilation                                            46-359 Haiku Rd                                                               Kaneohe, HI 96744                                                                                                                                                                                                            First -Class Mail
Soclean, Inc                                                                 12 Vose Farm Rd                                                               Peterborough, NH 03458                                                                                                                                                                                                       First -Class Mail
Sodexo Clinical Tech Mgmt (Ohio)                                             915 Meeting St, 15th Fl                                                       N Bethesda, MD 20852                                                                                                                                                                                                         First -Class Mail
Sodexo Oy                                                                    Y-Tunnus: 0907890-4, Atomitie 5                                               00370 Helsinki                                    Finland                                                                                                                                                                    First -Class Mail
SOF82 Anguilla Holding LLC                                                   591 W Putnum Ave                                                              Greenwich, CT 06830-6005                                                                                                                                                                                                     First -Class Mail
Sofim Srl                                                                    Via Libero Grassi 11                                                          Rometta, Messina 98043                            Italy                                                                                                                                                                      First -Class Mail
Sofiya Mikhailovna Cherbukhovsky                                             Address Redacted                                                                                                                                                                                                                                                                                           First -Class Mail
Software Contract Solutions, Inc                                             8146 Greenback Lane, Suite 106                                                Fair Oaks, CA 95628                                                                                                                                                                                                          First -Class Mail
Software Solutions Unlimited                                                 10250 SW Greenburg Rd, Ste 300                                                Portland, OR 97223                                                                                                                                                                                                           First -Class Mail
Sol Group Lab Srl                                                            Via A Meucci 26                                                               36030 Costabissara (Vicenza)                      Italy                                                                                                                                                                      First -Class Mail
SOL Group Lab SRL                                                            Via Antonio Meucci, 26                                                        36030 Costabissara VI                             Italy                                                                                                                                                                      First -Class Mail
Solarwinds                                                                   P.O. Box 730720                                                               Dallas, TX 75373-0720                                                                                                                                                                                                        First -Class Mail
Solarwinds Inc                                                               7171 Southwest Pkwy, Bldg 400                                                 Austin, TX 78735-8953                                                                                                                                                                                                        First -Class Mail
Solcon Usa LLC                                                               250 W Kensinger Dr, Ste 300                                                   Cranberry Township, PA 16066-3438                                                                                                                                                                                            First -Class Mail
Solent Tech Incorporated                                                     85 Old Barnwell Road                                                          West Columbia, SC 29170                                                                                                                                                                                                      First -Class Mail
Solent Technology Inc                                                        85 Old Barnwell Rd                                                            W Columbia, SC 29170-2262                                                                                                                                                                                                    First -Class Mail
Solid Concepts                                                               Attn: Kathleen Gilbreath                                                      28309 Ave Crocker                                 Valencia, CA 91355                                                                                     kgilbreath@solidconcepts.com                                        EmailFirst-Class Mail
Solidprofessor                                                               c/o Interactive Applications Inc                                              1495 Pacific Hwy, Ste 300                         San Diego, CA 92101-2427                                                                                                                                                   First -Class Mail
Solomon Search Enterprises LLC                                               51 Round Hill Rd                                                              Kinnelon , NJ 07405-3218                                                                                                                                                                                                     First -Class Mail
Solomon Search Enterprises, Llc (Sse)                                        51 Round Hill Road                                                            Kinnelon, NJ 07405                                                                                                                                                                                                           First -Class Mail
Solvay Specialty Polymers Usa, LLC                                           4500 Mcginnis Ferry Rd                                                        Alpharetta, GA 30005-3914                                                                                                                                                                                                    First -Class Mail
Solvay Usa Inc                                                               504 Carnegie Ctr                                                              Princeton, NJ 08540-6241                                                                                                                                                                                                     First -Class Mail
Solvet Services Llc                                                          345 Doucet Road, Suite 212                                                    Lafayette, LA 70503                                                                                                                                                                                                          First -Class Mail
Soma Technology Inc                                                          166 Highland Park Dr                                                          Bloomfield, CT 06002-5306                                                                                                                                                                                                    First -Class Mail
Somerset Hospital                                                            225 S Center Ave                                                              Somerset, PA 15501                                                                                                                                                                                                           First -Class Mail
Somnotec (S) Pte Ltd                                                         50 Ubi Crescentubi Techpark                                                   Singapore, 408568                                 Singapore                                                                                                                                                                  First -Class Mail
Somnotec (S) Pte Ltd                                                         50 Ubi Crescent                                                               #01-03 Ubi Techpark                               Singapore, 408568                                Singapore                                                                                                                 First -Class Mail
Somnotec (S) Pte Ltd                                                         37 Ubi Cres                                                                   Singapore 408586                                  Singapore                                                                                                                                                                  First -Class Mail
Somnotec (S) Pte Ltd                                                         50 Ubi CrescentUbi Techpark                                                   Singapore 408568                                                                                                                                                                                                             First -Class Mail
Somnoware Healthcare Systems Inc                                             530 Lakeside Drive, Suite 250                                                 Sunnyvale, CA 94085                                                                                                                                                                                                          First -Class Mail
Somnoware Healthcare Systems Inc                                             530 Lakeside Dr                                                               Sunnyvale, CA 9408                                                                                                                                                                                                           First -Class Mail
Somnoware Healthcare Systems Inc                                             530 Lakeside Dr, Ste 250                                                      Sunnyvale, CA 94085                                                                                                                                                                                                          First -Class Mail
Sonitek Corp                                                                 84 Research Dr                                                                Milford, CT 06460-8523                                                                                                                                                                                                       First -Class Mail
Sonitrol of Western Ky                                                       c/o Kenmark Security Systems                                                  10600 Timberwood Cir, Ste 1                       Louisville, KY 40223-5368                                                                                                                                                  First -Class Mail
Sono-Tek Corp                                                                2012 Route 9W                                                                 Milton, NY 12547-5036                                                                                                                                                                                                        First -Class Mail
Sony Tran                                                                    Address Redacted                                                                                                                                                                                                                                                                                           First -Class Mail
Sooner Freight Inc                                                           P.O. Box 472305                                                               Tulsa, OK 74147-2305                                                                                                                                                                                                         First -Class Mail
Soporte Medico SA                                                            Barrio Roosevelt                                                              San Pedro de Montes De Oca                        San Jose                                         Costa Rica                                                                                                                First -Class Mail
Soporte Medico SA                                                            600 Al Sur Del Cementerio Municipal                                           Barrio Roosevelt, San Pedro de Mts de Oca         San Jose, 1414                                   Costa Rica                                                                                                                First -Class Mail
Sormedica                                                                    V Kuzmos G 28                                                                 Vilnius, 03233                                    Lithuania                                                                                                                                                                  First -Class Mail
Sormedica Co Ltd                                                             V Kuzmos Str 28                                                               LT-08431 Vilnius                                  Lithuania                                                                                                                                                                  First -Class Mail
Sormedica Co Ltd                                                             V Kuzmos Str 28                                                               Vilnius, 8431                                     Lithuania                                                                                                                                                                  First -Class Mail
Sormedica Co Ltd (Uab Interlux)                                              Sormedica Co Ltd                                                              V Kuzmos Str 28                                   LT-08431 Vilnius                                 Lithuania                                                                                                                 First -Class Mail
Sos Security Llc                                                             1915 Route 46 East                                                            Parsippany, NJ 07054                                                                                                                                                                                                         First -Class Mail
SOS Security LLC                                                             1915 Route 46 E                                                               Parsippany, NJ 07054-1300                                                                                                                                                                                                    First -Class Mail
Sotera Health Holdings LLC                                                   c/o Sterigenics Us LLC                                                        2015 Spring Rd, Ste 650                           Oak Brook, IL 60523-3909                                                                                                                                                   First -Class Mail
Sound Physicians                                                             6124 W Parker Rd                                                              Plano, TX 75093                                                                                                                                                                                                              First -Class Mail
Soundcoat Inc                                                                16901 Armstrong Ave                                                           Irvine, CA 92606                                                                                                                                                                                                             First -Class Mail
Source Bioscience                                                            300 Townpark Dr NW, Ste 130                                                   Kennesaw, GA 30144-5682                                                                                                                                                                                                      First -Class Mail
Source Support Services, Inc                                                 3505 Newpoint Place, Suite 450                                                Lawrenceville, GA 30043                                                                                                                                                                                                      First -Class Mail
Source Surgical Inc                                                          2269 Chestnut St                                                              San Francisco, CA 94123-2600                                                                                                                                                                                                 First -Class Mail
South Austin Medical Center                                                  901 W Ben White Blvd                                                          Austin, TX 78704-6903                                                                                                                                                                                                        First -Class Mail
South Carolina Board of Pharmacy                                             110 Centerview Dr                                                             Columbia, SC 29210                                                                                                                                                                                                           First -Class Mail
South Carolina Dept of Revenue                                               P.O. Box 125                                                                  Columbia, SC 29214-0400                                                                                                                                                                                                      First -Class Mail
South Carolina Dept of Revenue                                               P.O. Box 100193                                                               Columbia, SC 29202                                                                                                                                                                                                           First -Class Mail
South Carolina Dept of Revenue                                               Corporate Tax                                                                 P.O. Box 125                                      Columbia, SC 29214-0400                                                                                                                                                    First -Class Mail
South Carolina Secretary of State                                            1205 Pendleton St, Ste 525                                                    Columbia, SC 29201-3745                                                                                                                                                                                                      First -Class Mail
South Central Regional Medical Center                                        1220 Jefferson St                                                             Laurel, MS 39440                                                                                                                                                                                                             First -Class Mail
South Central Texas Society of                                               Gastroenterology Nurses & Assoc                                               P.O. Box 40039                                    San Antonio, TX 78229-1039                                                                                                                                                 First -Class Mail
South Coast Air Quality                                                      P.O. Box 4943                                                                 Diamond Bar, CA 91765                                                                                                                                                                                                        First -Class Mail
South Dakota Dept of Revenue                                                 445 E Capitol Ave                                                             Pierre, SD 57501-3100                                                                                                                                                                                                        First -Class Mail
South East Minnesota Chapter                                                 Oncology Nursing Society                                                      P.O. Box 414                                      Rochester, MN 55903-0414                                                                                                                                                   First -Class Mail
South Georgia Medical Center                                                 Hospital Authority Of Valdosta And Lowndes Dba South Georgia Medical Center   2501 North Patterson                              Valdosta, GA 31602                                                                                                                                                         First -Class Mail
South West Medical Intelligence                                              4-2-10 Gusukuma                                                               Urasoe City                                       Okinawa 901-2133                                 Japan                                                                                                                     First -Class Mail
Southcoast Hospital Group                                                    363 Highland Ave                                                              Fall River, MA 02720-3703                                                                                                                                                                                                    First -Class Mail
Southeast Alabama Medical Ctr                                                1108 Ross Clark Cir                                                           Dothan, AL 36301                                                                                                                                                                                                             First -Class Mail
Southeast Iowa Regional Medical                                              1221 S Gear Ave                                                               W Burlington, IA 52655                                                                                                                                                                                                       First -Class Mail
Southeastern Freight Lines                                                   420 Davega Rd                                                                 Lexington, SC 29073                                                                                                                                                                                                          First -Class Mail
Southeastern Lung Care                                                       2665 N Decatur Rd, Ste 430                                                    Decatur, GA 30033                                                                                                                                                                                                            First -Class Mail
Southeastern Regional Med Ctr                                                300 W 27Th St Srmc Receiving Dock                                             Lumberton, NC 28358                                                                                                                                                                                                          First -Class Mail
Southeastern Regional Medical Cente                                          600 Parkway N                                                                 Newnan, GA 30265-8000                                                                                                                                                                                                        First -Class Mail
Southeastern Regional Medical Center                                         300 W 27Th St Srmc Receiving Dock                                             Lumberton, NC 28358                                                                                                                                                                                                          First -Class Mail
Southern California Edison Co                                                P.O. Box 300                                                                  Rosemead, CA 91770                                                                                                                                                                                                           First -Class Mail
Southern California Edison Co                                                P.O. Box 300                                                                  Rosemead, CA 91770-0300                                                                                                                                                                                                      First -Class Mail
Southern California Gas Co                                                   dba The Gas Co - SoCalGas                                                     P.O. Box 300                                      Rosemead, CA 91770                                                                                                                                                         First -Class Mail
Southern California Security Centers Inc                                     16711 Parkside Ave                                                            Cerritos, CA 90703-1840                                                                                                                                                                                                      First -Class Mail
Southern Coos Hosp & Hlth Ctr                                                900 11Th St Se                                                                Bandon, Oregon 97411                                                                                                                                                                                                         First -Class Mail
Southern Coos Hospital & Health Center                                       900 11th St SE                                                                Bandon, OR 97411                                                                                                                                                                                                             First -Class Mail
Southern Illinois Hospital Services                                          P.O. Box 3988                                                                 Carbondale, IL 62902-3988                                                                                                                                                                                                    First -Class Mail
Southern Illinois University                                                 327 W Calhoun Central Receiving                                               Springfield, Illinois 62702                                                                                                                                                                                                  First -Class Mail
Southern Motor Carriers Association Dba Smc3                                 653 Lexington Circle                                                          Peachtree City, GA 30269                                                                                                                                                                                                     First -Class Mail
Southern Motor Carriers Association Inc                                      653 Lexington Cir                                                             Peachtree City, GA 30269-6863                                                                                                                                                                                                First -Class Mail
Southern Parts & Engineering Co LLC                                          c/o Iss Compressors Industries Inc                                            3200 Engineering Pkwy                             Alpharetta, GA 30004-7853                                                                                                                                                  First -Class Mail
Southern Tier Pulm Crit Care                                                 52 Harrison St Ste 1                                                          Johnson City, New York 13790                                                                                                                                                                                                 First -Class Mail
Southmedic Inc                                                               50 Alliance Blvd                                                              Barrie, ON L4M 5K3                                Canada                                                                                                                                                                     First -Class Mail
Southmedic Incorporated                                                      50 Alliance Blvd                                                              Barrie, ON L4M 5K3                                Canada                                                                                                                                                                     First -Class Mail
Southwest Airlines Co                                                        2702 Love Field Drive                                                         Dallas, TX 75235                                                                                                                                                                                                             First -Class Mail
Southwest Handling Systems LLC                                               2505 Anthem Village Dr E547                                                   Henderson, NV 89052-5505                                                                                                                                                                                                     First -Class Mail
Southwest Material Handling, Inc                                             19-345 Indian Ave                                                             Palm Springs, CA 92262                                                                                                                                   info@swmhinc.com                                                    EmailFirst-Class Mail
Southwest Trailer Leasing                                                    P.O. Box 86277                                                                San Diego, CA 92138                                                                                                                                                                                                          First -Class Mail
Southwest Trailer Leasing                                                    P.O. Box 86277                                                                San Diego, CA 92138-6277                                                                                                                                                                                                     First -Class Mail
Southwestern Vermont Medical Center Inc                                      100 Hospital Dr                                                               Bennington, VT 05201-5004                                                                                                                                                                                                    First -Class Mail
Sovit Baral                                                                                                                                                                                                                                                                                                         admin@ohmbiomedical.com.au                                          Email
Sp Scientific                                                                c/o Sp Industries Inc                                                         935 Mearns Rd                                     Warminster, PA 18974-2811                                                                                                                                                  First -Class Mail
Space Magnets USA Inc                                                        Attn: Quinn Hsu                                                               2 Barberry Ct                                     Whippany, NJ 07981                                                                                     quinn.hsu@spacemagnetisusa.com                                      EmailFirst-Class Mail
Spark Dsg Llc                                                                5901 Bradshaw Rd                                                              Pipersville, PA 18947                                                                                                                                                                                                        First -Class Mail
Spark DSG LLC                                                                5901 Bradshaw Rd                                                              Pipersville, PA 18947-1113                                                                                                                                                                                                   First -Class Mail
Sparkle Kelley                                                               Address Redacted                                                                                                                                                                                                                                                                                           First -Class Mail
Sparta Systems, Inc                                                          2000 Waterview Drive, Suite 300                                               Hamilton, NJ 08691                                                                                                                                                                                                           First -Class Mail
Spartanburg Regional Health Services District, Inc                           101 East Wood Street                                                          Spartanburg, SC 29303                                                                                                                                                                                                        First -Class Mail
Sparton Aubrey Group, Inc                                                    2802 Kelvin Avenue                                                            Irvine, CA 92614                                                                                                                                                                                                             First -Class Mail
Spc Innovations Inc                                                          348 Thompson Creek Mall, Ste 302                                              Stevensville, MD 21666-2500                                                                                                                                                                                                  First -Class Mail
Specialist Staffing Solutions Inc Dba Computer Futures                       222 West Adams Street, Suite 2450                                             Chicago, IL 60606                                                                                                                                                                                                            First -Class Mail
Specialized Equipment Systems                                                4253 State St                                                                 Montclair, CA 91763-6030                                                                                                                                                                                                     First -Class Mail
Specialty Coating Systems                                                    4435 E Airport Dr, Ste 100                                                    Ontario, CA 91761-7816                                                                                                                                                                                                       First -Class Mail
Specialty Coating Systems, Inc                                               7645 Woodland Drive                                                           Indianapolis, IN 46278                                                                                                                                                                                                       First -Class Mail
Specialty Coating Systems, Inc, A Kisco Company                              7645 Woodland Drive                                                           Indianapolis, IN 46278                                                                                                                                                                                                       First -Class Mail
Specialty Manufacturing Inc                                                  2210 Midland Rd                                                               Saginaw, MI 48603-3440                                                                                                                                                                                                       First -Class Mail
Specification Seals Co LLC                                                   c/o Boyd Corp                                                                 4990 E Hunter Ave                                 Anaheim, CA 92807-2057                                                                                                                                                     First -Class Mail
Spectraforce                                                                 5511 Capital Center Dr, Ste 340                                               Raleigh, NC 27606                                                                                                                                                                                                            First -Class Mail
Spectromed Co                                                                Office 105, Bldg 6826                                                         Mohammadia, 12362                                 Saudi Arabia                                                                                                                                                               First -Class Mail
Spectrum Assembly, Inc                                                       6300 Yarrow Drive, Suite 100                                                  Carlsbad, CA 92011                                                                                                                                                                                                           First -Class Mail
Spectrum Health Hospitals                                                    P.O. Box 2127                                                                 Grand Rapids, MI 49501-2127                                                                                                                                                                                                  First -Class Mail
Spectrum Health System                                                       100 Michigan Street Ne                                                        Grand Rapids, MI 49503                                                                                                                                                                                                       First -Class Mail
Spectrum Plastic Group Operaciones                                           c/o S De Rl De Cv                                                             Circuito De Las Misiones Este168                  Mexicali, BC 21394                               Mexico                                                                                                                    First -Class Mail
Spectrum Plastic Group Operaciones S De Rl De Cv                             Circuito De Las Misiones Est #168                                             Parque Industrial Las Californias                 Mexico                                                                                                                                                                     First -Class Mail
Spectrum Plastics Group                                                      Attn: Luis Lima, Carlina King                                                 Circuito De Las Misiones Este, Ste 161            Parque Industrial Las Californias                Mexicali, Baja Californina 21394    Mexico            Luis.lima@spectrumplastics.com; Carlina.king@spectrumplastics.com   First -Class Mail
Spectrum Plastics Group                                                      c/o Spectrum Plastics Holdings LLC                                            764 S Athol Rd                                    Athol, MA 01331-9812                                                                                                                                                       First -Class Mail
Speedgoat GMBH                                                               Attn: Martin Stoller                                                          Laengasse 13                                      Murten                                           Switzerland                                           martin.stoller@speedgoat.ch                                         First -Class Mail
Spencer County Treasurer                                                     200 Main St, Rm 7                                                             Rockport, IN 47635-1492                                                                                                                                                                                                      First -Class Mail
Spencer Municipal Hospital                                                   c/o Spencer Hospital                                                          1200 1st Ave E                                    Spencer, IA 51301-4342                                                                                                                                                     First -Class Mail
Spencer Office Cleaning Inc                                                  15009 Manchester Rd, Ste 114                                                  Ballwin, MO 63011-4626                                                                                                                                                                                                       First -Class Mail
Spex Certiprep Group LLC                                                     203 Norcross Ave                                                              Metuchen, NJ 08840-1253                                                                                                                                                                                                      First -Class Mail
Spherion Corp                                                                File 56737                                                                    Los Angeles, CA 90074-6737                                                                                                                                                                                                   First -Class Mail
Spherion Professional Services Grou                                          1 Pierce Pl                                                                   Itasca, IL 60143                                                                                                                                                                                                             First -Class Mail
Spiegel Kartonagenfabrik GmbH & Co KG                                        Leibnizstraße 3                                                               97204 Höchberg                                    Germany                                                                                                                                                                    First -Class Mail
Spiegel Kartonagenfabrik GmbH & Co KG                                        Leibnizstreabe 3                                                              97204 Hochberg                                    Germany                                                                                                                                                                    First -Class Mail
Spin Recruitment Inc                                                         c/o Spin Recruitment Advertising                                              712 Bancroft Rd, Ste 521                          Walnut Creek, CA 94598-1531                                                                                                                                                First -Class Mail
Spinal Restorative Inc                                                       12006 Royce Waterford Cir                                                     Tampa, FL 33626-3314                                                                                                                                                                                                         First -Class Mail
Spine Kinetics LLC                                                           200 W Jones St                                                                Savannah, GA 31401-4510                                                                                                                                                                                                      First -Class Mail
Spine One Inc                                                                c/o Mccarver Associates                                                       3840 NW 5th Ter                                   Boca Raton, FL 33431-5747                                                                                                                                                  First -Class Mail
Spine Resources Inc                                                          19329 Araglin Ct                                                              Strongsville, OH 44149-0958                                                                                                                                                                                                  First -Class Mail
Spine Squad Inc                                                              25931 Prairestone Dr                                                          Laguna Hills, CA 92653-6112                                                                                                                                                                                                  First -Class Mail
                                                                 Case 24-11217-BLS                                                               Doc 463                        Filed 08/24/24                                  Page 43 of 51

Spiracle Technology                                            Attn: Michael Sarne                            10601 Calle Lee, Ste 190                     Lol Alamitos, CA 90720                                                          msarne@spiracle.com               EmailFirst-Class Mail
Spirit Aerosystems Inc                                         Attn: John Browning                            1900 Electric Ave                            Mcalester, OK 74501                                                             John.w.browning@spiritaero.com    EmailFirst-Class Mail
Spirit Aerosystems Inc                                         Attn: Bill Heeter                              3801 S Oliver St                             Wichita, KS 67210                                                               William.g.heeter@spiritaero.com   EmailFirst-Class Mail
Spirit Aerosystems Inc                                         3801 S Oliver St                               Wichita, KS 67210-2112                                                                                                                                         First -Class Mail
Spirit Aerosystems, Inc                                        3801 S Oliver St                               Wichita, KS 67210                                                                                                                                              First -Class Mail
Spirit Aerosystems, Inc                                        3801 S Oliver                                  Wichita, KS 67210                                                                                                                                              First -Class Mail
Spitting Images                                                Attn: Holly Kramer                             P.O. Box 712154                              San Diego, CA 92171-2154                                                                                          First -Class Mail
SPM Research                                                   Attn: Guillaume Corpart                        166 Alhambra Cir, Ste 200                    Coral Gables, FL 33134                                                                                            First -Class Mail
Sprim Brasil Consultoria Farmaceutica                          e Nutricional Ltda                             Itajai, Santa Catarina                       Brazil                                                                                                            First -Class Mail
Sprim Brasil Consultoria Farmaceutica                          e Nutricional Ltda                             Rua Dezesseis de Março                       155 - sala 702 - Centro Petrópolis   Rio de Janeiro CEP 25.620-040    Brazil                                      First -Class Mail
Spring Works Utah Inc                                          976 W 850 S                                    Woods Cross, UT 84087-2085                                                                                                                                     First -Class Mail
Spring4 Limited                                                Cheapside House                                138 Cheapside                                London, EC2V6BJ                      United Kingdom                                                               First -Class Mail
Sprint Spectrum LP                                             P.O. Box 4181                                  Carol Stream, IL 60197-4181                                                                                                                                    First -Class Mail
Sqn Capital Management (Uk) Limited                            Sqn, Melita House                              124 Bridge Road, Surrey                      Chertsey, KT16 8LA                   United Kingdom                                                               First -Class Mail
Square 1 Engineering                                           23891 Via Fabricante, Suite 605                Mission Viejo, CA 92691                                                                                                                                        First -Class Mail
Square-1 Engineering Inc                                       23891 Via Fabricante, Ste 605                  Mission Viejo, CA 92691-3138                                                                                                                                   First -Class Mail
Squire Patton Boggs                                            Attn: CA Jones                                 7 Devonshire Sq, Cutlers Gardens             London, EC 52M 4YH                   United Kingdom                             Vrditcontrol@squirepb.com         First -Class Mail
Src Management, Llc                                            63 Kendrick St                                 Needham, MA 02494                                                                                                                                              First -Class Mail
SRC Medical                                                    Attn: Michelle Waddle                          18327 Napa St                                Northridge, CA 91325                                                            mwaddle@scr-medical.com           EmailFirst-Class Mail
Src Medical Inc                                                c/o Special Respiratory Care Inc               18327 Napa St                                Northridge, CA 91325-3617                                                                                         First -Class Mail
Sree Sowmya Tumuluru                                           Address Redacted                                                                                                                                                                                              First -Class Mail
Ssa & Co                                                       c/o Six Sigma Academy International LLC        685 3rd Ave, 22th Fl                         New York, NY 10017-8406                                                                                           First -Class Mail
Ssa And Company                                                65 Third Avenue South, Suite 2200              New York, NY 10017                                                                                                                                             First -Class Mail
SSI US Inc                                                     c/o Spencer Stuart                             353 N Clark St, Ste 2400                     Chicago, IL 60654-3479                                                                                            First -Class Mail
Ssm Health                                                     845 Parkside St                                Ripon, WI 54971-8505                                                                                                                                           First -Class Mail
Ssm Health Care Corporation                                    447 N Lindbergh Blvd                           St Louis, MO 63141                                                                                                                                             First -Class Mail
Ssm Health St Clare Hospital                                   1015 Bowles Ave                                Fenton, MO 63026                                                                                                                                               First -Class Mail
Ssm Healthcare Corp                                            447 N Lindbergh Blvd                           St Louis, MO 63141-7813                                                                                                                                        First -Class Mail
St Anthony'S Hospital                                          1210 7Th Street North                          St Petersburg, FL 33705                                                                                                                                        First -Class Mail
St Barnabas Health Care System                                 201 Lyons Ave                                  Newark, NJ 07112                                                                                                                                               First -Class Mail
St Barnabas Hospital                                           5015 N Paulina St, Ste 225                     Chicago, IL 60640                                                                                                                                              First -Class Mail
St Barnabas Hospital                                           183rd & 3rd Ave                                Bronx, NY 10457                                                                                                                                                First -Class Mail
St Charles Parish School Board                                 Sales & Use Tax Dept                           13855 River Rd                               Luling, LA 70070                                                                                                  First -Class Mail
St Elizabeth Healthcare                                        1 Medical Village Dr                           Edgewood, KY 41017-3403                                                                                                                                        First -Class Mail
St Elizabeth Medical Center, Inc Dba St Elizabeth Healthcare   1 Medical Village Drive                        Edgewood, KY 41017                                                                                                                                             First -Class Mail
St Elizabeths Hospital                                         250 Regency Park                               Ofallon, IL 62269                                                                                                                                              First -Class Mail
St Francis Health System                                       6161 S Yale Ave                                Tulsa, OK 74136-1902                                                                                                                                           First -Class Mail
St Francis Hospital                                            34515 9Th Avenue South                         Federal Way, WA 98003                                                                                                                                          First -Class Mail
St Francis Medical Center                                      309 Jackson St Receiving                       Monroe, LA 71201                                                                                                                                               First -Class Mail
St John The Baptist Parish                                     Sales & Use Tax Office                         P.O. Box 2066                                Laplace, LA 70069-2066                                                                                            First -Class Mail
St John's Health System Inc                                    1923 S Utica Ave                               Tulsa, OK 74104-6520                                                                                                                                           First -Class Mail
St John's Hospital                                             800 E Cooper St                                Springfield, IL 62769-0001                                                                                                                                     First -Class Mail
St Johns Riverside Hospital                                    967 N Broadway                                 Yonkers, NY 10701                                                                                                                                              First -Class Mail
St Joseph Healthcare                                           3345 Michelson Dr Suite 100                    Irvine, CA 92612                                                                                                                                               First -Class Mail
St Joseph Hospital (Covenant Health)                           Bangor, ME 04401                                                                                                                                                                                              First -Class Mail
St Joseph Hospital Inc                                         3001 M L King Jr Blvd                          Tampa, FL 33607                                                                                                                                                First -Class Mail
St Joseph Orange                                               1100 W Stewart Dr                              Orange County, CA 92868                                                                                                                                        First -Class Mail
St Jude Medical Center                                         101 E Valencia Mesa Dr                         Fullerton, CA 92835                                                                                                                                            First -Class Mail
St Landry Parish School Board                                  P.O. Box 1210                                  Opelousas, LA 70571-1210                                                                                                                                       First -Class Mail
St Louis County Dept of Public Works                           41 S Central Ave                               Clayton, MO 63105-1719                                                                                                                                         First -Class Mail
St Louis Testing Laboratories Inc                              2810 Clark Ave                                 St Louis, MO 63103-2506                                                                                                                                        First -Class Mail
St Lukes Episcopal Presbyterian Hos                            121 St Lukes Center Dr                         Chesterfield, MO 63017-3518                                                                                                                                    First -Class Mail
St Luke's Hospital                                             232 S Woods Mill Rd                            Chesterfield, MO 63017-3417                                                                                                                                    First -Class Mail
St Luke's Hospital & Health Network                            801 Ostrum St                                  Bethlehem, PA 18015-1000                                                                                                                                       First -Class Mail
St Lukes Hospital Cornwall                                     70 Dubois St                                   Newburgh, NY 12550                                                                                                                                             First -Class Mail
St Lukes Roosevelt Hosp Ctr                                    1000 10th Ave                                  Clinic 2K Wintson Bldg                       New York, NY 10019                                                                                                First -Class Mail
St Marks Medical Center                                        1 Saint Marks Pl                               La Grange, TX 78945-1250                                                                                                                                       First -Class Mail
St Mary Parish                                                 Sales & Use Tax Dept                           301 3rd St                                   P.O. Box 1279                        Morgan City, LA 70381                                                        First -Class Mail
St Mary'S Health Care System                                   1230 Baxter Street                             Athens, GA 30606                                                                                                                                               First -Class Mail
St Marys Hospital Medical Ctr                                  1726 Shawano Ave                               Green Bay, WI 54303                                                                                                                                            First -Class Mail
St Marys Regional Medical Ctr                                  1808 W Main St                                 Russellville, AR 72801                                                                                                                                         First -Class Mail
St Peters Hospital                                             315 S Manning Blvd                             Albany, NY 12208                                                                                                                                               First -Class Mail
St Thomas Hospital                                             4220 Harding Pike                              Nashville, TN 37205                                                                                                                                            First -Class Mail
St Vincent Hospital                                            c/o Christus St Vincent Regional Medica        455 St Michaels Dr                           Santa Fe, NM 87505-7601                                                                                           First -Class Mail
St Vincent Hospital                                            c/o Christus St Vincent Regional Medical       455 St Michaels Dr                           Santa Fe, NM 87505-7601                                                                                           First -Class Mail
St. Mary Parish Sales & Use Tax Dept                           P.O. Box 1279                                  301 3rd St                                   Morgan City, LA 70381                                                                                             First -Class Mail
Stainless Steel Woven Fabric                                   Attn: Lupita Granillo                          6326 West Blvd                               Los Angeles, CA 90043                                                           lupita@supremesupplycompany.com   EmailFirst-Class Mail
Staller, Craig                                                 Address Redacted                                                                                                                                                                                              First -Class Mail
Stamatia Alexiou                                               Address Redacted                                                                                                                                                                                              First -Class Mail
Stanford Health Care                                           820 Quarry Rd South Dock Services              Palo Alto, CA 94304                                                                                                                                            First -Class Mail
Stantec Consulting Services Inc                                12075 Corporate Parkway, Suite 200             Mequon, WI 53092-2649                                                                                                                                          First -Class Mail
Stanton House                                                  1 Manor Park, Manor Farm Road                  Reading, Berks RG2 0NA                       United Kingdom                                                                                                    First -Class Mail
Stanton Mechanical Inc                                         170 Gaylord St                                 Elk Grove Village, IL 60007-1107                                                                                                                               First -Class Mail
Staples Advantage                                              500 Staples Dr                                 Framingham, MA 01702-4478                                                                                                                                      First -Class Mail
Staples Business Advantage                                     Dept NY                                        P.O. Box 415256                              Boston, MA 02241-5256                                                                                             First -Class Mail
Staples Business Advantage                                     500 Staples Dr                                 Framingham, MA 01702                                                                                                                                           First -Class Mail
Staples, Inc                                                   500 Staples Drive, P.O. Box 9328               Framingham, MA 01702                                                                                                                                           First -Class Mail
Star CNC Machine Tool Corp                                     Attn: Christine                                123 Powerhouse Rd                            Roslyin Heights, NY 11577                                                       christine@starcnc.com             EmailFirst-Class Mail
Star Exhibits                                                  6688 93Rd Avenue North                         Minneapolis, MN 55445                                                                                                                                          First -Class Mail
Star Exhibits & Environments                                   6688 93rd Ave N                                Brooklyn Park, MN 65445                                                                                                                                        First -Class Mail
Star Exhibits & Environments Inc                               6688 93Rd Ave N                                Minneapolis, MN 55445-1708                                                                                                                                     First -Class Mail
Starke County Treasurer                                        P.O. Box 327                                   S Bend, IN 46624-0327                                                                                                                                          First -Class Mail
Starlim North America Corp                                     325 Tartan Dr                                  London, ON N5V 5J6                           Canada                                                                                                            First -Class Mail
Starlim North America Corp                                     325 Tartan Drive                               London, ON N5V 5J6                           Canada                                                                                                            First -Class Mail
Starr County Memorial Hospital                                 128 N Fm Rd 3167                               Rio Grande City, TX 78582                                                                                                                                      First -Class Mail
Starr Surplus Lines Ins Co                                     399 Park Ave, 2nd Fl                           New York, NY 10022                                                                                                                                             First -Class Mail
Starrmed LLC                                                   Attn: Ken Starr                                11517 Sethwarner Dr                          Glen Allen, VA 23059-4805                                                                                         First -Class Mail
State Logistics Resource Center                                2702 Directors Row Center                      Orlando, FL 32809                                                                                                                                              First -Class Mail
State Of Alabama Emergency Management Agency                   1637 Mitchell Young Rd                         Montgomery, AL 36108                                                                                                                                           First -Class Mail
State of Arkansas                                              Corporation Income Tax                         P.O. Box 919                                 Little Rock, AR 72203-0919                                                                                        First -Class Mail
State of California                                            P.O. Box 511266                                Los Angeles, CA 90051                                                                                                                                          First -Class Mail
State of California Unclaimed                                  Property Division                              P.O. Box 942850                              Sacramento, CA 94250-5873                                                                                         First -Class Mail
State of Michigan                                              611 W Ottawa, 1st Fl                           Lansing, MI 48909                                                                                                                                              First -Class Mail
State of Nevada - Sales/Use                                    P.O. Box 51107                                 Los Angeles, CA 90051-5407                                                                                                                                     First -Class Mail
State of New Jersey                                            P.O. Box 929                                   Trenton, NJ 08646-0929                                                                                                                                         First -Class Mail
State of North Carolina-EPROC                                  Attn: Megan Hoss                               116 W Jones St                               Raleigh, NC 27603                                                                                                 First -Class Mail
State of Rhode Island                                          One Capitol Hill                               Providence, RI 02908                                                                                                                                           First -Class Mail
State of Rhode Island & Providenc                              Attn: Tania Wysong                             1 Capitol Hill, Ste 36                       Providence, RI 02908-5803                                                                                         First -Class Mail
State Seal Co                                                  7001 W Erie Street, Suite 2                    Chandler, AZ 85226                                                                                                                                             First -Class Mail
State University Of Iowa                                       200 Hawkins Drive                              Iowa City, IA 52242                                                                                                                                            First -Class Mail
State Water Resources Control                                  Board - Water Boards                           1001 I St                                    Sacramento, CA 95814                                                                                              First -Class Mail
Static Clean International                                     267 Boston Rd, Suite 8                         North Billerica, MA 01862                                                                                                                                      First -Class Mail
Static Clean Int'l Inc                                         267 Boston Rd, Ste 8                           N Billerica, MA 01862-2310                                                                                                                                     First -Class Mail
Status Q Research Group LLC                                    4600 Madison Ave, Ste 1500                     Kansas City, MO 64112-3016                                                                                                                                     First -Class Mail
Staubli Electrical Connectors, Inc                             100 Market St                                  Windsor, CA 95492                                                                                                                                              First -Class Mail
Stay-Linked Corp                                               15991 Red Hill Ave, Ste 210                    Tustin, CA 92780-7320                                                                                                                                          First -Class Mail
Stc Opco, Llc (Dba St Christophers Hospiital For Children      160 East Erie Ave                              Philadelphia, PA 19134                                                                                                                                         First -Class Mail
Steel Service Building Co                                      24304 Amah Pkwy                                Claremore, OK 74019-4321                                                                                                                                       First -Class Mail
Steele Memorial Medical Center                                 203 S Daisy St                                 Salmon, ID 83467                                                                                                                                               First -Class Mail
Stefan M Selig                                                 Address Redacted                                                                                                                                                                                              First -Class Mail
Stefanie Orabutt                                               Address Redacted                                                                                                                                                                                              First -Class Mail
Stefanie Wolski                                                                                                                                                                                                                            stefanie.wolski@yahoo.com         Email
Stein Industries Inc                                           Attn: Rudi Stein Hilber                        4005 Artesia Ave                             Fullerton, CA 92833                                                             stein@earthlink.net               EmailFirst-Class Mail
Stellar Orthopedics                                            Attn: Melissa M Herrero                        111 N St Andrews Dr                          Ormond Beach, FL 32174-3840                                                                                       First -Class Mail
Stellar Products Inc                                           555W 130Th St                                  Los Angeles, CA 90061                                                                                                                                          First -Class Mail
Stellar Products Inc                                           555 W 130th St                                 Los Angeles, CA 90061-1180                                                                                                                                     First -Class Mail
Steltix Deutschland Gmbh                                       Rotenburger Str 3                              30659 Hannover                               Germany                                                                                                           First -Class Mail
Stephanie Mitchem                                              Address Redacted                                                                                                                                                                                              First -Class Mail
Stephanie Nakamae                                              Address Redacted                                                                                                                                                                                              First -Class Mail
Stephanie Nicole Batz                                          Address Redacted                                                                                                                                                                                              First -Class Mail
Stephanie Russell                                              Address Redacted                                                                                                                                                                                              First -Class Mail
Stephen Garber                                                 Address Redacted                                                                                                                                                                                              First -Class Mail
Stephen M Stoffel                                              Address Redacted                                                                                                                                                                                              First -Class Mail
Stephen Saucier                                                Address Redacted                                                                                                                                                                                              First -Class Mail
Stephen Travis Commeau                                         Address Redacted                                                                                                                                                                                              First -Class Mail
Stephen Wiseman Md                                             Address Redacted                                                                                                                                                                                              First -Class Mail
Stericycle Inc                                                 2670 Executive Dr, Ste A                       Indianapolis, IN 46241-5025                                                                                                                                    First -Class Mail
Stericycle Inc                                                 27727 Network Pl                               Chicago, IL 60673-1277                                                                                                                                         First -Class Mail
Stericycle, Inc                                                2670 Executive Drive                           Indianapolis, IN 46421                                                                                                                                         First -Class Mail
Sterigenics                                                    P.O. Box 93178                                 Chicago, IL 60673-3178                                                                                                                                         First -Class Mail
Sterigenics                                                    4900 Gifford Ave                               Vernon, CA 90058-2724                                                                                                                                          First -Class Mail
Sterigenics                                                    37244 Eagle Way                                Chicago, IL 60678-1372                                                                                                                                         First -Class Mail
Sterigenics Belgium (Petit-Rechain)                            Zoning Industriel De Petit Rechain                                                     4800 Belgium                                                                                                           First -Class Mail
Sterigenics International                                      2015 Spring Rd #650                            Oak Brook, IL 60523                                                                                                                                            First -Class Mail
Sterigenics Us LLC                                             687 S Wanamaker Ave                            Ontario, CA 91761-8117                                                                                                                                         First -Class Mail
Sterigenics Us LLC                                             344 Bonnie Cir                                 Corona, CA 92878                                                                                                                                               First -Class Mail
Steripack Usa Ltd LLC                                          4255 S Pipkin Rd                               Lakeland, FL 33811-1442                                                                                                                                        First -Class Mail
Steripolar Oy                                                  Sinimaentie 8                                  Espoo, 2631                                  Finland                                                                                                           First -Class Mail
Steripolar Oy                                                  Tulosryhmän Päällikkö                          Espoo, 2631                                  Finland                                                                                                           First -Class Mail
Steripolar Oy                                                  Sinimaentie 8 B                                Espoo, 02630                                 Finland                                                                                                           First -Class Mail
Steripro Lab                                                   1500 W Thorndale Ave                           Itasca, IL 60143-1133                                                                                                                                          First -Class Mail
Steris Ast San Diego E-Beam                                    9020 Activity Rd, Ste D                        San Diego, CA 92126-4454                                                                                                                                       First -Class Mail
Steris Ast San Diego Eo                                        7685 Street Andrews Ave                        San Diego, CA 92154                                                                                                                                            First -Class Mail
Steris Co                                                      Attn: Stacey Betts                             55960 Heisley Rd                             Mentor, OH 44060                                                                stacey_betts@steris.com           EmailFirst-Class Mail
Steris Corp                                                    P.O. Box 676548                                Dallas, TX 75267-6548                                                                                                                                          First -Class Mail
Steris Corp                                                    5960 Heisley Rd                                Mentor, OH 44060-1834                                                                                                                                          First -Class Mail
Steris Isomedix Services                                       2072 Southport Rd                              Spartanburg, SC 29306-6256                                                                                                                                     First -Class Mail
Sterling Infosystems Inc                                       c/o Sterling                                   1 State St, 24th Fl                          New York, NY 10004-1561                                                                                           First -Class Mail
Sterling Talent Solutions                                      P.O. Box 35626                                 Newark, NJ 07193-5626                                                                                                                                          First -Class Mail
Sterling Talent Solutions, Inc                                 1 State Street, 24Th Floor                     New York, NY 10004                                                                                                                                             First -Class Mail
Steve Saeed Khalaj                                             Address Redacted                                                                                                                                                                                              First -Class Mail
Steven Albert Bodden                                           Address Redacted                                                                                                                                                                                              First -Class Mail
Steven D Wexner                                                Address Redacted                                                                                                                                                                                              First -Class Mail
Steven Gregory Venticinque                                     Address Redacted                                                                                                                                                                                              First -Class Mail
Steven Guy Miller                                              Address Redacted                                                                                                                                                                                              First -Class Mail
Steven Harry Cataldo                                           Address Redacted                                                                                                                                                                                              First -Class Mail
Steven L Fazio                                                 Address Redacted                                                                                                                                                                                              First -Class Mail
Steven Label                                                   Attn: Accounts Receivable                      P.O. Box 4242                                Santa Fe Springs, CA 90670-1242                                                                                   First -Class Mail
Steven Label Corp                                              11926 Burke St                                 Santa Fe Springs, CA 90670-2508                                                                                                                                First -Class Mail
Steven M Donn Md                                               Address Redacted                                                                                                                                                                                              First -Class Mail
Steven Mark Berryhill                                          Address Redacted                                                                                                                                                                                              First -Class Mail
Steven Mark Berryhill                                          Address Redacted                                                                                                                                                                                              First -Class Mail
Steven Marshall                                                Address Redacted                                                                                                                                                                                              First -Class Mail
Steven Minear                                                  Address Redacted                                                                                                                                                                                              First -Class Mail
Steven Parker Tagsold                                          Address Redacted                                                                                                                                                                                              First -Class Mail
Steven White                                                   Address Redacted                                                                                                                                                                                              First -Class Mail
Steven Whitehead                                               Address Redacted                                                                                                                                                                                              First -Class Mail
Steward Health Care System                                     1900 N Pearl St, Ste 2400                      Dallas, TX 75201                                                                                                                                               First -Class Mail
Steward Plastics Inc                                           c/o Smooth-Bor Plastics                        23322 Del Lago Dr                            Laguna Hills, CA 92653-1310                                                                                       First -Class Mail
Stewart Memorial Cmnty Hosp                                    1301 W Main St Receiving Dept                  Lake City, IA 51449                                                                                                                                            First -Class Mail
Stewart Title Guaranty Co                                      1980 Post Oak Blvd                             Houston, TX 77056-3899                                                                                                                                         First -Class Mail
Stichting Radboud Universitair                                 c/o Medisch Centrum                            Geert Grooteplein Zuid 10                    Nijmegen, HB 4 6525                  Netherlands                                                                  First -Class Mail
Stichting Radboud Universitair                                 c/o Medisch Centrum                            Geert Grooteplein Zuid 10                    Nijmegen, 04 6525 HB                 Netherlands                                                                  First -Class Mail
Stillwater Medical Center                                      1323 W 6th Ave                                 Stillwater, OK 74074                                                                                                                                           First -Class Mail
Stingray Surgical Products LLC                                 156 NW 16th St                                 Boca Raton, FL 33432-1607                                                                                                                                      First -Class Mail
Stock Drive Products                                           dba Designatronics                             Attn: Nicloe Coppola                         2101 Jericho Tpke                    New Hyde Park, NY 11040                    flopiccolo@sdp-si.com             EmailFirst-Class Mail
Stonewall Medical Group LLC                                    3766 Colonel Vanderhorst Cir                   Mt Pleasant, SC 29466-8040                                                                                                                                     First -Class Mail
Stonhard Division of Stoncor Group                             P.O. Box 931947                                Cleveland, OH 44193                                                                                                                                            First -Class Mail
Stonhard Division of Stoncor Group                             P.O. Box 308                                   Maple Shade, NJ 08052-0308                                                                                                                                     First -Class Mail
Storm Water Section                                            Attn: Falicia Marcus                           P.O. Box 1977                                Sacramento, CA 65812                                                            www.waterboards.ca.gov            EmailFirst-Class Mail
Stormont Vail Health, Inc                                      1500 Sw 10Th Avenue                            Topeka, KS 66604                                                                                                                                               First -Class Mail
Storr Office Environments of                                   Central Florida Inc                            10800 World Trade Blvd                       Raleigh, NC 27617-4200                                                                                            First -Class Mail
Story County Hosptial                                          c/o Story County Medical Center                640 S 19th St                                Nevada, IA 50201-2902                                                                                             First -Class Mail
Stout Risius Ross LLC                                          150 W 2nd St, Ste 400                          Royal Oak, MI 48067-3846                                                                                                                                       First -Class Mail
Stout Risius Ross, Llc                                         150 West Second Street, Suite 400              Royal Oak, MI 48067                                                                                                                                            First -Class Mail
Strain Measurement Devices                                     55 Barnes Park Road North                      Wallingford, CT 06492                                                                                                                                          First -Class Mail
Stran & Co Inc                                                 c/o Stran Promotional Solution                 2 Heritage Dr, Ste 600                       Quincy, MA 02171-2168                                                                                             First -Class Mail
Stran & Company Inc                                            c/o Stran Promotional Solution                 2 Heritage Dr, Ste 600                       Quincy, MA 02171-2168                                                                                             First -Class Mail
Stran Promotional Solution                                     Attn: Andrew Hoydich                           2 Heritage Dr, Ste 600                       Quincy, MA 02171                                                                ahoydich@stran.com                EmailFirst-Class Mail
Stran Promotional Solution                                     Attn: Andrew Hoydich                           2 Heritage Dr, Ste 600                       Quincy, MA 02171                                                                                                  First -Class Mail
Stran Promotional Solutions                                    2 Heritage Drive, Suite 600                    Quincy, MA 02171                                                                                                                                               First -Class Mail
Stranco Inc                                                    Attn: Jen Nowak                                1306 W US Hwy 20                             Michigan City, IN 46360                                                         jennowak@strancoinc.com           EmailFirst-Class Mail
Strand Products Inc                                            725 E Yanolani Street                          Santa Barbara, CA 93101                                                                                                                                        First -Class Mail
Strand Products, Inc                                           Attn: Phillip Dybedal                          2233 Knoll Dr                                Ventura, CA 93003                                                               pdybedal@strandproducts.com       EmailFirst-Class Mail
Strata Medical                                                 9823 Pacific Heights Blvd, Ste C               San Diego, CA 92121-4705                                                                                                                                       First -Class Mail
Strata Medical                                                 c/o Strata America                             9823 Pacific Heights Blvd, Ste C             San Diego, CA 92121-4705                                                                                          First -Class Mail
Stratasys Direct Inc                                           c/o Stratasys Direct Manufacturing             28309 Ave Crocker                            Valencia, CA 91355-1251                                                                                           First -Class Mail
Stratasys Direct Manufacturing                                 c/o Stratasys Direct Inc                       29185 Network Pl                             Chicago, IL 60673-1291                                                                                            First -Class Mail
Stratasys Direct Manufacturing                                 28309 Ave Crocker                              Valencia, CA 91355                                                                                                                                             First -Class Mail
Stratasys Inc                                                  7665 Commerce Way                              Eden Prairie, MN 55344-2001                                                                                                                                    First -Class Mail
Stratasys, Inc                                                 dba RedEye                                     Attn: Jeffrey Gangel                         7665 Commerce Way                    Eden Prairie, MN 55344                     Jeffrey.gangel@stratasys.com      EmailFirst-Class Mail
Strategic Bcp, Inc                                             960-B Harvest Drive, Suite 250                 Blue Bell, PA 19422                                                                                                                                            First -Class Mail
Strategic Marketplace Initiative (S                            P.O. Box 1318                                  Westborough, MA 01581-6318                                                                                                                                     First -Class Mail
Strategiq Commerce Llc                                         549 W Randolph Street, 3Rd Floor               Chicago, IL 60661                                                                                                                                              First -Class Mail
Strategiqual                                                   18 Rue Pasquier                                Paris, 75008                                 France                                                                                                            First -Class Mail
Stratix Systems Inc                                            c/o Copy World Inc                             1011 N Park Rd                               Reading, PA 19610-1339                                                                                            First -Class Mail
Straub Medical Center                                          888 S King St                                  Honolulu, HI 96813                                                                                                                                             First -Class Mail
Streamline Engineering Services LLC                            7304 S Alton Way, Ste 3-D                      Centennial, CO 80112-2314                                                                                                                                      First -Class Mail
Stress Engineering Services Inc                                13800 Westfair East Drive                      Houston, TX 77041                                                                                                                                              First -Class Mail
Stress Engineering Services Inc                                19800 MacArthur Blvd, Ste 300                  Irvine, CA 92612                                                                                                                                               First -Class Mail
Stress Engineering Services Inc                                13800 Westfair E Dr                            Houston, TX 77041                                                                                                                                              First -Class Mail
Stringer, William                                              757 Westwood Plaza                             Los Angeles, CA 90095                                                                                                                                          First -Class Mail
Strukmyer Medical Products                                     1801 Big Town Blvd, Suite 100                  Mesquite, TX 75149                                                                                                                                             First -Class Mail
Stuart Karten                                                  Address Redacted                                                                                                                                                            Email Address Redacted            EmailFirst-Class Mail
Stuart Karten Design Inc                                       4204 Glencoe Ave                               Marina Del Rey, CA 90292-5612                                                                                                                                  First -Class Mail
Stuart Karten Design, Inc Dba Karten Design                    4204 Glencoe Ave                               Marina Del Rey, CA 90292                                                                                                                                       First -Class Mail
Studionorth Inc                                                1616 Green Bay Rd                              N Chicago, IL 60064-1523                                                                                                                                       First -Class Mail
Sturdy Memorial Hospital                                       211 Park Street                                Attleboro, MA 02703                                                                                                                                            First -Class Mail
Sturdy Memorial Hospital                                       211 Park St                                    Attleboro, MA 02703                                                                                                                                            First -Class Mail
Subaru Of America                                              144 S Whisman Rd, Ste F                        Mtn View, CA 94041-1531                                                                                                                                        First -Class Mail
Suburban Lung Associates Sc                                    800 Biesterfield Rd, Ste 510                   Elk Grove Village, IL 60007-3367                                                                                                                               First -Class Mail
Sudhir Diwan                                                   Address Redacted                                                                                                                                                                                              First -Class Mail
Sudo Healthcare Inc                                            E909, E910, Sk V1 Center, 11 Dangsanro-41Gil   Yeongdeungpo-gu                              Seoul                                South Korea                                                                  First -Class Mail
Sudo Healthcare Inc                                            E909, E910, Sk V1 Center, 11 Dangsanro-41Gil   Seoul, 7217                                  South Korea                                                                                                       First -Class Mail
Sudo Healthcare Inc                                            E910, SK V1 Center                             Dansan-ro 41 gil                             Yeongdeungpo-gu                      Seoul, 07217                     S Korea                                     First -Class Mail
Sudo Healthcare Inc                                            E909, E910, SK V1 Center                       11 Dangsanro-41gil                           Yeongdeungpo-gu                      Seoul                            S Korea                                     First -Class Mail
Suh, Gee Young Md (South Korea)                                81 Irwon-Ro                                    Seoul                                        South Korea                                                                                                       First -Class Mail
Suizo Argentina SA                                             Avenida Monroe 801                             Ciudad de Buenos Aires, C1428BKC             Argentina                                                                                                         First -Class Mail
Suizo Argentina SA                                             Av Monroe 801                                  Buenos Aires City, C1428BKC                  Argentina                                                                                                         First -Class Mail
Suja John Crna                                                 Address Redacted                                                                                                                                                                                              First -Class Mail
Sullivan Higdon & Sink Inc                                     255 N Mead St                                  Wichita, KS 67202                                                                                                                                              First -Class Mail
Sumequip Vega SA                                               Alonso Donose N 48-54 y                        Aparicio Rivandeneira                        Sector Luz                           Quito                            Ecuador                                     First -Class Mail
Suministros Industriales Falcon Sa                             Blvd Benito Juarez 2252 Local 4                Mexicali, BC 21360                           Mexico                                                                                                            First -Class Mail
Suministros Mro                                                Calle Novena Esq                               BC 21399                                     Mexico                                                                                                            First -Class Mail
Sumitomo Mitsui Banking Corporation Europe Limited             99 Gresham Street                              London, EC2V 7NG                             United Kingdom                                                                                                    First -Class Mail
Summit Health Management, Llc                                  140 Park Ave Pulmonary General - Florham       Florham Park, NJ 07932                                                                                                                                         First -Class Mail
Summit Healthcare Reg Med Ctr                                  2200 E Show Low Lake Rd                        Show Low, AZ 85901                                                                                                                                             First -Class Mail
                                                                               Case 24-11217-BLS                                                                            Doc 463                            Filed 08/24/24                                                  Page 44 of 51

Summit Medical LLC                                                           14405 Maple St                                      Overland Park, KS 66223-1256                                                                                                                                                                                                                 First -Class Mail
Summit Mold Inc                                                              4300 W Seltice Way                                  Post Falls, ID 83854-7347                                                                                                                                                                                                                    First -Class Mail
Summit Surgical Solutions Inc                                                610 Garrison St                                     Lakewood, CO 80215-5898                                                                                                                                                                                                                      First -Class Mail
Sun Gate International Llc                                                   Dustlik Street, 29A, Tashkent Region, Kibray Dist   Yangiobod Kfy                                          Uzbekistan                                                                                                                                                                            First -Class Mail
Sun Gate International Llc (See Medlogistics Gmbh, Sn Medical Services Lp)   Office 3, Bld 30, C-4, Yunusabad Dist               Tashkent, 100017                                       Uzbekistan                                                                                                                                                                            First -Class Mail
Sun Life Assurance Co of Canada                                              c/o Sun Life Financial Corp                         1 Sun Life Executive Park                              Wellesley Hills, MA 02481                                                                                                                                                             First -Class Mail
Sun Life Assurance Co of Canada                                              1155 Metcalfe St                                    Montreal, QC H3C 3P3                                   Canada                                                                                                                                                                                First -Class Mail
Sun Med                                                                      2710 Northridge Dr NW, Ste A                        Grand Rapids, MI 49544-9112                                                                                                                                                                                                                  First -Class Mail
Sun Way Hk Int'l                                                             Flat Rm 611 6F Ricky Ctr 36                         Hongkong, HK 611                                       Hong Kong                                                                                                                                                                             First -Class Mail
Suneal K Agarwal                                                             Address Redacted                                                                                                                                                                                                                                                                                 First -Class Mail
Sunlite Plastics Inc                                                         W194N11340 Mccormick Dr                             Germantown, WI 53022-3034                                                                                                                                                                                                                    First -Class Mail
Sunmed Group Holdings, LLC                                                   dba Airlife                                         Attn: Caitlin Anderson                                 2710 Northridge Dr NW                                Grand Rapids, MI 49544                      canderson@myairlife.com                                                              EmailFirst-Class Mail
Sunmed Group Holdings, LLC                                                   dba Airlife                                         2710 Northridge Dr NW, Ste 1                           Grand Rapids, MI 49544-9112                                                                      info@myairlife.com                                                                   EmailFirst-Class Mail
Sunmed Group Holdings, LLC                                                   dba Airlife-Mexicali                                Cerrada Via La Produccion 85                           Pimsa III 21397                                      Mexicali, Baja California 21397    Mexico   Info@myairlife.com                                                                   First -Class Mail
Sunmed Group Holdings, LLC                                                   dba Airlife                                         Attn: Caitlin Anderson                                 2710 Northridge Dr NW                                Grand Rapids, MI 49544                                                                                                           First -Class Mail
Sunmed Group Holdings, LLC                                                   2710 Northridge Dr NW, Ste A                        Grand Rapids, MI 49544                                                                                                                                                                                                                       First -Class Mail
Sunmed Group Holdings, LLC                                                   2710 Northridge Dr NW, Ste A                        Grand Rapids, MI 49544                                                                                                                                                                                                                       First -Class Mail
Sunmed Group Holdings, LLC                                                   dba Airlife                                         2710 Northridge Dr NW, Ste 1                           Grand Rapids, MI 49544-9112                                                                                                                                                           First -Class Mail
Sunmed Holdings, LLC                                                         2710 Northridge Dr NW, Ste A                        Grand Rapids, MI 49544                                                                                                                                                                                                                       First -Class Mail
Sunmed LLC                                                                   2710 Northridge Dr NW, Ste A                        Grand Rapids, MI 49544                                                                                                                                                                                                                       First -Class Mail
Sunnen Products                                                              Attn: Melanie Theby                                 7910 Manchester Rd                                     St Louis, MO 63143                                                                               mtheby@sunne.com                                                                     EmailFirst-Class Mail
Sunquad Lllp                                                                 c/o Cozad Property Management                       16 Sunnen Dr, Ste 164                                  St Louis, MO 63143-3815                                                                                                                                                               First -Class Mail
Sunrise Medical                                                              4106 Ryan Court                                     Kokomo, IN 46902                                                                                                                                                                                                                             First -Class Mail
Suntech Medical                                                              Attn: Keith Robinson, Ravi Kommineni                507 Airport Blvd, Ste 117                              Morrisville, NC 27560                                                                                                                                                                 First -Class Mail
Suntech Medical Inc                                                          507 Airport Blvd, Suite 117                         Morrisville, NC 27560                                                                                                                                                                                                                        First -Class Mail
SunTech Medical, Inc                                                         Attn: Keith Robinson, Ravi Kommineni                507 Airport Blvd, Ste 117                              Morrisville, NC 27560                                                                            csetzer@SunTechMed.com; rkommineni@suntechmed.com                                    EmailFirst-Class Mail
Suny Health Science Center                                                   395 Lenox Rd                                        Brooklyn, NY 11203                                                                                                                                                                                                                           First -Class Mail
Suny Upstate University Hospital                                             750 East Adams Street                               Syracuse, NY 13210                                                                                                                                                                                                                           First -Class Mail
SUNY Upstate University Hospital                                             750 E Adams St                                      Syracuse, NY 13210                                                                                                                                                                                                                           First -Class Mail
Super Brush LLC                                                              800 Worcester St                                    Springfield, MA 01151                                                                                                                                                                                                                        First -Class Mail
Superior Mold Co                                                             Attn: Brian Smith                                   1927 E Francis St                                      Ontario, CA 91761                                                                                'bsmith@superior-mold.com'                                                           EmailFirst-Class Mail
Superior Mold Co                                                             1927 E Francis St                                   Ontario, CA 91761                                                                                                                                                                                                                            First -Class Mail
Superior Sensor Technology                                                   3080 Oakmead Village Drive                          Santa Clara, CA 95051                                                                                                                                                                                                                        First -Class Mail
Superior Sensor Technology Inc                                               Attn: Jim Brown                                     3080 Oakmead Village Dr                                Santa Clara, CA 95051                                                                            brownell.jim@superiorsensors.com                                                     EmailFirst-Class Mail
Superior Sensor Technology Inc                                               3080 Oakmead Village Dr                             Santa Clara, CA 95051-0808                                                                                                                                                                                                                   First -Class Mail
Superior Spine LLC                                                           1868 W 4th St                                       Brooklyn, NY 11223-2711                                                                                                                                                                                                                      First -Class Mail
Superior Spring Co                                                           Attn: Brian Smith                                   1927 E Francis St                                      Ontario, CA 91761                                                                                                                                                                     First -Class Mail
Superior Springs Co                                                          Attn: Tom Pruett                                    1260 S Talt Ave                                        Anaheim, CA 92806                                                                                tomp@superiorspring.com                                                              EmailFirst-Class Mail
Superior Telecom Inc                                                         2430 N Glassell St, Unit N                          Orange, CA 92865                                                                                                                                                                                                                             First -Class Mail
Superior Tooling Inc                                                         2800 Superior Dr                                    Wake Forest, NC 27587-7799                                                                                                                                                                                                                   First -Class Mail
Superior Uniform Group Inc                                                   P.O. Box 636822                                     Cincinnati, OH 45263-6822                                                                                                                                                                                                                    First -Class Mail
Superior Uniform Group Inc                                                   10055 Seminole Blvd                                 Seminole, FL 33772-2539                                                                                                                                                                                                                      First -Class Mail
SuperLogics                                                                  Attn: John Toto                                     9 Mercer Rd                                            Natick, MA 01760                                                                                 johnt@superlogics.com                                                                EmailFirst-Class Mail
Supon Chowdhury                                                              Address Redacted                                                                                                                                                                                                                                                                                 First -Class Mail
Suport Medical Ltda                                                          fka Suporte Hospitalar Ltda - EPP (Maranhão)        R das Acácias, 11 - Quadra 39 -                        Jardim Renascença                                    São Luís - MA, 65075-010           Brazil                                                                                        First -Class Mail
Suport Medical Ltda                                                          fka Suporte Hospitalar Ltda - EPP (Maranhão)        Suporte Hospitalar Ltda - EPP                          Rua das Acacias, n ° 11, block 39, Jardim Renascen   São Luís, Maranhão, 65075-010      Brazil                                                                                        First -Class Mail
Suporte Hospitalar Ltda - EPP (Ceara)                                        R Lívio Barreto, 535 -                              Joaquim Távora, Fortaleza                              Fortaleza - CE, 60130-110                            Brazil                                                                                                                           First -Class Mail
Suporte Hospitalar Ltda - EPP (Ceara)                                        Suporte Hospitalar Ltda                             Rua Livio Barreto no 535, Joaquim Tavora               Fortaleza, Ceara 60130-110                           Brazil                                                                                                                           First -Class Mail
Supplyone                                                                    P.O. Box 676681                                     Dallas, TX 75267-6681                                                                                                                                                                                                                        First -Class Mail
Supplyone                                                                    11401 E 27th St N, Ste D                            Tulsa, OK 74116-1618                                                                                                                                                                                                                         First -Class Mail
Surety Refrigeration Service                                                 8620 S Broadway                                     St Louis, MO 63111-3809                                                                                                                                                                                                                      First -Class Mail
Surgcenter Gilbert                                                           3345 S Val Vista Dr, Ste 107                        Gilbert, AZ 85297-7331                                                                                                                                                                                                                       First -Class Mail
Surgery Center of Greater Phoenix                                            7231 E Princess Blvd, Ste 100                       Scottsdale, AZ 85255-9673                                                                                                                                                                                                                    First -Class Mail
Surgical C-Arms & Imaging Services                                           1200 Cedar Lake Dr                                  Prosper, TX 75078-8372                                                                                                                                                                                                                       First -Class Mail
Surgical Infection Society                                                   P.O. Box 1278                                       E Northport, NY 11731-0500                                                                                                                                                                                                                   First -Class Mail
Surgical Science Inc                                                         100 Crossways Park Dr W, Ste 403                    Woodbury, NY 11797-2012                                                                                                                                                                                                                      First -Class Mail
Surgical Science Inc                                                         7760 France Ave S, Ste 1100                         Minneapolis, MN 55435-5930                                                                                                                                                                                                                   First -Class Mail
Surgical Site Solutions Inc                                                  4539 S Taylor Dr                                    Sheboygan, WI 53081                                                                                                                                                                                                                          First -Class Mail
Surgical Solutions                                                           c/o Frank J Stramaglia                              811 W Bauer Rd                                         Naperville, IL 60563-1106                                                                                                                                                             First -Class Mail
Surgical Solutions                                                           Attn: Frank J Stramaglia                            811 W Bauer Rd                                         Naperville, IL 60563-1106                                                                                                                                                             First -Class Mail
Surveymonkey Inc                                                             1 Curiosity Way                                     San Mateo, CA 94403-2396                                                                                                                                                                                                                     First -Class Mail
Survival Flight, Inc                                                         305 Runway Road, Hangar 51                          Batesville, AR 72501                                                                                                                                                                                                                         First -Class Mail
Susan Lorraine Shadley                                                       Address Redacted                                                                                                                                                                                                                                                                                 First -Class Mail
Susan Marie Schmid                                                           Address Redacted                                                                                                                                                                                                                                                                                 First -Class Mail
Susan Van Horne                                                              Address Redacted                                                                                                                                                                                                                                                                                 First -Class Mail
Susquehanna Valley Assoc of                                                  Neonatal Nurses                                     P.O. Box 61641                                         Harrisburg, PA 17106-1641                                                                                                                                                             First -Class Mail
Sutter Health                                                                2200 River Plaza Drive                              Sacramento, CA 95833                                                                                                                                                                                                                         First -Class Mail
Sutter Health                                                                2200 River Plaza Dr                                 Sacramento, CA 95833-4134                                                                                                                                                                                                                    First -Class Mail
Suttons Creek Inc                                                            21650 Oxnard St                                     Woodland Hills, CA 91367-7849                                                                                                                                                                                                                First -Class Mail
Suttons Creek, Inc                                                           21650 Oxnard St, Suite 1920                         Woodland Hills, CA 91367                                                                                                                                                                                                                     First -Class Mail
Suyitong Translation Service Co LLC                                          Bldg 27 Anju Community                              Zibo, 120 255100                                       China                                                                                                                                                                                 First -Class Mail
Suzanne Marie Buseski                                                        Address Redacted                                                                                                                                                                                                                                                                                 First -Class Mail
SVANN                                                                        Attn: Lorene Newman                                 51 Jefferson Dr                                        Abbottstown, PA 17301-9756                                                                                                                                                            First -Class Mail
Swagelok                                                                     Attn: Tammy Churchill                               9170 Camino Santa Fe                                   San Diego, CA 92121                                                                              Tammy.churchill@swagelok.com                                                         EmailFirst-Class Mail
Swansonflo                                                                   Attn: Tom Swanson                                   151 Cheshire Ln, Ste 700                               Plymouth, MN 55441                                                                               toms@swanflo.com                                                                     EmailFirst-Class Mail
Swarm Medical LLC                                                            2300 York Rd, Ste 113                               Lutherville Timonium, MD 21093-2275                                                                                                                                                                                                          First -Class Mail
Swati Savaji                                                                 Address Redacted                                                                                                                                                                                                                                                                                 First -Class Mail
Sweeny Community Hospital                                                    305 N Mckinney St                                   Sweeny, TX 77480-2801                                                                                                                                                                                                                        First -Class Mail
Sweetwater Pulmonary Assoc                                                   16959 Southwest Fwy #100                            Sugar Land, TX 77479                                                                                                                                                                                                                         First -Class Mail
Swift Media Group Inc                                                        513 Central Ave                                     Highland Park, IL 60035-2624                                                                                                                                                                                                                 First -Class Mail
Swift Transportation Co                                                      P.O. Box 643985                                     Pittsburgh, PA 15264-3985                                                                                                                                                                                                                    First -Class Mail
Swift Transportation Co Of Arizona, Llc                                      2200 South 75Th Avenue                              Phoezix, AZ 85043                                                                                                                                                                                                                            First -Class Mail
Swift Transportation Services LLC                                            c/o Swift Services Holdings Inc                     2200 S 75th Ave                                        Phoenix, AZ 85043-7410                                                                                                                                                                First -Class Mail
Swiss House                                                                  Attn: Nhan Trinh                                    128 S Valencia                                         Glendora, CA 91741                                                                               ntrinh@swisshouseinc.com                                                             EmailFirst-Class Mail
Swiss Jewel Co                                                               Attn: Scott Gowdy                                   325 Chestnut St, Ste 509                               Philadelphia, PA 19106                                                                           'sales@swissjewel.com'                                                               EmailFirst-Class Mail
Swiss Machine Products                                                       Attn: Keven Farrell                                 1137 N Armando St                                      Anaheim, CA 92806                                                                                info@swissmachine.com                                                                EmailFirst-Class Mail
Swiss Machine Products, Inc                                                  1137 North Armando Street                           Anaheim, CA 92806                                                                                                                                                                                                                            First -Class Mail
Swiss Medical Technologies Ltd                                               Office 207, Bld 24-2 Chasovaya Str                  Moscow, 125315                                         Russia                                                                                                                                                                                First -Class Mail
Sword Medical                                                                Unit 4, Block 4B                                    Blanchardstown Corporate Park                          Blanchardstown, Dublin D15FR52                       Ireland                                                                                                                          First -Class Mail
Sword Medical                                                                Block 4B, Unit 4                                    Dublin, D15 FR52                                       Ireland                                                                                                                                                                               First -Class Mail
Sylvester, Karl                                                              780 Welch Road                                      Palo Alto, CA 94304                                                                                                                                                                                                                          First -Class Mail
Symphony Asset Management LLC                                                555 California St, Ste 3100                         San Francisco, CA 94104                                                                                                                                                                                                                      First -Class Mail
Symphony Corp                                                                22 E Mifflin St, Ste 400                            Madison, WI 53703-4225                                                                                                                                                                                                                       First -Class Mail
Syndaver Labs Inc                                                            8506 Benjamin Rd, Ste C                             Tampa, FL 33634-1242                                                                                                                                                                                                                         First -Class Mail
Syneo                                                                        3875 Fiscal Court, Suite 300                        W Palm Beach, FL 33404                                                                                                                                                                                                                       First -Class Mail
Syneo LLC                                                                    3601 Galaznik Rd                                    Angleton, TX 77515-6096                                                                                                                                                                                                                      First -Class Mail
Synergy Health Ast LLC                                                       401 E Jackson St, Ste 3100                          Tampa, FL 33602-5228                                                                                                                                                                                                                         First -Class Mail
Synergy Health Ast LLC                                                       5960 Heisley Rd                                     Mentor, OH 44060-1834                                                                                                                                                                                                                        First -Class Mail
Synergy Health Ast, Llc                                                      5960 Heisley Road                                   Mentor, OH 44060                                                                                                                                                                                                                             First -Class Mail
Synergy Health Ast, Llc (Steris)                                             5960 Heisley Road                                   Mentor, OH 44060                                                                                                                                                                                                                             First -Class Mail
Synergy Medical LLC                                                          2200 Swamp Fox Rd                                   Midlothian, VA 23112-5310                                                                                                                                                                                                                    First -Class Mail
Synergy Medical Supply Co Ltd                                                509 Mega Trade Centre                               1 Mei Wan Street                                       Tsuen Wan                                            Hong Kong                                                                                                                        First -Class Mail
Synopsys Inc                                                                 690 E Middlefield Rd                                Mountain View, CA 94043-4010                                                                                                                                                                                                                 First -Class Mail
Synopsys, Inc                                                                690 East Middleton Road                             Mountain View, CA 94043                                                                                                                                                                                                                      First -Class Mail
Synopsys, Inc                                                                690 E Middlefield Rd                                Mountain View, CA 94043                                                                                                                                                                                                                      First -Class Mail
Syntech Development & Manufacturing Inc                                      fka Accent Plastics                                 Attn: Staci Nelson                                     13948 Mountain Ave                                   Chino, CA 91710                             staci.nelson@sdmplastics.com                                                         EmailFirst-Class Mail
Syntel Inc                                                                   525 E Big Beaver, Suite 300                         Troy, MI 48083                                                                                                                                                                                                                               First -Class Mail
Syntel Inc                                                                   525 E Big Beaver Rd, Ste 300                        Troy, MI 48083-1367                                                                                                                                                                                                                          First -Class Mail
Synventive Molding Solutions                                                 Department 294401                                   P.O. Box 67000                                         Detroit, MI 48267-2944                                                                                                                                                                First -Class Mail
Synventive Molding Solutions                                                 10 Centennial Dr                                    Peabody, MA 01960-7938                                                                                                                                                                                                                       First -Class Mail
System Intergration Inc                                                      Attn: Simone Murray                                 8201 Corporate Dr, Ste 300                             Landover, MD 20785                                                                               smurray@sysintegration.com                                                           EmailFirst-Class Mail
Systems Source, Inc                                                          Attn: Kimberly Kirksey                              3161 Michelson Dr, Ste 110                             Irvine, CA 92612                                                                                 kkirksey@systemsource.com                                                            EmailFirst-Class Mail
Systems Wire And Cable Llc                                                   1165 N Stanford Avenue                              Los Angeles, CA 90059                                                                                                                                                                                                                        First -Class Mail
T C I Precision Metals                                                       Attn: Carlos Rodriquez-Keith Jacks                  240 E Rose Crans Ave                                   Gardena, CA 90248                                                                                                                                                                     First -Class Mail
T Medical Concepts                                                           Attn: Thomas E Timby Jr                             18 Cedar Crest Ct                                      Doylestown, PA 18901-2673                                                                                                                                                             First -Class Mail
Tabor Storage Solutions (Tss), LLC                                           121 W Lexington Dr, Ste 630                         Glendale, CA 91203-2203                                                                                                                                                                                                                      First -Class Mail
Taggart Int'l Ltd                                                            6603 Royal St, Ste Db                               Pleasant Valley, MO 64068-8739                                                                                                                                                                                                               First -Class Mail
Taicang Nienyi Technology Electonics Co, Ltd                                 No 55, East Xinyuan Rd                              Taicang, Jiangsu                                       China                                                                                                                                                                                 First -Class Mail
Taizhou Weiye Machinery Manufacturing Co, Ltd                                No 101, Chenbao New Industrial Area                 Taizhou City                                           Jiangsu Province, 225714                             China                                                                                                                            First -Class Mail
Take 2 Productions LLC                                                       1906 Wyandotte St                                   Kansas City, MO 64108-1904                                                                                                                                                                                                                   First -Class Mail
Talend Inc                                                                   800 Bridge Pkwy                                     Redwood City, CA 94065-1156                                                                                                                                                                                                                  First -Class Mail
Talend, Inc                                                                  800 Bridge Parkway, Ste 200                         Redwood City, CA 94065                                                                                                                                                                                                                       First -Class Mail
Talentum Group Inc                                                           809 Bowsprit Rd, Ste 202                            Chula Vista, CA 91914-4527                                                                                                                                                                                                                   First -Class Mail
Talisam LLC                                                                  Dba Oriel Stat A Matrix                             1095 Morris Ave, Ste 103B                              Union, NJ 07083                                                                                                                                                                       First -Class Mail
Talisam LLC                                                                  Oriel Stat A Matrix                                 1095 Morris Ave, Ste 103B                              Union, NJ 07083-7143                                                                                                                                                                  First -Class Mail
TalkPoint                                                                    100 Williams St, 8th Fl                             New York, NY 10038                                                                                                                                                                                                                           First -Class Mail
Talmix                                                                       9 Marshalsea Rd                                     London, SE1 1EP                                        United Kingdom                                                                                                                                                                        First -Class Mail
Talx Corp                                                                    4076 Paysphere Cir                                  Chicago, IL 60674-0040                                                                                                                                                                                                                       First -Class Mail
TALX UCM Services Inc                                                        4076 Paysphere Cir                                  Chicago, IL 60674-0040                                                                                                                                                                                                                       First -Class Mail
Tammy Noll                                                                   26125 N Riverwoods Blvd                             Mettawa, IL 60045                                                                                                                                                                                                                            First -Class Mail
Tammy Pirtle                                                                 Address Redacted                                                                                                                                                                                                                                                                                 First -Class Mail
Tammy Sue Noll                                                               Address Redacted                                                                                                                                                                                                                                                                                 First -Class Mail
Tampa General Hospital                                                       1 Tampa General Cir Receiving Dock                  Tampa, FL 33606                                                                                                                                                                                                                              First -Class Mail
Tampa General Hospital                                                       c/o Florida Health, Science Center Inc              1 Tampa General Cir                                    Tampa, FL 33606-3571                                                                                                                                                                  First -Class Mail
Tampoprint Int'l                                                             1400 26th St                                        Vero Beach, FL 32960                                                                                                                                                                                                                         First -Class Mail
Tampoprint Int'l Corp                                                        1400 26th St                                        Vero Beach, FL 32960-0317                                                                                                                                                                                                                    First -Class Mail
Tan, Patrick Dr (Malaysia)                                                   8 College Road                                      Singapore, 169857                                      Singapore                                                                                                                                                                             First -Class Mail
Tangent Industries Inc                                                       142 Industrial Ln                                   Torrington, CT 06790-2325                                                                                                                                                                                                                    First -Class Mail
Tanner Medical Center                                                        601 Dallas Hwy                                      Villa Rica, GA 30180                                                                                                                                                                                                                         First -Class Mail
Tao Med SRL                                                                  Via Giotto 3                                        20145 Milano                                           Italy                                                                                                                                                                                 First -Class Mail
TaoMed Srl                                                                   Piazza Della Repubblica 32                          20124 Milano                                           Italy                                                                                                                                                                                 First -Class Mail
Tape To Type                                                                 Attn: Tim Obert                                     2400 5th Ave, Unit 103                                 San Diego, CA 92101-1675                                                                                                                                                              First -Class Mail
Tapecon Inc                                                                  701 Seneca St, Ste 255                              Buffalo, NY 14210-1359                                                                                                                                                                                                                       First -Class Mail
Tareq Company WLL                                                            Block 2, Ardhiya Industrial Area                    20506, Saafat 13066                                    Kuwait                                                                                                                                                                                First -Class Mail
Tarrant County Hospital                                                      Dba Jps Health Network                              1500 S Main St                                         Ft Work, TX 76104                                                                                                                                                                     First -Class Mail
Taryn Lavone                                                                 Address Redacted                                                                                                                                                                                                                                                                                 First -Class Mail
Tata Consultancy Services Ltd                                                Nirmal Building, 9th Fl                             Mumbai, 400021                                         India                                                                                                                                                                                 First -Class Mail
Tata Consultancy Services Ltd                                                Tcs House                                           Raveline St                                            Fort, Mumbai - 400 001                               India                                                                                                                            First -Class Mail
Tata Elxsi Ltd                                                               2855 Kifer Rd, Ste 215                              Santa Clara, CA 95051                                                                                                                                                                                                                        First -Class Mail
Tata Elxsi Ltd                                                               Tpb Road, Whitefield                                Bangalore 560048                                       India                                                                                                                                                                                 First -Class Mail
Tate Nolan                                                                   Address Redacted                                                                                                                                                                                                                                                                                 First -Class Mail
Tattnall County                                                              P.O. Box 920                                        Reidsville, GA 30453-0920                                                                                                                                                                                                                    First -Class Mail
Tatum                                                                        c/o Randstad North America Inc                      P.O. Box 847872                                        Dallas, TX 75284-7872                                                                                                                                                                 First -Class Mail
TAW Electronics Inc                                                          Attn: Margie Solomon                                4215 W Burbank Blvd                                    Burbank, CA 91505                                                                                margie@tawelectronics.com                                                            EmailFirst-Class Mail
Tax Credit Co, LLC                                                           6255 Sunset Blvd, Ste 2200                          Los Angeles, CA 90028                                                                                                                                                                                                                        First -Class Mail
Tax Trust Account                                                            Rds Bl Dept                                         P.O. Box 830900                                        Birmingham, AL 35283-0900                                                                                                                                                             First -Class Mail
Tax Trust Account                                                            P.O. Box 830900                                     Birmingham, AL 35283                                                                                                                                                                                                                         First -Class Mail
Taylor Communications Inc                                                    c/o Taylor Corp                                     P.O. Box 71805                                         Chicago, IL 60694-1805                                                                                                                                                                First -Class Mail
Taylor Communications Inc                                                    c/o Taylor Corp                                     13800 E 39th Ave                                       Aurora, CO 80011-1608                                                                                                                                                                 First -Class Mail
Taylor Enterprises Inc                                                       5510 Fairmont Rd, Ste A                             Libertyville, IL 60048-4806                                                                                                                                                                                                                  First -Class Mail
Taylor Strategy Partners LLC                                                 8000 Ravines Edge Ct, Ste 200                       Columbus, OH 43235-5422                                                                                                                                                                                                                      First -Class Mail
Taylorville Memorial Hospital                                                201 E Pleasant St                                   Taylorville, IL 62568                                                                                                                                                                                                                        First -Class Mail
TBM Carriers Inc                                                             P.O. Box 844230                                     Dallas, TX 75284-4230                                                                                                                                                                                                                        First -Class Mail
TBM Carriers Inc                                                             4241 E Piedras, Ste 118                             San Antonio, TX 78228-1422                                                                                                                                                                                                                   First -Class Mail
Tbs Fr Telematic & Biomedical Services Sarl                                  Les Bureau Verts                                    16 chemin du Professeur                                Deperet                                              69160 Tassin-la-Demi-Lune          France                                                                                        First -Class Mail
Tcg Rx                                                                       c/o The Chudy Group                                 N1671 Powers Lake Rd                                   Powers Lake, WI 53159                                                                                                                                                                 First -Class Mail
TCH – West Campus                                                            Attn: Assistant Director Respiratory Care Clinic    18200 Katy Fwy                                         Houston, TX 77094                                                                                                                                                                     First -Class Mail
Tci Precision Metal                                                          240 Rosecranws Avew                                 Gardena, CA 90248                                                                                                                                                                                                                            First -Class Mail
TCI Precision Metals                                                         Attn: Carlos Rodriquez-Keith Jacks                  240 E Rose Crans Ave                                   Gardena, CA 90248                                                                                crodriquez@tciprecision.com; kjacks@tciprecision.com                                 EmailFirst-Class Mail
T-Cubed Systems Inc                                                          5776-D Lindero Cyn Rd, Ste 437                      Westlake Village, CA 91362                                                                                                                                                                                                                   First -Class Mail
TDS Unlimited Inc                                                            9843 6th St                                         Rancho Cucamonga, CA 91730-5741                                                                                                                                                                                                              First -Class Mail
Tds Unlimited Inc                                                            11699 6th St                                        Rancho Cucamonga, CA 91730                                                                                                                                                                                                                   First -Class Mail
TDS Unlimited, Inc                                                           Attn: Larry Hoggard                                 11699 6th St                                           Rancho Cucamonga, CA 91730                                                                       larryh@tdsunlimited.com                                                              EmailFirst-Class Mail
TDS Unlimited, Inc                                                           Attn: Larry Hoggard                                 P.O. Box 1000                                          Chino Hills, CA 91709                                                                            larryh@tdsunlimited.com                                                              EmailFirst-Class Mail
TDS Unlimited, Inc                                                           Attn: Larry Hoggard                                 11699 6th St                                           Rancho Cucamonga, CA 91730                                                                                                                                                            First -Class Mail
Te Connectivity Corp                                                         2800 Fulling Mill Road                              Middletown, PA 17057                                                                                                                                                                                                                         First -Class Mail
TE Connectivity Ltd                                                          24627 Network Pl                                    Chicago, IL 60673-1246                                                                                                                                                                                                                       First -Class Mail
Te Connectivity Ltd                                                          P.O. Box 3608                                       Harrisburg, PA 17105-3608                                                                                                                                                                                                                    First -Class Mail
TE Connectivity Sensor Solutions (CA)                                        145738 Northport Loop W                             Freemont, CA 94538                                                                                                                                                                                                                           First -Class Mail
TE Connectivity Sensor Solutions (China)                                     No 26 Lang Sang Rd                                  Shenzhen, 91706                                        China                                                                                                                                                                                 First -Class Mail
Team Logistics Inc                                                           20-10 Maple Ave, Bldg 35E                           Fair Lawn, NJ 07410-1591                                                                                                                                                                                                                     First -Class Mail
Teamvantage Molding                                                          Attn: Kelly Strichter                               20697 Fenway Ave N                                     Forest Lake, MN 55025                                                                            kellys@teamvantage.com                                                               EmailFirst-Class Mail
Teceze Ltd                                                                   1 Sansome St, Ste 3500                              PMB 6049                                               San Francisco, CA 94104-4436                                                                                                                                                          First -Class Mail
Tech Mahindra Ltd                                                            Equinix Ny9                                         111 8th Ave                                            New York, NY 10011                                                                                                                                                                    First -Class Mail
Tech-Etch                                                                    Attn: Bruce Appelgate                               45 Aldrin Rd                                           Plymouth, MA 02360                                                                                                                                                                    First -Class Mail
Tech-Etch, Inc                                                               Attn: Bruce Appelgate                               45 Aldrin Rd                                           Plymouth, MA 02360                                                                               bapperlgate@tech-etch.com                                                            EmailFirst-Class Mail
Techmaster De Mexico                                                         PMB 318-591                                         Telegraph Canyon Rd                                    Chula Vista, CA 91910-6497                                                                                                                                                            First -Class Mail
Techmaster De Mexico                                                         Calle Gales 1201                                    Mexicali, BC 21180                                     Mexico                                                                                                                                                                                First -Class Mail
Techmer Pm                                                                   P.O. Box 749789                                     Los Angeles, CA 90074-9789                                                                                                                                                                                                                   First -Class Mail
Techmer Pm LLC                                                               18420 S Laurel Park Rd                              Rancho Dominguez, CA 90220-6015                                                                                                                                                                                                              First -Class Mail
Technara Tooling Systems, Inc                                                Attn: Jean Anzawa                                   12535 Mccann Dr                                        Santa Fe Springs, CA 90670                                                                       la@tecnaratools.com                                                                  EmailFirst-Class Mail
Technical Dynamics                                                           3300 Gallows Rd                                     Falls Church, VA 22042                                                                                                                                                                                                                       First -Class Mail
Technical Services For Electronics                                           2 F, No 21, Jinakang Rd                             Zhonge Dist, New Taipei City 235                       Taiwan                                                                                                                                                                                First -Class Mail
Technical Source Inc                                                         1447 E Rosita Dr                                    Palatine, IL 60074-5603                                                                                                                                                                                                                      First -Class Mail
Technipaq                                                                    975 Campus Dr                                       Mundelein, IL 60060                                                                                                                                                                                                                          First -Class Mail
Technipaq Inc                                                                975 Lutter Drive                                    Crystal Lake, IL 60014                                                                                                                                                                                                                       First -Class Mail
Technipaq Inc                                                                975 Lutter Dr                                       Crystal Lake, IL 60014-8190                                                                                                                                                                                                                  First -Class Mail
Techno Medical Co Ltd                                                        29 Soi Ladprao 92, Wangthonglang                    Bangkok, 10310                                         Thailand                                                                                                                                                                              First -Class Mail
Technoline Ltd                                                               51 Edgar Bernard St                                 Gzira, GZR 1703                                        Malta                                                                                                                                                                                 First -Class Mail
Technologie Institut Medizin                                                 c/o GMBH Tim                                        August Thyssen Str 30                                  Koblez, 56070                                        Germany                                                                                                                          First -Class Mail
Technomedics International (Pvt) Ltd                                         No 4 Dhammodaya Mawatha, Pannipitiya Roda           Battaramulla                                           Sri Lanka                                                                                                                                                                             First -Class Mail
Tecnoideal America Inc                                                       7600 Standish Pl                                    Derwood, MD 20855-2744                                                                                                                                                                                                                       First -Class Mail
Tecnolife Equipamentos Medicos Ltda                                          Rua Tiburcio Cavalcante, 2388 - Dionísio Torres     CEP 60125-101 - Fortaleza, Ceara                       Brazil                                                                                                                                                                                First -Class Mail
Tecnomedica Andaluza SCA                                                     C/ Camino de Ronda, 113 Local 3                     Granada, Andalucia 18003                               Spain                                                                                                                                                                                 First -Class Mail
Tecnomedica Andaluza Sca                                                     C Camino De Ronda 113, Local 3                      Granada, 18003                                         Spain                                                                                                                                                                                 First -Class Mail
Tecnosoluzioni Srl                                                           Lecc Via Case 6                                     Corigliano d'Otranto                                   Italy                                                                                                                                                                                 First -Class Mail
Tecnosoluzioni Srl                                                           Via Case, 6 73022                                   Corigliano d'Otranto (Lecce)                           Italy                                                                                                                                                                                 First -Class Mail
Tecnosoluzioni Srl                                                           Via Case N 6                                        Corigliano D'Otranto (Le), 73022                       Italy                                                                                                                                                                                 First -Class Mail
Tecnosoluzioni SRL                                                           Via Case, 6                                         73022 Corigliano D’otranto LE                          Italy                                                                                                                                                                                 First -Class Mail
Tecnosoluzioni SRL                                                           Tecnosoluzioni SRL                                  Lecc Via Case 6                                        Corigliano d'Otranto                                 Italy                                                                                                                            First -Class Mail
Ted Pella Inc                                                                4595 Mountain Lakes Blvd                            Redding, CA 96008                                                                                                                                                                                                                            First -Class Mail
Teguar Computers                                                             4235 S Stream Blvd, Ste L-130                       Charlotte, NC 28217                                                                                                                                                                                                                          First -Class Mail
Tek Products                                                                 Attn: Clare Rensink                                 2435 W Inductial Blvd                                  Long Lake, MN 55356                                                                              crensink@tekproducts.com                                                             EmailFirst-Class Mail
Teknikel Ticaret Ve Sanayi A S                                               Piyalepasa Bulvari Kastel Is Merkez                 Istanbul, 34440                                        Turkey                                                                                                                                                                                First -Class Mail
Teknikel Ticaret Ve Sanayi AS                                                Piyalepasa Bulvari, Kastel Is Merkezi C Block       80370 Kasimpasa                                        Istanbul                                             Turkey                                                                                                                           First -Class Mail
Tekni-Plex Flexibles LLC                                                     4101 Lien Road                                      Madison, WI 53704                                                                                                                                                                                                                            First -Class Mail
Tekniplex Inc                                                                4101 Lien Rd                                        Madison, WI 53704                                                                                                                                                                                                                            First -Class Mail
Tekni-Plex Inc                                                               c/o Tekni-Plex Flexibles LLC                        2870 Paysphere Cir                                     Chicago, IL 60674-0001                                                                                                                                                                First -Class Mail
Tekni-Plex Inc                                                               c/o Tekni-Plex Flexibles LLC                        460 E Swedesford Rd, Ste 3000                          Wayne, PA 19087-1835                                                                                                                                                                  First -Class Mail
Tekni-Plex, Inc                                                              101 Railroad Ave                                    Ridgefield, NJ 07657                                                                                                                                                                                                                         First -Class Mail
Teknor Apex Asia Pacific Pte Ltd                                             41 Shipyard Rd                                                                                      628134 Singapore                                                                                                                                                                             First -Class Mail
Teknor Apex Co                                                               P.O. Box 405197                                     Atlanta, GA 30384-5197                                                                                                                                                                                                                       First -Class Mail
Teknor Apex Co                                                               505 Central Ave                                     Pawtucket, RI 02861                                                                                                                                                                                                                          First -Class Mail
Teknor Apex Co                                                               505 Central Ave                                     Pawtucket, RI 02861-1945                                                                                                                                                                                                                     First -Class Mail
Teknor Apex Co                                                               420 S 6th Ave                                       City Of Industry, CA 91746-3128                                                                                                                                                                                                              First -Class Mail
Teknor Apex Co                                                               751 N Dupree Ave                                    Brownsville, TN 38012-1708                                                                                                                                                                                                                   First -Class Mail
Teknor Financial Corp                                                        P.O. Box 405197                                     Atlanta, GA 30384-5197                                                                                                                                                                                                                       First -Class Mail
Tekpro Group                                                                 Attn: James Dieroff                                 7940 Cherry Ave, Ste 202                               Fontana, CA 92336                                                                                jdieroff@tekprogroup.com                                                             EmailFirst-Class Mail
Teksystems Inc                                                               c/o Allegis Group Holdings Inc                      15208 Collections Ctr Dr                               Chicago, IL 60693-5208                                                                                                                                                                First -Class Mail
Teksystems Inc                                                               c/o Allegis Group Holdings Inc                      7312 Parkway Dr                                        Hanover, MD 21076-1158                                                                                                                                                                First -Class Mail
Teksystems, Inc                                                              7437 Race Rd                                        Hanover, MD 21076                                                                                                                                                                                                                            First -Class Mail
Tel Star Communications                                                      1573 S 79th East Ave                                Tulsa, OK 74112-7830                                                                                                                                                                                                                         First -Class Mail
Telatemp Corp                                                                2910 E La Palma Ave, Ste C                          Anaheim, CA 92806-2618                                                                                                                                                                                                                       First -Class Mail
Teledyne Analytical                                                          Attn: Kunal Kothari                                 16830 Chestnut St                                      City of Industry, CA 91748                                                                       kunal.kothari@teledyne.com                                                           EmailFirst-Class Mail
Teledyne Analytical Instruments                                              Attn: Kunal Kothari                                 16830 Chestnut St                                      City Of Industry, CA 91748                                                                                                                                                            First -Class Mail

Teledyne Cable Solutions                                                     Attn: Erin Deahl, Jennifer Ravenell                 Attn: Craig Thorton                                    9251 Premier Row                                     Dallas, TX 75247                            Erin.Deahl@Teledyne.com/Jennifer.Ravenell@teledyne.com/craig.thornton@teledyne.com   EmailFirst-Class Mail
                                                                Case 24-11217-BLS                                                                             Doc 463                      Filed 08/24/24                                   Page 45 of 51

Teledyne Cable Solutions                                      Attn: Erin Deahl, Jennifer Ravenell          Attn: Craig Thorton                                      9251 Premier Row                    Dallas, TX 75247                                                                                                   First -Class Mail
Teledyne Cable Solutions                                      9251 Premier Row                             Dallas, TX 75247                                                                                                                                                                                                First -Class Mail
Telefex Medical (Hudson)                                      Attn: Richard Hooser                         3015 Carrington Mill Blvd                                Morrisville, NC 27560                                                                     richard.hooser@teleflex.com                                  EmailFirst-Class Mail
Teleflex LLC                                                  P.O. Box 601608                              Charlotte, NC 28260-1608                                                                                                                                                                                        First -Class Mail
Teleflex Medical                                              fka IWG High Performance Conductors Inc      Attn: Joann Thomas                                       13230 N Main St                     Treton, GA 30752                                      joann.thomas@teleflex.com                                    EmailFirst-Class Mail
Teleflex Medical Europe Ltd                                   Ida Business Park, Unit Af4                  Athlone                                                  Ireland                                                                                                                                                First -Class Mail
Teleflex Medical Europe Ltd                                   Unit Af4 Ida Business Park                   Athlone                                                  Ireland                                                                                                                                                First -Class Mail
Telephone doctor Inc                                          dba SvcSkills                                Attn: Anna Horner                                        30 Hollenberg Ct                    St Louis, MO 63044                                    Anna.horner@serviceskills.com                                EmailFirst-Class Mail
Telephone Doctor Inc                                          c/o Serviceskills                            30 Hollenberg Ct                                         Bridgeton, MO 63044-2454                                                                                                                               First -Class Mail
Telephone Doctor, Inc                                         Dba Serviceskills                            30 Hollenberg Ct                                         St Louis, MO 63044                                                                                                                                     First -Class Mail
Telsonic Uk Ltd                                               Unit 3 Witney Rd Nuffield Industria          Poole, DO BH17 0GL                                       United Kingdom                                                                                                                                         First -Class Mail
Tempco Electric Heater Co                                     Attn: Matt Kennedy                           607 N Central Ave                                        Wood Dale, IL 60191                                                                       tempcal@att.net                                              EmailFirst-Class Mail
Tempco Electric Heater Corp                                   607 North Central Ave                        Wood Dale, IL 60191-1452                                                                                                                                                                                        First -Class Mail
Temple University Hospital                                    3401 N Broad St                              Philadelphia, PA 19140                                                                                                                                                                                          First -Class Mail
Tena Green                                                    Address Redacted                                                                                                                                                                                                                                             First -Class Mail
Tenacore, LLC                                                 1525 E Edinger Ave                           Santa Ana, CA 92705                                                                                                                                                                                             First -Class Mail
Ten-E Packaging Service Inc                                   1666 County Rd 74                            Newport, MN 55055-1765                                                                                                                                                                                          First -Class Mail
Tenere Inc                                                    P.O. Box 85052                               Chicago, IL 60680-0852                                                                                                                                                                                          First -Class Mail
Tenere Inc                                                    12412 W Cedar Dr                             Lakewood, CO 80228-2002                                                                                                                                                                                         First -Class Mail
Tenet                                                         P.O. Box 130300                              Dallas, TX 75313                                                                                                                                                                                                First -Class Mail
Tenet Palmetto General Hospital                               2001 W 68th St                               Hialeah, FL 33016-1801                                                                                                                                                                                          First -Class Mail
Tennessee Board of Pharmacy                                   665 Mainstream Dr                            Nashville, TN 37243                                                                                                                                                                                             First -Class Mail
Tennessee Dept of Revenue                                     500 Deadrick St                              Nashville, TN 37242                                                                                                                                                                                             First -Class Mail
Tennessee Dept of Revenue                                     Andrew Jackson State Office Building         500 Deadrick St                                          Nashville, TN 37242                                                                                                                                    First -Class Mail
Tennessee Dept of Revenue                                     Andrew Jackson State Office Bldg             500 Deaderick St                                         Nashville, TN 37242                                                                                                                                    First -Class Mail
Tennessee Society For Respiratory Care                        142 W 5th St                                 Cookeville, TN 38501                                                                                                                                                                                            First -Class Mail
Tennessee State University                                    1235 Schrader Ln                             Nashville, TN 37208                                                                                                                                                                                             First -Class Mail
Tensentric                                                    2900 Center Green Court                      Boulder, CO 80301                                                                                                                                                                                               First -Class Mail
Tensentric                                                    2900 Center Green Ct                         Boulder, CO 80301                                                                                                                                                                                               First -Class Mail
Tensentric Inc                                                2900 Center Green Ct                         Boulder, CO 80301-5418                                                                                                                                                                                          First -Class Mail
Tensentric, Inc                                               2900 Center Green Court                      Boulder, CO 80301                                                                                                                                                                                               First -Class Mail
Tensor Id Inc                                                 4129 Avenida De La Plata                     Oceanside, CA 92056-6002                                                                                                                                                                                        First -Class Mail
Tensor ID LLC                                                 Attn: Starla Harris                          4129 Avenida De La Plata                                 Oceanside, CA 92056                                                                       sharris@tensorid.com                                         EmailFirst-Class Mail
Tente Casters                                                 Attn: Sam Nisco                              2266 South Park                                          Hebron, KY 41048                                                                          snisco@tente-us.com                                          EmailFirst-Class Mail
Tepros GMBH                                                   Industriezon Schachenwald                    Altdorf Ur, 6460                                         China                                                                                                                                                  First -Class Mail
TEQ Company Limited                                           Prasan Puranabhandu Bldg                     1654 Thanon Krungthep-Nonthaburi                         Wong Sawang, Bang Sue               Bangkok 10800                        Thailand                                                                      First -Class Mail
TEQ Company Limited                                           Prasan Puranabhandu Bldg                     1654 Krungthep-Nonthaburi Rd                             Bangsue, Bangkok 10800              Thailand                                                                                                           First -Class Mail
Teq Company Ltd                                               Prasan Puranabhandu Bldg                     1654 Krungthep-Nonthaburi Rd                             Bangsue, Bangkok 10800              Thailand                                                                                                           First -Class Mail
Tequipment                                                    Attn: Claudia, Customer Serv                 205 Westwood Ave                                         Long Branch, NJ 07740                                                                     salesteam@tequipment.net                                     EmailFirst-Class Mail
Teran International SA                                        Plaza Alo                                    Calle 27 de Mayo 888                                     Estatua Motoya 50 Mts Al Este       Managua, Managua, Nicaragua                                                                                        First -Class Mail
Teran International SA dba Casa Teran                         85 Ave Norte 9na                             Calle Poniente Edificio                                  4365 Colonia Escalon                San Salvador, Salvador               El Salvador                                                                   First -Class Mail
Teran International SA dba Casa Teran                         Teran International SA Plaza Alo             Calle 27 De Mayo 888                                     Estatua Motoya 50 Mts Al Este       Managua, Managua,                    Nicaragua                                                                     First -Class Mail
Teresa Quintero                                               Address Redacted                                                                                                                                                                                                                                             First -Class Mail
Terralux Inc Glc                                              20 Pocono Rd                                 P.O. Box 91                                              Brookfield, CT 06804                                                                                                                                   First -Class Mail
Terri Dodds                                                   Address Redacted                                                                                                                                                                                                                                             First -Class Mail
Terri Renee E Pickar                                          Address Redacted                                                                                                                                                                                                                                             First -Class Mail
Terrie Lea Mcdaniel                                           Address Redacted                                                                                                                                                                                                                                             First -Class Mail
Terry A Wyatt                                                 Address Redacted                                                                                                                                                                                                                                             First -Class Mail
Terry A Wyatt                                                 Address Redacted                                                                                                                                                                                                                                             First -Class Mail
Terry Blansfield                                              Address Redacted                                                                                                                                                                                                                                             First -Class Mail
Terry Bryant                                                  US Equal Employment Opportunity Commission   131 M St NE                                              Washington, DC 20507                                                                                                                                   First -Class Mail
Terry Wilburn                                                 Address Redacted                                                                                                                                                                                                                                             First -Class Mail
Tessian Inc                                                   535 Mission St, 14th Fl                      San Francisco, CA 94105                                                                                                                                                                                         First -Class Mail
Test Solutions De Mexico Sa De Cv                             Via Rapida Oriente 15455 6 3Ra               Tijuana, BC 22540                                        Mexico                                                                                                                                                 First -Class Mail
TESTCO                                                        Attn: Chuck Fogleman                         1290 Kifer Rd, Ste 308                                   Sunnyvale, CA 94086                                                                       cfogleman@testco-inc.com                                     EmailFirst-Class Mail
TestEquity                                                    Attn: Alfred Gonzalez, Brian Fabro           6100 Condor Dr                                           Moorpark, CA 93021                                                                        Alfred.Gonzalez@TestEquity.com; Brian.Fabro@testequity.com   EmailFirst-Class Mail
TestEquity                                                    Attn: Andrea Cerrito                         1547 N Trooper Rd                                        Worcester, PA 19490                                                                       andrea@techni-tool.com                                       EmailFirst-Class Mail
TestEquity LLC                                                Attn: Jane Turner                            100 Ames Pond Dr, Ste 202                                Tewksbury, MA 01876                                                                       jane.turner@testequity.com                                   EmailFirst-Class Mail
Testequity, Inc                                               Attn: Alfred Gonzalez, Brian Fabro           6100 Condor Dr                                           Moorpark, CA 93021                                                                                                                                     First -Class Mail
Testing Machines Inc                                          40 Mccullough Dr                             New Castle, DE 19720-2066                                                                                                                                                                                       First -Class Mail
Testo Industrial Services Ltd                                 60 Queen Victoria St                         London, EC4N 4TR                                         United Kingdom                                                                                                                                         First -Class Mail
Testquity                                                     c/o Techni-Tool Inc                          P.O. Box 515047                                          Los Angeles, CA 90051                                                                                                                                  First -Class Mail
Testquity                                                     c/o Techni-Tool Inc                          6100 Condor Dr                                           Moorpark, CA 93021                                                                                                                                     First -Class Mail
Texas Allergy & Breathing                                     611 N Beltline Rd, Ste C                     Mesquite, TX 75149                                                                                                                                                                                              First -Class Mail
Texas Allergy & Breathing Centers                             3900 American Dr Ste 203                     Plano, TX 75093                                                                                                                                                                                                 First -Class Mail
Texas Children's                                              6621 Fannin St                               Houston, TX 77030                                                                                                                                                                                               First -Class Mail
Texas Childrens Hospital                                      6621 Fannin St                               Houston, TX 77030                                                                                                                                                                                               First -Class Mail
Texas Childrens Hospital                                      Supply Chain Mgmt                            1919 S Braeswood Blvd, 6th Fl                            Houston, TX 77030                                                                                                                                      First -Class Mail
Texas Childrens Hospital                                      Supply Chain Management                      1919 S Braeswood Blvd, 6th Fl                            Houston, TX 77030                                                                                                                                      First -Class Mail
Texas Childrens Hospital                                      Tch – West Campus                            Attn: Assistant Director Respiratory Care Clinic         18200 Katy Fwy                      Houston, TX 77094                                                                                                  First -Class Mail
Texas Comptroller of Public Accounts                          P.O. Box 149354                              Austin, TX 78714-9354                                                                                                                                                                                           First -Class Mail
Texas Comptroller of Public Accounts                          P.O. Box 149348                              Austin, TX 78714-9348                                                                                                                                                                                           First -Class Mail
Texas Health Presbyterian Allen                               1105 Central Expy N                          Allen, TX 75013                                                                                                                                                                                                 First -Class Mail
Texas Health Resources                                        612 E Lamar Blvd                             Arlington, TX 76011                                                                                                                                                                                             First -Class Mail
Texas Health Resources                                        612 East Lamar Blvd                          Arlington, TX 76011                                                                                                                                                                                             First -Class Mail
Texas Health Resources                                        612 E Lamar Blvd, Ste 1100                   Arlington, TX 76011-4132                                                                                                                                                                                        First -Class Mail
Texas IPS                                                     4458 Medical Dr, Ste 505                     San Antonio, TX 78229                                                                                                                                                                                           First -Class Mail
Texas Pulmonary & Critical Care Consultants Pa                1201 Fairmount Ave                           Ft Worth, TX 76104                                                                                                                                                                                              First -Class Mail
Texas Southmost College                                       80 Fort Brown St                             Brownsville, TX 78520-4956                                                                                                                                                                                      First -Class Mail
Texas Spine & Joint Hospital                                  905 Turtle Creek Dr                          Tyler, TX 75701-1947                                                                                                                                                                                            First -Class Mail
Texas State University                                        Willow Hall, Ste 214                         200 Bobcat Way                                           Round Rock, TX 78665                                                                                                                                   First -Class Mail
Textio Inc                                                    113 Cherry St, PMB 72670                     Seattle, WA 98104-2205                                                                                                                                                                                          First -Class Mail
Tgc Appraisal District                                        P.O. Box 3307                                San Angelo, TX 76902-3307                                                                                                                                                                                       First -Class Mail
Thanh-Tung Nguyen                                             Address Redacted                                                                                                                                                                                                                                             First -Class Mail
Thay Medical Ltd                                              Hawthorn Farm Business Park, Unit 2          Winterborne Stickland, DO DT11 0NB                       United Kingdom                                                                                                                                         First -Class Mail
Thayer Leader Development Group, Inc                          674 Thayer Rd                                W Point, NY 10996-1906                                                                                                                                                                                          First -Class Mail
The Age of Aquarius Ltd (Aoa)                                 Bankside                                     300 Peachman Way                                         Broadland Business Park             Norwich, Norfolk NR7 0LB             United Kingdom                                                                First -Class Mail
The Age of Aquarius Ltd (Tulip)                               Bankside                                     300 Peachman Way                                         Broadland Business Park             Norwich, Norfolk NR7 0LB             United Kingdom                                                                First -Class Mail
The Alexander Group                                           8155 E Indian Bend Rd, Ste 111               Scottsdale, AZ 85250-4827                                                                                                                          ewalsmann@alexandergroup.com                                 EmailFirst-Class Mail
The Alexander Group                                           c/o Innovative Strategies Inc                2700 Post Oak Blvd, Ste 2400                             Houston, TX 77056-5793                                                                                                                                 First -Class Mail
The Alexander Group                                           8155 E Indian Bend Rd, Ste 111               Scottsdale, AZ 85250-4827                                                                                                                                                                                       First -Class Mail
The Alexander Group, Inc                                      8800 E Raintree Drive, Ste 150               Scottsdale, AZ 85260                                                                                                                                                                                            First -Class Mail
The ALS Association                                           1275 K St NW, Ste 250                        Washington, DC 20005                                                                                                                                                                                            First -Class Mail
The Amyotrophic Lateral Sclerosis Assoc                       Attn: Meghan Tallakson                       1275 K St NW, Ste 250                                    Washington, CA 20005                                                                      mtallakson@alsa-national.org                                 EmailFirst-Class Mail
The Anesthesia Patient                                        c/o Safety Foundation                        P.O. Box 6668                                            Rochester, MN 55903-6668                                                                                                                               First -Class Mail
The Baker Co Inc                                              P.O. Box 845005                              Boston, MA 02284-5005                                                                                                                                                                                           First -Class Mail
The Baker Co Inc                                              161 Gatehouse Rd                             Sanford, ME 04073                                                                                                                                                                                               First -Class Mail
The Barton Partnership                                        16 High Holborn                              London, WC1V 6BX                                         United Kingdom                                                                                                                                         First -Class Mail
The Bolton Group                                              100 W 33Rd St                                New York, NY 10001                                                                                                                                                                                              First -Class Mail
The Bolton Group LLC                                          3565 Piedmont Rd NE Bldg 4, Ste 320          Atlanta, GA 30305-8202                                                                                                                                                                                          First -Class Mail
The Bolton Group LLC                                          222 S 9th St, Ste 1600                       Minneapolis, MN 55402-3382                                                                                                                                                                                      First -Class Mail
The Breakers Palm Beach Inc                                   1 S County Rd                                Palm Beach, FL 33480-4023                                                                                                                                                                                       First -Class Mail
The Candler Hotel                                             127 Peachtree St Ne                          Atlanta, GA 30303                                                                                                                                                                                               First -Class Mail
The Carle Foundation Hospital                                 611 W Park St                                Urbana, IL 61801-2529                                                                                                                                                                                           First -Class Mail
The Children's Hospital of Philadelphia                       Attn: Dr Steve Paridon                       700 Ne 13th St                                           Oklahoma City, OK 73104                                                                                                                                First -Class Mail
The Christ Hospital                                           2139 Auburn Ave                              Cincinnati, OH 45219                                                                                                                                                                                            First -Class Mail
The Cleveland Clinic Foundation                               9500 Euclid Ave                              Cleveland, OH 44195                                                                                                                                                                                             First -Class Mail
The Cleveland Clinic Foundation                               P.O. Box 931532                              Cleveland, OH 44193-5007                                                                                                                                                                                        First -Class Mail
The Cleveland Electric Illuminating Co                        c/o Nopec Firstenergy Solutions              341 White Pond Dr, Bldg B3                               Akron, OH 44320-1119                                                                                                                                   First -Class Mail
The Cleveland Electric Laboratories Co Inc                    1776 Enterprise Pkwy                         Twinsburg, OH 44087-2204                                                                                                                                                                                        First -Class Mail
The Connor Consultancy Limited                                The Quadrant                                 Upper Culham Farm,                                       Upper Culham Rd, Upper Culham       Berkshire, RG10 8NR                  United Kingdom                                                                First -Class Mail
The Connor Consultancy Limited                                The Old Corn Barn                            The Quadrant, Upper Culham Farm                          Upper Culham Rd, Upper Culham       Berkshire, RG10 8NR                  United Kingdom                                                                First -Class Mail
The Connor Consultancy Ltd                                    The Old Corn Barn                            The Quadrant, Upper Culham Farm                          Upper Culham Rd                     Upper Culham, Berkshire, RG10 8NR    United Kingdom                                                                First -Class Mail
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The Creative Events Group                                     Attn: Arthur Webb                            22287 Mulholland, Ste 252                                Calabasas, CA 91302                                                                                                                                    First -Class Mail
The D Keith & Hallie H Grossman Fam Living Trust              P.O. Box 523                                 Diablo, CA 94528-0523                                                                                                                                                                                           First -Class Mail
The Davick Group                                              1249 Canton Ct                               Encinitas, CA 92024                                                                                                                                                                                             First -Class Mail
The Dch Health Care Authority                                 809 University Blvd E                        Tuscaloosa, AL 35401                                                                                                                                                                                            First -Class Mail
The Denmark Group                                             Attn: Mark Gillespie                         P.O. Box 1089                                            Winter Park, FL 32790                                                                     mgillespie@thedenmarkgroup.com                               EmailFirst-Class Mail
The Denmark Group Inc                                         P.O. Box 1089                                Winter Park, FL 32790-1089                                                                                                                                                                                      First -Class Mail
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The Educe Group, Inc                                          4550 Montgomery Ave, Ste 980                 Bethesda, MD 20814                                                                                                                                 psvensson@educegroup.com                                     EmailFirst-Class Mail
The Feinstein Institutes For Medical Research                 350 Community Drive                          Manhasset, NY 11030                                                                                                                                                                                             First -Class Mail
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The Hertz Corp                                                255 Brae Boulevard                           Park Ridge, NJ 07656-0713                                                                                                                                                                                       First -Class Mail
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The Intermed Group, Inc                                       13301 US Hwy 441                             Alachua, FL 32615                                                                                                                                                                                               First -Class Mail
The Intermed Group, Inc                                       100 E Carroll St                             Salisbury, MD 21801                                                                                                                                                                                             First -Class Mail
The Irvine Company LLC                                        111 Innovation                               Irvine, CA 92617                                                                                                                                                                                                First -Class Mail
The Labs Materials Testing                                    11150 White Birch Drive                      Rancho Cucamonga, CA 91730                                                                                                                                                                                      First -Class Mail
The Landings At Amhurst Lake                                  c/o Northern Crossing Jv LLC                 1375 S White Oak Dr                                      Waukegan, IL 60085-8360                                                                                                                                First -Class Mail
The Lavin Agency Ltd                                          119 Spadina Ave, Ste 1200                    Toronto, ON M5V 2L1                                      Canada                                                                                                                                                 First -Class Mail
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The Marketech Group LLC                                       502 Mace Blvd, Ste 15                        Davis, CA 95618-4338                                                                                                                                                                                            First -Class Mail
The Match Stick Group LLC                                     305 Mccants Dr                               Mt Pleasant, SC 29464-5013                                                                                                                                                                                      First -Class Mail
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The MathWorks, Inc                                            Attn: Scott Tate                             3 Apple Hill Dr                                          Natick, MA 01760                                                                          scott.tate@mathworks.com                                     EmailFirst-Class Mail
The Mathworks, Inc                                            3 Apple Hill Drive                           Natick, MA 01760-2098                                                                                                                                                                                           First -Class Mail
The McMahon Group LLC                                         c/o McMahon Publishing Group                 545 W 45th St, 8th Fl                                    New York, NY 10036-3409                                                                                                                                First -Class Mail
The Meadows At Westfall Inc                                   c/o The Highlands At Brighton                5901 Lac De Ville Blvd                                   Rochester, NY 14618-5600                                                                                                                               First -Class Mail
The Medboard Co Ltd                                           6 Kerry St                                   Horsforth Leeds, LS18 4AW                                United Kingdom                                                                                                                                         First -Class Mail
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The Medical College of Wisconsin In                           8701 W Watertown Plank Rd                    Milwaukee, WI 53226-3548                                                                                                                                                                                        First -Class Mail
The Medical Product Manager Institu                           49 Eagle Nest Cir                            Providence, UT 84332-9205                                                                                                                                                                                       First -Class Mail
The Mednax Center For Research, Education, Quality & Safety   1301 Concord Terrace                         Sunrise, FL 33323                                                                                                                                                                                               First -Class Mail
The Methodist Hospital                                        6565 Fannin St                               Houston, TX 77030                                                                                                                                                                                               First -Class Mail
The Metrohealth System                                        2500 Metrohealth Drive                       Cleveland, OH 44109                                                                                                                                                                                             First -Class Mail
The Moore Company                                             Dba Darlington Fabrics                       36 Beach St                                              Westerly, RI 02891                                                                                                                                     First -Class Mail
The Nerdery LLC                                               c/o Sierra Bravo Corp                        9555 James Ave S, Ste 245                                Minneapolis, MN 55431-2547                                                                                                                             First -Class Mail
The New York & Presbyterian Hospita                           333 E 38th St                                New York, NY 10016-2772                                                                                                                                                                                         First -Class Mail
The New York State Society of Anesthesiologists, Inc          32 Bernadine St                              Milford, CT 06461-2435                                                                                                                                                                                          First -Class Mail
The Ohio State Univ Wexner Med Cent                           The Ohio State University                    2020 Blankenship Hall                                    Columbus, OH 43210                                                                                                                                     First -Class Mail
The Ohio State University Medial Center                       410 West 10th St                             Columbus, OH 43210                                                                                                                                                                                              First -Class Mail
The Ohio State University Medical C                           410 W 10th Ave                               Columbus, OH 43210-1240                                                                                                                                                                                         First -Class Mail
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The Phoenix Partnership (Leeds) Ltd                           Tpp House                                    129 Low Ln                                               Horsforth, Leeds, LS18 5PX          United Kingdom                                                                                                     First -Class Mail
The Physician's Resource For Medical Equipment Inc            306 Country Club Dr                          Mountain Top, PA 18707-9084                                                                                                                                                                                     First -Class Mail
The Pinnacle Health Group Inc                                 Attn: Kathy Francisco                        1010 Stony Hill Rd, Ste 200                              Yardley, PA 19067                                                                         Kfran@thepinnaclehealthgroup.com                             EmailFirst-Class Mail
The Pinnacle Health Group Inc                                 Attn: Kathy Francisco                        1010 Stony Hill Rd, Ste 200                              Yardley, PA 19067                                                                                                                                      First -Class Mail
The Pinnacle Health Group, Inc                                1010 Stony Hill Rd, Ste 200                  Yardley, PA 19067                                                                                                                                                                                               First -Class Mail
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The Printer & Copier Guys                                     Attn: John Pinto                             82545 Showcase Pkwy, Ste 108                             Indio, CA 92203                                                                           12johnnyp@gmail.com                                          EmailFirst-Class Mail
The Printing Organization Inc                                 Dba The Gates Group                          4928 Naples St                                           San Diego, CA 92110                                                                                                                                    First -Class Mail
The Queen Mary                                                Attn: Valli O'Donnell                        1126 Queens Hwy                                          Long Beach, CA 92802                                                                                                                                   First -Class Mail
The Queens Medical Center                                     1301 Punchbowl St                            Honolulu, HI 96813                                                                                                                                                                                              First -Class Mail
The R & D Agency Inc                                          14480 Ewing Ave S                            Burnsville, MN 55306-3807                                                                                                                                                                                       First -Class Mail
The Regents of The University of Ca                           University of Ca Irvine Extension            P.O. Box 6050                                            Irvine, CA 92616-6050                                                                                                                                  First -Class Mail
The Regents of The University of CA                           on Behalf of Ucla Hlth S                     10920 Wilshire Blvd, Ste 750                             Los Angeles, CA 90024-6544                                                                                                                             First -Class Mail
The Regents of The University of California                   University of California Health System       Institute Collaborative Bio                              2626 Ellison Hall                   Santa Barbara, CA 93106                                                                                            First -Class Mail
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The Regents of The University of Colorado                     Office of Strategic Media Relations          University of Colorado Boulder                           3100 Marine St, Rm 545              Boulder, CO 80309-0584                                                                                             First -Class Mail
The Regents of the University of Michigan                     3003 S State St, 1st Fl                      Ann Arbor, MI 48109-1274                                                                                                                                                                                        First -Class Mail
The Research Foundation For The Sta                           University of New York                       750 E Adams St                                           Syracuse, NY 13210-2306                                                                                                                                First -Class Mail
The Risk Advisory Group USA Ltd                               c/o The Risk Advisory Group USA LLC          1717 K St NW, Ste 900                                    Washington, DC 20006-5349                                                                                                                              First -Class Mail
The Ritz-Carlton - Laguna Niguel Ca                           One Ritz-Carlton Drive                       Dana Point, CA 92629                                                                                                                                                                                            First -Class Mail
The Ritz-Carlton - San Francisco                              600 Stockton At California St                San Francisco, CA 94108                                                                                                                                                                                         First -Class Mail
The Ritz-Carlton Co LLC                                       600 Stockton St                              San Francisco, CA 94108-2311                                                                                                                                                                                    First -Class Mail
The Rosner Law Group LLC                                      Attn: Zhao (Ruby) Liu                                                                                                                                                                           liu@teamrsoner.com                                           Email
The Rosner Law Group LLC                                      Attn: Frederick B. Rosner/Zhao (Ruby) Liu    824 N Market St, Ste 810                                 Wilmington, DE 19801                                                                      rosner@teamrosner.com                                        EmailFirst-Class Mail
The Schwerdtle Stamp Company                                  41 Benham Ave                                Bridgeport, CT 06605                                                                                                                                                                                            First -Class Mail
The Silicon Partners Inc                                      785 Orchard Dr, Ste 140                      Folsom, CA 95630                                                                                                                                                                                                First -Class Mail
The Soundcoat                                                 Attn: Taryn Call                             16901 Armstrong Ave                                      Irvine, CA 92606                                                                          Tcall@soundcoat.com                                          EmailFirst-Class Mail
The Soundcoat Company                                         18901 Armstrong Ave                          Irvine, CA 92606                                                                                                                                                                                                First -Class Mail
The Soundcoat, Inc                                            1 Scarsdale Rd                               Tuckahoe, NY 10707                                                                                                                                                                                              First -Class Mail
The Spencer Thomas Group LLC                                  1 Falkland Pl, Ste 2                         Portsmouth, NH 03801-3977                                                                                                                                                                                       First -Class Mail
The St Louis Mat & Linen Co                                   2122 Salisbury St                            St Louis, MO 63107-3126                                                                                                                                                                                         First -Class Mail
The Standard                                                  1100 SW 6th Ave                              Portland, OR 97204                                                                                                                                                                                              First -Class Mail
The Standard Insurance Co                                     900 Sw Fifth Ave                             Portland, OR 97204-1282                                                                                                                                                                                         First -Class Mail
The State University of New York (Suny)                       State University Plaza                       Albany, NY 12246                                                                                                                                                                                                First -Class Mail
The State University of New York (SUNY)                       353 Broadway                                 Albany, NY 12246                                                                                                                                                                                                First -Class Mail
The State University of New York (SUNY)                       State University Plz                         Albany, NY 12246                                                                                                                                                                                                First -Class Mail
The Stutz Co                                                  4450 W Carroll Ave                           Chicago, IL 60624-1602                                                                                                                                                                                          First -Class Mail
The Summit Group                                              c/o The Summit Group Holdings LLC            13660 Gurney Path                                        St Paul, MN 55124-7398                                                                                                                                 First -Class Mail
The Surgical Co Sas                                           26 Rue De La Montée                          Flaxlanden, 68720                                        France                                                                                                                                                 First -Class Mail
The Surgical Company Holding BV                               Terminalweg 19 A                             3821 AJ Amersfoort                                       Netherlands                                                                                                                                            First -Class Mail
The Surgical Company Sas                                      fka Sebac Adhesia                            26, Rue de la Montee                                     Flaxlanden, 68720                   France                                                                                                             First -Class Mail
The Surgical Company SAS                                      fka Sebac Adhesia                            Beeldschermweg 6F                                        3821 AH Amersfoort                  The Netherlands                                                                                                    First -Class Mail
The Surgical Company SAS                                      fka Sebac Adhesia                            Sebac Adhesia                                            26, Rue de la Montee                Flaxlanden, 68720                    France                                                                        First -Class Mail
The Swedish School of                                         Sport & Health Sciences Gih                  Lidingovagen 1                                           Stocklom, 11433                     Sweden                                                                                                             First -Class Mail
The Syverson Group LLC                                        5665 Atlanta Hwy, Ste 102B-335               Alpharetta, GA 30004-3959                                                                                                                                                                                       First -Class Mail
The Tapemark Company                                          1685 Marthaler Lane                          W St Paul, MN 55118                                                                                                                                                                                             First -Class Mail
The Tapemark Company                                          1685 Marthaler Ln                            St Paul, MN 55118                                                                                                                                                                                               First -Class Mail
The Technology Partnership Plc                                Melbourn Science Park                        Royston Hertfordshite, HT SG8 6EE                        United Kingdom                                                                                                                                         First -Class Mail
The Technology Partnership, A Uk LP                           Melbourn Science Park                        Melbourn SG8 6EE                                         United Kingdom                                                                                                                                         First -Class Mail
The Timken (Mpb Corp)                                         7 Optical Ave                                Keene, NH 03431                                                                                                                                                                                                 First -Class Mail
The Timken Co                                                 Attn: Dax Kessler                            7 Optical Ave                                            Keene, NH 03431                                                                           dax.kessler@timken.com                                       EmailFirst-Class Mail
The Trustees of Indiana University                            Office of Clinical Research                  410 W 10th St, Ste 100                                   Indianapolis, IN 46202                                                                                                                                 First -Class Mail
The Trustees of Indiana University                            501 Indiana Ave, Ste 100                     Indianapolis, IN 46202                                                                                                                                                                                          First -Class Mail
The Trustees of Indiana University                            Office of Clinical Research                  410 W 10th St, Ste 1000                                  Indianapolis, IN 46202                                                                                                                                 First -Class Mail
The University of Chicago Medical C                           c/o The University of Chicago Medicine       150 Harvester Dr, Ste 300                                Burr Ridge, IL 60527-5965                                                                                                                              First -Class Mail
The University of Iowa                                        Purchasing Dept                              202 PCO                                                  Iowa City, IA 53342-2500                                                                                                                               First -Class Mail
The University of Texas                                       Medical Branch at Galveston                  301 University Blvd                                      Galveston, TX 77555                                                                                                                                    First -Class Mail
The University of Texas Health                                c/o Science Center of Houston                6431 Fannin St                                           Houston, TX 77030-1501                                                                                                                                 First -Class Mail
The University of Texas Health Center of Houston              6431 Fannin St, Msb 5020                     Houston, TX 77030-1501                                                                                                                                                                                          First -Class Mail
The University of Texas Medical Branch At Galveston           301 Univ Blvd                                Galveston, TX 77555                                                                                                                                                                                             First -Class Mail
The University of Texas Southwestern Medical Center           5323 Harry Hinesblvd                         Dallas, TX 75390                                                                                                                                                                                                First -Class Mail
The US Dept of Health & Human Services                        200 Independence Ave SW                      Washington, DC 20201                                                                                                                                                                                            First -Class Mail
The Walchli Tauber Group Inc                                  2225 Old Emmorton Rd, Ste 201                Bel Air, MD 21015-6123                                                                                                                                                                                          First -Class Mail
The Washington Hospital Center                                Medlantic Healthcare Group                   110 Irving St NW                                         Washington, DC 20010-3017                                                                                                                              First -Class Mail
The West Group                                                Attn: Darryl Osborne                         29 Aston Rd                                              Waterlooville, Portsmouth PO138ED   United Kingdom                                                                                                     First -Class Mail
The West Group                                                29 Aston Road                                Waterlooville, Portsmouth PO138ED                        United Kingdom                                                                                                                                         First -Class Mail
The West Group Ltd                                            Attn: Darryl Osborne                         29 Aston Rd                                              Waterlooville, Portsmouth PO138ED   United Kingdom                                        DOsborne@westgroup.co.uk                                     First -Class Mail
The Westin Dragonara - Malta                                  Dragonara Road                               St Julian's STJ3143                                      Malta                                                                                                                                                  First -Class Mail
The Westin San Diego                                          Gaslamp Quarter                              910 Broadway Cir                                         San Diego, CA 92101                                                                                                                                    First -Class Mail
The Write Source Msc LLC                                      601 River Rd                                 Wilmington, DE 19809-2734                                                                                                                                                                                       First -Class Mail
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The Write Source Msc, LLC                                     601 River Road                              Wilmington, DE 19809                                                                                                                                          First -Class Mail
The Write Source Msc, LLC                                     601 River Rd                                Wilmington, DE 19809                                                                                                                                          First -Class Mail
Theodore Duong                                                Address Redacted                                                                                                                                                                                          First -Class Mail
Theramed Ag                                                   Sagihof 7                                   Adligenswil, Lucerne 6043                          Switzerland                                                                                                First -Class Mail
Theramed ag                                                   Sagihof 7                                   6043 Adligenswil                                   Switzerland                                                                                                First -Class Mail
Theramed ag                                                   Sagihof 7                                   CH-6043 Adligenswil                                Switzerland                                                                                                First -Class Mail
Theresa Mistretta                                                                                                                                                                                                           tmistretta@potteranderson.com               Email
Therma LLC                                                    c/o Therma Holdings LLC                     26812 Vista Ter                                    Lake Forest, CA 92630-8115                                                                                 First -Class Mail
Therma LLC                                                    26812 Vista Ter                             Lake Forest, CA 92630                                                                                                                                         First -Class Mail
Thermal Care                                                  Dept 430                                    P.O. Box 644537                                    Pittsburgh, PA 15264-4537                                                                                  First -Class Mail
Thermal Care Inc                                              5680 W Jarvis Ave                           Niles, IL 60714-4016                                                                                                                                          First -Class Mail
Thermal Resource Sales Inc                                    721 Park Centre Dr, Ste A                   Kernersville, NC 27284-3895                                                                                                                                   First -Class Mail
Thermal Resource Sales Inc                                    600 Airport Blvd, Ste 1400                  Morrisville, NC 27560-9138                                                                                                                                    First -Class Mail
Thermech Corp                                                 Dept LA 22927                               Pasadena, CA 91185-0001                                                                                                                                       First -Class Mail
Thermech Corp                                                 1773 W Lincoln Ave, Unit 1                  Anaheim, CA 92801-6769                                                                                                                                        First -Class Mail
Thermex Thermatron Systems LLC                                10501 Bunsen Way, Ste 102                   Louisville, KY 40299-2563                                                                                                                                     First -Class Mail
Thermex Thermatron, LP                                        10501 Bunsen Way, Ste 102                   Louisville, KY 40299                                                                                                                                          First -Class Mail
Thermex-Thermatron Systems, LLC                               10501 Bunsen Way, Ste 102                   Louisville, KY 40299                                                                                                                                          First -Class Mail
Thermo Asset Management Services In                           120 Bishops Way, Ste 100                    Brookfield, WI 53005-6214                                                                                                                                     First -Class Mail
Thermo Asset Mgmt Svcs                                        32776 Collection Center Dr                  Chicago, IL 60693-0327                                                                                                                                        First -Class Mail
Thermo Cool Corp                                              1370 Tully Rd, Ste 506                      San Jose, CA 95122                                                                                                                                            First -Class Mail
Thermo Cool Corp                                              1370 Tully Rd, Ste 506                      San Jose, CA 95122-3056                                                                                                                                       First -Class Mail
Thermo Electron North America LLC                             Attn: Order Management                      5225 Verona Rd                                     Madison, WI 53711                                              usmadorderprocessing@thermofisher.com       EmailFirst-Class Mail
Thermo Environmental Instruments                              In Subsidiary of Thermo Fisher Scienti      27 Forge Pkwy                                      Franklin, MA 02038-3135                                                                                    First -Class Mail
Thermo Environmental Instruments In                           c/o Subsidiary of Thermo Fisher Scienti     P.O. Box 712099                                    Cincinnati, OH 45271-0001                                                                                  First -Class Mail
Thermo Heating Elements LLC                                   273 Langston Rd                             Piedmont, SC 29673-8236                                                                                                                                       First -Class Mail
Therm-O Namel Inc                                             Attn: Grant Kinsman                         2780 Martin Luther King Jr Blvd                    Lynwood, CA 90262                                              gkinsman@therm-o-namel.com                  EmailFirst-Class Mail
Therm-O-Namel Inc                                             2780 E Martin Luther King Blvd              Lynwood, CA 90262                                                                                                                                             First -Class Mail
Therm-O-Namel, Inc                                            Attn: Grant Kinsman                         2780 Martin Luther King Jr Blvd                    Lynwood, CA 90262                                                                                          First -Class Mail
Thermoteknix Systems Ltd                                      Teknix House 2 Pembroke Ave                 Cambridge, CB25 9QR                                United Kingdom                                                                                             First -Class Mail
Thieme Co                                                     Attn: Nino Mastrolonardo                    3605 Swenson Ave                                   St Charles, IL 60174                                           nm@thieme-us.com                            EmailFirst-Class Mail
Thieme Corp                                                   Attn: Nino Mastrolonardo                    3605 Swenson Ave                                   St Charles, IL 60174                                                                                       First -Class Mail
Thieme Corp                                                   3605 Swenson Ave                            St Charles, IL 60174                                                                                                                                          First -Class Mail
Thinkg Consulting LLC                                         4263 Oceanside Blvd, Ste 106                Oceanside, CA 92056                                                                                                                                           First -Class Mail
Thinkg Consulting LLC                                         4263 Oceanside Blvd, Ste 106                PMB 108                                            Ocenside, CA 92056                                                                                         First -Class Mail
Thinkreliability                                              P.O. Box 301252                             Houston, TX 77230-1252                                                                                                                                        First -Class Mail
Thinkreliability                                              c/o Novem Inc                               2225 County Rd 90, Ste 223                         Pearland, TX 77584-5111                                                                                    First -Class Mail
Thinksolutions Inc                                            601 Rte 206 N, Ste 26-401                   Hillsborough, NJ 08844-1521                                                                                                                                   First -Class Mail
Thinksolutions, Inc                                           601 Route 206 North, Ste 26-401             Hillsborough, NJ 08844                                                                                                                                        First -Class Mail
Third Pole, Inc                                               309 Waverley Oaks Road, Ste 404             Waltham, MA 02452                                                                                                                                             First -Class Mail
Tho Cao                                                       Address Redacted                                                                                                                                                                                          First -Class Mail
Thomas Block                                                  Address Redacted                                                                                                                                                                                          First -Class Mail
Thomas D Berlin                                               Address Redacted                                                                                                                                                                                          First -Class Mail
Thomas Edward Dillingham                                      Address Redacted                                                                                                                                                                                          First -Class Mail
Thomas Engineering Co                                         7024 Northland Dr N                         Minneapolis, MN 55428-1503                                                                                                                                    First -Class Mail
Thomas Ferris                                                 Address Redacted                                                                                                                                                                                          First -Class Mail
Thomas Gallagher                                              Address Redacted                                                                                                                                                                                          First -Class Mail
Thomas J Cahill Jr                                            Address Redacted                                                                                                                                                                                          First -Class Mail
Thomas J Gresham                                              Address Redacted                                                                                                                                                                                          First -Class Mail
Thomas Jefferson University Hospital                          Attn: Business Office                       111 S 11th St                                      Philadelphia, PA 19107                                                                                     First -Class Mail
Thomas Jefferson University Hospital Systems                  130 South 9th St                            Edison Bldg, 18th Fl                               Philadelphia, PA 19107                                                                                     First -Class Mail
Thomas Medical Inc                                            c/o Catheter Research Inc                   P.O. Box 1627                                      Indianapolis, IN 46206-1627                                                                                First -Class Mail
Thomas Meditz                                                 Address Redacted                                                                                                                                                                                          First -Class Mail
Thomas Petty                                                  Address Redacted                                                                                                                                                                                          First -Class Mail
Thomas Richard Dodd                                           Address Redacted                                                                                                                                                                                          First -Class Mail
Thomson Reuters                                               610 Opperman Drive                          St Paul, MN 55164                                                                                                                                             First -Class Mail
Thomson Reuters Enterprise Centre Gmbh                        Landi & Gyr-Strasse 3                       6300 Zug                                           Switzerland                                                                                                First -Class Mail
Thomson Reuters Enterprise Centre GmbH                        Landis + Gyr-Strasse 3                      6300 Zug                                           Switzerland                                                                                                First -Class Mail
Thoracic Surgery Directors Associat                           c/o Tsda                                    633 N St Clair St, Ste 2320                        Chicago, IL 60611-9629                                                                                     First -Class Mail
Thoracic Surgery Institute of South                           Attn: Michigan: Tammy L Gleeson             2845 Capital Ave SW, Ste 115                       Battle Creek, MI 49015-4186                                                                                First -Class Mail
Thorasys Thoracic Medical Systems Inc                         6560 Esplanade Ave, Apt 103                 Montreal, QC H2V 4L5                               Canada                                                                                                     First -Class Mail
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Thoraysy Thoracic Medical Sytems Inc                          6560 De Esplanade, Ste 103                  Montreal, QC H2V 4L5                               Canada                                                                                                     First -Class Mail
Thoreson Mccosh Inc                                           1885 Thunderbird                            Troy, MI 48084-5402                                                                                                                                           First -Class Mail
Thornton Tomasetti Inc                                        2350 Mission College Blvd, Ste 340          Santa Clara, CA 95054-1533                                                                                                                                    First -Class Mail
Thornton Tomasetti, Applied Science Life Sciences Division    Silicon Valley Office                       2350 Mission College Blvd, Ste 340                 Santa Clara, CA 95054                                                                                      First -Class Mail
Thornton Tomasetti, Inc                                       2350 Mission College Blvd, Ste 340          Santa Clara, CA 95054                                                                                                                                         First -Class Mail
Thoro Packaging                                               1467 Davril Cir                             Corona, CA 92880-6957                                                                                                                                         First -Class Mail
Three Rivers Medical Center                                   500 Sw Ramsey Ave Receiving                 Grants Pass, OR 97527                                                                                                                                         First -Class Mail
Thurson D Wood                                                Address Redacted                                                                                                                                                                                          First -Class Mail
Thurston County Treasurer                                     2000 Lakeridge Dr SW                        Olympia, WA 98502-6001                                                                                                                                        First -Class Mail
Thwing-Albert Instrument Co                                   14 W Collings Ave                           W Berlin, NJ 08091-9134                                                                                                                                       First -Class Mail
TIAA CREF Investment Svcs                                     P.O. Box 1259                               Charlotte, NC 28201                                                                                                                                           First -Class Mail
TICIC Sub LLC                                                 c/o The Irvine Co LLC                       P.O. Box 847013                                    Los Angeles, CA 90084-7013                                     JMaxwell@irvinecompany.com                  EmailFirst-Class Mail
Ticic Sub LLC                                                 P.O. Box 847013                             Los Angeles, CA 90084-7013                                                                                                                                    First -Class Mail
Ticic Sub LLC                                                 c/o The Irvine Co LLC                       P.O. Box 847013                                    Los Angeles, CA 90084-7013                                                                                 First -Class Mail
Tidalhealth Nanticoke Inc                                     801 Middleford Rd                           Seaford, DE 19973                                                                                                                                             First -Class Mail
Tidewater Phys Multispclty Grp                                1302 Lee St Ste C                           W Point, VA 23181                                                                                                                                             First -Class Mail
Tidewater Physicians Multispecialty Group, PC                 860 Omni Boulevard, Ste 401                 Newport News, VA 23606                                                                                                                                        First -Class Mail
Tidewater Physicians Multispecialty Group, PC                 2115 Executive Dr                           Hampton, VA 23666                                                                                                                                             First -Class Mail
Tidewater Physicians Multispecialty Group, PC                 860 Omni Blvd, Ste 401                      Newport News, VA 23606                                                                                                                                        First -Class Mail
TIDI Products LLC                                             P.O. Box 776290                             Chicago, IL 60677-6290                                                                                                                                        First -Class Mail
Tierpoint, LLC                                                12444 Powerscourt Dr, Ste 450               St Louis, MO 63131                                                                                                                                            First -Class Mail
Tiffany Flores                                                Address Redacted                                                                                                                                                                                          First -Class Mail
Tiffany Frink                                                 Address Redacted                                                                                                                                                                                          First -Class Mail
Tiffany Matarazzo                                             Address Redacted                                                                                                                                                                                          First -Class Mail
Tiffany Stedman                                               Address Redacted                                                                                                                                                                                          First -Class Mail
Timesco Healthcare Ltd                                        3 Carnival Park Basildon                    Essex SS14 3WN                                     United Kingdom                                                                                             First -Class Mail
Timik A/S                                                     Brynsveien 16                               Oslo, 0667                                         Norway                                                                                                     First -Class Mail
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Timik Group AB                                                Fka Verivita                                Hammarbacken 4A                                    Sollentuna, 19149                  Sweden                                                                  First -Class Mail
Timothy A Mcbroom                                             Address Redacted                                                                                                                                                                                          First -Class Mail
Timothy Bryan Roe                                             Address Redacted                                                                                                                                                                                          First -Class Mail
Timothy Mitchell Socia                                        Address Redacted                                                                                                                                                                                          First -Class Mail
Timothy Ross Ardolino                                         Address Redacted                                                                                                                                                                                          First -Class Mail
Tina M Lovings                                                Address Redacted                                                                                                                                                                                          First -Class Mail
Tina M Quintana                                               Address Redacted                                                                                                                                                                                          First -Class Mail
Ting Huang                                                    Address Redacted                                                                                                                                                                                          First -Class Mail
Tishomingo Health Services Inc                                296 Hwy 72                                  Burnsville, MS 38833                                                                                                                                          First -Class Mail
TJ Samson Community Hospital                                  1330 N Race St                              Glasgow, KY 42141                                                                                                                                             First -Class Mail
Tjw, Inc                                                      Dba Scs Cases                               457 Coventry Lane                                  Crystal Lake, IL 60014                                                                                     First -Class Mail
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Tkb Medical Ag                                                12 Ledergasse                               Luzern, 6004                                       Switzerland                                                                                                First -Class Mail
TKD Properties LLC                                            103 Stiles Rd, Ste 203                      Salem, NH 03079-4849                                                                                                                                          First -Class Mail
Tmf Group BV                                                  Herikerbergweg 238, 1101 Cm                 Amsterdam                                          Netherlands                                                                                                First -Class Mail
T-Mobile USA, Inc                                             12920 SE 38th St                            Bellevue, WA 98006                                                                                                                                            First -Class Mail
Tn Americas                                                   200 Pendley Rd                              Cumming, GA 30041                                                                                                                                             First -Class Mail
Toan Luong                                                    Address Redacted                                                                                                                                                                                          First -Class Mail
Tokibo (Shanghai) Trading Co Ltd                              Fka Tokibo Company Hong Kong Ltd - Imt      17A - B Modern Mansion 218 Xiang Yang Rd S         Shanghai                           China                                                                   First -Class Mail
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Toledo Clinic, Inc                                            4235 Secor Road                             Toledo, OH 43623                                                                                                                                              First -Class Mail
Toluna USA Inc                                                24804 Network Pl                            Chicago, IL 60678-1248                                                                                                                                        First -Class Mail
Toluna Usa Inc                                                21 River Rd, Ste 2000                       Wilton, CT 06897-4153                                                                                                                                         First -Class Mail
Tom Black Service Center                                      3960 Prospect Ave, Ste F                    Yorba Linda, CA 92886-1775                                                                                                                                    First -Class Mail
Tommy Ung                                                     Address Redacted                                                                                                                                                                                          First -Class Mail
Top Dawg Group LLC                                            220 Eastview Dr, Ste 103                    Brooklyn Heights, OH 44131-1039                                                                                                                               First -Class Mail
Topocean Group                                                2727 Workman Mill Rd                        City Of Industry, CA 90601                                                                                                                                    First -Class Mail
Tops Software Corp                                            1301 Central Expy S, Ste 200                Allen, TX 75013-8090                                                                                                                                          First -Class Mail
Topstec                                                       First Riverside Building F9                 Wenzhou, 130 325604                                China                                                                                                      First -Class Mail
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Torys Llp                                                     79 Wellington St W, 30th Floor              Box 270, TD South Tower                            Toronto, ON M5K 1N2                Canada                                                                  First -Class Mail
Toshiba Machine Co America                                    Dept CH 16523                               Palatine, IL 60055-0001                                                                                                                                       First -Class Mail
Toshiba Machine Co America                                    1440 Balboa Ave                             Ontario, CA 91761-7609                                                                                                                                        First -Class Mail
Total Diagnostic Radiology Services                           P.O. Box 7925                               Sarasota, FL 34278-7925                                                                                                                                       First -Class Mail
Total Parts Plus                                              70 Ready Ave                                Ft Walton Beach, FL 32548                                                                                                                                     First -Class Mail
Total Parts Plus Inc                                          70 Ready Ave NW                             Fort Walton Beach, FL 32548-3857                                                                                                                              First -Class Mail
Total Parts Plus, Inc                                         Attn: Peter Robinson                        709 Anchors St                                     Ft Walton Beach, FL 32548                                      peter.robinson@totalpartsplus.com           EmailFirst-Class Mail
Total Works                                                   Attn: Louise Pauly                          2222 N Elston Ave                                  Chicago, IL 60614                                              Louise@totalworks.com                       EmailFirst-Class Mail
Totally Wired                                                 Attn: Guy Warday                            P.O. Box 3091                                      Laguna Hills, CA 92654                                                                                     First -Class Mail
Totalworks Inc                                                2240 N Elston Ave                           Chicago, IL 60614-2906                                                                                                                                        First -Class Mail
Totex Manufacturing                                           Attn: Lydia Chang                           2927 Lomita Blvd                                   Torrance, CA 90505                                             lchang@totexmfg.com                         EmailFirst-Class Mail
Totex Manufacturing                                           3050 Lomita Blvd                            Torrance, CA 90505                                                                                                                                            First -Class Mail
Totex Manufacturing                                           Attn: Lydia Chang                           2927 Lomita Blvd                                   Torrance, CA 90505                                                                                         First -Class Mail
Town & Country Hardware                                       Attn: Daniel W Lackey                       P.O. Box 805                                       Mannford, OK 74044-0805                                                                                    First -Class Mail
Town of Ayer                                                  P.O. Box 811                                Reading, MA 01867-0406                                                                                                                                        First -Class Mail
Town of Barnstable                                            P.O. Box 742                                Reading, MA 01867-0405                                                                                                                                        First -Class Mail
Town of Boothbay Harbor                                       Attn: Tax Collector                         11 Howard St                                       Boothbay Harbor, ME 04538-1819                                                                             First -Class Mail
Town of Bourne                                                P.O. Box 862                                Reading, MA 01867-0407                                                                                                                                        First -Class Mail
Town of Bridgton                                              3 Chase St, Ste 1                           Bridgton, ME 04009-1266                                                                                                                                       First -Class Mail
Town of Castle Rock                                           100 N Wilcox St                             Castle Rock, CO 80104                                                                                                                                         First -Class Mail
Town of Chelsea                                               560 Togus Rd                                Chelsea, ME 04330-1272                                                                                                                                        First -Class Mail
Town of Elkton                                                P.O. Box 157                                Elkton, MD 21922-0157                                                                                                                                         First -Class Mail
Town of Falmouth                                              P.O. Box 761                                Reading, MA 01867-0405                                                                                                                                        First -Class Mail
Town of Frisco                                                P.O. Box 4100                               Frisco, CO 80443-4100                                                                                                                                         First -Class Mail
Town of Gypsum                                                P.O. Box 130                                Gypsum, CO 81637-0130                                                                                                                                         First -Class Mail
Town of Hilton Head Island                                    1 Town Center Ct                            Hilton Head Island, SC 29928-2701                                                                                                                             First -Class Mail
Town of Madawaska                                             328 St Thomas St, Ste 101                   Madawaska, ME 04756-1242                                                                                                                                      First -Class Mail
Town of Nutter Fort                                           1415 Buckhannon Pike                        Clarksburg, WV 26301-4407                                                                                                                                     First -Class Mail
Town of Pineville                                             P.O. Box 249                                Pineville, NC 28134-0249                                                                                                                                      First -Class Mail
Town of Summerville                                           200 S Main St                               Summerville, SC 29483-6010                                                                                                                                    First -Class Mail
Town of Wake Forest                                           Finance Dept A/R                            301 S Brooks St                                    Wake Forest, NC 27587-2901                                                                                 First -Class Mail
Town of West Springfield                                      26 Central St, Ste 9                        W Springfield, MA 01089-2752                                                                                                                                  First -Class Mail
Town of Weymouth                                              P.O. Box 9257                               Chelsea, MA 02150-9257                                                                                                                                        First -Class Mail
Toxikon Corp                                                  15 & 25 Wiggins Ave                         Bedord, MA 01730                                                                                                                                              First -Class Mail
Toxikon Corp                                                  15 Wiggins Ave                              Bedford, MA 01730-2314                                                                                                                                        First -Class Mail
Toyota Motor Engineering & Manufacturing North America, Inc   6565 Headquarters Drive                     Plano, TX 75024                                                                                                                                               First -Class Mail
Toyota Motor North America, Inc                               6565 Headquarters Drive                     Plano, TX 75024                                                                                                                                               First -Class Mail
Toyotalift Inc                                                P.O. Box 710280                             Santee, CA 92071                                                                                                                                              First -Class Mail
TPI Arcade                                                    Attn: Dave Brown                            7888 Rte 98                                        Arcade, NY 14009                                               dbrown@tpicast.com; qcmanager@tpicast.com   EmailFirst-Class Mail
TPI Custom Solutions                                          aka Travel Products                         Attn: Joseph Kahl                                  13828 Lincoln St NE                Ham Lake, MN 55304          jkahl@tpicustomsolutions.com                EmailFirst-Class Mail
Trace Medical                                                 P.O. Box 1257                               Brighton, MI 48116                                                                                                                                            First -Class Mail
Traceable Live                                                Attn: Melissa Cadajas                       Control Co/Traceable Live                          12554 Old Galveston Rd, Ste B230   Webster, TX 77598           Melissa.cadajas@antylia.com                 EmailFirst-Class Mail
Tracey Straker                                                Address Redacted                                                                                                                                                                                          First -Class Mail
Tracy A Cook                                                  Address Redacted                                                                                                                                                                                          First -Class Mail
Trade Credit (Aig)                                            1271 6th Ave, Ste 41                        New York, NY 10020                                                                                                                                            First -Class Mail
Trade Technologies                                            Attn: Mark Bartos                           3939 Bee Cave Rd, Ste B-22                         Austin, TX 78746                                               mbartos@tradetechnologies.com               EmailFirst-Class Mail
Trade Technologies Inc                                        3939 Bee Cave Rd, Ste B22                   Austin, TX 78746-6452                                                                                                                                         First -Class Mail
Trade Technologies, Inc                                       4601 Spicewood Springs Rd, Ste 3-100        Austin, TX 78759                                                                                                                                              First -Class Mail
Trademark Plastics Inc                                        Attn: Rafael Ibarra                         807 Palmyrita Ct                                   Riverside, CA 92507                                            RIbarra@trademarkplastics.com               EmailFirst-Class Mail
Trademark Plastics Inc                                        Attn: Rafael Ibarra                         807 Palmyrita Ct                                   Riverside, CA 92507                                                                                        First -Class Mail
Tradintek Sia                                                 Citadeles str 2, 606 Office                 Riga, 1010                                         Latvia                                                                                                     First -Class Mail
Tradintek Sia                                                 Citadeles St 2                              Riga, 1010                                         Latvia                                                                                                     First -Class Mail
Tradintek SIA                                                 Citadeles St 2-606                          Riga, LV1010                                       Latvia                                                                                                     First -Class Mail
Tradintek Uab                                                 Jasniskio 9                                 Vilnus, LT-01111                                   Lithuania                                                                                                  First -Class Mail
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Tradintek UAB                                                 Jasniskio 9                                 LT-01111, Vilnus                                   Lithuania                                                                                                  First -Class Mail
Trailerbridge                                                 10405 New Berlin Rd E                       Jacksonville, FL 32226                                                                                                                                        First -Class Mail
Trajuca Logistics S De Rl De Cv                               Av JatIl S/N                                Mexicali, BC 21385                                 Mexico                                                                                                     First -Class Mail
Tran, Michael Crna                                            1800 Orleans St                             Baltimore, MD 21287                                                                                                                                           First -Class Mail
Trans Audit, Inc                                              11 Marshall Road, Ste 2D                    Wappingers Falls, NY 12590                                                                                                                                    First -Class Mail
Trans Health Care India Private Limited                       Ap-740, 15th Sector, 95th St                K K Nagar, Chennai                                 Tamil Nadu 600078                  India                                                                   First -Class Mail
Trans Health Care India Private Limited                       AP 740, 95th St, 15th Sector                KK Nagar, Chennai                                  600 780                            India                                                                   First -Class Mail
Trans Health Care India Private Ltd                           Ap 740, 95th St, 15th Sector                KK Nagar Chennai 600078                            India                                                                                                      First -Class Mail
Trans Health Care India Private Ltd                           Ap 740, 95th St, 15th Sector                KK Nagar, Chennai 600 780                          India                                                                                                      First -Class Mail
Trans Med Inc                                                 31 Progress Ave                             Tyngsboro, MA 01879-1436                                                                                                                                      First -Class Mail
Trans Tech America                                            P.O. Box 95327                              Chicago, IL 60694-5327                                                                                                                                        First -Class Mail
Trans4Mation, Inc                                             55 West Delaware, Ste 221                   Chicago, IL 60610                                                                                                                                             First -Class Mail
Transcat Inc                                                  35 Vantage Point Dr                         Rochester, NY 14624-1142                                                                                                                                      First -Class Mail
Transcore Taiwan Co Ltd                                       4F, No 437, Rui Guang Rd                    NeiHu District, Taipei City                        Taiwan                                                                                                     First -Class Mail
Transcore Taiwan Co Ltd                                       Xintai 5th Rd, Xizhi Dist                   New Taipei City, 221416                            Taiwan                                                                                                     First -Class Mail
Transcore Taiwan Co Ltd                                       Fl 4, No437, Ruiguang Rd                    Neihu Dist Taipei City, 114                        Taiwan                                                                                                     First -Class Mail
Transitions Institute Inc                                     6319 Mill Point Dr                          Dallas, TX 75248-1337                                                                                                                                         First -Class Mail
Transperfect (Uk)                                             1St Floor                                   33 Aldgate High St                                 London EC3N 1AT                    United Kingdom                                                          First -Class Mail
Transperfect Global Inc                                       3 Park Ave, 39th Fl                         New York, NY 10016                                                                                                                                            First -Class Mail
Transperfect International LLC                                American International Plaza                250 Av Luis Munoz Rivera                           San Juan, PR 00918                                                                                         First -Class Mail
Transperfect Translations                                     3 Park Ave, 4th Fl                          New York, NY 10016-5934                                                                                                                                       First -Class Mail
Transperfect Translations Int'l Inc                           3 Park Ave, 4th Fl                          New York, NY 10016-5934                                                                                                                                       First -Class Mail
Transplace Texas, LP                                          3010 Gaylord Parkway, Ste 200               Frisco, TX 75034                                                                                                                                              First -Class Mail
Transportation Compliance Associates Inc                      Attn: Stacey Cope                           1340 Rte 30                                        Clinton, PA 15026                                              Stacey.cope@hazmat-1.com                    EmailFirst-Class Mail
Transportation Compliance Association Inc                     1340 Rte 30                                 Clinton, PA 15026-1732                                                                                                                                        First -Class Mail
Transportes Comandos De Norte, SA De CV                       P.O. Box 249                                Calexico, CA 92232                                                                                                                                            First -Class Mail
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Transportes Mexico California S De                            c/o Rl De Cv                                Federico Benitez 6 La Cienega                      Baja California, BC 22120          Mexico                                                                  First -Class Mail
Transpro Logistics, Inc                                       7900 Triad Center Drive, Ste 124            Greensboro, NC 27409                                                                                                                                          First -Class Mail
Transvironmental Solutions                                    2405 Sandpiper Ln                           Brea, CA 92821                                                                                                    tvs4cj@gamil.com                            EmailFirst-Class Mail
Tranzplus Engineering (S) PteLtd                              65 Tuas Ave 1                               Singapore 639508                                   Singapore                                                                                                  First -Class Mail
Travel Products Inc                                           2401 49th Ave N                             Minneapolis, MN 55430                                                                                                                                         First -Class Mail
Travers Tool                                                  12815 26th Ave                              Flushing, NY 11354                                                                                                credit@travers.com                          EmailFirst-Class Mail
Travis R Gregrich                                             Address Redacted                                                                                                                                                                                          First -Class Mail
Trc Staffing Services                                         P.O. Box 468389                             Atlanta, GA 31146-8389                                                                                                                                        First -Class Mail
Treasure lord                                                 aka Scott P Murphy                          10493 Isleworth Ave                                San Diego, CA 92126                                                                                        First -Class Mail
Treasurer-State of NH                                         121 S Fruit St                              Concord, NH 03301                                                                                                                                             First -Class Mail
Treasurer-State of NJ                                         135 E State St                              Trenton, NJ 08608                                                                                                                                             First -Class Mail
Trelleborg Sealing Solutions Us Inc                           1100 Xenium Lane                            N Plymouth, MN 55441                                                                                                                                          First -Class Mail
Trelleborg Sealing Solutions US Inc                           c/o Trelleborg Sealing Solutions Delano     740 7th St S                                       Delano, MN 55328-8607                                                                                      First -Class Mail
Trelleborg Sealing Solutions Us Inc                           c/o Trelleborg Healthcare & Medical         1550 Utica Ave S, Ste 555                          St Louis Park, MN 55416-3693                                                                               First -Class Mail
Trend Technologies                                            P.O. Box 515001                             Los Angeles, CA 90051-5001                                                                                                                                    First -Class Mail
Trend Technologies                                            4626 Eucalyptus Ave                         Chino, CA 91710-9215                                                                                                                                          First -Class Mail
Trend Technologies LLC                                        4626 Eucalyptus Ave                         Chino, CA 91710                                                                                                                                               First -Class Mail
Trestle Medical                                               2503 Newman Ave                             Tustin, CA 92782-3303                                                                                                                                         First -Class Mail
Trevmed LLC                                                   4116 S 3rd St                               Jacksonville Beach, FL 32250-5833                                                                                                                             First -Class Mail
Tri City Medical Center                                       4002 Vista Way Receiving                    Oceanside, CA 92056                                                                                                                                           First -Class Mail
Tri County Hospital                                           450 W State Rte 22                          Tower Lakes, IL 60010                                                                                                                                         First -Class Mail
Tri State Equipment Co                                        1323 Dunn Rd                                St Louis, MO 63138-2038                                                                                                                                       First -Class Mail
Tri-Anim Health Services Inc                                  25197 Network Pl                            Chicago, IL 60673-1251                                                                                                                                        First -Class Mail
Tri-Anim Health Services Inc                                  13170 Telfair Ave                           Sylmar, CA 91342-3587                                                                                                                                         First -Class Mail
Tri-Anim Health Services, Inc                                 5000 Tuttle Crossing Blvd                   Dubline, OH 43106                                                                                                                                             First -Class Mail
Tricia Bordelon                                               Address Redacted                                                                                                                                                                                          First -Class Mail
Tricon                                                        Attn: Magaly Ceballos                       650 E D St                                         Wilmington, CA 90744                                                                                       First -Class Mail
Tricon Transportation                                         Attn: Magaly Ceballos                       650 E D St                                         Wilmington, CA 90744                                           magalyc@tricontrans.com                     EmailFirst-Class Mail
Tricon Transportation                                         Attn: Magaly Ceballos                       650 E D St                                         Wilmington, CA 90744                                                                                       First -Class Mail
Tricon Transportation Inc                                     650 E D St                                  Wilmington, CA 90744-6004                                                                                                                                     First -Class Mail
Tricon Transportation, Inc                                    P.O. Box 2230                               Wilmington, CA 90748-2230                                                                                                                                     First -Class Mail
Tricor Direct Inc                                             dba Seton Indentification Products          Attn: Devon Gronholm                               20 Thompson Rd                     Branford, CT 06405          devon_gronholm@setson.com                   EmailFirst-Class Mail
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Tridex Technology Ltd                                                                     4125 Whitaker Ave                                                           Philadelphia, PA 19124-4239                                                                                                                                                                                                        First -Class Mail
Trika Medical                                                                             18095 Us Highway 18 Ste B                                                   Apple Valley, CA 92307                                                                                                                                                                                                             First -Class Mail
Trillamed, LLC                                                                            30100 Telegraph Road                                                        Bingham Farms, MI 48025                                                                                                                                                                                                            First -Class Mail
TrillaMed, LLC                                                                            30100 Telegraph Rd                                                          Bingham Farms, MI 48025                                                                                                                                                                                                            First -Class Mail
TrillaMed, LLC                                                                            30100 Telegraph Rd, Ste 366                                                 Bingham Farms, MI 48025                                                                                                                                                                                                            First -Class Mail
Trilogiq Usa Corp                                                                         31805 Glendale St                                                           Livonia, MI 48150-1828                                                                                                                                                                                                             First -Class Mail
Trilogy Medical LLC                                                                       2095 Alcova Ridge Dr                                                        Las Vegas, NV 89135-1569                                                                                                                                                                                                           First -Class Mail
Trimedx Holdings, LLC                                                                     5451 Lakeview Pkwy S Dr                                                     Indianapolis, IN 46268                                                                                                                                                                                                             First -Class Mail
Trindent Consulting                                                                       1 Yonge St, Ste 1801                                                        Toronto, ON M5E 1W7                                  Canada                                                                                                                                                                        First -Class Mail
Trinitas Regional Medical Center                                                          225 Williamson St                                                           Elizabeth, NJ 07202                                                                                                                                                                                                                First -Class Mail
Trinity County Tax Office                                                                 P.O. Box 369                                                                Groveton, TX 75845-0369                                                                                                                                                                                                            First -Class Mail
Trinity Health (Holy Cross Health)                                                        20555 Victor Pkwy                                                           Livonia, MI 48152                                                                                                                                                                                                                  First -Class Mail
Trinity Health Corp                                                                       20555 Victor Pkwy                                                           Livonia, MI 48152                                                                                                                                                                                                                  First -Class Mail
Trinity Hospital Holding Co                                                               c/o Trinity Medical Center East                                             380 Summit Ave                                       Steubenville, OH 43952-2667                                                                                                                                                   First -Class Mail
Trinity Medical Devices Inc                                                               1 Pluckemin Way, Ste 101                                                    Bedminster, NJ 07921                                                                                                                                                                                                               First -Class Mail
Trinity Medical Devices Inc                                                               1 Pluckemin Way, Ste 101                                                    Bedminster, NJ 07921-1541                                                                                                                                                                                                          First -Class Mail
Trinseo, LLC                                                                              409 Ashman St, Ste 1                                                        Midland, MI 48640                                                                                                                                                                                                                  First -Class Mail
Tristar Event Media LLC                                                                   Attn: Jill Murray                                                           7285 W 132nd St, Ste 300                             Overland Park, KS 66213                                                                                     jmurray@tristarpub.com                                            EmailFirst-Class Mail
Tristar Plastics Corp                                                                     P.O. Box 3065                                                               Boston, MA 02241-3065                                                                                                                                                                                                              First -Class Mail
Tristar Plastics Corp                                                                     906 Boston Tpke                                                             Shrewsbury, MA 01545-3303                                                                                                                                                                                                          First -Class Mail
Tri-State CNC                                                                             Attn: John Haymaker                                                         258 Ohio Ave                                         Cincinnati, OH 45215                                                                                        J.haymaker@live.com                                               EmailFirst-Class Mail
Tropic Technologies, Inc                                                                  335 Madison Ave                                                             Floor 3                                              New York, NY 10173                                                                                                                                                            First -Class Mail
Troy Braden                                                                               Address Redacted                                                                                                                                                                                                                                                                                               First -Class Mail
Troy Lin Taylor                                                                           Address Redacted                                                                                                                                                                                                                                                                                               First -Class Mail
Tru Form Plastics                                                                         Attn: Maggie Shaw, Carlos Ballesteros                                       17809 S Broadway St                                  Gardena, CA 90248                                                                                           Mshaw@tru-formplastics.com; cballesteros@tru-formplastics.com     EmailFirst-Class Mail
Truc T Ho                                                                                 Address Redacted                                                                                                                                                                                                                                                                                               First -Class Mail
Trudeau Society of Los Angeles                                                            5858 Wilshire Blvd, Ste 300                                                 Los Angeles, CA 90036-4509                                                                                                                                                                                                         First -Class Mail
Trudell Healthcare Solutions inc                                                          Attn: Maria Rejak                                                           758 Baransway St                                     London, ON N5V 5J7                                   Canada                                                 Mrejak@tmml.com                                                   First -Class Mail
Trudell Healthcare Solutions Inc                                                          758 Baransway Drive                                                         London, ON N5V 5J7                                   Canada                                                                                                                                                                        First -Class Mail
Trudell Medical Marketing Ltd                                                             758 3rd St                                                                  London, ON N5V 5J7                                   Canada                                                                                                                                                                        First -Class Mail
Trudell Medical Marketing Ltd                                                             758 Third St                                                                London, ON N5V 5J7                                   Canada                                                                                                                                                                        First -Class Mail
True North Surgical Inc                                                                   19317 Lorna Ln                                                              Lake Oswego, OR 97035-8036                                                                                                                                                                                                         First -Class Mail
True Partners Consulting LLC                                                              225 West Wacker Drive, Ste 1600                                             Chicago, IL 60606                                                                                                                                                                                                                  First -Class Mail
True Partners Consulting LLC                                                              Attn: Accounts Receivable Departmen                                         225 W Wacker Dr, Ste 1600                            Chicago, IL 60606-2201                                                                                                                                                        First -Class Mail
True Partners Consulting LLC                                                              c/o True Partners Consulting Holdings L                                     350 N Orleans St, Ste 800                            Chicago, IL 60654-1529                                                                                                                                                        First -Class Mail
Truecare Engineering Oy                                                                   Saynavatie 14 A 4                                                           02170 ESPOO                                          United Kingdom                                                                                                                                                                First -Class Mail
Tru-Form Plastics Inc                                                                     Attn: Maggie Shaw, Carlos Ballesteros                                       17809 S Broadway St                                  Gardena, CA 90248                                                                                                                                                             First -Class Mail
Tru-Form Plastics Inc                                                                     17809 Broadway                                                              Gardena, CA 90248                                                                                                                                                                                                                  First -Class Mail
Truity Partners LLC                                                                       4807 Innovate Ln, Ste 145                                                   Madison, WI 53718-9400                                                                                                                                                                                                             First -Class Mail
Truity Partners LLC                                                                       4807 Innovate Lane, Ste 145                                                 Madison, WI 53718                                                                                                                                                                                                                  First -Class Mail
Tru-Kut                                                                                   1121 Spring St NW                                                           Atlanta, GA 30309-2805                                                                                                                                                                                                             First -Class Mail
Trung Nguyen                                                                              Address Redacted                                                                                                                                                                                                                                                                                               First -Class Mail
Trustess of the University of PA                                                          Penn Medicine Perelman School of Medicine                                   Attn: Elizabeth Butler                               3400 Civic Center Blvd, Bldg 421                     Jmec, Spe, 6th Fl             Philadelphia, PA 19104   ebutler@upenn.edu                                                 EmailFirst-Class Mail
Truven Health Analytics Inc                                                               777 E Eisenhower Pkwy                                                       Ann Arbor, MI 48108-3273                                                                                                                                                                                                           First -Class Mail
Truven Health Analytics LLC                                                               P.O. Box 71716                                                              Chicago, IL 60694-1716                                                                                                                                                                                                             First -Class Mail
Tryco Inc                                                                                 6736 Old McLean Village Dr                                                  Mclean, VA 22101                                                                                                                                                                                                                   First -Class Mail
TSI Inc                                                                                   Attn: Camay Blakely                                                         500 Cardigan Rd                                      Shoreview, MN 55126                                                                                         cblakey@tsi.com                                                   EmailFirst-Class Mail
TSI Inc                                                                                   500 Cardigan Rd                                                             Shoreview, MN 55126                                                                                                                                                                                                                First -Class Mail
TSL Enterprises Inc                                                                       c/o Lousal Enterprises                                                      3508 Buckingham Dr                                   Corinth, TX 76210-2190                                                                                                                                                        First -Class Mail
Tsl Enterprises, Inc Dba Lousal Enterprises                                               3508 Buckingham Dr                                                          Corinth, TX 76210                                                                                                                                                                                                                  First -Class Mail
TSS Americas Life Sciences                                                                fka Trelleborg Sealing Solutions                                            Attn: Matt Cole Brenda Anderson                      1550 Utica Ave S, Ste 555                            Minneapolis, MN 55416                                  Matt.Cole@trelleborg.com; brenda.anderson@trelleborg.com          EmailFirst-Class Mail
TSS Sensitive Freight                                                                     11B Greenhills Ave                                                          Moorebank, NSW 2170                                  Australia                                                                                                                                                                     First -Class Mail
T-Tape Company Bv                                                                         Putte, Bosweg 12                                                            Netherlands                                                                                                                                                                                                                        First -Class Mail
T-Tape Company BV                                                                         Bosweg 12                                                                   4645 RB Putte                                        The Netherlands                                                                                                                                                               First -Class Mail
T-Tape Company BV                                                                         Putte, Bosweg 12                                                            The Netherlands                                                                                                                                                                                                                    First -Class Mail
TTI INC                                                                                   Attn: Robby Gau, Lee West                                                   2441 Northeast Pkwy                                  Ft Worth, TX 76106                                                                                          Robby.Gau@ttiinc.com; Lee.West@ttiinc.com                         EmailFirst-Class Mail
TTI Inc                                                                                   5050 Mark Iv Pkwy                                                           Fort Worth, TX 76106-2219                                                                                                                                                                                                          First -Class Mail
Tti Inc                                                                                   5050 Mark Iv Pkwy                                                           Ft Worth, TX 76106-2219                                                                                                                                                                                                            First -Class Mail
TTL / Mayflower                                                                           4325 Etiwanda Ave, Ste A                                                    Mira Loma, CA 91752                                                                                                                                                                                                                First -Class Mail
Tuan Nguyen                                                                               Address Redacted                                                                                                                                                                                                                                                                                               First -Class Mail
Tuba City Regional Health Care                                                            167 Main St                                                                 Tuba City, AZ 86045                                                                                                                                                                                                                First -Class Mail
Tuebingen Scientific Medical Gmbh                                                         Dorfackerstr 26                                                             Tübingen, 72074                                      Germany                                                                                                                                                                       First -Class Mail
Tufts Medical Center Inc                                                                  c/o Box 817 Research Administration                                         800 Washington St                                    Boston, MA 02111-1552                                                                                                                                                         First -Class Mail
Tufts Medical Center inc                                                                  Attn: Fred Frankhauser                                                      800 Washington St                                    Boston, MA 02111                                                                                                                                                              First -Class Mail
Tung Hing Fung Chemicals (Shenzhen) Ltd                                                   No 113, Ground Floor                                                        Miyun Valley Creative Park                           No 12 Gezhen West Road                               Pinghu, Longgang District     Shenzhen, China                                                                            First -Class Mail
Turbine Broach Co                                                                         P.O. Box 280                                                                Holder, FL 34445                                                                                                                                                                                                                   First -Class Mail
Turbo Jet Products                                                                        5025 N Earle Ave                                                            Rosemead, CA 91770                                                                                                                                                                                                                 First -Class Mail
Tur-bo Jet Products Inc                                                                   Attn: Alonzo Caraza, Karla Sanchez                                          5025 N Earle Ave                                     Rosemead, CA 91770                                                                                          alonac@turbojetproducts.com; karla.sanchez@turbojetproducts.com   EmailFirst-Class Mail
Turbotech Machining LLC                                                                   Attn: Chris Lencioni                                                        1320 N Benson Ave, Ste A                             Upland, CA 91786                                                                                            chris@turbotechllc.com                                            EmailFirst-Class Mail
Turian Rosales                                                                            Address Redacted                                                                                                                                                                                                                                                                                               First -Class Mail
Tutco Farnam Custom Products                                                              25069 Network Pl                                                            Chicago, IL 60673-1250                                                                                                                                                                                                             First -Class Mail
Tutco Farnam Custom Products                                                              c/o Tutco Inc                                                               30 Legend Dr                                         Arden, NC 28704-6203                                                                                                                                                          First -Class Mail
Tuttnauer Usa Co Ltd                                                                      25 Power Dr                                                                 Hauppauge, NY 11788-4229                                                                                                                                                                                                           First -Class Mail
Tuv Rheinland (Shenzhen) Co, Ltd                                                          16-18F, Bldg 7 Site C,                                                      Vanke Cloud City Phase I, Xingke 1st St              Nanshan District, Shenzhen                           China                                                                                                                    First -Class Mail
Tuv Sud America Inc                                                                       P.O. Box 536415                                                             Pittsburgh, PA 15253-5906                                                                                                                                                                                                          First -Class Mail
Tuv Sud America Inc                                                                       fka Oracle 8295                                                             10 Centennial Dr                                     Peabody, MA 01960-7938                                                                                                                                                        First -Class Mail
Tuv Sud America, Inc                                                                      401 Edgwater Pl, Ste 500                                                    Wakefield, MA 01880                                                                                                                                                                                                                First -Class Mail
TUV SUD America, Inc                                                                      Attn: Cara Cutone                                                           10 Centennial Dr                                     Peabody, MA 01960                                                                                                                                                             First -Class Mail
Tuv Sud Product Service                                                                   Branch Munich Ridlerstrabe 65                                               Munich, 80339                                        Germany                                                                                                                                                                       First -Class Mail
Tuv Sud Sfdk Laboratorio                                                                  c/o De Analise De Produtos Ltda                                             Av General Valdomiro De Lima                         Sao Paulo, 04344-070                                 Brazil                                                                                                                   First -Class Mail
Twenty Poms, LLC                                                                          Address Redacted                                                                                                                                                                                                                             Email Address Redacted                                            EmailFirst-Class Mail
Twenty Poms, LLC                                                                          Address Redacted                                                                                                                                                                                                                             Email Address Redacted                                            EmailFirst-Class Mail
Twin Cities Community Hospital                                                            1100 Las Tablas Road                                                        Templeton, CA 93465                                                                                                                                                                                                                First -Class Mail
Twin City Die Casting                                                                     Attn: Ann Savoren                                                           1070 33rd Ave SE                                     Minneapolis, MN 55414                                                                                       anns@tcdcinc.com                                                  EmailFirst-Class Mail
Twin City Die Castings Co                                                                 1070 33Rd Ave                                                               Minneapolis, MN 55414                                                                                                                                                                                                              First -Class Mail
Twin City Fire Ins Co                                                                     1 Hartford Plz                                                              Hartford, CT 06115                                                                                                                                                                                                                 First -Class Mail
Twin Med LLC                                                                              11333 Greenstone Ave                                                        Santa Fe Springs, CA 90670-4618                                                                                                                                                                                                    First -Class Mail
TX Comptroller of Public Accounts                                                         P.O. Box 149354                                                             Austin, TX 78714-9354                                                                                                                                                                                                              First -Class Mail
TX State Comptroller of Public Accounts                                                   111 E 17th St                                                               Austin, TX 78774-0100                                                                                                                                                                                                              First -Class Mail
Tyler Hoehn                                                                               Address Redacted                                                                                                                                                                                                                                                                                               First -Class Mail
Uab Health System                                                                         500 22Nd St, Ste 408                                                        Birmingham, AL 35233                                                                                                                                                                                                               First -Class Mail
Uab Interlux                                                                              Avieciu St 16                                                               LT-08431 Vilnius                                     Lithuania                                                                                                                                                                     First -Class Mail
Uab Interlux Ltd                                                                          Avieciu St 16                                                               LT 08418 Vilnius                                     Lithuania                                                                                                                                                                     First -Class Mail
Uab Tradintek                                                                             J Jasinskio Str 9                                                           Vilnius, LT 01112                                    Lithuania                                                                                                                                                                     First -Class Mail
UBS                                                                                       1285 Ave of the Americas                                                    New York, NY 10019                                                                                                                                                                                                                 First -Class Mail
UBS AG Stamford Branch                                                                    600 Washington Blvd                                                         Stamford, CT 06901                                                                                                                                                                                                                 First -Class Mail
UC Davis medical Center                                                                   P.O. Box 168016                                                             Sacramento, CA 95816-8016                                                                                                                                                                                                          First -Class Mail
Uc Health                                                                                 13050 E Smith Rd, Ste 101                                                   Receiving Bay Doors 3 4 5                            Aurora, CO 80010                                                                                                                                                              First -Class Mail
Uc Health                                                                                 1635 Aurora Ct Aop 0029D                                                    Aurora, CO 80045                                                                                                                                                                                                                   First -Class Mail
Uc Health                                                                                 12605 E 16th Ave                                                            Aurora, CO 80045-2545                                                                                                                                                                                                              First -Class Mail
Uc Health                                                                                 1024 S Lemay Ave                                                            Ft Collins, CO 80524-3929                                                                                                                                                                                                          First -Class Mail
Uc Irvine Healthcare                                                                      101 The City Dr S                                                           Orange, CA 92868-3201                                                                                                                                                                                                              First -Class Mail
Uci Healthcare LLP                                                                        A-148 Vikaspuri, New Delhi-110018                                           Delhi, Delhi 110018                                  India                                                                                                                                                                         First -Class Mail
UCI Healthcare LLP                                                                        A-148 Vikaspuri                                                             Delhi, Delhi 110018                                  India                                                                                                                                                                         First -Class Mail
UCSD Medical Center                                                                       200 W Arbor Dr                                                              San Diego, CA 92103                                                                                                                                                                                                                First -Class Mail
Ucsd School of Medicine                                                                   Regents of The Ucsd                                                         9500 Gilman Dr, Bldg 845                             La Jolla, CA 92093-5004                                                                                                                                                       First -Class Mail
UCSF Benioff Childrens Hospital                                                           Attn: Legal Dept                                                            747 52nd St                                          Oakland, CA 94609                                                                                                                                                             First -Class Mail
Ucsf Medical Center                                                                       4150 Clement St                                                             San Francisco, CA 94121                                                                                                                                                                                                            First -Class Mail
Ufp                                                                                       610 Chalcedony, Unit 1                                                      San Diego, CA 92109                                                                                                                                                                                                                First -Class Mail
UFP Technologies                                                                          aka United Foam                                                             Attn: Jeff Masters                                   707 Technologies St                                  Denver, CO 80204                                       jmasters@ufpt.com                                                 EmailFirst-Class Mail
Ufp Technologies                                                                          707 Umatilla St                                                             Denver, CO 80204                                                                                                                                                                                                                   First -Class Mail
UFP Technologies Inc                                                                      P.O. Box 418152                                                             Boston, MA 02241-8152                                                                                                                                                                                                              First -Class Mail
Ufp Technologies Inc                                                                      20211 S Susana Rd                                                           E Rancho Dominguez, CA 90221-5725                                                                                                                                                                                                  First -Class Mail
Ufp Technologies Inc                                                                      fka En Murray Co                                                            707 Umatilla St                                      Denver, CO 80204-4225                                                                                                                                                         First -Class Mail
Ufp Technologies, Inc                                                                     100 Hale St                                                                 Newburyport, MA 01950                                                                                                                                                                                                              First -Class Mail
Uhaul Int'l                                                                               aka U-Haul                                                                  P.O. Box 52128                                       Phoenix, AZ 85072-2128                                                                                                                                                        First -Class Mail
Uhs Pro Education Program Inc                                                             P.O. Box 980048                                                             830 E Main St, Ste 2302                              Richmond, VA 23219-2708                                                                                                                                                       First -Class Mail
Uipath Inc                                                                                90 Park Ave, 20th Fl                                                        New York, NY 10016-1301                                                                                                                                                                                                            First -Class Mail
Uipath, Inc                                                                               90 Park Ave, 20th Fl                                                        New York, NY 10016                                                                                                                                                                                                                 First -Class Mail
Ukcloud Ltd                                                                               Hartham Park                                                                Hartham                                              Corsham, Wiltshire SN13 0RP                          United Kindgom                                                                                                           First -Class Mail
UL Verification Service Inc                                                               333 Pfingsten Rd                                                            Northbook, IL 60062-2002                                                                                                                                                                                                           First -Class Mail
Ulbrich Stainless Steel & Special Metals, Inc.                                            770 E. Shaw Ave                                                             Suite 100                                            Fresno, CA 93710                                                                                                                                                              First -Class Mail
Uline                                                                                     12575 Uline Dr                                                              Pleasant Prairie, WI 53158                                                                                                                                       arbankruptcy@uline.com                                            EmailFirst-Class Mail
ULINE                                                                                     Attn: Doug Heid                                                             12575 Uline Dr                                       Pleasant Prairie, WI 53158                                                                                  customer.service@uline.com                                        EmailFirst-Class Mail
Uline                                                                                     12575 Uline Dr                                                              Pleasant Prairie, WI 53158                                                                                                                                                                                                         First -Class Mail
Uline                                                                                     P.O. Box 88741                                                              Chicago, IL 60680-1741                                                                                                                                                                                                             First -Class Mail
Uline                                                                                     Av Aguila Real 19533                                                        Tijuana, BC 22215                                    Mexico                                                                                                                                                                        First -Class Mail
Uline Inc                                                                                 2200 S Lakeside Dr                                                          Waukegan, IL 60085-8361                                                                                                                                                                                                            First -Class Mail
Ulma Packaging Sa De Cv                                                                   Via Gustavo Baz Prada 2160 Edif 4 P                                         Tlanepantla De Baz, Mex 51060                        Mexico                                                                                                                                                                        First -Class Mail
Ultimate Medical Academy LLC                                                              c/o Complete Conference Mgmt                                                11440 N Kendall Dr, Ste 306                          Miami, FL 33176-1025                                                                                                                                                          First -Class Mail
Ultramed Srl                                                                              Via Macello 27                                                              San Gregorio di Catania 95027                        Italy                                                                                                                                                                         First -Class Mail
Ultramed Tecnologia e Servicos                                                            Rodovia Es 164, S/N                                                         Km 631 Sitio CFranciscano Rural Zone                 Sao Paulo de Arace, Domingos Martins, ES 29278-000   Brazil                                                                                                                   First -Class Mail
Ultramed Tecnologia e Servicos                                                            Rua Alcides Monteiro                                                        50 Fradinhos                                         Vitória, Espirito Santo 29042-340                    Brazil                                                                                                                   First -Class Mail
Ultramed Tecnologia e Servicos Ltda                                                       Rua Alcides Monteiro                                                        50 Fradinhos                                         Vitória, Espirito Santo 29042-340                    Brazil                                                                                                                   First -Class Mail
Ultramevix ?omercio de Produtos Médic os Ltda                                             c/o Ultramed Tecnologia e Servicos Ltda                                     Rua Alcides Monteiro, 50 Fradinhos                   Vitória, Espirito Santo 29042-340                    Brazil                                                                                                                   First -Class Mail
Ultramevix ?omercio de Produtos Médic os Ltda - EPP (see Ultramed Tecnologia e Servicos
Ltda)                                                                                     Rod es 164, km 63. 1, sitio c. Franciscano zona rural, São Paulo de Aracê   Domingos Martins, Espírito Santo 29. 278-000         Brazil                                                                                                                                                                        First -Class Mail
Ultramevix omercio de Produtos Médic os Ltda - EP                                         Rodovia Es 164, S/N                                                         Km 631 Sitio CFranciscano Rural Zone                 Sao Paulo de Arace, Domingos Martins, ES 29278-000   Brazil                                                                                                                   First -Class Mail
Ultramevix Omercio de Produtos Médic os Ltda - EPP                                        Rod es 164, km 63 1, sitio c                                                Franciscano zona rural, São Paulo de Aracê           Domingos Martins                                     Espírito Santo 29. 278-000    Brazil                                                                                     First -Class Mail
Ultratech Mold (Dongguan) Co., Ltd.                                                       Block B, No. 55 XiangXin East Road                                          YanTian, FengGang                                    Dongguan, Guangdong 523700                           China                                                                                                                    First -Class Mail
Ultriva, Inc.                                                                             1601 S. De Anza Blvd, Ste 260                                               Cupertino, CA 95014                                                                                                                                                                                                                First -Class Mail
Umicore Galvanotechnik GmbH                                                               Klarenbergstrasse 53 - 79                                                   73525 Schwaebisch Gmuend                             Germany                                                                                                                                                                       First -Class Mail
Unc Health Care                                                                           101 Manning Dr                                                              Chapel Hill, NC 27514-4220                                                                                                                                                                                                         First -Class Mail
Underwriters Laboratories                                                                 Attn: Scott Steady                                                          333 Pfingsten Rd                                     Northbrook, IL 60062                                                                                        Scott.steady@ul.com                                               EmailFirst-Class Mail
Underwriters Laboratories Inc                                                             P.O. Box 75330                                                              Chicago, IL 60675-5330                                                                                                                                                                                                             First -Class Mail
Underwriters Laboratories Inc                                                             333 Pfingsten Rd                                                            Northbrook, IL 60062-2002                                                                                                                                                                                                          First -Class Mail
Unicor GMBH                                                                               Industriestrasse 56                                                         Hassfurt, 09 97437                                   Germany                                                                                                                                                                       First -Class Mail
UniCredit Bank AG, London Branch                                                          Moor House                                                                  120 London Wall                                      London EC2Y 5ET                                      United Kindgom                                                                                                           First -Class Mail
Uniloy                                                                                    5550 South Occidental Hwy                                                   Tecumseh, MI 49286                                                                                                                                                                                                                 First -Class Mail
Uniloy Milacron Germany Gmbh                                                              Hauptstrasse 10                                                             Berlin, 11 14979                                     Germany                                                                                                                                                                       First -Class Mail
Unimax Medical Systems                                                                    8F-2, No. 127 Lane 235, Pao Chiao Rd.                                       Hsin Tien Dist.                                      New Taipei City                                      Taiwan                                                                                                                   First -Class Mail
Unimax Medical Systems                                                                    8F-2, No. 127 Lane 235, Pao Chiao Rd.                                       New Taipei City                                      Taiwan                                                                                                                                                                        First -Class Mail
Unimed LLC                                                                                P.O. Box 57189                                                              Webster, TX 77598-7189                                                                                                                                                                                                             First -Class Mail
Union County Treasurer                                                                    101 N Washington Ave, Ste 106                                               El Dorado, AR 71730-5661                                                                                                                                                                                                           First -Class Mail
Union Machinery                                                                           c/o G & J Industrial Inc                                                    P.O. Box 498                                         Union, MO 63084-0498                                                                                                                                                          First -Class Mail
Unique Representaciones, Srl                                                              Maximo Aviles Blonda no. 37                                                 Ensanche Julieta, Santo Domingo                      Dominican Republic                                                                                                                                                            First -Class Mail
Unique Representaciones, Srl                                                              37 Calle Maximo Aviles Blonda                                               Santo Domingo                                        Dominican Republic                                                                                                                                                            First -Class Mail
Unique Spine                                                                              3265 Lanning Rd                                                             Skaneateles, NY 13152-8984                                                                                                                                                                                                         First -Class Mail
Unisource Worldwide Inc                                                                   File 57006                                                                  Los Angeles, CA 90074-0001                                                                                                                                                                                                         First -Class Mail
Unisource Worldwide Inc                                                                   c/o Unisource                                                               1045 S 1st St                                        El Centro, CA 92243-3409                                                                                                                                                      First -Class Mail
Unitech Engineering Inc                                                                   5640 Borwick Ave                                                            South Gate, CA 90280-7404                                                                                                                                                                                                          First -Class Mail
United Ad Label                                                                           c/o RR Donnelly                                                             Attn: Gregory Pierce                                 111 S Wacker Dr                                      Chicago, IL 60606                                      gregory.a.pierce@rrd.com                                          EmailFirst-Class Mail
United Airlines, Inc.                                                                     United Airlines, Inc.                                                       233 S. Wacker Drive, 16th Floor                      Chicago, IL 60606                                                                                                                                                             First -Class Mail
United Foam (Ufp Technologies)                                                            aka United Foam                                                             Attn: Jeff Masters                                   707 Technologies St                                  Denver, CO 80204                                                                                                         First -Class Mail
United Industries                                                                         133 E Grove Ave                                                             Orange, CA 92865-3301                                                                                                                                                                                                              First -Class Mail
United Industries LLC                                                                     Attn: Shawnn Johnson                                                        133 E Grove Ave                                      Orange, CA 92865                                                                                            sjohnson@unitedindustries.net                                     EmailFirst-Class Mail
United Label Corp                                                                         P.O. Box 5311                                                               Newark, NJ 07105-0311                                                                                                                                                                                                              First -Class Mail
United Language Group                                                                     1600 Utica Avenue S                                                         Minneapolis, MN 55416                                                                                                                                                                                                              First -Class Mail
United Language Group (ULG)                                                               Attn: Wendy Dulaney, Elaine Mcdonogh                                        800 Washington Ave N, Ste 905                        Minneapolis, MN 55401                                                                                       wendy.dulaney@ulgroup.com; elaine.mcdonogh@ulgroup.com            EmailFirst-Class Mail
United Language Group Inc                                                                 1600 Utica Ave S                                                            Minneapolis, MN 55416-1443                                                                                                                                                                                                         First -Class Mail
United Parcel Service                                                                     Plan 0086Pb                                                                 P.O. Box 894820                                      Los Angeles, CA 90189-4820                                                                                                                                                    First -Class Mail
United Parcel Service                                                                     P.O. Box 505820                                                             The Lakes, NV 88905-5820                                                                                                                                                                                                           First -Class Mail
United Parcel Service                                                                     Attn: Legal Dept                                                            P.O. Box 505820                                      The Lakes, NV 88905-5820                                                                                                                                                      First -Class Mail
United Parcel Service of America                                                          55 Glenlake Pkwy NE                                                         Atlanta, GA 30328-3474                                                                                                                                                                                                             First -Class Mail
United Parcel Service of America Inc                                                      Lockbox 577                                                                 Carol Stream, IL 60132-0577                                                                                                                                                                                                        First -Class Mail
United Parcel Service of America Inc                                                      P.O. Box 650580                                                             Dallas, TX 75265-0580                                                                                                                                                                                                              First -Class Mail
United Parcel Services                                                                    aka UPS                                                                     25201 Paseo De Alicia                                Laguna Hills, CA 92653                                                                                                                                                        First -Class Mail
United Parcel Svc                                                                         Attn: Tim Farr                                                              55 Glenlake Pkwy                                     Atlanta, GA 30328                                                                                           tfarr@ups.com                                                     EmailFirst-Class Mail
United Pathways Inc                                                                       2526 163rd Pl SE                                                            Mill Creek, WA 98012-7868                                                                                                                                                                                                          First -Class Mail
United Silicone                                                                           Attn: Dana Schnettler                                                       4471 Walden Ave                                      Lancaster, NY 14086                                                                                         dschnettler@unitedstilicone.com                                   EmailFirst-Class Mail
United Sourcing Alliance, LLC                                                             310 Main Ave Way SE                                                         Hickory, NC 28602                                                                                                                                                                                                                  First -Class Mail
United States Plastic Corp                                                                Attn: Ashley Merricle                                                       1390 Neubrecht Rd                                    Lima, OH 45801                                                                                              ashley@usplastic.com                                              EmailFirst-Class Mail
United States Plastic Corp                                                                Attn: Ashley Merricle                                                       1390 Neubrecht Rd                                    Lima, OH 45801                                                                                                                                                                First -Class Mail
United States Plastic Corp                                                                1390 Neubrecht Rd.                                                          Lima, OH 45801                                                                                                                                                                                                                     First -Class Mail
Unitrans Int'l Corp                                                                       709 Hindry Ave                                                              Inglewood, CA 90301-3005                                                                                                                                                                                                           First -Class Mail
units AUSTRIA GmbH                                                                        Millennium Park 4                                                           6890 Lustenau                                        Austria                                                                                                                                                                       First -Class Mail
Unity Mold                                                                                Attn: YK Lee                                                                1300 Pioneer St, Unit 1                              Brea, CA 92821                                                                                              unity@unitymold.com                                               EmailFirst-Class Mail
Unity Mold                                                                                1300 Pioneer St, Unit 1                                                     Brea, CA 92821-3718                                                                                                                                                                                                                First -Class Mail
Unitypoint Health                                                                         4488 112th St                                                               Urbandale, IA 50322-2085                                                                                                                                                                                                           First -Class Mail
Universal Dynamics Inc                                                                    13600 Dabney Rd                                                             Woodbridge, VA 22191                                                                                                                                                                                                               First -Class Mail
Universal Flooring                                                                        Attn: Bradley Lisotto                                                       15573 Commerce Ln                                    Huntington Beach, CA 92649                                                                                  Blisotto@universalflooring.com                                    EmailFirst-Class Mail
Universal Hospital Services                                                               6625 West 78th Street, Ste 300                                              Minneapolis, MN 55439                                                                                                                                                                                                              First -Class Mail
Universal Plastic Mold, Inc.                                                              13245 Los Angeles St.                                                       Baldwin Park, CA 91706                                                                                                                                                                                                             First -Class Mail
Universal Protection Service                                                              1551 N. Tustin Avenue, Ste 650                                              Santa Ana, CA 92705                                                                                                                                                                                                                First -Class Mail
Universal Protection Service LP                                                           c/o Allied Universal Security Services                                      P.O. Box 417142                                      Boston, MA 02241-7142                                                                                                                                                         First -Class Mail
Universidade Federal de Alagoas                                                           Av Lourival Melo Mota, S/N                                                  Tabuleiro do Martins                                 Maceió, AL 57072-970                                 Brazil                                                                                                                   First -Class Mail
Universidade Federal de Alagoas                                                           Universidade Federal de Alagoas                                             Campus AC Simoes, N/N                                Tabuleiro do Martins                                 Maceio City, Alagoas          Brazil                                                                                     First -Class Mail
Universita Campus Bio Medico                                                              c/o Di Roma                                                                 Alvaro Del Portillo 21                               Roma, 00128                                          Italy                                                                                                                    First -Class Mail
Universitatsklinikum Hamburg                                                              c/o Eppendorf Korperschaft                                                  Martinistrabe 52                                     Hamburg, 20019                                       Germany                                                                                                                  First -Class Mail
University Children's Hospital                                                            c/o Zurich Eleanore Foundation                                              Steinwiesstrasse 75                                  Zurich, ZH 8032                                      China                                                                                                                    First -Class Mail
University Health Network                                                                 190 Elizabeth St                                                            Toronto, ON M5G 2C4                                  Canada                                                                                                                                                                        First -Class Mail
University Health Network & Dr. Ewan Goligher                                             190 Elizabeth St. R. Fraser Elliott Building, Rm 1S-414                     Toronto, ON M5G 2C4                                  Canada                                                                                                                                                                        First -Class Mail
University Health System of Eastern Carolina                                              Dba Vidant Health                                                           2100 Stantonsburg Rd                                 Greenville, NC 27834-2818                                                                                                                                                     First -Class Mail
University Health Systems of Eastern Carolina, Inc. dba Vidant Health                     c/o Vidant Health                                                           PO Box 6028                                          2100 Stantonsburg Rd                                 Greenville, NC 27835-6028                                                                                                First -Class Mail
University Hospital Cleveland                                                             c/o Medical Center                                                          3605 Warrensville Center Rd                          Shaker Heights, OH 44122-5203                                                                                                                                                 First -Class Mail
University Hospital, Newark NJ                                                            150 Bergen St.                                                              150 Bergen St.                                       Newark, NJ 07103                                                                                                                                                              First -Class Mail
University Hospitals Case Medical Center                                                  11100 Euclid Ave                                                            Cleveland, OH 44106-1716                                                                                                                                                                                                           First -Class Mail
University Medical Center El Paso                                                         4801 Alberta Ave.                                                           El Paso, TX 79905                                                                                                                                                                                                                  First -Class Mail
University Medical Center Groningen                                                       Hanzeplein 1                                                                Groningen, 9713 GZ                                   Netherlands                                                                                                                                                                   First -Class Mail
University of Alabama Hospital                                                            1802 6th Ave S                                                              Birmingham, AL 35233                                                                                                                                                                                                               First -Class Mail
University of Arkansas Med Sci                                                            4301 W Markham St                                                           Little Rock, AR 72205                                                                                                                                                                                                              First -Class Mail
University of Bristol                                                                     Finance Office - Senate House                                               Bristol, BR BS8 1TH                                  United Kingdom                                                                                                                                                                First -Class Mail
University of CA Irvine                                                                   200 S Manchester Ave, Ste 110                                               Orange, CA 92868                                                                                                                                                                                                                   First -Class Mail
University of California Irvine                                                           333 City Blvd W, Ste 2100                                                   Orange, CA 92868-2949                                                                                                                                                                                                              First -Class Mail
University of California San Diego Health                                                 200 W Arbor Dr.                                                             San Diego, CA 92103                                                                                                                                                                                                                First -Class Mail
University of Chicago                                                                     5841 S. Maryland Ave.                                                       Chicago, IL 60637                                                                                                                                                                                                                  First -Class Mail
University of Cincinnati                                                                  2900 Reading Rd                                                             Suite 460                                            Cincinnati, OH 45206                                                                                                                                                          First -Class Mail
University of Cincinnati                                                                  2618 McMicken Circle                                                        625 University Pavilion                              Cincinnati, OH 45221                                                                                                                                                          First -Class Mail
University of Cincinnati                                                                  51 Goodman Dr                                                               Cincinnati, OH 45221-0001                                                                                                                                                                                                          First -Class Mail
University of CO Hospital Authority                                                       12401 E 17th St                                                             Aurora, CO 80045                                                                                                                                                                                                                   First -Class Mail
University of Colorado Health                                                             c/o UCHealth                                                                2400 S Peoria St, Ste 211                            Aurora, CO 80014-5417                                                                                                                                                         First -Class Mail
University of Colorado Health System                                                      c/o Medical Center of the Rockies                                           2500 Rocky Mountain Ave.                             Loveland, CO 80538-9004                                                                                                                                                       First -Class Mail
University of Colorado Hospital Foundation                                                P.O. Box 6510                                                               Mail Stop F485                                       Aurora, CO 80045                                                                                                                                                              First -Class Mail
University of Granada                                                                     Avenida del Hospicio                                                        s/n, 18071, Granada                                  Spain                                                                                                                                                                         First -Class Mail
University of Iowa Health Care                                                            202 Plaza Centre One                                                        Iowa City, IA 52242                                                                                                                                                                                                                First -Class Mail
University of Kentucky                                                                    100 WD Funkhouser Bldg                                                      Lexington, KY 40536                                                                                                                                                                                                                First -Class Mail
University of Kentucky HealthCare                                                         800 Rose St, Rm C101                                                        Lexington, KY 40536                                                                                                                                                                                                                First -Class Mail
University of Louisville Phys                                                             401 E Chestnut St, Ste 310                                                  Louisville, KY 40202                                                                                                                                                                                                               First -Class Mail
University of Louisville Pulmonary                                                        530 S. Jackson Street                                                       Louisville, KY 40202                                                                                                                                                                                                               First -Class Mail
University of Maryland Medical Ctr                                                        c/o U of Maryland Med System Corp                                           22 S Greene St                                       Baltimore, MD 21201-1544                                                                                                                                                      First -Class Mail
University of Maryland Medical System                                                     250 W. Pratt St.                                                            Baltimore, MD 21201                                                                                                                                                                                                                First -Class Mail
University of Maryland Medical System Corporation                                         250 W. Pratt St.                                                            Baltimore, MD 21201                                                                                                                                                                                                                First -Class Mail
University of Md Medical System                                                           13600 Dabney Rd                                                             Woodbridge, VA 22191                                                                                                                                                                                                               First -Class Mail
University of Memphis Foundation                                                          635 Normal St                                                               Memphis, TN 38152-4500                                                                                                                                                                                                             First -Class Mail
University of MI Health System                                                            1500 E Medical Center Dr                                                    Ann Arbor, MI 48109                                                                                                                                                                                                                First -Class Mail
University of Miami                                                                       1320 S. Dixie Highway                                                       Suite 1250                                           Coral Gables, FL 33146                                                                                                                                                        First -Class Mail
University of Miami                                                                       Miller School of Medicine                                                   P.O. Box 248106                                      Coral Gables, FL 33124-2912                                                                                                                                                   First -Class Mail
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University of Miami                                                              P.O. Box 248106                                                   Coral Gables, FL 33124-2912                                                                                                                                                                      First -Class Mail
University of Miami                                                              Attn: Madelin Munoz-Bustamante                                    Dept of Pediactrics                         1161 NW 12th Ave                     Miami, FL 33136                                                                                                 First -Class Mail
University of Mississippi Med Ctr                                                2500 N State St                                                   Jackson, MS 39216                                                                                                                                                                                First -Class Mail
University of Mississippi Medical Center                                         Vice Chancellor for Health Affairs                                2500 N. State St.                           Jackson, MS 39216                                                                                                                                    First -Class Mail
University of Missouri Health Care                                               1 Hospital Dr                                                     Columbia, MO 65212                                                                                                                                                                               First -Class Mail
University of North Carolina Wilmington                                          5079 Lionfish Dr                                                  Wilmington, NC 28403                                                                                                                                                                             First -Class Mail
University of Pennsylvania Health S                                              1500 Market St                                                    Philadelphia, PA 19102-2100                                                                                                                                                                      First -Class Mail
University of Pennsylvania Hospital System                                       3400 Civic Center Blvd                                            Philadelphia, PA 19104                                                                                                                                                                           First -Class Mail
University of Pittsburgh                                                         3600 Forbes Ave, Ste 302                                          Pittsburgh, PA 15213-3412                                                                                                                                                                        First -Class Mail
University of Pittsburgh Medical Center                                          U.S. Steel Tower, 59th Floor                                      600 Grant Street                            Pittsburgh, PA 15219                                                                                                                                 First -Class Mail
University of Rochester Medical Cen                                              601 Elmwood Ave                                                   Rochester, NY 14642-0001                                                                                                                                                                         First -Class Mail
University of South AL Med Ctr                                                   1700 Center St                                                    Mobile, AL 36604                                                                                                                                                                                 First -Class Mail
University of Southern California                                                c/o Keck-Norris Med                                               P.O. Box 33227                              Los Angeles, CA 90033-0227                                                                                                                           First -Class Mail
University of Southern California                                                Attn: Stephanie Gonzales                                          University Gardens                          2011 N Soto St                       Los Angeles, CA 90089                                                                                           First -Class Mail
University of Tennessee Medical Center                                           University Health Systems, Inc                                    Compliance Office                           2121 Medical Center Way, Ste 330     Knoxville, TN 37920                                                                                             First -Class Mail
University of Texas                                                              Health Science Center of San Antonio                              7703 Floyd Curl Dr                          San Antonio, TX 78229                                                                                                                                First -Class Mail
University of Texas MD Anderson Cancer Center                                    University of Texas                                               1515 Holcombe Blvd                          Houston, TX 77030                                                                                                                                    First -Class Mail
University of Texas MD Anderson Cancer Center                                    University of Texas MD                                            1515 Holcombe Blvd.                         Houston, TX 77030                                                                                                                                    First -Class Mail
University of Texas Medical Branch                                               13600 Dabney Rd                                                   Woodbridge, VA 22191                                                                                                                                                                             First -Class Mail
University of Texas Medical Branch At Galveston                                  301 University Blvd                                               Galveston, TX 77555-5302                                                                                                                                                                         First -Class Mail
University of The Regents of California                                          c/o UCSD Medical Center                                           7197 Convoy Ct, Ste 10                      San Diego, CA 92111-1024                                                                                                                             First -Class Mail
University of VA Health System                                                   1215 Lee St                                                       Charlottesville, VA 22903                                                                                                                                                                        First -Class Mail
University of Virginia Hospital                                                  1215 Lee St                                                       Charlottesville, VA 22903                                                                                                                                                                        First -Class Mail
University of WI Hospitals & Clinics Authority                                   7974 UW Health Ct                                                 Middleton, WI 53562-5531                                                                                                                                                                         First -Class Mail
University of WI Madison                                                         Cause 5752 Tokay Blvd, Ste 500                                    Madison, WI 53719                                                                                                                                                                                First -Class Mail
University of Wisconsin Hospitals and Clinics Authority                          University of Wisconsin Madison                                   600 Highland Ave.                           Madison, WI 53792                                                                                                                                    First -Class Mail
University of Wisconsin Medical Foundation and Hospitals and Clinics Authority   600 Highland Avenue                                               Madison, WI 53792                                                                                                                                                                                First -Class Mail
Unlimited Electro Automation                                                     8755 Mesa Point Ter                                               San Diego, CA 92154                                                                                                                                                                              First -Class Mail
Unlimited Electro Manufacturing Inc                                              8745 Mesa Point Ter                                               San Diego, CA 92154-7717                                                                                                                                                                         First -Class Mail
Unm Hospitals                                                                    2211 Lomas Blvd NE                                                Albuquerque, NM 87106-2719                                                                                                                                                                       First -Class Mail
UnoMedical A-S                                                                   Aaholmvej 1-3                                                     4320 Osted                                  Denmark                                                                                                                                              First -Class Mail
Upchurch Watson White & Max                                                      c/o Mediation Group Inc                                           1400 Hand Ave, Ste D                        Ormond Beach, FL 32174-8195                                                                                                                          First -Class Mail
Upland Software                                                                  Attn: Frank Kapper                                                1601 S Deanza Blvd, Ste 260                 Cupertino, CA 95014                                                                       fkapper@uplandsoftware.com                                 EmailFirst-Class Mail
Upland Software Inc                                                              401 Congress, Ste 1850                                            Austin, TX 78701-3788                                                                                                                                                                            First -Class Mail
Upland Software, Inc.                                                            401 Congress Avenue, Suite 1850                                   Austin, TX 78701-3788                                                                                                                                                                            First -Class Mail
Upmc                                                                             US Steel Tower, 59th Fl                                           Pittsburgh, PA 15219                                                                                                                                                                             First -Class Mail
Upmc Presbyterian Shadyside                                                      200 Lothrop St                                                    Pittsburgh, PA 15213-2536                                                                                                                                                                        First -Class Mail
UPMC Presbyterian Shadyside                                                      5230 Centre Ave                                                   Pittsburgh, PH 15232                                                                                                                                                                             First -Class Mail
Upmc Shadyside                                                                   Upmc Presbyterian Shadyside                                       5230 Centre Ave                             Pittsburgh, PA 15232-1304                                                                                                                            First -Class Mail
UPS                                                                              P.O. Box 894820                                                   Los Angeles, CA 90189-4820                                                                                                                                                                       First -Class Mail
UPS                                                                              P.O. Box 577                                                      Carol Stream, IL 60132-0001                                                                                                                                                                      First -Class Mail
UPS                                                                              c/o P&A & Svc Mgt Account                                         25201 Paseo Dealicia, Ste 200               Laguna Hills, CA 92653                                                                                                                               First -Class Mail
UPS                                                                              1335 N Meadow Pkwy, Ste 119                                       Roswell, GA 30076                                                                                                                                                                                First -Class Mail
UPS Canada                                                                       25201 Paseo De Alicia                                             Laguna Hills, CA 92653                                                                                                                                                                           First -Class Mail
UPS Freight                                                                      1000 Sommes Ave                                                   Richmond, VA 23224                                                                                                                                                                               First -Class Mail
Ups Freight                                                                      28013 Network Pl                                                  Chicago, IL 60673-1280                                                                                                                                                                           First -Class Mail
UPS Freight                                                                      Attn: Legal Dept                                                  1000 Sommes Ave                             Richmond, VA 23224                                                                                                                                   First -Class Mail
UPS Ground Freight Inc                                                           P.O. Box 730900                                                   Dallas, TX 75373-0900                                                                                                                                                                            First -Class Mail
Ups Ground Freight Inc                                                           1000 Semmes Ave                                                   Richmond, VA 23224-2246                                                                                                                                                                          First -Class Mail
UPS Ground Freight Inc.                                                          1000 Semmes Avenue                                                Richmond, VA 23224                                                                                                                                                                               First -Class Mail
UPS Mexicali                                                                     25201 Paseo De Alicia                                             Laguna Hills, CA 92653                                                                                                                                                                           First -Class Mail
Ups Professional Services Inc                                                    12380 Morris Rd                                                   Alpharetta, GA 30005-4177                                                                                                                                                                        First -Class Mail
UPS Supply Chain Solutions Inc                                                   55 Glenlake Pkwy NE                                               Atlanta, GA 30328-3474                                                                                                                                                                           First -Class Mail
UPS Supply Chain Solutions Inc                                                   Attn: Legal Dept                                                  55 Glenlake Pkwy NE                         Atlanta, GA 30328-3474                                                                                                                               First -Class Mail
UPS Supply Chain Solutions, Inc.                                                 12380 Morris Road                                                 Alpharetta, GA 30005                                                                                                                                                                             First -Class Mail
UPS Supply Chain Soultions                                                       Attn: Patti Schlatter                                             55 Glenlake Pkwy NE                         Atlanta, GA 30328                                                                         pschlatter                                                 EmailFirst-Class Mail
URS Gfeller                                                                      Thunstrasse 80                                                    Burgdorf, 3400                              China                                                                                                                                                First -Class Mail
US Air Force                                                                     4700 Las Vegas Blvd N Medical MATL MGMT 99MDSS/SGSL               Nellis Afb, NV 89191                                                                                                                                                                             First -Class Mail
US Army                                                                          1414 Jackson Loop                                                 Fort Belvoir, VA 22060                                                                                                                                                                           First -Class Mail
US Attorney’s Office                                                             District of Delaware                                              1313 N Market St                            Wilmington, DE 19801                                                                                                                                 First -Class Mail
US Bank NA                                                                       901 Marquette Ave South, Ste 1800                                 Minneapolis, MN 55402                                                                                                                                                                            First -Class Mail
US CBP FPF Office                                                                2813 Business Park Dr Bldg 1                                      Memphis, TN 38118-1556                                                                                                                                                                           First -Class Mail
Us Core Pins                                                                     2101 S Hathaway St                                                Santa Ana, CA 92705-5244                                                                                                                                                                         First -Class Mail
US Customs & Border Protection                                                   c/o Bill Payments                                                 P.O. Box 979126                             St. Louis, MO 63197-9000                                                                                                                             First -Class Mail
US Customs & Border Protection                                                   Attn: FP & FO                                                     6650 Telecom Dr                             Indianapolis, IN 46278-0000                                                                                                                          First -Class Mail
US Customs & Border Protection                                                   Attn: Entry Unit                                                  5600 Pearl St                               Rosemont, IL 60018-5318                                                                                                                              First -Class Mail
US Dept of Health & Human Services                                               Attn: Legal Dept                                                  200 Independence Ave SW                     Washington, DC 20201                                                                                                                                 First -Class Mail
Us Dept of State                                                                 518 23rd St NW Sa-1                                               Washington, DC 20037-2824                                                                                                                                                                        First -Class Mail
US Dept of The Treasury                                                          Internal Revenue Service                                          Cincinnati, OH 45999-0009                                                                                                                                                                        First -Class Mail
Us Food & Drug Administration                                                    P.O. Box 979108                                                   St Louis, MO 63197-9000                                                                                                                                                                          First -Class Mail
US Government, Dept of Defense                                                   Office of the Inspector General                                   4800 Mark Center Dr                         Alexandria, VA 22350-1500                                                                                                                            First -Class Mail
Us Legalization                                                                  1615 Bay Head Rd                                                  Annapolis, MD 21409-5712                                                                                                                                                                         First -Class Mail
US Legalization                                                                  1615 Bay Head Rd                                                  Annapolis, MD 21409                                                                                                                                                                              First -Class Mail
US Med-Equip                                                                     7028 Gessner Rd                                                   Houston, TX 77040                                                                                                                                                                                First -Class Mail
US Med-Equip, LLC                                                                7028 Gessner Rd                                                   Houston, TX 77040                                                                                                                                                                                First -Class Mail
US Micro Products Inc                                                            Attn: Brian Travers                                               9841 Airport Blvd                           Los Angeles, CA 90045                                                                     btravers@usmicroproducts                                   EmailFirst-Class Mail
US Micro Products Inc                                                            6207 Bee Caves Rd, Ste 330                                        Austin, TX 78746-5033                                                                                                                                                                            First -Class Mail
US Micro Products, Inc.                                                          6207 Bee Caves Rd, Ste 330                                        Austin, TX 78746                                                                                                                                                                                 First -Class Mail
US National Institute of Hlth                                                    10 Center Dr                                                      Bethesda, MD 20814                                                                                                                                                                               First -Class Mail
US Postal Service                                                                22520 Randolph Dr                                                 Dulles, VA 20101                                                                                                                                                                                 First -Class Mail
US Postal Service                                                                475 Lenfant Plz SW                                                Washington, DC 20260-0004                                                                                                                                                                        First -Class Mail
Us Precision Mold Inc                                                            14700 W 66th Pl, Unit 8                                           Arvada, CO 80004-1066                                                                                                                                                                            First -Class Mail
US Precision Sheet Metal                                                         Attn: David Mayo                                                  4020 Garner Rd                              Riverside, CA 92501                                                                                                                                  First -Class Mail
US Prototype Inc                                                                 c/o Quicksilver Mfg                                               8209 Market St, Ste A 173                   Wilmington, NC 28411-9632                                                                                                                            First -Class Mail
US Public Health Service                                                         E HWY 18                                                          Pine Ridge, SD 57770                                                                                                                                                                             First -Class Mail
US Realty Advisors, LLC                                                          1370 Ave of The Americas                                          New York, NY 10019                                                                                                                                                                               First -Class Mail
Us Surgitech Inc                                                                 327 Village Dr                                                    Carol Stream, IL 60188-1828                                                                                                                                                                      First -Class Mail
US Tech Solutions, Inc.                                                          10 Exchange Place, Ste 1710                                       Jersey City, NJ 07302                                                                                                                                                                            First -Class Mail
US Trustee for the District of Delaware                                          844 N King St, Rm 2207                                            Wilmington, DE 19801                                                                                                                                                                             First -Class Mail
US Worldwide Logistics                                                           2750 Earhart Ct                                                   Hebron, KY 41048                                                                                                                                                                                 First -Class Mail
USA Sealing Inc                                                                  c/o USA Industrials                                               100 Sonwil Dr                               Cheektowaga, NY 14225                                                                                                                                First -Class Mail
USA Sealing Inc                                                                  512 Sonwill Dr                                                    Cheektowaga, NY 14225                                                                                                                                                                            First -Class Mail
USA Sealing Inc.                                                                 512 Sonwill Drive                                                 Cheektowaga, NY 14225                                                                                                                                                                            First -Class Mail
USE-ING GmbH                                                                     Zettachring 8a                                                    Stuttgart, 70567                            Germany                                                                                                                                              First -Class Mail
USE-ING GmbH                                                                     Zettachring 8A                                                    70567 Stuttgart                             Germany                                                                                                                                              First -Class Mail
User Wise                                                                        10 Almaden Blvd, Ste 600                                          San Jose, CA 95113                                                                                                                                                                               First -Class Mail
User Wise                                                                        919 The Alameda                                                   San Jose, CA 95126                                                                                                                                                                               First -Class Mail
USF Best Way c/o Yellow Corporation (for USF Reddaway)                           Attn: Legal Dept                                                  11500 Outlook St, Ste 400                   Overland Park, KS 66211                                                                   Legal@myYellow.com                                         EmailFirst-Class Mail
USF Holland                                                                      10701 Glenwood Ave                                                Raleigh, NC 27613                                                                                                                                                                                First -Class Mail
Ushio America Inc                                                                6045 Solutions Ctr                                                Chicago, IL 60677-6000                                                                                                                                                                           First -Class Mail
Usmed Equipment                                                                  8200 NW 33rd St, Ste 200                                          Doral, FL 33122                                                                                                                                                                                  First -Class Mail
USNIH                                                                            9000 Rockville Pike                                               Bethesda, MD 20892                                                                                                                                                                               First -Class Mail
Uson Corp                                                                        Lockbox 945873                                                    Atlanta, GA 30394-5873                                                                                                                                                                           First -Class Mail
Uson LP                                                                          8640 N Eldridge Pkwy                                              Houston, TX 77041                                                                                                                                                                                First -Class Mail
Uson LP                                                                          8640 N Eldridge Pkwy                                              Houston, TX 77041-1233                                                                                                                                                                           First -Class Mail
USVA Long Beach Healthcare Sys                                                   5901 E 7th ST                                                     Long Beach, CA 90822                                                                                                                                                                             First -Class Mail
USVA Medical Center Dept of VA                                                   7901 Metropolis Dr                                                Austin, TX 78744-3111                                                                                                                                                                            First -Class Mail
USVA Medical Center Hampton                                                      100 Emancipation Dr                                               Hampton, VA 23667-0001                                                                                                                                                                           First -Class Mail
USVA Medical Center Houston                                                      2002 Holcombe Blvd                                                Houston, TX 77030                                                                                                                                                                                First -Class Mail
USVA Medical Center Reno                                                         975 Kirman Ave                                                    Reno, NV 89502                                                                                                                                                                                   First -Class Mail
UT Health East Texas                                                             2701 Hwy 271 N                                                    Pittsburg, TX 75686                                                                                                                                                                              First -Class Mail
UT Medical Center                                                                Attn: Receiving                                                   1924 Alcoa Hwy                              Knoxville, TN 37920                                                                                                                                  First -Class Mail
Utah State Tax Commission                                                        210 N 1950 W                                                      Salt Lake City, UT 84134-0400                                                                                                                                                                    First -Class Mail
Utah State Tax Commission                                                        210 N 1950 W                                                      Salt Lake City, UT 84134-0300                                                                                                                                                                    First -Class Mail
Utah State Tax Commission                                                        Sales Tax                                                         210 N 1950 W                                Salt Lake City, UT 84134-0400                                                                                                                        First -Class Mail
Utah Valley Hospital                                                             c/o Intermountain Healthcare                                      36 S State St                               Salt Lake City, UT 84111                                                                                                                             First -Class Mail
Uti LP                                                                           3553 31 St NW                                                     Calgary, AB T2L 2K7                         Canada                                                                                                                                               First -Class Mail
VA Moua                                                                          Address Redacted                                                                                                                                                                                                                                                   First -Class Mail
Vacco Industries                                                                 Attn: Lori Galvez                                                 10350 Vacco St                              S El Monte, CA 91733                                                                      lgalvez@vacco.com                                          EmailFirst-Class Mail
Vacco Industries                                                                 10350 Vacco Street                                                S El Monte, CA 91733                                                                                                                                                                             First -Class Mail
Vacco Inustries                                                                  10350 Vacco Street                                                S El Monte, CA 91733                                                                                                                                                                             First -Class Mail
Vacumetrics Inc / Vacumed Div                                                    Attn: John Hoppe                                                  4125 Market St, Unit 10                     Ventura, CA 93003                                                                                                                                    First -Class Mail
Vacumetrics Inc / Vaumed Div                                                     Attn: John Hoppe                                                  4125 Market St, Unit 10                     Ventura, CA 93003                                                                         jhoppe2@gmail.com                                          EmailFirst-Class Mail
Vadi Medical Technology Co Ltd                                                   198 Ln 298 Huandong Rd                                            Taoyuan, 32665                              Taiwan                                                                                                                                               First -Class Mail
VADI Medical Technology Co., Ltd.                                                No. 198, Lane 298, Huandong Road                                  Zhongshan Village, Yangmei District         Taoyuan City, 32665                  Taiwan                                                                                                          First -Class Mail
Vahik Vic Minassian                                                              Address Redacted                                                                                                                                                                                                                                                   First -Class Mail
Vail Clinic Inc                                                                  dba Vail Health Hospital                                          180 S Frontage Rd W                         Vail, CO 81657                                                                                                                                       First -Class Mail
Vail Clinic Inc                                                                  dba Vail Health Hospital                                          P.O. Box 40000                              Vail, CO 81658                                                                                                                                       First -Class Mail
Valde Inspired Holding LLC                                                       c/o Inspired Elearning LLC                                        4630 N Loop 1604 W, Ste 401                 San Antonio, TX 78249-1374                                                                                                                           First -Class Mail
Valencia Pulmonary medical Group                                                 23928 Lyons Ave, Ste 203                                          Newhall, CA 91321                                                                                                                                                                                First -Class Mail
Valentino Piacentino Iii                                                         Address Redacted                                                                                                                                                                                                                                                   First -Class Mail
Valiant Law                                                                      c/o Babaian Shahabi LLP                                           4150 Concours St, Ste 260                   Ontario, CA 91764-5915                                                                                                                               First -Class Mail
Valin Co                                                                         Attn: Brian Morgan                                                1941 Ringwood Ave                           San Jose, CA 95131                                                                        bmorgan@valin.com                                          EmailFirst-Class Mail
Valley Ambulatory Surgery Center LP                                              c/o Valley Ambulatory Surgery Center                              2475 Dean St                                St Charles, IL 60175-4831                                                                                                                            First -Class Mail
Valley Baptist - Harlingen                                                       2101 Pease St Tenet Health                                        Harlingen, TX 78550                                                                                                                                                                              First -Class Mail
Valley Inspired Products                                                         Attn: Robert Mccoy                                                14843 Energy Way                            St Paul, MN 55124-5757                                                                                                                               First -Class Mail
Valley Intensivists Pulmonologists & Sleep Specialists                           1200 Savannah Ave, Ste 12                                         McAllen, TX 78503                                                                                                                                                                                First -Class Mail
Valley lock & Safe                                                               68100 Ramon Rd, Ste C-11                                          Cathedral City, CA 92234                                                                                                                                                                         First -Class Mail
Valley Osteo Solutions                                                           P.O. Box 3662                                                     San Ramon, CA 94583-8662                                                                                                                                                                         First -Class Mail
Valley View Hospital                                                             1906 Blake Ave                                                    Genwood Springs, CO 81601                                                                                                                                                                        First -Class Mail
Valley View Surgery Center                                                       1330 S Valley View Blvd                                           Las Vegas, NV 89102-1865                                                                                                                                                                         First -Class Mail
Valley West Community Hospital                                                   1302 N Main St                                                    Sandwich, IL 60548-2587                                                                                                                                                                          First -Class Mail
Valleywise Health                                                                2900 S Diablo Way Suite A                                         Tempe, AZ 85282                                                                                                                                                                                  First -Class Mail
Valtris Specialty Chemicals                                                      c/o Polymer Additives, Inc                                        7500 E Pleasant Valley Rd                   Independence, OH 44131-5536                                                                                                                          First -Class Mail
Valuation Research Corp                                                          P.O. Box 809061                                                   Chicago, IL 60680-9061                                                                                                                                                                           First -Class Mail
Valuation Research Corp                                                          330 E Kilbourn Ave, Ste 1425                                      Milwaukee, WI 53202-3170                                                                                                                                                                         First -Class Mail
Value Plastics                                                                   dba Nordson Medical                                               Attn: Kyle Steele Rogel Balbuena            3325 Timberline Rd                   Ft Collins, CO 80525                                 Kyle.Steele@nordsonmedical.com; rogelb@valueplastics.com   EmailFirst-Class Mail
Value Plastics                                                                   dba Nordson Medical                                               Attn: Kyle Steele Rogel Balbuena            3325 Timberline Rd                   Ft Collins, CO 80525                                                                                            First -Class Mail
Value Plastics Inc                                                               P.O. Box 911954                                                   Denver, CO 80291-1954                                                                                                                                                                            First -Class Mail
Value Plastics Inc                                                               c/o Nordson Medical                                               805 W 71st St                               Loveland, CO 80538-1118                                                                                                                              First -Class Mail
Vamshi Krishna Satram                                                            Address Redacted                                                                                                                                                                                                                                                   First -Class Mail
Van Aken Int'l                                                                   3265 Fortune Dr                                                   N Charleston, SC 29418-8475                                                                                                                                                                      First -Class Mail
Van Kaam, Anton (Netherlands)                                                    Meibergdreef 9                                                    Amsterdam, 1105 AZ                          Netherlands                                                                                                                                          First -Class Mail
van Leuteren, Ruud W PhD                                                         Emma Children's Hospital Amsterdam UMC                            Meibergdreef 9                              Amsterdam, 1105 AZ                   Netherlands                                                                                                     First -Class Mail
Van Tassel Consulting Inc                                                        dba Integress Inc                                                 Attn: Dennie Studer                         31952 Camono Capistrano, Ste C25     San Juan Capistrano, CA 92675                        dstuder@integressinc.com                                   EmailFirst-Class Mail
Van Tassel Consulting Inc                                                        c/o Integress Inc                                                 31952 Camino Capistrano, Ste C25            San Juan Capistrano, CA 92675-3229                                                                                                                   First -Class Mail
Vanderbilt University Medical Center                                             1161 21st Avenue South                                            Nashville, TN 37232                                                                                                                                                                              First -Class Mail
Vanderbilt University Medical Syste                                              1301 Medical Center Dr                                            Nashville, TN 37232-0028                                                                                                                                                                         First -Class Mail
Vanessa Labuy                                                                    Address Redacted                                                                                                                                                                                                                                                   First -Class Mail
Vanguard Health - Illinois                                                       6804 W Windsor Ave                                                Berwyn, IL 60402-3669                                                                                                                                                                            First -Class Mail
Vanguard Products                                                                Attn: Greg Caruso                                                 87 Newtown Rd                               Danbury, CT 06810                                                                         gcaruso@vanguard                                           EmailFirst-Class Mail
Vanguard Products Corp                                                           87 Newtown Rd                                                     Danbury, CT 06810-4119                                                                                                                                                                           First -Class Mail
Vapotherm, Inc.                                                                  22 Industrial Drive                                               Exeter, NH 03833                                                                                                                                                                                 First -Class Mail
Vapotherm, Inc.                                                                  100 Domain Drive                                                  Exeter, NH 03833                                                                                                                                                                                 First -Class Mail
Varian Medical Systems, Inc.                                                     9825 Spectrum Dr, Bldg 2                                          Austin, TX 78717                            Austin, TX 78717                                                                                                                                     First -Class Mail
Varsha Hareesh                                                                   Address Redacted                                                                                                                                                                                                                                                   First -Class Mail
Vascular & Interventional Consult                                                Attn: Michael J Sichlau                                           130 Keystone Ave                            River Forest, IL 60305-2020                                                                                                                          First -Class Mail
Vays Medical LLC                                                                 1 Alhambra Plaza, PH Floor                                        Miami, FL 33134                                                                                                                                                                                  First -Class Mail
VBM Comercio e Servicos de Equipamentos Medico e Hospitalar Ltda                 R Des Montenegro, 435                                             Barro Vermelho                              Natal - RN, 59022-640                Brazil                                                                                                          First -Class Mail
VBM Comercio e Servicos de Equipamentos Medico e Hospitalar Ltda                 VBM Comercio e Servicos de Equipamentos Medico e H                Rua Des Montenegro, n 435                   Lagoa Seca CEP 59022-640             Natal, Rio Grande do Norte       Brazil                                                                         First -Class Mail
VBM Comercio e Servicos de Equipamentos Medico e Hospitalar Ltda.                Rua Des. Montenegro, n. 435                                       Lagoa Seca CEP 59022-640                    Natal, Rio Grande do Norte           Brazil                                                                                                          First -Class Mail
VBM India Co                                                                     Aditya Complex, 6/201, C Block                                    Preet Vihar, Delhi 110092                   India                                                                                                                                                First -Class Mail
VBM India Co                                                                     VBM India Co                                                      6/201, Aditya Complex                       Preet Vihar, Delhi - 110092          India                                                                                                           First -Class Mail
VBM India Co.                                                                    6/201, Aditya Complex                                             Preet Vihar, Delhi - 110092                 India                                                                                                                                                First -Class Mail
VE Consulting LLC                                                                12029 86th Avenue North                                           Maple Grove, MN 55369                                                                                                                                                                            First -Class Mail
Vedder Price Pc                                                                  222 N Lasalle St                                                  Chicago, IL 60601-1003                                                                                                                                                                           First -Class Mail
VedderPrice                                                                      222 North LaSalle Street                                          Chicago, IL 60601                                                                                                                                                                                First -Class Mail
Veena B Antony                                                                   Address Redacted                                                                                                                                                                                                                                                   First -Class Mail
Veeva Systems Inc                                                                4280 Hacienda Dr                                                  Pleasanton, CA 94588-2719                                                                                                                                                                        First -Class Mail
Veeva Systems Inc.                                                               4280 Hacienda Drive                                               Pleasanton, CA 94588                                                                                                                                                                             First -Class Mail
Velcro USA Inc                                                                   P.O. Box 414871                                                   Boston, MA 02241-4871                                                                                                                                                                            First -Class Mail
Velcro USA Inc.                                                                  95 Sundial Avenue                                                 Manchester, NH 03103                                                                                                                                                                             First -Class Mail
Velentium LLC                                                                    22316 Grand Corner Dr, Ste 150                                    Katy, TX 77494-5705                                                                                                                                                                              First -Class Mail
Velentium, LLC                                                                   22316 Grand Corner Dr, Ste 150                                    Katy, TX 77494                                                                                                                                                                                   First -Class Mail
Velentium, LLC                                                                   22322 Grand Corner Dr, Ste 140                                    Katy, TX 77494                                                                                                                                                                                   First -Class Mail
Velia Bockmiller                                                                 Address Redacted                                                                                                                                                                                                                                                   First -Class Mail
Velocity Electronics                                                             2208 Energy Drive                                                 Austin, TX 78758                                                                                                                                                                                 First -Class Mail
Vem                                                                              c/o Virtual Electronics Mfg Inc                                   8/F Wongs Factory, Bldg 368-370             Tsuen Wan, NT 368370                 Hong Kong                                                                                                       First -Class Mail
Venable LLP                                                                      750 E Pratt St, Ste 900                                           Baltimore, MD 21202-3157                                                                                                                                                                         First -Class Mail
Vendict LTD                                                                      Habonim 2                                                         Ramat Gan                                   Israel                                                                                                                                               First -Class Mail
Vendict LTD                                                                      Rokah 68                                                          Ramat Gan                                   Israel                                                                                                                                               First -Class Mail
Vendormate (a GHX Company)                                                       1315 W. Century Drive, Ste. 100                                   Louisville, CO 80027                                                                                                                                                                             First -Class Mail
Vendormate Inc                                                                   1315 W Century Dr, Ste 100                                        Louisville, CO 80027-9560                                                                                                                                                                        First -Class Mail
Venessa Irizarry                                                                 Address Redacted                                                                                                                                                                                                                                                   First -Class Mail
Ventec Life Systems                                                              22002 26th Ave SE                                                 Bothell, WA 98021                                                                                                                                                                                First -Class Mail
Ventilation Solutions Group                                                      Attn: Jack Edge                                                   2733 E Battlefield, Ste 120                 Springfield, MO 65804                                                                     jedge00@att.net                                            EmailFirst-Class Mail
Vention                                                                          4767 Rue Dagenais, Ste 104                                        Montreal, QC H4C 1L8                        Canada                               Canada                                                                                                          First -Class Mail
Vention Medical Design & Developmen                                              261 Cedar Hill St                                                 Marlborough, MA 01752-3056                                                                                                                                                                       First -Class Mail
Ventlab                                                                          2710 Northridge Dr NW, Ste A                                      Grand Rapids, MI 49544-9112                                                                                                                                                                      First -Class Mail
Vents_Asterix United (B) Sdn Bhd                                                 Unit A1-A3, 2nd Floor, Block A, Lot 52052, Sunway Centre, Kg Sg   Tilong, Bandar Seri Begawan BC3615          Brunei                                                                                                                                               First -Class Mail
Vents_Asterix United (B) Sdn Bhd                                                 Unit 11, Block A, 1st Fl Serusop Complex                          Spg 82, Jalan Muara BB2313                  Bandar Seri Begawan                  Negara                           Brunei Darussalam                                                              First -Class Mail
Vents_Bioelectronica Blanco SA                                                   Via a Duran - Tambo 5                                             Eloy Alfaro, Guayas                         Ecuador                                                                                                                                              First -Class Mail
Vents_Bioelectronica Blanco SA                                                   Bioelectronica Blanco SA                                          Centro Comcercial Urdesa Bloque "C          Detalles y la 3era                   Local 12, Guayaquil              Ecuador                                                                        First -Class Mail
Vents_Hosptech Comercio de Equipamentos                                          Medico Hospitalares Ltda - EPP                                    103 North Rua N0-11                         23-B Palmas                          Tocantins CEP 77001-036          Brazil                                                                         First -Class Mail
Vents_Hosptech Comercio de Equipamentos Medico Hospitalares Ltda - EPP           Atir Yeda 15                                                      Kfar Saba, 446312                           Israel                                                                                                                                               First -Class Mail
Ventura County Medical Center                                                    300 Hillmont Ave                                                  Ventura, CA 93003                                                                                                                                                                                First -Class Mail
Ventura Pulm & Crit CR Med Grp                                                   168 N Brent St, Ste 406                                           Ventura, CA 93003                                                                                                                                                                                First -Class Mail
Ventura Pulmonary & Critical Care                                                168 N Brent St, Ste 406                                           Ventura, CA 93003                                                                                                                                                                                First -Class Mail
Venture Electronics International, Inc.                                          6701 Mowry Avenue                                                 Newark, CA 94560                                                                                                                                                                                 First -Class Mail
Venture International Pte Ltd                                                    5006 Ang Mo Kio Avenue 5                                          #05-01/12 Techplace II                      Singapore 569873                     Singapore                                                                                                       First -Class Mail
Venture Respirators                                                              630 Herman Rd                                                     Jackson Twp, NJ 08527                                                                                                                                                                            First -Class Mail
Venture Respiratory                                                              600 River Ave # 4-W                                               Lakewood, NJ 08701                                                                                                                                                                               First -Class Mail
Vera Rosas Registro E Legalizacao Ltda                                           Rua Batataes 376                                                  Sao Paulo, SP 01423-010                     Brazil                                                                                                                                               First -Class Mail
Verder Scientific Inc                                                            11 Penns Trl, Ste 300                                             Newtown, PA 18940-4800                                                                                                                                                                           First -Class Mail
Verdolin Pain Specialist Inc                                                     891 Kuhn Dr, Ste 106                                              Chula Vista, CA 91914-3551                                                                                                                                                                       First -Class Mail
Verdugo Hills Hospital                                                           1812 Verdugo Blvd                                                 Glendale, CA 91208                                                                                                                                                                               First -Class Mail
Verifa Oy                                                                        Kaikukatu 4                                                       Helsinki, 00530                             Finland                                                                                                                                              First -Class Mail
Verifa Oy                                                                        Hameentie 31                                                      Helsinki, 00500                             Helsinki                                                                                                                                             First -Class Mail
Verifa Oy                                                                        Kaikukatu 4                                                       00530 Helsinki                              Finland                                                                                                                                              First -Class Mail
Veritas Technologies LLC                                                         2625 Augustine Drive, Santa Clara, CA, 95054, USA                 Santa Clara, CA, 95054                                                                                                                                                                           First -Class Mail
Veritiv Operating Co                                                             Attn: Ernest Briseno                                              6600 Governors Lake Pkwy                    Norcross, GA 30071                                                                        ernest.briseno@veritivcorp.com                             EmailFirst-Class Mail
Veritiv Operating Co                                                             Attn: Ernest Briseno                                              6600 Governors Lake Pkwy                    Norcross, GA 30071                                                                                                                                   First -Class Mail
Veritiv Operating Company                                                        1000 Abernathy Rd NE                                              Building 44, Suite 1700                     Atlanta, GA 30328                                                                                                                                    First -Class Mail
Verizon Business                                                                 P.O. Box 660072                                                   Dallas, TX 75266                                                                                                                                                                                 First -Class Mail
Verizon Wireless                                                                 One Verizon Way                                                   Basking Ridge, NJ 07920                                                                                                                                                                          First -Class Mail
Verizon Wireless                                                                 1 Verizon Way                                                     Basking Ridge, NJ 07920-1025                                                                                                                                                                     First -Class Mail
Vermont Dept of Taxes                                                            P.O. Box 547                                                      Montpelier, VT 05601-0547                                                                                                                                                                        First -Class Mail
Vermont Dept of Taxes                                                            P.O. Box 1881                                                     Montpelier, VT 05601-1881                                                                                                                                                                        First -Class Mail
Vernay Laboratories Inc.                                                         2077 Convention Center Concourse                                  College Park, GA 30337                                                                                                                                                                           First -Class Mail
Vernon Memorial Hospital                                                         507 S Main St                                                     Viroqua, WI 54665-2059                                                                                                                                                                           First -Class Mail
Vernon Parish                                                                    117 Belview Rd                                                    Leesville, LA 71446                                                                                                                                                                              First -Class Mail
Vero Biotech Inc                                                                 387 Technology Cir NW, Ste 125                                    Atlanta, GA 30313                                                                                                                                                                                First -Class Mail
Vero Biotech Inc.                                                                387 Technology Circle NW, Ste 125                                 Atlanta, GA 30313                                                                                                                                                                                First -Class Mail
Veronica Sanchez                                                                 Address Redacted                                                                                                                                                                                                                                                   First -Class Mail
Versa Electronics                                                                Attn: Kurt Orr                                                    3943 Quebec Ave                             New Hope, MN 55427                                                                        korr@versae.com                                            EmailFirst-Class Mail
Versatile Automation Technologies I                                              Versa Machinery                                                   4850 Green Ct                               Elkhart, IN 46516-9596                                                                                                                               First -Class Mail
Vertex Inc                                                                       2301 Renaissance Blvd                                             King of Prussia, PA 19406-2772                                                                                                                                                                   First -Class Mail
                                                                    Case 24-11217-BLS                                                                                                           Doc 463                     Filed 08/24/24                                              Page 49 of 51

Vertex Inc                                                        2301 Renaissance Blvd                                                               King of Prussia, PA 19406                                                                                                                                                                                                  First -Class Mail
Vertical Construction, Inc                                        Attn: Nolan Borden                                                                  9955 Muirlands Blvd                             Irvine, CA 92618                                                                                          nbroden@verticalconstruction.com                                 EmailFirst-Class Mail
Vertical Health LLC                                               7 N Willow St, Ste 7A                                                               Montclair, NJ 07042-3591                                                                                                                                                                                                   First -Class Mail
Vertiv Integrated Systems GmbH                                    Mariakirchener STR. 38                                                              Arnstorf 94424                                  Germany                                                                                                                                                                    First -Class Mail
Vertiv Intergrated Systems GMBH                                   Attn: Stefan Gabriel                                                                Mariakirchener Str 38                           Amstorf, 94424                            Germany                                                         Stefan.Gabriel@vertiv.com                                        First -Class Mail
Vexor Technology LLC                                              955 W Smith Rd                                                                      Medina, OH 44256-2446                                                                                                                                                                                                      First -Class Mail
Viarch Integration Solutions Inc                                  1038 E Bastanchury Rd 289                                                           Fullerton, CA 92835-2786                                                                                                                                                                                                   First -Class Mail
Viasys Holdings Inc                                               22745 Savi Ranch Pkwy                                                               Yorba Linda, CA 92887-4668                                                                                                                                                                                                 First -Class Mail
Viatran Corp                                                      Attn: Tom Geissler                                                                  3829 Forest Pkwy                                N Tonawanda, NY 14120                                                                                     tom.geissier@dynisco.com                                         EmailFirst-Class Mail
Victor H Rocha                                                    Address Redacted                                                                                                                                                                                                                                                                                               First -Class Mail
Victor N Gonzalez                                                 Address Redacted                                                                                                                                                                                                                                                                                               First -Class Mail
Victor Rene Arredondo                                             Address Redacted                                                                                                                                                                                                                                                                                               First -Class Mail
Victor Ruiz                                                       Address Redacted                                                                                                                                                                                                                                                                                               First -Class Mail
Victoria (Tory) Trahey                                            Address Redacted                                                                                                                                                                                                                                                                                               First -Class Mail
Victoria Marie Trahey                                             Address Redacted                                                                                                                                                                                                                                                                                               First -Class Mail
Video & Sound Service Inc                                         40 W Lake St                                                                        Northlake, IL 60164-2425                                                                                                                                                                                                   First -Class Mail
Videojet Technologies Inc                                         Attn: Accts Rec                                                                     12113 Collection Ctr Dr                         Chicago, IL 60693                                                                                                                                                          First -Class Mail
Videojet Technologies Inc                                         1500 Mittel Blvd                                                                    Wood Dale, IL 60191-1073                                                                                                                                                                                                   First -Class Mail
Videojet Technologies Inc.                                        1500 N. Mittel Blvd.                                                                Wood Dale, IL 60191                                                                                                                                                                                                        First -Class Mail
Videojet Technologies Mexico S De R Cv                            Avenida Coyoacan 1213                                                               Distrito Federal, DF 03100                      Mexico                                                                                                                                                                     First -Class Mail
Vidreach Inc                                                      P.O. Box 4576                                                                       Alpharetta, GA 30023-4576                                                                                                                                                                                                  First -Class Mail
Viet Nam Medical Service &                                        Equipment Joint Stock Company                                                       No 55 Bldg, 54 Alley                            Le Quang Dao Str                          Tu Liem Dist Hanoi                       Vietnam                                                                                 First -Class Mail
Viet Nam Medical Service and Equipment Joint Stock Co             61, Village 6                                                                       Song Phuong Ward, Ha Noi                        Vietnam                                                                                                                                                                    First -Class Mail
Viet Nam Medical Service and Equipment Joint Stock Company        No. 55 Building, 54 Alley, Le Quang Dao Str.                                        Tu Liem Dist. Hanoi                             Hanoi                                     Vietnam                                                                                                                          First -Class Mail
Vikas Medical Devices                                             Siddharth, 1st Floor, 29 Dr. Rajendra Road                                          Kolkata, West Bengal 700020                     India                                                                                                                                                                      First -Class Mail
Vikas Medical Devices                                             29 Dr Rajendra Rd, Siddharth Bldg, 1st Fl                                           Jadubabur Bazar, Bhowanipore                    Kolkata, W Bengal 700020                  India                                                                                                                            First -Class Mail
Vikas Medical Devices                                             29 Dr Rajendra Rd                                                                   Siddharth 1st Fl                                Kolkata - 700 020                         India                                                                                                                            First -Class Mail
Vikram Bajaj                                                      26125 N. Riverwoods Blvd                                                            Mettawa, IL 60045                                                                                                                                                                                                          First -Class Mail
Vikram S Bajaj                                                    Address Redacted                                                                                                                                                                                                                                                                                               First -Class Mail
Vikram Singh Bajaj                                                Address Redacted                                                                                                                                                                                                                                                                                               First -Class Mail
Vinatoru Enterprises Inc                                          209 W Hanover Rd                                                                    Graham, NC 27253-1723                                                                                                                                                                                                      First -Class Mail
Vincent Jarman                                                    Address Redacted                                                                                                                                                                                                                                                                                               First -Class Mail
Vincent Lam                                                       Address Redacted                                                                                                                                                                                                                              Email Address Redacted                                           EmailFirst-Class Mail
Vincent Lam                                                       Address Redacted                                                                                                                                                                                                                                                                                               First -Class Mail
Vincent Medical                                                   Flat B2/C2 7/F                                                                      Hung Hom, Kowoloon, HK                          Hong Kong                                                                                                 Raymond@vincentmedical.com                                       First -Class Mail
Vincent Medical                                                   22 Talega Street, Ste 100                                                           Rancho Santa Margarita, CA 92688                                                                                                                                                                                           First -Class Mail
Vincent Medical                                                   Flat B2/C2 7/F                                                                      Hung Hom, Kowoloon, HK                          Hong Kong                                                                                                                                                                  First -Class Mail
Vincent Medical Manufacturing Co, Ltd                             Attn: Calvin Koh                                                                    45-46 Sha Bu Industrial Zone                    Qiao Long Dist, Tang Xia Town             Dong Guan City, Guangdong Prov 523730    China                  eddy.kwok@vincentmedical.com; ralf.lai@vincentmedical.com        First -Class Mail
Vincent Medical Manufacturing Co, Ltd                             Attn: Calvin Koh                                                                    45-46 Sha Bu Industrial Zone                    Qiao Long Dist, Tang Xia Town             Dong Guan City, Guangdong Prov 523730    China                                                                                   First -Class Mail
Vincent Medical Manufacturing Co. LTD                             Flats B2 & C2, 7/F., Hang Fung Industrial Building,                                 Phase 2, 2G Hok Yuen Street                     Hung Hom, Kowloon                         Hong Kong                                                                                                                        First -Class Mail
Vincent Rehab Devices Company Limited                             45-46 Sha Bu Industrial Zone                                                        Qiaolog District, Tangxia Town                  Dongguan City, 523730                     Guangdong Province, PR                   China                                                                                   First -Class Mail
Vingroup JSC                                                      Vingroup Headquarter - No. 7                                                        Bang Lang 1 str.                                Vinhomes Riverside                        Viet Hung ward                           Vietnam                                                                                 First -Class Mail
Vintage Medical LLC                                               Attn: Jeffrey L Kropholler                                                          1801 Royal Ln, Ste 908                          Dallas, TX 75229-7502                                                                                                                                                      First -Class Mail
Vinyl Technologies Inc                                            c/o Vytek Laser Systems                                                             195 Industrial Rd                               Fitchburg, MA 01420-4654                                                                                                                                                   First -Class Mail
Viomedex LTD                                                      Attn: Maggie Chrisholm                                                              Unit 13, Swan Bar Business Centre               Hailsham, E Sussex BN27 2BY               United Kingdom                                                  maggie@viomedex.com                                              First -Class Mail
Vip Rubber Co Inc                                                 540 S Cypress St                                                                    La Habra, CA 90631-6127                                                                                                                                                                                                    First -Class Mail
Vipany Management Consulting                                      c/o Private Ltd                                                                     6 3 456 21 1st Fl Sree Nilayam                  Hyderabad, 500082                         India                                                                                                                            First -Class Mail
Vipany Management Consulting Pvt Ltd                              Panjagutta, Hyderabad - 500082                                                      India                                                                                                                                                                                                                      First -Class Mail
Virginia Ann Murray                                               Address Redacted                                                                                                                                                                                                                                                                                               First -Class Mail
Virginia Dept of Taxation                                         P.O. Box 26627                                                                      Richmond, VA 23261-6627                                                                                                                                                                                                    First -Class Mail
Virginia Hospital Center                                          1701 N George Mason Dr                                                              Arlington, VA 22205                                                                                                                                                                                                        First -Class Mail
Virginia M Parsons                                                Address Redacted                                                                                                                                                                                                                                                                                               First -Class Mail
Virginia Polytech & State Univ                                    295 W Campus Dr, 338 Wallace Hall                                                   Blacksburg, VA 24061                                                                                                                                                                                                       First -Class Mail
Virginia Tax                                                      Office of Customer Services                                                         P.O. Box 1115                                   Richmond, VA 23218-1115                                                                                                                                                    First -Class Mail
Virginia Tax Office of Customer Services                          P.O. Box 26627                                                                      Richmond, VA 23261-6627                                                                                                                                                                                                    First -Class Mail
Virtua Health                                                     303 Lippincott Dr, 4th Fl                                                           Marlton, NJ 08053                                                                                                                                                                                                          First -Class Mail
Virtus Trading LLC                                                1103 Addax Tower                                                                    Al Reem Island                                  PO Box 94802                              Abu Dhabi                                United Arab Emirates                                                                    First -Class Mail
Virtus Trading LLC                                                Office 1103, Addax Tower                                                            Al Reem Island, AbuDhabi                        United Arab Emirates                                                                                                                                                       First -Class Mail
Visakha Healthcare (India) Pvt Ltd                                No 14-37-34, 1st Fl, Krishna Nagar, Maharani Peta                                   Visakhapatnam, Andhra Pradesh 53002             India                                                                                                                                                                      First -Class Mail
Visakha Healthcare (India) Pvt. Ltd                               14-37-34, 1st Floor, Krishna Nagar,                                                 Visakhapatnam – 530 002, Andhra Pradesh         India                                                                                                                                                                      First -Class Mail
Visaton GmbH & Co. KG                                             Ohligser Str. 29-31                                                                 42781 Haan                                      Germany                                                                                                                                                                    First -Class Mail
Vision Engineering                                                570 Danbury Rd                                                                      New Milford, CT 06776-4341                                                                                                                                                                                                 First -Class Mail
Vision Engineering Inc                                            570 Danbury Rd                                                                      New Milford, CT 06776-4341                                                                                                                                                                                                 First -Class Mail
Vision Service Plan (VSP)                                         3333 Quality Dr                                                                     Rancho Cordova, CA 95670                                                                                                                                                                                                   First -Class Mail
Vistex Inc                                                        2300 Barrington Rd                                                                  Hoffman Estates, IL 60169-2082                                                                                                                                                                                             First -Class Mail
Vistex, Inc.                                                      2300 Barrington Road, Ste 550                                                       Hoffman Estates, IL 60169                                                                                                                                                                                                  First -Class Mail
Visual Check Int'l                                                Attn: Julie K Wong                                                                  6692 N Woodson Ave                              Fresno, CA 93711-1151                                                                                                                                                      First -Class Mail
Visual Solutions                                                  Attn: Karen Darnell                                                                 487 Groton Rd                                   Westford, MA 01886                                                                                        sales@vissol.com                                                 EmailFirst-Class Mail
Vita Needle                                                       Attn: Jim Astrella                                                                  919 Great Plain Ave                             Needham, MA 02492                                                                                         sales@Vitaneedle.com                                             EmailFirst-Class Mail
Vital Signs Inc                                                   P.O. Box 402431                                                                     Atlanta, GA 30384-2431                                                                                                                                                                                                     First -Class Mail
VitalAire Canada Inc                                              6990 Creditview Rd                                                                  Mississauga, ON L5N 8R9                         Canada                                                                                                                                                                     First -Class Mail
Vitalograph                                                       13310 W. 99th St.                                                                   Lenexa, KS 66215                                                                                                                                                                                                           First -Class Mail
Vito India Advisors Pvt Ltd                                       2nd Floor, Napha Building                                                           CST Road Kalina                                 Santacruz East, Munbai                    Maharashtra 400098                       India                                                                                   First -Class Mail
Vito India Advisors Pvt Ltd                                       Flat No 302 Wing, Bldg 3, Fl No 3, Anmol Bldg 3 Anmol Complex                       J B Nagar Road, OppMukun d Hospital             Andheri East Mumbai, Maharashtra 400059   India                                                                                                                            First -Class Mail
Vito India Advisors Pvt Ltd                                       2nd Fl, Napha Bldg                                                                  CST Road Kalina                                 Santacruz East, Munbai                    Maharashtra 400098                       India                                                                                   First -Class Mail
Vito Loguidice Md                                                 3077 Artemis Cir                                                                    Bethlehem, PA 18017-2517                                                                                                                                                                                                   First -Class Mail
Vitran Express Inc                                                2850 Kramer Dr                                                                      Gibsonia, PA 15044-9670                                                                                                                                                                                                    First -Class Mail
Vittorio M Morreale Md Plc                                        Attn: Vittorio M Morreale                                                           50505 Schoenherr Rd, Ste 200                    Shelby Township, MI 48315-3140                                                                                                                                             First -Class Mail
Vizient - Minimum Purchase Commitment Agreements                  290 E John Carpenter Fwy                                                            Irving, TX 75062                                                                                                                                                                                                           First -Class Mail
Vizient Inc                                                       290 E John Carpenter Fwy                                                            Irving, TX 75062                                                                                                                                          vizientsupport@vizientinc.com                                    EmailFirst-Class Mail
Vizient Inc                                                       290 E John Carpenter Fwy                                                            Irving, TX 75062                                                                                                                                                                                                           First -Class Mail
Vizient Inc                                                       c/o Vizient Supply LLC                                                              290 E John Carpenter Fwy                        Irving, TX 75062-2730                                                                                                                                                      First -Class Mail
Vizient Supply, LLC                                               75 Remittance Dr                                                                    Chicago, IL 60675-1420                                                                                                                                                                                                     First -Class Mail
Vizient Supply, LLC                                               fka Novation                                                                        290 E John Carpenter Fwy                        Irving, TX 75062                                                                                                                                                           First -Class Mail
Vizient Supply, LLC                                               fka Novation                                                                        290 E John Carpenter Fwy                        Irving, TX 75062                                                                                                                                                           First -Class Mail
Vizient Supply, LLC                                               fka Novation                                                                        290 E John Carpenter Fwy                        Irving, TX 75062                                                                                                                                                           First -Class Mail
Vizient Supply, LLC                                               fka Novation                                                                        290 E John Carpenter Fwy                        Irving, TX 75062                                                                                                                                                           First -Class Mail
Vizient Supply, LLC                                               fka Novation                                                                        290 E John Carpenter Fwy                        Irving, TX 75062                                                                                                                                                           First -Class Mail
Vizient Supply, LLC                                               fka Novation                                                                        290 E John Carpenter Fwy                        Irving, TX 75062                                                                                                                                                           First -Class Mail
Vizient Supply, LLC                                               fka Novation                                                                        125 E John Carpenter Fwy                        Irving, TX 75062                                                                                                                                                           First -Class Mail
Vizient Supply, LLC                                               fka Novation                                                                        290 E John Carpenter Fwy                        Irving, TX 75062                                                                                                                                                           First -Class Mail
Vizient Supply, LLC                                               fka Novation                                                                        290 E John Carpenter Fwy                        Irving, TX 75062                                                                                                                                                           First -Class Mail
Vizient Supply, LLC                                               fka Novation                                                                        290 E John Carpenter Fwy                        Irving, TX 75062                                                                                                                                                           First -Class Mail
Vizient Supply, LLC                                               fka Novation                                                                        290 E John Carpenter Fwy                        Irving, TX 75062                                                                                                                                                           First -Class Mail
Vizient Supply, LLC                                               fka Novation                                                                        290 E John Carpenter Fwy                        Irving, TX 75062                                                                                                                                                           First -Class Mail
Vizient Supply, LLC                                               fka Novation                                                                        290 E John Carpenter Fwy                        Irving, TX 75062                                                                                                                                                           First -Class Mail
Vizient Supply, LLC                                               P.O. Box 842167                                                                     Dallas, TX 75284                                                                                                                                                                                                           First -Class Mail
Vizient Supply, LLC                                               fka Novation                                                                        290 E John Carpenter Fwy                        Irving, TX 75062                                                                                                                                                           First -Class Mail
Vizient Supply, LLC                                               fka Novation                                                                        290 E John Carpenter Fwy                        Irving, TX 75062                                                                                                                                                           First -Class Mail
Vizient Supply, LLC                                               fka Novation                                                                        290 E John Carpenter Fwy                        Irving, TX 75062                                                                                                                                                           First -Class Mail
Vizient, Inc.                                                     Attn: Michael Clark                                                                 290 E John Carpenter Fwy                        Irving, TX 75062                                                                                          michael.clark@vizientinc.com                                     EmailFirst-Class Mail
VKK Patentanwalte Partg Mbb                                       Edisonstrasse 2                                                                     Kempten, 87437                                  Germany                                                                                                                                                                    First -Class Mail
VMG Technologies Inc                                              7300 Scout Ave                                                                      Bell Gardens, CA 90201-4900                                                                                                                                                                                                First -Class Mail
VMG Technologies Mexico SA DE CV                                  Mexicali San Felipe Km 5+270                                                        Edificio 2A Parque Industrial El Dorado         Baja California                           CP 21383 Mexicali                        Mexico                                                                                  First -Class Mail
VMware, Inc.                                                      3401 Hillview Avenue                                                                Palo Alto, CA 94304                                                                                                                                                                                                        First -Class Mail
VO2 Master Health Sensors Inc.                                    8160 Highland Rd.                                                                   Vernon, BC V1B 3W6                              Canada                                                                                                                                                                     First -Class Mail
VO2 Master Health Sensors Inc.                                    2906 33 St                                                                          Vernon, BC V1T 2C8                              Canada                                                                                                                                                                     First -Class Mail
Vocera                                                            525 Race Street                                                                     San Jose, CA 95126                                                                                                                                                                                                         First -Class Mail
Vogue Printers Inc                                                P.O. Box 7170                                                                       Libertyville, IL 60048-7170                                                                                                                                                                                                First -Class Mail
Volt Workforce Solutions                                          c/o Volt Management Corp                                                            File 53102                                      Los Angeles, CA 90074-3102                                                                                                                                                 First -Class Mail
Volt Workforce Solutions                                          c/o Volt Management Corp                                                            2401 N Glassell St                              Orange, CA 92865-2705                                                                                                                                                      First -Class Mail
Vortex                                                            20 Odyssey                                                                          Irvine, CA 92618                                                                                                                                                                                                           First -Class Mail
VR Medical Importadora E Distribuidora De Produtos Médicos LTDA   VR Medical Ltda.                                                                    Rua Batataes, 391                               Sao Paulo/SP - CEP 01423.0010             Brazil                                                                                                                           First -Class Mail
VR Medical Service Ltda                                           Rua Batataes 391 Conj 12 Jardim                                                     Sao Paulo, 01423-010                            Brazil                                                                                                                                                                     First -Class Mail
VTI Vacuum Technologies                                           Attn: Linda Tipitino                                                                1215 Industrial Ave                             Reedsburg, WI 53959                                                                                       linda@vactecinc.com                                              EmailFirst-Class Mail
VTT Technical Research Centre of Finland Ltd                      Kivimiehentie 3                                                                     Espoo                                           Finland                                                                                                                                                                    First -Class Mail
VTT Technical Research Centre of Finland Ltd                      Vuorimiehqjtie 3                                                                    Espo                                            Finland                                                                                                                                                                    First -Class Mail
Vulcan Machinery Corp                                             20 N Case Ave                                                                       Akron, OH 44305-2534                                                                                                                                                                                                       First -Class Mail
VWR Funding Inc                                                   c/o VWR International LLC                                                           P.O. Box 6660                                   Radnor, PA 19087-6660                                                                                                                                                      First -Class Mail
VWR Funding Inc                                                   c/o VWR International LLC                                                           P.O. Box 640169                                 Pittsburgh, PA 15264-0169                                                                                                                                                  First -Class Mail
Vwr Funding Inc                                                   c/o Vwr International LLC                                                           100 W Matsonford Rd, Bldg 1, Ste 200            Radnor, PA 19087-4569                                                                                                                                                      First -Class Mail
Vwr Funding Inc                                                   c/o Vwr International LLC                                                           100 Matsonford Rd                               Wayne, PA 19087-4559                                                                                                                                                       First -Class Mail
VWR Funding Int'l                                                 Attn: Ken Crossley                                                                  100 Matsonford Rd                               Radnor, PA 19087                                                                                          qa@vwr.com                                                       EmailFirst-Class Mail
Vwr Int'l                                                         3745 Bayshore Blvd, Ste D                                                           Brisbane, CA 94005                                                                                                                                                                                                         First -Class Mail
Vwr Int'l LLC                                                     100 Matsonford Rd, Ste 200                                                          Wayne, PA 19087-4558                                                                                                                                                                                                       First -Class Mail
Vwr Int'l S De RLDe CV                                            Blvd 3Ra Oeste 17513 Int 103-104                                                    Tijuana, BC 22430                               Mexico                                                                                                                                                                     First -Class Mail
VXI Global Solutions, LLC                                         220 West 1st Street, Ste 300                                                        Los Angeles, CA 90012                                                                                                                                                                                                      First -Class Mail
Vyaire B.V.                                                       De Molen 8, 3994 DB Houten                                                          Netherlands                                                                                                                                                                                                                First -Class Mail
Vyaire Finance B.V.                                               De Molen 8, 3994 DB Houten                                                          Netherlands                                                                                                                                                                                                                First -Class Mail
Vyaire Intermediate HoldCo LP                                     26125 N Riverwoods Blvd                                                             Mettawa, IL 60054                                                                                                                                                                                                          First -Class Mail
Vyaire Medical                                                    26125 N. Riverwoods Blvd.,                                                          Mettawa, IL 60045                                                                                                                                                                                                          First -Class Mail
Vyaire Medical 202, Inc                                           510 Technology Dr                                                                   Irvine, CA 92618                                                                                                                                                                                                           First -Class Mail
Vyaire Medical 203, Inc                                           26125 N Riverwoods Blvd                                                             Mettawa, IL 60045                                                                                                                                                                                                          First -Class Mail
Vyaire Medical 205, Inc                                           26125 N Riverwoods Blvd                                                             Mettawa, IL 60045                                                                                                                                                                                                          First -Class Mail
Vyaire Medical 211, Inc                                           510 Technology Dr                                                                   Irvine, CA 92618                                                                                                                                                                                                           First -Class Mail
Vyaire Medical Br LLC                                             26125 N Riverwoods Blvd                                                             Mettawa, IL 60045                                                                                                                                                                                                          First -Class Mail
Vyaire Medical Consumables LLC                                    26125 N. Riverwoods Blvd.                                                           Mettawa, IL 60045                                                                                                                                                                                                          First -Class Mail
Vyaire Medical GmbH                                               Leibnizstr. 7                                                                       D-97204 Hoechberg                               Germany                                                                                                                                                                    First -Class Mail
Vyaire Medical Korea Ltd.                                         507 Teheran-ro, Gangnamgu                                                           Seoul                                           South Korea                                                                                                                                                                First -Class Mail
Vyaire Medical Korea, Ltd                                         425 Tehran Rd                                                                       Rm 405, Shin Ii Bldg                            Gangnam-gu                                Seoul,                                   South Korea                                                                             First -Class Mail
Vyaire Medical Payroll LLC                                        26125 N Riverwoods Blvd                                                             Mettawa, IL 60045                                                                                                                                                                                                          First -Class Mail
Vyaire Medical Private Limited                                    Unit No. 706, 7th Floor, WTT, Tower B, Plot No. C-01, Sector 16, Noida              India                                                                                                                                                                                                                      First -Class Mail
Vyaire Medical Private Limited                                    135-137, 1st Floor, ABW Rectangle One Building, D-4, Saket District Centre          New Delhi, 10017                                India                                                                                                                                                                      First -Class Mail
Vyaire Medical Private Limited                                    215 C, PKT-E GTB Enclave, Nand Nagri                                                New Delhi, Delhi, 110093                        India                                                                                                                                                                      First -Class Mail
Vyaire Medical Products (Shanghai) Co., Ltd.                      Room 2001, 2010, 20th Floor, Tower 1, Jing'An Kerry Centre, No. 1515 Nanjing Road   West Shanghai 200040                            China                                                                                                                                                                      First -Class Mail
Vyaire Medical Products (Shanghai) Co., Ltd. Beijing Branch       3/F, Building 17, Section V, No. 188 West Nansihuan Road, Fengtai District          Beijing                                         China                                                                                                                                                                      First -Class Mail
Vyaire Medical Products Limited                                   Chineham Gate Chineham Business Park, Crockford Lane                                Basingstoke, Hampshire, RG24 8NA                United Kingdom                                                                                                                                                             First -Class Mail
Vyaire Medical Products ULC                                       2400, 525 - 8th Avenue SW                                                           Calgary, AB T2P 1G1                             Canada                                                                                                                                                                     First -Class Mail
Vyaire Medical Pte. Ltd.                                          137 Telok Ayer Street, #08-01                                                       Singapore 068602                                Singapore 569873                                                                                                                                                           First -Class Mail
Vyaire Medical Pty Ltd.                                           7-11 Talavera Road, Foundation Park Building C, Suite 5.03 Macquaire Park           Sydney, NSW 2113                                Australia                                                                                                                                                                  First -Class Mail
Vyaire Medical SDN BHD                                            No. 9A, Jalan Medan Tuanku, Medan Tuanku                                            50300 Kuala Lumpur                              Malaysia                                                                                                                                                                   First -Class Mail
Vyaire Medical, Inc                                               26125 N Riverwoods Blvd                                                             Mettawa, IL 60045                                                                                                                                                                                                          First -Class Mail
Vyaire Products Ltd U.K.                                          Chineham Gate, Crockford Ln                                                         Basingstoke RG24 8NA                            United Kingdom                                                                                                                                                             First -Class Mail
W Kromker GMBH                                                    Nordring 27A                                                                        Buckeburg, 31675                                Germany                                                                                                                                                                    First -Class Mail
W L Gore & Associates Inc                                         402 Vieves Way                                                                      Elkton, MD 21921-3936                                                                                                                                                                                                      First -Class Mail
W Mark White                                                      Address Redacted                                                                                                                                                                                                                                                                                               First -Class Mail
W Michael King                                                    Address Redacted                                                                                                                                                                                                                                                                                               First -Class Mail
W Nuhsbaum Inc                                                    760 Ridgeview Dr                                                                    Mchenry, IL 60050-7054                                                                                                                                                                                                     First -Class Mail
W T Medical Services                                              Attn: Jarvis Letcher                                                                P.O. Box 362                                    Wall, TX 76957-0362                                                                                                                                                        First -Class Mail
W&S Plastics                                                      37-39 Seton Road                                                                    Moorebank, NSW                                  Australia                                                                                                                                                                  First -Class Mail
W. Kromker Gmbh                                                   Nordring 27A                                                                        31675 Buckeburg                                 Germany                                                                                                                                                                    First -Class Mail
WA Assoc of Nurse Anesthetists                                    Attn: JoAnn Kaiser                                                                  13305 N Addison                                 Spokan, WA 99208                                                                                          wana1@comcast.net                                                EmailFirst-Class Mail
Wageworks Inc                                                     1100 Park Pl, 4th Fl                                                                San Mateo, CA 94403-1599                                                                                                                                                                                                   First -Class Mail
WALL MART Vision Center                                           P.O. Box 60982                                                                      St Louis, MO 63106                                                                                                                                                                                                         First -Class Mail
Walla Walla County Treasurer                                      P.O. Box 777                                                                        Walla Walla, WA 99362-0247                                                                                                                                                                                                 First -Class Mail
Walter O Moss Regional Med Ctr                                    1000 Walters St                                                                     Lake Charles, LA 70607                                                                                                                                                                                                     First -Class Mail
Wanda Warden                                                      Address Redacted                                                                                                                                                                                                                                                                                               First -Class Mail
Wannes Buelens                                                                                                                                                                                                                                                                                                  wannes.buelens@blns-law.com                                      Email
Ward Davis Associates                                             2623 Manhattan Beach Blvd                                                           Redondo Beach, CA 90278                                                                                                                                                                                                    First -Class Mail
Warehouse of Fixtures Tng                                         c/o Affordable Office Interiors LLC                                                 2720 Market St                                  St Louis, MO 63103-2522                                                                                                                                                    First -Class Mail
Warehouse Solutions Inc                                           P.O. Box 60727                                                                      San Diego, CA 92166-8727                                                                                                                                                                                                   First -Class Mail
Warehouse Solutions Inc                                           12570-5 Slaughterhouse Canyon Rd                                                    Lakeside, CA 92040                                                                                                                                                                                                         First -Class Mail
Warren General Hospital                                           2 Crescent Park                                                                     Warren, PA 16365                                                                                                                                                                                                           First -Class Mail
Washington Assoc of Nurse Anesthetists                            13305 N Addison St                                                                  Spokane, WA 99208-6384                                                                                                                                                                                                     First -Class Mail
Washington Dept of Revenue                                        P.O. Box 47464                                                                      Olympia, WA 98504-7464                                                                                                                                                                                                     First -Class Mail
Washington Hospital Center Dba Medstar                            10980 Grantchester Way                                                              Columbia, MD 21044                                                                                                                                                                                                         First -Class Mail
Washington Parish                                                 Sales & Use Tax Dept                                                                1002 Main St                                    Franklinton, LA 70438                                                                                                                                                      First -Class Mail
Washington Penn Plastic Co., Inc                                  Dba Audia Elastomers                                                                450 Racetrack Rd                                Washington, PA 15301                                                                                                                                                       First -Class Mail
Washington State                                                  Dept of Revenue                                                                     P.O. Box 47464                                  Olympia, WA 98504-7464                                                                                                                                                     First -Class Mail
Washington State Dept of Labor & WA State L&I                     P.O. Box 44836                                                                      Olympia, WA 98504-4171                                                                                                                                                                                                     First -Class Mail
Washington State Medical Oncology Society                         113 W 7th St, Ste 205                                                               Vancouver, WA 98660-3187                                                                                                                                                                                                   First -Class Mail
Washington University                                             School Of Medicine                                                                  660 S Euclid Ave                                St Louis, MO 63110-1010                                                                                                                                                    First -Class Mail
Wassco                                                            P.O. Box 31001-1372                                                                 Pasadena, CA 91110-1372                                                                                                                                                                                                    First -Class Mail
Wassco                                                            12778 Brookprinter Pl                                                               Poway, CA 92064                                                                                                                                                                                                            First -Class Mail
Waste Management National Services, Inc.                          1001 Fannin St                                                                      Houston, TX 77002                                                                                                                                                                                                          First -Class Mail
Waste Management of Missouri Inc                                  P.O. Box 9001054                                                                    Louisville, KY 40290-1054                                                                                                                                                                                                  First -Class Mail
Waste Management of Missouri Inc                                  7320 Hall St                                                                        St Louis, MO 63147-2606                                                                                                                                                                                                    First -Class Mail
Watchtower Llc                                                    8260 Greensboro Dr, Ste 200                                                         Mclean, VA 22102                                                                                                                                                                                                           First -Class Mail
Watchtower LLC                                                    8260 Greensboro Dr, Ste 200                                                         McLean, VA 22102-3886                                                                                                                                                                                                      First -Class Mail
Watertown Memorial                                                125 Hospital Dr                                                                     Watertown, WI 53098-3303                                                                                                                                                                                                   First -Class Mail
Watertown Regional Med Ctr                                        125 Hospital Dr                                                                     Watertown, WI 53098                                                                                                                                                                                                        First -Class Mail
Watlow Electric Manufacturing Co                                  36785 Treasury Ctr                                                                  Chicago, IL 60694-6700                                                                                                                                                                                                     First -Class Mail
Watlow Electronic MFG                                             Attn: Kim Zottarella                                                                12001 Lackland Rd                               St Louis, MO 63146                                                                                                                                                         First -Class Mail
Watson Clinic                                                     1600 Lakeland Hills Blvd                                                            Lakeland, FL 33805                                                                                                                                                                                                         First -Class Mail
Watson Clinic                                                     P.O. Box 95000                                                                      Lakeland, FL 33804-5000                                                                                                                                                                                                    First -Class Mail
Wavetech LLC                                                      Attn: John F Ohara                                                                  8311 N Western Rd                               Stillwater, OK 74075-9578                                                                                                                                                  First -Class Mail
Wavicle Data Solutions                                            Attn: Faye Kopanitsanos                                                             564 W Randolph St, Ste 600                      Chicago, IL 60661                                                                                         Faye.konpanitsanos@wavicle.com                                   EmailFirst-Class Mail
Wavicle Data Solutions                                            564 West Randolph St                                                                Chicago, IL 60661                                                                                                                                                                                                          First -Class Mail
Wavicle Data Solutions                                            564 W Randolph St                                                                   Ste 600                                         Chicago, IL 60661                                                                                                                                                          First -Class Mail
Wavicle Data Solutions LLC                                        564 W Randolph St, Ste 600                                                          Chicago, IL 60661-2218                                                                                                                                                                                                     First -Class Mail
Waxie                                                             P.O. Box 60227                                                                      Los Angeles, CA 90060                                                                                                                                                                                                      First -Class Mail
Wayne County Memorial Hosp                                        2700 Wayne Memorial Dr                                                              RECEIVING                                       Goldsboro, NC 27534                                                                                                                                                        First -Class Mail
Wayne Paul-Bazil Crna                                             c/o Bazil Anesthesia LLC                                                            1143 Greenridge Ln                              Lithonia, GA 30058-2215                                                                                                                                                    First -Class Mail
Wayne State University                                            Attn: Dana Cooley                                                                   6C University Health Ctr                        Detroit, MI 48201                                                                                                                                                          First -Class Mail
WD Distributing Inc                                               P.O. Box 95972                                                                      Oklahoma City, OK 73143-5972                                                                                                                                                                                               First -Class Mail
Wd Distributing Inc                                               807 SE 83rd St                                                                      Oklahoma City, OK 73149-3044                                                                                                                                                                                               First -Class Mail
We Work Singapore Ltd                                             83 Cleamenceau Ave                                                                  Singapore, 239920                               Singapore                                                                                                                                                                  First -Class Mail
Weather Trends International, Inc.                                1495 Valley Center Parkway                                                          Ste 300                                         Bethlehem, PA 18017                                                                                                                                                        First -Class Mail
Weber & Co                                                        710 S Dixie Hwy, Ste 200                                                            Coral Gables, FL 33146-2602                                                                                                                                                                                                First -Class Mail
Weber County                                                      2380 Washington Blvd                                                                Ogden, UT 84401-1475                                                                                                                                                                                                       First -Class Mail
Weber Marking Systems Inc                                         Dept 20-8048                                                                        Carol Stream, IL 60197-5988                                                                                                                                                                                                First -Class Mail
Weber Marking Systems Inc                                         c/o Weber Packaging Solutions Inc                                                   711 W Algonquin Rd                              Arlington Heights, IL 60005                                                                                                                                                First -Class Mail
Weber Marking Systems Inc.                                        711 W Algonquin Rd Cook                                                             Arlington Heights, IL 60005                                                                                                                                                                                                First -Class Mail
Weber Precision Graphics                                          Attn: Ignacio Cuevas, Sarah Malloy                                                  Attn: Vanessa Barrera                           2730 Shannon St                           Santa Ana, CA 92704                                             ncuevas@weberpg.com; smalloy@weberpg.com; vanessab@weberpg.com   EmailFirst-Class Mail
Weber Precision Graphics                                          Attn: Ignacio Cuevas, Sarah Malloy                                                  Attn: Vanessa Barrera                           2730 Shannon St                           Santa Ana, CA 92704                                                                                                              First -Class Mail
Weber Precision Graphics                                          2730 South Shannon St                                                               Santa Ana, CA 92704                                                                                                                                                                                                        First -Class Mail
Webster Parish                                                    Sales & Use Tax Commission                                                          P.O. Box 357                                    Minden, LA 71058-0357                                                                                                                                                      First -Class Mail
Webucator                                                         201 W Genesee St, Ste 113                                                           Fayetteville, NY 13066                                                                                                                                                                                                     First -Class Mail
Weco Electrical Connectors Inc                                    18050 Trans-Canada Hwy                                                              Kirkland, Quebec H9J 4A1, Canada                Canada                                                                                                                                                                     First -Class Mail
Weco Electrical Connectors Inc                                    18050 Trans Canada Highway                                                          Kirkland, QC H9J 4A1                            Canada                                                                                                                                                                     First -Class Mail
Wei Hioe                                                          Address Redacted                                                                                                                                                                                                                                                                                               First -Class Mail
Weiler Engineering Inc                                            1395 Gateway Dr                                                                     Elgin, IL 60124-7866                                                                                                                                                                                                       First -Class Mail
Weiler Engineering, Inc.                                          1395 Gateway Drive                                                                  Elgin, IL 60124                                                                                                                                                                                                            First -Class Mail
Weiler, Laurent                                                   26 Rue De La Montee                                                                 68720 Flaxlanden                                France                                                                                                                                                                     First -Class Mail
Weill Med College Cornell University                              525 E 68th St                                                                       P.O. Box 130                                    New York, NY 10065                                                                                                                                                         First -Class Mail
Weins Machine Co                                                  Rt 1 Box 523                                                                        Terlton, OK 74081-9740                                                                                                                                                                                                     First -Class Mail
Weiss Technik North America Inc                                   c/o Cincinnati Facility                                                             12011 Mosteller Rd                              Cincinnati, OH 45241-1528                                                                                                                                                  First -Class Mail
Well Lead Medical Company Ltd                                     C-4, Jinhu Industrial Estate                                                        Hualong, Panyu 511434                           Guangzhou                                 China                                                                                                                            First -Class Mail
Well-Connected Leader Inc                                         c/o Thought Leadership Lab                                                          62 Pelican Ln                                   Redwood City, CA 94065-1571                                                                                                                                                First -Class Mail
Wellmei Mold Hong Kong Co Ltd                                     Hexi Industrial District Jinxia                                                     Changan Dongguan, 190 523850                    China                                                                                                                                                                      First -Class Mail
Wellmont Health System                                            1905 American Way                                                                   Kingsport, TN 37660-5882                                                                                                                                                                                                   First -Class Mail
Wellpath, LLC                                                     3340 Perimeter Hill Dr                                                              Nashville, TN 37211                                                                                                                                                                                                        First -Class Mail
Wells Fargo Financial                                             c/o Leasing, Inc                                                                    800 Walnut St                                   Des Moines, IA 50309-3605                                                                                                                                                  First -Class Mail
Wells Fargo Vendor Financial Servic LLC                           P.O. Box 650016                                                                     Dallas, TX 75265-0016                                                                                                                                                                                                      First -Class Mail
Wellspan Health                                                   45 Monument Rd, Ste 200                                                             York, PA 17403                                                                                                                                                                                                             First -Class Mail
Wellstar Health Systems                                           2500 Hospital Blvd Ste 340                                                          Roswell, GA 30076                                                                                                                                                                                                          First -Class Mail
Wellstar Health Systems                                           260 Rucker Rd                                                                       Alpharetta, GA 30004                                                                                                                                                                                                       First -Class Mail
                                                         Case 24-11217-BLS                                                                         Doc 463                       Filed 08/24/24                               Page 50 of 51

Wellstar Health Systems                                C/O Philpot Relocation Systems                   1909 FORGE ST                                    Tucker, GA 30084                                                                                                                         First -Class Mail
Wellstar Health Systems                                1120 Wellstar Way                                Canton, GA 30114                                                                                                                                                                          First -Class Mail
Wellstar Health Systems                                1790 Mulkey Rd, Ste 5A                           Austell, GA 30106                                                                                                                                                                         First -Class Mail
Wellstar Health Systems                                1045 Cobb Pkwy N                                 Marietta, GA 30062-2413                                                                                                                                                                   First -Class Mail
Wendy Rico                                             Address Redacted                                                                                                                                                                                                                           First -Class Mail
Werther, Tobias Md (Austria)                           Währinger Gürtel 18-20                           Vienna, 1090                                     Austria                                                                                                                                  First -Class Mail
Wescor Inc                                             Attn: Edward E Westerdahl Jr                     700 Frontier Way                                 Bensenville, IL 60106-1192                                                                                                               First -Class Mail
Wes-Cor Inc                                            700 Frontier Way                                 Bensenville, IL 60106-1192                                                                                                                                                                First -Class Mail
West Boca Medical Center                               21644 State Rd 7                                 Boca Raton, FL 33428                                                                                                                                                                      First -Class Mail
West Coast Gasket Co Inc                               Attn: Vanessa Jimenez                            300 Ranger Ave                                   Brea, CA 92821                                                                         Vjimenez@westcoastgasket.com                      EmailFirst-Class Mail
West Coast Gasket Co Inc.                              300 Brea Ranger Ave                              Brea, CA 92821                                                                                                                                                                            First -Class Mail
West Coast Industrial Sales                            1708 South Pacific St                            Oceanside, CA 92054                                                                                                                                                                       First -Class Mail
West Coast Supplies                                    2750 Mercantile Dr, Ste 100                      Rancho Cordova, CA 95742-7511                                                                                                                                                             First -Class Mail
West Ip Communications                                 401 S Fourth St                                  Ste 200                                          Louisville, KY 40202                                                                                                                     First -Class Mail
West IP Communications Inc                             401 S 4th St, Ste 200                            Louisville, KY 40202-3454                                                                                                                                                                 First -Class Mail
West Monroe Partners, Llc                              222 West Adams St, 11Th Fl                       Chicago, IL 60606                                                                                                                                                                         First -Class Mail
West Monroe Partners, Llc                              222 W Adams St, 11Th Fl                          Chicago, IL 60606                                                                                                                                                                         First -Class Mail
West Penn Allegheny Health System I                    30 Isabella St                                   Pittsburgh, PA 15212-5862                                                                                                                                                                 First -Class Mail
West Unified Communications Service                    P.O. Box 281866                                  Atlanta, GA 30384-1866                                                                                                                                                                    First -Class Mail
West Unified Communications Services, Inc.             P.O. Box 281866                                  Atlanta, GA 30384-1866                                                                                                                                                                    First -Class Mail
West Valley Medical Center                             5363 Balboa Blvd, Ste 227                        Encino, CA 91316                                                                                                                                                                          First -Class Mail
West Virginia State Tax Dept                           Tax Account Administration Div                   P.O. Box 1826                                    Charleston, WV 25327-1826                                                                                                                First -Class Mail
West Virginia Tax Division                             Taxpayer Services                                P.O. Box 3784                                    Charleston, WV 25337-3784                                                                                                                First -Class Mail
West Virginia Taxpayer Services                        P.O. Box 3784                                    Charleston, WV 25337-3784                                                                                                                                                                 First -Class Mail
Westbrook Int'l Ltd                                    Attn: Ged Thompson                               130 Shaftesbury Ave                              London, W1D SEU                                United Kingdom                          Ged.Thompson@westbrook.co.uk                      First -Class Mail
Westbrook Int'l Ltd                                    130 Shaftesbury Ave                              London, W1D 5EU                                  United Kingdom                                                                                                                           First -Class Mail
Westbrook Partners                                     Suite 541, Linen Hall                            162 Regent St                                    London W1B 5TF                                 United Kingdom                                                                            First -Class Mail
Westchester Surplus Lines Insurance Co                 11575 Great Oaks Way, Ste 200                    Alpharetta, GA 30022                                                                                                                                                                      First -Class Mail
Western Angiographic & Interventional Society (Wais)   4100 Redwood Rd, Ste 10                          Oakland, CA 94619-2363                                                                                                                                                                    First -Class Mail
Western Arizona Reg Med Center                         2735 Silver Creek Rd                             Bullhead City, AZ 86442                                                                                                                                                                   First -Class Mail
Western Enterprises                                    Attn: Ruth Mcdermott                             875 Bassett Rd                                   Westlake, OH 44145                                                                     rmcdermott@westernenterprises.com                 EmailFirst-Class Mail
Western Enterprises                                    Attn: Ruth Mcdermott                             875 Bassett Rd                                   Westlake, OH 44145                                                                                                                       First -Class Mail
Western Enterprises                                    c/o Western - Scott Fetzer Co                    P.O. Box 6829-N                                  Cleveland, OH 44193-0001                                                                                                                 First -Class Mail
Western States Fire Protection Co                      1631 SE 15th St                                  Oklahoma City, OK 73129-6015                                                                                                                                                              First -Class Mail
Western Surety Company                                 C/O Ca Shea & Company, Inc                       6 Mill Ridge Lane                                Chester, NJ 07930                                                                                                                        First -Class Mail
Westfall-Technik                                       3883 Howard Hughes Pkwy                          Ste 590                                          Las Vega, NV 89169                                                                                                                       First -Class Mail
Westfall-Technik                                       9280 S Kyrene Rd, Ste 106                        Tempe, AZ 85284                                                                                                                                                                           First -Class Mail
Westlake Chemical Co.                                  Westlake Chemical Co                             2801 Post Oak Blvd, Ste 600                      Houston, TX 77056                                                                                                                        First -Class Mail
Westlake Compounds Llc                                 2801 Post Oak Blvd                               Ste 600                                          Houston, TX 77056                                                                                                                        First -Class Mail
Westlake Polymers Llc                                  2801 Post Oak Blvd                               Ste 600                                          Houston, TX 77056                                                                                                                        First -Class Mail
Westlake Polymers LLC                                  2801 Post Oak Blvd                               Houston, TX 77056-6136                                                                                                                                                                    First -Class Mail
Westmed Inc.                                           5580 S Nogales Hwy                               Tucson, AZ 85706                                                                                                                                                                          First -Class Mail
Westmoreland Regional Hospital                         8775 Norwin Ave                                  Irwin, PA 15642                                                                                                                                                                           First -Class Mail
WestPak                                                Attn: Ryan Craft                                 10326 Roselle St, Ste 101                        San Diego, CA 92121                                                                    ryan@westpak.com; Oralia.Bustamante@westpak.com   EmailFirst-Class Mail
Westpak Inc                                            83 Great Oaks Blvd                               San Jose, CA 95119-1311                                                                                                                                                                   First -Class Mail
Westpak, Inc.                                          975 Lutter Dr                                    Crystal Lake, IL 60014-8190                                                                                                                                                               First -Class Mail
Westside Crane Service Inc                             3737 Mccaslin Blvd                               Louisville, CO 80027-9677                                                                                                                                                                 First -Class Mail
Westside Regional Medical Ctr                          8201 W Broward Blvd Receiving                    Plantation, FL 33324                                                                                                                                                                      First -Class Mail
Whalen Innovatons Inc                                  Attn: Eric Whalen                                5735 Schuman Rd                                  Cross Plains, WI 53528-9280                                                                                                              First -Class Mail
Wheaton Franciscan Inc                                 Attn: Peg Holecek                                5000 W Chambers                                  Milwakee, WI 53210                                                                     peg.holecek@wfhc.og                               EmailFirst-Class Mail
Wheels, Inc                                            Attn: Vivian Odah                                666 Garland Pl                                   Des Plaines, IL 60016                                                                  vodah@wheels.com                                  EmailFirst-Class Mail
White Plains Hospital Medical Center                   41 E Post Rd Receiving                           White Plains, NY 10601                                                                                                                                                                    First -Class Mail
Whitney Hohn                                           Address Redacted                                                                                                                                                                                                                           First -Class Mail
Whitworth Tool, Inc.                                   114 Industrial Park Road                         Hardinsburg, KY 40143                                                                                                                                                                     First -Class Mail
Who Collaborating Centre For                           The International Drug Monitoring                Box 1051                                         Uppsala, 014 75140                             Sweden                                                                                    First -Class Mail
WIB - Walziager Industriewerke Bulle                   Rue De Champ-Barby 61                            Fribourg, Bulle 1630                             Switzerland                                                                            'info@wib-bearings.com'                           First -Class Mail
Widen Enterprises, Inc.                                6911 Mangrove Lane                               Madison, WI 53713                                                                                                                                                                         First -Class Mail
Wieland & Oertli Ag                                    Am Dorfbach 8                                    Illnau Pfaffikon, 8308                           China                                                                                                                                    First -Class Mail
Wieland Oertli Ag                                      Am Dorfbach 8, 8308 Illnau                       Switzerland                                                                                                                                                                               First -Class Mail
Wiggins Peak LLC                                       26865 McLaughlin Blvd                            Bonita Springs, FL 34134                                                                                                                                                                  First -Class Mail
Wilamed Gmbh                                           Aurachhohe 5-7                                   Gewerbepark Barthelmesaurach                     91126 Kammerstein, Bavaria                     Germany                                                                                   First -Class Mail
WILAmed GmbH                                           Aurachhohe 5-7                                   91126 Kammerstein, Germany                       Germany                                                                                                                                  First -Class Mail
Wild Connect Gmbh                                      Merveldtstrasse 6                                79423 Heltershelm                                Germany                                                                                                                                  First -Class Mail
Wilford Hall Medical Center                            Bldg 4554                                        Lackland Afb, TX 78236                                                                                                                                                                    First -Class Mail
Wiline                                                 1599 Industrial Rd                               San Carlos, CA 94070                                                                                                                                                                      First -Class Mail
Wiline Networks Inc                                    104 Carnegie Ctr, Ste 201                        Princeton, NJ 08540-6232                                                                                                                                                                  First -Class Mail
Wiline Networks Inc                                    Dept LA 24599                                    Pasadena, CA 91185-4599                                                                                                                                                                   First -Class Mail
Will Throp                                             26125 N Riverwoods Blvd                          Mettawa, IL 60045                                                                                                                                                                         First -Class Mail
Willardo Dela Rosa                                     Address Redacted                                                                                                                                                                                                                           First -Class Mail
William Alex Hodena                                    Address Redacted                                                                                                                                                                                                                           First -Class Mail
William Brent Doherty                                  Address Redacted                                                                                                                                                                                                                           First -Class Mail
William H Warren                                       Address Redacted                                                                                                                                                                                                                           First -Class Mail
William Hardy Hendren Iii Md                           Address Redacted                                                                                                                                                                                                                           First -Class Mail
William Russell Hardin                                 Address Redacted                                                                                                                                                                                                                           First -Class Mail
William W Stringer Md                                  Address Redacted                                                                                                                                                                                                                           First -Class Mail
Williams Engineering Group                             848 Green St                                     Iselin, NJ 08830                                                                                                                                                                          First -Class Mail
Williams Engineering Group                             Attn: William C Morrocco                         848 Green St                                     Iselin, NJ 08830-2910                                                                                                                    First -Class Mail
Williams Medical Supplies                              The Maerdy Industrial Estate                     Rhymney, NP22-5PY                                United Kingdom                                                                                                                           First -Class Mail
Williams Medical Supplies Limited                      The Maerdy Industrial Estate                     Rhymney, Gwent NP22 5PY                          United Kingdom                                                                                                                           First -Class Mail
Williams Medical Supplies Ltd                          c/o Maerdy Industrial Estate                     Rhymney, NP22 5PY                                United Kingdom                                                                                                                           First -Class Mail
Williamson Medical Center                              4321 Carothers Parkway                           Franklin, TN 37067                                                                                                                                                                        First -Class Mail
Willie Yi                                              Address Redacted                                                                                                                                                                                                                           First -Class Mail
Willis Tower Watson US LLC                             800 N Glebe Rd, 10th Fl                          Arlington, VA 22203-2149                                                                                                                                                                  First -Class Mail
Willis Towers Watson Us Llc                            233 South Wacker Drive                           Ste 1800                                         Chicago, IL 60606                                                                                                                        First -Class Mail
Willis-Knighton Medical Center                         2600 Greenwood Road                              Shreveport, LA 71103                                                                                                                                                                      First -Class Mail
Wilmington Savings Fund Society                        1100 N Market St                                 Wilmington, DE 19890                                                                                                                                                                      First -Class Mail
Wilmington Trust                                       1100 N Market St                                 Wilmington, DE 19890                                                                                                                                                                      First -Class Mail
Wilmington Trust, N.A.                                 Attn: Taryn Call                                 16901 Armstrong Ave                              Irvine, CA 92606                                                                                                                         First -Class Mail
Wilmington Trust, NA                                   as Collateral Agent                              1100 N Market St                                 Wilmington, DE 19890                                                                   jkanderson@wilmingtontrust.com                    EmailFirst-Class Mail
Wilmington Trust, NA                                   as Collateral Agent                              50 S 6th St, Ste 1290                            Minneapolis, MN 55402                                                                  jrose@wilmingtontrust.com                         EmailFirst-Class Mail
Wilmington Trust, NA                                   as Collateral Agent                              1100 N Market St                                 Wilmington, DE 19890                                                                                                                     First -Class Mail
Wilmington Trust, National Association                 Attn: Legal Dept                                 1100 N Market St                                 Wilmington, DE 19801                                                                                                                     First -Class Mail
Wilson Sonsini Goodrich & Rosati Pc                    650 Page Mill Rd                                 Palo Alto, CA 94304-1001                                                                                                                                                                  First -Class Mail
Wilson Trucking Corp                                   P.O. Box 200                                     Fishersville, VA 22939-0200                                                                                                                                                               First -Class Mail
Wilson Tsai                                            Address Redacted                                                                                                                                                                                                                           First -Class Mail
Winamac Coil & Spring Inc                              512 N Smith St                                   Kewanna, IN 46939-2039                                                                                                                                                                    First -Class Mail
Windham Revenue Dept                                   P.O. Box 195                                     Willimantic, CT 06226-0195                                                                                                                                                                First -Class Mail
Windy City Limousine Co LLC                            2801 S 25th Ave                                  Broadview, IL 60155-4531                                                                                                                                                                  First -Class Mail
Windy Waters Inc                                       c/o Widen Enterprises Inc                        6911 Mangrove Ln                                 Madison, WI 53713-1547                                                                                                                   First -Class Mail
Wingate Healthcare, Inc.                               One Charles River Place                          Needham, MA 02494                                                                                                                                                                         First -Class Mail
Winner Snc Di D. Cannavicci & C.                       Winner Snc Di D Cannavicci & C                   Via Rosselli, 9/17                               06034 Foligno                                  Italy                                                                                     First -Class Mail
Winshuttle                                             19820 North Creek Parkway                        Ste 200                                          Bothell, WA 98011                                                                                                                        First -Class Mail
Winshuttle LLC                                         19820 N Creek Pkwy                               Bothell, WA 98011-8227                                                                                                                                                                    First -Class Mail
Winston & Strawn                                       Winston & Strawn London Llp                      CityPoint, One Ropemaker St                      London EC2Y 9AW                                United Kingdom                                                                            First -Class Mail
Winston N Tamayo                                       Address Redacted                                                                                                                                                                                                                           First -Class Mail
Winter Park Surgery LP                                 c/o Physicians Surgical Care Center              1245 Orange Ave, Ste 100                         Winter Park, FL 32789-4954                                                                                                               First -Class Mail
Winthrop University                                    259 1st St                                       Mineola, NY 11501-3957                                                                                                                                                                    First -Class Mail
Winthrop University Hospital                           120 Mineola Blvd                                 Mineola, NY 11501-4064                                                                                                                                                                    First -Class Mail
Wipro Ge Healthcare Private Limited                    No 4 Kadugodi Industrial Area                    Whitefield, Bangalore                            Kamataka 560067                                India                                                                                     First -Class Mail
Wipro Ge Healthcare Private Limited                    4 Kadugodi Industrial Area                       Whitefield, Bangalore 5600067                    Karnataka                                      India                                                                                     First -Class Mail
Wipro Llc                                              2 Tower Center Blvd                              Ste 2200                                         E Brunswick, NJ 08816                                                                                                                    First -Class Mail
Wipro Ltd                                              c/o Wipro LLC                                    76R & 80P, Doddakannelli                         Bangalore, 10                                  India                                                                                     First -Class Mail
Wire Technologies sro                                  c/o a Slowak Co                                  Podjazdová 2730/21                               971 01 Prievidza-Priemyselný obvod, Slovakia   Slovakia                                                                                  First -Class Mail
Wire Technologies sro                                  Podjazdova Ulica 21                              971 01 Prievidza                                 Slovakia                                                                                                                                 First -Class Mail
Wiregrass Medical LLC                                  11 Holly Hill Rd                                 Dothan, AL 36305-1150                                                                                                                                                                     First -Class Mail
Wisconsin Dept of Revenue                              P.O. Box 8908                                    Madison, WI 53708-8908                                                                                                                                                                    First -Class Mail
Wisconsin Dept of Revenue                              P.O. Box 8921                                    Madison, WI 53708-8921                                                                                                                                                                    First -Class Mail
Wisconsin Dept of Revenue                              P.O. Box 8902                                    Madison, WI 53708-8902                                                                                                                                                                    First -Class Mail
Wisconsin Univ Hosp & Clinics                          600 Highland Ave Rm D4 136                       RECEIVING                                        Madison, WI 53792                                                                                                                        First -Class Mail
Wisconsin Univ Hosp & Clinics                          202 S Park St                                    Madison, WI 53715                                                                                                                                                                         First -Class Mail
Wisconsin Univ Hosp & Clinics                          600 Highland Ave                                 Madison, WI 53792                                                                                                                                                                         First -Class Mail
Wisconsin University Hospital & Clinics                600 Highland Ave                                 Madison, WI 53792                                                                                                                                                                         First -Class Mail
Wiseton Industries                                     No 307 Xiangting Road                            Songjiang, Shanghai 201611                       China                                                                                                                                    First -Class Mail
Wistron Medical Technology                             21F, No 88, Sec 1                                Xintai 5th Rd, Xizhi Dist                        New Taipei City 22181                          Taiwan                                                                                    First -Class Mail
Withus Co                                              Rm 217, 2F, 45, Oncheon-ro                       Yuseong-gu, Daejeon, Republic of Korea           South Korea                                                                                                                              First -Class Mail
Withus Co                                              #504, 7-11,                                      Cheongna canal-ro 260beon-gil                    Seo,gu                                         Incheon, 22762         S Korea                                                            First -Class Mail
Withus Co.                                             504, 7-11, Cheongna Canal-Ro 260Beon-Gil         Seo,gu, Incheon, 22762                           South Korea                                                                                                                              First -Class Mail
Withus Co.                                             504, 7-11, Cheongna Canal-Ro 260Beon-Gil         Seo-gu                                           Incheon, 22762                                 South Korea                                                                               First -Class Mail
Wittmann Battenfeld Inc                                1 Technology Park Dr                             Torrington, CT 06790-2594                                                                                                                                                                 First -Class Mail
Wma Consulting Engineers Ltd                           815 S Wabash Ave, Ste 100                        Chicago, IL 60605-2112                                                                                                                                                                    First -Class Mail
Woiken Concepts                                        c/o Concepts                                     10722 Arrow Rte, Ste 518                         Rancho Cucamonga, CA 91730-4840                                                                                                          First -Class Mail
Wolfe Procurement Inc                                  180 Northfield Dr, Unit 4                        Waterloo, ON N2L 0C7                             Canada                                                                                                                                   First -Class Mail
Wolfe Procurement Inc.                                 180 Northfield Dr West                           Ste 4                                            Waterloo, ON N2L 0C7                           Canada                                                                                    First -Class Mail
Wolfe Procurement, Inc.                                180 Northfield Drive West                        Ste 4 1st Floor                                  Waterloo, ON N2L 0C7                           Canada                                                                                    First -Class Mail
Wolseley, Ferguson Enterprises                         Attn: Darrin Klatt                               2750 S Towne Ave                                 Pomona, CA 91766                                                                       Darrin.klatt@wolseleyind.com                      EmailFirst-Class Mail
Wolters Kluwer Health Inc                              c/o Finance Dept Tax Id XX-XXXXXXX               62526 Collection Center Dr                       Chicago, IL 60693-0625                                                                                                                   First -Class Mail
Wolters Kluwer Health Inc                              351 W Camden St                                  Baltimore, MD 21201-7912                                                                                                                                                                  First -Class Mail
Wood Mackenzie, Inc.                                   5847 San Felipe St, Ste 1000                     Houston, TX 77057                                                                                                                                                                         First -Class Mail
Woodbury Corporation                                   2733 E Parleys Way                               Ste 300                                          Salt Lake City, UT 84109                                                                                                                 First -Class Mail
Woodhull Med & Mental Health                           760 Broadway                                     Brooklyn, NY 11206                                                                                                                                                                        First -Class Mail
Woodhull Medical Center                                720 Flushing Ave                                 Brooklyn, NY 11206-4418                                                                                                                                                                   First -Class Mail
Woodward County Treasurer                              1600 Main St, Ste 10                             Woodward, OK 73801-3068                                                                                                                                                                   First -Class Mail
Woolsey Paustian Group                                 1117 Preserve Circle                             Golden, CO 80401                                                                                                                                                                          First -Class Mail
Workday Inc                                            6110 Stoneridge Mall Rd                          Pleasanton, CA 94588-3260                                                                                                               Michael.magaro@workday.com                        EmailFirst-Class Mail
Workday Inc                                            6110 Stoneridge Mall Rd                          Pleasanton, CA 94588-3260                                                                                                                                                                 First -Class Mail
Workday, Inc.                                          6230 Stoneridge Mall Road                        Pleasanton, CA 94588                                                                                                                                                                      First -Class Mail
Workfront, Inc.                                        3301 N Thanksgiving Way , Ste 100                Lehi, UT 84043                                                                                                                                                                            First -Class Mail
World 50 Inc                                           3525 Piedmont Rd NE                              Atlanta, GA 30305-1578                                                                                                                                                                    First -Class Mail
World Conference On Int'l Oncology                     2025 M St NW, Ste 800                            Washington, DC 20036-2422                                                                                                                                                                 First -Class Mail
Worldmed Produtos e Equipamentos Medicos               Rua Eng Benedito Mario da Silva, 635             Bairro Cajuru                                    Curitiba, Parana 82970000                      Brazil                                                                                    First -Class Mail
WPP Group USA Inc                                      c/o GCI Health A Division of Young &             3 Columbus Cir                                   New York, NY 10019-8760                                                                                                                  First -Class Mail
Wray Community District Hospital                       c/o The Wray Clinic                              1017 W 7th St                                    Wray, CO 80758-1420                                                                                                                      First -Class Mail
Wright Heerema Architects                              140 South Dearborn St                            Ste 200                                          Chicago, IL 60603                                                                                                                        First -Class Mail
Wright Heerema Architects                              140 S Dearborn St, Ste 200                       Chicago, IL 60603-5238                                                                                                                                                                    First -Class Mail
Wrike Inc                                              70 N 2nd St                                      San Jose, CA 95113-1204                                                                                                                                                                   First -Class Mail
WRT & Fire Restoration Inc                             c/o Servicemaster Cleaning                       P.O. Box 580357                                  N Palm Springs, CA 92258-0357                                                                                                            First -Class Mail
WSW Real Estate GmbH & Co KG                           Schelmsrasen 32                                  97421 Schweinfurt, Germany                       Germany                                                                                                                                  First -Class Mail
WSW Real Estate GmbH & Co KG                           Schelmrasen 32                                   97421 Schweinfurt                                Germany                                                                                                                                  First -Class Mail
Wuhan Dongjiantianli Trading Co., Ltd.                 Rm 2001, 2010, 20Th Fl, Tower 1                  Jing An Kerry Center                             1515 West Nanjing Rd                           Shanghai               China                                                              First -Class Mail
Wuhan Weinuoxin Scientific Instrument Co., Ltd.        Wuhan Weinuoxin Co, Ltd                          Room 202, International Business A3 Bldg         63 Nanniwan Ave                                Wuhan                  China                                                              First -Class Mail
Wurth Electronics Midcom Inc.                          121 Airport Drive                                Watertown, SD 57201                                                                                                                                                                       First -Class Mail
Wurth Service Supply Inc                               7624 Collections Ctr Dr                          Chicago, IL 60693-0001                                                                                                                                                                    First -Class Mail
Wuxi Apptec                                            24681 Network Pl                                 Chicago, IL 60673-1246                                                                                                                                                                    First -Class Mail
Wuxi Apptec                                            2540 Executive Dr                                St Paul, MN 55120-1175                                                                                                                                                                    First -Class Mail
Wuxi Apptec (Suzhou) Co., Ltd.                         1318 Wuzhong Ave                                 Wuzhong Dist, Suzhou                             China                                                                                                                                    First -Class Mail
Wuxi Apptec Inc                                        24681 Network Pl                                 Chicago, IL 60673-1246                                                                                                                                                                    First -Class Mail
Wuxi Apptec, Inc.                                      2540 Executive Drive                             St Paul, MN 55120                                                                                                                                                                         First -Class Mail
Wuxi Apptec, Inc.                                      1265 Kennestone Circle                           Marietta, GA 30066                                                                                                                                                                        First -Class Mail
WV State Tax Dept                                      Tax Account Administration Div                   P.O. Box 1826                                    Charleston, WV 25327-1826                                                                                                                First -Class Mail
Wyckoff Heights Medical Center                         374 Stockholm St                                 Brooklyn, NY 11237                                                                                                                                                                        First -Class Mail
Wyoming Dept of Revenue                                122 W 25th St, Ste E301                          Cheyenne, WY 82002                                                                                                                                                                        First -Class Mail
Wyoming Secretary of State                             200 W 24th St                                    Cheyenne, WY 82002-0020                                                                                                                                                                   First -Class Mail
Xcel Energy                                            P.O. Box 9477                                    Minneapolis, MN 55484-0001                                                                                                                                                                First -Class Mail
Xcel Energy                                            1800 Larimer St                                  Denver, CO 80202-1402                                                                                                                                                                     First -Class Mail
Xcentric Mold & Engineering LLC                        24541 Maplehurst Dr                              Clinton Township, MI 48036-1352                                                                                                                                                           First -Class Mail
Xeridiem Medical Devices, Inc.                         4700 Overland Drive                              Tucson, AZ 85714                                                                                                                                                                          First -Class Mail
Xerox Corp                                             c/o Xerox Financial Services LLC                 8606 Allisonville Rd, Ste 245                    Indianapolis, IN 46250-5571                                                                                                              First -Class Mail
Xerox Financial Services                               Attn: Legal Dept                                 45 Glover Ave                                    P.O. Box 4505                                  Norwalk, CT 06850                                                                         First -Class Mail
Xerox Financial Services                               8606 Allisonville Rd, Ste 245                    Indianapolis, IN 46250-5571                                                                                                                                                               First -Class Mail
Xerox Financial Services LLC                           c/o Xerox Financial Services LLC                 8606 Allisonville Rd, Ste 245                    Indianapolis, IN 46250-5571                                                                                                              First -Class Mail
Xerox Financial Services Llc                           45 Glover Ave                                    Norwalk, CT 06855                                                                                                                                                                         First -Class Mail
Xi'an Youfu Trading Co, Ltd (2018 IDA)                 Xi'an Youfu Trading Co, Ltd                      Room B1108,Yangyang Plz                          132 Zhuque Rd, Xi'an                           China                                                                                     First -Class Mail
Xi'an Youfu Trading Co, Ltd 2018 IDA                   Rm B1109, No 132, Zhuque St                      Xi an, Shaanxi, China                            China                                                                                                                                    First -Class Mail
Xi'An Youfu Trading Co., Ltd (2018 Ida)                Xi'An Youfu Trading Co, Ltd                      Rm B1108,Yangyang Plaza                          No 132 Zhuque Road , Xi'an                     China                                                                                     First -Class Mail
XP Power                                               Attn: Brenda Canto                               990 Benecia Ave                                  Sunnyvale, CA 94085                                                                    bcanto@xppower.com                                EmailFirst-Class Mail
XP Power                                               Attn: Fred Nguyen                                No 230 Binjiang Nan Rd                           Zhangpu Town, Kunshan Jiangsu 215300           China                                   fnguyen@xppower.com                               First -Class Mail
XP Power                                               Attn: Fred Nguyen                                Lot-D-4Q-Cn My Phuoc 3 Industrial Park           Ben Cat Dist, Binh Duong Province              Vietnam                                 fnguyen@xppower.com                               First -Class Mail
Xp Power                                               Xp Power                                         990 Benecia Ave                                  Sunnyvale, CS 94085                                                                                                                      First -Class Mail
Xpedite Systems, Llc                                   11720 Amberpark Drive, Suite 200                 Alpharetta, GA 30009                                                                                                                                                                      First -Class Mail
Xpedx                                                  P.O. Box 31001-1382                              Pasadena, CA 91110-0001                                                                                                                                                                   First -Class Mail
Xpedx                                                  7500 Amigos Ave                                  Downey, CA 90242-4000                                                                                                                                                                     First -Class Mail
Xpo Global Forwarding, Inc.                            290 Gerzevske Lane                               Carol Stream, IL 60188                                                                                                                                                                    First -Class Mail
Xpo Intermodal Solutions, Inc.                         5615 Emerald Parkway                             Ste 400                                          Dublin, OH 43017                                                                                                                         First -Class Mail
XPO Logistics Truckload Inc                            4701 E 32nd St                                   Joplin, MO 64804-3482                                                                                                                                                                     First -Class Mail
Xttrium Laboratories Inc                               P.O. Box 88499                                   Chicago, IL 60680-1499                                                                                                                                                                    First -Class Mail
Xttrium Laboratories Inc                               1200 E Business Ctr Dr                           Mt Prospect, IL 60056-6041                                                                                                                                                                First -Class Mail
Xttrium Laboratories, Inc. Cda                         200 E Business Center Drive                      Mt Prospect, IL 60056                                                                                                                                                                     First -Class Mail
Xyz Service Agreement                                  1234 Sunset Lane                                 Minneapolis, MN 55425                                                                                                                                                                     First -Class Mail
Yadira Estrada                                         Address Redacted                                                                                                                                                                                                                           First -Class Mail
Yagev Company Medical & Analytical Equipment Ltd       P.O. Box 8200                                    Netanya, 42260                                   Israel                                                                                                                                   First -Class Mail
Yah-Chin Huang                                         Address Redacted                                                                                                                                                                                                                           First -Class Mail
Yale University                                        Attn: Clinical Training Invoicing                25 Science Park                                  150 Munson St, 3rd Fl                          New Haven, CT 06511                     Vclinical.trainingvoices@yale.edu                 EmailFirst-Class Mail
Yancheng Tianrun Medical Technology Co., Ltd.          No 8, Weiyi Road, Qingyang Industrial Area       Tinghu Dist                                      Yancheng City                                  China                                                                                     First -Class Mail
Yandong Jiang                                          Address Redacted                                                                                                                                                                                                                           First -Class Mail
Yaskawa America Inc                                    c/o Motoman Robotics Division                    100 Automation Way                               Miamisburg, OH 45342-4962                                                                                                                First -Class Mail
Yavapai Regional Medical Ctr                           7700 Floretine Rd                                Prescott Valley, AZ 86314                                                                                                                                                                 First -Class Mail
Ybm Inc York Bldg Maint                                4748 Broadview Rd                                Cleveland, OH 44109-4668                                                                                                                                                                  First -Class Mail
Yellow Transportation                                  9525 Padgett St                                  San Diego, CA 92126                                                                                                                                                                       First -Class Mail
Yezennia W Wallace                                     Address Redacted                                                                                                                                                                                                                           First -Class Mail
Yolanda Espinoza                                       Address Redacted                                                                                                                                                                                                                           First -Class Mail
Yolanda M Espinoza                                     Address Redacted                                                                                                                                                                                                                           First -Class Mail
York Hospital                                          3 Loving Kindness Way                            York, ME 03909                                                                                                                                                                            First -Class Mail
York Plumbing Inc                                      P.O. Box 581355                                  Tulsa, OK 74158-1355                                                                                                                                                                      First -Class Mail
Yousef Kayyas, MD                                      Address Redacted                                                                                                                                                                                                                           First -Class Mail
Yousuf Mahmood Husain W.L.L.                           Building 252, Road 410                           Block 704 Salmabad                               P.O. Box 23                                    Manama,                Bahrain                                                            First -Class Mail
Yousuf Mahmood Husain Wll                              Building 252, Road 410, Block 704                P.O. Box 23                                      Salmabad, Manama                               Bahrain                                                                                   First -Class Mail
Yousuf Mahmood Husain WLL                              103 Rd                                           Manama 322, Bahrain                              Bahrain                                                                                                                                  First -Class Mail
Yousuf Mahmood Husain WLL                              P.O. Box 23                                      Manama 322, Bahrain                              Bahrain                                                                                                                                  First -Class Mail
Yousuf Mahmood Husain WLL                              Yousuf Mahmood Husain WLL                        Bldg 252, Rd 410, Block 704                      P.O. Box 23                                    Salmabad, Manama       Bahrain                                                            First -Class Mail
Yps Integrated Systems                                 c/o Zata Corp                                    6200 Som Center Rd, Ste B20                      Solon, OH 44139-2970                                                                                                                     First -Class Mail
YRC (Yellow Rdway) Freight                             Attn: Jimie Vance                                10990 Roe Ave                                    Overland Park, KS 66211                                                                jimie.vance@yrcfreight.com                        EmailFirst-Class Mail
YRC Freight                                            P.O. Box 93151                                   Chicago, IL 60673-3151                                                                                                                                                                    First -Class Mail
YRC Inc                                                P.O. Box 730375                                  Dallas, TX 75373-0375                                                                                                                                                                     First -Class Mail
Yrc Inc                                                10990 Roe Ave                                    Leawood, KS 66211-1213                                                                                                                                                                    First -Class Mail
YRC Worldwide Inc                                      10990 Roe Dr                                     Overland Park, KS 66211-1213                                                                                                                                                              First -Class Mail
YSC Ltd                                                c/o Young Samuel Chambers Ltd                    295 Madison Ave, 19th Fl                         New York, NY 10017-6360                                                                                                                  First -Class Mail
Ysr Plastic Industries, Ltd.                           Bar-Lev Industrial Zone                          DN Misgav                                        2015600 Israel                                                                                                                           First -Class Mail
Yuma Regional Medical Center                           2680 Horizon Dr SE                               Grand Rapids, MI 49546-7517                                                                                                                                                               First -Class Mail
Yun Chor Gary Lee                                      Address Redacted                                                                                                                                                                                                                           First -Class Mail
Yunnan Xiaojun Commercial & Trade Co., Ltd.            Room 810, Floor 8, Building A, Carnival Garden   Yinhe Dist, Shibei Dist, Wuhua Dist,             Kunming city, Yunnan Province                  China                                                                                     First -Class Mail
Yurbal Real Estate BV                                  Het Spoor 46                                     Houten, AK 3994                                  Netherlands                                                                                                                              First -Class Mail
Yusen Air Export                                       19001 Harborgate Way                             Torrance, CA 90501-1314                                                                                                                                                                   First -Class Mail
Yusen Logistices Benelux Bv                            Middenweg 10                                     Moerdijk, 07 4782 PM                             Netherlands                                                                                                                              First -Class Mail
Yusen Logistics (Americas) Inc.                        300 Lighting Way, 6Th Fl                         Secaucus, NJ 07094                                                                                                                                                                        First -Class Mail
Yusen Logistics (Benelux) B.V.                         Keelberglaan 2                                   Melsele Belgium                                                                                                                                                                           First -Class Mail
Yusen Logistics (Uk) Limited                           Grange Park 1, Cheaney Drive                     Grange Park                                      Northampton                                    NN4 5FB                United Kingdom                                                     First -Class Mail
Yusen Logistics Americas Inc                           Attn: Corporate AR                               7000 Goodlet Farms Pkwy, Ste 300                 Cordova, TN 38016                                                                      Yusen-NLA.cashreceipts@us.yusen-logistics.com     EmailFirst-Class Mail
                                               Case 24-11217-BLS                                                    Doc 463                   Filed 08/24/24             Page 51 of 51

Yusen Logistics Americas Inc                 Attn: Corporate Ar                  7000 Goodlet Farms Pkwy, Ste 300         Cordova, TN 38016                                                               First -Class Mail
Yusen Logistics Americas Inc                 Dept AT 952154                      Atlanta, GA 31192-2154                                                                                                   First -Class Mail
Yusen Logistics Australia Pvt Ltd            8 Millner Ave, Unit 3C              Horsley Park, NSW 2175                   Australia                                                                       First -Class Mail
Yushin America Inc                           35 Kenney Dr                        Cranston, RI 02920-4443                                                                                                  First -Class Mail
Yuyu Medicals, Inc                           197 Dongho-Ro                       Jung-gu, Seoul, 04598                    South Korea                                                                     First -Class Mail
Yuyu Medicals, Inc                           Yuyu Bldg                           197 Dong-ro, Jung-gu                     Seoul                        S Korea                                            First -Class Mail
Yuyu Medicals, Inc.                          Yuyu Bldg                           197 Dong-ro, Jung-gu                     Seoul                        South Korea                                        First -Class Mail
Yuyu Medicals, Inc.                          3F, Yuyu Build, 197 Dongho-Ro       Jung-gu                                  Seoul, 04598                 South Korea                                        First -Class Mail
Z Option Inc                                 417 Oakbend Dr, Ste 200             Lewisville, TX 75067-2342                                                                                                First -Class Mail
Z Option, Inc.                               417 Oakbend, Suite 200              Lewisville, TX 75067                                                                                                     First -Class Mail
Z+F USA Inc                                  c/o Z&F USA Inc                     700 Old Pond Rd, Ste 606                 Bridgeville, PA 15017-1274                                                      First -Class Mail
Zachary Steele                               Address Redacted                                                                                                                                             First -Class Mail
Zahoransky Automation & Molds Gmbh           Bebelstrasse 11A                    Freiburg, 79108                          Germany                                                                         First -Class Mail
Zap Technologies                             Attn: Cynthia Broyles               555 N Point Ctr E 4th                    Alpharetta, GA 30022                                    cynthia@zap-t.com       EmailFirst-Class Mail
Zaxis Inc                                    2442 S 2570 W                       W Valley City, UT 84119-1242                                                                                             First -Class Mail
Zayo Group LLC                               c/o Zayo Group Holdings Inc         1821 30th St, Unit A                     Boulder, CO 80301-1075                                                          First -Class Mail
Zen-Bio Inc                                  3920 S Alston Ave                   Durham, NC 27713-1829                                                                                                    First -Class Mail
Zensar Technologies Inc                      55 W Monroe St, Ste 1200            Chicago, IL 60603-5127                                                                           connect@zensar.com      EmailFirst-Class Mail
Zensar Technologies Inc                      55 W Monroe St, Ste 1200            Chicago, IL 60603-5127                                                                                                   First -Class Mail
Zensar Technologies Inc.                     Attn: Sasha Azar                    2 Research Way                           Princeton, NJ 08540                                     legal@zensar.com        EmailFirst-Class Mail
Zensar Technologies Inc.                     55 W Monroe St                      Ste 1200                                 Chicago, IL 60603-5001                                                          First -Class Mail
Zensar Technologies Inc.                     55 W Monroe St                      Chicago, IL 60603-5001                                                                                                   First -Class Mail
Zenstorming Solutions LLC                    Attn: Michael Plishka               37801 N Douglas Ln                       Lake Villa, IL 60046-8983                                                       First -Class Mail
Zep Sales & Services Niagara Nation          c/o Acuity Specialty Products Inc   1310 Seaboard Industrial Blvd NW         Atlanta, GA 30318-2825                                                          First -Class Mail
Zepeda & Associates LLC                      c/o Z&A Recruiting                  7327 Bella Gdn                           San Antonio, TX 78256-2129                                                      First -Class Mail
Zepeda & Associates Llc                      7327 Bella Garden                   San Antonio, TX 78256                                                                                                    First -Class Mail
Zephyrx Llc                                  2 Third St, Suite 201               Troy, NY 12180                                                                                                           First -Class Mail
ZEPHYRx LLC                                  2 3rd St, Ste 201                   Troy, NY 12180                                                                                                           First -Class Mail
ZEPHYRx LLC                                  2 Third St, Ste 201                 Troy, NY 12180                                                                                                           First -Class Mail
Zero-Zero Engineering & Molding Inc          Attn: Jessen Lui                    8351 Elm Ave, Ste 105                    Rancho Cucamonga, CA 91730                              zerozeroeng@gmail.com   EmailFirst-Class Mail
Zeus Industrial Products Inc                 134 Chubb Way                       Branchburg, NJ 08876-3935                                                                                                First -Class Mail
Zhong Lun Law Firm                           Level 10 & 11                       Two IFC, No 8 Century Ave                Pudong New Area              Shanghai 200120    China                           First -Class Mail
Ziba Design                                  1044 Nw 9Th Ave                     Portland, OR 97209                                                                                                       First -Class Mail
Zimeda GMBH & Co Kg                          Dr Emil Brichta Strabe 3            Passau, 94036                            Germany                                                                         First -Class Mail
Zimeda Gmbh & Co. Kg                         (Fka Zimeda & Gustav Stengelin)     Dr-Emil-Brichta-Str 3                    94036, Passau                Germany                                            First -Class Mail
Zimmerman Norm-Und Verbindungstechnik Gmbh   Carl-Backhause-Strasse 11           22926 Ahrensburg                         Germany                                                                         First -Class Mail
Zong Z Yang                                  Address Redacted                                                                                                                                             First -Class Mail
Zontec Inc                                   1389 Kemper Meadow Dr               Cincinnati, OH 45240-1635                                                                                                First -Class Mail
ZRG Partners LLC                             69 Milk St, Ste 304                 Westboro, MA 01581-1224                                                                                                  First -Class Mail
ZS Associates Inc                            1 Rotary Ctr                        1560 Sherman Ave                         Evanston, IL 60201-4818                                                         First -Class Mail
Zs Associates, Inc.                          1560 Sherman Ave                    Ste 800                                  Evanston, IL 60201                                                              First -Class Mail
Zs Associates, Inc.                          1560 Sherman Ave                    Evanston, IL 60201                                                                                                       First -Class Mail
Z-Tech Advanced Technologies Inc             1870 S Milliken Ave                 Ontario, CA 91761-2340                                                                                                   First -Class Mail
Zumbach Electronics Corp                     140 Kisco Ave                       Mt Kisco, NY 10549-1407                                                                                                  First -Class Mail
Zwick Usa LP                                 2125 Barrett Park Dr NW, Ste 107    Kennesaw, GA 30144-3613                                                                                                  First -Class Mail
Zycus, Inc.                                  103 Carnegie Center Dr, Ste 321     Princeton, NJ 08540                                                                                                      First -Class Mail
